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                  UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY
                        CAMDEN VICINAGE

                                        MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                 Honorable Robert B. Kugler,
LIABILITY LITIGATION                    District Court Judge

                                        Honorable Joel Schneider,
This Document Relates to All Actions    Magistrate Judge



     COMPENDIUM OF UNREPORTED CASES CITED IN THE
WHOLESALER DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
 OF THEIR MOTION TO DISMISS AND COMPENDIUM OF CHARTS
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Tab                                     Unreported Case
 1     Avram v. Samsung Electronics America, Inc.,
            No. 2:11-6973, 2013 WL 3654090 (D.N.J. July 11, 2013)

 2     Barker v. Dicicco,
            2002 Mich. App. LEXIS 2252, 2002 WL 31956978 (Mich. App. 2002)

 3     Bimbo Bakeries USA, Inc. v. Pinckney Molded Plastics, Inc.,
            No. 4:06-CV-180-A, 2007 WL 836874 (N.D. Tex. Mar. 20, 2007)

 4     Bland v. Abbott Labs., Inc.,
             No. 3:11-CV-430-H, 2012 WL 32577 (W.D. Ky. Jan. 6, 2012)

 5     Bono v. O'Connor,
            No. 15-6326 (FLW), 2016 U.S. Dist. LEXIS 185713 (D.N.J. Oct. 5, 2016)

 6     Bowman v. RAM Med., Inc.,
           No. I O-CV-4403 DMC MF, 2012 WL 1964452 (D.N.J. May 31, 2012)

 7     Chatham v. Sears, Roebuck & Co. (In re Sears, Roebuck & Co.),
            Nos. MDL-1703, 05 C 4742, 05 C 2623, 2006 U.S. Dist. LEXIS 92169 (N.D. Ill.
            Dec. 18, 2006)

 8     In re: Cheerios Mktg. & Sales Practices Litig.,
              2012 U.S. Dist. LEXIS 128325 (D.N.J. Sep. 10, 2012)

 9     Crosby v. Georgakopoulos,
            2005 U.S. Dist. LEXIS 32238 (D.N.J. June 24, 2005)

10     Fireworks Lady & Co., LLC v. Firstrans Int'l Co.,
            No. CV 18-10776-CJC (MRWx), 2019 U.S. Dist. LEXIS 209935 (C.D. Cal.
            Aug. 8, 2019)

11     Gariety v. Thornton,
             No. 1:02-0344, 2006 U.S. Dist. LEXIS 114864 (S.D. W. Va. May 19, 2006)

12     Greencort Condo. Ass’n v. Greencort Partners,
            No. 04045 JAN.TERM 2004, 2004 WL 1088758 (Pa. Com. Pl. Apr. 30, 2004)

13     Henderson v. Hertz Corp.,
            No. A-3776-03, 2005 WL 4127090 (N.J. Super. Ct. App. Div. 2005)
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14     Hoffman v. Cogent Sols. Grp., LLC,
            2013 U.S. Dist. LEXIS 176056 (D.N.J. 2013)

15     Hoffman v. Nutraceutical Corp.,
            No. CIV.A. 12-5803 ES, 2013 WL 2650611 (D.N.J. June 10, 2013)

16     Kostyszyn v. Martuscelli,
             No. CV N14C-08-010 PRW, 2015 WL 721291 (Del. Super. Ct. Feb. 18, 2015)

17     Latraverse v. Kia Motors of Am., Inc.,
             No. 10-6133 (RBK/AMD), 2011 WL 3273150 (D.N.J. July 27, 2011)

18     McCamon-Hunt Ins. Agency, Inc. v. Med. Mut. of Ohio,
           No. 07 MA 94, 2008 WL 4444631 (Ohio Ct. App. Sept. 26, 2008)

19     In re: McNeil Consumer Healthcare, et al., Marketing and Sales Litig.,
              MDL No. 2190, 2011 U.S. Dist. LEXIS 76800, 2011 WL 2802854 (E.D. Pa.
              July 15, 2011)

20     Nazari v. Kohler Co.,
            No. 07-50188, 2008 U.S. App. LEXIS 21531 (5th Cir. Oct. 13, 2008)

21     Ortiz v. McNeil-PPC, Inc.,
              No. 07cv678-MMA(CAB), 2009 U.S. Dist. LEXIS 142628 (S.D. Cal. Mar. 6,
              2009)

22     Pender v. Bank of Am., NA,
            No. 3:05-CV-00238-GCM, 2016 U.S. Dist. LEXIS 34919 (W.D.N.C. Mar. 10,
            2016)

23     Pfs Distribution Co. v. Raduechel,
             No. 4-04-CV-10329, 2005 U.S. Dist. LEXIS 57648 (S.D. Iowa Aug. 30, 2005)

24     Red Fox Future, LLC v. Holbrooks,
            2014 NCBC 8, 68-69, 2014 NCBC LEXIS 8, 2014 WL 1213235

25     Regent at Town Ctr. Homeowners' Ass'n v. Oxbow Constr., LLC,
            419 P.3d 702, 2018 WL 2431690 (Nev. May 24, 2018)
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26     Ruiz v. Wintzell's Huntsville, L.L.C.,
             No. 5:13-cv-02244-MHH, 2017 U.S. Dist. LEXIS 159547 (N.D. Ala. Sep. 28,
             2017)

27     Scansource, Inc. v. Datavision-Prologix, Inc., et al.,
            No. Civ.A. 04-CV-4271, 2005 WL 974933 (E.D. Pa. Apr. 26, 2005)

28     Sherfey v. Johnson & Johnson,
             No. 12-4162, 2014 U.S. Dist. LEXIS 57735 (E.D. Pa. Apr. 25, 2014)

29     Solo v. Bed Bath & Beyond, Inc.,
             Civ. 06–1908(SRC), 2007 WL 1237825 (D.N.J. Apr. 26, 2007)

30     Teater v. Pfizer, Inc.,
             No. 3:05-cv-00604-HU, 2013 U.S. Dist. LEXIS 79629 (D. Or. May 13, 2013)

31     Thomas v. Brown & Williamson Tobacco Corp.,
            2006 U.S. Dist. LEXIS 28261 (W.D. Mo. Apr. 28, 2006)

32     Thompson v. Bayer Corp.,
            No. 4:07CV00017 JMM, 2009 U.S. Dist. LEXIS 15190 (E.D. Ark. Feb. 12,
            2009)

33     Total Office Sols., Inc. v. Grimstad,
             No. 18 CO 0014, 2019 WL 2721216 (Ohio Ct. App. June 27, 2019

34     White v. State Farm Mut. Auto. Ins. Co.,
             No. A-94-405., 1995 Neb. App. LEXIS 284 (Ct. App. Sep. 5, 1995)

35     Witriol v. Conexant Syst.,
             2006 WL 3511155 (D.N.J. Dec. 4, 2006)

36     Wong v. Chan,
            No. 11-P-867, 2012 WL 1557240 (Mass. App. Ct. 2012)
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                             Tab 1
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Avram v. Samsung Electronics America, Inc., Not Reported in F.Supp.2d (2013)
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                                                                       America, Inc. (“Samsung”), from Defendant Lowe's Home
                                                                       Centers, Inc. (“Lowe's”). At the time of purchase, the
      KeyCite Yellow Flag - Negative Treatment                         refrigerators bore the Energy Star label. Sometime thereafter,
Distinguished by Schwartz v. Vizio, Inc., C.D.Cal., May 23, 2017
                                                                       however, DOE determined that this refrigerator model did
                   2013 WL 3654090
                                                                       not meet the Energy Star program's requirements. Avram and
       United States District Court, D. New Jersey.
                                                                       Lark allege that they therefore have not received what they
                                                                       paid for. They assert causes of action for breach of express
          Lynne AVRAM, on behalf of herself and
                                                                       warranty, breach of the implied warranty of merchantability,
           all others similarly situated, Plaintiff,
                                                                       violation of the Magnuson–Moss Warranty Act, violation of
                              v.
                                                                       the Maryland and New Jersey consumer fraud statutes, and
                SAMSUNG ELECTRONICS                                    unjust enrichment.
           AMERICA, INC., et al., Defendants.
          Margaret Lark, on behalf of herself and                      Now before the court are the motions of Samsung and
          all others similarly situated, Plaintiff,                    Lowe's to dismiss each complaint. Defendants argue that the
                               v.                                      warranty claims are preempted by the Energy Policy and
              Samsung Electronics America,                             Conservation Act and that the Complaints' allegations are
                  Inc., et al., Defendants.                            otherwise insufficient as a matter of law.

          Civ. Nos. 2:11–6973(KM), 2:12–976(KM).                       Samsung and Lowe's motions to dismiss are granted in part
                                |                                      and denied in part. Specifically, I will dismiss (1) Avram's
                         July 11, 2013.                                claim of breach of the implied warranty of merchantability
                                                                       against Samsung; (2) the claims of violation of the state
Attorneys and Law Firms                                                consumer fraud statutes; and (3) the unjust enrichment causes
                                                                       of action against Samsung. The rest of the claims survive.
Antonio Vozzolo, Christopher Marlborough, Faruqi & Faruqi,
LLP, New York, NY, Caroline F. Bartlett, Carella Byrne,
James E. Cecchi, Lindsey H. Taylor, Carella Byrne Cecchi
                                                                       I. BACKGROUND 1
Olstein Brody & Agnello, P.C., Roseland, NJ, Yitzchak
                                                                       1
Kopel, Bursor & Fisher PA, New York, NY, for Lynne Avram.                    The allegations of the Complaints have not yet
                                                                              been tested by any fact finder. This discussion, as
Benjamin F. Johns, Chimicles & Tikellis, LLP, Haverford, PA,                  it must, assumes their truth solely for the purpose
for Margaret Lark.                                                            of analyzing Defendant's Rule 12(b)(6) motion. See
                                                                              pp. 6–7, infra.
James J. O'Hara, John Maloney, Joseph Christopher
Brennan, Graham Curtin, P.A., Morristown, NJ, for Samsung
                                                                          A. The Energy Star Program
Electronics America, Inc., et al.
                                                                       The Energy Policy and Conservation Act of 1975 (the
                                                                       “ECPA”), 42 U.S.C. § 6291, et seq., created an energy
                                                                       conservation program for major household appliances.
                              OPINION
                                                                       (Avram Compl. ¶ 12 [Civ. No. 11–6973, Docket No. 1]; Lark
KEVIN McNULTY, District Judge.                                         Compl. ¶ 12 [Civ. No. 12–973, Docket No. 1] ). A few years
                                                                       later, the National Energy Conservation Policy Act of 1978
 *1 The Department of Energy (DOE) Energy Star program                 granted the United States Department of Energy (“DOE”) the
permits manufacturers of appliances, including refrigerators,          authority to establish minimum energy efficiency standards
to affix a label indicating that the appliance meets certain           for, inter alia, home refrigerator-freezers. (Avram Compl.
standards of energy efficiency. Such appliances, Plaintiffs            ¶ 12; Lark Compl. ¶ 12). Later, the National Appliance
allege, cost more to purchase, but supposedly save money               Energy Conservation Act of 1987 established minimum
in the long run by reducing electricity bills. Lynne Avram             energy efficiency standards for refrigerator-freezers. (Avram
and Margaret Lark, putative class action plaintiffs in                 Compl. ¶ 12; Lark Compl. ¶ 12).
these consolidated actions, each bought refrigerator model
RF26VAB, manufactured by Defendant Samsung Electronics


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The Energy Star program, enacted as part of the Energy Policy   was energy efficient and met the qualifications of Energy Star
Act of 2005, is                                                 program. (Lark Compl. ¶ 17).


                                                                   D. DOE Finds That the Refrigerators Do Not Meet the
            a voluntary program to identify
                                                                   Energy Star Program's Requirements
            and promote energy-efficient products
                                                                On February 18, 2010, DOE alerted Samsung that its testing
            and buildings in order to reduce
                                                                showed that the refrigerators did not meet the Energy Star
            energy consumption, improve energy
                                                                efficiency requirements. (Avram Compl. ¶ 18; Lark Compl.
            security, and reduce pollution through
                                                                ¶ 18). About three weeks later, on March 8, 2010, Samsung
            voluntary labeling of, or other forms
                                                                representatives met with DOE regarding the test results.
            of communication about, products and
                                                                (Avram Compl. ¶ 19; Lark Compl. ¶ 19). DOE permitted
            buildings that meet the highest energy
                                                                Samsung to submit its own test results. (Avram Compl. ¶¶ 19–
            conservation standards.
                                                                20; Lark Compl. ¶¶ 19–20) In DOE's estimation, however,
                                                                Samsung's testing failed to establish that the refrigerators met
                                                                Energy Star standards. (Avram Compl. ¶ 20; Lark Compl. ¶
42 U.S.C. § 6294a. DOE and the Environmental Protection         20). On March 16, 2010, DOE sent Samsung a letter stating
Agency (“EPA”) jointly administer the program. Id. In           that the refrigerators had failed DOE tests for the Energy Star
general, to earn the Energy Star label, refrigerators and       program and that Samsung had failed to rebut that conclusion.
freezers must be at least 20% more energy efficient than the    (Avram Compl. ¶ 21; Lark Compl. ¶ 21). DOE then referred
minimum mandated by federal law. (Avram Compl. ¶ 13; Lark       the matter to EPA for appropriate action. (Avram Compl. ¶ 21;
Compl. ¶ 13).                                                   Lark Compl. ¶ 21). EPA and Samsung eventually entered into
                                                                an informal, private agreement under which Samsung agreed
 *2 The Energy Star logo is an important marketing tool. It     to stop manufacturing or selling the refrigerators. (Avram
conveys a message that the purchaser can maximize his or her    Compl. ¶ 22).
energy savings and help to protect the environment. (Avram
Compl. ¶ 14; Lark Compl. ¶ 14). In essence, the consumer        As a result, Avram and Lark did not receive the benefit of
pays more to purchase an Energy Star-compliant appliance,       the Energy Star bargain. They paid a price premium for what
but the appliance costs less to operate. (Avram Compl. ¶ 2;     purported to be an Energy Star product but did not receive the
Lark Compl. ¶ 2).                                               energy savings they had paid for. (Avram Compl. ¶ 23; Lark
                                                                Compl. ¶ 22).
   B. Avram's Refrigerator Purchase
Because Avram was concerned about the environment, when            E. Avram and Lark File Class Action Complaints
she shopped for a new refrigerator, she looked only at Energy   On November 30, 2011, Avram filed a Complaint on behalf
Star models. (Avram Compl. ¶ 17). On June 26, 2009,             of herself and a class of similarly situated individuals. That
Avram purchased her new refrigerator at a Lowe's retail         Complaint alleges that Defendants' manufacture and sale of a
store in Scottsdale, Arizona for $1,213.20 plus tax. (Id.).     refrigerator that falsely claimed to be Energy Star-compliant
That purchase price included a substantial premium based on     give rise to the following causes of action: breach of express
claims that the refrigerator was energy efficient and met the   warranty, breach of the implied warranty of merchantability,
qualifications of Energy Star program. (Id.). Avram would       violations of Magnuson–Moss Warranty Act (“Magnuson–
not have purchased the refrigerator had she known it was not    Moss”) and the New Jersey Consumer Fraud Act (“NJCFA”),
Energy Star-compliant. (Id.).                                   and unjust enrichment.

                                                                 *3 On February 17, 2012, Lark filed a nearly identical class
   C. Lark's Refrigerator Purchase
                                                                action complaint alleging the same causes of action, with
On November 1, 2009, Lark purchased the refrigerator at
                                                                one exception. Instead of a claim under the NJCFA, Lark's
a Lowe's retail store in Maryland for about $2,100. (Lark
                                                                complaint alleges a violation of the Maryland Consumer
Compl. ¶ 17; Lark Opp. at 2). That purchase price included
                                                                Protection Act (“MCPA”).
a substantial premium based on claims that the refrigerator



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On June 20, 2012, then-Magistrate Judge Shipp granted                the ‘grounds' of his ‘entitlement to relief requires more than
Lark's motion to consolidate the two cases. Subject matter           labels and conclusions, and a formulaic recitation of the
jurisdiction over these consolidated actions is predicated           elements of a cause of action will not do.” Bell Atl. Corp. v.
on three grounds. Over the federal law claim, the Court              Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d
has federal question jurisdiction. 28 U.S.C. § 1331. Over            929 (2007). Thus the factual allegations must be sufficient
the related state law claims, the Court has supplemental             to raise a plaintiffs right to relief above a speculative level,
jurisdiction. 28 U.S.C. §§ 1367. Finally, because the                demonstrating that it is “plausible on its face.” See id. at 570;
Complaint alleges that there are over 100 class members, the         see also Umland v. PLANCO Fin. Servs., Inc., 542 F.3d 59,
aggregate amount in controversy exceeds $5 million, and at           64 (3d Cir.2008). A claim has “facial plausibility when the
least one class member is diverse from the defendants, 2 the         plaintiff pleads factual content that allows the court to draw
Court has diversity jurisdiction under 28 U.S.C. § 1332(d).          the reasonable inference that the defendant is liable for the
Venue is proper because Samsung resides in the District              misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678,
of New Jersey, the Defendants do business throughout the             129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (citing Twombly, 550
District, and a substantial part of the events giving rise to the    U.S. at 556). While “[t]he plausibility standard is not akin to
Plaintiffs' claims took place in New Jersey. 28 U.S.C. § 1391.       a ‘probability requirement’ ... it asks for more than a sheer
                                                                     possibility.” Iqbal, 556 U.S. at 678.
2       Avram is a citizen of Arizona, Lark is a citizen of
                                                                      *4 The United States Court of Appeals for the Third
        Maryland, Samsung is a Delaware corporation with
                                                                     Circuit has explicated the Twombly/Iqbal standard on several
        a principal place of business in New Jersey, and
                                                                     occasions. See, e.g., Argueta v. U.S. Immigration & Customs
        Lowe's is incorporated and has its principal place
                                                                     Enforcement, 643 F.3d 60, 70–73 (3d Cir.2011); Santiago
        of business in North Carolina.
                                                                     v. Warminster Twp., 629 F.3d 121, 129–30 (3d Cir.2010);
Prior to the consolidation order and in lieu of filing an answer,    Fowler v. UPMC Shadyside, 578 F.3d 203, 209–211 (3d
Lowe's and Samsung each moved to dismiss each complaint              Cir.2009). The Court of Appeals recently summarized the
for failure to state a claim, pursuant to Federal Rule of Civil      three-step process for analyzing a Rule 12(b)(6) motion:
Procedure 12(b) (6).
                                                                       To determine whether a complaint meets the pleading
                                                                       standard, our analysis unfolds in three steps. First, we
II. LEGAL STANDARDS AND BACKGROUND                                     outline the elements a plaintiff must plead to a state a claim
                                                                       for relief. See [Iqbal, 556 U.S.] at 675; Argueta, 643 F.3d at
   A. Rule 12(b)(6)                                                    73. Next, we peel away those allegations that are no more
Federal Rule of Civil Procedure 12(b)(6) provides for the              than conclusions and thus not entitled to the assumption of
dismissal of a complaint, in whole or in part, if it fails to          truth. See Iqbal, 556 U.S. at 679; Argueta, 643 F.3d at 73.
state a claim upon which relief can be granted. The moving             Finally, we look for well-pled factual allegations, assume
party, ordinarily the defendant, bears the burden of showing           their veracity, and then “determine whether they plausibly
that no claim has been stated. Hedges v. United States, 404            give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679;
F.3d 744, 750 (3d Cir.2005). For purposes of a motion to               Argueta, 643 F.3d at 73. This last step is “a context-specific
dismiss, the well-pleaded factual allegations of the complaint         task that requires the reviewing court to draw on its judicial
must be taken as true, with all reasonable inferences drawn            experience and common sense.” Iqbal, 556 U.S. at 679.
in plaintiff's favor. Phillips v. County of Allegheny, 515 F.3d
224, 231 (3d Cir.2008) (established “reasonable inferences”          Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir.2012).
principle not undermined by intervening Supreme Court case
law).                                                                Samsung and Lowe's assert that the state consumer protection
                                                                     law claims sound in fraud and therefore must be pleaded
In recent years, the United States Supreme Court has                 with additional particularity. See Section III.E, infra. For
elaborated on the standards that a court is to apply in              claims of fraud, Federal Rule of Civil Procedure 9(b) imposes
analyzing a Rule 12(b) (6) motion to dismiss, particularly in        a heightened pleading requirement, over and above that of
light of the pleading requirements of Federal Rule of Civil          Rule 8(a). Specifically, it requires that “in all averments of
Procedure 8(a)(2). Although a complaint need not contain             fraud or mistake, the circumstances constituting the fraud
detailed factual allegations, “a plaintiff's obligation to provide   or mistake shall be stated with particularity.” Fed.R.Civ.P.


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9(b). “Malice, intent, knowledge, and other conditions of a                 that the Defendants' reply briefs do not raise
person's mind,” however, “may be alleged generally.” Id.                    new arguments or contain statements requiring
That heightened pleading standard requires the plaintiff to                 correction. Therefore I do not authorize the filing
“state the circumstances of the alleged fraud with sufficient               of a surreply.
particularity to place the defendant on notice of the precise       Samsung and Lowe's have filed similar motions to dismiss
misconduct with which it is charged.” Frederico v. Home             each count of Avram's and Lark's Complaints. I address each
Depot, 507 F.3d 188, 200 (3d Cir.2007) (internal quotation          claim in turn, and include a choice-of-law analysis for the
and citation omitted).                                              state law claims.

In general, “[t]o satisfy this heightened standard, the plaintiff
must plead or allege the date, time, and place of the alleged          A. Preemption of Avram's and Lark's Warranty
fraud or otherwise inject precision or some measure of                 Claims
substantiation into a fraud allegation.” Id. “Plaintiff must        Avram and Lark assert warranty-based claims under
also allege who made the misrepresentation to whom and the          Magnuson–Moss, as well as state-law causes of action
general content of the misrepresentation.” Lum v. Bank of Am.,      for breach of express warranty and breach of the implied
361 F.3d 217, 224 (3d Cir.2004) (internal citation omitted);        warranty of merchantability. Samsung and Lowe's argue
In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256,          that these claims (the “Warranty Claims”) are preempted by
276–77 (3d Cir.2006) (“Rule 9(b) requires, at a minimum,            the ECPA, as amended by the National Appliance Energy
that plaintiffs support their allegations of fraud with all of      Conservation Act (“NAECA”). Specifically, they cite 42
the essential factual background that would accompany the           U.S.C. § 6297(g), which provides that any disclosure of
first paragraph of any newspaper story—that is, the who,            energy use, cost, or efficiency “required to be made” pursuant
what, when, where and how of the events at issue.”) (internal       to ECPA does not create an express or implied warranty. I
quotation and citation omitted)).                                   find that the claims are not preempted because the Energy
                                                                    Star program is voluntary. Use of the Energy Star logo is
   *5 [Plaintiffs] need not, however, plead the “date, place or     permitted, not “required,” by the ECPA.
  time” of the fraud, so long as they use an “alternative means
  of injecting precision and some measure of substantiation
  into their allegations of fraud.” The purpose of Rule 9(b)           a. Preemption
  is to provide notice of the “precise misconduct” with             “Federal preemption doctrine provides Congress with the
  which defendants are charged and to prevent false or              power to preempt state legislation if it so intends.” Treasurer
  unsubstantiated charges. Courts should, however, apply the        of New Jersey v. U.S. Dep't of Treasury, 684 F.3d 382,
  rule with some flexibility and should not require plaintiffs      406 (3d Cir.2012). Preemption comes in three varieties:
  to plead issues that may have been concealed by the               “express preemption and two types of implied preemption,
  defendants.                                                       field preemption and conflict preemption.” Id. (citing Farina
                                                                    v. Nokia Inc., 625 F.3d 97, 115 (3d Cir.2010)). Express
Rolo v. City Investing Co. Liquidating Trust, 155 F.3d 644,         preemption exists “when a federal enactment contains
658 (3d Cir.1998) (quoting Seville Indus. Machinery v.              language that is explicit about its preemptive effect.”
Southmost Machinery, 742 F.2d 786, 791 (3d Cir.1984) and            Treasurer of New Jersey, 684 F.3d at 406. Here, Section 6297
citing Christidis v. First Pennsylvania Mortg. Trust, 717 F.2d      of NAECA contains an express preemption provision, so the
96, 99 (3d Cir.1983)).                                              issue of whether NAECA preempts the warranty claims in this
                                                                    case is squarely presented. Medtronic, Inc. v. Lohr, 518 U.S.
                                                                    476, 484 (1996).
III. DISCUSSION 3
3      Avram and Lark requested permission to file                  The Supreme Court has counseled courts considering a
        a surreply brief addressing new arguments and               preemption issue to stick close to the text of the statute, while
        statements requiring correction that allegedly are          taking two presumptions into account.
        to be found in the Defendants' reply briefs. This
        District's Local Rules require leave of the Court           First, the court must presume “that Congress does not
        to file a surreply. See L.R. 7.1(d)(6). I find              cavalierly pre-empt state-law causes of action.” Medtronic,



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518 U.S. at 485. “In all pre-emption cases, and particularly     program is voluntary; the associated disclosures of energy
in those in which Congress has legislated ... in a field which   efficiency are not “required to be made” by statute. 42 U.S.C.
the States have traditionally occupied' we ‘start with the       § 6294a(a) (Energy Star is “a voluntary program to identify
assumption that the historic police powers of the States were    and promote energy-efficient products ... in order to reduce
not to be superseded by the Federal Act unless that was the      energy consumption, improve energy security, and reduce
clear and manifest purpose of Congress.’ ” Id. at 485 (quoting   pollution through voluntary labeling of, or other forms of
Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230, 67 S.Ct.     communication about, products and buildings that meet the
1146, 91 L.Ed. 1447 (1947)). Conversely, the presumption         highest energy conservation standards.”) (emphasis added).
against preemption may not apply where Congress's statute        Had Congress intended to preempt warranty claims as to
applies to a field that “the States have not traditionally       all such disclosures, it could simply have stated that “no
occupied.” Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S.      disclosure made under the provisions of this part creates a
341, 347–48, 121 S.Ct. 1012, 148 L.Ed.2d 854 (2001).             warranty.” But it did not; it limited the preemptive effect to
                                                                 disclosures “required to be made” under the statute. I cannot
 *6 Second, the court must presume “that the purpose of          assume that Congress's insertion of the words “required to be”
Congress is the ultimate touchstone in every pre-emption         was accidental, or that the words themselves are superfluous
case.” Wyeth v. Levine, 555 U.S. 555, 565, 129 S.Ct. 1187,       and meaningless. 4 Indeed, I can imagine a reason for it:
173 L.Ed.2d 51 (2009) (quoting Medtronic, 518 U.S. at 485).      Congress may have wished to create a safe harbor for
And “Congress' intent is, of course, primarily discerned from    standardized efficiency disclosures that, like automobile
the language of the pre-emption statute and the statutory        mileage figures, are useful for comparative purposes even if
framework surrounding it.” Medtronic, 518 U.S. at 485            they seldom reflect what happens when the product is in use.
(quotation marks and citations omitted).                         But be that as it may, the statutory wording is clear.

Guided by these principles, I now analyze whether Avram's        4      Of course, if the statute contained nothing but
and Lark's state law warranty claims are preempted by the
                                                                        mandatory disclosure provisions, those words
federal statutory regime.
                                                                        could be dismissed as superfluous description. But
                                                                        it doesn't; it is a mix of mandatory and non-
   i. Analysis                                                          mandatory provisions.
NAECA includes a warranty preemption provision, which            Samsung and Lowe's argue that manufacturers are required
states:                                                          to affix labels to their products disclosing their energy
                                                                 consumption, see 42 U.S.C. § 6296(a) (“Each manufacturer
                                                                 of a covered product [including refrigerators] ... shall
            Any disclosure with respect to                       provide a label which meets, and is displayed in accordance
            energy use, energy efficiency, or                    with, the requirements of such rule.”) (emphasis added).
            estimated annual operating cost which                Of course, an appliance's energy consumption figures
            is required to be made under the                     will determine whether it is Energy Star-eligible. But
            provisions of this part shall not create             although manufacturers are required to disclose those energy
            an express or implied warranty under                 consumption figures, they are not required to participate in
            State or Federal law that such energy                the Energy Star program or to affix the Energy Star logo
            efficiency will be achieved or that                  to their products. See 42 U.S.C. § 6294a(a) (Energy Star
            such energy use or estimated annual                  is a “voluntary program” implemented through “voluntary
            operating costs will not be exceeded                 labeling”).
            under conditions of actual use.
                                                                  *7 Plaintiffs' claims are not based on the energy
                                                                 consumption disclosures, but rather on the Energy Star
42 U.S.C. § 6297(g).                                             logo itself. 5 This circumstance factually distinguishes other
                                                                 decisions that have given effect to the warranty preemption
Hewing to the text of the provision, as I must, I find that      provision of Section 6297. See Jurgensen v. Felix Storch, Inc.,
Avram's and Lark's claims are not preempted. The Energy Star     Civ. No. 12–1201, 2012 WL 2354247, at *1 (S.D.N.Y. June



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14, 2012) (subsequent DOE testing determined that “Energy          govern the substantive issues of a case.” Warriner v. Stanton,
Guide labels to the Freezers ... “substantially understated        475 F.3d 497, 499–500 (3d Cir.2007) (citing Klaxon Co.
their energy consumption.”); Gee v. Viking Range Corp., Civ.       v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496, 61 S.Ct.
No. 4:07–87, 2008 WL 4416442, at *1 (N.D.Miss. Sept.24,            1020, 85 L.Ed. 1477 (1941)). New Jersey uses the most
2008) (claims for breach of express warranty and implied           significant relationship test, which consists of two prongs.
warranty of merchantability based on defect in design and          Maniscalco v. Brother Int'l Corp. (USA), 793 F.Supp.2d 696,
energy use greater than disclosed on the label). Those cases       704 (D.N.J.2011) aff'd sub nom. Maniscalco v. Brother Int'l
held that breach of warranty claims based on the products'         (USA) Corp., 709 F.3d 202 (3d Cir.2013). First, the court
failure to live up to the manufacturers' required disclosures      must determine whether a conflict actually exists between the
of energy consumption figures were preempted by NAECA.             potentially applicable laws. P.V. v. Camp Jaycee, 197 N.J. 132,
Participation in the Energy Star Program, because it is not        144, 962 A.2d 453, 460 (2008) ( “Procedurally, the first step
“required,” does not trigger the preemption provision.             is to determine whether an actual conflict exists. That is done
                                                                   by examining the substance of the potentially applicable laws
5                                                                  to determine whether there is a distinction between them.”)
       Certain of Plaintiffs' claims, it is true, could be read
       to include claims of inefficiency in operation, in          (internal quotations omitted). “[I]f no conflict exists, the law
       addition to claims based on the inappropriateness           of the forum state applies.” Snyder v. Farnam Companies,
       of the Energy Star designation. I will not, however,        Inc., 792 F.Supp.2d 712, 717 (D.N.J.2011) (quoting P.V., 197
       dismiss valid claims that are arguably overbroad.           N.J. at 143, 962 A.2d at 453).

The statutory scheme is clear. A disclosure that is “required”      *8 If a conflict exists, the court then moves to the
by Congress does not create a warranty, but one (like Energy       second prong: it must determine “which state has the ‘most
Star) that is optional may constitute an actionable warranty.      significant relationship’ to the claim at issue by weighing
A warranty claim based on such a voluntary, non-“required”         the factors” in the applicable section of the Restatement
disclosure is not preempted.                                       (Second) of Conflict of Laws. For contract actions, the
                                                                   applicable section is Restatement § 188. Gilbert Spruance Co.
                                                                   v. Pennsylvania Mfrs. Ass'n Ins. Co., 134 N.J. 96, 102, 629
   B. Breach of Express Warranty
                                                                   A.2d 885, 888 (1993).
I find that the Complaints sufficiently allege that the Energy
Star logo constitutes an express warranty, which defendants
                                                                   Under New Jersey law, to state a claim for breach of
breached. Any disclaimer in the user manual's Limited
                                                                   express warranty, “Plaintiffs must properly allege: (1) that
Warranty is ineffective; at least, it cannot be presumed
                                                                   Defendant made an affirmation, promise or description about
effective as a matter of law for purposes of a motion to
                                                                   the product; (2) that this affirmation, promise or description
dismiss.
                                                                   became part of the basis of the bargain for the product; and (3)
                                                                   that the product ultimately did not conform to the affirmation,
   a. Choice of Law                                                promise or description.” Snyder, 792 F.Supp.2d at 721 (citing
As to the state law claims, I must consider which state's          N.J. Stat. Ann. § 12A:2–313) (other internal citation omitted).
law applies, and I must do so separately as to each plaintiff,     Arizona and North Carolina law are substantially similar. See
each defendant, and each claim. See Gray v. Bayer Corp.,           Ariz.Rev.Stat. Ann. § 47–2313 (defining an express warranty
Civ. No. 08–4716, 2011 WL 2975768, at *5 (D.N.J. July              as “[a]ny affirmation of fact or promise made by the seller to
21, 2011) (Linares, J.) (“While it might be desirable for the      the buyer which relates to the goods and becomes part of the
sake of efficiency to settle upon one state, such as New           basis of the bargain” or “[a]ny description of the goods which
Jersey, and apply its law in lieu of the other 49 jurisdictions,   is made part of the basis of the bargain.”); N.C. Gen.Stat. Ann.
due process requires individual consideration of the choice        § 25–2–313 (same).
of law issues raised by each class member's case before
certification.”) (quoting Chin v. Chrysler Corp., 182 F.R.D.       The parties do not identify any significant distinction among
448, 457 (D.N.J.1998)).                                            these states' laws with respect to this issue. For the purposes
                                                                   of the pending motions, 6 with respect to a claim of breach
“[I]n a diversity action, a district court must apply the choice   of express warranty, no significant conflict exists between
of law rules of the forum state to determine what law will         the laws of Arizona, North Carolina and New Jersey.



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Accordingly, I will apply the law of the forum state, New             *9 Avram's and Lark's Complaints allege that refrigerators
Jersey. See, e.g., Snyder, 792 F.Supp.2d at 717.                     that carry the Energy Star logo meet the program's
                                                                     requirements of using 20% less energy than the minimum
6                                                                    federal standard. (Avram Compl. ¶ 2; Lark Compl. ¶ 2). The
        “Applying the factors necessary to determine
                                                                     refrigerators were sold with the logo, but subsequent DOE
        choice of law for a contract or quasi-contract claim”
                                                                     testing revealed that they did not meet Energy Star efficiency
        may be “a very fact-intensive inquiry,” such that the
                                                                     requirements. (Avram Compl. ¶ 1; Lark Compl. ¶ 1). The
        analysis sometimes is more appropriate at the class
                                                                     Complaints sufficiently allege that, by attaching the Energy
        certification stage. Snyder v. Farnam Companies,
                                                                     Star label to the refrigerators, Samsung and Lowe's affirmed
        Inc., 792 F.Supp.2d 712, 721 (D.N.J.2011).
                                                                     that the refrigerators qualified for the program. See Taylor v.
        Nevertheless, “[s]ome choice of law issues may not
                                                                     JVC Americas Corp., Civ. No. 07–4059, 2008 WL 2242451,
        require a full factual record and may be amenable
                                                                     at *5 (D.N.J. May 30, 2008) (warranty claim sufficiently pled
        to resolution on a motion to dismiss.” Harper v.
                                                                     by allegations that packaging said the product was a “1080p”
        LG Electronics USA, Inc., 595 F.Supp.2d 486, 491
                                                                     television, but television did not accept a 1080p signal).
        (D.N.J.2009). This is determined issue-by-issue.
        Arlandson v. Hartz Mountain Corp., 792 F.Supp.2d
                                                                     Defendants cite two cases in which courts held that the
        691, 700 (D.N.J.2011). These Complaints, I find,
                                                                     Energy Star logo did not support a claim of breach of express
        contain allegations sufficient to permit a choice-of-
                                                                     warranty. I find them distinguishable.
        law determination.

                                                                     In Savett v. Whirlpool Corp., Civ. No. 12–310, 2012 WL
   b. Analysis
                                                                     3780451 (N.D.Oh. Aug. 31, 2012), the court simply found
Avram's and Lark's allegations are straightforward: The
                                                                     that the complaint simply failed to allege any particular
Energy Star logo was an affirmation that the product was
                                                                     statement or promise that the logo conveyed. Id. at *9. Here,
Energy Star compliant; they purchased the refrigerators
                                                                     by contrast, the Complaints allege that allege that Energy
because of the logo; and the refrigerators did not, in fact, meet
                                                                     Star logo conveys that the refrigerator is at least 20% more
the Energy Star requirements. The parties dispute, however,
whether the allegations establish the first two elements of a        energy efficient than the minimum federal standard. 7 Rossi
breach of express warranty: that the seller made an affirmation      v. Whirlpool Corp., Civ. No. 12–125, 2013 WL 1312105
or promise about the product, and that it became the basis of        (E.D.Cal. Mar. 28, 2013) applies California law in a manner
the bargain.                                                         that does not square with cases from this District that apply
                                                                     New Jersey law. See Hemy v. Perdue Farms, Inc., Civ. No.
                                                                     11–888, 2013 WL 1338199, at *7, *10 (D.N.J. Mar. 31,
   i. Energy Star Logo as an Affirmation or Promise                  2013) (complaint sufficiently alleges that a “humanely raised”
“A statement can amount to a warranty, even if unintended            label would be understood by consumers to encompass the
to be such by the seller, ‘if it could fairly be understood ... to   slaughtering process); Taylor, supra, 2008 WL 2242451 at *5.
constitute an affirmation or representation that the [product]
possesse[s] a certain quality or capacity relating to future         7      Avram's and Lark have, in addition, asked the court
performance.’ ” L.S. Heath & Son, Inc. v. AT & T Info. Sys.,
                                                                            to take judicial notice of DOE survey results that
Inc. ., 9 F.3d 561, 570 (7th Cir.1993) (applying New Jersey
                                                                            show that the majority of households understand
law and quoting Gladden v. Cadillac Motor Car Div., General
                                                                            and rely on Energy Star labels when making
Motors Corp., 416 A.2d 394, 396, 83 N.J. 320 (1980)).
                                                                            purchasing decisions. (See National Awareness
“[W]hether a given statement constitutes an express warranty
                                                                            of Energy Star for 2011: Analysis of CEE
is normally a question of fact for the jury.” Snyder v. Farnam
                                                                            Household Survey, Ex. C to Request for Judicial
Companies, Inc., 792 F.Supp.2d 712, 721–22 (D.N.J.2011);
                                                                            Notice at ES–1 to ES–1 [Docket No. 37–4] ).
see also Union Ink Co., Inc. v. AT & T Corp., 352 N.J.Super.
                                                                            Such information might provide further support
617, 645, 801 A.2d 361 (App.Div.2002) (“Whether the
                                                                            of Plaintiffs' position, but is not necessary for
advertisements contained material misstatements of fact, or
                                                                            purposes of this motion.
were merely puffing, as alleged by defendants, presents a
question to be determined by the trier of fact.”).                   Applying New Jersey law, I find that the Complaints
                                                                     adequately allege that the Energy Star logo would be



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understood by consumers as an affirmation of fact or a             The refrigerator's manual states that “Energy star labeled
promise regarding the energy efficiency of the refrigerators.      this product could save your energy costs.” [sic ] (User
                                                                   Manual at 2, Ex. A to O'Hara Dec. [Docket No. 6–2] ). 8
                                                                   The Limited Warranty in the manual “covers manufacturing
   ii. Basis of the Bargain
                                                                   defects in materials and workmanship encountered in
“Under New Jersey law, a representation is presumed to be
                                                                   normal, noncommercial use of the product.” (Id. at 42).
part of the basis of the bargain ‘once the buyer has become
                                                                   The Limited Warranty contains an express disclaimer:
aware of the affirmation of fact or promise’ and can be
                                                                   “THERE ARE NO EXPRESS WARRANTIES OTHER
rebutted by ‘clear affirmative proof that the buyer knew
                                                                   THAN THOSE LISTED AND DESCRIBED ABOVE....
that the affirmation of fact or promise was untrue.’ ” Viking
                                                                   SAMSUNG SHALL NOT BE LIABLE FOR ... FAILURE
Yacht Co. v. Composites One LLC, 496 F.Supp.2d 462, 469
                                                                   TO REALIZE SAVINGS OR OTHER BENEFITS....” (Id. at
(D.N.J.2007) (quoting Liberty Lincoln–Mercury, Inc. v. Ford
                                                                   43).
Motor Co., 171 F.3d 818, 825 (3d Cir.1999) (other internal
quotation omitted)).
                                                                   8       The Limited Warranty is not referred to in either
Samsung and Lowe's contend that the Complaints fail to                     complaint and therefore would not ordinarily be
allege that the Energy Star logo was part of the basis of                  considered as part of a motion to dismiss. I
the bargain. Avram, however, alleges that she had decided                  nevertheless consider it, but find it ineffective as a
to purchase only a refrigerator that sported the Energy Star               disclaimer.
label. (Avram Compl. ¶ 17). While Lark did not limit her           “[U]nder U.C.C. § 2–316, a warranty disclaimer inconsistent
search in the same way, one can reasonably infer from              with an express warranty is inoperative.” L.S. Heath & Son,
her complaint that she knew the Energy Star label was on           Inc. v. AT & T Info. Sys., Inc., 9 F.3d 561, 570 (7th Cir.1993)
the refrigerator, understood its meaning, and paid a higher        (citing N.J. Stat. Ann. § 12A:2–316); Gladden, 83 N.J. at
price based on it. (See, e.g., Lark Compl. ¶ 17 (Lark's            330, 416 A.2d at 399. Because I have found that the Energy
purchase of the refrigerator “included a substantial price         Star logo constitutes an express warranty, this attempt to
premium due to its supposed energy efficiency and ENERGY
                                                                   disclaim it would be ineffective. 9 I note, too, the potential for
STAR® qualification.”)). Defendants did not—indeed, at this
                                                                   unfairness if an express warranty is displayed to the purchaser
procedural stage, probably could not—rebut the allegations
                                                                   when he parts with his money at the store, but the disclaimer
by proving that Avram and Lark were not in fact misled. That
                                                                   appears at page 42 of a manual sealed inside the product's
is not to say that such a rebuttal could not eventually be made,
                                                                   packaging. At best, such an alleged disclaimer would present
but, at this stage, I find that Avram and Lark have stated a
                                                                   an issue of fact. Either way, the motion to dismiss must be
claim for breach of express warranty.
                                                                   denied.


   iii. Disclaimer via Samsung's Limited Warranty                  9       The Limited Warranty covers parts and labor on
 *10 Only one point remains: whether Samsung successfully                  the refrigerator generally for one year, and on the
disclaimed the warranty. Samsung and Lowe's argue that,                    sealed refrigeration system for five years. (Id. at
by offering a Limited Warranty that expressly disclaims all                42). I do not reach the issue of whether these claims,
others, Samsung effectively negated any warranty based on                  if brought under the Limited Warranty, would be
the Energy Star logo.                                                      untimely.

Both the UCC and New Jersey law allow manufacturers to                C. Breach of the Implied Warranty of Merchantability
limit their liability (other than for personal injury) through     Samsung and Lowe's argue that the implied warranty of
disclaimers. Alloway v. Gen. Marine Indus., L.P., 149 N.J.         merchantability claims should be dismissed because neither
620, 630, 695 A.2d 264, 269 (1997); see N.J. Stat. Ann.            complaint adequately alleges that the refrigerators failed
§ 12A:2–316. Such a disclaimer must be so clear and                in their “ordinary purpose,” which is to keep food cold.
conspicuous that a reasonable purchaser would notice it.           Avram and Lark respond that this appliance was sold as a
Gladden v. Cadillac Motor Car Div., 83 N.J. 320, 331, 416          high-efficiency refrigerator with a more particular ordinary
A.2d 394, 400 (1980).                                              purpose: to keep food cold in compliance with Energy Star
                                                                   efficiency standards. As to each plaintiffs claim against each


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defendant, I must determine I must first determine which           one party is a citizen of Arizona, and the other of New Jersey
state's law applies. I conclude that New Jersey law governs        (the co-plaintiff and co-defendant are located elsewhere).
both plaintiffs' implied warranty claims against Lowe's, as        Accordingly, Arizona law will apply to Avram's claim of
well as Lark's claim against Samsung. Avram's claim against        breach of the implied warranty of merchantability as against
Samsung, however, is governed by Arizona law.                      Samsung.

                                                                   Avram's implied warranty claim against Samsung falls afoul
   1. Avram's implied warranty claim against Samsung               of Arizona's requirement of privity of contract. See Flory,
Avram, a citizen of Arizona, asserts a state law implied           supra. Privity does not exist because Avram purchased her
warranty of merchantability claim against Samsung, a citizen       refrigerator from Lowe's, not Samsung. (Avram Compl.
of New Jersey, in a New Jersey federal court.                      ¶ 17). Accordingly, her breach of warranty claim against
                                                                   Samsung, the remote manufacturer, must be dismissed.
 *11 I must first determine which law applies—New Jersey's         See Haugland v. Winnebago Indus., 327 F.Supp.2d 1092,
or Arizona's. The first step is to see whether these two states'   1097 (D.Ariz.2004) (because “privity is absent in this case,
laws conflict. P.V. v. Camp Jaycee, 197 N.J. 132, 144, 962         Plaintiffs implied warranty of merchantability claims ... will
A.2d 453, 460 (2008). They do. For an implied warranty of          be dismissed.”); Yee v. Nat'l Gypsum Co., Civ. No. 09–
merchantability claim, Arizona requires contractual privity,       8189, 2010 WL 2572976, at *2 (D.Ariz. June 22, 2010)
but New Jersey does not. Compare Flory v. Silvercrest Indus.,      (dismissing implied warranty claim against manufacturer
129 Ariz. 574, 579, 633 P.2d 383, 388 (1981) (“economic            because plaintiff “cannot [establish privity] because he
losses are not recoverable for breach of implied warranty          bought the drywall not from [the manufacturer], but from
in the absence of privity of contract”) with Spring Motors         Lowe's.”).
Distributors, Inc. v. Ford Motor Co., 98 N.J. 555, 582, 489
A.2d 660, 674 (1985) (“We conclude that the absence of
privity between a remote supplier and an ultimate purchaser           2. Lark's implied warranty claim against Samsung and
should not preclude the extension to the purchaser of the             both Plaintiffs' implied warranty claims against Lowe's
supplier's warranties made to the manufacturer.”) The conflict      *12 The remaining implied warranty of merchantability
matters because Avram (who purchased the refrigerator              claims—Lark's claim against Samsung and both plaintiffs'
from Lowe's) is not in privity with Samsung (the remote            claims against Lowe's—present “false conflicts.” They are
manufacturer of the refrigerator).                                 therefore governed by the law of the forum state, New Jersey.

Having established that a conflict exists, the Court must          Lark, a citizen of Maryland, sues Samsung, a citizen of New
determine “which state has the ‘most significant relationship’     Jersey, for breach of the implied warranty of merchantability.
to the claim at issue by weighing the factors” in Section 188      For purposes of this claim, there is no significant difference
of the Restatement (Second) of Conflict of Laws. Gilbert           between Maryland and New Jersey law. Compare Pulte Home
Spruance Co. v. Pennsylvania Mfrs. Ass'n Ins. Co., 134 N.J.        Corp. v. Parex, Inc., 174 Md.App. 681, 755, 923 A.2d 971,
96, 102, 629 A.2d 885, 888 (1993). Those factors are: “(1)         1013 (2007) (“In an action based on breach of warranty it
the place of contracting, (2) the place of negotiation of the      is necessary for the plaintiff to show the existence of the
contract, (3) the place of performance, (4) the location of the    warranty, the fact that the warranty was broken and that
subject matter of the contract, and (5) the domicile, residence,   the breach of warranty was the proximate cause of the loss
nationality, place of incorporation and place of business of       sustained.”), with Marcus v. BMW of N. Am., LLC, 687 F.3d
the parties.” Spence–Parker v. Delaware River & Bay Auth.,         583, 601 n. 8 (3d Cir.2012) (“To state a claim for breach
656 F.Supp.2d 488, 498–99 (D.N.J.2009) (citing Restatement         of the implied warranty of merchantability, a plaintiff must
(Second) of Conflicts § 188(2)).                                   allege (1) that a merchant sold goods, (2) which were not
                                                                   ‘merchantable’ at the time of sale, (3) injury and damages
Those factors point to the conclusion that Arizona law applies     to the plaintiff or its property, (4) which were was caused
to Avram's claim against Samsung. Avram shopped for,               proximately and in fact by the defective nature of the goods,
purchased, installed and used the refrigerator in Arizona,         and (5) notice to the seller of injury.” (internal citation
where she lives. Those facts imply that the first four factors     and quotation omitted)). Accordingly, New Jersey law will
favor Arizona. The last factor—the residence and place of          govern Lark's claim against Samsung for breach of the
incorporation of the parties—is more or less neutral, in that


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implied warranty of merchantability. See Snyder v. Farnam          Tramontin Motor Sales, Inc., 42 N.J.Super. 313, 321, 126
Companies, Inc., 792 F.Supp.2d 712, 717 (D.N.J.2011).              A.2d 358 (App.Div.1956) (emphasis added) (other internal
                                                                   quotation and citation omitted). Generally, a court will find
As to Avram's and Lark's implied warranty claims against           a good to be unfit for its ordinary purpose “when [it] can
Lowe's, North Carolina law is added to the mix; Lowe's             identify one of three general types of defects: manufacturing
is incorporated and has its principal place of business            defects, design defects, and failure to give the buyer proper
in North Carolina. Unlike New Jersey, but like Arizona,            instructions with respect to the goods.” Lieberson, 865
North Carolina requires privity. Compare Spring Motors             F.Supp.2d at 542.
Distributors, Inc. v. Ford Motor Co., 98 N.J. 555, 582, 489
A.2d 660, 674 (1985) (“We conclude that the absence of             But what is the general, “ordinary purpose” of these
privity between a remote supplier and an ultimate purchaser        refrigerators? Self-evidently, they are designed to keep
should not preclude the extension to the purchaser of the          perishables cold, and no one contends that they failed to do
supplier's warranties made to the manufacturer.”), and Ace         that. Avram and Lark, however, stress that these refrigerators
Am. Ins. Co. v. Grand Banks Yachts, Ltd., 587 F.Supp.2d            were sold as high-efficiency appliances that would keep food
697, 705 (D.Md.2008) (“Maryland has expressly abolished            cold in accordance with Energy Star efficiency standards. And
the requirement for contractual privity to sue for breach of       they did allegedly fail to do that.
the implied warranty of merchantability” (citing Md.Code
Ann., Com. Law § 2–314(1)(b) (“Any previous requirement            An impairment of the “ordinary purpose” of a product is one
of privity is abolished as between the buyer and the seller in     that is central to the product's value or function. Compare
any action brought by the buyer.”))), with Kelly v. Georgia–       Zabriskie Chevrolet, Inc. v. Smith, 99 N.J.Super. 441, 450,
Pac. LLC, 671 F.Supp.2d 785, 796 (E.D.N.C.2009) (“Under            240 A.2d 195, 200 (Law Div.1968) (where the car the
North Carolina common law, privity of contract is generally        plaintiff purchased broke down less than a mile from the
required to assert an implied warranty claim.”).                   dealership, the car was “substantially defective” and in breach
                                                                   of the implied warranty of merchantability), with Green v.
With respect to claims against Lowe's, however, this is a “false   Green Mountain Coffee Roasters, Inc., 279 F.R.D. 275, 283
conflict,” wherein “the laws of the two jurisdictions would        (D.N.J.2011) (rejecting implied warranty of merchantability
produce the same result on the particular issue presented.”        claim that a single-cup brewing system, although it brewed
Williams v. Stone, 109 F.3d 890, 893 (3d Cir.1997). Avram          beverages, failed to brew precisely one cup), and Lieberson,
and Lark bought their refrigerators from Lowe's and are in         865 F.Supp.2d at 543 (finding no breach of the implied
privity with Lowe's; lack of privity is therefore a non-issue.     warranty of merchantability where soap and lotion did not
Accordingly, I will disregard the nominal conflict with North      help babies sleep, as advertised, because the soap was “clearly
Carolina law; New Jersey law will govern Avram's and Lark's        manufactured for the purpose of washing and moisturizing
claims against Lowe's for breach of the implied warranty of        babies' skin” and it did do that).
merchantability.
                                                                   Based on the allegations in the Complaints, I find that the
 *13 “[T]he UCC, as adopted by New Jersey, specifically            Energy Star label puts the refrigerators closer to the car in
states that an implied warranty of merchantability ensures         Zabriskie than to the coffeemaker in Green or the soap in
that goods sold are ‘fit for the ordinary purposes for which       Lieberson. Soporific qualities and precise portion control do
such goods are used.’ ” Arlandson v. Hartz Mountain Corp.,         not, so far as I am aware, embody any settled consumer
792 F.Supp.2d 691, 706 (D.N.J.2011) (quoting N.J. Stat. Ann.       expectation as to baby soap or coffee makers. (Avram Compl.
§ 12A:2–314(f)). It “does not impose a general requirement         ¶ 1; Lark Compl. ¶ 1). An Energy Star sticker, by contrast,
that goods precisely fulfill the expectation of the buyer.         stands for a level of efficiency, defined in relation to statutory
Instead, it provides for a minimum level of quality.” Lieberson    standards, for which consumers allegedly are willing to pay
v. Johnson & Johnson Consumer Companies, Inc., 865                 a premium. (Avram Compl. ¶ 2; Lark Compl. ¶ 2). The
F.Supp.2d 529, 542 (D.N.J.2011) (internal quotations and           eventual presentation of evidence might or might not establish
citations omitted). Put a different way, “merchantability is       Plaintiffs' claim; I cannot say, however, that they have failed
defined as the product sold ‘should be of the general kind         to state one.
described and reasonably fit for the general purpose for which
it should have been sold.’ ” Id. (quoting Adams v. Peter



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 *14 Accordingly, I dismiss Avram's claim of breach of            and the Defendants are suppliers within the meaning of
the implied warranty of merchantability as against Samsung        the statute. 10 As discussed in Section III.B, above, the
under Arizona law. The remaining implied warranty claims,         Complaints adequately allege that the Energy Star logo
analyzed under New Jersey law, meet federal pleading              constitutes a written affirmation of fact relating to the
requirements and will not be dismissed.                           refrigerators' performance that became part of the basis of the
                                                                  bargain.

   D. Magnuson–Moss Warranty Act Claims
                                                                  10
Magnuson–Moss is “a remedial statute designed to protect                   “Consumer product” is defined as any tangible
the purchasers of consumer goods from deceptive warranty                   personal property which is distributed in commerce
practices.” Miller v. Willow Creek Homes, Inc., 249 F.3d                   and which is normally used for personal, family, or
629, 630 (7th Cir.2001) (citation omitted). It provides for                household purposes (including any such property
a private right of action whenever when a purchaser is                     intended to be attached to or installed in any real
“damaged by the failure of a ... warrantor ... to comply                   property without regard to whether it is so attached
with any obligation under [Magnuson–Moss], or under a                      or installed). 15 U.S.C. § 2301(1). A “supplier” is
written warranty ....” 15 U.S.C. § 2310(d)(1). Logically,                  any person engaged in the business of making a
“Magnuson–Moss claims based on breaches of express and                     consumer product directly or indirectly available to
implied warranties under state law depend upon those state                 consumers. 15 U.S.C. § 2301(4).
law claims.” Cooper v. Samsung Elec. Am., Inc., Civ. No. 07–      The Complaints state claims under Magnuson–Moss.
3853, 2008 WL 4513924, at *6 (D.N.J. Sept. 30, 2008) (citing      Samsung and Lowe's motions to dismiss the Magnuson–Moss
In re Ford Motor Co. Ignition Switch Prods. Liability Litig.,     claims are denied.
19 F.Supp.2d 263, 267 (D.N.J.1998)).

Samsung and Lowe's argue that Plaintiffs' Magnuson–Moss                E. State Consumer Protection Statute Claims
claims are based on invalid state-law warranty claims, and
therefore should be dismissed. As discussed in Sections III.B       a. Avram's New Jersey Consumer Fraud Act Claim
and C, above, however, all but one of the state-law causes of     Avram brings a claim under the New Jersey Consumer
action for breach of express and implied warranties are legally   Fraud Act against Samsung only. I find that the law of
sufficient and they will not be dismissed. Consequently, the      Arizona applies, and that the NJCFA claim must therefore be
Magnuson–Moss claim survives as well.                             dismissed as a matter of law. 11

In addition, the Magnuson–Moss claims meet federal                11       Should New Jersey law apply, Samsung argues,
pleading standards. A “written warranty” is:                               the NJCFA claim should be dismissed because it
                                                                           does not state an ascertainable loss nor are its
  (A) any written affirmation of fact or written promise
                                                                           allegations pleaded with particularity. Because I
  made in connection with the sale of a consumer product
                                                                           find that Arizona law applies, I do not reach those
  by a supplier to a buyer which relates to the nature of
                                                                           issues.
  the material or workmanship and affirms or promises that
  such material or workmanship is defect free or will meet         *15 Step one of the choice-of-law analysis requires the
  a specified level of performance over a specified period of     Court to determine if an actual conflict exists between
  time ...                                                        New Jersey and Arizona law. As both parties acknowledge,
                                                                  there is a conflict. The Arizona Consumer Fraud Act (the
  which ... becomes part of the basis of the bargain between a    “ACFA”) (1) requires reliance, Kuehn v. Stanley, 208 Ariz.
  supplier and a buyer for purposes other than resale of such     124, 129, 91 P.3d 346, 351 (Ct.App.2004) (“An injury occurs
  product.                                                        when a consumer relies, even unreasonably, on false or
                                                                  misrepresented information.”); (2) has a one-year statute of
15 U.S.C. § 2301(6).
                                                                  limitations, Cervantes v. Countrywide Home Loans, Inc., 656
                                                                  F.3d 1034, 1045 (9th Cir.2011); (3) does not permit treble
The allegations of the Complaint easily would support
                                                                  damages and (4) allows only the attorney general to collect
an inference that the refrigerators are consumer products
                                                                  attorneys' fees. Ariz.Rev.Stat. Ann. § 44–1534.


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                                                                           addresses [were] known.”). There is no evidence
New Jersey, by contrast, (1) does not require reliance,                    that Samsung or Lowe's directly and knowingly
Lieberson v. Johnson & Johnson Consumer Companies, Inc.,                   targeted Avram or anyone else.
865 F.Supp.2d 529, 538 (D.N.J.2011) (stating elements of
NJCFA claim, which do not include reliance); (2) has a               (2) When the plaintiff's action in reliance took place in
six-year statute of limitations, Dilorio v. Structural Stone &       whole or in part in a state other than that where the false
Brick Co., Inc., 368 N.J.Super. 134, 142, 845 A.2d 658, 663          representations were made, the forum will consider such
(App.Div.2004); (3) imposes treble damages and (4) provides          of the following contacts, among others, as may be present
for an award of attorneys' fees. N.J. Stat. Ann. § 56:8–19.          in the particular case in determining the state which, with
                                                                     respect to the particular issue, has the most significant
In short, the ACFA and the NJCFA conflict. Accordingly, I            relationship to the occurrence and the parties:
move to step two to see which state has the most significant
relationship to the claim, using the factors outlined in the               (a) the place, or places, where the plaintiff acted in
applicable subsection of Section 148 of the Restatement                    reliance upon the defendant's representations,
(Second) of Conflict of Laws. Maniscalco v. Brother Int'l
                                                                           (b) the place where the plaintiff received the
Corp. (USA), 793 F.Supp.2d 696, 704 (D.N.J.2011) (citing
                                                                           representations,
P.V. v. Camp Jaycee, 197 N.J. 132, 143–44, 962 A.2d 453,
460 (2008).                                                                (c) the place where the defendant made the
                                                                           representations,
The subsection of the Restatement that applies to this case is
Section 148(2), 12 which states:                                           (d) the domicile, residence, nationality, place of
                                                                           incorporation and place of business of the parties,
12     Restatement Section 148(1) states:                                  (e) the place where a tangible thing which is the
          (1) When the plaintiff has suffered pecuniary                    subject of the transaction between the parties was
          harm on account of his reliance on the                           situated at the time, and
          defendant's false representations and when the
          plaintiff's action in reliance took place in the state           (f) the place where the plaintiff is to render
          where the false representations were made and                    performance under a contract which he has been
          received, the local law of this state determines                 induced to enter by the false representations of the
          the rights and liabilities of the parties unless,                defendant.
          with respect to the particular issue, some other
                                                                      Restatement (Second) of Conflict of Laws § 148(2) (1971).
          state has a more significant relationship under
                                                                   Simple factor-counting is not the whole of the analysis, but it
          the principles stated in § 6 to the occurrence and
                                                                   is a starting point. Four of the Section 148(2) factors favor the
          the parties, in which event the local law of the
                                                                   application of Arizona law, one favors New Jersey, and one is
          other state will be applied.
                                                                   neutral. Specifically, the first two and last two favor Arizona
       I find that Section 148(1) does not apply, because
                                                                   law: in Arizona, Avram received the representations and acted
       the representations and the reliance did not both
                                                                   in reliance on them in purchasing and using the refrigerator.
       occur in any single state. Any representations were
                                                                   The third factor—that Samsung made the representations in
       made in New Jersey, but received in Arizona,
                                                                   New Jersey—favors New Jersey law. The remaining factor—
       where Avram allegedly relied upon them. To the
                                                                   the residence, place of incorporation, and place of business
       extent that that the applicability of Section 148(1)
                                                                   of the parties—is evenly balanced. In sum, the 148(2) factors
       is suggested by Agostino v. Quest Diagnostics,
                                                                   point to Arizona law.
       Inc., 256 F.R.D. 437 (D.N.J.2009), I find the case
       distinguishable. See Maniscalco, 793 F.Supp.2d
                                                                    *16 Courts are also admonished, however, not merely to
       696, 707 (distinguishing Agostino because the
                                                                   count the 148(2) factors, but to weigh them in light of the
       Agostino defendant “intended the fraudulent bills
                                                                   principles stated in Section 6 of the Restatement. Camp
       be read by each plaintiff in his or her home state,”
                                                                   Jaycee, 197 N.J. at 147, 962 A.2d at 463; see also Restatement
       while the facts in Maniscalco did “not concern the
                                                                   § 148 cmt. B. Those policies are:
       direct targeting of plaintiffs whose identities and


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                                                                   used the refrigerator in Arizona, and Samsung surely knew its
  (a) the needs of the interstate and international systems,       products would be sold there; the application of Arizona law
                                                                   defeats no legitimate expectation of either party. Conversely,
  (b) the relevant policies of the forum,
                                                                   I see no indication that Avram knew where Samsung was
  (c) the relevant policies of other interested states and the     headquartered, or that she ever dreamed that her refrigerator
  relative interests of those states in the determination of the   purchase bore any relation to New Jersey or its laws.
  particular issue,
                                                                    *17 The third factor focuses on which law would further
  (d) the protection of justified expectations,                    the “fundamental goals of tort law,” which are deterrence
                                                                   and compensation. Id. Taken literally, this factor might
  (e) the basic policies underlying the particular field of law,
                                                                   imply that the more plaintiff-favorable law always wins.
  (f) certainty, predictability and uniformity of result, and      But the determination is more systematic and respectful
                                                                   of state policy judgments. True, NJCFA is probably more
  (g) ease in the determination and application of the law to      generous to plaintiffs and stern with manufacturers than is
  be applied.                                                      the ACFA. But “[s]imply because New Jersey has struck
                                                                   a particular balance between consumer protection and the
Restatement (Second) of Conflict of Laws § 6. “Reduced             promotion of business within its borders does not suggest
to their essence, the § 6 principles are: (1) the interests of     that its interest in deterrence should displace the policy goals
interstate comity; (2) the interests of the parties; (3) the       of its fellow states. Those states have instead struck their
interests underlying the field of tort law; (4) the interests of   own legislative balances, awarding compensation based on
judicial administration; and (5) the competing interests of the    differing standards of, inter alia, intent, causation, reliance,
states.” Camp Jaycee, 197 N.J. at 147, 962 A.2d at 463.            and damages.” Gray v. Bayer Corp., Civ. No. 08–4716,
                                                                   2011 WL 2975768, at *5 (D.N.J. July 21, 2011). Avram
Avram's Arizona residence weighs heavily in favor of that          had no contacts with New Jersey, but substantial ones with
state's law. “The interests of interstate comity favor applying    Arizona. She directly purchased the refrigerator from a third
the law of a state where the injured party resides.” Montich       party with no ties to New Jersey. Application of ACFA
v. Miele USA, Inc., 849 F.Supp.2d 439, 450 (D.N.J.2012)            would further Arizona's interest in compensating purchasers
(citing Fink v. Ricoh Corp., 365 N.J.Super. 520, 585, 839 A.2d     for harms they may have suffered. New Jersey's interest,
942 (Law Div.2003) (stating this factor “clearly require[s]        however, in compensating out-of-state consumers is minimal,
application of the law of any potential claimant's state of        and the state's contacts with this litigation have come only
residence because application of any other state's law would       because Samsung's headquarters happen to be located there. I
frustrate the domiciliary state's legislative policies....”)).     thus see “little reason to conclude that New Jersey's deterrent
                                                                   interest with respect to one party should be elevated above”
The second factor, the interests of the parties, looks to the      Arizona's. See id. In other words, this factor is at best neutral,
law the parties reasonably expected would apply. See Fu            but tends to lean in favor of Arizona.
v. Fu, 160 N.J. 108, 123, 733 A.2d 1133 (1999); see also
Restatement § 6, comment g (“Generally speaking, it would          The fourth factor is neutral. There is no indication that the
be unfair and improper to hold a person liable under the           interests of judicial administration favor either state.
local law of one state when he had justifiably molded his
conduct to conform to the requirements of another state.”). It     Fifth, the states' competing interests also tilt to Arizona.
is given more weight in the context of a voluntary commercial      “[E]very state has an interest in having its law applied to
transaction, like this one, in which the parties can be said to    its resident claimants.” Montich v. Miele USA, Inc., 849
have “molded” their conduct, as opposed to, say, a personal-       F.Supp.2d 439, 450 (internal quotation and citation omitted).
injury tort case. See Agostino, 256 F.R.D. at 463 (“the            Arizona, the state where the plaintiff “claimant” resides, and
interests of the parties ‘is of extreme importance in the field    where the bulk of the contacts occurred, has the stronger
of contracts,’ but it ‘plays little or no part in a choice-of-     interest in protecting its consumers from harm, regulating
law question in the field of torts.’ ” (quoting Fu v. Fu,          incursions by foreign corporations, and determining the scope
160 N.J. 108, 123, 733 A.2d 1133, 1141 (2009) (internal            of recovery for its citizens. See id. (citing State Farm Mut.
quotation omitted)). Avram purchased, took delivery of, and        Auto. Ins. Co. v. Campbell, 538 U.S. 408, 422, 123 S.Ct.



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1513, 155 L.Ed.2d 585 (2003) (“[E]ach State may make its           Jersey law would ignore their strong compensatory interest
own reasoned judgment about what conduct is permitted or           in this matter and would threaten to upset the balance of
proscribed within its borders.”)).                                 our federal system. The Court thus follows the weight of
                                                                   authority counseling against the application of the NJCFA
In short, I apply New Jersey conflicts law and find that           to out-of-state consumers.”); Moloney v. Microsoft Corp.,
the Restatement § 148(2) factors, interpreted in light of          No. 09–2047, 2011 WL 5864064, at *9, 2011 U.S. Dist.
the policies stated in § 6, strongly point to the application      LEXIS 134841, at *28 (D.N.J. Nov. 21, 2011) (“This Court
of Arizona law. Other judges in this District, analyzing           is similarly unsatisfied with the justifications provided in the
analogous cases, have come to a similar conclusion. See, e.g.,     Mercedes–Benz decision.”); Agostino v. Quest Diagnostics
Agostino, 256 F.R.D. at 463 (Chesler, J.); Gray v. Bayer Corp.,    Inc., No. 04–4362, 2010 WL 5392688, *9, 2010 U.S. Dist.
Civ. No. 08–4716, 2011 WL 2975768, at *5 (D.N.J. July 21,          LEXIS 135310, *28 (D.N.J. Dec. 22, 2010) (“Parting ways,
2011) (Linares, J.).                                               however, with Judge Debevoise's assessment in Mercedes,
                                                                   this Court does not consider that New Jersey's interest
Avram, however, cites In re Mercedes–Benz Tele Aid Contract        in deterring fraudulent conduct perpetrated by domestic
Litigation, 257 F.R.D. 46 (D.N.J.2009) (Debevoise, J.), which      companies necessarily trumps the interest of the victim's
applied the NJCFA to a claim that a New Jersey corporation         home state.”).
had made in-state misrepresentations affecting an out-of-
state plaintiff. There, Judge Debevoise found that, under           *18 Like the judges in the cases cited above, I find that
the circumstances, the actions emanating from New Jersey           New Jersey has the less significant relationship with Avram's
and this State's strong interest in regulating its corporations    consumer fraud claim. “[A]ccepting all of the facts as pleaded
outweighed other, contrary factors. See id. at 64–70. The facts    by Plaintiffs as true, the factors weigh in favor of applying
of Mercedes–Benz are distinguishable in my view. There,            the law” of Arizona. Arlandson v. Hartz Mountain Corp.,
the defendant's extensive, possibly nefarious steps in New         792 F.Supp.2d 691, 709 (D.N.J.2011). Avram received and
Jersey might have lent greater weight to this State's interest     relied upon the Energy Star logo in Arizona, she purchased
in regulating domestic corporations. Id. at 51–54, 66. More to     the refrigerator there, the refrigerator is located there, and
the point, no subsequent case has followed Mercedes–Benz,          performance of the contract occurred there. These factors
and many have found that its reasoning went too far. See,          outweigh the single fact that Samsung is located in New
e.g., Montich v. Miele USA, Inc., 849 F.Supp.2d 439, 449–          Jersey. See, e.g., Maniscalco v. Brother Int'l Corp., 793
50 (D.N.J.2012) (collecting criticism of, and distinguishing,      F.Supp.2d 696, 707 (D.N.J.2011) (“Moreover, even if I were
Mercedes–Benz, and finding, “[b]ased on these facts and            to find that BIC had made a decision to conceal in New
the weight of the precedent in this Circuit,” that California      Jersey, such a finding would not alter my determination
law applied where “Plaintiff purchased the washing machine         that California and South Carolina have the most significant
from a store in California, took delivery of the machine in        relationship to Plaintiffs' fraud claims; indeed, as discussed
California, used the machine at her home in California, and        above, a majority of the courts in this district have determined
allegedly suffered injury in California.”); In re Vioxx Products   that unlawful conduct emanating from New Jersey does not
Liab. Litig., 861 F.Supp.2d 756, 765 (E.D.La.2012) (declining      necessarily supersede the numerous contacts a plaintiff had
to apply the NJCFA and stating “only one factor seems to           with his home state.”); Arlandson, 792 F.Supp.2d at 709 (“The
weigh in favor of the application of New Jersey law. This was      factual record is complete enough at this time to show that,
enough for the Mercedes–Benz court to apply New Jersey law         accepting all of the facts as pleaded by Plaintiffs as true,
to out-of-state litigants, but as noted above that opinion is an   the factors weigh in favor of applying the law of Plaintiffs'
outlier. Under similar facts, many more cases have applied the     home states. Plaintiffs received and relied upon the alleged
consumer fraud law of plaintiffs home state.”); Gray v. Bayer      misrepresentations in their home states, the product is located
Corp., 2011 WL at *6 (“While this Court agrees with the            in the Plaintiffs' home states, and the performance of the
court in Mercedes–Benz that due consideration must be given        contract was rendered in Plaintiffs' home states. Balancing
to New Jersey's deterrent interest in enforcing the NJCFA,         all these factors in favor of Plaintiffs' home states against the
the Court concludes that, given the substantial contacts           fact that Defendants' headquarters are located in New Jersey,
between Plaintiff's claims and the states where One–A–Day          the Court finds that the law of each Plaintiff's home state
WeightSmart was purchased, to disregard the individual laws        has the “most significant relationship” to Plaintiffs' consumer
of those states in favor of a blanket application of New           fraud action.”); Cooper v. Samsung Elecs. Am., Inc., 374



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Fed. App'x 250, 255 (3d Cir.2010) (noting at the motion to                      court's discretion. It is thus abundantly
dismiss stage that a consumer fraud claim bears the most                        clear that actual conflicts exist, thus
significant relationship with the state in which the product                    requiring an analysis of the second
was “marketed, purchased, and used”); Nikolin v. Samsung                        prong.
Elecs. Am., Inc., Civ. No. 10–1456, 2010 WL 4116997, at
*3 (D.N.J. Oct.18, 2010) (finding at the motion to dismiss
stage that the law of each plaintiffs home state has the most      Margulies v. Chase Manhattan Mortgage Corp., A–4087–
significant relationship, as “mere allegations that the unlawful   03T3, 2005 WL 2923580 (N.J.Super.Ct.App.Div. Nov.7,
conduct emanated from New Jersey did not outweigh the              2005) (internal citations omitted).
substantial ties to plaintiffs' home states”); In re Philips/
Magnavox TV Litig., Civ. No. 09–3072, 2010 WL 3522787,             Under that second prong, I must determine which state has
at *9–10 (D.N.J. Sept. 1, 2010) (analyzing the Section 148(2)      the more significant relationship to the consumer fraud issue
factors at the motion to dismiss stage and finding that the law    by examining the Restatement (Second) of Conflict of Laws
of each plaintiff's home state applies); Warma Witter Kreisler,    factors that apply to fraud actions, found in Section 148.
Inc. v. Samsung Elecs. Am., Inc., Civ. No. 08–5380, 2010 WL        Maniscalco v. Brother Int'l Corp. (USA), 793 F.Supp.2d 696,
1424014, at *l–2 (D.N.J. Apr. 8, 2010) (finding at motion          704 (D.N.J.2011) aff'd sub nom. Maniscalco v. Brother Int'l
to dismiss stage that allegation that product was designed in      (USA) Corp., 709 F.3d 202 (3d Cir.2013) (quoting P.V. v.
New Jersey “does not outweigh other, more significant, ties”       Camp Jaycee, 197 N.J. 132, 136, 962 A.2d 453 (2008));
to plaintiffs home state).                                         Agostino v. Quest Diagnostics Inc., 256 F.R.D. 437, 463–64
                                                                   (D.N.J.2009). As with Avram, Section 148(1) does not apply
*19 Accordingly, the applicable law is that of Arizona.            because Lark's purchase and use of the refrigerator took place
Of necessity, then, Avram's claim under the New Jersey             in Maryland, and the alleged false representations were made
Consumer Fraud Act is dismissed.                                   in New Jersey. Instead, I must look at the factors in Section
                                                                   148(2).

  b. Lark's MCPA Claim
                                                                   On balance, these factors point to Maryland as having the
Samsung and Lowe's argue that Lark's MCPA cause of action
                                                                   most significant relationship to the claim at issue. The first
must be dismissed because she does not allege reliance on any
                                                                   two factors favor Maryland because Lark received and acted
misrepresentation or actual loss.
                                                                   in reliance on the representation—the Energy Star logo—in
                                                                   Maryland. The last two factors also support Maryland because
  i. Choice of Law                                                 Lark purchased and used the refrigerator in Maryland. The
The parties agree that Maryland law applies to Lark's claim. I     third factor, the location where the representation was made,
concur. There is a conflict between the NJCFA and the MCPA:        points to New Jersey. The fourth factor, the residence and
                                                                   place of incorporation and business of the parties, is balanced.

                                                                   In these circumstances, ample case law establishes that
             New Jersey's CFA does not require
                                                                   the factors, both in number and weight, favor Maryland.
             scienter as an element of proof
                                                                   See Maniscalco, 793 F.Supp.2d at 708 (“A majority of
             with respect to affirmative acts by
                                                                   courts in this District have held that the mere fact that
             defendants, whereas the Maryland
                                                                   a company is headquartered in New Jersey will “not
             Consumer Protection Act (CPA)
                                                                   supersede the numerous contacts with the consumer's home
             requires scienter. Further, actual
                                                                   state” for purposes of determining which state has the
             conflicts exist regarding remedies.
                                                                   most significant relationship under Restatement § 148(2).”);
             New Jersey's CFA entitles a successful
                                                                   Cooper v. Samsung Electronics America, Inc., 374 Fed. App'x
             claimant to treble damages plus
                                                                   250, 255 (3d Cir.2010) (upholding a District Court's refusal
             attorney's fees and costs, whereas
                                                                   to apply the NJCFA where plaintiff, an Arizona resident,
             Maryland's CPA does not provide
                                                                   learned of, purchased and used a Samsung television in
             for treble damages and does not
                                                                   Arizona and where New Jersey's only connection to the
             provide for mandatory attorney's fees,
                                                                   matter was the fact that Samsung's headquarters were located
             but allows for their award in the


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in New Jersey); Nikolin v. Samsung Electronics America,              refrigerator. It does not say, for instance, that she decided
Inc., Civ. No. 10–1456, 2010 WL 4116997, at *4 (D.N.J.               to purchase the refrigerator because of its Energy Star
Oct.18, 2010) (collecting cases and holding that even where          qualification. Nor does it allege more generally that she
a plaintiff has alleged that “unlawful conduct emanated              had limited her search to Energy Star-qualified refrigerators.
from New Jersey,” such contact does not “outweigh the                She asserts that, absent the Energy Star logo, she would
substantial ties to plaintiffs home states based on other factors    not have purchased the refrigerator “on the same terms.”
under § 148(2).”); Warma Witter Kreisler, Inc. v. Samsung            Because Lark's allegations of reliance are somewhat vague
Elecs. Am., Inc, Civ. No. 08–5380, 2010 WL 1424014,                  and conclusory, they “are not entitled to the assumption of
at *4 (D.N.J. Apr.8, 2010) (holding that an “allegation              truth.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir.2012). I find
that [S]amsung designed the product's operation in New               that Lark's MCPA claim is inadequately pleaded and I will
Jersey does not outweigh the other, more significant, ties to        dismiss it. 13
Illinois.”); Knox v. Samsung Electronics America, Inc., Civ.
No. 08–4308, 2009 WL 1810728, at *4 (D.N.J. June 25,                 13      On the other hand, I reject Samsung and Lowe's
2009) (applying Georgia's consumer fraud law where “the
                                                                             argument that Lark failed to allege actual loss.
consumer contacts ... all occurred in Georgia” and noting that
                                                                             “A complaint adequately pleads loss, for instance,
despite Samsung's headquarters and the alleged wrongdoing
                                                                             when it points to some amount that it would
occurring in New Jersey, “it is not clear ... that New Jersey
                                                                             ‘take to remedy the loss [the plaintiff] incurred
intended out-of-state consumers to engage in end runs around
                                                                             as a result of the respondents' alleged deceptive
local law in order to avail themselves of collective and class
                                                                             trade practices.’ ” Jones v. Koons Auto., Inc.,
remedies that those states deny.”). I will apply the law of
                                                                             752 F.Supp.2d 670, 684 (D.Md.2010) (quoting
Maryland, the state with the more significant contacts.
                                                                             Lloyd, 397 Md. at 150, 916 A.2d 257). Here,
                                                                             Lark has alleged that she paid a premium for the
   ii. Analysis                                                              refrigerator and paid higher electricity bills because
 *20 I therefore analyze Lark's claim against Lowe's under                   the refrigerator was not Energy Star-compliant.
the Maryland Consumer Protection Act. The MCPA prohibits                     This suffices to survive a motion to dismiss. See
any “unfair or deceptive trade practice” in “[t]he sale ... of any           Dwoskin v. Bank of Am., N.A., 850 F.Supp.2d 557,
consumer goods.” Md.Code Ann., Com. Law § 13–303(1).                         570 (D.Md.2012) (holding that actual loss prong
The MCPA defines “unfair or deceptive” trade practices to                    of MCPA claim was properly alleged by plaintiffs'
include “false ... or misleading oral or written statement[s] ...            claim that they “suffered damages from paying a
or other representations ... [that have] the capacity, tendency,             higher interest rate than they otherwise would have
or effect of deceiving or misleading consumers.” Id. § 13–                   been charged.”).
301. Consumers “may bring an action to recover for injury or
loss sustained ... as the result of” such a misrepresentation. Id.      F. Unjust Enrichment
§ 13–408(a).                                                         Samsung and Lowe's have moved to dismiss Avram's
                                                                     and Lark's unjust enrichment claims because (1) unjust
A consumer bringing a private action under MCPA, § 13–               enrichment is superfluous based on the presence of other
408, must allege (1) an unfair or deceptive practice or              tort claims; (2) neither Avram nor Lark can allege that they
misrepresentation that (2) was relied upon, and (3) caused           expected to receive remuneration from Samsung or Lowe's;
actual injury. See Lloyd v. Gen. Motors Corp., 397 Md. 108,          and (3) because Avram and Lark purchased the refrigerators
143, 916 A.2d 257, 277 (2007); Philip Morris Inc. v. Angeletti,      from Lowe's, neither Plaintiff conferred a benefit directly on
358 Md. 689, 752 A.2d 200, 235 (2000). “A consumer                   Samsung.
relies on a misrepresentation when the misrepresentation
substantially induces the consumer's choice.” Stewart v.             Unjust enrichment is a shared feature of many states' common
Bierman, 859 F.Supp.2d 754, 768–69 (D.Md.2012) (quoting              law. For unjust enrichment claims, many courts have found
Bank of America v. Jill P. Mitchell Living Trust, 822 F.Supp.2d      that there is no actual conflict between different states' laws.
505, 532 (D.Md.2011)).                                               See In re Mercedes–Benz Tele Aid Contract Litig., 257
                                                                     F.R.D. 46, 58 (D.N.J.2009) (finding that any differences
Lark's Complaint does not sufficiently allege that the               under the laws of the various states are “not material and
Energy Star logo substantially induced her to purchase the           do not create actual conflict”); Agostino v. Quest Diagnostics


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Inc., 256 F.R.D. 437, 464 (D.N.J.2009) (concluding that                 North Carolina law provides that “[i]n order to
“there are no actual conflicts among the laws of unjust                 state a claim for unjust enrichment, the plaintiffs
enrichment”); Powers v. Lycoming Engines, 245 F.R.D. 226,               allegations must set forth that a benefit was
231 (E.D.Pa.2007) (examining the unjust enrichment laws                 conferred on the defendant, that the defendant
of the 50 states and concluding that, “[a]lthough there are             accepted the benefit, and that the benefit was not
numerous permutations of the elements of the cause of action            gratuitous.” Jackson v. Carolina Hardwood Co.,
in the various states, there are few real differences”). I see          120 N.C.App. 870, 872, 463 S.E.2d 571, 573
no significant conflicts between the unjust enrichment law              (1995) (citing Booe v. Shadrick, 322 N.C. 567, 570,
of New Jersey, Arizona, North Carolina, and Maryland. 14                369 S.E.2d 554, 556 (1988)).
Therefore, I will apply New Jersey law.                           *21 Avram and Lark allege that they each conferred an
                                                                 benefit on Samsung and Lowe's by purchasing refrigerators
14                                                               that were not in fact Energy Star-compliant. (Avram Compl.
       “[T]o claim unjust enrichment” under New Jersey
       law, “a plaintiff must allege that (1) at plaintiffs      ¶ 57; Lark Compl. ¶ 56). Samsung and Lowe's collected
       expense (2) defendant received benefit (3) under          these revenues for what was advertised as an Energy Star-
       circumstances that would make it unjust for               qualified refrigerator, when, in fact, the refrigerators did not
       defendant to retain benefit without paying for it.”       meet Energy Star requirements. (Avram Compl. ¶ 58; Lark
       Snyder v. Farnam Companies, Inc., 792 F.Supp.2d           Compl. ¶ 57). As a result, Plaintiffs paid a price premium for a
       712, 723–24 (D.N.J.2011).                                 product that did not deliver promised energy savings. (Avram
       “A claim of unjust enrichment under Arizona               Compl. ¶ 58; Lark Compl. ¶ 57). I believe the Complaints
       law has five elements: ‘(1) an enrichment, (2)            adequately allege each element of an unjust enrichment claim,
       an impoverishment, (3) a connection between               with one exception.
       the enrichment and impoverishment, (4) the
       absence of justification for the enrichment and           The requirement that a plaintiff must confer a benefit on
       impoverishment, and (5) the absence of a remedy           the defendant “has been interpreted by New Jersey courts as
       provided by law.’ ” R. Prasad Indus. v. Flat Irons        a requirement that ‘the plaintiff allege a sufficiently direct
       Envtl. Solutions Corp., Civ. No. 12–8261, 2013            relationship with the defendant to support the claim.’ ”
       WL 2217831, at *12 (D.Ariz. May 20, 2013)                 Snyder v. Farnam Companies, Inc., 792 F.Supp.2d 712, 724
       (quoting Freeman v. Sorchych, 226 Ariz. 242, 251,         (D.N.J.2011) (quoting Nelson v. Xacta 3000 Inc., Civ. No. 08–
       245 P.3d 927, 936 (Ct.App.2011)); see also Cooper         5426, 2009 WL 4119176, at *3 (D.N.J. Nov.24, 2009) (citing
       v. Samsung Electronics Am., Inc., Civ. No. 07–            Maniscalco v. Brother Int'l Corp., 627 F.Supp.2d 494, 505–06
       3853, 2008 WL 4513924, at *9 (D.N.J. Sept. 30,            (D.N.J.2009))); see also Cooper v. Samsung Elec., Civ. No.
       2008) (applying New Jersey law after finding no           07–3853, 2008 WL 4513924, at *10 (D.N.J. Sept. 29, 2008)
       conflict between unjust enrichment law of Arizona         (dismissing an unjust enrichment claim where consumer's
       and New Jersey).                                          purchase was through a retailer, as there was no relationship
       “The Court of Appeals of Maryland has defined             conferring any direct benefit on the manufacturer). “When
       unjust enrichment as constituting three elements:         consumers purchase a product from a third party, they confer
          ‘1. A benefit conferred upon the defendant by the      a benefit on that third party, not on the manufacturer.” Snyder,
          plaintiff;                                             792 F.Supp.2d at 724 (citing cases).
          2. An appreciation or knowledge by the
          defendant of the benefit; and                          Avram and Lark purchased the refrigerators from Lowe's, not
          ‘3. The acceptance or retention by the defendant       Samsung. Therefore, they did not confer a sufficiently direct
          of the benefit under such circumstances as to          benefit on Samsung. Accordingly, their unjust enrichment
          make it inequitable for the defendant to retain the    claims against Samsung must be dismissed. 15
          benefit without the payment of its value.’ ”
       Sensormatic Sec. Corp. v. Sensormatic Electronics         15     Avram and Lark note that a similar unjust
       Corp., 249 F.Supp.2d 703, 708 (D.Md.2003)                        enrichment claim in Palmeri v. LG Electronics
       (quoting County Comm'rs v. J. Roland Dashiell &                  USA, Inc., another consumer products suit, was not
       Sons, Inc., 358 Md. 83, 95 n. 7, 747 A.2d 600, 607               dismissed. Civ. No. 07–5706, 2008 WL 2945985
       n. 7 (2000)).


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                                                                                  in a claim for unjust enrichment that it is pled
        (D.N.J. July 30, 2008). In that case, the defendants
                                                                                  in the alternative to a claim for recovery on the
        did not make, nor did the court address, the
                                                                                  contract.”).
        argument that the plaintiff-purchaser did not confer
        a benefit on the manufacturer, as opposed to the
        retailer, giving it little force here.                            IV. CONCLUSION
                                                                          For the reasons stated above, Samsung and Lowe's Motions to
The claims against Lowe's, however, will remain. It is true               Dismiss are GRANTED IN PART and DENIED IN PART.
that unjust enrichment often turns out to be superfluous in               Specifically the Motions to Dismiss are
light of other causes of action-i.e., that it is only a contractual
breach or the commission of a tort that makes the enrichment                1. GRANTED as to (1) Avram's cause of action
“unjust.” Nevertheless, to dismiss the claim on that basis                    against Samsung for breach of the implied warranty of
would be premature at this point. 16 Lowe's motion to dismiss                 merchantability; (2) Avram's and Lark's claims under the
this count is denied.                                                         NJCFA and MCPA, respectively; and (3) Avram's and
                                                                              Lark's unjust enrichment claims against Samsung only.
16      I say “at this point” because a motion to dismiss                   2. DENIED as to all remaining claims in both Complaints.
        is directed to plaintiffs pleading, and the unjust
        enrichment claim is pleaded in the alternative, as                An appropriate order follows.
        the federal rules permit. Fed.R.Civ.P. 8(d)(2) (“A
        party may set out two or more statements of a
        claim or defense alternatively or hypothetically,                 All Citations
        either in a single count or defense or in separate
        ones.”). See Palmieri, 2008 WL 2945985 at *7                      Not Reported in F.Supp.2d, 2013 WL 3654090, 81 UCC
        (“unjust enrichment is, by its nature, an alternative             Rep.Serv.2d 48
        remedy to contract and tort remedies....It is inherent

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                             Tab 2
    Case 1:19-md-02875-RMB-SAK
Barker v. Dicicco, Not Reported in N.W.2d (2002)
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                                                                   installments on the Franklin Bank note. Plaintiffs then
                                                                   brought suit to recover the amount that they paid on the loan.
                 2002 WL 31956978
    Only the Westlaw citation is currently available.
                                                                   Plaintiffs initially claim that the trial court erred when it
           UNPUBLISHED OPINION. CHECK                              required them to present proof of coercion or mistake to
           COURT RULES BEFORE CITING.                              recover on unjust enrichment grounds. We disagree. This
                                                                   presents a question of law that this Court reviews de novo.
              Court of Appeals of Michigan.                        GMC v. Dep't of Treasury, 466 Mich. 231, 236; 644 NW2d
                                                                   734 (2002).
          Stephen D. BARKER and Kristina
           A. Barker, Plaintiffs-Appellants,                       Plaintiffs argue that unjust enrichment requires only a
                          v.                                       showing that: 1) one party has been enriched; and 2) between
       Dominic DICICCO and River Park Place                        the parties, equity demands restitution. Dumas v. Auto Club
    Development Company, Defendants-Appellees.                     Ins Ass'n, 437 Mich. 521, 546; 473 NW2d 652 (1991). While
                                                                   this is a correct statement of the law, this recitation merely
                         No. 234443.                               reflects the general rule for all unjust enrichment claims.
                              |                                    “A person who without mistake, coercion or request has
                        Dec. 20, 2002.                             unconditionally conferred a benefit on another is not entitled
                                                                   to restitution....” In re McCallum Estate, 153 Mich.App 328,
Before: FITZGERALD, P.J., and WILDER and COOPER, JJ.               335; 395 NW2d 258 (1986), quoting Restatement Restitution,
                                                                   § 112, p 461. Thus, those who confer unsolicited benefits
                                                                   must show some form of inequitable manipulation before
                     [UNPUBLISHED]                                 restitution is warranted. See In re McCallum, supra at 335. In
                                                                   the instant case, defendants did not solicit the payments that
PER CURIAM.                                                        plaintiffs made under their obligation as guarantors. While the
                                                                   outcome in this case may seem inequitable on its face, the law
 *1 Plaintiffs appeal as of right the trial court's dismissal of   in Michigan is clear. Accordingly, we find that the trial court
their unjust enrichment claim. We affirm.                          properly required plaintiffs to show some form of mistake or
                                                                   coercion.
This claim arose from payments plaintiffs made on a
property's first mortgage after a foreclosure and sale of that     Plaintiffs next assert that the trial court erred when it found
property by a second mortgagor. Plaintiff Stephen Barker           that defendant DiCicco was not bound by a deed that he
purchased a parcel of commercial property in the city of           received and filed, but failed to sign. After a careful review
Fenton in November 1990, through his company, Plaza One            of the record, we find that plaintiffs have misstated the trial
Eleven Limited Partnership (Plaza 111). To fund the purchase,      court's conclusions. While the trial court initially disagreed
Plaza 111 borrowed money from Franklin Bank and the Gerda          with plaintiffs, it later agreed during closing arguments that
H. Roth 1990 Trust. Plaza 111 delivered notes to its lenders,      defendant's acceptance of the deed was binding.
and both debts were secured with mortgages on the property.
Plaintiffs personally guaranteed the note Plaza 111 delivered       *2 The law is clear that an individual who accepts and
to Franklin Bank.                                                  records a deed is bound by its terms. Kollen v. Sooy, 172 Mich.
                                                                   214, 219; 137 NW 808 (1912). After listening to counsel
The trust's note was later assigned to B. Hunter Investments,      quote the pertinent language from Kollen, the trial judge
Inc. (Hunter Investments), and when Plaza 111 defaulted,           responded, “that's my understanding of the law, counsel.”
Hunter Investments foreclosed on the property. Hunter              The trial court did not find that DiCicco was free of the
Investments purchased the property at the foreclosure sale         obligations imposed by the deed. Rather, the trial court found
and subsequently sold it to defendant Dominic DiCicco.             that plaintiff failed to prove that those obligations included
Notwithstanding the property's foreclosure and subsequent          an assumption of the mortgage. Therefore, the assignment of
sale, plaintiffs, through Plaza 111, continued to pay              error is misplaced.




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Affirmed.                                                    All Citations

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                             Tab 3
     Case 1:19-md-02875-RMB-SAK                   Document 522-3            Filed 07/17/20
Bimbo Bakeries USA, Inc. v. Pinckney Molded Plastics, Inc., Not Reported in F.Supp.2d...
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                                                             by PMP breached the implied warranties of merchantability
                                                             and fitness for a particular purpose. Bimbo seeks relief in the
                  2007 WL 836874
                                                             form of money damages. PMP claims that neither of these
    Only the Westlaw citation is currently available.
                                                             implied warranties applies and that, regardless, there was
             United States District Court,
                                                             no breach. PMP filed counterclaims against Bimbo alleging
           N.D. Texas, Fort Worth Division.
                                                             breach of contract, unjust enrichment, fraud, and negligent
        BIMBO BAKERIES USA, INC., Plaintiff,                 misrepresentation. Bimbo contends that no contract of the
                           v.                                kind claimed by PMP existed, that it did not engage in fraud
          PINCKNEY MOLDED PLASTICS,                          or make any misrepresentations, and that it was not unjustly
                                                             enriched.
              INC., et al., Defendants.

                      No. 4:06-CV-180-A.
                               |                                                           II.
                       March 20, 2007.

Attorneys and Law Firms                                                            Undisputed Facts

Daniel W. Packard, Packard Packard & Lapray, Beaumont,       The facts set forth below are undisputed in the summary
TX, Matthew R. McCarley, Fort Worth, TX, for Plaintiff.      judgment record: 2

James Clark Gordon, Joseph Patrick Regan, Winstead
                                                             2
Sechrest & Minick, Fort Worth, TX, for Defendants.                  The undisputed facts section recites undisputed
                                                                    facts set forth in the parties' joint pretrial order
                                                                    filed March 19, 2007, as well as facts otherwise
          MEMORANDUM OPINION and ORDER                              supported by the record.
                                                             As part of its baking operations, Bimbo utilizes plastic
MCBRYDE, J.                                                  baskets that take baked goods from the production line to the
                                                             final retail establishments for sale to the public. PMP is a
 *1 Before the court for decision are the motion of
                                                             manufacturer of plastic baskets and holds itself out as having
plaintiff, Bimbo Bakeries USA, Inc., (“Bimbo”) for summary
                                                             over forty years of experience in manufacturing baskets and
judgment as to the counterclaims of defendant Pinckney
                                                             trays for the baking industry. In 2001, Bimbo asked PMP to
Molded Plastics, Inc., (“PMP”) and the motion of PMP
                                                             design and manufacture a UB. Bimbo expected to achieve
for summary judgment as to the entire case. The court is
                                                             significant savings by use of the UBs because they would
granting Bimbo's motion and denying PMP's motion in part
                                                             make automation possible and would allow Bimbo to replace
and granting it in part. 1                                   most of its different-sized baskets with the UBs.

1       As noted in the court's February 20, 2007, order,    PMP designed the UB with “tabs” located on the bottom of
        in deciding the motions for summary judgment         the UB intended to fit into slots on the top of the lower basket
        the court is taking into account PMP's objections    when stacked. On or about December 4, 2001, Bimbo and
        to Bimbo's summary judgment evidence contained       PMP entered into the written agreement that obligated Bimbo
        in PMP's motion and brief in support filed on        to purchase 2.1 million UBs at a certain price that could
        February 7, 2007.                                    fluctuate based on the price of raw materials. PMP agreed
                                                             to pay for the freight for the first 2.1 million baskets sold. 3
                                                             There was no express agreement between the parties as to
                                I.
                                                             who would pay the freight after the first 2.1 million UBs were
                                                             delivered. 4
                             Overview
                                                             3
Bimbo, a large bakery, claims that the bakery goods                 In a letter dated February 14, 2005, Don Verna,
containers, known as Universal Baskets (“UBs”), sold to it          President of PMP, stated that “[i]n going through


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       my files, I found the attached document. It clearly        a revised mold. The “re-shot” baskets would have the
       states that we would pay for the freight on the first      strengthened tab. The cost for this program would be $2.49
       2,100,000 baskets.” See App. to Pl.'s Mot. Summ.           per basket plus $0.58 freight per basket. Bimbo did not accept
       J. 2.                                                      this offer.
4      The parties dispute the meaning of the language
       “FOB our plant,” contained in the written
       agreement, as it related to who would pay the                                           III.
       freight. App. to Pl.'s Mot. Summ. J. 1.
In March 2002, Bimbo received its first shipment of the UBs.                     Summary Judgment Standard
On September 1, 2004, Bimbo sent written notification to
                                                                  A party is entitled to summary judgment on all or any part of
PMP that one of Bimbo's customers had complained that the
                                                                  a claim as to which there is no genuine issue of material fact
tabs on the UBs were breaking, causing stacks of baskets
                                                                  and as to which the moving party is entitled to judgment as a
to fall and creating a safety hazard for the people near
                                                                  matter of law. Fed.R.Civ.P. 56(c); Anderson v. Liberty Lobby,
the baskets. Bimbo installed an automatic basket stacker in
                                                                  Inc., 477 U.S. 242, 247, 106 S.Ct. 2505, 91 L.Ed.2d 202
October 2004, and shortly thereafter reported to PMP that the
                                                                  (1986). The moving party has the initial burden of showing
broken tabs were causing the stacks of loaded UBs to fall
                                                                  that there is no genuine issue of material fact. Anderson,
when stacked with the automatic stackers.
                                                                  477 U .S. at 256. The movant may discharge this burden by
                                                                  pointing out the absence of evidence to support one or more
In October 2004, Rich Kruyer (“Kruyer”), one of PMP's
                                                                  essential elements of the non-moving party's claim “since a
design engineers, as well as other PMP employees, visited
                                                                  complete failure of proof concerning an essential element of
Bimbo to determine the nature of the tab breakage problem.
                                                                  the nonmoving party's case necessarily renders all other facts
On October 27, 2004, Kruyer submitted a written PowerPoint
                                                                  immaterial.” Celotex Corp. v. Catrett, 477 U.S. 317, 323-25,
presentation, which included statements that if the tabs are
                                                                  106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). Once the moving
broken, a basket may shift fore and aft, causing other features
                                                                  party has carried its burden under Rule 56(c), the non-moving
to disengage, which can permit a basket to collapse, and
                                                                  party must do more than merely show that there is some
that this could explain a complaint about broken corners.
                                                                  metaphysical doubt as to the material facts. Matsushita Elec.
Kruyer's presentation also described possible design changes
                                                                  Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586,
to address the tab breakage problem. On April 16, 2005, PMP
                                                                  106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). The party opposing
sent written correspondence to Bimbo stating that PMP had
                                                                  the motion may not rest on mere allegations or denials of
“analyzed returns over the past several months to determine if
                                                                  pleading, but must set forth specific facts showing a genuine
the UB breakage was in any way the result of product design”
                                                                  issue for trial. Anderson, 477 U.S. at 248, 256. To meet
and that the “investigations found breakage to have resulted
                                                                  this burden, the nonmovant must “identify specific evidence
from circumstances other than product design.” App. Pl.'s
                                                                  in the record and articulate the ‘precise manner’ in which
Resp. Def.'s Mot. Summ. J. at 83-84.
                                                                  that evidence support[s] [its] claim[s].” Forsyth v. Barr, 19
                                                                  F.3d 1527, 1537 (5th Cir.1994) (emphasis added). An issue
 *2 After several additional meetings and proposals, in
                                                                  is material only if its resolution could affect the outcome
September 2005 PMP modified the mold to strengthen the
                                                                  of the action. Anderson, 477 U.S. at 248. Unsupported
tabs. PMP made the first shipment of re-designed baskets
                                                                  allegations, conclusory in nature, are insufficient to defeat
to Bimbo in mid-November 2005. By that time, Bimbo had
                                                                  a proper motion for summary judgment. Simmons v. Lyons,
purchased approximately 2.8 million of the older-style UBs.
                                                                  746 F.2d 265, 269 (5th Cir.1984). “ ‘Summary judgment,
                                                                  to be sure, may be appropriate, even in cases where elusive
In 2005, Bimbo began to notice shortages of baskets in
                                                                  concepts ... are at issue, ... if the nonmoving party rests
its operations. An inventory conducted in October 2005
                                                                  merely upon conclusory allegations, improbable inferences,
revealed that Bimbo had 1,443,797 UBs on hand with the rest
                                                                  and unsupported speculation.” ’ Forsyth, 19 F.3d at 1533
unaccounted for.
                                                                  (quoting Krim v. BancTexas Group, Inc., 989 F.2d 1435, 1449
                                                                  (5th Cir.1993) (emphasis added)).
On November 29, 2005, PMP offered a program whereby the
older-style UBs could be ground up and “re-shot” through



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The standard for granting a motion for summary judgment is           contract be mutual and binding upon execution and delivery.
the same as the standard for rendering judgment as a matter          Buxani v. Nussbaum, 940 S.W.2d 350, 352 (Tex.App.-San
of law. Celotex Corp., 477 U.S. at 323. If the record taken as a     Antonio, 1997, no writ). For the contract to be enforceable,
whole could not lead a rational trier of fact to find for the non-   “the minds of the parties must meet with respect to the
moving party, there is no genuine issue for trial. Matsushita,       subject matter of the agreement and all its essential terms.”
475 U.S. at 597. See also Boeing Co. v. Shipman, 411 F.2d            Weynand v. Weynand, 990 S.W.2d 843, 846 (Tex.App.-Dallas,
365, 374-75 (5th Cir.1969) (en banc) (explaining the standard        1999, pet.denied). In evaluating whether there was in fact a
to be applied in determining whether the court should enter          meeting of the minds, the court relies on objective standards
judgment on motions for directed verdict or for judgment             of what the parties said and did, rather than parties' alleged
notwithstanding the verdict).                                        subjective states of mind. Slade v. Phelps, 446 S.W.2d 931,
                                                                     933 (Tex.Civ.App.-Tyler, 1969, no writ).

                                                                     In deciding whether there was evidence of a meeting of the
                               IV.
                                                                     minds, and thus a contract, for payment of freight during
                                                                     the disputed time period, the court looks objectively at what
                         PMP's Motion                                parties said and did. It is undisputed that Bimbo never
                                                                     agreed to pay the freight for any baskets until January 2005.
 *3 Consistent with the discussions between the court and            Nevertheless, PMP argues that “ordinary rules of construction
counsel, and the rulings announced, during the pretrial              permit custom or usage evidence both to explain the meaning
conference conducted in the above-captioned case on March            of language and to imply terms, where no contrary intent
19, 2007, the court is granting PMP's motion as to                   appears from the terms of the contract.” However, here,
Bimbo's claim that PMP breached an implied warranty of               contrary intent did exist because the evidence is clear that
merchantability and as to Bimbo's claim for damages based            Bimbo never intended to pay the freight. Thus, there was no
on injuries suffered by third persons by reason of falling UBs,      meeting of the minds to form a contract for which the court
and is denying it in all other respects.                             could imply terms.


                                                                     B. There is No Evidence of Misrepresentation
                               V.
                                                                     In Texas, the elements for a negligent misrepresentation claim
                                                                     are:
                        Bimbo's Motion

A. There is No Evidence of a Contract of the Kind Claimed
                                                                                 (1) the representation is made by
by PMP
                                                                                 a defendant in the course of his
PMP filed a counterclaim against Bimbo for breach of a
                                                                                 business, or in a transaction in
contractual commitment by Bimbo to pay the freight for all
                                                                                 which he has a pecuniary interest;
baskets purchased after the initial 2.1 million. Bimbo argues,
                                                                                 (2) the defendant supplies “false
in its motion for summary judgment, that there never was a
                                                                                 information” for the guidance of
such a contract. It is not in dispute that PMP agreed to pay the
                                                                                 others in their business; (3) the
freight on the first 2.1 million baskets and that in January of
                                                                                 defendant did not exercise reasonable
2005 Bimbo agreed to begin paying the freight on the baskets
                                                                                 care or competence in obtaining or
sold from that date forward. The issue is whether there is
                                                                                 communicating the information; and
evidence that there was a contract for Bimbo to pay the freight
                                                                                 (4) the plaintiff suffers pecuniary
from June 2004, when delivery of the 2.1 million UBs was
                                                                                 loss by justifiably relying on the
completed, through January 2005.
                                                                                 representation.
The following elements are required for parties to form a
binding contract: (1) an offer, (2) acceptance in complete
agreement with the terms of the offer, (3) a meeting of the           *4 Federal Land Bank Ass'n of Tyler v. Sloane, 825 S.W.2d
minds, (4) parties' consent to the terms, and (5) intent that the    439, 442 (Tex.1991) (adopting section 552 of the Restatement



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(Second) of Torts). The type of false information required to       Bradford v. Vento, 48 S.W.3d 749, 755 (Tex.2001) (citing
prevail is a misstatement of existing fact, not a promise of        Ins. Co. of N. Am. v. Morris, 981 S.W.2d 667, 674
future conduct. Allied Vista, Inc. v. Holt, 987 S.W.2d 138,         (Tex.1998)). Therefore, “silence may be equivalent to a false
141 (Tex.App.-Houston [14th Dist.], 1999, pet. denied). “A          representation only when the particular circumstances impose
promise to act or not to act in the future cannot form the basis    a duty on the party to speak and he deliberately remains
of a negligent misrepresentation claim.” Roof Systems, Inc.         silent.” Bradford, 48 S.W.3d at 755 (citing SmithKline
V. Johns Manville Corp., 130 S.W.3d 430, 439 (Tex.App.-             Beecham Corp. V. Doe, 903 S.W.2d 347, 353 (Tex.1995);
Houston [14th Dist.], 2004, no pet.).                               Smith v. Nat'l Resort Cmtys., Inc., 585 S.W.2d 655, 658
                                                                    (Tex.1979)). Whether such a duty exists is not a question of
PMP argues that Bimbo made misrepresentations to PMP,               fact, but a matter of law. See Bradford, 48 S.W.3d at 755.
namely, that if the UBs were “corrected” to fit Bimbo's             While Texas courts of appeals have held that a duty to disclose
specifications Bimbo would enter into a new long-term               “may arise in an arm's-length business transaction when a
supply agreement with PMP. In its response, Bimbo maintains         party makes a partial disclosure that, although true, conveys
that the tort of negligent misrepresentation only applies to        a false impression,” id., the Texas Supreme Court has never
professionals who give advice to others in the course of            affirmed such decisions, see id. In addition, the Court has
their business, not to customers like Bimbo who are seeking         explicitly declined to adopt section 551 of the Restatement
to buy goods. Alternatively, Bimbo claims that no such              (Second) of Torts, which recognizes a general duty to disclose
representation was ever made, and, in the further alternative,      facts in a commercial setting. See id. at 755-56 (stating that
that the alleged misrepresentation is the sort of future conduct    “[w]e have never adopted section 551”). Thus, it is unclear
that does not give rise to a negligent misrepresentation cause      whether the Texas Supreme Court would recognize a duty to
of action. Assuming, arguendo, that the alleged representation      disclose absent a confidential or fiduciary relationship. United
was made, the court agrees with Bimbo that it is the sort           Teacher, 414 F.3d at 565-66.
of “promise to act or not to act in the future” that “cannot
form the basis of a negligent misrepresentation claim.” Roof         *5 To determine a question of state law, federal courts look
Systems, 130 S.W.3d at 439. 5                                       to final decisions of the state's highest court. Erie R.R. Co. v.
                                                                    Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82 L.Ed. 1188 (1938);
5                                                                   St. Paul Fire & Marine Ins. Co. v. Convalescent Servs.,
        Because the court finds that PMP's claim for
                                                                    Inc., 193 F.3d 340, 342 (5th Cir.1999). Although federal
        negligent misrepresentation fails on other grounds,
                                                                    courts may look to intermediate appellate court opinions for
        the court does not visit the issue of whether such a
                                                                    guidance, such opinions are not controlling. United Teacher,
        cause of action is applicable outside the context of
                                                                    413 F.3d at 565-66 (citing Matheny v. Glen Falls Ins. Co.,
        a professional giving advice to others in the course
                                                                    152 F.3d 348, 354 (5th Cir.1998)). If the question of law has
        of the business of the professional.
                                                                    not been decided by the state's highest court, the federal court
                                                                    must do its best to determine what the highest court of the
C. There is No Evidence to Support the Fraud Counterclaim           state would decide. Id. at 566 (citing St. Paul Fire, 193 F.3d
Under Texas law, fraud occurs when (1) a party (a)                  at 342)).
misrepresents a material fact, (b) knows the representation
is false or makes it recklessly without any knowledge of its        The Fifth Circuit's opinion in United Teacher is instructive:
truth, and (c) makes the false representation with the intent
that it should be acted on by the other party, and (2) the other
party justifiably relies on the representation and suffers injury
                                                                                 A reasonable jurist might well
because of it. Ernst & Young v. Pacific Mut. Life Ins. Co.,
                                                                                 conclude, certainly after Bradford, that
51 S.W.3d 573, 577 (Tex.2001). Under certain circumstances,
                                                                                 a duty to disclose exists in Texas only
the first element of fraud can be met if the party concealed
                                                                                 in the context of a confidential or
or failed to disclose a material fact. United Teacher Assocs.
                                                                                 fiduciary relationship. This court has
Ins. Co. v. Union Labor Life Ins. Co., 414 F.3d 558, 566 (5th
Cir.2005).                                                                       so held in Coburn, 6 the only Fifth
                                                                                 Circuit case that discusses the relevant
In Texas, “a failure to disclose information does not constitute                 portion of Bradford. However, apart
fraud unless there is a duty to disclose the information.”                       from Coburn, it would be fair to say


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                                                                       enrichment is not a proper remedy merely because it might
                                                                       appear expedient or generally fair that some recompense be
             that courts after Bradford (including                     afforded for an unfortunate loss to the claimant, or because
             this court) have not gotten the                           the benefits to the person sought to be charged amount to
             message, but have instead continued                       a windfall.” Id. at 42; HECI Exploration Co. v. Neel, 982
             to find that a duty to disclose can                       S.W.2d 881, 891 (Tex.1998).
             exist in Texas absent a confidential or
             fiduciary relationship.                                    *6 Here, assuming Texas law recognizes unjust enrichment
                                                                       as an independent cause of action, Bimbo claims it is entitled
                                                                       to summary judgment because there is no evidence of fraud,
6                                                                      duress, or undue advantage. Whether Bimbo received a
       Coburn Supply Co. v. Kohler Co., 342 F.3d 372,                  “windfall” with respect to the UBs is a disputed question of
       377-78 (holding that a confidential or fiduciary                fact, but such a benefit cannot constitute unjust enrichment
       relationship must exist before the duty to disclose             absent some type of unlawful behavior. The court agrees that
       will arise).                                                    the summary judgment record is devoid of evidence of fraud,
Id. at 566 (footnote added) (citing, for example, Rimade Ltd. v.       duress, or undue advantage.
Hubbard Enterprises, Inc., 388 F.3d 138, 143 (5th Cir.2004);
Lewis v. Bank of Am. NA, 347 F.3d 587 (5th Cir.2003)).
                                                                                                     VI.
As the court stated in United Teacher, “[f]ortunately, we need
not decide whether a duty to disclose exists in Texas absent
a confidential or fiduciary relationship because even if such                                      Order
a duty did exist, [the] fraud claim would fail.” 414 F.3d at
                                                                       For the reasons discussed above, the court concludes that
566. Assuming Bimbo had a duty to disclose, PMP's claim
                                                                       PMP's motion for summary judgment should be granted in
cannot survive the motion for summary judgment because
                                                                       part and denied in part, and Bimbo's motion for summary
there is no evidence that Bimbo breached this duty. The fact
                                                                       judgment should be granted. Therefore,
that PMP implied from Bimbo's actions that Bimbo planned
to enter into a supply contract with PMP when in fact Bimbo
                                                                       The court ORDERS that Bimbo's causes of action based on an
was negotiating with another supplier does not constitute
                                                                       implied warranty of merchantability and for damages related
actionable fraud. The summary judgment evidence is that
                                                                       to injuries suffered by third persons because of falling UBs
Bimbo informed PMP that it was “looking at other vendors.”
                                                                       be, and are hereby, dismissed.
App. to Pl.'s Mot. Summ. J. 84. There is no evidence that
Bimbo concealed or failed to disclose a material fact, thus
                                                                       The court further ORDERS that all of PMP's claims and
PMP's fraud claim must fail and the court does not reach a
                                                                       causes of action against Bimbo in the above-captioned action
decision as to the other elements of the claim.
                                                                       be, and are hereby, dismissed.

D. There is No Evidence of Unjust Enrichment
                                                                       All Citations
The theory of unjust enrichment may apply when one person
has obtained a benefit from another by fraud, duress, or the           Not Reported in F.Supp.2d, 2007 WL 836874
taking of undue advantage. Heldenfels Bros., Inc. v. City
of Corpus Christi, 832 S.W.2d 39, 41 (Tex.1992). “Unjust

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                             Tab 4
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                                                                   problems” but “infants ... could experience gastrointestinal
                                                                   discomfort and refusal to eat.” Def. Mot. to Dismiss Ex. B.
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                                                                   For several months beginning in May 2009, the Blands fed
    Only the Westlaw citation is currently available.
                                                                   J.B. Similac that was later subject to the recall. J.B. was
     United States District Court, W.D. Kentucky,
                                                                   consistently sick during this period, underwent surgery to
                    at Louisiville.
                                                                   correct a pyloric stenosis, and received a feeding tube to
  Mikki BLAND and Caleb Bland, Individually and as                 address his feeding aversion and failure to thrive. Doctors
  parents and next friends of J.B., a minor, Plaintiffs            removed the tube in April 2010 and J.B. soon began drinking
                          v.                                       whole milk.
    ABBOTT LABORATORIES, INC., Defendant.

             Civil Action No. 3:11–CV–430–H.                                                      II.
                              |
                        Jan. 6, 2012.                              At the motion-to-dismiss stage of litigation, the Court accepts
                                                                   as true all well-pleaded facts from the Complaint, construed
Attorneys and Law Firms                                            in a light most favorable to the Plaintiffs. Logsdon v. Hains,
                                                                   492 F .3d 334, 340 (6th Cir.2007). However, legal conclusions
Jasper D. Ward, Stuart Wade H. Yeoman, Jones Ward PLC,
                                                                   couched as facts are insufficient to withstand a 12(b)(6)
Louisville, KY, for Plaintiffs.
                                                                   motion. Mezibov v. Allen, 411 F.3d 712, 716 (6th Cir.2005). A
Charles M. Pritchett, Jr., Frost Brown Todd LLC, Louisville,       plaintiff must plead “enough facts to state a claim to relief that
KY, for Defendant.                                                 is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
                                                                   544, 570 (2007). The factual content must allow a reasonable
                                                                   inference of a defendant's liability under some legal theory.
       MEMORANDUM OPINION AND ORDER                                Id. at 556.

JOHN G. HEYBURN II, District Judge.                                Several claims alleged in the Complaint clearly warrant
                                                                   dismissal. The Court will dismiss Count III (Intentional
 *1 Plaintiffs, Mikki and Caleb Bland and their child, J.B.        Misrepresentation), Count VII (Breach of Implied Warranty
(collectively the “Blands” or “Plaintiffs”), brought this action   of Fitness for a Particular Purpose), Count VIII (Unjust
in Hardin Circuit Court against Abbott Laboratories, Inc.          Enrichment), and Count IX (Kentucky statutory violations).
(“Abbott” or “Defendant”), alleging various tort and contract      The Court also notes that Count X (Punitive Damages) is not
claims, as well as Kentucky statutory violations. The action       a separate cause of action, but a remedy potentially available
arises from a recall of Abbott's infant formula product,           for another cause of action. Toon v. City of Hopkinsville,
Similac. Defendant removed the case to federal court based         No. 5:09–CV–37, 2011 WL 1560590, at *3 n. 6 (W.D. Ky.
on diversity jurisdiction and now moves to dismiss the Blands'     April 14, 2011) (citing Salisbury v. Purdue Pharm., L.P., 166
Complaint for failure to state a claim. Fed.R.Civ.P. 12(b)(6).     F.Supp.2d 546, 548, n. 1 (E.D.Ky.2001)). The Court will issue
                                                                   an order as to the remaining counts after a conference with
As discussed below, the Court will resolve some of the claims      the parties.
and set a conference to discuss others.


                                                                                                  II.
                               I.
                                                                   To state a claim for intentional misrepresentation under
In September 2010, Abbott voluntarily recalled millions            Kentucky law, Plaintiffs must allege Defendant made a false
of Similac units after discovering adult beetles and larvae        statement regarding a material fact, knew the statement was
in containers of finished product in its Sturgis, Michigan         false, intended to deceive Plaintiffs, that Plaintiffs reasonably
production facility. Concurrent with the recall, the U.S.          relied on upon the deception, and damages resulted. Res–
Food and Drug Administration (“FDA”) issued an alert               Care, Inc. v. Omega Healthcare Investors, Inc., 187 F.Supp.2d
that formula containing beetles “poses no long-term health



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714, 717 (W.D.Ky.2001). The Blands' allegations fail to meet        conferred upon defendant at plaintiff's expense; (2) a resulting
this standard.                                                      appreciation of benefit by defendant; and (3) inequitable
                                                                    retention of benefit without payment for its value.” Jones
 *2 First, Plaintiffs have not identified with the                  v. Sparks, 297 S.W.3d 73, 78 (Ky.Ct.App.2009) (citing
requisite particularity Abbott's statements constituting the        Guarantee Electric Co. v. Big Rivers Electric Corp., 669
misrepresentation. Fed.R.Civ.P. 9(b) (requiring greater             F.Supp. 1371, 1380–81 (W.D.Ky.1987)). As a claim in
particularity in pleading a claim of fraud); see also U.S.          equity, recovering on an unjust enrichment theory ultimately
ex. rel. Bledsoe v. Comty. Health Sys., Inc., 501 F.3d              “requires proof of bad faith by the defendant.” Jim Huff
493, 504 (6th Cir.2007). The Complaint alleges Abbott's             Realty, Inc. v. Tomlin Props., Ltd., No.2005–CA–002245–
“promotion, marketing, advertising, packaging, labeling, and        MR, 2007 WL 1452596, at *3 (Ky.Ct.App. May 18, 2007);
other means” represented to the public that Similac was safe        see also Union Cent. Life Ins. Co. v. Glasscock, 110 S.W.2d
for consumption. Yet the only specific statements Plaintiffs        681, 685 (Ky.1937) (rejecting unjust enrichment claim where
note in their response brief concern nutritional content, not       party did not show bad faith or misrepresentation).
safety. Unappealing as the prospect may be, the fact that some
Similac products may have contained beetle parts does not           Plaintiffs have not alleged with particularity any act by
contradict a claim the product has “the balance of protein,         Defendant done in bad faith that warrants a remedy in equity.
minerals, and other nutrients that helps give babies a strong       Furthermore, the remedy Plaintiffs seek is a constructive trust
start in life.”                                                     representing the money they paid for the potentially tainted
                                                                    Similac. Defendant notes it already offered such a refund to
Furthermore, even if the Blands could identify a particular         Plaintiffs (and other Similac purchasers) and a refund is still
false statement of material fact, it is implausible Plaintiffs      available to Plaintiffs. 1 See, e.g., Vuotto v. Abbott Labs., Inc.,
relied on any such statement while Abbott knew it to be             No. 10–C–7255, 2011 WL 3876923, at *4 (N.D.Ill. Aug. 31,
false. No allegations in the Complaint suggest Abbott knew          2011) (holding refund offer barred unjust enrichment claim).
of any problems with Similac before September 2010, months          Plaintiffs' claim for unjust enrichment is dismissed.
after Plaintiffs had stopped purchasing and feeding J.B. the
product. To the contrary, the Complaint suggests Abbott             1       “Plaintiffs could have participated in the refund
discovered the problem in mid-September 2010, reported it
                                                                            program at any time, and may still do so now.” Def.
to the FDA days later, and within a week issued the recall
                                                                            Reply Further Supp. Mot. Dismiss 6.
notice. The factual allegations are insufficient to state a claim
for intentional misrepresentation.
                                                                                                   VI.

                              IV.                                    *3 The Blands' claims based on Abbott's alleged violations
                                                                    of the Kentucky Consumer Protection Act (“KCPA”),
Plaintiffs' claim for breach of an implied warranty of fitness      Ky.Rev.Stat. Ch. 367 and the Kentucky Food, Drug, and
for a particular purpose fails because their use of Similac         Cosmetic Act (“KFDCA”), Ky.Rev.Stat. Ch. 217, must
was not peculiar. Ky.Rev.Stat. Ann. § 355.2–315 (LexisNexis         also be dismissed. The KCPA prohibits “[u]nfair, false,
2008). They used Similac for its ordinary purpose—feeding           misleading, or deceptive acts or practices in the conduct of
an infant. Insofar as Plaintiffs allege Similac was not fit for     any trade or commerce,” where “unfair shall be construed
feeding their infant, their claim is for a breach of warranty of    to mean unconscionable.” Ky.Rev.Stat. Ann. § 367.170
merchantability, not fitness for a particular purpose. Absent       (LexisNexis 2008). Plaintiffs have not identified Abbott's
an allegation Plaintiffs had a particular purpose that Abbott       conduct that constituted the KCPA violation. Rather, they
would have reason to know, this claim must be dismissed. Id.        reference all “above stated acts of Abbott” in the Complaint
                                                                    as “unfair, false, and misleading and/or deceptive acts and
                                                                    practices,” leaving the Court to determine which, if any, of
                                                                    the many alleged actions described in the Complaint support
                               V.
                                                                    a claim. The Court's review of the allegations has not revealed
Plaintiffs fail to state a claim for unjust enrichment under        a viable claim.
Kentucky law, which requires pleading: “(1) [a] benefit



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Plaintiffs have not alleged facts creating the plausibility        *4 Mikki and Caleb Bland, the minor's parents, have
Defendant took any actions affecting Plaintiffs intentionally,    asserted their own claim of damages for the alleged emotional
knowingly, or in bad faith. Although it is possible Abbott        distress suffered from feeding Similac to J.B. Kentucky
knew about the presence of beetle parts in Similac while          follows the “impact rule,” requiring a physical contact with
Plaintiff—presumably relying upon Abbott's statements in          the instrument of injury and mental distress damages directly
labels and advertisements—was still purchasing the product,       resulting from that contact. Steel Tech., Inc. v. Congleton,
the Complaint falls well short of demonstrating this scenario     234 S.W.3d 920, 929 (Ky.2007) (citing Deutsch v. Shein, 597
is plausible. See Twombly, 550 U.S. at 570. Absent Abbott's       S.W.2d 141, 145–46 (Ky.1980)). The emotional distress must
knowledge of any problem with its product, the Complaint          be caused by the contact, not merely accompanied by the
fails to allege any conduct rising to the level of deception or   contact. Id. Here, any contact J.B.'s parents had with Similac
unconscionableness. The KCPA claim is dismissed.                  did not cause their mental distress. Mikki and Caleb Bland's
                                                                  mental distress, if any, was caused by J.B.'s contact with
The KFDCA does not provide for a private right of action,         Similac, not their own. If Plaintiffs' personal injury claims go
nor does Ky.Rev.Stat. § 446.070 provide a universal private       forward, emotional distress damages will not be available for
right of action for the violation of any Kentucky statute.        Mikki and Caleb Bland.
Instead, § 446.070 “merely codifies the common law concept
of negligence per se,” where a statute can provide the standard   Defendant has also moved for summary judgment as to
of care in a negligence action if “the plaintiff was in the       all personal injury claims on the grounds each one is
class of persons which that statute was intended to protect.”     barred by the applicable statute of limitations. Ky.Rev.Stat.
Davidson v. Am. Freightways, Inc., 25 S.W.3d 94, 99–100           Ann. § 413.140. The parties dispute whether the discovery
(Ky.2000) (citing Hackney v. Fordson Coal Co., 19 S.W.2d          rule would apply to these circumstances so that Plaintiffs'
989 (Ky.1929)). Furthermore, “the injury suffered must be an      claims would not actually accrue until September, 2010,
event which the [statute] was designed to prevent,” Carman v.     when Defendant recalled its product. See, e.g., Fluke Corp.
Dunaway Timber Co., Inc., 949 S.W.2d 569, 570 (Ky.1997),          v. Lemaster, 306 S.W.3d 55, 60 (Ky.2010) (“discovery
and a substantial factor causing the injury. Britton v. Wooten,   rule is available ... where the fact of injury or offending
817 S.W.2d 443, 447 (Ky.1991). Thus, insofar as Plaintiffs        instrumentality is not immediately evident”) (emphasis
have pled a KFDCA violation as a separate cause of action,        added); but see Asher v. Unarco Material Handling, Inc., 596
the count must be dismissed.                                      F.3d 313, 321–22 (6th Cir.2010) (finding discovery rule does
                                                                  not apply to non-latent injury).
The pleading also fails as a separate theory for Plaintiffs'
negligence action because it does not identify a particular       It is unclear whether either the injury or the offending
advertising or misbranding that violated the KFDCA. The           instrumentality here were immediately evident. Nevertheless,
statute prohibits dissemination of false advertising and the      the Court is reviewing these arguments and will discuss them
manufacture of misbranded foods. Ky.Rev.Stat. Ann. §              during the scheduled conference. Finally, the Court reserves
217.175. An advertisement is “deemed to be false if it            judgment on Defendant's motion to dismiss Plaintiffs'
is false or misleading in any particular” and a food is           negligence, strict liability, negligent misrepresentation,
misbranded “[i]f its labeling is false or misleading in any       express warranty, and implied warranty of merchantability
particular.” Ky.Rev.Stat. Ann. §§ 217.035 and 217.105.            claims until after a conference with the parties.
Plaintiffs' response brief points to an Abbott advertising
claim that Similac gives babies a “strong start in life .” This   Being otherwise sufficiently advised,
statement is typical commercial puffery and the fact that some
Similac may have had beetle parts in it does not render the       IT IS HEREBY ORDERED that Defendant's Motion to
statement false or misleading. Without a false or misleading      Dismiss is SUSTAINED as to Counts III (Intentional
advertisement or label, Plaintiff has not stated a claim for      Misrepresentation), VII (Breach of Implied Warranty for a
negligence per se based on a KFDCA violation.                     Particular Purpose), VIII (Unjust Enrichment), IX (Kentucky
                                                                  Statutory Violations), and X (Punitive Damages) and those
                                                                  counts are DISMISSED WITH PREJUDICE.

                             VII.




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                                                                The Court will address Defendant's motion as to the
IT IS FURTHER ORDERED that Defendant's motion to
                                                                remaining issues in a separate memorandum, and after a
dismiss the claims of Mikki and Caleb Bland for emotional
                                                                conference to be scheduled.
distress damages are SUSTAINED and these claims are
DISMISSED.
                                                                All Citations

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                                         Bono v. O'Connor
                       United States District Court for the District of New Jersey
                            October 5, 2016, Decided; October 5, 2016, Filed
                                    Civ. Action No.: 15-6326(FLW)

Reporter
2016 U.S. Dist. LEXIS 185713 *

                                                     Opinion
Bono v. O'Connor, et al.


                                                     LETTER ORDER
Prior History: Bono v. O'Connor, 2016 U.S. Dist.
LEXIS 67191 (D.N.J., May 23, 2016)                   In May 2016, I issued an opinion resolving a
                                                     motion to dismiss, filed by various defendant-
                                                     directors and -officers of Advaxis, Inc.
                                                     ("Defendants")1, in this shareholder derivative
Counsel: [*1] For DAVID BONO, Derivatively           lawsuit. See Bono v. O'Connor, No.15-6326, 2016
on Behalf of ADVAXIS, INC., Plaintiff:               U.S. Dist. LEXIS 67191 (D.N.J. May 23,
MITCHELL RYAN AYES, LEAD ATTORNEY,                   2016)("May Opinion"). In particular, I dismissed an
CALLAHAN & FUSCO, LLC, EAST HANOVER,                 unjust enrichment claim against a subset of
NJ.                                                  defendants that I categorized as the Recipient
                                                     Defendants. In the present matter, Plaintiff David
For DANIEL J. O'CONNOR, DAVID J. MAURO,              Bono ("Plaintiff") has moved for reconsideration of
SAMIR KHLEIF, ROBERT G. PETIT, RONI A.               my decision dismissing that claim. The Recipient
APPEL, RICHARD J. BERMAN, THOMAS J.                  Defendants oppose the motion. For the following
MCKEARN, JAMES P. PATTON, DAVID                      reasons, Plaintiff's motion is DENIED.
SIDRANSKY, SARA M. BONSTEIN, GREGORY                 Because I write for the benefit of the parties, I will
T. MAYES, Defendants: CRAIG CARPENITO,               not extensively recount the facts of this case.
LEAD ATTORNEY, ALSTON & BIRD LLP,                    Instead, the facts chronicled in the May
NEW YORK, NY.                                        Opinion [*2] are incorporated in this Letter Order.
                                                     Briefly, in the instant Complaint, Plaintiff asserted
                                                     claims against Defendants for violations of Section
                                                     14(a) of the Securities Exchange Act of 1934 (the
Judges: Freda L. Wolfson, United States District
Judge.                                               "Exchange Act") and Rule 14a-9, as well as
                                                     Delaware state law claims for breach of fiduciary
                                                     duty, waste of corporate assets, and unjust
                                                     enrichment. These claims arise out of Plaintiff's
Opinion by: Freda L. Wolfson

                                                     1 These defendants include Daniel J. O'Connor, David J. Mauro,
                                                     Samir Khleif, Robert G. Petit, Roni A. Appel, Richard J. Berman,
                                                     Thomas J. McKearn, James P. Patton, David Sidransky, Sara M.
                                                     Bonstein, and Gregory T. Mayes.
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allegations that Defendants conspired to spring-              to the entry of judgment." NL Indus., Inc. v. Comm.
load stock awards as part of an equity incentive              Union Ins. Co., 935 F. Supp. 513, 516 (D.N.J.
plan. Relevant to the motion here, I dismissed the            1996). In other words, "[a] motion for
breach of fiduciary duty claim against the Recipient          reconsideration should not provide the parties with
Defendants2 based on a determination that Plaintiff           an opportunity for a second bite at the apple."
failed to sufficiently allege that these defendants           Tishcio v. Bontex, Inc., 16 F.Supp.2d 511, 532
knew that stock awards were spring-loaded or                  (D.N.J. 1998) (internal citation omitted). Further,
participated in any wrongdoing. Consistent with               where a party merely has a difference of opinion
that finding, I also dismissed Plaintiff's claim for          with the court's decision, the issue should be raised
unjust enrichment lodged against the Recipient                through      the    normal      appellate    process;
Defendants. I reasoned that because Plaintiff's               reconsideration is not the appropriate vehicle.
theory of liability for unjust enrichment is directly         Dubler v. Hangsterfer's Laboratories, Civ. No. 09-
derived from his claim for breach of fiduciary duty,          5144, 2012 U.S. Dist. LEXIS 53847, 2012 WL
a finding of insufficient pleading as to the fiduciary        1332569, *2 (D.N.J. Apr. 17, 2012) (citing Bowers
claim necessarily compels the same finding as to              v. Nat'l Collegiate Athletic Ass'n, 130 F. Supp. 2d
the unjust enrichment claim. Plaintiff asks this              610, 612 (D.N.J. 2001)).
Court to reconsider that ruling.
                                                                     Plaintiff [*4] moves for reconsideration on that
Local Civil Rule 7.1(i) governs [*3] motions for basis that my legal conclusion in the unjust
reconsideration and requires the moving party to enrichment context is at odds with "well-settled"
"set[ ] forth concisely the matter or controlling Delaware law. Before I reach the merits of
decisions which the party believes the Judge or Plaintiff's arguments, I will comment first on the
Magistrate Judge has overlooked[.]" L. Civ. R. manner in which Plaintiff has previously presented
7.1(i). The burden on the moving party is quite high his position to this Court. In Plaintiff's opposition
and reconsideration is granted very sparingly. To brief to Defendants' motion to dismiss, he argued
prevail on such a motion, the movant must only that his unjust enrichment claim against the
demonstrate either: "(1) an intervening change in Recipient Defendants should survive because he
controlling law; (2) the availability of new had properly pled a breach of fiduciary against
evidence; or (3) the need to correct [a] clear error of them. Plf's Opp. Br., p. In that regard, Plaintiff cited
law or prevent manifest injustice." Lazaridis v. to Weiss v. Swanson, 948 A.2d 433 (Del. Ch. 2008)
Wehmer, 591 F.3d 666, 669 (3d Cir. 2010).                            and Ausikaitis ex rel. Masimo Corp. v. Kiani, 962
                                                                     F. Supp. 2d 661 (D. Del. 2013). Indeed, these two
Notably, a motion seeking reconsideration may not decisions held, generally, that when a plaintiff
be used by a party to "restate arguments that the properly pleads a breach of fiduciary claim, "if
court has already considered." Lawrence v. successful, may help a plaintiff prove a claim for
Emigrant Mortg. Co., Civ. No. 11-3569, 2012 U.S. unjust enrichment." Ausikaitis, 962 F. Supp. 2d at
Dist. LEXIS 150589, 2012 WL 5199228, *2 (D.N.J. 680. Plaintiff made no other arguments.
Oct. 18, 2012). Nor may be such a motion be used
"to relitigate old matters, or to raise arguments or Because I found that Plaintiff had insufficiently
present evidence that could have been raised prior pled his breach of fiduciary claim against the
                                                                     Recipient Defendants, I determined, consistent with
                                                                     Defendants' position, that the unjust enrichment
2 The Recipient Defendants are those officers and directors who      necessarily fails for the same reasons. In support of
received the stock awards, but were not part of the committee that my conclusion, I cited Calma v. Templeton, 114
approved and issued the equity incentive plan in the first instance.
                                                                     A.3d 563, 591 (Del. Ch. 2015), which stands for the
Therefore, the Recipient Defendants were not alleged to have "self-
determined" their own compensation.                                  general proposition that "[a]t the pleadings stage,
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an unjust enrichment claim that is entirely [*5]          and even though he/she may have received it
duplicative of a breach of fiduciary duty claim—          honestly in the first instance. In that connection,
i.e., where both claims are premised on the same          Plaintiff argues that because the Recipient
purported breach of fiduciary duty—is frequently          Defendants are alleged to have received illegal
treated "in the same manner when resolving a              stock awards, it is irrelevant whether these
motion to dismiss." Id. (citing Frank v. Elgamal,         defendants had knowledge that the awards were
2014 Del. Ch. LEXIS 37, 2014 WL 957550, at *31            spring-loaded. For support, Plaintiff cites In re
(Del. Ch. Mar. 10, 2014); Dubroff v. Wren                 Tyson Foods, Inc. Consol. S'holder Litig., 919 A.2d
Holdings, LLC, 2011 Del. Ch. LEXIS 164, at *11            563 (Del. Ch. 2007), for this proposition. While
(Del. Ch. Oct. 28, 2011); Monroe County                   Tyson indeed established such a principle, I do not
Employees' Retire. Sys. v. Carlson, 2010 Del. Ch.         find it persuasive or sound under Delaware law. See
LEXIS 132, at *1 (Del. Ch. June 7, 2010)). In that        Gruber v. Owens-Illinois, Inc., 899 F.2d 1366,
regard, Plaintiff, in his opposition brief, appeared to   1369 (3d Cir. 1990)(holding that intermediate state
have conceded that an unjust enrichment claim is          appellate court cases are useful but not binding
"entirely duplicative" of a breach of fiduciary duty      evidence of what the state Supreme Court would
claim. See Plt.'s Opp. Br., p. 47 n.46 (citing            decide). In holding that an innocent recipient of an
Caspian Select Credit Master Fund Ltd. v. Gohl,           illegal benefit can be held liable under the theory of
2015 Del. Ch. LEXIS 246, 2015 WL 5718592, at              unjust enrichment, the Tyson court's terse
*16 (Del. Ch. Sept. 28, 2015)).                           explanation in that regard was solely based on the
                                                          Delaware Supreme Court's decision in Schock v.
Having made no other substantive arguments,               Nash, 732 A.2d 217 (Del. 1999). However, Schock
Plaintiff, now, for the first time on this motion,        did not concern unjust [*7] enrichment; rather,
claims that a defendant who receives and accepts an       Schock discussed the concept of restitution.
unlawful benefit is liable for unjust enrichment          Contextually, the legal distinction between unjust
even when that defendant committed no wrong.              enrichment and restitution is a fine one, but it
Merits aside, a reconsideration motion is not a           nevertheless is significant. As the Delaware
vehicle for Plaintiff to introduce legal arguments        Supreme Court explained, "[r]estitution serves to
that should have been raised previously,                  deprive the defendant of benefits that in equity and
particularly since the cases upon which Plaintiff         good conscience he ought not to keep, even though
rely on this motion have been decided long ago. See       he may have received those benefits honestly in the
Warren v. Fisher, 2013 U.S. Dist. LEXIS 178944,           first instance, and even though the plaintiff may
at *12 (D.N.J. Dec. 20, 2013)("[r]econsideration is       have suffered no demonstrable losses." Id. at 232-
not . . . an opportunity to present new legal             33 (citations and internal quotations omitted). From
arguments that were available but not advanced            that definition, the Court found that restitution —
when the underlying motion was decided.").                as a remedy or relief — could be equitably imposed
Plainly, Plaintiff attempts to re-litigate issues that    on an innocent recipient who received an ill-gotten
he had an opportunity to fully address.                   gain. Id. at 233.

Nevertheless, I recognize that I have [*6] an             On the other hand, unjust enrichment is a cause of
obligation to correct any clear error of law. On this     action that, while it requires the unjust retention of
basis, I will entertain Plaintiff's newly asserted        a benefit to the loss of another, see Nemec v.
legal    arguments.     Plaintiff's   argument     is     Shrader, 991 A.2d 1120, 1130 (Del. 2010), also
straightforward: under Delaware law, unjust               requires "wrongdoing" on the part of the recipient.
enrichment encompasses a defendant who receives           Terr. of the U.S. V.I. v. Goldman, Sachs & Co., 937
and accepts an unlawful benefit even when that            A.2d 760, 796 n.161 (Del. Ch. 2007), aff'd, 956
defendant retaining the benefit is not a wrongdoer        A.2d 32, (Del. 2008). In my view, the Tyson Court
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blurred the line between restitution and unjust /s/ Freda L. Wolfson
enrichment, and in doing so, conflated the two legal
principles. Indeed, other chancery decisions in Freda L. Wolfson
Delaware make it clear that "unjust enrichment U.S. District [*9] Judge
requires an absence of justification for the transfer
that [*8] enriches one party and impoverishes the
other," and that "requirement usually entails some     End of Document

type of wrongdoing . . . at the time of the transfer."
Id. (finding that a passive shareholder who did not
partake in any wrongdoing and received a dividend
in good faith has not been unjustly enriched); In re
Lear Corp. S'holder Litig., 967 A.2d 640, 657, n. 73
(Del. Ch. 2008)(finding that wrongdoing is required
to establish unjust enrichment); PharmAthene, Inc.
v. SIGA Techs., Inc., 2011 Del. Ch. LEXIS 136, at
*99 (Del. Ch., Sept. 22, 2011) (same); see also,
Palese v. Del. State Lottery Office, 2006 Del. Ch.
LEXIS 126, at *5 (Del. Ch. 2006), aff'd, 913 A.2d
570 (Del. 2006). Although I am called upon to
interpret Delaware law, I note that my
interpretation here is also consistent with this
district's view of unjust enrichment. See In re:
Cheerios Mktg. & Sales Practices Litig., 2012 U.S.
Dist. LEXIS 128325, at 36 (D.N.J. Sep. 10, 2012)
(finding that unjust enrichment is not a viable
theory when there is no conscious wrongdoing
(citing Restatement Third, Restitution and Unjust
Enrichment, Vol. 1 § 3)); see also SEC v. Teo, 746
F.3d 90, 107 (3d Cir. 2014).

Accordingly, I conclude that based on Delaware
law, in order to properly state an unjust enrichment
claim against the Recipient Defendants, Plaintiff
must allege that these defendants themselves
participated in some type of wrongdoing. Because
no such allegations were presented in the
Complaint, I find that no clear error of law exists
for reconsideration purposes.3 Accordingly,
Plaintiff's motion is DENIED.

Sincerely,


3I  note that the breach of fiduciary claim against the Recipient
Defendants is dismissed without prejudice. In the event that Plaintiff
re-pleads that claim successfully, the unjust enrichment claim against
the Recipient Defendants may be revived.
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                             Tab 6
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                  2012 WL 1964452                                   I. BACKGROUND
    Only the Westlaw citation is currently available.
              NOT FOR PUBLICATION                                      A. Factual Background
     United States District Court, D. New Jersey.                   Defendants are in the business of marketing, distributing,
                                                                    selling, manufacturing or causing to be manufactured the
              Edna Diane BOWMAN and                                 surgical mesh at issue in this litigation. (Pl.'s Compl. ¶ 35,
               Amy McHenry, Plaintiffs,                             Aug. 26, 2010, ECF No. 1). Defendants, at all relevant
                          v.                                        times, allegedly sold surgical mesh as sterile, Food and Drug
       RAM MEDICAL, INC., Amerimed Corp.,                           Administration (“FDA”) approved, indicated for surgical use
        Henry Schein, Inc., Marathon Medical                        and Bard-manufactured. Id. at ¶ 36. Plaintiffs bring this action
      Corp., Medline Industries, MMS–A Medical                      on behalf of themselves and putatively on behalf all other
      Supply Co., and Q–Med Corp., Defendants.                      similarly situated persons “in the United States who had
                                                                    Defendants' counterfeit surgical mesh surgically implanted
        Civil Action No. 10–cv–4403 (DMC)(MF).                      from September 1, 2007 until the present.” (Pl.'s Compl.
                             |                                      ¶ 26). The Complaint includes specific information about
                      May 31, 2012.                                 two Plaintiffs, Edna Diane Bowman and Amy McHenry.
                                                                    On December 1, 2009, Plaintiff Edna Diane Bowman
Attorneys and Law Firms                                             underwent a surgical procedure at Lexington Medical Center
                                                                    in West Columbia, South Carolina (“LMC”), during which
Philip A. Tortoreti, Victoria Hwang-Murphy, Daniel R.
                                                                    Defendants' counterfeit mesh was implanted in her body.
Lapinski, Wilentz, Goldman & Spitzer, Woodbridge, NJ, for
                                                                    Id. at ¶ 40. On February 23, 2010, Plaintiff Amy McHenry
Plaintiffs.
                                                                    underwent a laparoscopic hernia repair procedure at LMC,
Kenneth N. Laptook, Wolff & Samson, PA, West Orange, NJ,            during which Defendants' counterfeit mesh was implanted in
Karen E. Clarke, Proskauer Rose, LLP, Newark, NJ, Scott             her abdomen. Id. at ¶ 37. On July 19, 2010, Plaintiff Bowman
L. Haworth, Nora Coleman, Haworth Coleman & Gerstman,               received a letter from LMC informing her that the surgical
LLC, New York, NY, Stuart Mark Feinblatt, Sills Cummis              mesh implanted during her surgery was “counterfeit surgical
Epstein & Gross, P.C., Newark, NJ, John C. Whipple,                 mesh.” Id. at ¶ 51. On July 15, 2010, Plaintiff McHenry
Arseneault, Whipple, Fassett & Azzarello, LLP, Chatham, NJ,         received a letter from LMC informing her of the same. Id. at
Thomas McKay, III, John Philip Johnson, Cozen & O'Conner,           ¶ 49.
Esqs., Cherry Hill, NJ, for Defendants.
                                                                    Essentially, Plaintiffs claim that a counterfeit product was
                                                                    used during surgery without their consent or knowledge.
                          OPINION                                   However, Plaintiffs cite no physical injury or harm resulting.
                                                                    Plaintiffs state their claims in five counts including: (1)
DENNIS M. CAVANAUGH, District Judge.                                violation of the New Jersey Consumer Fraud Act (“NJCFA”),
                                                                    (2) unjust enrichment and common law restitution, (3) breach
 *1 This matter comes before the Court upon the motion              of express warranty, (4) breach of implied warranty of
by Defendants RAM Medical, Inc., Henry Schein, Inc.,                merchantability and (5) breach of implied warranty of fitness
Marathon Medical Corp., Medline Indus., MMS–A Medical               for a particular purpose. Plaintiffs contend the nature of the
Supply Co. and Q–Med Corp. (collectively, “Defendants”)             action involves false, misleading, inaccurate, deceptive and
(ECF No. 34) to dismiss Plaintiff's complaint (ECF No. 1),          unconscionable commercial practices. (Pl.'s Compl. ¶ 1).
filed on January 31, 2011. An amended motion to dismiss was
filed by Defendants on September 30, 2011 (ECF No. 51).             Plaintiffs explain that their belief was that the surgical
Defendant C.R. Bard, Inc. filed a motion to dismiss on April        mesh implanted was: (1) Bard-manufactured, (2) sterile, (3)
23, 2012 (ECF No. 55). Pursuant to FED.R.CIV.P. 78, which           approved for use by the FDA, and (4) indicated for surgical
states that the court has the authority to provide for submitting   use. (Pl.'s Compl. ¶ 47). Plaintiffs claim that in the condition
and determining the motions on briefs without oral hearings,        in which Defendants sold their counterfeit mesh, the mesh had
no oral argument was heard.                                         zero value. Id. at ¶ 48. Further, Plaintiffs state that had they


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known that Defendants' surgical mesh was not as represented,       favorable to [the Plaintiff].” Phillips v. Cnty. of Allegheny,
they would not have purchased, or agreed to purchase of            515 F.3d 224. 228 (3d Cir.2008V The Plaintiff's “obligation
the surgical mesh for use during the surgical procedures. Id.      to provide the ‘grounds' of his ‘entitle[ment] to relief requires
at ¶ 54. The only ascertainable loss Plaintiffs allege is the      more than labels and conclusions, and a formulaic recitation
purchase price of a product they believed to be something          of the elements of a cause of action will not do.” Bell Atl.
else. Id. at ¶ 55. Plaintiffs vaguely state they “will incur       Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167
[future] costs to repair the damages caused by Defendants'         L.Ed.2d 929 (2007). “[A court is] not bound to accept as true
unlawful activity,” but omit to further explain such “repairs.”    a legal conclusion couched as a factual allegation.” Papasan
Id.                                                                v. Allain, 478 U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209
                                                                   (1986). Instead, when their truth is assumed, those factual
 *2 Plaintiffs seek relief that includes: class certification;     allegations “must be enough to raise a right to relief above
declarations that Defendants' unlawful actions violate             a speculative level.” Twombly, 550 U.S. at 555. Plaintiff's
the NJCFA, breach express and implied warranties of                obligation “requires more than labels and conclusions.” Id. at
merchantability and implied warranties of fitness, and             545. To survive a motion to dismiss, the complaint must state
unjustly enrich Defendants; orders directing disgorgement          a plausible claim, not merely conclusory statements deriving
of profits derived from unlawful practices, compelling             from assumptions or inferences. Ashcroft v. Iqbal, 556 U.S.
Defendants to reimburse Plaintiffs in an amount equal to their     662, 129 S.Ct. 1937, 1950, 173 L.Ed.2d 868 (2009).
ascertainable loss, and treble damages pursuant to N.J.S.A.
56:8–1 et seq.; restitution; and, attorney's fees. (Pl.'s Compl.   In reviewing a motion to dismiss, it is well-established that a
¶ 93).                                                             court should “consider only the allegations in the complaint,
                                                                   exhibits attached to the complaint, matters of public record,
                                                                   and documents that form the basis of a claim.” M & M Stone
   B. Procedural Background                                        Co. v. Pa., 388 Fed.Appx. 156, 162 (3d Cir.2010).
This matter comes before the Court upon the motion
by Defendants RAM Medical, Inc., Henry Schein, Inc.,
Marathon Medical Corp., Medline Indus., MMS–A Medical                III. DISCUSSION
Supply Co. and Q–Med Corp. (collectively, “Defendants”)
(ECF No. 34) to dismiss Plaintiff's complaint (ECF No. 1),            A. STANDING
filed on January 31, 2011. An amended motion to dismiss was        As an initial matter, this Court must discuss whether
filed by Defendants on September 30, 2011 (ECF No. 51).            jurisdiction is founded in this case, given the requirements of
This Court sua sponte consolidated the Calo Action (Docket         Article III. Defendants say Plaintiffs lack standing because
No. 11–cv–7381) with this matter on April 17, 2012.                they state no injury in fact. (Def.'s Am. Mot. Dismiss 1,
                                                                   Sept. 30, 2011, ECF No. 51). Under Article III, federal
Defendant C.R. Bard, Inc. filed a motion to dismiss on April       judicial power is restricted to cases and controversies. Sprint
                                                                   Commc'ns Co. v. APCC Servs., Inc., 554 U.S. 269, 273, 128
23, 2012 (ECF No. 55). 1 Plaintiff Irene Kirk Calo then filed
                                                                   S.Ct. 2531, 171 L.Ed.2d 424 (2008). The case-or-controversy
a motion to voluntarily dismiss her action, without prejudice,
                                                                   requirement means that Plaintiff must establish standing.
on May 21, 2012 (ECF No. 58), which this Court granted
                                                                   Id. Without standing, the federal court lacks subject matter
(ECF No. 58) pursuant to FED. R. CIV. P. 41(a)(2).
                                                                   jurisdiction and must dismiss the action. Common Cause
                                                                   of Pa. v. Pa., 558 F.3d 249, 257 (3d Cir.2009). Article III
1      Thereafter, Plaintiff Calo and C.R. Bard, Inc.              standing requires adequate establishment of: 1) an injury in
       stipulated to dismissal of Plaintiff's claims against       fact, 2) causation, and 3) redressability. Sprint Commc'ns,
       C.R.Bard, Inc. with prejudice on May 29, 2012.              554 U.S. at 273. An injury in fact involves a concrete
       Since Calo's motion for voluntary dismissal was             and particularized and actual or imminent, as opposed to
       granted on this day, this point is moot.                    conjectural or hypothetical, invasion of a legally protected
                                                                   interest. Id. (citing Lujan v. Defenders of Wildlife, 504 U.S.
   II. STANDARD OF REVIEW                                          555, 560–1, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). The
In deciding a motion to dismiss, the District Court is “required   causation element of standing requires a connection between
to accept as true all factual allegations in the complaint and     the alleged injury in fact and the alleged conduct of the
draw all inferences in the facts alleged in the light most         Defendant. Id The redressable element means that it is likely,


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and not merely speculative, that the injury in fact would be
remedied by the relief sought. Id.                                      B. Count I: Violation of the New Jersey Consumer
                                                                        Fraud Act (“NJCFA”)
 *3 Defendants, in their motion to dismiss, explain how              Plaintiffs argue that their NJCFA claims are distinct and
Plaintiffs fail to adequately establish the injury in fact element   sustainable based on an economic injury theory, given
of standing:                                                         they paid a premium for a product based on Defendants'
                                                                     misrepresentations. See Id. at 9; see also Medley v. Johnson
  In the instant matter, [P]laintiffs summarily allege that          & Johnson Consumer Cos., Inc., No. 10–cv–2291, 2011 WL
  they “will incur costs to repair the damages caused by             159674, at *2 n. 2 (D.N.J. Jan.18, 2011) (DMC). Plaintiffs
  [D]efendants' unlawful activity” [ (Pl.'s Compl. ¶¶ 55 and         will not establish the elements required by the NJCFA based
  64) (emphasis omitted) ] without any indication of when            on the fact that their allegations are “founded in the principals
  or why such costs might be incurred, and while explicitly          of economic inequities, not tort ...” (Pl.'s Opp'n 5). A claim
  excluding any allegations of personal injury, either present       under the NJCFA requires proof of: 1) an unlawful practice
  or future. [ (Pl.'s Compl. ¶ 10) ] ... Plaintiffs have not         as defined under the Act; 2) ascertainable loss of moneys or
  alleged present, manifest or even imminent damages, or             property; and 3) a causal relationship between Defendant's
  any adverse consequences whatsoever. The allegations               unlawful conduct and Plaintiff's ascertainable loss. N.J.S.A.
  are purely subjective and hypothetical. (Def.'s Am. Mot.           56:8–19 (1998).
  Dismiss 7).
                                                                      *4 Plaintiffs state that Defendants' business practice of
Plaintiffs counter that the injury in fact is the cost of buying a   marketing, advertising and promoting counterfeit surgical
product that they would not have bought, had facts that arose        mesh is “false, misleading, inaccurate and deceptive.” (Pl.'s
later been apparent at the time when they could have made a          Compl. ¶ 58). However, Plaintiffs oppose Defendants' motion
choice. (Pl.'s Opp'n 10, Mar. 28, 2011, ECF No. 37). In the          to dismiss with argument that focuses almost exclusively
same vein, Plaintiffs argue that they received something other       upon the heightened pleading requirement Defendants'
than what was bargained for. Id.                                     suggest, and not at all upon the supplemental evidence that
                                                                     would buttress Plaintiff's otherwise conclusory claims. The
Defendants supply strong argument showing that Plaintiffs            NJCFA requires an unlawful practice such as an affirmative
fail to adequately establish that the instant scenario               act, a knowing omission or a regulatory violation. Parker v.
demonstrates injury in fact. On the spectrum of proof relevant       Howmedica Osteonics Corp., 2008 WL 141628, *2 (D.N.J.
to injury in fact, Plaintiffs' case presents more of an “abstract”   Jan.14, 2008) (citation omitted). Plaintiffs did not specifically
notion of injury, rather than a harm that is “distinct and           allege any conduct that tends to amount to an “unlawful
palpable.” See Whitmore v. Arkansas, 495 U.S. 149, 155, 110          practice” under the NJCFA.
S.Ct. 1717, 109 L.Ed.2d 135 (1990) (citing Warth v. Seldin,
422 U.S. 490, 501, 95 S.Ct. 2197, 45 L.Ed.2d 343; and O'Shea         Otherwise fatal to Plaintiffs' claim is the failure of proof
v. Littleton, 414 U.S. 488, 494, 94 S.Ct. 669, 38 L.Ed.2d 674        problem with the contention that they never received the
(1974)). Indeed, it can be assumed from the complaint that           benefit of the bargain or “paid for a product that was of no
Plaintiffs might not have even discovered that “counterfeit          value.” (Pl.'s Compl. ¶ 63). Such allegations do not satisfy
mesh” was implanted without the letter from LMC describing           the NJCFA's “ascertainable loss” requirement, without more.
the situation as such. Though Plaintiffs cleverly oscillate          Though the “counterfeit surgical mesh” has a price tag, the
between contract and tort theories in an attempt to show that        “no value” concept of it, considering Plaintiffs do not assert
a harm amounts to “injury in fact” as envisioned under the           any physical injury or otherwise, is abstract. Plaintiffs do not
standards for Article III standing, their arguments fall short       provide specific proofs of harm to support, or upon which
of concrete proof.                                                   this Court could infer a quantifiable loss. Thiedemann v.
                                                                     Mercedes–Benz USA, LLC, 183 N.J. 234, 252, 872 A.2d
Thus, this Court lacks subject matter jurisdiction over              783 (2005); see also, Parker v. Howmedica Osteonics Corp.,
Plaintiffs claim and must dismiss. Though no further analysis        2008 WL 141628, at *3 (D.N.J. Jan.14, 2008). Stating the
is required due to the lack of subject matter jurisdiction, this     expectation of a future loss, similarly fails to meet the
Court will engage in a brief analysis of each Count of the           requirement of the CFA, because it is too speculative. Id. This
Complaint.                                                           insurmountable problem is the same as that which precluded



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                                                                        approved, (4) indicated for surgical use or otherwise. Rather,
Plaintiff from establishing injury in fact tor standing purposes.
                                                                        Plaintiffs frame their claims upon assumptions of promise
Plaintiffs fail to state a claim under the NJCFA.
                                                                        and information that the surgical mesh used was counterfeit.
                                                                        Establishing an express warranty requires more substantial
    C. Count II: Unjust Enrichment and Common Law                       proof. Indeed, the Third Circuit held that breach of an express
    Restitution                                                         warranty sounds in breach of contract and, as such, Plaintiffs'
Plaintiffs may not sidestep Article III standing requirements           claim foils for reasons similar to those described in the prior
by basing their claim in contract theory. Plaintiffs allege that        section. Pritchard v. Liggett & Myers Tobacco Co., 350 F.2d
they would not have purchased the product if it was not                 479, 484 (3d Cir.1965). This Court will not assume, even
sterile, Bard-manufactured, FDA approved or indicated for               considering LMC's concession that the mesh was counterfeit,
surgical use. As such, Plaintiffs contend Defendants were               that these four expressions were specifically made and relied
unjustly enriched by their purchase and that they are therefore         upon. Such a lack of specificity does not comport with the
entitled to restitution. The parties point to a matter previously       nature of the theories supporting consumer reliance upon an
before this Court, Koronthaly v. L'Oreal USA, Inc., No. 07–             express warranty.
cv–5588, 2008 WL 2938045 (D.N.J. July 29, 2008), aff'd,
374 Fed.Appx. 257 (3d Cir.2010) (Plaintiff asserted lipstick
                                                                           E. Counts IV and V: Breach of Implied Warranty of
products contained lead in far greater amounts than permitted
                                                                           Merchantability and Fitness for a Particular Purpose
in candy by the FDA). The Third Circuit reviewed a similar
                                                                        Defendants convince this Court that, standing alone, the
issue of whether a consumer could recover on the basis that
                                                                        counterfeit nature of the surgical mesh “does not demonstrate
she did not know what she was getting or would not have
                                                                        that [Plaintiffs] or others could not use the product
purchased the product had she known certain details about
                                                                        safely.” (Pl.'s Opp'n 27). Plaintiffs do not supply any
it. Koronthaly, 374 Fed.Appx. at 258. In a short opinion, the
                                                                        supporting facts, other than the counterfeit designation of
Court held that the purchases were not made pursuant to a
                                                                        the mesh, rendering the product valueless or unfit. Finally,
contract and therefore Plaintiff had failed to prove that that
                                                                        Plaintiffs fail to assert any injury, and in fact disclaim any
which would have precluded her from buying the product
                                                                        physical harm, resulting from the product. Plaintiffs again
had formed part of the basis of any bargain. Id. at 259.
                                                                        rely on the abstract concept of the mesh's “zero value”
Plaintiff's claim failed because she did not demonstrate a
                                                                        without proving specifically how the product failed. Plaintiffs
concrete injury in fact, and it could not otherwise be sustained
                                                                        further tail to show that the product is generally or otherwise
by artful pleading dependent upon contract theory. Id. Despite
                                                                        unfit for the ordinary purpose which it was used. Rather,
Plaintiffs' contentions that this case is distinguishable from
                                                                        Plaintiffs declare that the surgical mesh continues to work for
Koronthaly, the fact that Plaintiffs did not actually received
                                                                        the purpose for which it was designed, to this day, despite
the product they intended to purchase and paid for, does not
                                                                        any misrepresentations or omissions regarding the brand or
affect Plaintiffs' failing contract claims. Rather, the Third
                                                                        otherwise. Plaintiffs can sustain neither a claim of breach
Circuit guides that the focus is upon the harm, or in this case,
                                                                        of implied warranty of merchantability nor fitness for a
the lack thereof, rather than the buyer's expectation.
                                                                        particular purpose.

   D. Count III: Breach of Express Warranty
                                                                        IV. CONCLUSION
 *5 Plaintiffs fail to demonstrate specifically that they relied
                                                                        For the foregoing reasons, this Court hereby grants
upon labeling or other expressions of promise that could have
                                                                        Defendants' motion to dismiss Plaintiff's complaint. An
formed the “basis of the bargain.” Plaintiffs frame their breach
                                                                        appropriate order, filed on this day, follows this opinion.
of express warranty claim almost identically to their breach
of implied warranty claims. In other words, Plaintiffs submit
no specific proof of promises that were expressed, whether              All Citations
they amounted to, as Plaintiffs suggest, assertions that the
product was (1) Bard-manufactured, (2) sterile, (3) FDA                 Not Reported in F.Supp.2d, 2012 WL 1964452

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                             Tab 7
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              Chatham v. Sears, Roebuck & Co. (In re Sears, Roebuck & Co.)
            United States District Court for the Northern District of Illinois, Eastern Division
                                      December 18, 2006, Decided
                                MDL-1703, No. 05 C 4742, No. 05 C 2623

Reporter
2006 U.S. Dist. LEXIS 92169 *
                                                       For Charles Velez: Barbara J Hart, Goodkind,
IN RE SEARS, ROEBUCK & CO. TOOLS                       Labaton, Rudoff & Sucharow, New York, NY.
MARKETING AND SALES PRACTICES
LITIGATION; CHARLES CHATHAM et al.,                    For Brenda Lifsey, Guillermo Garcia Santamarina,
individually and on behalf of all others similarly     Chris Wilson: Donald R Pepperman, Blecher &
situated, Plaintiffs, v. SEARS, ROEBUCK & CO.,         Collins, Los Angeles, CA.
Defendant.

                                                       For Larry Steven Anderson, Jr.: Lawrence Wiley
                                                       Schad, Schad, Diamond & Shedden, P.C., Chicago,
Subsequent History: Class certification denied by      IL.
Chatham v. Sears, Roebuck & Co. (In re Sears,
Roebuck & Co. Tools Mktg. & Sales Practices            For Charles Chatham: Thomas M Sobol, Hagens
Litig.), 2007 U.S. Dist. LEXIS 89349 (N.D. Ill.,       Berman Sobol Shapiro, Cambridge, MA.
Dec. 4, 2007)

                                                       For Tammy Cyr, Heather Pistorius: Jennifer Winter
                                                       Sprengel, Miller Faucher and Cafferty, LLP,
Prior History: Santamarina v. Sears, 466 F.3d          Chicago, IL.
570, 2006 U.S. App. LEXIS 25861 (7th Cir. Ill.,
2006)

                                                       Judges: John F. Grady, United States District
                                                       Judge.
Counsel: [*1] For Sears, Roebuck & Co.: Francis
A. Citera, John F. Gibbons, Greenberg Traurig,
LLP, Chicago, IL.
                                                       Opinion by: John F. Grady

For Tracy Hutson: Michael T. George, Michael T.
George, P.C., St. Louis, MO.
                                                       Opinion
For Jeffrey Greenfield: Aron David Robinson,
LEAD ATTORNEY, Law Office of Aron D.
Robinson, Chicago, IL; Lance A. Harke, Harke &
                                                       MEMORANDUM OPINION
Clasby LLP, Miami, FL.
                                                       Before the court is defendant's motion to dismiss
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plaintiffs' unjust enrichment claims brought           "equitable relief." 1 As to Count IV, we stated in
pursuant to Illinois law in Count IV of the Second     our previous order: "It appears to the court that the
Amended Consolidated Class Action Complaint            claim most likely to involve an amount of money
filed in Chatham v. Sears, Roebuck & Co., 05 C         sufficient to support federal diversity jurisdiction in
2623. [*2] For the reasons explained below, the        this case, either on an individual or a class basis, is
motion is granted.                                     plaintiffs' claim for unjust enrichment . . . .
                                                       Defendant believes that there is no basis for the
                                                       unjust enrichment claim, and a briefing of the
BACKGROUND                                             issues regarding Count IV will be the next item of
                                                       business in the litigation." (Pretrial Order Number 6
In this putative class action, plaintiffs, who are
                                                       at 5.) We gave Sears leave to file a motion to
citizens of several different states, claim that
                                                       dismiss Count IV and set a briefing schedule,
defendant Sears, Roebuck & Company ("Sears")
                                                       instructing the parties to focus on the issues of what
deceptively advertised its proprietary line of
                                                       state's law applies to the unjust enrichment claims
"Craftsman" tools as manufactured exclusively in
                                                       and whether a nexus must exist between the injury
the United States ("Made in USA") when in fact
                                                       sustained by a plaintiff and the amount of
many of the tools are foreign-made or contain
                                                       recoverable disgorgement of defendant's [*4]
significant foreign parts.
                                                       profits. The motion to dismiss is now fully briefed.
Plaintiffs' current complaint is titled "Second
Amended Consolidated Class Action Complaint."
In our Pretrial Order Number 6 of July 31, 2006,       DISCUSSION
we dismissed Counts I and II of the complaint          A. Choice of Law
(which alleged violations of the Illinois Consumer
Fraud and Deceptive Business Practices Act and         Our first inquiry is the choice-of-law question--
the Illinois Deceptive Trade Practices Act) with       which state's (or states') law applies to plaintiffs'
prejudice as to all plaintiffs except William          unjust enrichment claims. The parties do not agree
Beanblossom and John S. Bertrand. We dismissed         on this issue. Even though plaintiffs are citizens of
Beanblossom and Bertrand's claims without              several different states, they all contend that Illinois
prejudice for failure to allege fraud with             law applies to their claims (evidently because they
particularity. (Since then, Bertrand voluntarily       are seeking certification of a nationwide class). 2
dismissed his claims; thus, Beanblossom is the only    Defendant, on the other hand, contends that the
remaining Illinois plaintiff.) We also dismissed       claims are governed by the laws of the various
Count VII, the Magnuson-Moss claim, with               states where each plaintiff saw the advertising and
prejudice as to all plaintiffs. And as to certain      purchased his or her tools. 3
plaintiffs, [*3] we dismissed Count III, which is
alleged in the alternative to Counts I and II and in
which plaintiffs seek damages and/or injunctive        1 The complaint does not contain a Count V.


relief under the consumer fraud and deceptive trade    2 In the alternative, plaintiffs contend that the unjust enrichment laws

practices of all fifty states and the District of      of their home states or the states where they purchased Craftsman
Columbia.                                              tools apply. (Second Amended Consolidated Class Action Complaint
                                                       P 125.)
Other claims asserted by plaintiffs are Count IV, an   3 We refer to these states for convenience as plaintiffs' "home states,"

unjust enrichment claim, and Count VI, a claim for     even though at least one of the plaintiffs purchased some of her tools
                                                       in a state where she does not reside.

                                                       Plaintiffs suggest that it is not necessary to engage in a choice-of-law
                                                       analysis (implying that we should simply apply Illinois law) because
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 [*5] The parties do agree that because Illinois is                             The Illinois Supreme Court uses the "most
the forum state of this diversity case, we must                                 significant relationship" test for choosing the
consult the choice-of-law rules of Illinois to                                  appropriate law in tort cases. In practice, this
determine which state's substantive law applies. See                            means that "the law of the place of injury
Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487,                             controls unless Illinois has a more significant
496, 61 S. Ct. 1020, 85 L. Ed. 1477 (1941); GATX                                relationship with the occurrence and with the
Leasing Corp. v. National Union Fire Ins. Co., 64                               parties." A court is to determine whether
F.3d 1112, 1114 (7th Cir. 1995). The Illinois                                   Illinois has the more significant relationship by
Supreme Court uses the "most significant                                        examining the following factors: (1) the place
relationship" test for choosing the appropriate law                             of the injury, (2) the place where the injury-
in tort cases. 4 The Seventh Circuit has stated:                                causing conduct occurred, (3) the domicile of
                                                                                the parties, and (4) the place where the
the unjust enrichment laws of the fifty states are "substantially               relationship between the parties is centered.
identical." (Pls.' Opp'n to Def.'s Mot. at 10.) We are unpersuaded.             The Illinois courts also consider "the interests
Plaintiffs attach an exhibit that purports to be a fifty-state survey of
                                                                                and public policies [*6] of potentially
unjust enrichment. However, it is merely a list of one-sentence
statements of the elements of unjust enrichment drawn from a single             concerned states . . . as they relate to the
case from each state. Plaintiffs do not engage in any sort of analysis          transaction in issue."
of the nuances of unjust enrichment law or what must actually be
proved in each state. It is clear just from our review of Illinois law     Fredrick v. Simmons Airlines, Inc., 144 F.3d 500,
that unjust enrichment is a tricky type of claim that can have varying
                                                                           503-04 (7th Cir. 1998) (citing Esser v. McIntyre,
interpretations even by courts within the same state, let alone
amongst the fifty states. As discussed in Clay v. American Tobacco         169 Ill. 2d 292, 661 N.E. 2d 1138, 1141, 214 Ill.
Co., 188 F.R.D. 483, 501 (S.D. Ill. 1999) (citations omitted):             Dec. 693 (Ill. 1996) and Jones v. State Farm Mut.
"[V]ariances exist in state common laws of unjust enrichment. The          Auto. Ins. Co., 289 Ill. App. 3d 903, 682 N.E.2d
actual definition of 'unjust enrichment' varies from state to state.
                                                                           238, 249, 224 Ill. Dec. 677 (Ill. App. Ct. 1997)).
Some states do not specify the misconduct necessary to proceed,
while others require that the misconduct include dishonesty or fraud.
Other states only allow a claim of unjust enrichment when no                [*7] The place of the injury here (or, in unjust
adequate legal remedy exists. Many states, but not all, permit an          enrichment terms, the place where plaintiffs
equitable defense of unclean hands. Those states that permit a             allegedly "conferred" the benefit on defendant) is
defense of unclean hands vary significantly in the requirements
                                                                           the plaintiffs' home states where they purchased
necessary to establish the defense."
                                                                           Sears's tools. The place where the parties'
4 We recognize that Count IV is an unjust enrichment claim, not a          relationship is centered is the plaintiffs' home states
tort claim. It is, however, an unjust enrichment claim that sounds in      as well. Plaintiffs saw the allegedly misleading
tort; it is based on alleged wrongful conduct, fraud. Under Illinois
                                                                           advertising in those states, and they purchased the
law, there are three distinct prongs of unjust enrichment: (1) where a
benefit should have been given to plaintiff, but a third party             tools (which were located there) in those states as
mistakenly gave it to defendant instead; (2) where the defendant           well. Plaintiffs contend that the relationship is
procured the benefit through some type of wrongful conduct; and (3)        centered in Illinois because plaintiffs purchased the
where plaintiff had a better claim to the benefit than the defendant
for some other reason. See HPI Health Care Servs., Inc. v. Mt.
Vernon Hosp., Inc., 131 Ill. 2d 145, 545 N.E.2d 672, 679, 137 Ill.         enrichment claim that is based on tort. Thus, § 221 does not apply.
Dec. 19 (Ill. 1989). Plaintiffs rely on the second prong. It makes         But in any event, its substance is largely the same as the tort choice-
more sense, therefore, to use tort terminology in the choice-of-law        of-law analysis outlined infra. For example, one of the elements of
analysis.                                                                  the choice-of-law analysis set forth in § 221 is "the place where the
                                                                           act conferring the benefit or enrichment was done," which is the
The parties devote considerable attention to which section of the          same as "the place of the injury." Under both analyses, we examine
Restatement (Second) of Conflict of Laws has the greatest                  the domicile of the parties and the place where the relationship
application to this case-- § 6 or § 221--which is not worth                between the parties was centered. And as for § 6, which sets forth
belaboring. Comment a to § 221 states explicitly that that section         general principles of choice of law, we analyze the primary choice-
"applies to claims, which are based neither on contract nor on tort, to    of-law factors set forth in Illinois case law in the context of the
recover for unjust enrichment." Plaintiffs' claim is an unjust             underlying principles set forth in § 6.
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tools "by virtue of" Sears's nationwide                               6  Accordingly, the non-Illinois plaintiffs' unjust
advertisements, which were conceived of and sent                      enrichment claims in Count IV that are brought
from Illinois. (Pls.' Opp'n to Def.'s Mot. at 10.) This               "under the unjust enrichment laws of the state of
characterization rings hollow. The relationship                       Illinois" are dismissed with prejudice. The unjust
arose from plaintiffs' purchases of Craftsman tools,                  enrichment claims that are brought under the unjust
which occurred in plaintiffs' home states. 5 Cf. First                enrichment laws of the non-Illinois plaintiffs' home
Wisconsin Trust Co. v. Schroud, 916 F.2d 394, 399                     states or the states where they purchased their
(7th Cir. 1990) (where unjust enrichment claim                        Craftsman tools survive.
arose from the purchase of property in Indiana,
relationship between the parties was centered in                      B. Plaintiff Beanblossom's Unjust Enrichment
Indiana).                                                             Claim

 [*8] The "domicile of the parties" factor adds little                As noted supra, William Beanblossom is the only
to the mix; it is a wash. The plaintiffs are domiciled                remaining Illinois plaintiff. Therefore, his unjust
in their respective home states, and Sears, though                    enrichment claim is the only one to which Illinois
not an Illinois corporation, is headquartered in                      law applies. Sears moves to dismiss the
Illinois. The last factor--the place where the injury-                claim [*10] pursuant to Federal Rule of Civil
causing conduct occurred--seems to favor Illinois                     Procedure 12(b)(6).
because that is where Sears is headquartered and
                                                                      Sears maintains that Beanblossom's unjust
where its advertising decision-making takes place.
                                                                      enrichment claim fails because it is equitable in
Thus, for the unjust enrichment claims, the parties                   nature and plaintiff fails to allege that he has no
and underlying occurrences have more significant                      adequate remedy at law. It is well settled that a
contacts with plaintiffs' home states than with                       party cannot seek equitable relief when he has an
Illinois. The most important factors in this case are                 adequate legal remedy. See, e.g., Crowley v.
the place of injury and the center of the parties'                    Golden Rule Ins. Co., 166 Ill. App. 3d 199, 519
relationship, and both of those factors point to the                  N.E.2d 1191, 1192, 117 Ill. Dec. 24 (Ill. App. Ct.
plaintiffs' home states. Plaintiffs argue that,                       1988). Unjust enrichment, however, is a legal
considering underlying choice-of-law policies,                        claim. See Partipilo v. Hallman, 156 Ill. App. 3d
Illinois has a interest in "controlling the acts" of its              806, 510 N.E.2d 8, 11, 109 Ill. Dec. 387 (Ill. App.
corporate citizens. This may be true, but the                         Ct. 1987); Burns Philp Food, Inc. v. Cavalea Cont'l
plaintiffs' home states also have an interest in                      Freight, Inc., 135 F.3d 526, 527-28 (7th Cir. 1998).
regulating business conduct that takes place within                   Its significant equitable aspects 7 have led to
their borders. In addition, those states also have an                 numerous confusing statements in case law that it is
interest in preventing and remedying unjust                           equitable in nature, but it is essentially an action at
enrichment that occurs at the expense of their                        law. Burns, 135 F.3d at 528.
citizens.
                                                                       [*11] Sears asserts that Beanblossom "cannot state
After considering all of the [*9] relevant factors                    an unjust enrichment claim grounded in quasi-
and the underlying choice-of-law principles, we
conclude that the laws of each of the plaintiffs'
home states apply to their unjust enrichment claims.                  6 Thus, we need not address defendant's argument that application of

                                                                      Illinois law to the unjust enrichment claims would violate the
                                                                      Commerce Clause of the United States Constitution and the interests
5 As mentioned supra note 3, the only exception is plaintiff Janett
                                                                      of comity.

Foster, who is a citizen of Indiana but purchased tools in both       7 These equitable aspects are not implicated here because plaintiff's

Indiana and Kentucky.                                                 claim is based in tort and monetary recovery is sought.
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contract because there is a 'real' contract that                          decisions that go both ways. Compare, e.g., Stathis
governs his relationship with Sears." (Def.'s Mem.                        v. Geldermann, Inc., 295 Ill. App. 3d 844, 692
in Support of Mot. at 9.) This argument is neither                        N.E.2d 798, 811, 229 Ill. Dec. 809 (Ill. App. Ct.
here nor there because plaintiffs' unjust enrichment                      1998) [*13] ("A cause of action based upon unjust
claims are obviously not grounded in quasi-                               enrichment does not require fault or illegality on
contract. Rather, as discussed supra note 4, they are                     the part of defendants.") with Alliance Acceptance
grounded in tort--fraud, to be specific. 8                                Co. v. Yale Ins. Agency, Inc., 271 Ill. App. 3d 483,
                                                                          648 N.E.2d 971, 977, 208 Ill. Dec. 49 (Ill. App. Ct.
 [*12] Even if Beanblossom's claim is grounded in                         1995) (recovery for unjust enrichment permitted
tort, Sears argues, it must be dismissed because he                       only when there is "unlawful or improper conduct
fails to state an independent claim for consumer                          as defined by law, such as fraud, duress, or undue
fraud, common-law fraud, duress, or undue                                 influence"). However, as is pointed out in an
influence. Plaintiffs respond that they are not                           excellent Illinois Bar Journal article concerning the
required to state a separate claim in order to state an                   Illinois law of unjust enrichment, there is a way to
unjust enrichment claim. Both plaintiffs and                              reconcile the case law. See Ronald M. Lepinskas,
defendant cite cases that seem to support each of                         Unjust Enrichment Claims in Illinois: Applying a
their positions.                                                          Venerable Doctrine-to Modern Disputes, 91 Ill.
                                                                          B.J. 514, 517 (2003). We have explained supra
We have engaged in an exhaustive review of the
                                                                          note 4 that there are three prongs of unjust
sometimes-bewildering realm of Illinois unjust
                                                                          enrichment: a benefit mistakenly conferred, a
enrichment law, and our conclusions are as follows.
                                                                          benefit procured through wrongful conduct, and a
It is often expressed that in order to state an unjust
                                                                          benefit to which plaintiff has a better claim than the
enrichment claim under Illinois law, "a plaintiff
                                                                          defendant for some other reason. Courts have not
must allege that the defendant has unjustly retained
                                                                          required proof of wrongful conduct where the
a benefit to the plaintiff's detriment, and that
                                                                          factual allegations fall within the "mistakenly
defendant's retention of the benefit violates the
                                                                          conferred" or "better claim" prongs, but they have
fundamental principles of justice, equity, and good
                                                                          required such proof of when the allegations fall
conscience." HPI Health Care Servs., Inc. v. Mt.
                                                                          within the "wrongful conduct" [*14] prong. So,
Vernon Hosp., Inc., 131 Ill. 2d 145, 545 N.E.2d
                                                                          while it is correct to say that unjust enrichment is
672, 679, 137 Ill. Dec. 19 (Ill. 1989). The law
                                                                          its own claim that does not necessarily require the
regarding whether a plaintiff must also show
                                                                          existence of an underlying claim, or a particular
wrongdoing is initially confusing because there are
                                                                          underlying claim, it is also correct to say that when
                                                                          a plaintiff brings an unjust enrichment claim that is
                                                                          based on wrongful conduct, plaintiff must plead
8 Sears also contends in its reply brief that Beanblossom's claim is
                                                                          and prove that conduct. See Alliance, 648 N.E.2d at
doomed by Shaw v. Hyatt International Corp., 461 F.3d 899 (7th
Cir. 2006), in which the Court of Appeals held that the plaintiff's       977; Bober v. Glaxo Wellcome PLC, 246 F.3d 934,
consumer fraud and unjust enrichment claims failed because what           943 (7th Cir. 2001).
plaintiff called "deception" or "consumer fraud"--charging more than
the agreed-upon price for a hotel room--was simply Hyatt's failure to     Here, plaintiffs allege in Count IV that "Sears has
fulfill its contractual obligations. 461 F.3d at 901-02. The Court
                                                                          been unjustly enriched by virtue of its false,
stated that a "deceptive act or practice" involves more than the mere
fact that a defendant promises to do something and then fails to do it.   misleading advertising of Craftsman products."
Id. at 901.                                                               (Second Amended Consolidated Class Action
                                                                          Complaint P 128.) The "unlawful or improper
Shaw is distinguishable from the facts of the instant case. Plaintiffs
                                                                          conduct as defined by law," Alliance, 648 N.E.2d at
complain that Sears induced them to buy Craftsman tools by
misrepresenting the country of origin of the tools, not simply that       977, is fraudulent misrepresentation. Fraudulent
Sears made a false promise of future conduct.                             conduct consists of a knowing misrepresentation
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made with the intent to deceive the plaintiff. See   Roebuck & Co., 05 C 2623, is granted. The non-
People v. L & M Liquors, Inc., 37 Ill. App. 3d 117,  Illinois plaintiffs' unjust enrichment claims in
345 N.E.2d 817, 820 (Ill. App. Ct. 1976).            Count IV that are brought "under the unjust
                                                     enrichment laws of the state of Illinois" are
Federal Rule of Civil Procedure 9(b) provides that dismissed with prejudice. Plaintiff William
in "all averments of fraud . . . the circumstances Beanblossom's unjust enrichment claim is
constituting fraud . . . shall be stated [*15] with dismissed without prejudice.
particularity." In our Order of July 31, 2006, we
dismissed Beanblossom's statutory fraud claims in A status hearing is set for January 10, 2007, at
the Second Amended Consolidated Class Action 11:30 a.m. to discuss the next steps in this
Complaint for failure to allege fraud with litigation.
particularity because Beanblossom fails to allege
where he saw the advertisements on which he based DATE: December 18, 2006
his belief that Craftsman tools were made in the John F. Grady, United States District Judge
United States. (He alleges broadly that he "heard
advertisements for Craftsman products on the radio
and saw advertisements for Craftsman products in        End of Document

magazines, newspapers, and on displays and
banners in a Sears store," Second Amended
Consolidated Class Action Complaint P 8.) We
indicated that we would entertain a motion to file a
third amended complaint, but Beanblossom has
never presented such a motion. Therefore, there is
no allegation of the requisite fraudulent conduct,
and the unjust enrichment claim must also be
dismissed. Like the dismissal of his statutory fraud
claims, the dismissal of Beanblossom's unjust
enrichment claim will be without prejudice.

C. Disgorgement of Profits

We asked the parties to brief the issue of whether,
under Illinois law, a nexus must exist between the
injury sustained by a plaintiff and the
amount [*16] of recoverable disgorgement of
defendant's profits. In view of our dismissal of all
of the unjust enrichment claims brought pursuant to
Illinois law, we need not address this issue at this
juncture.


CONCLUSION

Defendant's motion to dismiss plaintiffs' unjust
enrichment claims brought pursuant to Illinois law
in Count IV of the Second Amended Consolidated
Class Action Complaint filed in Chatham v. Sears,
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                             Tab 8
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                         In re: Cheerios Mktg. & Sales Practices Litig.
                        United States District Court for the District of New Jersey
                        September 10, 2012, Decided; September 10, 2012, Filed
                  Civil Action No.: 09-cv-2413; MDL Docket No.: 2094 ALL CASES

Reporter
2012 U.S. Dist. LEXIS 128325 *; 2012 WL 3952069


IN RE: CHEERIOS MARKETING AND SALES
PRACTICES LITIGATION
                                                      Opinion


Notice: NOT FOR PUBLICATION                           MEMORANDUM AND ORDER

                                                      SHERIDAN, U.S.D.J.

                                                      This matter comes before the Court on Defendant
Counsel: [*1] For EDWARD MYERS,                       General Mills, Inc.'s ("Defendant") a motion for
individually and on behalf of and all others          summary judgment. More specifically, the issue is
similarly situated, ELSA ACEVEDO, individually        whether the Plaintiffs have suffered any concrete or
and on behalf of and all others similarly situated,   particularized injury in order to have standing to
Plaintiffs: JOE R. WHATLEY, LEAD                      sue. See Koronthaly v. L'Oreal USA, Inc., 374 Fed.
ATTORNEY, COUNSEL NOT ADMITTED TO                     Appx. 257 (2010). On or about January 4, 2010,
USDC-NJ BAR, WHATLEY KALLAS, LLC,                     Plaintiffs, consumers who purchased Cheerios® 1
NEW YORK, NY; JOHN W. OLIVO, JR.,                     cereals produced and distributed by General Mills,
MAUREEN VICTORIA ABBEY, LEAD                          Inc., filed a consolidated amended class action
ATTORNEYS, HENINGER GARRISON DAVIS,                   complaint (Amended Complaint). Plaintiffs allege
LLC, WESTFIELD, NJ.                                   eight [*2] causes of action in the Amended
                                                      Complaint: (1) a violation of the Minnesota
                                                      Consumer Fraud Act; (2) a violation of the
For GENERAL MILLS, INC., a Delaware
                                                      Minnesota Unlawful Trade Practices Act; (3) a
corporation, Defendant: ANDREW JAMES
                                                      violation of the Minnesota Deceptive Trade
HUGHES, DAVID C. KISTLER, STEPHEN M.
                                                      Practices Act; (4) a violation of the Minnesota
ORLOFSKY, LEAD ATTORNEYS, BLANK
                                                      False Statement in Advertising Act; (5) a violation
ROME LLP, PRINCETON, NJ.
                                                      of state consumer protection laws; (6) breach of
                                                      express warranty; (7) breach of implied warranty of
                                                      merchantability and fitness for a particular purpose;
Judges: PETER G. SHERIDAN, United States              and (8) unjust enrichment.
District Judge.

                                                      1 Although Cheerios® is a registered trademark of General Mills, in

                                                      this opinion the Court refrains from using the such marks for the
Opinion by: PETER G. SHERIDAN                         sake of convenience.
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About a year ago, the Court denied a motion to                              Cheerios. Plaintiffs contend that Defendant made
dismiss for failure to allege a cognizable harm or a                        "uniform representations concerning the health
reasonable means to measure damages, and instead                            benefits of Cheerios [which] are false, misleading
ordered limited discovery. Limited discovery                                and likely to deceive the consuming public because
seemed reasonable based on counsel's oral                                   they misrepresent Cheerios' ability to reduce
representation that Plaintiffs could not show any                           cholesterol, reduce the risk of heart disease and
injury since Plaintiffs did not know the cost of                            certain forms of cancer." The most prevailing
Cheerios upon which damages would be calculated;                            theme of the Amended Complaint was the
and other plaintiffs ate all of the Cheerios                                representation concerning the alleged cholesterol-
purchased for reasons unrelated to the claims                               lowering benefits of Cheerios. For example,
brought in this case. As such, limited discovery                            according to Plaintiffs, Defendant advertised that
focused on whether the Plaintiffs's [*3] could                              Cheerios could lower a person's cholesterol by 4%
establish quantifiable damages. In addition, another                        in six weeks.
issue arose as to the choice of law issue; i.e.
whether Minnesota law (where General Mills is                               What led to the filing of this case was a May 5,
headquartered) should apply in this case. Pursuant                          2009 warning letter from the Food and Drug
to the discovery schedule, limited discovery                                Administration (the "FDA letter") to General Mills.
consisting of interrogatories, document production                          In the FDA Letter, the FDA reviewed the label and
and depositions was conducted. Upon completion                              labeling of Cheerios® Toasted Whole Grain Oat
of this discovery, General Mills filed a motion for                         Cereal. The FDA's review found serious violations
summary judgment.                                                           of the Federal Food, Drug, and Cosmetic Act (the
                                                                            Act)" and the applicable regulations. The FDA
                                                                             [*5] noted that General Mill's advertising practices
Facts                                                                       improperly represented that Cheerios "was intended
                                                                            for use in lowering cholesterol, and therefore in
Plaintiffs are consumers of Cheerios who reside in                          preventing, mitigating, and treating the disease
California, New Jersey, and New York. Although                              hypercholesterolemia which requires Cheerios to
each named Plaintiff can be associated with a                               comply with drug regulations." That is, Cheerios'
particular state, the Amended Complaint is on                               representation to consumers about lowering their
behalf of all similarly situated individuals in the                         cholesterol levels by a certain percentage
United States. Defendant, General Mills, a                                  constituted a pharmaceutical formulation which
corporation organized and existing under the laws                           would subject Cheerios to regulatory approval as a
of the State of Delaware, maintains a principal                             drug. As a result of the FDA Letter, on May 19,
place of business in Minnesota from where it                                2009, six class action suits were filed in California,
markets, distributes, produces, and sells Cheerios                          New York and New Jersey. Subsequently, the
throughout the United States 2.                                             United States Judicial Panel on Multidistrict
                                                                            Litigation Committee consolidated the Plaintiff's
This dispute revolves around Defendant's alleged
                                                                            actions into this multi-district litigation 3.
misrepresentations regarding the health benefits of
                                                                            In addition to the present action, there is a separate
                                                                            FDA proceeding pending wherein the FDA is
2 Plaintiffs identified ten brands of Cheerios at issue in this case: (1)
                                                                            investigating the labeling of foods which advertise
original Cheerios, (2) Honey Nut Cheerios, MultiGrain Cheerios, (4)
Banana Nut Cheerios, (5) Cheerios Crunch, (6) Berry Burst
Cheerios, (7) Frosted Cheerios, (8) Apple Cinnamon Cheerios, (9)
Fruity [*4] Cheerios, and (10) Yogurt Burst Cheerios. When                  3 One Plaintiff, Charity E. Huey, also filed a complaint in California

referring to those brands collectively the Court uses the blanket term      (Case No. 09-5152), but was dismissed from the case for failure to
"Cheerios."                                                                 respond to discovery.
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specific health benefits such as Cheerios. As a                                A new study proves Cheerios' cereal plus a
result of the FDA Letter, Cheerios has changed its                             reduced calorie diet that is low in fat can help
label in order to avoid [*6] the drug approval                                 lower bad cholesterol about 10% in one month.
process.                                                                       The foods you eat or don't eat, along with your
                                                                               lifestyle habits can really make a difference in
Plaintiffs also allege that the "health benefits of                            lowering your cholesterol. Just follow these
Cheerios, as represented by General Mills in its                               daily steps for one month to help lower your
marketing, advertising, packaging, labeling and                                cholesterol.
other promotional materials, are a material factor in                     General Mills also represents in its advertising that
the promotion of Cheerios, and have led directly to                       it is the only cereal that reduces cholesterol. The
increased product sales, but are misleading and                           box label noted: "Number of other leading cold
deceptive."                                                               cereals clinically proven to help lower cholesterol.
The Amended Complaint provides several                                    0."
examples of the allegedly deceptive statements. In                        The Amended Complaint also alleges similar
one nationwide advertisement, General Mills stated                        statements appear on the General Mill's website:
that by eating Cheerios, "You can Lower Your                                   "Made with whole grain, Cheerios is the only
Cholesterol 4% in 6 weeks." The advertisement                                  ready-to-eat cereal clinically proven to lower
also stated that "a study showed that eating two 1                             cholesterol when eaten as part of a diet low in
1/2 cup servings 4 daily of Cheerios cereal reduced                            saturated fat and cholesterol."
bad cholesterol when eaten as part of a diet low in
saturated fat and cholesterol." Another example is                            "Our cereals can help lower your cholesterol!
that the main label on the Cheerios box (or the                               As part of a heart [*8] healthy diet, the soluble
"Principal Display Panel" ("PDP")) features a                                 fiber in Cheerios, Honey Nut Cheerios, and
"fanciful depiction of a heart that is approximately                          Berry Burst Cheerios can help reduce your
one-third of the PDP's total height," and the label                           cholesterol."
states that Cheerios can lower cholesterol by "10%                            "Eating Cheerios each day, as part of a diet low
in one month." The label then states on the lower                             in saturated fat and cholesterol, can help lower
left-hand portion of the PDP that "Three grams of                             your cholesterol, and that could help reduce
soluble fiber daily from whole grain oat foods, like                          your risk of heart disease."
Cheerios cereal, in [*7] a diet low in saturated fat                          "Including whole grain as part of a healthy diet
and cholesterol, may reduce the risk of heart                                 may . . . [h]elp reduce the risk of certain types
disease - a serving of Cheerios provides 1 gram per                           of cancers. Regular consumption of whole
serving." On the back of the Cheerios package, the                            grains as part of, a low-fat diet reduces the risk
label features in large print the word "WOW!"                                 for some cancers, especially cancers of the
followed by the question, "I can help lower my                                stomach and colon."
cholesterol 10% in one month?" Below that, the
label reads:                                                              In the limited discovery conducted in advance of
                                                                          this motion, the five named Plaintiffs were deposed
                                                                          and a summary is provided below.
4 According to the FDA, the claim of General Mills that eating 1 1/2

cup servings daily of Cheerios cereal reduced bad cholesterol when
eaten as part of a diet low in saturated fat and cholesterol "indicates   Edward [*9] Myers
that Cheerios is intended for use in lowering cholesterol, and
therefore in preventing, mitigating, and treating the disease             Mr. Myers is a resident of Hudson County, New
hypercholesterolemia." According to the FDA, the health benefits          Jersey. Mr. Myers stated at his deposition that prior
claimed by General Mills exceed those permitted for products that
                                                                          to 2008, he often ate bacon, ham and eggs for
have not obtained FDA approval for marketing as a drug.
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breakfast before he began consuming Cheerios              T. 79, 15-24).
once per week for breakfast. In 2008, he changed
his diet due to his cholesterol count and his doctor's    More pertinent to the case, after a hospital stay in
orders. (T. 67, 14-15 and T. 15, 6-20). From 2008         2008 for cardiac problems, Mr. Myers' girlfriend
forward, he "ate a lot of oatmeal," and he "still         mentioned [*11] the cholesterol-lowering benefit
[eats] at lot of oatmeal." (T 20, 12-14). He also ate     to him, and he began eating Cheerios from a box
Cheerios once per week. (T. 20, 6-9). Since Mr.           that had a red heart on the cover. (T. 82, 15 - T. 83,
Myers worked as a limousine driver, and as a              7). On this Cheerios box, he read the front cover,
result, he dined at restaurants frequently, (T. 21, 10)   but nothing on the back or side of the box. (T. 83,
he ate breakfast at Tommy's Restaurant in Jersey          11 - T. 84, 4). It is unclear whether it was Mr.
City, (T. 20, 20-21), Di Casa Napoli in Union City,       Myers or his girlfriend who purchased the
(T. 20, 23-24) and at the Lincoln Inn in Jersey City.     Cheerios; however, Mr. Myers could not recall the
(T 21, 2-4). Although Mr. Myers can not estimate          cost of the Cheerios, or whether the Cheerios that
how often he ate Cheerios at the restaurants, he          are in a box with a red heart on the box cost more
recalls that he often ate Cheerios elsewhere on a         than the boxes without the red heart. ( T. 84, 16-22
regular basis including "a bowl of Cheerios and a         and T. 85, 2-5).
banana" at his girlfriend's house in the evening. (T.     According to Mr. Myers, he ate Cheerios on the
22, 4-15).                                                day of his deposition, and Mr. Myers did not
There was little testimony adduced as to whether          discard the Cheerios after he learned of the FDA
Mr. Myers read the Cheerios box regarding the             Letter. It appears that Mr. Myers was comfortable
cholesterol-lowering benefit at either the                eating Cheerios before and after the FDA Letter for
restaurants or his girlfriend's house. In                 various reasons. Mr. Myers never visited the
 [*10] addition, Mr. Myers liked the crunchiness          General Mills website.
and convenience of eating Cheerios. (T. 62, 13-15
and T. 68, 8-21). Mr. Myers conceded that he ate
                                                          Elsa Acevedo
the Cheerios not for any health benefit, but to keep
"my belly . . . full." (T. 62, 19-23).                    Ms. Elsa Acevedo is a resident of Hudson County,
                                                          New Jersey and she has been eating Cheerios for
Mr. Myers ate Cheerios most of his life. He began
                                                          most of her life, including the day of her
buying Cheerios in 1980 (after a divorce) because
                                                          deposition. She testified that she suffers from high
the yellow box was recognizable. (T. 70, 1-6). He
                                                          cholesterol and is under doctor's care for the
noted "I seen whatever was in there and take one,
                                                          condition. (T. 18, 9). Ms. Acevedo eats Cheerios
sometimes two." (T. 70, 7-10). At some point, other
                                                          because "they are very edible." (T. 18, [*12] 24).
people bought Cheerios for Mr. Myers. As Mr.
                                                          Ms. Acevedo saw a television commercial about
Myers noted "I got a cleaning lady come in and I
                                                          Cheerios reducing cholesterol, and she began eating
used to always give them money. I would just write
                                                          Cheerios more regularly. According to Ms.
down want I needed and she would get it . . .
                                                          Acevedo, after viewing the commercial she "ran to
Cheerios is what I put on it." (T. 70, 13-20). Hence,
                                                          the supermarket and bought a box" (T. 30, 15). She
he did not know how much was paid or the size of
                                                          does not recall what she paid for the Cheerios at the
the boxes purchased. When purchasing Cheerios,
                                                          Stop n Shop supermarket (T. 30, 18-21), nor did
Mr. Myers would review the Cheerios box and he
                                                          she save any receipts to verify her purchases. (T.
noted that the box "said if you use Cheerios, it will
                                                          31, 10-13). Ms. Acevedo recalled that she
lower your cholesterol," but he never saw the media
                                                          purchased Cheerios because what "caught my eye
advertisement claiming that Cheerios would lower
                                                          was like lower your cholesterol." (T. 56, 17-19).
his cholesterol by a certain percentage. (T. 79, 5-10,
                                                          Although she remembers the claim about the
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cholesterol-lowering benefit on the Cheerios box,         price she paid was within a "range depending on
Ms. Acevedo had no recollection about a more              the size of a box between two something and four
specific representation such as a reduction of            something a box. I would guess." (T. 69. 1-5). Ms.
cholesterol by "4 % in six weeks" or "10% percent         Theodore did not recall the size of the box she
in one month." (T. 60, 5-16). Like Mr. Myers, Ms.         purchased, but testified it was "not the biggest one
Acevedo ate Cheerios before, and continued to eat         [but] one that is a little bigger . . . than a piece of
Cheerios after the FDA Letter was issued because          paper." (T 69, 10-12).
"there are very edible." Ms. Acevedo never visited
the General Mills website. (T. 92, 17-19).                Ms. Theodore read the advertisement on the
                                                          Cheerios package. The Cheerios package stated:
                                                          "three grams of soluble fiber daily from whole
Hobin Choi                                                grain oat food like Cheerios in a diet low in
                                                          saturated fat and cholesterol may reduce the risk of
Mr. Hobin Choi is a resident of Los Angeles,              heart disease." There was nothing about the
California. He has been eating Cheerios since he          cholesterol-lowering benefits which enticed her to
was a kid. (T. 18, 20-24). As an adult, he ate            buy Cheerios because, as Ms. Theodore
Cheerios because "it lowers cholesterol [*13] and .       commented, "I was not trying to lower my
. . its just like the common fact . . . you always want   Cholesterol." Rather, Ms. Theodore, who has two
to lower your cholesterol." (T. 22, 7-13). Mr. Choi       young children, was impressed with "the simple
understood that Cheerios might lower cholesterol          ingredient list especially the whole grain oats and
since on "the box it said - right in blue . . . said      it's a part of a healthy diet, low in sugar, whole
something about lowering cholesterol or helps             grains . . . no chemical preservatives." (T. 76, 10-
lower cholesterol" which was a "huge factor" in his       25). Ms. Theodore remembers seeing a box of
decision to purchase Cheerios. He would eat               Cheerios "with a big heart and the ten percent in a
Cheerios 3 to 5 times a day. (T. 58, 8-13). Mr. Choi      month on the front" and she was "surprised" by the
noted that "it embedded in my head that whatever I        claim (T. 79, 19-25), but this representation did not
eat [something] that is going to be healthier for me .    support [*15] her decision to buy Cheerios. (T. 80,
. [it makes] me want to buy it obviously." (T. 23,        1-15).
13-18). Mr. Choi has not eaten Cheerios since
2009, (T. 25, 16) and that last time he bought            Ms. Theodore may have accessed the Cheerios
Cheerios it cost - "around three to five bucks" (T.       website in 2003. At that time, she was attempting to
26, 7-8) which he characterized as a                      locate and purchase a container that could be used
"guestimation." (T. 27, 18) and T. 31, 22-25). He         to carry Cheerios for her baby. (T. 130, 1-10).
has no receipts from his purchases of Cheerios. Mr.       There is no testimony that Ms. Theodore read the
Choi has never viewed the General Mills website.          choice of law clause on the website.
(T. 35, 14-17).

                                                          Jeffrey Stevens
Claire Theodore
                                                          Mr. Jeffrey Stevens is a resident of New York. He
Ms. Claire Theodore is a resident of Monmouth             was under doctor's care for his high cholesterol (T.
County, New Jersey, but she purchased Cheerios in         24, 18 through T. 25, 12). Due to his high
California in 2008 and 2009 about eight times at          cholesterol count, Mr. Stevens ate Cheerios and
Ralph's Store and the Pink Dot in Venice,                 shredded wheat for breakfast. (T. 67, 7-13). Mr.
California. (T. 21, 14 through T. 22, 8). Ms.             Stevens liked Cheerios more than shredded wheat
Theodore has no receipts of purchase, [*14] but the       because "its offered in various flavors" (T. 88, 16-
                                                          17), and lowering his cholesterol was his primary
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reason for eating it. (T. 88, 20-23). Mr. Stevens did   unit (box) in 2006 after sales redemptions. This
not remember the size of the box he purchased, but      determination is somewhat consistent with the
recalled it cost "around $4.00" (T. 93, 18-23). Mr.     testimony of the Plaintiffs who indicated the cost to
Stevens acknowledged that when Cheerios were on         be from"three to five bucks" or "between two
sale at the supermarket, and he and his wife "were      something to four something". Mr. Elmore's
looking for those bargains." (T. 96, 4-5). He has no    supplemental report notes that the cost of Cheerios
receipts from his purchases of Cheerios.                rose by $.10 from 2006-2009 to the price of $3.06
                                                        (before sales redemption) while competitor's prices
Mr. Stevens recollection of the Cheerios                rose by $.05 to the price of $3.35 per box.
advertising is ambiguous. For example, when asked
if he looked at information [*16] about Cheerios,       The report submitted by Mr. Elmore after his
Mr. Stevens answered "no". (T. 113, 10-14). Then        review of the documents provided by General Mills
he was asked about advertisements he saw, and he        was an interim one, and to finalize it, Mr. Elmore
was "sure" he saw them, but did not "recall a           indicated that more data was required. Mr. Elmore,
specific thing." (T. 114, 20-22). On the other hand,    in vague terms, opined that he could use more data
Mr. Stevens noted "when you're listening to TV          to refine his findings. He stated:
and they're telling you to eat Cheerios and it will
lower your Cholesterol, yeah, that could have               a. It is possible to calculate the average per unit
played a part in it;" but he could not remember any         retail price based [*18] on the Symphony IRI
specific advertisement (T. 115, 7-12 and T. 115,            sales data for "yellow box" Cheerios;
21-25). Mr. Stevens was questioned about the                b. It is further possible to calculate the average
cholesterol-lowering representations on the                 per unit reported net sales price charged to
Cheerios box and any statements associated with             retailers by General Mills, Inc.;
that representation, and he stated "the number 5%           c. Based on the "yellow box" Cheerios
comes to mind, but I don't know if — I just recall          profitability data, the average operating profit
something about 5%, but he did not recall when or           per unit and per ounce can be calculated;
where he saw 5% enumerated. (T. 121, 7-16). Mr.             d. With additional data any premium pricing
Stevens could not "remember" whether any of the             charged by General Mills, Inc. for "yellow
boxes he purchased stated that eating Cheerios              box" Cheerios over other competing brands
could "lower your cholesterol 4% in six weeks" (T.          could be calculated; and
148, 19 through T. 149, 7), nor did he recall the           e. To the extent additional data becomes
10% in one month representation. (T. 153, 16-25).           available regarding the value to consumers of
Mr. Stevens never looked at the General Mills               the health benefits promised within the
website. (T. 118, 7-8).                                     marketing campaign for "yellow box"
                                                            Cheerios, it is possible that additional analyses
The Plaintiffs also rely on the Declaration of David        could be performed.
Elmore, Jr. Mr. Elmore specializes in
 [*17] forensic and investigative accounting, and
reviewed some of the 600,000 pages of documents         Law
proffered by General Mills. The documents Mr.
                                                        The issues pending in this matter are the choice of
Elmore reviewed included "Cereal Benefits
                                                        law issue (i.e. should Minnesota law apply) and
Association Tracking - Post Wave by MarketTools
                                                        whether the Plaintiffs have suffered an injury or
(2/2006), Heart Health Competitive Review
                                                        have sustained any measurable damages. The
(7/28/08) by General Mills and Symphony IRI
                                                        analysis is provided below.
retail sales data. Mr. Elmore determined from this
data that the cost of Cheerios was about $2.52 per
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Choice-of-Law                                            which is involved in reviewing and approving the
                                                         language used on the Cheerios labels and in the
In MDL proceedings, the court often applies "the         advertisements for Cheerios.
choice of law rules of the transferor courts." In re
Ford Motor Co. Ignition Switch Prods. Liab. Litig.,      • Minnesota is the location of the Bell Institute
174 F.R.D. 332, 348 (D.N.J. 1997). The transferor        which was responsible for assisting General Mills
courts here are California, New Jersey, and New          with the science involved in their products,
York. When determining [*19] choice of law               including Cheerios.
issues, New Jersey courts apply a "most significant
                                                         • Minnesota is the location of the scientists and
relationship" test; and New York and California
                                                         nutritionists employed by the Bell Institute who
courts apply a "government interest test." In re
                                                         consulted with General Mills on the content of the
Mercedes-Benz, Tele Aid Contract Litig., 257
                                                         labeling and packaging of Cheerios.
F.R.D. 46, 57 (D.N.J. 2009).
                                                         • Minnesota is the location of where the marketing
Plaintiffs believe that Minnesota law should apply
                                                         department, research and development department,
because General Mills agreed to same on its
                                                         legal department, the quality department and the
website. In addition, Minnesota is the headquarters
                                                         Bell Institute all "collaborated" concerning the
for the corporation and as such General Mills
                                                         content of the language or the labeling for the
performed numerous operations there. Namely, the
                                                         Cheerios packaging as well as the language used in
operations listed by Plaintiffs are:
                                                         the advertising and marketing of Cheerios.
• Minnesota is the location of the marketing
                                                         • Counsel for General Mills has even acknowledged
department for Cheerios. All of the individuals
                                                          [*21] that the marketing of the Cheerios cereal at
working within the marketing department for
                                                         issue in Plaintiff's complaint emanated from
Cheerios, including the vice president of marketing
                                                         decisions made at General Mills headquarters in
for Cheerios who was the principal person
                                                         Minnesota. General Mills made this same
responsible for approving the language contained
                                                         acknowledgment on a call with Judge Arpert on
on the labeling of Cheerios as well as in the
                                                         December 12, 2011 concerning the status of
advertisements, work out of General Mills' offices
                                                         discovery.
in Minnesota.
                                                         • Minnesota is the location of focus groups, a form
• Minnesota is the location of the research and
                                                         of "qualitative research" used by General Mills to
development department which plays a role in the
                                                         assist it in its marketing of Cheerios.
marketing and advertising of Cheerios as well as in
the approval of language used on the labels of           • Minnesota is the location of the "brand
Cheerios. All of the individuals working within the      development" agency, Schawk, which assisted
research and development department work out of          General Mills with the packaging of the Cheerios
 [*20] General Mills offices in Minnesota.               boxes.
• Minnesota is the location of the quality               • Minnesota is listed on the packaging of Cheerios
department which is responsible for reviewing the        boxes as the "General Offices" for General Mills.
labeling of Cheerios before it is sent to the printer.
All of the individuals working within the quality        • Minnesota is the location of each of the 12
department work out of General Mills offices in          custodians identified by counsel for General Mills
Minnesota.                                               as having relevant information to topics related to
                                                         Cheerios marketing and the science involved in
• Minnesota is the location of the legal department      Cheerios.
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Contrary to Plaintiffs' contentions, General Mills          (c) the place where the defendant made the
argues that the law of each state where each                representations,
Plaintiff resides should be used to determine the           (d) the domicil, residence, nationality, place of
law to be applied. To General Mills, the location of        incorporation and place of business of the
purchase, and where the Plaintiffs were when each           parties,
read the representations should control. General            (e) the place where a tangible thing which is
Mills discounts the website reference [*22] to              the subject of the transaction between the
Minnesota law because none of the Plaintiffs                parties was situated at the time, and
viewed the choice of law provision on the website.          (f) the place where the plaintiff is to render
                                                            performance under a contract which he has
A. "Most Significant Relationship" Test (New
                                                            been induced to enter by the false
Jersey)
                                                            representations of the defendant.
Under New Jersey's "most significant relationship"
                                                          Restatement (Second) Conflict of Laws § 148(b). In
test, before engaging in any substantive choice-of-
                                                          the instant matter, all of these factors militate in
law analysis, a court first must determine whether
                                                          favor of applying the law of the jurisdictions from
there is an actual conflict among the laws of these
                                                          where class members reside except factor (e),
states. Agostino v. Quest Diagnostics, 256 F.R.D.
                                                          which applies equally to each party and is therefore
437, 461 (D.N.J. 2009). It is settled law that there
                                                          a nullity. Plaintiffs argue that this situation is
are conflicts among the states' various consumer
                                                          identical to In re Mercedes-Benz Tele Aid Contract
protection statutes. See Elias v. Ungar's Food
                                                          Litigation, 257 F.R.D. 46 (D.N.J. 2009),
Products, Inc., 252 F.R.D. 233, 247 (D.N.J. 2008);
                                                           [*24] where it was held New Jersey law applied to
Fink v. Ricoh Corp., 365 N.J. Super. 520, 584, 839
                                                          a multi-district litigation originating from six
A.2d 942 (Super. Ct. Law Div. 2003). Moreover,
                                                          different states. (Opp'n Br. at 9-12, citing
Plaintiffs do not dispute that there is an actual
                                                          Mercedes-Benz, 257 F.R.D. at 66-67). This Court
conflict among the consumer protection statutes of
                                                          disagrees. First, the facts of Mercedes-Benz are
New Jersey, California, New York, and Minnesota.
                                                          slightly distinguishable. In Mercedes-Benz,
(See Dkt. No. 37 at 14-15; Dkt. No. 68 at 27-28).
                                                          Mercedes-Benz U.S.A., L.L.C., headquartered in
Having resolved the threshold issue, the next step New Jersey, actively offered and provided the
of New Jersey's "most significant relationship" test underlying subscription service. Mercedes-Benz,
requires analysis under section 148 of the 257 F.R.D. at 51. In the instant case, General Mills
Restatement (Second) Conflict of Laws See P.V. ex sold Cheerios to local retailers, and the local
rel. T.V. v. Camp Jaycee, 197 N.J. 132, 962 A.2d retailers resold Cheerios to Plaintiffs. Second, in
453, 460 (N.J. 2008); Agostino v. Quest Mercedes-Benz, the Court stressed the availability
Diagnostics Inc., 256 F.R.D. 437, 462 (D.N.J. of treble damages under the NJCFA as evidence
2009). [*23] In cases such as the one at bar, where that New Jersey had the strongest interest in
"the plaintiff's action in reliance took place . . . in a applying its own law. Mercedes-Benz, 257 F.R.D.
state other than where the false representations at 68. In this case, there is no corresponding
were made," a court shall consider the following six interest in applying Minnesota law. (See Opp'n Br.
factors:                                                  at 10 n.9 ("Minnesota does not allow treble
                                                          damages . . .")). More specifically, Plaintiffs can
     (a) the place, or places, where the plaintiff not rely on any representations made by General
     acted in reliance upon the defendant's Mills on their website because none of them had
     representations,                                     ever viewed it.
     (b) the place where the plaintiff received the
     representations,                                     In sum, factors (a), (b), (e), and (f) point to the
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using the law of the states of purchase while only        Perushahaan Pertambangan Minyak Dan Gas
factor (c) points to using Minnesota [*25] law. The       Bumi Negara, 313 F.3d 70, 85 (2d Cir. 2002).
next step of the "most significant relationship" test     However, "if the court finds that there is a true
requires the Court to examine these contacts in light     conflict,"then the Court "carefully evaluates and
of the principles stated in Restatement (Second)          compares the nature and strength of the interest of
Conflict of Laws § 6. See P.V. ex rel. T.V. v. Camp       each jurisdiction in the application of its own law to
Jaycee, 197 N.J. 132, 147, 962 A.2d 453 (2008).           determine which state's interest would be more
"Reduced to their essence, the § 6 principles are:        impaired if its policy were subordinated to the
'(1) the interests of interstate comity; (2) the          policy of the other state." Kearney, 137 P.3d at
interests of the parties; (3) the interests underlying    922; [*27] see also Istim, Inc. v. Chem. Bank, 78
the field of tort law; (4) the interests of judicial      N.Y.2d 342, 581 N.E.2d 1042, 1044, 575 N.Y.S.2d
administration; and (5) the competing interests of        796 (1991). Importantly, "under the 'interests
the states.'" Id. (quoting Erny v. Estate of Merola,      analysis' approach, the law of the jurisdiction
171 N.J. 86, 792 A.2d 1208 (2002)). Here,                 having the greatest interest in the litigation will be
Minnesota has no interest in compensating out-of-         applied and only facts or contacts which obtain
state consumers. Cf. Gray v. Bayer Corp., Civ. No.        significance in defining State interests are those
08-4716, 2011 U.S. Dist. LEXIS 79498, 2011 WL             which relate to the purpose of the particular law in
2975768, at *5 (D.N.J. July 21, 2011). Moreover,          conflict." Istim, Inc. v. Chem. Bank, 78 N.Y.2d 342,
Plaintiffs only transacted with local retailers and       581 N.E.2d 1042, 1044, 575 N.Y.S.2d 796 (1991).
had no direct involvement with General Mills in
Minnesota. Minnesota's only contacts with this       As explained above, a conflict exists between the
litigation is by way of Defendant's headquarters. In consumer protection laws of Minnesota, California,
contrast, Plaintiffs' respective home states have    and New York. (See Dkt. No. 37 at 14-15; Dkt. No.
clear interests. The Court thus concludes that the   68 at 27-28). Thus, the Court must "evaluate[] and
"interests of interstate comity" and the "competing  compare[] the nature and strength of the interest of
interests of the states" counsel in favor of applyingeach jurisdiction in the application of its own law."
the law of the various jurisdictions [*26] from      Kearney, 137 P.3d at 922. In the instant matter,
which class members will be drawn. Thus in the       discovery has confirmed that the New York and
instant matter, having analyzed the contacts under § California Plaintiffs purchased Cheerios within
                                                     their home states. Additionally, neither the
148 and in light of the principles stated in § 6 of the
Reinstatement, the Court will apply state law. For   California Plaintiffs nor the New York Plaintiffs
example, New Jersey law will apply to the New        read Defendant's website provision about conflicts
Jersey Plaintiffs, Edward Myers and Elsa Acevedo.    of law during the relevant time period. Based on
                                                     these facts, the Court has determined that each
B. "Government Interest" Test (California & New      state's interest in applying their own consumer
York)                                                protection     law     to   their    own      citizens
                                                      [*28] outweighs any interest possessed by
The "government interest" test requires the Court to
                                                     Minnesota. Thus the Court will apply New York
first determine whether a conflict exists between
                                                     law to the New York Plaintiff (Jeffrey Stevens) and
the laws of the interested states. In re Mercedes-
                                                     California law to the California Plaintiffs (Claire
Benz Tele Aid Contract Litig., 257 F.R.D. 46, 56
                                                     Theodore and Hobin Choi). As such, the four
(D.N.J. 2009). If no conflict exists, the Court will
                                                     counts concerning Minnesota statutes are
apply the law of the forum state, in this case New
                                                     dismissed.
Jersey. Kearney v. Salomon Smith Barney, Inc., 39
Cal. 4th 95, 45 Cal. Rptr. 3d 730, 137 P.3d 914,
922 (2006); Karaha Bodas Co., LLC v. Standing to Sue
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Generally, to meet the constitutional requirement to   worthless." Mann v. TD Bank, N.A., 2010 U.S. Dist.
sue, there must be concrete injury, as well as two     LEXIS 112085, 2010 WL 4226526, at *5 (D.N.J.
other requirements. As Judge Roth enunciated:          Oct. 20, 2010) (citation omitted) (emphasis added).

    To prove constitutional standing, Koronthaly       Here, there is no indication that Defendant's
    must demonstrate (1) an injury-in-fact that is     misrepresentation "rendered the product essentially
    actual or imminent and concrete and                worthless." Mann, 2010 U.S. Dist. LEXIS 112085,
    particularized, not conjectural or hypothetical,   2010 WL 4226526 at *5 [*30] (citation omitted).
    (2) that is fairly traceable to the defendant's    Ms. Acevedo and Mr. Myers purchased their
    challenged conduct, and (3) is likely to be        Cheerios for crunchiness, taste, convenience and to
    redressed by a favorable judicial decision.        keep ones "belly full" as well as to lower their
    Summers v. Earth Island Inst., 555 U.S. 488,       cholesterol. Moreover, Ms. Theodore, like many
    129 S.Ct. 1142, 1149, 173 L.Ed.2d 1 (2009)         mothers, selected Cheerios due to its healthy,
                                                       simple ingredients for her children. The contention
Koronthaly v. L'Oreal USA, Inc., 374 Fed. Appx.        that these Plaintiffs would not have purchased
257 (2010). This motion concerns whether there is      Cheerios but for Defendant's misrepresentation
an injury-in-fact that is actual or imminent and       seems tenuous especially since Mr. Myers and Ms.
concrete and particularized. The briefing of the       Acevedo still eat Cheerios today. Moreover, Ms.
parties often referred to the damages alleged by the   Theodore had no loss because she purchased
Plaintiffs such as the return of the full purchase     Cheerios for the ingredients, hence she did not rely
price, benefit of the bargain damages, and             on the cholesterol-lowering benefit. See, Mason,
disgorgement        [*29] of    profits   (Amended     774 F. Supp. 2d 699, 2011 WL 1204556 at *4. As
Complaint, paragraphs 73, 83, 89, and 138).            such, Plaintiffs fail to adequately allege that
                                                       Plaintiffs are entitled to full purchase price refunds
                                                       when they ate the Cheerios after learning of the
Plaintiffs May Not Recover Full Purchase Price
                                                       FDA Letter, and are still eating them today for
Refunds.
                                                       other reasons.
Plaintiffs seek a full refund for all boxes of         The Plaintiffs rely on Lee v. Carter Reed, 203 N.J.
Cheerios that Plaintiffs purchased during the          496, 4 A. 3d 561 (2010). In Lee, Plaintiffs had
relevant time-frame. Plaintiffs state that             purchased a substance called Relacore which was
Defendant's actions harmed Plaintiffs because          manufactured by the defendant. Relacore was a
Plaintiffs "would not have purchased Cheerios" but     weight reduction product that shrinks belly fat and
for Defendant's "deceptive practices." That            decreases anxiety. The named plaintiff paid
assertion does not comport with the testimony of       $120.00 for three bottles of Relacore. [*31] The
the Plaintiffs. Mr. Myers, Ms. Acevedo and Ms.         representations of defendant Carter Reed about the
Theodore testified that they still eat or purchase     benefits of Relacore were deceptive. In Lee, one of
Cheerios today for various reasons including the       the issues was whether there was an ascertainable
ingredients (Ms. Theodore), and the taste (Mr.         loss. The Supreme Court of New Jersey noted that a
Myers and Ms. Acevedo) and convenience. See,           loss cannot be hypothetical or illusory, but is "an
Romano v. Galaxy Toyota, 399 N.J. Super. 470,          out-of-pocket loss, and/or replacement cost." Id. at
483, 945 A.2d 49 (App. Div. 2008). Generally, "the     576-77. See, Thiedemann v. Mercedes-Benz USA,
'out-of-pocket' theory applies when the purchase       183 N.J. 234, 872 A. 2d 783 (2005). In Lee, the
price of a misrepresented product [may be              Court found the ascertainable loss to be "the
refunded] so long as . . . the seller's                purchase price of a bottle of broken promises" and
misrepresentations rendered the product essentially    the Court considered the cost of Relacore as an out-
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of-pocket loss. Lee, 4 A. 3d at 580. The Lee case is        expectations of the soda were disappointed.
distinguishable from this case. Unlike consumers of         Dissatisfaction with a product, however, is not
Cheerios, once the consumer knew of the                     a quantifiable loss that can be remedied under
deception, they immediately ceased using Relacore.          the [New Jersey Consumer Fraud Act].
The same is not true in this case - Mr. Myers and
Ms. Acevedo still eat Cheerios; and Ms. Theodore        Mason, 774 F. Supp. 2d 699, 2011 WL 1204556 at
never accepted any representation regarding             *4 (citations omitted).
lowering cholesterol (i.e. no broken promise to
                                                        Based on Mason, Plaintiffs do not adequately allege
her). Hence, return of purchase price is beyond any
                                                        "benefit of the bargain" damages. As this Court has
loss sustained when the Cheerios were fully
                                                        previously noted, the Amended Complaint "floats
consumed for other reasons.
                                                        upon the FDA's letter and findings." (Transcript of
                                                        September 1, 2010 Hearing, 15:11-12). Plaintiffs'
Plaintiffs May Not Receive "Benefit of the              allegations regarding "an apparent and somewhat
Bargain" Damages.                                       arcane [alleged] violation of FDA food labeling
                                                        regulations" does not show that Plaintiffs purchased
Plaintiffs alternatively seek the difference between    boxes of Cheerios that did not contain the
what Plaintiffs paid for Cheerios and [*32] the         ingredients listed on the Cheerios boxes. Mason,
price that Plaintiffs would have paid for Cheerios,     774 F. Supp. 2d 699, 2011 WL 1204556 at *5, n.4.
if Defendant had not engaged in the alleged             Moreover, the Plaintiffs, except for Mr. Choi and
misrepresentation. Plaintiffs state that Defendant's    Mr. Stevens, consumed all of the Cheerios
actions harmed Plaintiffs because Plaintiffs would      purchased for various reasons such as convenience
not have paid as much money for Cheerios but for        and crunchiness. Plaintiffs therefore fail to
"[Defendant's] deceptive practices." This theory of     adequately allege that Plaintiffs suffered "benefit of
relief is equally flawed. Plaintiffs allege that they   the bargain" damages.
"paid money for a product that was of lesser value
than what was represented." Mason, 774 F. Supp.         Plaintiffs generally rely on the case of Smajlaj v.
2d 699, 2011 WL 1204556 at *4 (internal quotation       Campbell Soup Co., 782 F. Supp. 2d 84, 99 (D.N.J.
marks and citation omitted); see also Solo v. Bed       2011) to support their benefit of the bargain
Bath & Beyond, Inc., 2007 U.S. Dist. LEXIS 31088,       argument. In Smajlaj, [*34] one of the major issues
2007 WL 1237825, at *3 (D.N.J. Apr. 26, 2007)           was "whether the allegations . . . are sufficiently
("Plaintiff fails to specifically allege that what he   plead an 'ascertainable loss' as required for a claim
did receive was of lesser value than what was           under the New Jersey Consumer Fraud Act." Id. at
promised, i.e., that the sheets he received were        84. In Smajlaj, the Plaintiff's contention was that
worth an amount of money less than the sheets he        Campbell Soup advertised low sodium soup when
was promised . . . ."). The Mason analysis on this      in fact the low sodium soup contained the same
issue is instructive:                                   amount of sodium as other regular Campbell soups.
                                                        The cost of the low sodium soup was 20 to 80 cents
    When plaintiffs purchased Diet Coke Plus, they      higher than the regular soups. According to the
    received a beverage that contained the              District Court, the benefit of the bargain theory
    ingredients listed on its label. Plaintiffs have    "requires nothing more than the consumer was
    not explained how they experienced any out-of-      misled into buying a product that was ultimately
    pocket loss because of their purchases, or that     worth less to the consumer than the product he was
    the soda they bought was worth an amount of         promised." Id. at 99. However, the district court
    money less than the soda they consumed. At          noted that "a consumer has not experienced any
    most, plaintiffs [*33] simply claim that their      injury if the consumer merely has some expectation
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about a product that is not met." Id. at 99-100. "But   22 (2011). Accordingly, disgorgement does not
if the consumer received a product that "was worth      apply to "innocent recipients" or "inadvertant
objectively less than what one could reasonably         tortfeasors". Id. In this case, it was surprising for
expect," then that type of defeated expectation is an   the FDA to assert that Cheerios must seek
injury." Id. See also Koronthaly v. L'Oreal USA,        regulatory approval as a drug, in order to represent
Inc., 374 Fed. App'x 257, 259 (3d Cir. 2010). In        that Cheerios could lower cholesterol. Generally,
light of that background, the District Court in         the cholesterol-lowering representation may be true
Smajlaj set forth the standard [*35] for finding a      in a broad sense that whole wheat oats are more
benefit of the bargain loss, as                         heart "friendly" than the ham and eggs Mr. Myers
                                                        chose to eat previously. Parenthetically, the FDA
     A plaintiff alleging a benefit-of-the-bargain will permit unqualified health claims based upon
     states a claim if he or she alleges (1) a significant scientific agreement among experts.
     reasonable belief about the product induced by See, In re Bayer Corp. Combination Aspirin Prods.
     a misrepresentation; and (2) that the difference Mktg. & Sales., 701 F. Supp. 2d 356, 363 (EDNY
     in value between the product promised and the 2010). As such, Cheerios broad representation
     one received can be reasonably quantified.         about lowering cholesterol does not appear to be a
                                                        deliberate misrepresentation by a conscious
Smajlaj, 782 F. Supp. 2d at 99. In applying the
                                                        wrongdoer as set forth by Plaintiffs.
standard to this matter, the Plaintiffs do not
objectively quantify their loss. For instance, Mr. Unjust [*37] enrichment is not a viable theory -
Theodore can not meet part 1 of the aforementioned and disgorgement is therefore not available - in
test because she did not rely on the cholesterol circumstances in which a consumer purchases
lowering representation. Mr. Myers and Ms. specific goods and receives those same specific
Acevedo can not meet part 2 of the test because goods. See Adamson v. Ortho-McNeil Pharm., Inc.,
they still eat Cheerios today; hence, the 463 F. Supp. 2d 496, 505 (D.N.J. 2006). In order to
misrepresentation did not alter their selection of obtain disgorgement of profits, a plaintiff must
purchasing Cheerios. In addition, none of the demonstrate that a defendant was unjustly enriched.
plaintiffs estimated any loss amount, or a difference See generally, Iliadis v. Wal-Mart Stores, Inc., 191
in price between a comparative produce and N.J. 88, 110, 922 A.2d 710 (2007). An unjust
Cheerios. Plaintiffs therefore fail to adequately enrichment cause of action arises where: (1) a
allege they suffered a benefit of the bargain loss.     defendant received a benefit from the plaintiff; and
                                                        (2) the defendant's retention of such a benefit is
                                                        inequitable. United States v. Albinson, 2010 U.S.
Plaintiffs Are Not Entitled to Disgorgement of
                                                        Dist. LEXIS 83644, 2010 WL 3258266, at *18
Profits.
                                                        (D.N.J. Aug. 16, 2010) (citation omitted). As
                                                        mentioned, Plaintiffs fail to demonstrate that they
Plaintiffs additionally seek to recover "equitable
                                                        purchased Cheerios for which they did not receive
monetary relief as may be necessary to disgorge
                                                        any value. Healthy ingredients, crunchiness,
and/or restore monies received by Defendant as a
                                                        convenience and taste are value components.
result [*36] of Defendant's alleged deceptive
                                                        Mason, 774 F. Supp. 2d 699, 2011 WL 1204556 at
conduct." (See Amended Complaint, Prayer, ¶ E).
                                                        *5, n.4. As such, Plaintiffs have not set forth a
Like the two prior theories of relief, Plaintiffs'
                                                        viable unjust enrichment cause of action, and
request for disgorgement of profits fails. "Liability
                                                        disgorgement of profits is not an appropriate
to disgorge profits is ordinarily limited to cases of .
                                                        remedy. See, Koronthaly v. L'Oreal USA, Inc., 374
. . conscious wrongdoing." Restatement Third,
                                                        Fed. App'x 257, 259 (3d Cir. 2010) (wherein a
Restitution and Unjust Enrichment, Vol. 1 § 3, p.
                                                        plaintiff lacked standing [*38] to sue). The
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Koronthaly court stated "absent any allegation that      oral argument. For the reasons set forth in the
she received a product that failed to work for its       above Memorandum,
intended purpose or was worth objectively less . . .
[plaintiff] has not demonstrated a concrete injury in    IT IS on this 10th day of September, 2012,
fact" as to the lipstick she purchased. Similarly        ORDERED that Count 1 (Minnesota Consumer
here, Plaintiffs Mr. Meyers, Ms. Acevedo and Ms.         Fraud Act), Count 2 (Minnesota Unlawful Trade
Theodore have not shown any concrete injury.             Practices Act), Count 3 (Minnesota Deceptive
Equitable relief such as disgorgement is often           Trade Practices Act), and Count 4 (Minnesota False
ordered when no other form of relief will                Statement in Advertising Act) are dismissed; and it
compensate for the injury. Often in class actions,       is further
the theory is that a class action will address a wrong   ORDERED that Defendant's motion for summary
which will otherwise not be remedied. Here, the          judgment is granted against Mr. Myers, Ms.
FDA notified Cheerios of the over-aggressive             Acevedo [*40] and Ms. Theodore; and it is further
labeling, and Cheerios has entered discussions with
FDA representatives. As such, the wrong will be          ORDERED that Defendants motion for summary
remedied in some fashion through regulatory              judgment is granted on all class action allegations
intervention. As such, no other equitable relief is      of Mr. Jeffreys' and Mr. Choi's amended complaint.
necessary since the representations have been
addressed.                                               /s/ Peter G. Sheridan

From reading the above, there is little discussion PETER G. SHERIDAN, U.S.D.J.
about Mr. Choi and Mr. Stevens. The class action
claims must be dismissed for the following reason.      End of Document
Fed. R. Civ. P. 23. Generally, "the claims . . . of the
representative parties are typical of the claims . . .
of the class." Fed. R. Civ. P. 23(a)(3). [*39] Here,
Mr. Choi consumed Cheerios two or three times per
day and stopped eating Cheerios when he learned
of the FDA Letter. Mr. Stevens on the other hand
had very little recollection about the content of the
Cheerios advertisements, and, he may not be a
credible complainant to represent a class due to his
faulty memory. Although Mr. Choi and Mr.
Stevens may have some injury, their cases can not
be considered typical. The cases of Mr. Myers, Ms.
Acevedo and Ms. Theodore show that many
Cheerios consumers buy them for different reasons
and General Mills should be allowed to litigate
each claim on the factual differences. As such, the
class allegations of Mr. Choi and Mr. Stevens are
dismissed.


Order

This Court has reviewed all submissions and heard
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                             Tab 9
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                                    Crosby v. Georgakopoulos
                       United States District Court for the District of New Jersey
                             June 24, 2005, Decided ; June 24, 2005, Filed
                                       Civ. No. 03-5232 (WGB)

Reporter
2005 U.S. Dist. LEXIS 32238 *; 2005 WL 1514209
                                                     CENTER, Defendants: CHARLES M. D'AMICO,
                                                     OFFICE OF THE HUDSON COUNTY
CLYNT CROSBY, Plaintiff, v. DEMETRIOS G.
                                                     COUNSEL, JERSEY CITY, NJ.
GEORGAKOPOULOS, DHS DISTRICT
DIRECTOR, BUREAU OF IMMIGRATION AND
CUSTOMS ENFORCEMENT - "BICE,"                        For KEEFE COMMISSARY NETWORK SALES,
WARDEN RALPH GREEN - HCCC, HUDSON                    Defendant: DAVID J. COONER, MCCARTER &
COUNTY, KEEFE COMMISARY NETWORK                      ENGLISH, LLP, NEWARK, NJ; CHARLES M.
SALES, ATTORNEY GENERAL JOHN                         D'AMICO, OFFICE OF THE HUDSON COUNTY
ASHCROFT, Defendant(s).                              COUNSEL, JERSEY CITY, NJ.

                                                     For HUDSON COUNTY, Defendant: MICHAEL
Notice: [*1] NOT FOR PUBLICATION                     L. DERMODY, OFFICE OF THE HUDSON
                                                     COUNTY COUNSEL, JERSEY CITY, NJ.



                                                     Judges: BASSLER, SENIOR DISTRICT JUDGE.
Subsequent History: Motion denied by Crosby v.
Green, 2007 U.S. Dist. LEXIS 65334 (D.N.J., Sept.
5, 2007)
                                                     Opinion by: William G. Bassler


Counsel: For CLYNT CROSBY, Plaintiff, Pro se,
MIDDLESEX COUNTY ADULT
                                                     Opinion
CORRECTIONAL CENTER, NEW
BRUNSWICK, NJ.


For DEMETRIOS G. GEORGAKOPOULOS,                     OPINION
DHS District Director BICE, ATTY GEN. JOHN
ASHCROFT, Defendants: ANTHONY J.
LABRUNA, JR., US ATTORNEY'S OFFICE,
                                                     BASSLER, SENIOR DISTRICT JUDGE:
NEWARK, NJ.
                                                     Plaintiff Clynt Crosby ("Crosby") is an immigration
For WARDEN RALPH GREEN, H.C.C.C.,                    detainee at the Hudson County Correctional Center
HUDSON COUNTY CORRECTIONAL                           ("HCCC"). Crosby claims to be suffering from
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various prison conditions including second-hand       Georgakopoulos; (3) Ashcroft; (4) Warden Green;
smoke, extreme cold, gang activity and unsanitary     (5) HCCC; and (6) Keefe Commisary Network,
food trays in violation of his Eighth Amendment       L.L.C. ("Keefe"). On December 9, 2003, this Court
rights. He brings his action against both             dismissed with prejudice all claims against the
federal [*2] and state defendants in their official   DHS and dismissed without prejudice all claims
and individual capacities.                            against Ashcroft and Georgakopoulos. In addition,
                                                      the Court held that HCCC could not be sued for
There are two pending motions in the above-titled     constitutional violations pursuant to Monell v. Dept.
action to dismiss Crosby's Amended Complaint.         of Social Services of New York City, 436 U.S. 658,
First, there is a motion to dismiss and/or for        688-690, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).
summary judgment brought by defendants Warden         Nevertheless, this Court allowed those claims
Ralph Green ("Warden Green") and Hudson               against HCCC to survive by construing claims
County. Second, there is a motion to dismiss and/or   brought against HCCC as claims against Hudson
for summary judgment brought by defendants            County.
Demetrios            G.            Georgakopoulos
("Georgakopoulos"), District Director of the          On January 29, 2004, Crosby filed an Amended
Bureau of Immigration and Customs Enforcement,        Complaint. The defendants [*4] named in the
and John Ashcroft ("Ashcroft"), United States         Amended Complaint were: (1) Keefe; (2) Warden
Attorney General.                                     Green; (3) Hudson County; (4) Ashcroft; and (5)
                                                      Georgakopoulos. Crosby alleged cruel and unusual
This Court has subject matter jurisdiction under 42   punishment in violation of the Eighth Amendment
U.S.C. § 1981, 28 U.S.C. § 1331, and Bivens v. Six    by these defendants, including dirty and dangerous
Unknown Named Agents of Federal Bureau of             prison conditions and exposure to second-hand
Narcotics, 403 U.S. 388, 91 S.Ct. 1999, 29 L. Ed.     smoke. Keefe subsequently filed a motion to
2d 619 (1971). Venue is proper under 28 U.S.C. §      dismiss the Amended Complaint, pursuant to Fed.
1391(b),(e).                                          R. Civ. P. 12(b)(6), which this Court granted on
For the following reasons, the motion to dismiss by   August 17, 2004. The United States Attorney, on
Georgakopoulos and Ashcroft, in their official and    behalf of Georgakopoulos and Ashcroft ("Federal
individual capacities, is granted. The motion to      Defendants"), moved to dismiss on August 17,
dismiss by Hudson County is granted. The motion       2004. Hudson County Counsel, on behalf of
to dismiss by Warden Green in his official capacity   Warden Green and Hudson County ("State
is granted. The [*3] motion to dismiss by Warden      Defendants"), moved to dismiss on January 7,
Green in his individual capacity on Crosby's claims   2005.
of gang activity, poor air ventilation, unsanitary
food trays, spoiled food, and high cost telephone
                                                      II. DISCUSSION
calls is granted. The motion to dismiss by Warden
Green in his individual capacity on Crosby's claims
of second-hand smoke exposure and cold                A. Standard of Review
temperature is denied.
                                                      Federal Rule of Civil Procedure 12(b)(6) allows a
                                                      party to move for a dismissal based upon the
I. BACKGROUND                                         pleader's "failure to state a claim upon which relief
                                                      can be granted." In determining the sufficiency of a
Crosby, proceeding pro se, filed the initial          pro se complaint, the Court must be mindful to
Complaint against six defendants: (1) the             construe it liberally in favor of the plaintiff. Haines
Department of Homeland Security ("DHS"); (2)          v. Kerner, 404 U.S. 519, 520-21, 92 S. Ct. 594, 30
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L. Ed. 2d 652 (1972); [*5] United States v. Day,     The Eighth Amendment's "Cruel and Unusual
969 F.2d 39, 42 (3d Cir. 1992). The Court must       Punishments Clause was designed to protect those
"accept as true all of the allegations in the        convicted of crimes . . . ." Fuentes v. Wagner, 206
complaint and all reasonable inferences that can be  F.3d 335, 344 n.11 (3d Cir. 2000) (quoting Whitley
drawn therefrom, and view them in the light most     v. Albers, 475 U.S. 312, 318, 106 S.Ct. 1078, 89 L.
favorable to the plaintiff." Morse v. Lower Merion   Ed. 2d 251 (1986)). Thus, [*7] Eighth Amendment
Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997).        protections apply only after a formal adjudication
Dismissal is not appropriate unless it appears       of guilt. Ingraham v. Wright, 430 U.S. 651, 671
beyond doubt that plaintiff can prove no set of factsn.40, 97 S.Ct. 1401, 1412 n.40, 51 L. Ed. 2d 711
in support of his claim which would entitle him to   (1977); see also City of Revere v. Mass. Gen.
relief. Conley v. Gibson, 355 U.S. 41, 45-46, 78 S.  Hosp., 463 U.S. 239, 244, 103 S.Ct. 2979, 2983, 77
Ct. 99, 2 L. Ed. 2d 80 (1957); In re Rockefeller Ctr.L. Ed. 2d 605 (1983) (holding that Eighth
Props. Secs. Litig., 311 F.3d 198, 215 (3d Cir.      Amendment has no application to a person who had
2002) (internal citations omitted). The Court need   not yet been convicted at the time he required
not, however, credit a pro se plaintiff's "bald      medical care). Pre-trial detainees whose
assertations" or "legal conclusions." Id.            imprisonment did not result from the conviction of
                                                     a crime cannot assert the Eighth Amendment in
Typically courts only look to the face of the protecting their constitutional rights. Hubbard v.
pleadings in considering motions made under Rule Taylor, 399 F.3d 150, 164 (3d Cir. 2005).
12(b)(6). However, courts may examine a
"document integral to or explicitly relied upon in Crosby is an immigration detainee. He is not
the complaint without converting the motion to confined at the HCCC as a result of the conviction
dismiss into one for summary judgment." In re of a crime. "As a person detained for deportation,
Burlington Coat Factory Sec. Litig., 114 F.3d 1410, plaintiff's status is equivalent to a pretrial detainee,
1426 (3d Cir. 1997) (internal citations omitted). whose constitutional claims are considered under
 [*6]                                                the due process clause . . . instead of the Eighth
B. Constitutional Claims                             Amendment." Gonzalez-Cifuentes v. United States
                                                     Dep't of Homeland Sec., 04-4855(WHW), 2005
1. Eighth Amendment Standard                         U.S. Dist. LEXIS 33072, 2005 WL 1106562, at *6
                                                     (D.N.J. May 3, 2005) (citing Hubbard, 399 F.3d at
Plaintiff asserts that the prison conditions of the 158); see also Despaigne v. Crolew, 89 F. Supp. 2d
HCCC violate his Eighth Amendment protections 582, 585 (E.D. Pa. 2000) [*8] (finding that an
against cruel and unusual punishment. Section 1983 immigration detainee is analogous to a pre-trial
of the Civil Rights Act of 1871 provides "a federal detainee). Crosby, as a detainee who has not been
remedy against any person who, acting under color convicted of any crime, may not assert an Eighth
of state law, deprives another of constitutional Amendment violation against defendants.
rights." City of Newport v. Fact Concerts, Inc., 453
U.S. 247, 258, 101 S. Ct. 2748, 69 L. Ed. 2d 616 Considering Crosby's claims all rely on Eighth
(1981). In Bivens, the Supreme Court recognized an Amendment violations, the Court need not address
implied right of action for damages in federal court their merits. Nevertheless, because a pro se
where a federal agent acting under color of federal plaintiff's complaint is construed more liberally, the
authority deprived the plaintiff of constitutional Court will proceed to address Crosby's claims as
rights. 403 U.S. at 397, 91 S.Ct. at 2005. "A Bivens though he asserted them properly under the Due
action . . . is the federal equivalent of the § 1983 Process Clause of the Fifth Amendment against
cause of action against state actors." Brown v. Federal Defendants and under the Due Process
Philip Morris, 250 F.3d 789, 800 (3d Cir. 2001).     Clause of the Fourteenth Amendment against State
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Defendants. Failing to plead claims under due            reckless disregard of a known risk of harm."
process does no lasting damage. The Supreme              Gonzalez-Cifuentes, 2005 U.S. Dist. LEXIS 33072,
Court has concluded that the rights of pre-trial         2005 WL 1106562, at *7 (citing Farmer v.
detainees are "at least as great as the Eighth           Brennan, 511 U.S. 825, 837-38, 114 S.Ct. 1970,
Amendment protections available to a convicted           128 L. Ed. 2d 811 (1994)).
prisoner." Natale v. Camden County Corr. Facility,
                                                         C. Claims Against State Defendants
318 F.3d 575, 581 (3d Cir. 2003) (quoting Revere
v. Massachusetts Gen. Hosp., 463 U.S. 239, at 244,       From Crosby's Amended Complaint, it appears that
103 S. Ct. 2979, at 2983, 77 L. Ed. 2d 605.) The         Crosby alleges the following claims against
Third Circuit Court of Appeals has recognized that       Warden Green: (1) exposure to second-hand
"pretrial detainees are entitled to greater              smoke; (2) cold temperatures in cells and gym; (3)
constitutional protection than that provided by [*9]     gang activity; (4) spoiled food; (5) poor air
the Eighth Amendment." Hubbard, 399 F.3d at 167          ventilation; (6) unsanitary food trays; and (7) high
n.23 (internal citations omitted).                       cost telephone calls. Am. Compl. 7-9. Crosby
                                                         alleges that Warden Green, in his official and
2 . Due Process Standard
                                                         personal capacity, ignored Crosby's multiple
"In evaluating the constitutionality of conditions or    grievances as well as the many problems in the
restrictions of pretrial detention that implicate only   prison. Id. at 8. Crosby further alleges [*11] that
the protection against deprivation of liberty without    Hudson County is liable as the location where the
due process . . . the proper inquiry is whether those    violations occurred. Id. at 6.
conditions amount to punishment of the detainee."        1. Eleventh Amendment Immunity
Bell v. Wolfish, 441 U.S. 520, 535, 99 S.Ct. 1861,
1872, 60 L. Ed. 2d 447 (1979). To determine              The Eleventh Amendment bars Crosby from
whether the conditions amount to punishment, "[a]        bringing suit against Warden Green in his official
court must decide whether the disability is imposed      capacity. The Eleventh Amendment precludes
for the purpose of punishment or whether it is but       federal jurisdiction over a state absent the state's
an incident of some other legitimate government          consent to suit. Seminole Tribe v. Florida, 517 U.S.
purpose." Id. at 538, 99 S.Ct. at 1873. The Eighth       44, 54, 116 S. Ct. 1114, 134 L. Ed. 2d 252 (1997).
Amendment standard of "deliberate indifference" to       State agencies and state officers who act on behalf
inmate health and safety by prison officials does        of the state are also protected by Eleventh
"seem to establish a floor of sorts" for the due         Amendment immunity. Natural Resources Defense
process inquiry into Crosby's claims. Kost v.            Council v. California DOT, 96 F.3d 420 (9th Cir.
Kozakiewicz, 1 F.3d 176, 188 n.10 (3d Cir. 1993).        1996) (citing P.R. Aqueduct & Sewer Auth. v.
In evaluating a pre-trial detainee's claims, the Third   Metcalf & Eddy, Inc., 506 U.S. 139, 142-46, 113 S.
Circuit Court of Appeals has "found no reason to         Ct. 684, 121 L. Ed. 2d 605 (1993) and Pennhurst
apply a different standard than that set forth in        State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101,
Estelle (pertaining [*10] to prisoners' claims of        104 S. Ct. 900, 79 L. Ed. 2d 67 (1984)). "An
inadequate medical care under the Eighth                 official capacity suit 'is not a suit against the
Amendment) . . . ." Natale, 318 F.3d at 581 (citing      official but rather is a suit against the official's
Estelle v. Gamble, 429 U.S. 97, 97 S.Ct. 285, 50 L.      office. As such it is no different from a suit against
Ed. 2d 251 (1976) (holding that the Eighth               the State itself." Hafer v. Melo, 502 U.S. 21, 26,
Amendment prohibits deliberate indifference to           112 S.Ct. 358, 362, 116 L. Ed. 2d 301 (1991)
prisoners' serious medical needs)). "'Deliberate         (quoting Will v. Mich. Dep't. of State Police, 491
indifference is more than mere malpractice or            U.S. 58, 71 109 S.Ct. 2304, 2312, 105 L. Ed. 2d 45
negligence; it is a state of mind equivalent to          (1989)). Under § 1983, state officials [*12] acting
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in their official capacities like Warden Green, are dismisses all claims by Crosby against Warden
not "persons." Id. Therefore, the Court dismisses Green solely as the supervisor of the officers who
Warden Green in his official capacity from are personally involved in the action.
Crosby's action.
                                                         3. Claim of Second-Hand Smoke Exposure
"Personal capacity suits on the other hand, seek to
                                                         A valid cause of action under the Eighth
impose individual liability upon a government
                                                         Amendment exists when an inmate alleges that
officer for actions taken under color of state law."
                                                         prison officials have exposed the inmate to levels of
Id. at 25, 112 S.Ct. at 362. Since "state officials,
                                                         environmental [*14] tobacco smoke ("ETS") that
sued in their individual capacities, are 'persons'
                                                         "pose an unreasonable risk of serious damage to his
within the meaning of § 1983," the Eleventh
                                                         future health." Helling v. McKinney, 509 U.S. 25,
Amendment does not bar suit. Id. at 31, 112 S.Ct. at
                                                         35 113 S.Ct. 2475, 2481, 125 L. Ed. 2d 22 (1993).
365. Rather, "a supervisor may be personally liable
                                                         Deliberate indifference by prison authorities is
under § 1983 if he or she participated in violating
                                                         determined in light of prison officials' current
the plaintiff's rights, directed others to violate them,
                                                         attitudes and conduct. Id.
or as the person in charge, had knowledge of and
acquiesced in his subordinates' violations." A.M. ex Crosby alleges that although the HCCC has a no
rel J.M.K. v. Luzerne County Juvenile Det. Ctr., smoking policy, the policy is continuously violated
372 F.3d 572, 586 (3d Cir. 2004). Therefore, the by both officers of the HCCC and inmates. In
Eleventh Amendment does not bar Crosby's suit Crosby's Amended Complaint, he notes that "on an
against Warden Green in his individual capacity.         [sic] average . . . 34 of the 55 [inmates] are active
                                                         smokers, from morning till night, in the cells, day
2. Qualified Immunity
                                                         room, constantly smoking." Am. Compl. 8. Crosby
Although not explicitly stated in the State alleges the constant smoking causes risk of
Defendants' brief, it appears that the State emphysema as well as "daily headaches, [for
Defendants bring a qualified immunity defense which] the only medical solution is Motrin . . . ."
with respect to Warden Green's liability [*13] as Am. Compl. 9, 14. Taking Crosby's allegations to
the ultimate supervisor of the HCCC.                     be true, any smoking in the HCCC in violation of
                                                         the no-smoking policy would be unreasonable and
"A defendant in a civil rights action must have considered a form of punishment against pre-trial
personal involvement in the alleged wrongs; detainees. The Court cannot conceive of any
liability cannot be predicated solely on the legitimate government purpose in violating a
operation of respondeat superior." Rode v. facility policy, nor is it rationally related to the
Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988) purpose of detaining inmates. There is also a
(internal citations omitted). "Personal involvement factual dispute [*15] over whether Crosby filed a
can be shown through allegations of personal second-hand smoke grievance with Warden Green.
direction or of actual knowledge and Discovery may reveal relevant information as to
acquiescence," but allegations must be made with whether Warden Green acted with deliberate
"appropriate particularity." Id. Crosby alleges that indifference. In analyzing the merits of Crosby's
Warden Green, by "failing to oversee or properly claim, adoption of a smoking policy will "bear
supervise officer [sic] under his charge, became heavily on the inquiry into deliberate indifference."
personally involved in the wrongdoing." Am. Id. At this juncture, it would be premature to grant
Compl. 8. Therefore, to the extent that Crosby dismissal of Crosby's ETS claim because discovery
attempts to place liability on Warden Green on the has not commenced.
basis of respondeat superior for the actions of his
subordinates, Crosby's claims lack merit. The Court The State Defendants point the Court to Steading v.
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Thompson, 941 F.2d 498 (7th Cir. 1991), which                          applies to cell temperatures as to other conditions
holds that prison authorities do not violate the                       of confinement: whether the temperatures subject
Eighth Amendment by failing to provide a smoke-                        the inmate to a substantial risk of serious harm." Id.
free environment. The State Defendants' reliance on                    In Wilson v. Seiter, 501 U.S. 294, 304, 111 S.Ct.
Steading is misplaced. The prison in Steading did                      2321, 2327, 115 L. Ed. 2d 271 (1991), the Supreme
not have a smoke-free policy. Id. at 499. Absent                       Court noted,
any existing smoke-free policy, prison authorities
who decide in favor of permitting smoking in their                         some conditions of confinement may establish
buildings do not violate the Eighth Amendment. Id.                         an     Eighth    Amendment       violation    'in
at 500. If indeed the prison officials at HCCC are                         combination' when each would not do so alone,
ignoring Crosby's exposure to high levels of ETS in                        but only when they have a mutually enforcing
an environment where smoking is prohibited,                                effect that produces the deprivation of a single,
Crosby states a valid claim for relief. 1 "It                              identifiable human need such as food, warmth
would [*16] be unreasonable for prison officials to                        or exercise - for example, a low cell
believe that they were not violating the prisoners'                        temperature at night combined with a failure to
Eighth Amendment rights . . . [where] 'plaintiff's                         issue blankets.
allegations, if believed, overwhelmingly describe a
                                                                       Crosby alleges the same combination of conditions
prison environment permeated with smoke
                                                                       as in the example provided by the Supreme Court
resulting from inter alia, under-enforcement of
                                                                       in Wilson. Crosby states that there is no heat in the
inadequate smoking rules, overcrowding of
                                                                       cells or the gym. Am. Compl. 7. Night temperatures
inmates, and poor ventilation." Atkinson v. Taylor,
                                                                       are "sub-zero," and the officers refuse to provide
316 F.3d 257, 264 (3d Cir. 2003) (quoting Warren
                                                                       extra blankets. [*18] Id. Moreover, Crosby alleges
v. Keane, 196 F.3d 330, 333 (2d Cir. 1999)). The
                                                                       that the cold is causing the joints in his hand to
Court denies the State Defendants' motion to
                                                                       swell. Id. at 13. This combination of allegations
dismiss Plaintiff's second-hand smoke inhalation
                                                                       describing Crosby's deprivation of warmth
claim.
                                                                       potentially amount to punishment.
[*17] 4. Claim of Cold Temperature
                                                                       In terms of Warden Green's liability, a supervisor
"Prisoners have a right under the Eighth can be found personally involved in the deprivation
Amendment to be free from extreme hot and cold of a plaintiff's rights when, "[a] supervisory official,
temperatures." Freeman v. Berge, 2003 U.S. Dist. after learning of the violation through a report or
LEXIS 26763, 2003 WL 23272395 at *12 appeal, may have failed to remedy the wrong . . . ."
(W.D.Wis. Dec. 17, 2003) (internal citations Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994)
omitted). "The same Eighth Amendment standard (internal citations omitted). Crosby filed a specific
                                                                       grievance regarding cold temperatures, addressed to
                                                                       Warden Green. Because Crosby alleges that
                                                                       Warden Green received notice of the cold
1 The State Defendants also argue that according to the Prison
                                                                       temperatures and "failed to remedy the wrong," the
Litigation Reform Act, 42 U.S.C.A. § 1997e(a), Crosby cannot bring
suit until he has exhausted all his administrative remedies. The State Court denies Warden Green's motion to dismiss
Defendants maintain that Crosby never filed a grievance for second- with respect to Crosby's cold temperature claim.
hand smoke. The Court declines to convert this motion to dismiss
into one for summary judgment by looking beyond the pleadings.         5. Claim of Gang Activity
Nevertheless, the Court observes that Crosby's Statement of Material
Fact alleges that he did file a specific grievance for second-hand     Crosby alleges that Warden Green failed to protect
smoke, copies of which have been confiscated. These disputed facts
would be sufficient to overcome summary judgment, particularly
                                                                       inmates from known gang members who act
where, as here, the parties have yet to engage in discovery.           violently against other inmates. Am. Compl. 7. He
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makes general allegations that federal inmates           . Any needed prison reform is an executive and
constantly get into fights with gang members and         legislative responsibility." Doty v. County of
that there has been no response to his grievances.       Lassen, 37 F.3d 540, 543 (9th Cir. 1994) (internal
 [*19] Id. at 8. The State Defendants assert, and the    quotes omitted). Crosby's claims are not sufficient
Court agrees, that Crosby is only generally              to allege any form of punishment. Instead they
concerned about gang activity due to the fact that       appear to be incident to the governmental purpose
both prisoners and detainees are housed together.        of detainment. "The fact that harm is inflicted by
Crosby does not allege that he is under any specific     governmental authority [*21] does not make it
threat from any other inmate or that Warden Green        punishment.       Figuratively      speaking     all
"participated in violating the plaintiff's rights,       discomforting action may be deemed punishment
directed others to violate them" or "had knowledge       because it deprives of what otherwise would be
of and acquiesced in his subordinates' violations" of    enjoyed." Bell, 441 U.S. at 539 n.19, 99 S.Ct. at
failing to protect Crosby. A.M. ex rel J.M.K., 372       1874 n.19. Thus, the Court dismisses Crosby's
F.3d at 586. Based on such general allegations by        claims with respect to poor air ventilation, the
Crosby, the Court cannot find Warden Green to be         unsanitary use of food trays, spoiled food, and
deliberately indifferent, objectively or subjectively,   prohibitively high costs for telephone calls.
to any substantial risk of harm. Rather, "prison
administrators therefore should be accorded wide-        7. Hudson County's Liability
ranging deference in the adoption and execution of
                                                         In Monell, the Supreme Court held that
policies and practices that in their judgment are
                                                         municipalities, such as Hudson County, may be
needed to preserve internal order and discipline and
                                                         held liable under § 1983. 436 U.S. at 690, 98 S.Ct.
to maintain institutional security." Bell, 441 U.S. at
                                                         at 2035. Municipalities, however, cannot be held
547, 99 S.Ct. at 1878. Because Crosby does not
                                                         liable for § 1983 claims under a theory of
allege activity amounting to any sort of punishment
                                                         respondeat superior. Id. at 691, 98 S.Ct. at 2036.
against him, the Court dismisses Crosby's claim
                                                         "Instead, it is when execution of a [local]
regarding gang activity.
                                                         government's policy or custom, whether made by
6. Claims of Poor Air Ventilation, [*20]                 its lawmakers or by those whose edicts or acts may
Unsanitary Food Trays, Spoiled Food, and High            fairly be said to represent official policy, inflicts the
Cost Calls.                                              injury that the [local] government as an entity is
                                                         responsible under § 1983." Id. at 694, 98 S.Ct. at
Crosby alleges various other prison conditions           2037-38. In order to hold Hudson County liable for
violations regarding poor air ventilation, the           any constitutional violations, "there must be an
unsanitary use of food trays, spoiled food, and          affirmative link between [*22] the policy and the
prohibitively high costs for telephone calls. The        particular violation alleged." City of Oklahoma City
State Defendants properly direct the Court to            v. Tuttle, 471 U.S. 808, 823, 105 S.Ct. 2427, 2436,
Marnin v. Pinto, 463 F.2d 583, 584 (3d Cir. 1972),       85 L. Ed. 2d 791 (1985).
in which the appellant made "blanket statements"
alleging bad food and miserable living conditions.       Crosby merely alleges that Hudson County is
The Third Circuit Court of Appeals stated that           where the "illegal/wrongful policies are made . . . ."
"naked statements such as this do not ordinarily         Am. Compl. 6. He does not allege any specific
merit Federal court intervention." Id. Likewise,         policies implemented by Hudson County that are in
Crosby's claims are conclusory and do not merit a        violation of his rights. Because Crosby does not
cause of action under § 1983. The Court notes that,      state an adequate claim against Hudson County, the
in evaluating prison conditions cases, "the Eighth       Court dismisses Hudson County from Crosby's
Amendment is not a basis for broad prison reform . .     action.
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8. Products Liability Claim                           1. Sovereign Immunity

To the extent that any claims against Hudson          It is well-settled that in the absence of an express
County remain, the Court construes the remainder      waiver of immunity by Congress, the United States,
as claims brought under a theory of products          its agencies, or officers are immune from suit. Dep't
liability. Counsel for Hudson County refers to this   of Army v. Blue Fox, Inc. 525 U.S. 255, 260, 119
Court's August 17, 2004 Opinion dismissing Keefe      S.Ct. 687, 690, 142 L. Ed. 2d 718 (1999);
to assert that Hudson County should be dismissed      Beneficial Consumer Disc. Co. v. Poltonowicz, 47
under the same products liability theory construed    F.3d 91, 93-94 (3d Cir. 1995) (internal citations
from Crosby's second-hand smoke allegations. The      omitted). Therefore, when a federal agency's officer
New Jersey Products Liability Act relieves            is named in an action, Congress must have
"product sellers" from liability after filing an      consented to the action because the United States is
affidavit identifying the manufacturer of the         the real party in the suit. Terrill Manor Assocs. v.
product unless the seller (1) exercised significant   United States Dep't of Housing & Urban Dev., 496
control over the design, manufacture, packaging or    F. Supp. 1118, 1121 n.5 (D.C.N.J. 1980). See
labeling of the product; (2) knew or should [*23]     Hafer, 502 U.S. at 25, 112 S.Ct. at 361 ("real party
have known about the product defect; or (3) created   in interest in an official-capacity suit is the
the product defect. N.J.S.A. 2A:58C-9(a)-(b), (d).    governmental entity and not the named official").
The Court agrees that Hudson County, which            "Indeed, when officials sued in this capacity in
contracted with Keefe to sell products in the HCCC    federal court die or leave office, their successors
Commissary, is further removed than Keefe as a        automatically assume their role in the litigation."
product seller. Hudson County is not a                Hafer, 502 U.S. at 25, 112 S.Ct. at 361.
manufacturer of any sort, let alone a manufacturer
of any products that cause harm from second-hand     The Federal [*25] Tort Claims Act ("FTCA")
smoke. Thus, Hudson County cannot be held liable     partially waives sovereign immunity for injuries
under the statute and is dismissed from any          "caused by the negligent or wrongful act or
products liability claim on the same grounds as      omission of any employee of the Government,
Keefe. (See Aug. 17, 2004 Op.)                       under circumstances where the United States, if a
                                                     private person, would be liable to the claimant in
D. Claims against Federal Defendants                 accordance with the law of the place where the act
Crosby alleges that Georgakopoulos, in his official or omission occurred." 28 U.S.C. § 1346(b). This
and individual capacity, failed to respond to waiver, however, does not subject the United States
Crosby's grievances and to secure a healthy to liability for constitutional tort claims. FDIC v.
environment for immigration detainees. Am. Meyer, 510 U.S. 471, 478 114 S.Ct. 996, 1001, 127
Compl. 12-13. Crosby further alleges that Ashcroft, L. Ed. 2d 308 (1994); Biase v. Kaplan, 852 F. Supp.
in his official and individual capacity, is 268, 279 (D.N.J. 1994). Under the FTCA, the "law
responsible for the actions of his subordinates and of the place where the act or omission occurred" is
failed to properly inspect the facilities prior to state law. Id. "By definition, federal law, not state
approving them for use by immigration detainees. law, provides the source of liability for a claim
Id. at 14-15. The claims against the Federal alleging the deprivation of a constitutional right."
Defendants in their official capacity are dismissed Id. In this case, Crosby has only sued for alleged
under the doctrine of sovereign immunity. [*24] violations of his constitutional right to be free from
The claims against the Federal Defendants in their cruel and unusual punishment. Federal and not state
individual capacity are dismissed under the doctrine law applies to this case.
of qualified immunity.
                                                     Sovereign immunity is a jurisdictional issue. Meyer
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510 U.S. at 475, 114 S.Ct. at 1000. Because                             Amendment." Jett v. Dallas Indep. Sch. Dist., 491
constitutional claims are not [*26] cognizable                          U.S. 701, 735, 109 S.Ct. 2702, 2722, 105 L. Ed. 2d
under the FTCA, and the United States has not                           598 (1989) [*28] (internal citations omitted).
waived its sovereign immunity, this Court lacks
jurisdiction to hear Crosby's claims against Federal                    Crosby's allegations demonstrate that he is
Defendants. 2 The Court therefore dismisses                             attempting to hold the Federal Defendants liable for
Crosby's claims against Federal Defendants in their                     the actions of others in failing to respond to
official capacity pursuant to Fed. R. Civ. P.                           grievances. He explicitly alleges that Ashcroft "is
12(b)(1).                                                               responsible for the action [sic] of his subordinates."
                                                                        Am. Compl. 15. Moreover, Crosby claims that
[*27] 2. Qualified Immunity                                             Georgakopoulos,       "through      the     deliberate
                                                                        indifference of prison official [sic] to my rights
Sovereign immunity does not bar Plaintiff from                          failed to respond to my cries for help." Id. at 12. As
bringing a constitutional tort claim against the                        the Federal Defendants point out, neither of them
Federal Defendants in their individual capacities.                      are directly responsible for, or in direct control of,
Hines v. Irvington Counseling Ctr., 933 F. Supp.                        the conditions at the HCCC, which is a Hudson
382, 388 (D.N.J. 1996). Nevertheless, the Federal                       County, New Jersey facility, contracted by the
Defendants assert a valid qualified immunity                            United States to hold immigration detainees.
defense. Government officials such as the Federal                       Crosby cannot hold the Federal Defendants
Defendants are generally shielded from liability for                    responsible for the actions of officials within the
civil damages in their individual capacity unless                       HCCC because Bivens liability requires proof of
their conduct violates "clearly established statutory                   direct personal responsibility. See Pellegrino v.
or constitutional rights of which a reasonable                          United States, 73 F.3d 934, 936 (9th Cir. 1996).
person should have known." Smith v. Marasco, 318                        Therefore, any claims by Crosby against the
F.3d 497, 510 (3d Cir. 2003) (quoting Harlow v.                         Federal Defendants under a theory of respondeat
Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73                      superior are dismissed.
L. Ed. 2d 396 (1982)).
                                                                        Crosby's claims are similar to those of the plaintiff
Just as respondeat superior cannot be the basis of                      in Rode v. Dellarciprete. In Rode, [*29] the
liability in a § 1983 action, Givens v. Jones, 900                      plaintiff filed grievances with the Governor's office
F.2d 1229, 1233 (8th Cir. 1990), "the Courts of                         of administration and alleged that the Governor and
Appeals have unanimously rejected the contention .                      Attorney General had personal knowledge because
. . that the doctrine of respondeat superior is                         they had the power to review and approve agency
available against a municipal entity under a Bivens-                    regulations. 845 F.2d at 1208. The Third Circuit
type action implied directly from the Fourteenth                        Court of Appeals, however, dismissed plaintiff's
                                                                        claims against the Governor and Attorney General
                                                                        as insufficiently alleging personal involvement. Id.
2 Crosby's argument that his action is not a tort against the United
                                                                        The Third Circuit Court of Appeals held that "the
States because the Federal Defendants' actions are "not one of
discretion but mandated through the administrative process" is          power to review and approve a departmental
unfounded. The scope of the Federal Defendants' discretionary or        regulation for form and legality, however, does by
administrative duties is irrelevant to whether sovereign immunity       no means charge the Governor and Attorney
applies to them. There is a discretionary function exception to the
                                                                        General with the duty to enforce that regulation."
waiver of sovereign immunity by the FTCA. See 28 U.S.C.
§2680(a). But whether or not the Federal Defendants' actions were       Id. Moreover, "a contrary holding would subject the
discretionary, the FTCA does not apply to Crosby's constitutional       Governor to potential liability in any case in which
tort claims. Crosby's reference to the Foreign Sovereign Immunities     an aggrieved employee merely transmitted a
Act ("FSIA") in his reply brief is likewise irrelevant. The FSIA only
                                                                        complaint to the Governor's office of
applies to foreign states claiming immunity.
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administration or to the Lieutenant Governor's             immigration detainees; and (6) summary judgment
office." Id. Likewise, although Crosby alleges that        pursuant to Fed. R. Civ. P. 56.1.
Ashcroft is responsible for ensuring that "all
facilities are to standard . . . before approval for use   The Court denies Crosby's "Motion and Demand
is given," Am. Compl. 15, this power does not              for Jury Trial." Crosby's request for issuance of a
charge Ashcroft with the duty to enforce the               trial date, discovery plan, and scheduling order are
regulation. Crosby's claim that Georgakopoulos'            premature. Magistrate Judge Madeline Cox Arleo
office [*30] failed to respond to Crosby's letters         will issue the proper scheduling orders in due time.
and complaint are insufficient to show that                Furthermore, there is no basis for default judgment
Georgakopoulos had actual knowledge of Crosby's            against any defendants. All defendants have
complaints as well. Crosby's reply brief, which            answered Crosby's Amended Complaint with
further elaborates on conditions at the HCCC, fails        dispositive motions. Crosby's request for a
to support personal involvement by Federal                 temporary injunction is likewise denied. Crosby has
Defendants. Thus, the Federal Defendants have not          not provided sufficient information to weigh the
violated any recognized constitutional rights. The         immediate necessity of a temporary [*32]
Supreme Court admonishes against permitting                injunction. Crosby's request for summary judgment
"insubstantial lawsuits" against high government           is also premature. Because discovery has not
officials to proceed to trial because they                 occurred yet and the Court has denied Warden
"undermine the effectiveness of government. . . ."         Green's motion to dismiss for Crosby's claims of
Harlow, 457 U.S. at 819 n.35 , 102 S.Ct. at 2739.          exposure to second-hand smoke and cold
In light of such considerations, the Federal               temperature, the request for summary judgment is
Defendants' qualified immunity defense stands, and         denied.
the Court dismisses the claims against the Federal
Defendants in their individual capacities.
                                                           III. CONCLUSION
E. Request to Amend the Amended Complaint
                                                           For the reasons stated above, Federal Defendants'
In Crosby's September 9, 2004 reply to Federal             motion to dismiss is granted. Hudson County's
Defendants' motion to dismiss, Crosby requests             motion to dismiss is granted. In his official
leave to amend his Amended Complaint to include            capacity, Warden Green's motion to dismiss is
retaliatory conduct. The Court denies Crosby's             granted. In his individual capacity, Warden
request as deficient. Request to amend a complaint         Green's motion to dismiss on Crosby's claims of
should be made through a proper motion and not             gang activity, poor air ventilation, unsanitary food
within a reply brief.                                      trays, spoiled food, and high cost telephone calls is
                                                           granted. In his individual capacity. Warden
F. Motion and Demand for [*31]           Jury Trial by
                                                           Green's motion to dismiss on Crosby's claims of
Crosby
                                                           second-hand smoke exposure and cold temperature
Crosby also filed a "Motion and Demand for Jury            is denied.
Trial" on September 2, 2004, requesting the                The Court denies the various relief requested in
following: (1) a schedule to proceed to trial by jury      Crosby's "Motion and Demand for Jury Trial."
pursuant to Fed. R. Civ. P. 38(b); (2) issuance of a
discovery plan pursuant to Fed. R. Civ. P. 26.1; (3)       An appropriate order follows.
issuance of a scheduling order pursuant to Fed. R.
                                                           /s/ William G. Bassler
Civ. P. 16; (4) default judgment against all
defendants; (5) a temporary injunction voiding the         William G. Bassler, U.S.S.D.J.
Federal Defendants' contract with HCCC to house
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DATED: June 24, 2005                                    capacity and alleging second-hand smoke and cold
                                                        temperatures.

ORDER                                                   IT IS FURTHER ORDERED that Crosby's
                                                        "Motion and Demand for Jury Trial'" is DENIED.
This matter having come before the Court on the
motions to dismiss and/or for summary [*33]             /s/ William G. Bassler
judgment by defendants Bureau of Immigration and
                                                        William G. Bassler, U.S.S.D.J.
Customs Enforcement Director Demetrios G.
Georgakopoulos ("Georgakopoulos") and Attorney
General John Ashcroft ("Ashcroft"), the motion to         End of Document
dismiss and/or for summary judgment by
defendants Warden Ralph Green ("Warden Green")
and Hudson County, and the "Motion and Demand
for Jury Trial" by plaintiff Clynt Crosby
("Crosby"); and

The Court having decided this matter without oral
argument pursuant to Fed. R. Civ. P. 78; and

For the reasons set forth in the Court's Opinion
filed this day; and

For good cause shown;

It is on this 24th day of June, 2005, hereby
ORDERED that the motion to dismiss by
Georgakopoulos and Ashcroft in their official and
individual capacity is GRANTED;

IT IS FURTHER ORDERED that the motion to
dismiss by Hudson County is GRANTED;

IT IS FURTHER ORDERED that the motion to
dismiss by Warden Green is GRANTED with
respect to the claims brought against him in his
official capacity;

IT IS FURTHER ORDERED that the motion to
dismiss by Warden Green is GRANTED with
respect to the claims brought against him in his
individual      capacity    and     alleging     gang
activity, [*34] poor air ventilation, unsanitary food
trays, spoiled food, and high cost telephone calls;

IT IS FURTHER ORDERED that the motion to
dismiss by Warden Green is DENIED with respect
to the claims brought against him in his individual
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                        Tab 10
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                      Fireworks Lady & Co., LLC v. Firstrans Int'l Co.
                    United States District Court for the Central District of California
                            August 8, 2019, Decided; August 8, 2019, Filed
                                 Case No.: CV 18-10776-CJC (MRWx)

Reporter
2019 U.S. Dist. LEXIS 209935 *; 2019 WL 6448943

                                                      Opinion
FIREWORKS LADY & CO., LLC, Plaintiff, v.
FIRSTRANS INTERNATIONAL CO., HUA
YANG TRANSPORTATION CO., and DING
YAN ZHONG, Defendants.                                ORDER GRANTING MOTION TO DISMISS
                                                      [Dkt. 44]


Counsel: [*1] For Fireworks Lady And Co.,
L.L.C., Plaintiff: Celeste Brustowicz, LEAD           I. INTRODUCTION
ATTORNEY, Cooper Law Firm, New Orleans, LA
USA; Samuel Franklin Trussell, LEAD                   Plaintiff Fireworks Lady & Co., LLC ("Fireworks
ATTORNEY, Samuel F Trussell APLC, Palm                Lady") brings this putative class action against
Desert, CA USA; Barry J Cooper, Jr, PRO HAC           Defendants Firstrans International Co. ("Firstrans"),
VICE, Cooper Law Firm LLC, New Orleans, LA            Hua Yang Transportation Co. ("Hua Yang"), and
USA; Donald Creadore, PRO HAC VICE,                   Ding Yan Zhong asserting claims arising under
Creadore Law Firm PC, New York, NY USA.               both federal antitrust law and state law. (Dkt. 41
                                                      [First Amended Complaint, hereinafter "FAC"].)
                                                      Before the Court is Firstrans's motion to dismiss
For Firstrans International Company, Defendant:
                                                      Plaintiff's [*2] First Amended Complaint pursuant
Diana M Feinstein, Gibson Dunn and Crutcher
                                                      to Federal Rule of Civil Procedure 12(b)(6). (Dkt.
LLP, Los Angeles, CA USA; Joseph R Rose,
                                                      44 [hereinafter "Mot."].) For the following reasons,
Gibson Dunn and Crutcher LLP, San Francisco,
                                                      the motion is GRANTED.1
CA USA; Joshua Lipton, PRO HAC VICE, Gibson
Dunn and Crutcher LLP, Washington, DC USA;
Richard Parker, Gibson Dunn and Crutcher LLP,         II. BACKGROUND
Washington, DC USA.
                                                      This lawsuit arises out of Defendants' alleged
                                                      monopolization of the fireworks shipping business.
                                                      Defendant Firstrans is allegedly an Indiana
Judges: CORMAC J. CARNEY, UNITED                      corporation that specializes in the shipping of
STATES DISTRICT JUDGE.                                fireworks from the People's Republic of China



                                                      1 Having read and considered the papers presented by the parties, the
Opinion by: CORMAC J. CARNEY
                                                      Court finds this matter appropriate for disposition without a hearing.
                                                      See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
                                                      for August 12, 2019, at 1:30 p.m. is hereby vacated and off calendar.
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("PRC") to the United States. (FAC ¶¶ 48, 71.)            similarly situated buyers. (Id. ¶ 43.)
Defendant Hua Yang was allegedly an Indiana
corporation that, after several name changes,             Plaintiff also brings several state law claims against
became Firstrans in 2012. (Id. ¶¶ 51-53). Defendant       Firstrans, including breach of contract, (id. ¶¶ 128-
Ding Yan Zhong is a citizen of the PRC and is             131), negligence, (id. ¶¶ 132-36), "piercing the
allegedly the current president of Firstrans. (Id. ¶¶     corporate veil," (id. ¶¶ 137-152), civil conspiracy,
50, 55.)                                                  (id. ¶¶ 153-156), Florida's Deceptive Trade
                                                          Practices Act claims, (id. ¶¶ 157-160), and unjust
Plaintiff, a Florida fireworks merchant, purchases        enrichment, (id. ¶¶ 161-64).
fireworks from nonparty manufacturers located in
the inland Hunan and Jiangxi provinces of the PRC.
(Dkt. 52 [Opp'n] at 1.) According to the First            III. LEGAL STANDARD
Amended Complaint, the fireworks' journey from
                                                        A motion to dismiss under Rule 12(b)(6) tests the
these manufacturers to Plaintiff's place of business
                                                        legal sufficiency of the claims asserted in the
occurs in two distinct stages. First, the fireworks
                                                        complaint. The issue on a motion to dismiss for
are shipped from Hunan and Jiangxi provinces to
                                                        failure to state a claim is not whether the claimant
Shanghai. (FAC ¶¶ 4-15.) Next, they are shipped
                                                        will ultimately prevail, but whether the claimant is
from Shanghai to the United States. (Id. ¶ 16.) The
                                                        entitled to offer evidence to support the claims
PRC heavily regulates the transportation [*3] of
                                                        asserted. Gilligan v. Jamco Dev. Corp., 108 F.3d
fireworks and requires fireworks carriers to obtain
                                                        246, 249 (9th Cir. 1997). Rule 12(b)(6) is read in
special permits. (Id. ¶ 4.) According to Plaintiff, the
                                                        conjunction with Rule 8(a), which requires only a
Defendants hold one of only four permits that the
                                                        short and plain statement of the claim showing that
PRC has issued to companies engaged in shipping
                                                        the pleader is entitled to relief. Fed. R. Civ. P.
fireworks from the inland provinces to Shanghai.
(Id. ¶ 11.)                                             8(a)(2). When evaluating a Rule 12(b)(6) motion,
                                                        the district court must accept all material
Plaintiff utilizes Defendants' shipping services to allegations in the complaint as true and construe
carry the fireworks it purchases from the nonparty them in the light most favorable to the nonmoving
manufacturers to its locations in the United States. party. Moyo v. Gomez, 32 F.3d 1382, 1384 (9th
(Id. ¶ 20.) Plaintiff's allegations arise out of this Cir. 1994). The district court may also consider
business relationship. Plaintiff asserts that Firstrans additional facts in materials that the district court
has violated federal antitrust laws in two ways. may take judicial notice, [*5] Barron v. Reich, 13
First, it alleges that Firstrans has established an F.3d 1370, 1377 (9th Cir. 1994), as well as
unlawful tying arrangement by conditioning the "documents whose contents are alleged in a
shipment from the inland provinces to Shanghai on complaint and whose authenticity no party
customers continuing to use their shipping services questions, but which are not physically attached to
from Shanghai to the United States. (Id. ¶ 107.) the pleading," Branch v. Tunnell, 14 F.3d 449, 454
This arrangement allegedly prevents Plaintiff from (9th Cir. 1994), overruled in part on other grounds
utilizing the services of other merchants who would by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119
otherwise be willing to ship Plaintiff's fireworks at (9th Cir. 2002).
lower costs. (Id. ¶ 20.) Next, Plaintiff alleges that
Defendants       have     engaged      in     unlawful However, "the tenet that a court must accept as true
monopolization of inland transportation services. all of the allegations contained in a complaint is
(Id. ¶ 121.) This monopolization allegedly allows inapplicable to legal conclusions." Ashcroft v.
Firstrans to charge [*4] inflated prices for their Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L.
shipping services, causing injury to Plaintiff and Ed. 2d 868 (2009); see also Bell Atl. Corp. v.
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Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167         Cascade Health Sols. v. PeaceHealth, 515 F.3d
L. Ed. 2d 929 (2007) (stating that while a complaint     883, 912 (9th Cir. 2008). "Tying arrangements are
attacked by a Rule 12(b)(6) motion to dismiss does       forbidden on the theory that, if the seller has market
not need detailed factual allegations, courts "are not   power over the tying product, the seller can
bound to accept as true a legal conclusion couched       leverage this market power through tying
as a factual allegation" (citations and quotes           arrangements to exclude other sellers of the tied
omitted)). Dismissal of a complaint for failure to       product." Id. To establish Section 1 liability based
state a claim is not proper where a plaintiff has        on a tying arrangement, a plaintiff must allege "(1)
alleged "enough facts to state a claim to relief that    that the defendant tied together the sale of two
is plausible on its face." Twombly, 550 U.S. at 570.     distinct products or services, (2) [*7] that the
In keeping with this liberal pleading standard, the      defendant possesses enough economic power in the
district court should grant the plaintiff leave to       tying product market to coerce its customers into
amend if the complaint can possibly be cured by          purchasing the tied product, and (3) that the tying
additional factual allegations. Doe v. United States,    arrangement affects a 'not insubstantial volume of
58 F.3d 494, 497 (9th Cir. 1995).                        commerce' in the tied product market." Id. at 913
                                                         (quoting Paladin Assocs., Inc. v. Mont. Power Co.,
                                                         328 F.3d 1145, 1159 (9th Cir. 2003)).
III. ANALYSIS
                                                      Firstrans argues that Plaintiff has failed to plead the
                                                      first element of a tying arrangement: a tie between
                                                      two distinct products or services. The Court agrees.
A. Tying Claim (Count I)                              To establish a tie between "distinct products or
                                                      services," a plaintiff must allege facts that show "a
Plaintiff's first claim alleges that Defendants
                                                      sufficient demand for the purchase of the tied
violated Section 1 of the Sherman Act by
                                                      product separate from the tying product." Rick-Mik
unlawfully tying the purchase of their "inland
                                                      Enters. Inc. v. Equilon Enters., LLC, 532 F.3d 963,
delivery services" to the purchase of their
                                                      974 (9th Cir. 2008). Plaintiff's First Amended
Shanghai-to-United States delivery services. [*6]
                                                      Complaint, however, does not allege sufficient facts
(FAC ¶ 107.) According to Plaintiff, Defendants
                                                      to establish two distinct services. It only alleges
agree to ship fireworks from the inland provinces to
                                                      facts showing two separate segments of a single
Shanghai only after Plaintiff promises to use
                                                      journey. Fireworks purchasers in the United States
Defendant's services on the Shanghai-to-United
                                                      have no use for a service that delivers fireworks
States leg. (Id. ¶ 108.) Because Defendants
                                                      from the inland provinces to Shanghai without one
allegedly provide the only viable shipping service
                                                      that, in turn, ships those fireworks from Shanghai to
from inland to Shanghai, Plaintiff has no choice but
                                                      the United States. See Unigestion Holding, S.A. v.
to do business with them for this leg of the journey
                                                      UPM Tech., Inc., 305 F. Supp. 3d 1134, 1150 (D.
and agree to the tying arrangement. (Id. ¶ 19.)
                                                      Or. 2018) (rejecting claim that international phone
Plaintiff alleges that by being forced to agree with
                                                      termination services and transportation services
Defendants, it cannot seek out the services of other
                                                      were distinct products because Plaintiff did not
carriers who would be willing to ship from
                                                      "sufficiently allege[] that there is [*8] independent
Shanghai to the United States at a lower cost. (Id. ¶
                                                      consumer        demand      for   international    call
21.)
                                                      transportation services as a standalone product.").
In a tying arrangement, a "seller conditions the sale Contrary to Plaintiff's assertion, shipping fireworks
of one product (the tying product) on the buyer's from producers in the PRC to purchasers in the
purchase of a second product (the tied product)." United States is a single service, not a tie between
                                                      each of the different segments of that service. See
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Debjo Sales, LLC v. Houghton Mifflin Harcourt           monopolization claim centers around Sinotrans
Publ'g Co., 2015 U.S. Dist. LEXIS 56504, 2015 WL        Hunan Co. ("Sinotrans"), an alleged state-owned
1969380, at *4 (D.N.J. Apr. 29, 2015) (holding that     enterprise that began offering the same shipping
defendant's production of textbooks and delivery of     services as Firstrans sometime in 2018. According
those same textbooks were not distinct services and     to Plaintiff, Sinotrans secured government permits
could not form the basis of a tying claim).             which allowed it to participate in the shipment of
                                                        fireworks and compete with Firstrans. (Dkt. 52
The Court previously dismissed Plaintiff's tying        [Opp'n] at 6.) After a short period of time, however,
claim with leave to amend. (Dkt. 39.) Because           "Sinotrans terminated service due to the fact that it
Plaintiff has failed to cure the deficiencies in this   was losing money." (FAC ¶ 126.) Though Plaintiff
claim despite being given an opportunity to do so,      alleges that Sinotrans's exit was caused by "an
and because the Court does not believe that             exercise of monopoly powers by Defendants," (id.),
Plaintiff can cure the deficiencies, the Court finds    it fails to allege any facts that [*10] show Firstrans
that granting further leave to amend would be           engaged in any specific predatory conduct designed
futile. Accordingly, Plaintiff's tying claim is         to eliminate Sinotrans. Given that such conduct is
DISMISSED WITH PREJUDICE.                               required to state a valid monopolization claim,
                                                        Firstrans's motion to dismiss with respect to this
                                                        claim is GRANTED. Because it is unclear whether
B. Monopolization Claim (Count II)
                                                        the deficiencies in the First Amended Complaint
Plaintiff's second claim alleges that Defendants        could be cured by amendment, Plaintiff's
violated the Section 2 of the Sherman Act "by           monopolization claim is DISMISSED WITH
monopolizing the market for inland transportation       FOURTEEN DAYS' LEAVE TO AMEND.
services from Hunan and Jiangxi provinces to
Shanghai." (FAC ¶ 121.) To state a valid
                                                        C. State Law Claims (Counts III—VIII)
monopolization claim, Plaintiff must allege both (1)
the [*9] possession of monopoly power and (2)           Plaintiff's first state law claim alleges breach of
"the willful acquisition or maintenance of that         contract by Defendants. Plaintiff asserts that
power as distinguished from growth or                   "Defendants have breached their agreed upon
development as a consequence of a superior              responsibilities and obligations causing Plaintiff to
product, business acumen, or historic accident."        suffer damages." (Id. ¶ 130.) Under California law,
Verizon Commc'n Inc. v. Law Offices of Curtis V.        "the elements of a cause of action for breach of
Trinko, LLP, 540 U.S. 398, 407, 124 S. Ct. 872, 157     contract are (1) the existence of the contract, (2)
L. Ed. 2d 823 (2004) (quoting United States v.          plaintiff's     performance     or     excuse      for
Grinnell Corp., 384 U.S. 563, 571-72, 86 S. Ct.         nonperformance, (3) defendant's breach, and (4) the
1698, 16 L. Ed. 2d 778 (1966)). "The Supreme            resulting damages to the plaintiff." Oasis W. Realty,
Court has consistently held that there must be          LLC v. Goldman, 51 Cal. 4th 811, 821, 124 Cal.
'predatory' conduct to attain or perpetuate a           Rptr. 3d 256, 250 P.3d 1115 (2011). "While it is
monopoly" for this second element to be met. See        unnecessary for a plaintiff to allege the terms of a
Alaska Airlines, Inc. v. United Airlines, Inc., 948     contract with precision, the Court must be able to
F.2d 536, 549 (9th Cir. 1991) (refusing to impose       discern at least what material obligation of the
Section 2 liability on airline companies absent         contract the defendant allegedly breached." Langan
evidence of predatory conduct).                         v. United Servs. Auto. Ass'n, 69 F. Supp. 3d 965,
Plaintiff has failed to allege that Firstrans engaged   979 (N.D. Cal. 2014) (internal citations omitted).
in any such predatory conduct. Plaintiff's              Plaintiff's First Amended [*11] Complaint fails to
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meet this requirement because it does not offer        Plaintiff's next cause of action asks the Court to
evidence of any specific obligation that Firstrans     "pierce the corporate veil to obtain a court order as
allegedly breached. Instead, it alleges only that      [sic] against individual defendant Mr. Ding." (FAC
"Defendants have breached their agreed upon            ¶ 126.) However, piercing the corporate veil is not
responsibilities and obligations causing Plaintiff to  an independent cause of action, but rather a
suffer damages." (FAC ¶ 130.) Plaintiff cannot         procedural device that allows courts to disregard a
validly state a breach of contract claim without       corporate entity and hold individuals liable for the
pointing to a specific obligation or duty breached     corporation's obligations. See Hennessey's Tavern,
by Firstrans. Firstrans's motion to dismiss with       Inc. v. Am. Air Filter Co., 204 Cal. App. 3d 1351,
respect to this claim is GRANTED. Because it is        1359, 251 Cal. Rptr. 859 (1988). Under California
unclear whether the deficiencies in the First          law, two conditions must be met before courts are
Amended Complaint could be cured by                    permitted to invoke this doctrine. First, there must
amendment, Plaintiff's breach of contract claim is     be "such a unity of interest [*13] and ownership
DISMISSED WITH FOURTEEN DAYS'                          between the corporation and its equitable owner"
LEAVE TO AMEND.                                        that separate personalities do not exist. Sonora
                                                       Diamond Corp. v. Superior Court, 83 Cal. App. 4th
Plaintiff's next state law claim is under a negligence 523, 538, 99 Cal. Rptr. 2d 824 (2000). Next, "there
theory and stems from the alleged mishandling of must be an inequitable result if the acts in question
two fireworks containers purchased by Plaintiff. are treated as those of the corporation alone." Id.
The elements of negligence are duty, breach, Piercing the corporate veil is "an extreme remedy,
causation, and damages. See Burgess v. Superior sparingly used" by courts. Id.
Court, 2 Cal. 4th 1064, 1072, 9 Cal. Rptr. 2d 615,
831 P.2d 1197 (1992). According to Plaintiff, after Plaintiff has not alleged any facts to suggest that it
it filed this action against Firstrans, Firstrans is appropriate for the Court to pierce the corporate
substituted another vendor to deliver one of veil in this case. Plaintiff's sole allegation regarding
Plaintiff's pending orders. (Dkt. 52 [Opp'n] at 13.) this claim is that "Mr. Ding dominates and controls
Plaintiff alleges that Firstrans acted negligently the corporate defendants Firstrans and Hua Yang."
when it substituted this vendor without notifying (FAC ¶ 138.) This allegation alone does not
Plaintiff [*12] because those fireworks were provide sufficient grounds for the application of the
subsequently damaged. (Id.)                            doctrine. Firstrans's motion to dismiss with respect
                                                       to this claim is GRANTED. Because it is unclear
Plaintiff alleges no facts to indicate that defendant whether the deficiencies in the First Amended
acted negligently in selecting the substitute vendor. Complaint could be cured by amendment,
Nor does Plaintiff allege any causal connection Plaintiff's "piercing the corporate veil" claim is
between Firstrans's selection of the new vendor and DISMISSED WITH FOURTEEN DAYS'
Plaintiff's alleged damages. Plaintiffs' boilerplate LEAVE TO AMEND.
recitations of the elements of a negligence action
are insufficient to state a claim. See Twombly, 550 Plaintiff also brings a claim under the Florida
U.S. at 556-57. Firstrans's motion to dismiss with Deceptive and Unfair Trade Practices Act
respect to this claim is GRANTED. Because it is ("FDUTPA"), Fla. Stat. Ann. § 501.201, et seq. To
unclear whether the deficiencies in the First state a claim under the FDUTPA, a plaintiff must
Amended Complaint could be cured by allege (1) a deceptive act or unfair practice, (2)
amendment, Plaintiff's negligence claim is causation, and (3) actual damages. Rollins, Inc. v.
DISMISSED WITH FOURTEEN DAYS' Butland, 951 So. 2d 860, 869 (Fla. Ct. App. 2006).
LEAVE TO AMEND.                                        A deceptive [*14] practice is "one that is likely to
                                                       mislead consumers," whereas an unfair practice is
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"one that offends established public policy and one       resulting from such act or acts. Younan v. Equifax,
that is immoral, unethical, oppressive, unscrupulous      Inc., 111 Cal. App. 3d 498, 511 n.9, 169 Cal. Rptr.
or substantially injurious to consumers." Tuckish v.      478 (1980). A civil conspiracy "must be activated
Pompano Motor Co., 337 F. Supp. 2d 1313, 1320             by the commission of an actual tort," Applied
(S.D. Fla. 2004) (internal quotation marks and            Equip. Corp., 7 Cal. 4th at 511, or other wrong,
citations omitted). The FDUTPA can be violated in         Younan, 111 Cal. App. 3d at 511 n.9.
two ways: "(1) a per se violation premised on the
violation of another law proscribing unfair or            Plaintiff's First Amended Complaint fails to allege
deceptive practice and (2) adopting an unfair or          that such a tort has been committed. Rather,
deceptive practice." Hap v. Toll Jupiter Ltd. P'ship,     Plaintiff's claims for civil conspiracy are entirely
2009 U.S. Dist. LEXIS 5866, 2009 WL 187938, at            premised on Defendants' alleged antitrust
*9 (S.D. Fla. Jan. 27, 2009).                             violations. (FAC ¶ 154.) Because Plaintiffs failed to
                                                          allege sufficient facts to establish such violations,
Given that Plaintiff has failed to plead that Firstrans   there is no independent wrongful act on which to
violated any law proscribing unfair or deceptive          base their civil conspiracy claims. Firstrans's
practices, the first approach is inapplicable here.       motion [*16] to dismiss with respect to this claim
Nor can Plaintiff rely on the second approach.            is GRANTED. Because it is unclear whether the
Plaintiff's First Amended Complaint merely asserts,       deficiencies in the First Amended Complaint could
without support, that "[t]he acts described above . .     be cured by amendment, Plaintiff's civil conspiracy
. are both deceptive and unfair." (FAC ¶ 158.)            claim is DISMISSED WITH FOURTEEN
Plaintiff fails to allege any specific actions taken by   DAYS' LEAVE TO AMEND.
Firstrans that were deceptive or unfair. Again,
"[t]hreadbare recitals of the elements of a cause of    Plaintiff's final cause of action alleges that Firstrans
action, supported by mere conclusory statements,"       has been unjustly enriched by the inflated prices it
cannot alone defeat a motion to dismiss. See Iqbal,     allegedly charges for the shipment of fireworks.
556 U.S. at 678. Firstrans's motion to dismiss with     (FAC ¶¶ 161-64.) Under California law, unjust
respect to this claim is GRANTED. Because it is         enrichment is not an independent cause of action,
unclear whether the deficiencies [*15] in the First     but rather the theory "underlying a claim that a
Amended Complaint could be cured by                     defendant has been unjustly conferred a benefit
amendment, Plaintiff's FDUTPA claim is                  'through mistake, fraud, coercion, or request.'"
DISMISSED WITH FOURTEEN DAYS'                           Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753,
LEAVE TO AMEND.                                         762 (9th Cir. 2015) (quoting 55 Cal. Jur. 3d
                                                        Restitution § 2). A plaintiff seeks the return of that
Plaintiff's next cause of action alleges that Firstrans benefit typically in a quasi-contract cause of action.
engaged in a civil conspiracy. (FAC ¶¶ 153-56.) Id. Here, Plaintiff alleges that the prices it paid for
However, "[c]onspiracy is not a cause of action, but shipping services unjustly conferred a benefit on
a legal doctrine that imposes liability on persons Firstrans. (FAC ¶ 162.) However, Plaintiff alleges
who, although not actually committing a tort no facts to indicate that defendant received this
themselves, share with the immediate tortfeasors a benefit unjustly. Plaintiff does not allege how any
common plan or design in its perpetration." Applied benefit was obtained through "mistake, fraud,
Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th coercion, or request." Astiana, 783 F.3d at 762
503, 510-11, 28 Cal. Rptr. 2d 475, 869 P.2d 454 (internal quotations omitted). The bare allegation
(1994). To state a claim for civil conspiracy, a that Firstrans was unjustly enriched "as a
plaintiff must allege (1) the formation and result [*17] of [its] wrongful and illegal conduct"
operation of a conspiracy, (2) the wrongful act or is insufficient to survive a motion to dismiss. See
acts done pursuant thereto, and (3) the damage Iqbal, 556 U.S. at 678. Firstrans's motion to dismiss
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with respect to this claim is GRANTED. Because
it is unclear whether the deficiencies in the First
Amended Complaint could be cured by
amendment, Plaintiff's unjust enrichment claim is
DISMISSED WITH FOURTEEN DAYS'
LEAVE TO AMEND.


IV. CONCLUSION

For the foregoing reasons, Firstrans's motion is
GRANTED. Plaintiff's tying claim is DISMISSED
WITH PREJUDICE. The remainder of Plaintiff's
claims are DISMISSED WITH FOURTEEN
DAYS' LEAVE TO AMEND.

DATED: August 8, 2019

/s/ Cormac J. Carney

CORMAC J. CARNEY

UNITED STATES DISTRICT JUDGE


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                        Tab 11
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                                          Gariety v. Thornton
                  United States District Court for the Southern District of West Virginia
                                 May 19, 2006, Decided; May 19, 2006, Filed
   CIVIL ACTION NO. 1:02-0344; CIVIL ACTION NO. 2:99-1115; CIVIL ACTION NO. 2:99-0992

Reporter
2006 U.S. Dist. LEXIS 114864 *


DEBRA GARIETY, et al., Plaintiffs, v. GRANT            For Nancy Vorono, Defendant (1:02-cv-00344):
THORNTON, LLP, et al., Defendants, and                 David D. Johnson, III, Larry Andrew Winter,
THOMAS ALLEN, Plaintiff, v. GRANT                      LEAD ATTORNEYS, WINTER JOHNSON &
THORNTON, LLP, et al., Defendantsi and                 HILL, Charleston, WV.
DEBRA GARIETY, et al., Plaintiffs, v. TERRY
LEE CHURCH, et al., Defendants.                        For Ellen Turpin, Lora McKinney,
                                                       Defendants [*2] (1:02-cv-00344): Thomas W.
                                                       Smith, LEAD ATTORNEY, OFFICE OF THE
Counsel: [*1] For Debra Gariety, Plaintiff (1:02-      ATTORNEY GENERAL, State Capitol Complex,
                                                       Charleston, WV.
cv-00344): Joshua I. Barrett, Rudolph L.
DiTrapano, Sean P. McGinley, LEAD
ATTORNEYS, DITRAPANO BARRETT &                         For Vida Headrick, Defendant (1:02-cv-00344):
DIPIERO, Charleston, WV; Sara D. Bookbinder,           Shawn P. George, LEAD ATTORNEY, GEORGE
Sigmund S. Wissner-Gross, Sigmund S. Wissner-          & LORENSEN, Charleston, WV.
Gross, LEAD ATTORNEYS, HELLER
HOROWITZ & FEIT, New York, NY.                         Donna Dickerson, Defendant (1:02-cv-00344), Pro
                                                       se, Kyle, WV.
For Bischoff Family Trust, Pamela Hanyzewki,
John J. Cline, Thomas J. Shannon, Jr., as Trustee,     Mary White, Defendant (1:02-cv-00344), Pro se,
Natural Parent and Guardian of, Crystal N.             Welch, WV.
Shannon, SMV Holding Company, PLL, Vincent
Paul, Charles Thornton, Individually, and as
Trustee of, Charles Thornton, S.E.P, Fred L.           For Evelyn Herron, Jeanie Wimmer, Defendants
Millner, Warren H. Hyde, Caryl Hyde, Teen              (1:02-cv-00344): William B. Flanigan, LEAD
Response, Inc., Elizabeth B. Sponseller, Michael J.    ATTORNEY, SANDERS AUSTIN FLANIGAN &
Sponseller, Terry Overholser, and, Lawrence            FLANIGAN, Princeton, WV.
Corman, on behalf of themselves and all others
similarly situated, Plaintiffs (1:02-cv-00344):        For Virginia Burks, Defendant (1:02-cv-00344):
Joshua I. Barrett, Rudolph L. DiTrapano, Sean P.       Donald Lee Stennett, Jonathan B. Bompiani, LEAD
McGinley, LEAD ATTORNEYS, DITRAPANO                    ATTORNEYS, ROBINSON & McELWEE,
BARRETT & DIPIERO, Charleston, WV; Sara D.             Charleston, WV.
Bookbinder, Sigmund S. Wissner-Gross, LEAD
ATTORNEYS, HELLER HOROWITZ & FEIT,
New York, NY.                                          For Constance Evans, Defendant (1:02-cv-00344):
                                                       Donald Lee Stennett, LEAD ATTORNEY,
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Jonathan B. Bompiani, ROBINSON & McELWEE,              Corman, on behalf of themselves and all others
Charleston, WV.                                        similarly situated, Plaintiffs (2:99cv1115): Joshua I.
                                                       Barrett, Rudolph L. DiTrapano, Sean P. McGinley,
Rita Lassak, Defendant (1:02-cv-00344), Pro se,        LEAD ATTORNEYS, DITRAPANO BARRETT
                                                       & DIPIERO, Charleston, WV USA; Sara D.
Elkhorn, WV.
                                                       Bookbinder, Sigmund S. Wissner-Gross,
                                                       LEAD [*4] ATTORNEYS, HELLER
For Debra Bailey, Defendant: David M. Kersey,          HOROWITZ & FEIT, New York, NY USA.
LEAD ATTORNEY, BREWSTER MORHOUS
CAMERON, CARUTH MOORE KERSEY &
                                                       For Nancy Vorono, Defendant (2:99cv1115): David
STAFFORD, Bluefield, WV; Jerry J. Cameron,
                                                       D. Johnson, III, Larry Andrew Winter, LEAD
LEAD ATTORNEY, BREWSTER MORHOUS
                                                       ATTORNEYS, WINTER JOHNSON & HILL,
CAMERON, Bluefield, WV.
                                                       Charleston, WV USA.

For Susan Dalton, Defendant (1:02-cv-00344):
                                                       For Ellen Turpin, Lora Mckinney, Defendants
David M. Kersey, Jerry J. Cameron, LEAD
                                                       (2:99cv1115): Thomas W. Smith, LEAD
ATTORNEYS, BREWSTER MORHOUS
                                                       ATTORNEY, OFFICE OF THE ATTORNEY
CAMERON, CARUTH MOORE KERSEY &
                                                       GENERAL, Charleston, WV USA.
STAFFORD, [*3] Bluefield, WV.

                                                       For Vida Headrick, Defendant (2:99cv1115):
For City National Bank, and, Defendant (1:02-cv-
                                                       Shawn P. George, LEAD ATTORNEY, GEORGE
00344): Ancil G. Ramey, Kara Cunningham
                                                       & LORENSEN, Charleston, WV USA.
Williams, LEAD ATTORNEYS, STEPTOE &
JOHNSON, Charleston, WV; John W. Alderman,
III, LEAD ATTORNEY, CITY HOLDING                       Donna Dickerson, Defendant (2:99cv1115), Pro se,
COMPANY, Cross Lanes, WV.                              Kyle, WV USA.


For Debra Gariety, Plaintiff (2:99cv1115): Joshua I.   Mary White, Defendant (2:99cv1115), Pro se,
Barrett, Rudolph L. DiTrapano, Sean P. McGinley,       Welch, WV USA.
LEAD ATTORNEYS, DITRAPANO BARRETT
& DIPIERO, Charleston, WV USA; Sara D.                 For Evelyn Herron, Jeanie Wimmer, Defendants
Bookbinder, Sigmund S. Wissner-Gross, LEAD             (2:99cv1115): William B. Flanigan, LEAD
ATTORNEYS, HELLER HOROWITZ & FEIT,                     ATTORNEY, SANDERS AUSTIN FLANIGAN &
New York, NY USA.                                      FLANIGAN, Princeton, WV USA.

For as Trustee of, Bischoff Family Trust, Pamela       For Virginia Burks, Constance Evans, Defendants
Hanyzewki, John J. Cline, Thomas J. Shannon, Jr.,      (2:99cv1115): Donald Lee Stennett, Jonathan B.
as Trustee, Natural Parent and Guardian of, Crystal    Bompiani, LEAD ATTORNEYS, ROBINSON &
N. Shannon, Smv Holding Company, Pll, Vincent          McELWEE, Charleston, WV USA.
Paul, Charles Thornton, Individually, and as
Trustee of, Charles Thornton, S.E.P, Fred L.
Millner, Warren H. Hyde, Caryl Hyde, Teen              Rita Lassak, Defendant (2:99cv1115), Pro se,
Response, Inc., Elizabeth B. Sponseller, Michael J.    Elkhorn, WV USA.
Sponseller, Terry Overholser, and, Lawrence
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For Debra Bailey, Defendant (2:99cv1115): David      Individually and as Trustee [*6] of, Charles
M. Kersey, LEAD ATTORNEY, BREWSTER                   Thornton, S.E.P., Fred L. Millner, Warren H. Hyde,
MORHOUS CAMERON, Caruth Moore Kersey &               Caryl Hyde, Teen Response, Inc., Elizabeth B.
Stafford, Bluefield, WV USA; Jerry J. Cameron,       Sponseller, Michael J. Sponseller, Terry
LEAD ATTORNEY, BREWSTER MORHOUS                      Overholser, and, Lawrence Corman, on behalf of
CAMERON, Bluefield, WV USA.                          themselves and all others similarly situated,
                                                     Plaintiffs (2:99cv992): Clifford J. Bond, Sara D.
                                                     Bookbinder, Sigmund S. Wissner-Gross, LEAD
For Susan Dalton, Defendant (2:99cv1115): [*5]
David M. Kersey, Jerry J. Cameron, LEAD              ATTORNEYS, HELLER HOROWITZ & FEIT,
ATTORNEYS, BREWSTER MORHOUS                          New York, NY USA; Joshua I. Barrett, Rudolph L.
CAMERON, Caruth Moore Kersey & Stafford,             DiTrapano, Sean P. McGinley, LEAD
Bluefield, WV USA.                                   ATTORNEYS, DITRAPANO BARRETT &
                                                     DIPIERO, Charleston, WV USA.

For Tammy Fisher, Defendant (2:99cv1115): Keith
                                                     For Thomas Allen, Individually and on Behalf of
A. Jones, LEAD ATTORNEY, JONES LAW
                                                     All Others Similarly Situated, Consol Plaintiff
GROUP, Charleston, WV USA.
                                                     (2:99cv992): Daniel B. Scotti, Janine L. Pollack,
                                                     Samuel H. Rudman, Steven G. Schulman, LEAD
For City National Bank, and, Defendant               ATTORNEYS, MILBERG WEISS BERSHAD
(2:99cv1115): Ancil G. Ramey, Kara Cunningham        HYNES & LERACH, New York, NY USA; L.
Williams, LEAD ATTORNEYS, STEPTOE &                  Thomas Galloway, LEAD ATTORNEY,
JOHNSON, Charleston, WV USA; John W.                 GALLOWAY & ASSOCIATES, Boulder, CO
Alderman, III, LEAD ATTORNEY, CITY                   USA; Marc R. Stanley, LEAD ATTORNEY,
HOLDING COMPANY, Cross Lanes, WV USA.                STANLEY LAW GROUP, Dallas, TX USA; R. R.
                                                     Fredeking, II, LEAD ATTORNEY, FREDEKING
For United Bank, Inc., formerly United National      & FREDEKING, Huntington, WV USA; R. Bruce
Bank, Movant (2:99cv992): William W. Booker,         McNew, LEAD ATTORNEY, TAYLOR &
LEAD ATTORNEY, KAY CASTO & CHANEY,                   MCNEW, Greenville, DE USA.
Charleston, WV USA.
                                                     For Federal Deposit Insurance Corporation, Consol
For Debra Gariety, Plaintiff (2:99cv992): Clifford   Plaintiff (2:99cv992): Brad A. Harman, Suzanne
J. Bond, Sara D. Bookbinder, Sigmund S. Wissner-     Rigby, Brad A. Harman, David Mullin, John G.
Gross, LEAD ATTORNEYS, HELLER                        Turner, [*7] III, Robert R. Bell, LEAD
HOROWITZ & FEIT, New York, NY USA;                   ATTORNEYS, MULLIN HOARD & BROWN,
Joshua I. Barrett, Rudolph L. DiTrapano, Sean P.     Amarillo, TX USA; John A. Davidovich, John A.
McGinley, LEAD ATTORNEYS, DITRAPANO                  Davidovich, John Wessling, LEAD ATTORNEYS,
BARRETT & DIPIERO, Charleston, WV USA; as            FEDERAL DEPOSIT INSURANCE
Trustee of Bischoff Family Trust.                    CORPORATION, Washington, DC USA; Stephen
                                                     M. Horn, LEAD ATTORNEY, UNITED STATES
                                                     ATTORNEY'S OFFICE, Charleston, WV USA;
For Horst O. Bischoff as Trustee of Bischoff
                                                     Stephen M. Horn, LEAD ATTORNEY, UNITED
Family Trust, Pamela Hanyzewki, John J. Cline,
                                                     STATES ATTORNEY'S OFFICE, Charleston, WV
Thomas J. Shannon, Jr., as Trustee, Natural Parent
                                                     USA.
and Guardian of, Crystal N. Shannon, Smv Holding
Company, Pll, Vincent Paul, Charles Thornton,
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For Grant Thornton, Llp, Defendant (2:99cv992):      Defendants (2:99cv992): James M. Cagle, LEAD
Andrew J. Morris, Craig Isenberg, LEAD               ATTORNEY, Charleston, WV USA.
ATTORNEYS, MAYER BROWN ROWE &
MAW, Washington, DC USA; Eric M. James,              For Diversified Capital Markets, Michael Patterson,
LEAD ATTORNEY, SPILMAN THOMAS &                      Defendants (2:99cv992): Paul D. Krepps, Paul D.
BATTLE, Charleston, WV USA; James K. Tinney,         Kruper, LEAD ATTORNEYS, MARSHALL
John H. Tinney, Kimberley R. Fields, LEAD            DENNEHEY WARNER COLEMAN & GOGGIN,
ATTORNEYS, THE TINNEY LAW FIRM,                      Pittsburgh, PA USA.
Charleston, WV USA; Mark W. Ryan, LEAD
ATTORNEY, MAYER BROWN & PLATT,
Washington, DC USA; Stanley J. Parzen, LEAD          For Michael Patterson, Inc., also known as, MPI
ATTORNEY, MAYER BROWN, Chicago, IL                   Financial, Defendant (2:99cv992): Paul D. Krepps,
USA.                                                 LEAD ATTORNEY, MARSHALL DENNEHEY
                                                     WARNER COLEMAN & GOGGIN, Pittsburgh,
                                                     PA USA.
For Michael Graham, Defendant (2:99cv992):
Michael Fisher, LEAD ATTORNEY, OFFUTT
FISHER & NORD, Charleston, WV USA; Michael           For Billie Jean Cherry, Consol Defendant
M. Fisher, LEAD ATTORNEY, JACKSON                    (2:99cv992): Edward D. McDevitt, LEAD
KELLY, Charleston, WV USA.                           ATTORNEY, BOWLES RICE, Charleston, WV
                                                     USA.

For Billy Jean Cherry, Defendant (2:99cv992):
Edward D. McDevitt, Kenneth E. Webb, Jr., LEAD       For Marbil, Inc., Intervenor Defendants
ATTORNEYS, BOWLES RICE, Charleston, WV               (2:99cv992): James M. Cagle, LEAD
USA; Nathan A. Hicks, Jr., LEAD ATTORNEY,            ATTORNEY, Charleston, WV USA. [*9]
HICKS [*8] LAW OFFICE, Charleston, WV
USA.                                                 For Michael Graham, Intervenor Defendant
                                                     (2:99cv992): Michael M. Fisher, LEAD
For Terry Lee Church, J&J Construction Company,      ATTORNEY, JACKSON KELLY, Charleston,
Hermie Church, Defendants (2:99cv992): James M.      WV USA.
Cagle, LEAD ATTORNEY, Charleston, WV USA.
                                                     For Billy Jean Cherry, Intervenor Defendant
For Louis J. Pais, Michael F. Gibson, Andrew L.      (2:99cv992): Edward D. McDevitt, Kenneth E.
Rago, Julian G. Budnick, Defendants (2:99cv992):     Webb, Jr., LEAD ATTORNEYS, BOWLES RICE,
Michael W. Carey, LEAD ATTORNEY, CAREY               Charleston, WV USA.
SCOTT DOUGLAS & KESSLER, Charleston, WV
USA.                                                 For Louis J. Pais, Michael F. Gibson, Andrew L.
                                                     Rago, Julian G. Budnick, Daniel T. Halsey, Sunrise
For Gary Ellis, Defendant (2:99cv992): Benjamin      Automotive Group, Inc., Intervenor Defendants
L. Bailey, Benjamin L. Bailey, Darren T. Olofson,    (2:99cv992): Michael W. Carey, LEAD
LEAD ATTORNEYS, BAILEY & GLASSER,                    ATTORNEY, CAREY SCOTT DOUGLAS &
Charleston, WV USA.                                  KESSLER, Charleston, WV USA.


For J&J Construction Company, Hermie Church,         For David Rapoff, Intervenor Defendant
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(2:99cv992): Barry Short, Jeffrey B. Hunt, LEAD       For Douglas C. Turpin, Interested Party
ATTORNEYS, LEWIS RICE & FINGERSH, St.                 (2:99cv992): William S. Winfrey, II, LEAD
Louis, MO USA; Mark W. Browning, LEAD                 ATTORNEY, Princeton, WV USA.
ATTORNEY, SHUMAN MCCUSKEY &
SLICER, Charleston, WV USA.                           For Vida Headrick, Interested Party (2:99cv992):
                                                      Shawn P. George, LEAD ATTORNEY, GEORGE
For Trustee H. Lynden Graham, Trustee                 & LORENSEN, Charleston, WV USA.
(2:99cv992): Ann R. Starcher, LEAD
ATTORNEY, LEWIS GLASSER CASEY &                       For Susan Dalton, Interested Party (2:99cv992):
ROLLINS, Charleston, WV USA; John A. Rollins,         Jerry J. Cameron, LEAD ATTORNEY,
Spencer D. Elliott, LEAD ATTORNEYS, LEWIS             BREWSTER MORHOUS CAMERON, Caruth
GLASSER, Charleston, WV USA.                          Moore Kersey & Stafford, Bluefield, WV USA.

For Hargrave Military Academy, a non-profit           For Quantum Capital Corporation, Nancy Vargo,
corporation, Interested Party (2:99cv992): Charles    Defendants (2:99cv992): John E. Lutz, Jr., LEAD
D. Dunbar, LEAD ATTORNEY, JACKSON                     ATTORNEY, RICCARDI & LUTZ, Charleston,
KELLY, Charleston, WV USA; Dana F. Eddy,              WV USA.
LEAD ATTORNEY, Charleston, WV USA.

                                                      For Nancy [*11] Vorono, and, Defendant
For Waynesburg College, a non-profit                  (2:99cv992): David D. Johnson, III, Larry Andrew
corporation, [*10] Interested Party (2:99cv992):      Winter, LEAD ATTORNEYS, WINTER
Dana F. Eddy, LEAD ATTORNEY, Charleston,              JOHNSON & HILL, Charleston, WV USA.
WV USA.

                                                      For Ellen Turpin, Lora Mckinney, Defendants
For Michael Cherry, Interested Party (2:99cv992):     (2:99cv992): Thomas W. Smith, LEAD
Nathan A. Hicks, Jr., LEAD ATTORNEY, HICKS            ATTORNEY, OFFICE OF THE ATTORNEY
LAW OFFICE, Charleston, WV USA.                       GENERAL, Charleston, WV USA.

For Office of The Comptroller of The Currency,        For Gary Ellis, Cross Claimant (2:99cv992):
Interested Party (2:99cv992): Kasey Warner,           Benjamin L. Bailey, Darren T. Olofson, LEAD
LEAD ATTORNEY, U. S. ATTORNEY'S                       ATTORNEYS, BAILEY & GLASSER,
OFFICE, Charleston, WV USA; Stephen M. Horn,          Charleston, WV USA.
LEAD ATTORNEY, UNITED STATES
ATTORNEY'S OFFICE, Charleston, WV USA;
Yvette Rivera, LEAD ATTORNEY, OFFICE OF               For Terry Lee Church, Hermie Church, J&J
THE COMPTROLLER OF THE CURRENCY,                      Construction Company, Cross Defendants
Washington, DC USA.                                   (2:99cv992): James M. Cagle, LEAD
                                                      ATTORNEY, Charleston, WV USA.

For First Commerce of America, Interested Party
(2:99cv992): Linda Robles, LEAD ATTORNEY,             For Billy Jean Cherry, Cross Defendant
FIRST COMMERCE OF AMERICA, Lake                       (2:99cv992): Edward D. McDevitt, Kenneth E.
Oswego, OR USA.                                       Webb, Jr., LEAD ATTORNEYS, BOWLES RICE,
                                                      Charleston, WV USA; Nathan A. Hicks, Jr., LEAD
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ATTORNEY, HICKS LAW OFFICE, Charleston,               Charleston, WV USA; Stanley J. Parzen, LEAD
WV USA.                                               ATTORNEY, MAYER BROWN, Chicago, IL
                                                      USA.
For Michael Graham, Cross Defendant
(2:99cv992): Michael Fisher, LEAD ATTORNEY,           For Federal Deposit Insurance Corporation, in its
OFFUTT FISHER & NORD, Charleston, WV                  capacity as Receiver for the First National Bank of
USA; Michael M. Fisher, LEAD ATTORNEY,                Keystone, Third Party Defendant (2:99cv992):
JACKSON KELLY, Charleston, WV USA.                    Brad A. Harman, Clint R. Latham, David Mullin,
                                                      John M. Brown, LEAD ATTORNEYS,
                                                      MULLIN [*13] HOARD & BROWN, Amarillo,
For Estate of J. Knox Mcconnell, Cross Defendant
                                                      TX USA; John A. Davidovich, John Wessling,
(2:99cv992): Philip C. Petty, LEAD ATTORNEY,
                                                      Mary P. Davis, LEAD ATTORNEYS, FEDERAL
Elisabeth H. Rose, Timothy J. Padden, ROSE
PADDEN & PETTY, Fairmont, WV USA.                     DEPOSIT INSURANCE CORPORATION,
                                                      Washington, DC USA; Stephen M. Horn, LEAD
                                                      ATTORNEY, UNITED STATES ATTORNEY'S
For Diversified Capital Markets, Michael Patterson,   OFFICE, Charleston, WV USA.
Cross Defendants [*12] (2:99cv992): Paul D.
Krepps, Paul D. Kruper, MARSHALL
                                                      For Terry Witt, Gregory Witt, David Witt, Scott
DENNEHEY WARNER COLEMAN & GOGGIN,
                                                      Witt, Gary Witt, Dennis Witt, Movants
Pittsburgh, PA USA.
                                                      (2:99cv992): Gregory S. Matney, LEAD
                                                      ATTORNEY, CAMPBELL & MATNEY,
For Michael Patterson, Inc., also known as, MPI       Tazewell, VA USA.
Financial, Cross Defendant (2:99cv992): Paul D.
Krepps, MARSHALL DENNEHEY WARNER
COLEMAN & GOGGIN, Pittsburgh, PA USA.
                                                      Judges: David A. Faber, Chief United States
                                                      District Judge.
For Quantum Capital Corporation, Nancy Vargo,
Cross Defendants (2:99cv992): John E. Lutz, Jr.,
LEAD ATTORNEY, RICCARDI & LUTZ,
Charleston, WV USA.                                   Opinion by: David A. Faber

For Nancy Vorono, Cross Defendant (2:99cv992):
David D. Johnson, III, Larry Andrew Winter,
LEAD ATTORNEYS, WINTER JOHNSON &                      Opinion
HILL, Charleston, WV USA.


For Grant Thornton, Llp, Third Party Plaintiff        MEMORANDUM OPINION
(2:99cv992): Andrew J. Morris, Craig Isenberg,
LEAD ATTORNEYS, MAYER BROWN ROWE                      By Order entered March 31, 2006, the court
& MAW, Washington, DC USA; Eric M. James,             GRANTED the motions for summary judgment
LEAD ATTORNEY, SPILMAN THOMAS &                       filed by the following defendants with respect to
BATTLE, Charleston, WV USA; James K. Tinney,          the claims in Gariety II: 1) Jeanie Wimmer and
John H. Tinney, Kimberley R. Fields, LEAD             Evelyn Herron (doc. # 188); 2) Vida Headrick (doc.
ATTORNEYS, THE TINNEY LAW FIRM,                       # 213); and 3) Nancy Vorono (doc. # 229). In that
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same Order, plaintiffs' motion for partial summary                     102-07.
judgment (doc. # 197) was GRANTED in part and
DENIED in part. Also, by Order entered that same
day, the court GRANTED Nancy Vorono's motion                           A. Defendants Billie Cherry, Melissa Quizenbeury,
for summary judgment (doc. # 1157) as to the                           Rllen Turpin, and Lora McKinney
claims in Gariety I. The reasons for that decision
follow.                                                It is beyond dispute that all four of these defendants
                                                       were involved in the criminal wrongdoing that led
                                                       to the collapse of Keystone Bank. See, e.g., U.S. v.
I. Background                                          Cherry, 1:01CR92 (jury conviction on one count of
This case is but one of the many cases before this conspiracy to commit bank embezzlement and
court arising out of the failure of the First National fraud, four counts of bank fraud, and sixteen counts
Bank of Keystone [*14] ("Keystone" or "the of money laundering [*15] on October 15, 2001);
Bank").1 In their Complaint, plaintiffs, a class of U.S. v. Quizenbeury, 1:01CR107 (pled guilty to
individuals purchasing Keystone stock which had manipulative and deceptive devices involving
originally been sold by the defendants, assert a insider trading on May 21, 2001); U.S. v. Turpin,
claim under the Racketeer Influenced and Corrupt 1:01CR105 (pled guilty to obstructing the
Organizations Act ("RICO"), 18 U.S.C. §§ 1961, et examination of a financial institution and aiding
seg., against Terry Lee Church, Billy Jean Cherry, and abetting same on May 21, 2001); U.S. v.
Ellen Turpin, Lora McKinney, and Melissa McKinney, 1:01CR106 (pled guilty to obstructing
Quizenbeury (the "RICO defendants"), See the examination of a financial institution and aiding
Complaint ¶¶ 111-22. The only claim pertaining to and abetting same on May 21, 2001). None of these
                                                       defendants has responded to plaintiffs' motion and,
the numerous other defendants in the case (the
                                                       accordingly, plaintiffs' motion far summary
"non-RICO defendants") is one for unjust
                                                       judgment on Count I is granted as to these
enrichment.2 Specifically, the unjust enrichment
                                                       defendants.4
claim alleges that defendants, armed with
knowledge of the fraud occurring at Keystone
and/or other inside information concerning
Keystone, dumped their shares of Keystone stock3 B. Virginia Burks, Constance Evans, Susan Dalton,
and became unjustly enriched. See Complaint ¶¶ and Deborah Bailey

                                                                       It is clear that there are a multitude of disputed
1 On  September 1, 1999, the Office of the Comptroller of the
                                                                       material facts concerning plaintiffs' claims against
Currency ("OCC") found Keystone to be insolvent and closed the
bank. Since the closing of Keystone, a number of former Keystone       these defendants and, accordingly, plaintiffs'
employees have been convicted of various federal crimes, including,    motion as to them is denied.
but not limited to, obstruction of a bank examination, mail fraud,
conspiracy to commit bank embezzlement and mail fraud, and             C. Jeanie Wimmer and Evelyn Herron
insider trading.
                                                                       Defendants Jeanie Wimmer Mullins ("Wimmer")
2 The  Complaint also contains a claim against defendants City         and Evelyn Herron started working for Keystone in
National Bank and United National Bank for a declaration by the
                                                                       1984 at Keystone's Bradshaw branch, essentially
court that plaintiffs are entitled to disgorgement or a constructive
trust with respect to certain funds held by those banks, including     managing that branch office. Although they were
funds contained in Vorono's IRA account. See Complaint ¶¶ 108-10.
3 Keystone  had in place an Employee Stock Ownership Plan
("ESOP"). The Bank, as part of its compensation plan, provided         4 In the case of Quizenbeury, plaintiffs agreed to limit their recovery

employees with stock based on a percentage of their salary. The        to the criminal restitution funds, These funds have already been
exact percentage is disputed. The ESOP was terminated in 1995.         disbursed to plaintiffs.
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physically located outside of Keystone's main           During her second employment stint, she worked as
office, they maintained daily contact with the main     Billie Cherry's secretary. Between September 1998
office. Herron's duties at Keystone [*16] included      and April 1999, Headrick sold most or all of her
working as a teller, ordering money for the bank,       stock, 3885 shares,5 for $649,525.00. In the early
supervising vault reports, customer accounts, 100%'     1990s, Headrick worked for Michael Graham
collateral loans and general maintenance. Herron        during tax season.6
also supervised Wimmer, whose duties were
virtually identical to Herron's.                        In what can only be deemed a last ditch effort to
                                                        create a disputed issue of material fact regarding
Wimmer and Herron, over a four-to five-year             Headrick, plaintiffs' state: "In fact, Burks, during
period, sold portions of their Keystone stock on        her deposition, stated that Cherry contacted
three separate occasions. Around 1994-1995,             Headrick and informed Headrick that she should
Wimmer and Herron each sold 1,000 shares to             sell her stock." Plaintiff's Memo at 64. Burks' actual
Knox McConnell, President of Keystone Bank. On          testimony was as follows:
November 18, 1998, each woman authorized the
sale of 500 shares of their stock. Finally, in May of         A: . . . Nancy [Vorono] told me that she [*18]
1999, both Wimmer and Herron sold an additional               was going to give me the telephone number to
500 shares of their stock after being solicited by a          Mr. Ingold after her stock was sold. I didn't
stockbroker. On this occasion, both women refused             have his telephone number or anything. But in
offers to sell larger amounts of their stock.                 the meantime Vida Headrick got his number
                                                              and called him, and he wanted to know who
After this third sale of stock, the proceeds realized         had given his number to Vida.
from the sale were deposited into accounts at                 Q: So he called Nancy and asked Nancy if she
Keystone Bank. At the time of the Bank's closure,             had again [sic] Vida Headrick his number; is
Herron's IRA account had $176,000.00 in it and                that what occurred?
Wimmer had $210,000.00 on deposit with                        A: That's what I understood.
Keystone. Only the first $100,000.00 in each                  Q: Then before you called Mr. Ingold, Ms.
account was insured by the FDIC. Furthermore, at              Vorono called you up to tell you that she had
the time of the Bank's closure, Herron owned 3,571            this additional conversation with Mr. Ingold; is
shares of stock and Wimmer owned 2,906 shares.                that correct?
                                                              A: She wanted to know who had given Vida's
Wimmer and Herron [*17] have both denied any                  name to him, because she had only given my
knowledge of, or involvement in, the wrongdoing               name and Connie's name to Mr. Ingold, and she
at Keystone. Their assertions on this point have              wanted to know who gave Vida's name.
been supported by other employees of the Bank. No             Q: Did you check into that a little bit, do some
one with knowledge of what was going on at the
Bank has testified that Wimmer and Herron were
                                                        5 Plaintiffshave made much ado concerning the issue of how
involved in the criminal wrongdoing or that they
                                                        Headrick acquired her stock. Headrick has testified that she earned
were even aware that anything suspicious was            most of it through the ESOP and that she purchased an additional
happening.                                              1,000 shares. Although plaintiffs have attempted to cast doubt on
                                                        Headrick's assertions, they have failed to come forward with any
D. Vida Headrick                                        evidence that proves otherwise.
                                                        6 Apparently, because Graham had lost his accounting license, this
The undisputed facts are that Headrick was the
                                                        fact is deemed "critical" by plaintiffs. Plaintiffs believe that fact
lifelong friend of Billie Cherry and worked at the
                                                        somehow would necessarily have given Headrick access to inside
Bank on two occasions, once during the 1980s and        information regarding the criminal wrongdoing at Keystone. The
again for approximately seven months in 1998.           court finds this to be sheer speculation unsupported by any evidence
                                                        of record.
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     investigation to find out what happened?           being made a Vice President of the bank. Vorono
     A: I didn't check into it. But it came to my explained this in her affidavit:
     attention that Debbie Shrader had all the              At one time during my employment at
     information on her desk and Billie had gotten          Keystone, I was told by Terry Church, much to
     the information and called Vida. I don't know          my surprise, that I was being made a Vice
     that. That was what was told to me.                    President of the bank and would no longer need
     Q: Your impression was that Billie Cherry              to "punch the time clock" at the beginning and
     contacted Vida Headrick to tell Vida Headrick          end of the work day, as I had always done
     who she should call, in terms of selling their         before. However, no action was ever taken to
     stock; is that correct?                                formalize my appointment as a Vice President
     A: Yes.                                                of the bank; my salary did not change; my
                                                            employment duties remained unchanged; I
Burks Depo. at 96-97. Even [*19] assuming that              continued to function exclusively as a
Burks' account -- which admittedly was not based            secretary, performing the duties referred to
on personal knowledge -- is true, the foregoing             [previously]; and I at no time had the power or
passage does not show that Billie Cherry told               authority to supervise other employees, or to
Headrick that "she should sell her stook" At best, it       make any decisions affecting the policies,
leaves the impression that Billie Cherry might have         practices or procedures of Keystone. Later, I
given Headrick the name of a broker who would               was told to resume "punching the time clock,"
se11 her stock.                                             and I continued to do so until my retirement in
E. Nancy Vorono                                             December, 1997.
                                                        Vorono Aff. ¶ 3.
Suffice it to say that plaintiffs have taken great
liberty in their recitation of the "facts" concerning As to the contentious relationship between
Vorono. According to Vorono's Affidavit, filed in McConnell and the OCC, Vorono stated:
support of her motion for summary judgment, she
                                                            During the course of my employment at
was employed as the secretary for the late J. Knox
                                                            Keystone, Mr. McConnell was almost [*21]
McConnell, formerly the President of Keystone, for
                                                            continuously at odds with the bank regulators
more than twenty years, Vorono retired in
                                                            from the Office of the Comptroller of the
December of 1997, a couple of months after
                                                            Currency of the United States ("O.C.C."). I
McConnell's death. Her duties at Keystone
                                                            often heard him complain bitterly and loudly
     included taking dictation for, and typing letters;
                                                            that the D.C.C. didn't understand the nature of
     initiating telephone calls at the direction of Mr,
                                                            the bank's business, and that the O.C.C. was
     McConnell; making some bank deposits for
     Mr. McConnell; providing coffee and other              treating the bank unfairly. Mr. McConnell often
     refreshments for Mr. McConnell and his guests          dictated letters for me to prepare to be sent to
     or visitors; maintaining the ledger which              the O.C.C. complaining of the above matters,
     recorded the ownership and transfer of shares          and complaining of the way in which the
     of stock in Keystone; and other miscellaneous          O.C.C. regulators dealt with him and with the
                                                            bank . . . . Nonetheless, prior to my retirement
     clerical duties.
Vorono Aff. ¶ 2.                                            from Keystone, and from that time until the
                                                            bank was closed, I was never aware of any
In trying to attack Vorono's assertions [*20] that          formal charge made, or disciplinary action
she was nothing more than a clerical employee of            taken, by the O.C.C. or any other body against
the bank, plaintiffs make much of an incident               Keystone. Although during my employment I
where she was told by Terry Church that she was             often saw the O.C.C. auditors when they first
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   arrived at Keystone for an audit, I did not deal        bank might be closed. Prior to the closing of
   with the auditors, did not observe their audit          the bank, I was regularly aware of publicity in
   related activities, and did not know of the             the news media reporting on the supposed
   results of their audits.                                financial success of Keystone and the
Vorono Aff. ¶ 5.                                           prominence and respect of Keystone within the
                                                           banking industry. I believed those reports.
Regarding the $20,000.00 bequest to Vorono in the       Vorono Aff. ¶ 17.
forged McConnell will, Vorono has sworn that she
did not know McConnell's signature was forged nor       There is no evidence in the record to counter
did she believe the bequest was "hush money."           Vorono's sworn assertions on any of these points.
Vorono Aff. ¶ [*22] 11. Vorono contends that she
believed the bequest was what she was told: a sum
representing $1,000.00 for each of the twenty years     II. Legal Framework
she had served as McConnell's secretary, See id.

According to Vorono, and there is no evidence to
suggest otherwise, after her retirement from the        Summary Judgment Standard
bank, she was not involved in any aspect of the
transaction of the Bank's business. From December       Rule 56 of the Federal Rules of Civil Procedure
17, 1997, until April of 1999, she did not return to    provides:
Keystone, From December 17, 1997, until March of            The judgment sought shall be rendered
1999, she had no communication with anyone at               forthwith if the pleadings, depositions, answers
Keystone concerning the bank's business. Vorono             to interrogatories, and admissions on file,
Aff. ¶ 10. Vorono did attend a shareholders'                together with the affidavits, if any, show that
meeting in March of 1999 but, according to her,             there is no genuine issue as to any material fact
nothing was said at that meeting "to suggest that the       and that the moving party is entitled to a
bank was in any financial or regulatory difficulty."        judgment as a matter of law.
Vorono Aff. ¶ 13.
                                                       The moving party has the burden of establishing
In April 1999, Vorono decided to sell some of her that there is no genuine issue as to any material
Keystone stock and contacted Jack Ingold of E.E. fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323
Powell and Company. Ingold offered to buy all of (1986). This burden can be met by showing that the
Vorono's stock for the price of $205 per share. nonmoving party has failed [*24] to prove an
Vorono took Ingold up on his offer and sold all but essential element of the nonmoving party's case for
300 shares. Vorono Aff, ¶¶ 14-15.                      which the nonmoving party will bear the burden of
                                                       proof at trial. Id. at 322. If the moving party meets
Regarding her lack of knowledge of the this burden, "there can be 'no genuine issue as to
wrongdoing occurring at Keystone which led to the any material fact,, since a complete failure of proof
failure of the bank, Vorono stated:                    concerning an essential element of the nonmoving
                                                       party's case necessarily renders all other facts
     Prior to [*23] the closing of the bank, and
                                                       immaterial." Id. at 323.
     prior to my sale of Keystone stock in April,
     1999, I had no knowledge or belief that the Once the moving party has met this burden, the
     bank was in financial or regulatory difficulty of burden shifts to the nonmoving party to produce
     any kind, no knowledge or belief that any sufficient evidence for a jury to return a verdict for
     fraudulent or illegal activity was ongoing at that party.
     Keystone, and no knowledge or belief that the         The mere existence of a scintilla of evidence in
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    support of the plaintiff's position will be              which has been acquired by fraud, or where,
    insufficient; there must be evidence on which            although originally acquired without fraud, it is
    the jury could reasonably find for the plaintiff.        against equity that it should be retained by the
    The judge's inquiry, therefore, unavoidably              person holding it . . . . Generally, any
    asks whether reasonable jurors could find, by a          transaction may be the basis for creating a
    preponderance of the evidence, that the                  constructive trust where for any reason the
    plaintiff is entitled to a verdict . . . .               defendant holds funds which [*26] in equity
                                                             and good conscience should be possessed by
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252           the plaintiff.
(1986). "If the evidence is merely colorable, or is
not significantly probative, summary judgment may        Annon v. Lucas, 155 W. Va. 368, 382 (1971)
be granted." Id. at 250-51. The opposing party must      (emphasis added). Plaintiffs hinge their argument
demonstrate that a triable issue of fact exists and      on the last sentence of the foregoing passage to
may not rest upon mere allegations or denials. Id. at    claim that the law of unjust enrichment reaches
252.                                                     even totally innocent beneficiaries. However,
                                                         plaintiffs have not directed the court to any West
Defendants herein contend that there are no              Virginia case which has interpreted the law of
genuine issues of material [*25] fact in dispute         unjust enrichment so expansively. Furthermore,
and, therefore, summary judgment in their favor is       when one reads Annon in its entirety, it is clear that
warranted. Plaintiff, however, argues that there are     the court did not adopt plaintiffs' theory of unjust
genuine issues of material fact for the jury to          enrichment:
decide.                                                      [W]henever the legal title to property, real or
                                                             personal, has been obtained through actual
                                                             fraud, misrepresentations, concealments, or
III. Analysis                                                through undue influence, duress, taking
                                                             advantage of one's weakness or necessities, or
A. Unjust Enrichment                                         through any other similar circumstances which
                                                             render it unconscientious for the holder of the
Plaintiffs argue that it is unnecessary for them to          legal title to retain and enjoy the beneficial
prove that defendants were involved in or even               interest, equity impresses a constructive trust
aware of the wrongdoing at Keystone in order to              on the property thus acquired in favor of the
prevail on their claim of unjust enrichment. Stated          one who is truly and equitably entitled to the
simply, plaintiffs contend that even if defendants           same. . . .
acted entirely without culpable conduct in selling
their Keystone stock, -- i.e., were innocent             Id., at 381-82.
beneficiaries -- it is nonetheless unfair that they be
allowed to retain the proceeds received for that  West Virginia cases decided post-Annon do not
stock.                                            support plaintiffs' position either for they all
                                                  suggest that there must be some wrongdoing on the
                                                  part of the defendant [*27] before any enrichment
Concerning claims of unjust enrichment can be deemed unjust. See, e.g., Smith v. Smith, 180
andconstructive trusts, West Virginia's highest W. Va. 203, 207 (1988) ("[I]n order to prove unjust
court has said:                                   enrichment, it [i]s necessary to show fraud, duress,
    A constructive trust is substantially an undue influence, mistake, breach of fiduciary duty,
    appropriate remedy against unjust enrichment. or wrongful disposition of property.") (internal
    It is raised by equity in respect of property quotations omitted); Patterson v, Patterson, 167 W.
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Va. 1, 10 (1981) ("A constructive trust is imposed       enriched (to a certain point), but have they been
where a person holding title to property is subject      unjustly enriched? Is it any less unjust for an
to an equitable duty to convey it to another on the      employee, who has engaged in no wrongdoing, to
ground that he would be unjustly enriched if he          find out that her retirement savings, consisting
were permitted to retain it. The duty to convey the      solely of stock earned through her ESOP, is
property may arise because it was acquired through       nonexistent because the stocks are [*29]
fraud, duress, undue influence or mistake, or            worthless? What about the case of Wimmer and
through breach of fiduciary duty, or through the         Herron who sold their stock and then put the
wrongful disposition of another's property. The          proceeds in the bank? Would it be unjust to make
basis of the constructive trust is the unjust            them liable for the amount of proceeds from their
enrichment which would result if the person having       stock sales when a considerable amount of those
the property were permitted to retain it.") (quoting     proceeds were lost to them forever upon the bank's
5 Scott on Trusts § 404.2). Patterson goes on to say     failure?
that "[i]t is apparent from the law of trusts that the
purpose of a constructive trust is to redress unjust  Having determined that West Virginia's law of
enrichment resulting from an equitable wrong." Id.    unjust enrichment does not extend to innocent
at 12.                                                beneficiaries, the court must next determine
                                                      whether defendants' conduct is such that they
Other states have adopted the more expansive view should be required to make restitution to plaintiffs.
of unjust enrichment proposed by plaintiffs. See, The simple answer to this question is "no."
e.g., Sun Life Assurance Co. of Canada v. Dunn, Plaintiffs have not come forward with any evidence
134 F. Supp. 2d 827, 834 (S.D. Texas 2001) that Wimmer, Herron, Headrick, or Vorono
(holding that under Texas law, "a court may engaged in any wrongdoing related to Keystone's
impose [*28] a constructive trust on totally failure or that they were even aware that such
innocent beneficiaries of a wrongful act."); wrongdoing was occurring. "It is a fundamental
Connecticut General Life Ins. Co. v. Merkel, 90 rule of the common law that no man shall be
Wis. 2d 126, 131 (1979) (noting that, under permitted to profit by his own wrong. . . ." Id. at
Wisconsin law, "[c]onstructive trusts have been 384. In this case, any wrongdoing is not attributable
imposed in cases where the person against whom to defendants Wimmer, Herron, Headrick, and
the constructive trust was imposed was an innocent Vorono. Accordingly, because defendants did not
beneficiary and had engaged in no wrongdoing."). obtain their stock and/or the proceeds from the sale
However, because West Virginia has not adopted of            that    stock    through       any     "fraud,
this expansive view and because it is the job of this misrepresentations, concealments, . . . undue
court to follow the existing law, not expand it, influence, duress, or through [*30] any other
plaintiffs' argument on this point must fail.         similar circumstances" on their part, the doctrine of
                                                      unjust enrichment does not apply and restitution is
As an aside, the court notes that even were it to not appropriate. Id., at 382.
accept plaintiffs' argument that the law of unjust
enrichment reaches even persons who neither B, Gariety I Claims Against Nancy Vorono
engage in wrongdoing nor are aware of it, plaintiffs
still would not prevail. To invoke the law of
restitution or unjust enrichment to impose a
                                                      1. Rule 10b-5
constructive trust upon property of another, it is
necessary that it be shown that one party has been Count I of the complaint alleges that Vorono
unjustly enriched. Annan v. Lucas, 155 W. Va. 368, violated Section 10b of the Exchange Act and Rule
382 (1971). No doubt defendants have been 10b-5. The essential elements of a Rule 10b-5 claim
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are "(1) the defendant made a false statement or         Fed. Appx. 593, 598-99 (4th Cir. 2005) ("Following
omission of material fact (2) with scienter (3) upon     Central Bank, we have stated that a
which the plaintiff justifiably relied (4) that          misrepresentation must be directly attributable to
proximately caused the plaintiff's damages."             [the defendant] and not to some other person.")
Phillips v. LCI Int'l, Inc., 190 F.3d 609, 613 (4th      (internal citations and quotations omitted)
Cir. 1999). Perhaps because they cannot shown that       (unpublished).
Vorono made a false statement or omission of
material fact, plaintiffs also argue that she violated   Even viewing the evidence in the light most
Section 10(b) by engaging in acts, practices, and a      favorable to plaintiffs, it is clear their claims must
course of conduct that operated as a fraud or deceit     fail. Try as they might, they cannot show that
upon purchasers of stock. To that end, plaintiffs        Vorono was in possession of any material, adverse,
contend that Vorono engaged in a "stock dumping          non-public [*32] information when she sold her
scheme," Plaintiffs do not carry the day on either       stock. There is no evidence that Vorono had any
theory.                                                  direct communication with the plaintiffs herein
                                                         concerning Keystone stock and plaintiffs have not
As to the first method of proving a violation of the     pointed to any specific false statement or omission
Act, plaintiffs are required to show that they relied    attributable to her. Furthermore, even assuming that
upon a misrepresentation or omission attributable to     plaintiffs could point to a material false statement
Vorono. See Cent. Bank of Denver, N.A. v. First          or omission on Ms. Vorono's part, their claim still
Interstate Bank of Denver, 511 U.S. 164, 180             must fail because of their inability to prove loss
(1994). Elaborating on this requirement, the United      causation.
States Court of Appeals for the Fourth Circuit has
                                                      Plaintiffs also argue that Vorono violated the Act in
stated in this very case:
                                                      that she employed devices, schemes and artifices to
    [defendant] properly notes that [*31] in order defraud, i.e., participated in a stock dumping
    to rely on presumed reliance flowing from an scheme.
    application of the fraud-on-the-market theory,         Market manipulation comprises a class of
    the plaintiffs must demonstrate, among other           conduct prohibited by Section 10(b), which
    things, that the defendant made a public               typically involves practices such as wash sales,
    misrepresentation. It also notes that such a           matched orders, or rigged prices, that are
    misrepresentation must be directly attributable        intended to mislead investors by artificially
    to [defendant] and not to some other person,           affecting the market activity. A plaintiff
    because liability under § 10(b) of the Securities      asserting a market manipulation claim must
    Exchange Act and Rule lob-5 does not include           allege direct participation in a scheme to
    aiding and abetting liability. In Central Bank,        manipulate the market for securities.
    the Supreme Court observed that aiding and
                                                      Fezzani v. Bear, Stearns & Co., Inc., 384 F. Supp.
    abetting liability would, if recognized, permit
                                                      2d 618, 641 (S.D.N.Y. 2004) (internal citations and
    plaintiffs to circumvent the reliance
                                                      quotations omitted). Furthermore, a complaint
    requirement because a defendant could be
                                                      alleging market manipulation must state what
    liable without any showing that the plaintiff
                                                      manipulative acts were performed, which
    relied upon the aider and abettor's statements or
                                                      defendants performed them, when the manipulative
    actions.
                                                      acts were performed, [*33] what effect the scheme
Gariety v. Grant Thornton, LLP, 368 F.3d 356, 369 had on the market for the securities at issue, and
(4th Cir. 2004) (internal citations and quotations how plaintiffs were harmed by the manipulation.
omitted); see also Glaser v. Enzo Biochem, Inc, 126 See id. at 642-43. Analyzing plaintiffs' claims
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against the foregoing, it is clear that they fall                          contemporaneous trading where plaintiff purchased
woefully short of establishing a violation on the                          stock three days after defendant sold); Backman v.
part of Voroho. Their allegations on this point are                        Polaroid Corp., 540 F. Supp. 667, 671 (D. Mass.
vague and conclusory and fail to point to any                              1982) (plaintiff who traded two and seven days
disputed issue of material fact sufficient to defeat                       after    defendant's    sale   did     not   trade
summary judgment.7                                                         contemporaneously).
2. Insider Trading                                                         3. Civil Conspiracy

15 U.S.C. § 78t-1(a) provides:                                             Count XII of the Complaint alleges that Vorono
    Any person who violates any provision of this                          acted in concert with other defendants in preparing
    chapter or the rules or regulations thereunder                         and/or disseminating false financial information as
    by purchasing or selling a security while in                           part of a common course of conduct designed to
    possession of material, nonpublic information                          deceive the plaintiffs as to the true value of
    shall be liable in an action in any court of                           Keystone stock. The Complaint also alleges that
    competent jurisdiction to any person who,                              Vorono and others "otherwise participat[ed] in such
    contemporaneously with the purchase or sale of                         conspiracy" and "engag[ed] in a common course of
    securities that is the subject of such violation,                      conduct designed to deceive plaintiffs" and that
    has purchased (where such violation is based                           these defendants "facilitat[ed] the dumping of . . .
    on a sale of securities) or sold (where such                           worthless Keystone stock [*35] . . . ."
    violation is based on a purchase of securities)
                                                      Vorono is entitled to the entry of summary
    securities of the same class.
                                                      judgment as to this count because there is
Vorono is entitled to summary judgment on this absolutely no evidence that she conspired with
claim because, as discussed above, there is no anyone else to disseminate "false financial
evidence that she was in possession of material information." Indeed, there is no evidence that
nonpublic information when she sold her stock. Vorono even knew that any false financial
Furthermore, she is entitled [*34] to summary information was being disseminated. Furthermore,
judgment because plaintiffs cannot satisfy the the only "evidence" that plaintiffs' cite to support
contemporaneity requirement. For example, almost this claim is the fact that Virginia Burks and
all the plaintiffs purchased their stock before Constance Evans sold their stock through E.E.
Vorono sold hers. See, e.g., In re Microstrategy, Powell after they learned that was who Vorono had
Inc. Securities Litig., 115 F. Supp. 2d 620, 664 used to sell her stock. This "evidence" does nothing
(E.D. Va. 2000) (No liability for insider trading can to advance plaintiffs' conspiracy claims against
attach for trades made by plaintiffs before insider Vorono.
engages in trading activity.); see also In re IV. Conclusion
Verifone, 784 F. Supp. 1471, 1489 (N.D. Cal. 1992)
(same). Plaintiff Elizabeth Sponseller purchased her For the foregoing reasons, by Judgment Order
stock almost one month after Vorono sold hers and, dated March 31, 2006, the court:
accordingly, there is no contemporaneous trade.
                                                          1) GRANTED the motion for summary
See In re Microstrategy, Inc. Securities Litig., 115
                                                          judgment filed by Jeanie Wimmer and Evelyn
F. Supp. 2d 620, 664 (E.D. Va. 2000) (no
                                                          Herron in Gariety II;

7 Because of the vague and conclusory manner in which plaintiffs               2) GRANTED the motion for summary
presented their claims, it was very difficult for the court to point out       judgment filed by Vida Headrick in Gariety II;
all the deficiencies in their argument. Suffice it to say, plaintiffs'
arguments on this Count fail on almost every front.                            3) GRANTED the motion for summary
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    judgment filed by Nancy Vorono in Gariety II;
    4) GRANTED the plaintiffs' motion for partial
    summary judgment on Count I as to defendants
    Billie Cherry, Melissa Quizenbeury, Ellen
    Turpin, and Lora McKinney. Plaintiffs' motion
    was DENIED in all other respects; and

    5) GRANTED [*36] Nancy Vorono's motion
    for summary judgment as to the claims asserted
    against her in Gariety I.

The Clerk is directed to forward a copy of this
Memorandum Opinion to counsel of record.

IT IS SO ORDERED this 19th day of May, 2006.

ENTER:

/s/ David A. Faber

David A. Faber

Chief Judge


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                         Tab 12
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Greencort Condominium Ass'n v. Greencort Partners, Not Reported in A.2d (2004)
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                                                                   A. KSK Preliminary Objections To Count X (Fraud) Are
                  2004 WL 1088758                                  Sustained.
    Only the Westlaw citation is currently available.              Count X purports to state a claim for fraud and negligent
              Court of Common Pleas of                             misrepresentation with general and shifting averments of
          Pennsylvania, Philadelphia County.                       negligence and intentional misrepresentation. Pennsylvania
                                                                   Rule of Civil Procedure 1020 requires each cause of action
            GREENCORT CONDOMINIUM
                                                                   and any special damage related thereto to be stated in separate
                ASSOCIATION, Plaintiff,
                                                                   counts containing a demand for relief. Pa. R. Civ. P. 1020.
                           v.
                                                                   The court finds Count X to be inappropriate due to its failure
      GREENCORT PARTNERS, Christopher J.                           to present separate causes of action in separate counts as
     Clark, R. Lamar Kilmore, Richard L. Cantore,                  required by Pa. R. Civ. P. 1020.
    Jerome Miller, Paul E. Oberkircher, Charles G.
   Roach, Robert Roach, John C. Snyder, Roberty J.                 Count X not only fails to comply with Pa. R. Civ. P. 1020, but
   Tarlechy, Lentz, Cantor & Massey, Ltd, Historical               also fails to allege sufficient facts to state a claim for fraud
   Properties, Inc., Fox & Roach, LP, Linda Schaal,                and/or negligent misrepresentation. With respect to the fraud
       Kise, Straw & Kolodner, Inc., Defendants.                   claim, the Rules require that “the material facts on which a
                                                                   cause of action or defense is based shall be stated in a concise
        No. 04045 JAN.TERM 2004, CONTROL                           and summary form.” Pa. R. Civ. P. 1019(a). The Rules also
     021802, CONTROL 030742, CONTROL 021378.                       require that averments of fraud or mistake shall be pleaded
                          |                                        with particularity. Pa. R. Civ. P. 1019(b).
                   April 30, 2004.
                                                                   In order to maintain a cause of action for fraud, a plaintiff
                                                                   must allege the following elements: (1) a representation; (2)
                MEMORANDUM OPINION                                 which is material to the transaction at hand; (3) made falsely,
                                                                   with knowledge of its falsity or recklessness as to whether it
COHEN, J.                                                          is true or false; (4) with the intent of misleading another into
                                                                   relying on it; (5) justifiable reliance on the misrepresentation;
 *1 This matter arises from the sale of condominium units          and (6) the resulting injury was proximately caused by the
to individual unit owners. Plaintiff Greencort Condominium
                                                                   reliance. Bortz v. Noon, 556 Pa. 489, 499, 729 A.2d 555, 560
Association (“Plaintiff”) instituted suit against numerous
                                                                   (1999). Here, absent from the complaint are any allegations
defendants including Kise, Straw & Kolonder, Inc. (“KSK”)
                                                                   that KSK made any material misrepresentations of fact with
and Fox & Roach d/b/a Prudential Fox and Roach and Linda
                                                                   fraudulent intent and knowledge to induce plaintiff to act
Schaal (“F & R”). Specifically, Plaintiff asserts claims against
                                                                   to it's own detriment and that Plaintiff relied upon said
KSK for fraud, misrepresentation and nondisclosure (Count
                                                                   misrepresentations.
IX), conspiracy (Count XI) and violations under the Uniform
Trade Practices Consumer Protection Law (“UTPCPL”).
                                                                   Additionally, the complaint also fails to plead sufficient facts
Plaintiff also asserts claims against F & R for fraud,
                                                                   to state a claim for negligent misrepresentation. In order
misrepresentation and nondisclosure (Count X), conspiracy
                                                                   to state a claim for negligent misrepresentation, a plaintiff
(Count XI) and the UTPCPL (Count XII). Presently before the
                                                                   should allege (1) a misrepresentation of a material fact; (2)
court are two sets of Preliminary Objections filed respectively
                                                                   made under circumstances in which the misrepresenter ought
by defendants KSK and F & R. For the reasons set forth
                                                                   to have known its falsity; (3) with an intent to induce another
below, the court sustains the preliminary objections raised by
                                                                   to act on it; and (4) which results in injury to a party acting
the respective defendants and grants defendants' motion to
                                                                   in justifiable reliance on the misrepresentation. Kramer v.
strike the claim for attorneys' fees.
                                                                   Dunn, 749 A.2d 984, 991 (Pa.Super.2000). As stated above,
                                                                   Plaintiff fails to allege misrepresentations of a material fact,
                                                                   which KSK knew or should have known, were false and that
                        DISCUSSION                                 Plaintiff relied upon said misrepresentations to its detriment.
                                                                   Accordingly, the preliminary objections of defendant KSK
                                                                   are sustained. Plaintiff is granted leave to amend Count X


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within twenty (twenty) days from the date of the Order          direct or circumstantial facts which demonstrate combination
entered contemporaneously with this Opinion.                    and intent.

                                                                Count XI of the complaint is insufficiently specific to
B. Defendant F & R's Preliminary Objections to Count IX         satisfy the requirements of Pa. R. Civ. P. 1019(a). Plaintiff
(Fraud) are Sustained.                                          merely alleges bald conclusions without alleging facts of a
 *2 Similar to Count X, Count IX also purports to state         combination or intent to conspire. Such allegations alone are
a claim for fraud and negligent misrepresentation against       insufficient to support a claim for conspiracy. Moreover, in
defendant F & R. Notwithstanding, Plaintiff's failure to        order to state a claim for conspiracy, plaintiff must allege
present separate causes of action in separate counts as         an unlawful act or an unlawful purpose. Id. Since the court
required by Pa. R. Civ. P. 1020, Count IX also fails to plead   sustained KSK and F & R's preliminary objections to Counts
the necessary facts to state causes of action for fraud and     IX and X alleging fraud, the court must also sustain the
negligent misrepresentation against F & R.                      preliminary objections to the conspiracy claims based on
                                                                the failure to allege an unlawful act or unlawful purpose.
With respect to the fraud claim, Plaintiff fails to             Accordingly, defendants' preliminary objections to Count XI
allege fraudulent intent to mislead another to rely             are sustained. In the event, Plaintiff is capable of setting forth
upon misrepresentations, justifiable reliance on the            sufficient facts to state a claim for conspiracy, Plaintiff is
misrepresentations and resulting injury. Additionally, with     granted leave to amend Count XI within twenty (20) days
respect to the negligent misrepresentation claim, the           from the date of the Order filed contemporaneously with this
complaint also fails to allege sufficient facts to state a      Opinion.
claim. Absent from the complaint are any allegations of
harm suffered by Plaintiff arising from Plaintiff's reliance
upon F & R's misrepresentation. Accordingly, the preliminary    D. Defendants' Preliminary Objections to Count XII
objections of defendant F & R are sustained. Plaintiff is       (UTPCPL) Are Sustained.
granted leave to amend Count IX within twenty days from         Count XII of the complaint purports to state a claim under
the date of the Order entered contemporaneously with this       the Pennsylvania Unfair Trade Practices and Consumer
Opinion. 1                                                      Protection Law (“UTPCPL”), 73 Pa.C.S.A. § 201–1 et. seq.
                                                                Without reaching the merits of defendants' contentions, the
1                                                               court finds that the UTPCPL claim must be dismissed since
       In Count IX and X, since the court finds that the
                                                                the Plaintiff lacks standing to raise said claim. The limited
       claims for fraud and negligent misrepresentation
                                                                circumstances under which a private person may bring a claim
       are factually insufficient, the court did not address
                                                                under the UTPCPL are specifically set forth in Section 9.2(a),
       whether Plaintiff's claim for fraud is barred by the
                                                                which provides in relevant part, that:
       gist of the action doctrine and whether the negligent
       misrepresentation claim is barred by the economic
                                                                 *3 Any person who purchases or leases goods or services
       loss doctrine. The court cautions the parties to be
                                                                primarily for personal, family or household purposes and
       mindful of these doctrines if an amended complaint
                                                                thereby suffers any ascertainable loss of money or property,
       is filed.
                                                                real or personal, as a result of the use or employment by any
                                                                person of a method, act or practice declare unlawful by section
C. Defendants' Preliminary Objection to Count XI                3 of the UTPCPL, may bring a private action to recover actual
(Conspiracy) is Sustained.                                      damages or one hundred dollars ($100.00), which ever is
Count XI alleges civil conspiracy against all defendants.       greater.
To state a claim for conspiracy, plaintiff must allege: (1) a
combination of two or more persons acting with a common
purpose to do an unlawful act by unlawful means or for an       Bowers v. T–Netix, 837 A.2d 608, 613 (Pa.Cmwlth.2003)
unlawful purpose; (2) an overt act done in furtherance of       (citing 73 P.C. S.A. § 201–9.2(a)). This statute
the common purpose; and (3) actual legal damage. Czech v.       unambiguously permits only persons who have purchased
Gordon, 2003 WL 22455078, * 3 (2003) (Cohen, J.) (citing        or leased goods or services to sue. Balderston v. Medtronic
Baker v. Rangos, 229 Pa.Super. 333, 324 A.2d 498, 506           Sofamor Danek, Inc., 285 F.3d 238, 241 (3 rd Cir.2002) (citing
(1974)). Therefore, a complaint for conspiracy must allege      Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3rd Cir.1992)).


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                                                                    For the foregoing reasons, the court sustains the respective
Here, Greencort Condominium Association is responsible for
                                                                    Preliminary Objections of KSK and F & R and grants the
administering the affairs and interests of the unit owners of
                                                                    Motion to Strike Attorneys' Fees as follows:
Greencort Condominium (Compl.¶ 2) and is not a purchaser
as intended by the UTPCPL. Hence, it is statutorily precluded         1. Defendants' Preliminary Objections to Counts IX, X and
from bringing a private cause of action under the UTPCPL.                XI are Sustained. Plaintiff is Granted leave to amend
See Balderston v. Medtronic Sofamor Danek, Inc., 285 F.3d                said counts within twenty (20) days from the date of this
238, 241 (3 rd Cir.2002) (citing Katz v. Aetna Cas. & Sur.               Order.
Co., 972 F.2d 53, 55 (3rd Cir.1992)). Accordingly, Count XII
is dismissed since the court finds that the allegations within        2. Defendants' Preliminary Objection to Count XII is
the complaint fail to establish Plaintiff's standing to bring a         Sustained. Count XII is dismissed against Defendants
claim against defendants KSK and F & R pursuant to the                  Kise, Straw & Kolodner and Fox & Roach d/b/a
                                                                        Prudential Fox & Roach and Linda Schaal.
UTPCPL. 2
                                                                      3. Defendants' Motion to Strike Plaintiff's Request for
2                                                                       Attorneys Fees in Counts IX, X and XI is Granted.
        The defendants did not raise the issue of standing
        as it pertains to the UTPCPL. However, where a
        cause of action is created by statute and designates          4. Defendants' remaining Preliminary Objections are Moot.
        who may sue, the issue of standing becomes
        interwoven with that of subject matter jurisdiction
        and becomes a jurisdictional prerequisite to                                          ORDER
        an action. Bowers v. T–Netix, 837 A.2d 608,
        614 (Pa.Cmwlth.2003)(citing Beverly Healthcare–             AND NOW, this 30 th day of April 2004, upon consideration
        Murrysville v. Dep't of Pub. Welfare, 828 A.2d 491          of the Preliminary Objections of Defendants Kise, Straw &
        (Pa.Cmwlth.2003). Accordingly, a court may raise            Kolodner, Inc. (Control Numbers 021802 and 030742) and
        the issue sua sponte . See Grom v. Burgoon, 448             Fox & Roach, L.P. d/b/a Prudential Fox & Roach and Linda
        Pa.Super. 616, 672 A.2d 823, 824 (Pa.Super.1996).           Schaal (Control Number 0211378), all responses thereto, all
                                                                    matters of record and in accordance with the Memorandum
E. Defendants' Motion to Strike Plaintiff's Claim for               Opinion entered contemporaneously herewith, it hereby is
Attorney's Fees Must Be Granted.                                    ORDERED and DECREED that
The ad damnum clause to Counts IX, X and XI contain
a request for attorneys' fees. Under the “American Rule”,              *4 1. Defendants' Preliminary Objections to Counts IX
a party may not recover attorneys' fees from its adversary              (fraud), X (fraud) and XI (conspiracy) are Sustained.
absent an express statutory or contractual provision allowing           Plaintiff is granted leave to amend said counts within
for the recovery of such attorneys' fees. Mosaica Academy               twenty (20) days from the date of this Order.
Charter School v. Com.Dept. of Educ., 572 Pa. 191, 206–7,
                                                                      2. Defendants' Preliminary Objection to Count XII
813 A.2d 813, 822 (Pa.2002). Since Plaintiff has not identified
                                                                        (UTPCPL) is Sustained. Count XII is dismissed against
any applicable contractual or statutory provision that permits
                                                                        Defendants Kise, Straw & Kolodner and Fox & Roach
it to recover attorneys' fees from defendants, plaintiffs request
                                                                        d/b/a Prudential Fox & Roach and Linda Schaal.
for such relief must be dismissed. 3
                                                                      3. Defendants' Motion to Strike Plaintiff's Request for
3                                                                       Attorneys' Fees in Counts IX, X and XI is Granted.
        The court recognizes that under the UTPCPL a
        plaintiff is entitled to attorney's fees; however such        4. Defendants' remaining Preliminary Objections are Moot.
        claim is moot since the court has dismissed the
        claim for lack of standing to sue.
                                                                    All Citations

                       CONCLUSION                                   Not Reported in A.2d, 2004 WL 1088758




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                         Tab 13
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Henderson v. Hertz Corp, Not Reported in A.2d (2006)
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                                                                             forth in plaintiff's complaint. Hertz is a national car rental
                                                                             company with its headquarters in New Jersey. At all times
      KeyCite Yellow Flag - Negative Treatment                               relevant to this appeal, Hertz not only rented vehicles to
Distinguished by In re OnStar Contract Litigation, E.D.Mich., February 19,
                                                                             customers, but also offered for sale three different varieties
2009
                                                                             of insurance which could be purchased along with the cars
                  2005 WL 4127090
                                                                             being rented. More particularly, defendant offered third-party
    Only the Westlaw citation is currently available.
                                                                             insurance known as Liability Insurance Supplement (LIS),
            UNPUBLISHED OPINION. CHECK                                       first-party insurance coverage known as Personal Accident
            COURT RULES BEFORE CITING.                                       Insurance (PAI), and personal property or damage insurance
                                                                             referred to as Personal Effects Coverage (PEC). Each type
                Superior Court of New Jersey,                                of insurance coverage was underwritten by independent
                     Appellate Division.                                     insurance companies and only made available for sale by
                                                                             Hertz.
  Naomi R. HENDERSON, individually and on behalf
  of all others similarly situated, Plaintiff-Appellant,                     According to the complaint, plaintiff rented a car from Hertz
                             v.                                              at Newark Airport on January 12, 1998. In connection with
             The HERTZ CORPORATION,                                          that rental, she purchased LIS coverage but chose not to
                 Defendant-Respondent.                                       purchase PAI or PEC coverage. She returned the rental car
                                                                             without incident, never having had to make a claim against
                      Argued Feb. 28, 2005.                                  the LIS coverage. Plaintiff further alleges that at various times
                                |                                            between April 1988 and August 2003, she rented cars from
                      Decided June 22, 2006.                                 Hertz in states other than New Jersey and that she purchased
                                                                             one or more of the insurance products in connection with
On appeal from the Superior Court of New Jersey, Law
                                                                             each of those other rentals. She concedes she never filed any
Division, Essex County, L-6937-03.
                                                                             claims under the coverages provided by any of the insurance
Attorneys and Law Firms                                                      products she purchased.

Bruce D. Greenberg argued the cause for appellant (Lite,                     Plaintiff filed her complaint seeking to sue individually and
DePalma, Greenberg & Rivas, attorneys; Mr. Greenberg on                      as the representative of a class of individuals who both
the brief, and Joseph N. Kravec, Jr. (Specter, Specter, Evans                rented vehicles from Hertz and purchased one or more of the
& Manogue), of the Pennsylvania bar, admitted pro hac vice,                  insurance products from Hertz during the period from April
of counsel and on the brief).                                                1988 through August 2003. The complaint alleges that Hertz
                                                                             misrepresented, concealed or failed to disclose to plaintiff and
Alan E. Kraus argued the cause for respondent (Latham &                      the other members of the class that it was not licensed or
Watkins, attorneys; Lisa Ann T. Ruggiero and Mr. Kraus, on                   registered to sell the insurance products that she and the class
the brief).                                                                  members purchased. She asserts that she and other members
                                                                             of the class are therefore entitled to damages from defendant
Before Judges A.A. RODRÍGUEZ, CUFF and HOENS.
                                                                             based upon six separate causes of action, namely, a violation
Opinion                                                                      of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 to
                                                                             -20, common law fraud, illegal contract subject to rescission,
PER CURIAM.                                                                  breach of the implied covenant of good faith and fair dealing,
                                                                             negligent misrepresentation and unjust enrichment.
 *1 Plaintiff Naomi Henderson appeals from the January
29, 2004 order of the Law Division granting the motion of
                                                                             Defendant filed a motion to dismiss the complaint for failure
defendant, The Hertz Corporation (“Hertz”), to dismiss her
                                                                             to state a claim, see R. 4:6-2(e), in lieu of answering the
complaint for failure to state a claim upon which relief may
                                                                             complaint. That motion, in summary, asserted that plaintiff's
be granted. We affirm.
                                                                             complaint failed to state a claim because it essentially
                                                                             sought to create a private right of action arising from a
For purposes of our review and in light of the procedural
                                                                             licensing requirement, which could only be enforced by the
posture of this appeal, we accept as true the facts set


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Commissioner of the Department of Banking and Insurance               Pursuant to IPLA, the Department of Banking and Insurance
(“the Commissioner”), because it sought to rescind a fully            (“the Department”) adopted regulations which plaintiff
executed contract and because plaintiff could not demonstrate         asserts require car rental companies, like Hertz, to register
that she had suffered an ascertainable loss as required by            as limited insurance representatives for purposes of sales
the Consumer Fraud Act. On January 29, 2004, Judge                    of insurance, such as the coverages Hertz offered. See 20
Bernstein granted the Hertz motion, separately addressing the         N.J.R. 904, 906-07, 909-10 (April 18, 1988). The regulations
sufficiency of each of the complaint's causes of action as a          accomplish this result by defining car rental companies as
part of his oral decision.                                            sellers of “ticket insurance,” N.J.A.C. 11:17-1.2, and by
                                                                      requiring sellers of ticket insurance to register in accordance
 *2 On appeal, plaintiff asserts that Judge Bernstein erred           with the Act. N.J.A.C. 11:17-2.2(a)(9)(iii). According to the
in dismissing the complaint for failure to state a claim.             complaint, Hertz did not register as required by IPLA or
She argues that the complaint states a cause of action,               IPLA(2001) and therefore was not licensed to offer the
cognizable within the Consumer Fraud Act, which is parallel           insurance products that it made available in connection with
to, but not coextensive with, the remedies that are available         its car rentals to plaintiff and the other class members from
to the Department of Banking and Insurance to enforce                 1988 through 2003. 1
the applicable insurance licensing statutes. In addition, she
asserts that because she purchased a product that Hertz was           1      Hertz does not concede that these regulations apply
not lawfully entitled to sell to her and which Hertz lacked the
                                                                             to its sales of these products. Rather, it asserts that
appropriate license to sell, she has suffered an ascertainable
                                                                             the scope of the regulations is more narrow than
loss. In the alternative, she urges us to find that the factual
                                                                             plaintiff's complaint alleges. For purposes of this
allegations support relief based on her other causes of action.
                                                                             appeal, and in light of its procedural context, we
We disagree and we affirm.
                                                                             accept plaintiff's assertions about the applicability
                                                                             of these regulations as true.
We begin our analysis with an explanation of the
relevant statutory and regulatory scheme governing insurance           *3 Plaintiff concedes that our Supreme Court has concluded
products and with an examination of the required elements             that there is no private right of action under IPLA. See
of the Consumer Fraud Act. Since April 1988, the New                  Lemelledo v. Beneficial Management Corp. of Am., 150
Jersey Insurance Producer Licensing Act (IPLA), N.J.S.A.              N.J. 255, 272 (1997). She concedes that IPLA's licensing
17:22A-1 to -25, has required that an entity or person                requirements can only be enforced by the Department, which
must be licensed in order to offer insurance for sale or              it accomplishes through the imposition of fines and penalties.
receive a fee, commission or compensation for sales of                Ibid. She does not suggest that the analysis of the similar
insurance. N.J.S.A. 17:22A-3. Effective August 15, 2001, the          statutory scheme enacted by IPLA(2001) would yield a
Legislature repealed that statute, but replaced it with a revised     contrary result. She asserts, however, that the claims she has
enactment. See New Jersey Insurance Producer Licensing                raised are cognizable causes of action within the Consumer
Act of 2001 (IPLA(2001)), N.J.S.A. 17:22A-26 to -48. The              Fraud Act, or sounding in common law fraud, illegal contract,
relevant language of the statute currently in force is similar to     breach of the covenant of good faith and fair dealing,
the requirements under IPLA.                                          negligence or unjust enrichment.

As currently in force, IPLA(2001) provides that a “person             The Law Division judge found these arguments
shall not sell, solicit or negotiate insurance in this State unless   unconvincing. Addressing the first count of the complaint,
the person is licensed for that line of authority in accordance       in which plaintiff asserted that the contract for sale of the
with this act.” N.J.S.A. 17:22A-29. In addition, IPLA(2001)           insurance products was illegal and subject to the equitable
specifically defines “person” to include both individuals and         remedy of rescission, the judge concluded that although the
business entities. Id. at -28. Both IPLA and IPLA(2001)               contract was illegal under IPLA, the statute did not make
vest the Commissioner with authority for both issuance of             the contract unenforceable. Moreover, he concluded that
licenses to sell insurance and enforcement of compliance with         because the contract had been fully performed and plaintiff
the statutes. See IPLA, N.J.S.A. 17:22A-4, -20; IPLA(2001),           had received the full benefit of the insurance coverage for
N.J.S.A. 17:22A-32, -33, -45.                                         which she paid, rescission was not available as a remedy.
                                                                      With respect to the counts of the complaint seeking relief



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pursuant to the Consumer Fraud Act or for common law fraud         every reasonable inference to be drawn from the factual
or misrepresentation, the judge noted that the sole basis for      assertions must be accorded to the plaintiff. Id. at 282. We
these allegations was Hertz's failure to register and become       have specifically considered the effect of such a motion in the
licensed. Because permitting that claim to proceed would           context of a Consumer Fraud Act complaint. See New Jersey
be tantamount to asserting a private remedy under IPLA or          Citizen Action v. Schering-Plough Corp., 367 N.J.Super. 8, 13
IPLA(2001), he concluded it was barred. Furthermore, the           (App.Div.), certif. denied, 178 N.J. 249 (2003). In particular,
judge found no other allegation in the complaint suggesting        we have commented that a motion for failure to state a claim in
that Hertz misled plaintiff or that it engaged in any other        the context of the Consumer Fraud Act should be approached
deceptive practice such as, for example, leading her to believe    “with hesitation.” Id. at 13 (citing Seidenberg v. Summit Bank,
that the purchase of the coverage was anything other than an       348 N.J.Super. 243, 249-50 (App.Div.2002)(other citations
option, or overcharging her for the coverage. As a result, the     omitted)).
judge concluded that the complaint did not assert any fraud-
based claim apart from the one resting on the violation of         However indulgently the court is required to view the
IPLA. The judge also dismissed the count in the complaint          sufficiency of factual allegations in evaluating a motion
for breach of the covenant of good faith and fair dealing,         to dismiss for failure to state a claim, the motion judge
concluding that this implied contract theory was unsupported       must nevertheless grant the motion if the complaint fails
by any of the factual allegations. Finally, the motion judge       to articulate a legally sufficient basis entitling plaintiff to
concluded that there could be no claim for unjust enrichment       relief. See Camden County Energy Recovery Assocs., L.P.
because plaintiff had received the benefit of her bargain.         v. New Jersey Department of Environmental Protection, 320
                                                                   N.J.Super. 59, 64 (App.Div.1999), aff'd o.b . 170 N.J. 246
On appeal, plaintiff asserts that the judge erred in dismissing    (2001). As we have recently held, “[a] motion to dismiss
the complaint for failure to state a claim. More specifically,     a complaint under R. 4:6-2(e) for failure to state a claim
she asserts that the allegations in the complaint suffice to       upon which relief can be granted must be evaluated in
support a cause of action pursuant to the Consumer Fraud           light of the legal sufficiency of the facts alleged in the
Act which is parallel to the remedies that are available to        complaint.” Donato v. Moldow, 374 N.J.Super. 475, 482
the Commissioner as enforcement mechanisms for IPLA or             (App.Div.2005). Although a plaintiff need not prove the truth
IPLA(2001). In addition, she asserts that she has identified an    of the factual allegations in response to a motion to dismiss
ascertainable loss, a critical element to the Consumer Fraud       for failure to state a claim, it is plaintiff's duty to demonstrate
Act analysis, arguing that she was damaged by purchasing           allegations “which, if proven, would constitute a valid cause
a product that defendant was not lawfully entitled to sell to      of action.” Sickles v. Cabot Corp., 379 N.J.Super. 100, 106
her and that she would not have purchased had she been             (App.Div.)(quoting Leon v. Rite Aid Corp., 340 N.J.Super.
aware that defendant lacked the appropriate license. In the        462, 472 (App.Div.2001)), certif. denied, 185 N.J. 297 (2005).
alternative, she asserts that the judge erred in his analysis of   With these indulgent standards of review in mind, we turn to
the sufficiency of her other claims. In particular, she argues     the specific complaint and the arguments of the appellant.
that he failed to consider that Hertz, by failing to advise her
that it was not licensed to sell the LIS, PAI and PEC products,    Although there are six separate counts in the complaint, the
committed common law fraud and breached the covenant of            central focus of plaintiff's appeal, and therefore the focus of
good faith and fair dealing. Finally, she argues that Hertz has    our analysis, is on the Consumer Fraud Act, N.J.S.A. 56:8-1
been unjustly enriched by being permitted to profit from the       to -20, and the related claims sounding in common law fraud
sale of these products in violation of IPLA and IPLA(2001).        and misrepresentation. We begin, therefore, by observing that
                                                                   the Consumer Fraud Act gives citizens a cause of action under
 *4 A motion for failure to state a claim requires the judge       certain conditions. As our Supreme Court has held, in order
to search the pleading in depth and with liberality in order       to state a claim under the Consumer Fraud Act, a plaintiff
to determine whether a cause of action is suggested. Printing      must allege each of three elements: (1) unlawful conduct by a
Mart-Morristown v. Sharp Electronics Corp., 116 N.J. 739,          defendant; (2) an ascertainable loss on the part of the plaintiff;
746 (1989). In addressing any motion to dismiss for failure        and (3) a causal relationship between defendant's unlawful
to state a claim, the court must “accept as true all factual       conduct and that ascertainable loss. See Cox v. Sears Roebuck
assertions in the complaint.” Smith v. SBC Communications,         & Co., 138 N.J. 2, 24 (1994). Based upon our review of the
Inc., 178 N.J. 265, 268-69 (2004). Moreover, in doing so,          allegations in the complaint, we conclude, as did the motion



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judge, that plaintiff has failed to state a claim consistent       have purchased the products had she been aware of those
with these necessary requirements of the Consumer Fraud            facts, we would reach the same result. Because her factual
Act. In particular, her claim falls short because she cannot       assertions are, fundamentally, that Hertz violated IPLA or
demonstrate that the unauthorized sale of insurance products       IPLA(2001) they cannot support relief under any of the
is “unlawful conduct” as that concept is embodied in the           theories in her complaint. It is significant to our analysis
Consumer Fraud Act and because she cannot demonstrate              that plaintiff has defined the class of claimants to include
that she has suffered an ascertainable loss because of Hertz's     only those who purchased insurance products from Hertz
conduct.                                                           but who thereafter made no claims for coverage pursuant to
                                                                   those policies. She concedes that any Hertz customer who
 *5 We first conclude that plaintiff has failed to allege          purchased one of the insurance products and who thereafter
facts that would support relief under the Consumer Fraud           made a claim under those policies was compensated for their
Act because the nature of the misrepresentation or deceptive       covered claims. That being the case, plaintiff has defined
practice on which she bases her claim, namely, the sale            the class of persons she seeks to represent to include only
of a product which Hertz was not authorized by license             those individuals who have no claim at all. That is to say, the
to sell, is not a legally cognizable claim. That is to say,        very definition of the class demonstrates that the insurance
IPLA and IPLA(2001) make plain that enforcement of                 Hertz sold was recognized as valid by the underwriters,
the licensing provisions relating to the sale of insurance         notwithstanding the fact that Hertz had no license to sell it. By
products is for the Commissioner. See In re Commissioner           defining the class to exclude all individuals who purchased
of Insurance's March 24, 1992 Order, 256 N.J.Super. 158,           the insurance and made a claim for which they were
176 (App.Div.1992), aff'd, 132 N.J. 209 (1993)(“Implied            compensated, plaintiff only asserts a cause of action which
remedies are unlikely to be intended by a Legislature              IPLA and IPLA(2001) have reserved to the Commissioner. In
that enacts a comprehensive legislative scheme including           short, she seeks to create a private right of action to remedy
an integrated system of procedures for enforcement”);              the unlicensed sale.
Mizrahi v. Allstate Ins. Co., 276 N.J.Super. 112, 118 (Law
Div.1994)(IPLA “seeks to compel compliance with its                 *6 Nor does the holding of the Supreme Court in Perez v.
licensing requirements by permitting the Commissioner to           Rent-A-Center, Inc., 186 N.J. 188 (2006), or the analysis of
impose substantial fines ... and to refuse to issue or renew a     the Law Division in Artistic Lawn & Landscape Co. v. Smith,
license for any statutory violation”). Our Supreme Court has       381 N.J.Super. 75 (Law Div.2005), both called to our attention
specifically held that IPLA does not create a private right of     by plaintiff while this matter was pending, see R. 2:6-11(d),
action or a private remedy for an individual who purchases an      support a different result. In Perez, the Court concluded that
insurance product from an unlicensed insurer. See Lemelledo,       a claim amounting to a statutory violation could also form the
supra, 150 N.J. at 272. Nothing in IPLA(2001) would support        basis for a Consumer Fraud Act claim. Its reasoning, however,
a different conclusion as it relates to that legislative scheme.   rested on the conclusion that a rent-to-own contract was a
                                                                   retail installment contract, within the meaning of the Retail
Viewed against these precedents, plaintiff's claim must fail as    Installment Sales Act (“RISA”), N.J.S.A. 17:16C-1 to -61,
a matter of law. A review of the complaint reveals that the        and subject to that statute. Having reached that conclusion,
only acts or practices plaintiff alleges give rise to her cause    the Court then relied on the rationale of Lemelledo, supra,
of action are that Hertz sold insurance without a license, that    150 N.J. at 264-66, which had earlier concluded that a RISA
Hertz was required to be licensed and that Hertz's sale of         violation could support a Consumer Fraud Act cause of
insurance was either illegal or against public policy. None        action. See Perez, supra, 186 N.J. at 219-20.
of these acts, however, falls outside the scope of IPLA or
IPLA(2001); none can be the basis for a private remedy under       The Court's reasoning in Perez does not undercut the Court's
the Consumer Fraud Act. None, by extension, can support            earlier conclusion in Lemelledo that an IPLA violation does
a private remedy through any other misrepresentation-based         not similarly give rise to a Consumer Fraud Act claim.
theory.                                                            Lemelledo, supra, 150 N.J. at 272. Indeed, the Perez Court
                                                                   pointed out that there is no suggestion that the remedy
Even were plaintiff to contend, and her complaint does not,        of the Consumer Fraud Act would conflict with the RISA
that defendant should have revealed to her that it was an          enforcement scheme. In light of the fact that the Court in
unlicensed seller of ticket insurance and that she would not       Lemelledo reached the contrary conclusion in its separate



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analysis of the relationship between the Consumer Fraud Act         which a finder of fact could find or infer” that the plaintiff
and IPLA, based on the latter's lack of a private remedy,           sustained an ascertainable loss. Ibid. Significant to our
we find nothing in Perez that supports plaintiff's assertions.      analysis of plaintiff's complaint against Hertz, the Court there
Indeed, the Court has not altered its conclusion that a conflict    defined the concept of ascertainable loss as a “quantifiable
between the regulatory scheme and the asserted private              or otherwise measurable loss.” Ibid. In analyzing and in
remedy compels the latter to give way to the former.                attempting to define the ascertainable loss requirement, the
                                                                    Court observed that “[t]here is little that illuminates the
Similarly, although the Law Division judge in Artistic              precise meaning that the Legislature intended in respect of
Lawn concluded that a contractor who was not licensed               the term ‘ascertainable loss' in our statute.” Id. at 248. In
to perform a lawn irrigation installation project could be          doing so, the Court echoed its earlier statement that “[w]e
subject to a Consumer Fraud Act claim, neither the court's          neither can ascribe a plain meaning to the term ascertainable
analysis nor the statutory framework addressed in that              loss, nor find legislative history that sheds direct light on
decision supports a like conclusion here. Apart from the            those words.” See Furst v. Einstein Moomjy, Inc., 182 N.J. 1,
fact that the licensing framework addressed in Artistic             11 (2004). Most significant to our analysis, in Thiedemann,
Lawn is unlike IPLA or IPLA(2001), as the court there               the Court concluded that “[t]o give effect to the legislative
recognized, the full performance of the contract itself,            language describing the requisite loss for private standing
regulations notwithstanding, might compel an alternate result.      under the [Consumer Fraud Act], and to be consistent with
See Artistic Lawn, supra, 381 N.J.Super. at 87. Indeed, the         Weinberg, a private plaintiff must produce evidence from
Law Division judge in Artistic Lawn relied in part on our           which a factfinder could find or infer that the plaintiff suffered
earlier expression of a similar concern, that is, the inherent      an actual loss.” Thiedemann, supra, 183 N.J. at 248.
unfairness of preventing a remedy to a contractor who has
fully performed. See Scibeck v. Longette, 339 N.J.Super.            As a further illustration of the meaning of “actual loss”
72, 82 (App.Div.2001). Even were we to conclude that                the Court noted that “[i]n cases involving breach of
plaintiff here had a potential private remedy, because Hertz        contract or misrepresentation, either out-of-pocket loss or
fully performed, the concern we expressed in Scibeck would          a demonstration of loss in value will suffice to meet the
support the same conclusion here, precluding plaintiff from         ascertainable loss hurdle and will set the stage for establishing
pursuing her claim. As we noted in Scibeck, plaintiff, having       the measure of damages.” Ibid. The Court stressed, however,
received the full benefit of the bargain of the insurance           that the “certainty implicit in the concept of an ‘ascertainable’
coverage that Hertz sold her, should not be permitted to “use       loss is that [such loss] is quantifiable or measurable.” Ibid.
the [Consumer Fraud] Act as a sword rather than a shield.”          The calculation does not need to be exact, and plaintiff
Ibid. Having reviewed and considered each of these additional       need not experience any out-of-pocket loss. Ibid. Rather
precedents cited for us by plaintiff, we discern no basis on        “an ‘estimate of damages, calculated within a reasonable
which to conclude that the Law Division judge erred in              degree of certainty,’ will” be sufficient to demonstrate an
deciding that she has failed to state a claim for relief pursuant   ascertainable loss. Id. at 249 (quoting Cox, supra, 138 N.J. at
to the Consumer Fraud Act.                                          22).

 *7 Alternatively, we would affirm the motion judge's               In the time since the Court decided Thiedemann, we
decision because plaintiff has failed to set forth facts that       have addressed several other issues related to the analysis
suffice to meet the ascertainable loss requirement of the           of the concept of ascertainable loss. We have reiterated
Consumer Fraud Act. We need not describe this requirement           our earlier rejection of the “price-inflation” theory, see
or the history of the development of our understanding of           Dabush v. Mercedes-Benz U.S.A., LLC, 378 N.J.Super.
it, see Weinberg v. Sprint Corp., 173 N.J. 233, 251 (2002);         105, 123 (App.Div.) (citing Citizen Action, supra, 367
Meshinsky v. Nichols Yacht Sales, Inc., 110 N.J. 464, 473           N.J.Super. at 16), certif. denied, 185 N.J. 265 (2005), and
(1988), at great length, particularly in light of the recent        we have concluded that a plaintiff who relies only on
guidance from our Supreme Court about the meaning of the            hypothetical surmise about an automobile component without
term. See Thiedemann v. Mercedes-Benz U.S.A., LLC, 183              any out-of-pocket loss or evidence of its value cannot
N.J. 234, 238 (2005). In Thiedemann, the Court reiterated           meet the Thiedemann test. Id. at 124. We have concluded
that summary judgment on a Consumer Fraud Act claim                 that automobile repairs that would have been covered by
is appropriate if a “plaintiff fails to produce evidence from       warranties but which were voluntarily foregone in an effort



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to support a Consumer Fraud Claim Act also did not meet the       theories. We begin by noting that the same factual allegations
ascertainable loss test. See Perkins v. DaimlerChrysler Corp.,    which plaintiff utilized to support her Consumer Fraud Act
383 N.J.Super. 99, 112 (App.Div.2006).                            claim also give rise to each of the other claims.

 *8 We recognize that the Court in Thiedemann had the             We need only comment briefly on plaintiff's common law
benefit of a more complete record than the one we here            fraud and negligent misrepresentation claims. First, as Hertz
review. While the Thiedemann appeal followed a motion for         points out, both of these claims are, in the context of the facts
summary judgment, based on a record more fully developed          here, simply alternative articulations of a proposed private
in discovery than the limited record before us in light           remedy, barred by IPLA and IPLA(2001), for Hertz's alleged
of the procedural posture of this matter, we do not find          failure to maintain a license or to advise plaintiff that it was
that difference significant. We conclude, rather, as we did       not licensed. The result, therefore, of our analysis, can be no
in Perkins, that the parameters of the Thiedemann test            different from our decision on the Consumer Fraud Act claim.
for ascertainable loss are such that they can be applied          See Crusco v. Oakland Care Center, 305 N.J.Super. 605,
appropriately to this complaint in the context of a motion to     614-17 (App.Div.1997)(artful repleading of barred statutory
dismiss for failure to state a claim. See Perkins, supra, 383     claim insufficient to state a claim). Second, were we to
N.J.Super. at 111.                                                examine the factual assertions in comparison to the elements
                                                                  of either of these causes of action, we would conclude that
Applying even these more recent precedents to plaintiff's         plaintiff's complaint fails to state a claim.
complaint, we reach the same conclusion as did Judge
Bernstein. Although plaintiff purchased insurance products         *9 The elements of common law fraud or misrepresentation
from an allegedly unlicensed seller, she must concede that,       are: (1) a false representation of fact; (2) made by defendant;
had she had the occasion to file a claim against that insurance   (3) with knowledge that it is false; (4) with the intent to
coverage, it would not have been rejected on that ground.         deceive plaintiff; (5) upon which representation plaintiff
In fact, she got the benefit of her bargain because she was       relies to his or her detriment; (6) sustaining a loss. See Jewish
covered against the various perils as to which the insurance      Center of Sussex County v. Whale, 86 N.J. 619, 624 (1981);
products applied each time she bought coverage. The mere          Louis Schlesinger Co. v. Wilson, 22 N.J. 576, 585-86 (1956);
fact that she did not need to file a claim does not mean that     Fischetto Paper Mill Supply, Inc. v. Quigley Co., Inc., 3 N.J.
she did not receive the coverage for which she bargained.         149, 152-53 (1949). As with our discussion of the Consumer
It therefore cannot equate with an ascertainable loss as our      Fraud Act's ascertainable loss requirement, plaintiff's inability
Supreme Court has interpreted that term. Rather, it is only by    to demonstrate that she suffered any loss as a result of Hertz's
defining the putative class so as to exclude every purchaser      sale of insurance without a license is fatal to her claim.
who made a claim and who realized the full benefit of the         Moreover, as plaintiff does not assert and cannot demonstrate
coverage as well that plaintiff attempts to demonstrate a loss.   that she relied to her detriment on any statement, or omission,
We decline to interpret the reach of the ascertainable loss       by Hertz, her claim cannot be sustained under either of these
requirement to include plaintiff, who only by fortuity, did not   theories for this separate reason.
actually need the coverage she purchased. Indeed, it is in the
nature of insurance that some people will buy it and not use      Similarly, plaintiff's illegal contract claim, on which she bases
its available coverages. To suggest that every purchaser of       her demand for the equitable remedy of rescission, fails
insurance who does not thereafter make a claim against the        because the contract is fully executed. So articulated, the
coverage has suffered an “actual” loss in the sense required      flaw in her reasoning is apparent, for the equitable remedy
under the Consumer Fraud Act is to stretch the concept well       is not available after performance. See County of Morris v.
beyond its meaning and intendment as we understand it.            Fauver, 153 N.J. 80, 97 (1998); Intertech Assocs., Inc. v. City
                                                                  of Paterson, 255 N.J.Super. 52, 59 (App.Div.1992)(quoting
Henderson also argues that the Law Division judge erred in        Driscoll v. Burlington-Bristol Bridge Co., 28 N.J.Super. 1,
dismissing her claims based on theories of common law fraud,      4 (App.Div.1953)). Even if by selling the insurance without
negligent misrepresentation, illegal contract (rescission),       a license, Hertz violated the law, the insurance coverage
breach of the covenant of good faith and fair dealing and         plaintiff bargained for was provided. Indeed, although the risk
unjust enrichment. Although we find no merit in her assertion     insured against did not occur during the rental period, plaintiff
that the judge erred, we separately address each of these         concedes that had it, she would have been covered, just as



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                                                                       obligations to plaintiff by providing her with a valid insurance
those excluded from the putative class in fact were covered.
Because her illegal contract claim seeks to rescind a contract         contract as promised. See Paley v. Baron Sav. and Loan Ass'n.,
for services after all obligations promised by Hertz have been         82 N.J.Super. 75, 84 (App.Div.), certif. denied, 41 N.J. 602
performed, it fails as a matter of law.                                (1964). There can be no claim for the equitable remedy of
                                                                       unjust enrichment, therefore, because Hertz did not receive
We reject as well plaintiff's argument that Hertz breached             a benefit at plaintiff's expense. See Assocs. Commercial
the covenant of good faith and fair dealing. Judge Bernstein           Corp. v. Wallia, 211 N.J.Super. 231, 243 (App.Div.1986).
reasoned that because plaintiff received the full fruits of the        Rather, Hertz undeniably provided the insurance coverage
contract of insurance, she could not prevail on this claim. On         even if it was not licensed to do so. Hertz therefore received
appeal, plaintiff urges us to conclude that the covenant of good       only payment for that which it provided. In the absence
faith and fair dealing required Hertz to affirmatively advise          of factual allegations that Hertz received a benefit that
her that it was not licensed to sell the insurance coverage.           enriched it beyond its contractual rights, there can be no claim
We disagree. The essence of the covenant of good faith and             for damages pursuant to the unjust enrichment theory. See
fair dealing, implied in every contract, as defined by our             Callano v. Oakwood Park Homes Corp., 91 N.J. Super . 105,
Supreme Court, is that “neither party shall do anything which          109 (App.Div.1966).
will have the effect of destroying or injuring the right of
the other party to receive the fruits of the contract.” Bak-           In summary, our review of the record compels us to conclude,
A-Lum Corp. of Am. v. Alcoa Bldg. Products, Inc., 69 N.J.              as did Judge Bernstein, that the facts set forth in plaintiff's
123, 129-30 (1976)(quotations omitted); see Sons of Thunder            complaint fail as a matter of law to state claims for relief either
v. Borden, Inc., 148 N.J. 396, 420 (1997). Even assuming               within the Consumer Fraud Act, or for common law fraud,
that Hertz misrepresented whether it was licensed to sell              negligent misrepresentation, illegal contract, breach of the
the products, there are no allegations in the complaint that           covenant of good faith and fair dealing or unjust enrichment.
Hertz did anything to destroy or injure plaintiff's rights under
the contracts of insurance. Because it is undisputed that the          Affirmed.
insurance policies sold by Hertz did provide the coverage
as represented, plaintiff can have no claim for breach of the          All Citations
covenant of good faith and fair dealing.
                                                                       Not Reported in A.2d, 2005 WL 4127090
 *10 Finally, we agree with the motion judge that plaintiff's
unjust enrichment claim also fails. Hertz performed its

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                          Hoffman v. Cogent Solutions Group, LLC
                       United States District Court for the District of New Jersey
                        December 16, 2013, Decided; December 16, 2013, Filed
                              Civil Action No. 13-00079 (SDW) (MCA)

Reporter
2013 U.S. Dist. LEXIS 176056 *; 2013 WL 6623890

                                                     Before the Court is Cogent Solutions Group, LLC's
HAROLD M. HOFFMAN, individually and on               ("Defendant") Motion for Judgment on the
behalf of those similarly situated, Plaintiff, vs.   Pleadings pursuant to Federal Rule of Civil
COGENT SOLUTIONS GROUP, LLC, Defendant.              Procedure 12(c). This Court has jurisdiction
                                                     pursuant to 28 U.S.C. §§ 1332 and 1332(d). Venue
                                                     is proper under 28 U.S.C. § 1391. This Court,
                                                     having considered the parties' submissions, decides
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                                                     this matter without oral argument pursuant to
                                                     Federal Rule of Civil Procedure 78. For the reasons
                                                     stated below, Defendant's Motion for Judgment on
                                                     the Pleadings is GRANTED.
Counsel: [*1] For HAROLD M. HOFFMAN,
individually and on behalf of those similarly
                                                     FACTUAL HISTORY
situated, Plaintiff: HAROLD M HOFFMAN,
LEAD ATTORNEY, ENGLEWOOD, NJ.                        Plaintiff Harold M. Hoffman ("Plaintiff"), an
                                                     attorney from Bergen County, New Jersey,
For COGENT SOLUTIONS GROUP, LLC,                     commenced this action on behalf of himself and
Defendant: MICHAEL R. MCDONALD, LEAD                 similarly     situated      consumers        alleging
ATTORNEY, JENNIFER MARINO                            misrepresentation of the efficacy of Defendant's
THIBODAUX, GIBBONS, PC, NEWARK, NJ.                  product, Baxyl Hyaluronan ("Baxyl").1 (Compl. ¶
                                                     1; see Compl. at Overview.) Baxyl is a dietary
                                                     supplement containing [*2] 60 mg of Hyaluronic
                                                     Acid which is allegedly beneficial for joint health
Judges: Susan D. Wigenton, United State District     and mobility. (Id. ¶¶ 6-9.) Hyaluronic Acid, the
Judge.                                               active ingredient in Baxyl, can be commercially
                                                     created in two ways: (1) by extracting the substance
                                                     from animal tissues, or (2) through bacterial
                                                     fermentation. (Id. ¶ 7.) Plaintiff alleges that
Opinion by: Susan D. Wigenton

                                                     1 Plaintiff has previously filed numerous suits against several
                                                     companies similarly alleging misrepresentation, fraud, and deceptive
Opinion                                              practices. See, e.g., Hoffman v. Supplements Togo Mgmt., LLC, 419
                                                     N.J. Super. 596, 18 A.3d 210 (App. Div. 2011); Hoffman v.
                                                     Hampshire Labs, Inc., 405 N.J. Super. 105, 963 A.2d 849 (App. Div.
                                                     2009); Hoffman v. Asseenontv.Com, 404 N.J. Super. 415, 962 A.2d
WIGENTON, District Judge.                            532 (App. Div. 2009).
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Hyaluronic Acid created through bacterial                 the matter to this Court on January 3, 2013. (Dkt.
fermentation, as in the case of Baxyl, is of a lesser     No. 1.)
grade than when extracted from animal tissues.
(Id.)                                                     On March 21, 2013, Magistrate Judge Arleo issued
                                                          an Order to Show Cause requiring Plaintiff to
In September 2012, Plaintiff purchased Baxyl after        demonstrate why his case should not be dismissed
he "was exposed to and read, saw and/or heard             and/or remanded. (Dkt. No. 9.) Judge Arleo denied
Defendant's advertising and marketing claims and          Plaintiff's request for remand and ruled that this
promises with respect to [this] product." (Id. ¶ 1.)      Court has subject matter jurisdiction over this
Plaintiff alleges that Defendant made false               action under the Class Action Fairness Act, 28
promises that Baxyl "delivered joint health and           U.S.C. § 1332(d) ("CAFA"). (See Dkts. 20-21; Def.
mobility in humans." (Id. ¶ 9.) Moreover, Plaintiff       Br. 2-3.) On August 9, 2013, Defendant filed an
asserts that Defendant has no clinical evidence           Answer and moved for judgment on the pleadings.
 [*3] to support its claim that "orally ingesting         (Dkt. Nos. 25-26.)
Hyaluronic Acid produced through biological
fermentation, in a 60 mg liquid dose, can deliver
any relief from osteoarthritis" or joint pain relief of   LEGAL STANDARD
any kind. (Id. ¶¶ 8, 11.) Accordingly, Plaintiff
alleges that "Defendant misrepresented the efficacy
and benefit of its product" and that consumers
                                                          Motion for Judgment on the Pleadings
"made purchasing decisions . . . based upon
Defendant's specific representations of product
                                                     "A motion to dismiss for failure to state a claim
efficacy and benefit." (Id. ¶¶ 15-16.) Plaintiff
                                                     under Rule 12(c) is identical to one filed under Rule
further states that Defendant "affirmatively
                                                     12(b)(6), except Rule 12(c) allows for the motion to
misrepresented and mislabeled its product." (Id. ¶
                                                     be filed after the filing of an answer, while Rule
17.)
                                                     12(b)(6) allows for the motion to be made in lieu of
                                                     an answer." Wellness Pub. v. Barefoot, No. 02-
                                                     3773, 2008 U.S. Dist. LEXIS 1514, 2008 WL
PROCEDURAL HISTORY
                                                     108889, at * 6 (D.N.J. Jan. 9, 2008); see also Fed.
On December 3, 2012, Plaintiff filed his Complaint R. Civ. P. 12(h)(2)(B). In either instance, a court is
in the Superior Court of New Jersey, Law Division [*5] to use the same standard in evaluating the
in Bergen County alleging the following counts: (I- motions. Reinbold v. U.S. Post Office, 250 Fed.
V) Violation of the New Jersey Consumer Fraud Appx. 465, 466 (3d Cir. 2007) (citing Turbe v.
Act (CFA) based upon unconscionable commercial Gov't of Virgin Islands, 938 F.2d 427, 428 (3d Cir.
practice; deception; fraud; false pretense, false 1991)).
promise and/or misrepresentation; knowing
concealment, suppression and/or omission of The adequacy of pleadings is governed by Fed. R.
material facts with the intent that others rely upon Civ. P. 8(a)(2), which requires that a complaint
such concealment, suppression and/or omission, in allege "a short and plain statement of the claim
connection with the sale or advertisement of any showing that the pleader is entitled to relief." This
merchandise; (VI) common law fraud; (VII) unjust Rule "requires more than labels and conclusions,
enrichment; (VIII)       [*4] breach of express and a formulaic recitation of the elements of a
warranty; and (IX) breach of the implied warranty cause of action will not do. Factual allegations must
of merchantability and fitness for an intended be enough to raise a right to relief above the
purpose. (Compl. ¶¶ 31-70.) Defendant removed speculative level." Bell Atl. Corp. v. Twombly, 550
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U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929        analysis. 578 F.3d 203, 210 (3d Cir. 2009). First,
(2007) (internal citations omitted); see also Phillips   the court must separate the factual elements from
v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir.        the legal conclusions. Id. The court "must accept all
2008) (stating that Rule 8 "requires a 'showing'         of the complaint's well-pleaded facts as true, but
rather than a blanket assertion of an entitlement to     may disregard any legal conclusions." Id. at 210-
relief").                                                11. Second, the court must determine if "the facts
                                                         alleged in the complaint are sufficient to show that
In considering a Motion to Dismiss under Fed. R.         the plaintiff has a 'plausible claim for relief.'" Id.
Civ. P. 12(b)(6), the Court must "'accept all factual    (quoting Iqbal, 556 U.S. at 679). "In other words, a
allegations as true, construe the complaint in the       complaint must do more than allege the plaintiff's
light most favorable to the plaintiff, and determine     entitlement to relief. A complaint has to 'show' such
whether, under any reasonable reading of the             an entitlement with its facts." Id. (citing Phillips,
complaint, the plaintiff may be entitled to relief."'    515 F.3d at 234-35.)
Phillips, 515 F.3d at 231 [*6] (quoting Pinker v.
Roche Holdings Ltd., 292 F.3d 361, 374 n.7 (3d
Cir. 2002)). However, "the tenet that a court must       Heightened Pleading Standard under Fed. R. Civ.
accept as true all of the allegations contained in a     P. 9(b) for Fraud Claims
complaint is inapplicable to legal conclusions.
Threadbare recitals of the elements of a cause of        Fed. R. Civ. P. 9(b) requires that "[i]n alleging
action, supported by mere conclusory statements,         fraud or mistake, a party must state with
do not suffice." Ashcroft v. Iqbal, 556 U.S. 662, 129    particularity the circumstances constituting fraud or
S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (citing      mistake. Malice, intent, knowledge, and other
Twombly, 550 U.S. at 555). If the "well-pleaded          conditions of a person's mind may be alleged
facts do not permit the court to infer more than the     generally." Fed. R. Civ. P. 9(b). [*8] Plaintiffs
mere possibility of misconduct," the complaint           "alleging fraud must state the circumstances of the
should be dismissed for failing to "show[] that the      alleged fraud[ulent act] with sufficient particularity
pleader is entitled to relief" as required by Rule       to place the defendant on notice of the 'precise
8(a)(2). Id. at 1950.                                    misconduct with which [it is] charged.'" Park v.
                                                         M&T Bank Corp., No. 09-cv-02921, 2010 U.S.
According to the Supreme Court in Twombly,               Dist. LEXIS 24905, 2010 WL 1032649, at *5
"[w]hile a complaint attacked by a Rule 12(b)(6)         (D.N.J. Mar. 16, 2010) (citing Lum v. Bank of
motion to dismiss does not need detailed factual         America, 361 F.3d 217, 223-24 (3d Cir. 2004)).
allegations, a plaintiff's obligation to provide the     Plaintiffs can satisfy this standard by alleging dates,
'grounds' of his[/her] 'entitle[ment] to relief'         times, places and other facts with precision. Park,
requires more than labels and conclusions, and a         2010 U.S. Dist. LEXIS 24905, 2010 WL 1032649,
formulaic recitation of the elements of a cause of       at *5.
action will not do." 550 U.S. at 555 (internal
citations omitted). The Third Circuit summarized
the Twombly pleading standard as follows: "'stating      DISCUSSION
. . . a claim requires a complaint with enough
 [*7] factual matter (taken as true) to suggest' the
required element." Phillips, 515 F.3d at 234
                                                         I. Defendant's Motion for Judgment on the
(quoting Twombly, 550 U.S. at 556).
                                                         Pleadings
In Fowler v. UPMC Shadyside, the Third Circuit
directed district courts to conduct a two-part
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A. Consumer Fraud Act (CFA) Claims (Counts            Baxyl's efficacy with reliable medical studies,
I-V)                                                  clinical data, or scientific research. (See generally
                                                      Compl.) Defendant points out—and Plaintiff does
To state a cause of action under the CFA, plaintiff not dispute—that prior substantiation claims are not
must allege: "(1) an unlawful practice by the cognizable under the CFA. Franulovic v. Coca
defendants; (2) an ascertainable loss by plaintiff; Cola Co., 390 F. App'x 125, 128 (3d Cir. 2010)
and (3) a causal nexus between the first two (noting that "a New Jersey [CFA] claim cannot be
elements—defendants' allegedly unlawful behavior premised on a prior substantiation theory of
and the plaintiff's ascertainable loss." Parker v. liability"). In carefully reviewing the Complaint
Howmedica Osteonics Corp., No. 07-2400, 2008 and the parties' briefs, it is clear that Plaintiff's
U.S. Dist. LEXIS 2570, 2008 WL 141628, at *2 alleged CFA claims are based on a lack of
(D.N.J. Jan. 14, 2008) (citing New Jersey Citizen substantiation theory of liability. See Scheuerman
Action v. Schering-Plough Corp., 367 N.J. Super. 8, v. Nestle Healthcare Nutrition, Inc., No. 10-3684,
842 A.2d 174, 176 (N.J. App. Div. 2003)). 2012 U.S. Dist. LEXIS 99397, 2012 WL 2916827,
Additionally, CFA claims must meet the at *7 (D.N.J. July 17, 2012) (granting summary
heightened pleading requirement under Fed R. Civ. judgment on CFA claims in finding that "the core
P. 9(b).                                              allegations of fraud in the Complaint are clearly
                                                      grounded in a prior substantiation theory of
The first element [*9] of an unlawful practice liability"). As lack of substantiation claims are not
"typically involves an affirmative act of fraud and cognizable under the CFA, Plaintiff's claims are not
can arise from an affirmative act, an omission, or a viable.
violation of an administrative regulation." Adamson
v. Ortho-McNeil Pharm., Inc., 463 F. Supp. 2d 496, Even if Plaintiff's claims were not based on lack of
501 (D.N.J. 2006). "The misrepresentation has to substantiation, they would otherwise fail because
be one which is material to the transaction and they are inadequately pled. Plaintiff claims that he
which is a statement of fact, found to be false, made purchased [*11] Baxyl. (Compl. ¶ 4.) However,
to induce the buyer to make the purchase." Gennari nowhere in the record is there any indication that
v. Weichert Co. Realtors, 148 N.J. 582, 691 A.2d Plaintiff actually ingested the product. Moreover,
350, 366 (1997). Next, to properly plead an Plaintiff alleges that he suffered "out of pocket
ascertainable loss, a plaintiff must allege facts payment and expenditure" and "received . . . a
showing "either an out-of-pocket loss or a product that was unable to deliver the benefits
demonstration of loss in value." Dist. 1199P Health promised." (Id. ¶ 22.) However, Plaintiff failed to
and Welfare Plan v. Janssen, L.P., 784 F. Supp. 2d state how he received less than what was promised.
508, 530 (D.N.J. 2011) (internal citations omitted). Plaintiff merely states that Baxyl was supposed to
Finally, a plaintiff must show a causal nexus "deliver specified health benefit[s] and joint
between the misrepresentation or concealment of support" and "cannot do so." (Id. ¶ 25.) Plaintiff's
the material fact by defendant and the loss suffered bare allegations fall short of establishing valid CFA
by any person. Dewey v. Volkswagen AG, 558 F. claims; thus, they are dismissed.
Supp. 2d 505, 526 (D.N.J. 2008).

Here, this Court finds that Plaintiff fails to assert   B. Common Law Fraud (Count VI)
viable claims under the CFA. Plaintiff contends that
Defendant misrepresented the efficacy of Baxyl.         To adequately plead a fraud claim under New
(Compl. at Overview; Pl. Opp. 12.) Specifically,        Jersey law, a plaintiff must establish the following
the gravamen [*10] of Plaintiff's Complaint is that     elements: "(1) a material misrepresentation of a
Defendant failed to substantiate its claims of          presently existing or past fact; (2) knowledge or
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belief by the defendant of its falsity; (3) an        Here, Plaintiff fails to a state a claim for unjust
intention that the other person rely on it; (4)       enrichment against Defendant. Plaintiff alleges,
reasonable reliance thereon by the other person;      inter alia, that Defendant is "indebted to class
and (5) resulting damages." Banco Popular N. Am.      members for the sums paid by class members to
v. Gandi, 184 N.J. 161, 172-73, 876 A.2d 253          Defendant for purchase of a misrepresented
(2005) (quoting Gennari v. Weichert Co. Realtors,     product." (Compl. ¶ 55.) Plaintiff seeks
148 N.J. 582, 610, 691 A.2d 350 (1997)); see also     disgorgement of monies paid to Defendant. (Id. ¶
Jewish Center of Sussex County v. Whale, 86 N.J.      56.) However, "[u]njust enrichment is not a viable
619,     624-25,      432  A.2d     521    (1981).    theory—and disgorgement is therefore not
 [*12] Additionally, fraud claims must meet the       available—in circumstances in which a consumer
requirements of Fed R. Civ. P. 9(b) which imposes     purchases specific goods and receives those same
a heightened pleading requirement with respect to     specific goods." In re Cheerios Mktg. & Sales
allegations of fraud.                                 Practices Litig., No. 09-cv-2413, 2012 U.S. Dist.
                                                      LEXIS 128325, 2012 WL 3952069, at *13 (D.N.J.
Here, Plaintiff fails to plead a viable fraud claim. Sept. 10, 2012). In this case, Plaintiff purchased and
Plaintiff asserts that Defendant "engaged in received Baxyl. Plaintiff does not allege that no
concealment, suppression and/or omission of value was received for its purchase of Baxyl.
material facts." (Compl. ¶ 48.) However, Plaintiff Moreover, as previously discussed, Plaintiff does
fails to identify with specificity the nature of the not articulate how Baxyl failed to function as
misrepresentations, when they were made, which advertised, that he consumed and was thereby
representations he relied on, and how he relied on injured by the product, [*14] or why it was unjust
them. Furthermore, Plaintiff fails to sufficiently for Defendant to retain the money paid for the
plead resulting damages based on Baxyl's alleged product. Accordingly, Plaintiff's claim for unjust
ineffectiveness. See Hoffman v. Nutraceutical enrichment is dismissed.
Corp., No. 12-5803, 2013 U.S. Dist. LEXIS 81559,
2013 WL 2650611, at *3 (D.N.J. June 10, 2013)
(dismissing fraud claim because "Plaintiff failed to D. Claim for Breach of Express Warranty
identify the resulting damages"). Thus, Plaintiff's (Count VIII)
claim for common law fraud is dismissed.
                                                      To establish a claim for breach of express warranty
                                                      under New Jersey law, a plaintiff must allege: "(1)
C. Unjust Enrichment (Count VII)                      that Defendant made an affirmation, promise or
                                                      description about the product; (2) that this
To establish a claim for unjust enrichment under affirmation, promise or description became part of
New Jersey law, a plaintiff must allege that (1) the the basis of the bargain for the product; and (3) that
defendant received a benefit, (2) at the plaintiff's the product ultimately did not conform to the
expense, (3) under circumstances that would make affirmation, promise or description." Snyder v.
it unjust for the defendant to retain the benefit Farnam Companies, Inc., 792 F. Supp. 2d 712, 721
without paying for it, and (4) the plaintiff expected (D.N.J. 2011) (citations omitted). However, the
 [*13] remuneration from defendant at the time he statute specifically notes that "an affirmation
performed or conferred a benefit on defendant. merely of the value of the goods or a statement
Jurista v. Amerinox Processing, Inc., 492 B.R. 707, purporting to be merely the seller's opinion or
754 (D.N.J. 2013); Alin v. Am. Honda Motor Co., commendation of the goods does not create a
Inc., No. 08-4825, 2010 U.S. Dist. LEXIS 32584, warranty." N.J. Stat. Ann. § 12A:2-313(2). To
2010 WL 1372308, at *14 (D.N.J. Mar. 31, 2010).       recover damages for breach of express warranty, a
                                                      plaintiff must establish that such damages were
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reasonably foreseeable at the time that the contract    the article is required and it appears that he has
was entered into. Spring Motors Distribs., Inc. v.      relied on the seller's skill or judgment, an implied
Ford Motor Co., 98 N.J. 555, 579-80, 489 A.2d 660       warranty arises of reasonable fitness for that
(1985)      (describing       that   damages      for   purpose." Henningsen v. Bloomfield Motors, Inc.,
misrepresenting       [*15] products comes from         32 N.J. 358, 370, 161 A.2d 69 (1960). To establish
"society's interest in the performance of promises").   a breach of either warranty, Plaintiffs "must show
                                                        that the equipment they purchased from defendant
Here, Plaintiff alleges that he entered into a          was defective." Crozier v. Johnson & Johnson
contract with Defendant in September 2012 when          Consumer Companies, Inc., 901 F. Supp. 2d 494,
he purchased Baxyl. (Compl. ¶ 59.) Plaintiff claims     509 (D.N.J. 2012) (internal citation omitted).
that the product "did not conform to Defendant's        Specifically, a claim under either implied warranty
promises of joint health and mobility in humans."       "requires a showing regarding the product's
(Id. ¶¶ 60, 64.) Plaintiff seeks "monies [paid] to      functionality, not the advertisements that allegedly
purchase a product that failed altogether to conform    induced a customer to purchase it." Crozier, 901 F.
to Defendant's express promises and warranty." (Id.     Supp. 2d at 509.
¶ 65.)
                                                        In [*17] the instant matter, Plaintiff fails to state a
This Court finds that Plaintiff's allegations fall
                                                        claim for either breach of implied warranty of
woefully short of stating a claim for breach of
                                                        merchantability or fitness for an intended purpose.
express warranty. Plaintiff merely recites the
                                                        Plaintiff alleges that Baxyl "failed to conform to
elements required for a breach of express warranty
                                                        Defendant's promises of efficacy to deliver joint
claim. However, Plaintiff fails to set forth any
                                                        health and mobility in humans . . . and was not fit
specific facts relating to Baxyl or Defendant's
                                                        for the ordinary purpose for which it was intended
actions. For instance, Plaintiff does not identify
                                                        to be used." (Compl. ¶ 68.) However, Plaintiff does
Defendant's misrepresentations, the existence of
                                                        not demonstrate that how or why the product was
express warranties, or damages flowing from
                                                        defective. Furthermore, Plaintiff fails to identify
Defendant's alleged breach. Accordingly, Plaintiff's
                                                        any injuries or damages that were caused by Baxyl.
claim for breach of express warranty is dismissed.
                                                        See Hoffman v. Nutraceutical Corp., No. 12-5803,
                                                        2013 U.S. Dist. LEXIS 81559, 2013 WL 2650611,
E. Claims for Breach of Implied Warranties of           at *4 (D.N.J. June 10, 2013) (dismissing breach of
Merchantability and Fitness For An Intended             implied warranty claim for failure to "establish
Purpose (Count IX)                                      what damages resulted from the product containing
                                                        [] lead"). Thus, Plaintiff's claims for breach of
To state a claim for breach of the implied warranty     implied warranties of merchantability and fitness
of merchantability [*16] under New Jersey law, a        for a particular purpose fail.
plaintiff must allege "(1) that a merchant sold
goods, (2) which were not 'merchantable' at the
time of sale, (3) injury and damages to the plaintiff   II. Remand Request
or its property, (4) which were [] caused               Although unnecessary to consider, it is noted that
proximately and in fact by the defective nature of      Plaintiff devoted much of his opposition brief
the goods, and (5) notice to the seller of injury."     requesting this Court to remand this case to state
Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 600         court.2 This request is procedurally improper at this
n.8 (3d Cir. 2012) (internal citations omitted). "If
the buyer, expressly or by implication, makes
known to the seller the particular purpose for which    2 Pursuant to 28 U.S.C. § 1447(c), remand to state court is required

                                                        where "it appears that the district court lacks subject matter
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juncture and is otherwise meritless. First, no motion
for      remand       was     filed.     Furthermore,
 [*18] Magistrate Judge Arleo previously denied
Plaintiff's remand request and ruled that this Court
has jurisdiction over the instant action under
CAFA. Moreover, like the many courts that have
considered Plaintiff's argument, this Court is not
persuaded that Plaintiff unilaterally divested this
Court of subject matter jurisdiction in having a
"dual role" as class representative and class
counsel. See Kramer v. Scientific Control Corp.,
534 F.2d 1085, 1090 (3d Cir. 1976) (asserting that
the class representative cannot also serve as class
counsel); see also Hoffman v. Nutraceutical Corp.,
No. 12-5803, 2013 U.S. Dist. LEXIS 32792, 2013
WL 885160 (D.N.J. Mar. 8, 2013) (rejecting
"Plaintiff's argument that his dual role as class
representative and class counsel would prevent
class certification" and noting that "there is no legal
authority to support the proposition that a party's
dual role in a matter should negate federal
jurisdiction under CAFA"); Hoffman v. Lumina
Health Products, Inc., No. 13-04936, 2013 U.S.
Dist. LEXIS 152822, 2013 WL 5773292, at *3
(D.N.J. Oct. 24, 2013) (denying motion for remand
and rejecting argument that dual role as class
representative and class counsel divests federal
court of jurisdiction). Thus, Plaintiff's request
 [*19] for remand is denied.


CONCLUSION

For the reasons stated above, Defendant's Motion
for Judgment on the Pleadings is GRANTED.

/s/ Susan D. Wigenton, U.S.D.J.


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jurisdiction."
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                                                                        (D.E. No. 20). Plaintiff subsequently objected to
                                                                        Judge Mannion's decision exercising jurisdiction
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                                                                        on January 27, 2013. (D.E. No. 21). Judge Salas
    Only the Westlaw citation is currently available.
                                                                        adopted Judge Mannion's R & R and overruled
              NOT FOR PUBLICATION
                                                                        Plaintiff's objection on March 8, 2013. (D.E. No.
     United States District Court, D. New Jersey.
                                                                        25).
      Harold M. HOFFMAN, individually and on                    In the Complaint, Plaintiff alleges that Defendant advertised
      behalf of those similarly situated, Plaintiff,            KAL Glucosamine Chondroitin MSM (the “product”) as
                           v.                                   “pure, unadulterated and of the highest quality.” (Compl.12).
       NUTRACEUTICAL CORP., Defendant.                          Plaintiff claims that despite the express promise that “[n]o
                                                                ingredient other than those listed on the label have been added
              Civil Action No. 12–5803 (ES).                    to this product,” Defendant's product was “contaminated
                             |                                  by 1.7 micrograms of lead per daily use.” (Id. at 4).
                       June 10, 2013.                           Next, Plaintiff claims that he and other members of the
                                                                putative class relied on the express representations with
Attorneys and Law Firms
                                                                respect to purity of the product and made the purchase of
Harold M. Hoffman, Englewood, NJ, pro se.                       the product in reliance thereof. (Id. at 5–6). Accordingly,
                                                                Plaintiff argues that Defendant's conduct violates the
Michael R. O'Donnell, Riker, Danzig, Scherer, Hyland, &         New Jersey Consumer Fraud Act, N.J.S.A. 56:8–2, and
Perretti, PA, Morristown, NJ, for Defendant.                    constitutes: an unconscionable commercial practice (Count I);
                                                                deception (Count II); fraud (Count III); false pretense, false
                                                                promise and/or misrepresentation (Count IV); and knowing
                         OPINION                                concealment, suppression and/or omission of material facts
                                                                (Count V). In addition, Plaintiff raises the following claims-
SALAS, District Judge.                                          common-law fraud (Count VI); unjust enrichment (Count
                                                                VII); breach of express warranty (Count VIII); and breach of
I. INTRODUCTION
                                                                implied warranty of merchantability (Count IX). (Compl.14–
 *1 Pending before this Court is Nutraceutical Corp.'s
                                                                18).
(“Defendant”) Motion to Dismiss Harold M. Hoffman's
(“Plaintiff”) Complaint. (D.E. No. 10, Brief in Support of
                                                                In response, Defendant moves to dismiss the above counts
Motion to Dismiss Plaintiff's Complaint (“Br.”)). The motion
                                                                pursuant to Fed.R.Civ.P. 12(b)(6) because Plaintiff does not
is unopposed. The Court has reviewed the submissions
                                                                state any claim upon which relief may be granted. (Br.2).
and decides the motion without oral argument pursuant to
                                                                Specifically, Plaintiff fails to “allege that he was injured by the
Fed.R.Civ.P. 78(b). For the following reasons, the Court
                                                                Product or the alleged lead therein, nor could he as he never
GRANTS the motion without prejudice.
                                                                claims to have even used the Product.” Nor does Plaintiff
                                                                “make any allegations regarding the Product's performance or
II. BACKGROUND                                                  efficacy, again having never used the Product.” (Id. at 5). 2
On August 9, 2012, Plaintiff, individually and on behalf of
those similarly situated, filed a complaint against Defendant   2       Defendant also seeks to disqualify Plaintiff as class
in the Superior Court of New Jersey, Bergen County. (D.E.               counsel. The Court need not address the issue in
No. 1, Complaint (“Compl.”)). On September 14, 2012,                    this Fed.R.Civ.P. 12(b) (6) motion.
Defendant removed the state court case to this District (D.E.
No. 1, Notice of Removal (“Removal”)). 1                        III. ANALYSIS

1                                                                  A. Legal Standard
       On September 21, 2012, Plaintiff filed a motion to
                                                                For a complaint to survive dismissal, it “must contain
       remand to state court. (D.E. No. 4). The motion
                                                                sufficient factual matter, accepted as true, to ‘state a claim
       was denied by Judge Mannion via Report &
                                                                to relief that is plausible on its face.’ ” Ashcroft v. Iqbal,
       Recommendation (“R & R”) on January 24, 2013.



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556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)         Next, plaintiff must allege an ascertainable loss. Although
(citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570,        the CFA does not define “ascertainable loss,” courts have
127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). In determining the       interpreted it as a “cognizable and calculable claim of loss
sufficiency of a complaint, the Court must accept all well-       due to the alleged CFA violation.” Solo v. Bed, Bath &
pleaded factual allegations in the complaint as true and draw     Beyond, Inc., No. 06–1908, 2007 WL 1237825, at *3 (D.N.J.
all reasonable inferences in favor of the non-moving party.       Apr., 26, 2007) (citing Thiedmann v. Mercedes–Benz USA,
See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d         LLC, 183 N.J. 234, 249, 872 A.2d 783 (2005)); Hoffman
Cir.2008). But, “the tenet that a court must accept as true all   v. Hampshire Labs, Inc., 405 405 N.J.Super. 105, 963 A.2d
of the allegations contained in a complaint is inapplicable to    849, 854 (N.J.Super.Ct.App.Div.2009). To properly plead
legal conclusions[;][t]hreadbare recitals of the elements of a    an ascertainable loss, plaintiff must allege facts showing
cause of action, supported by mere conclusory statements, do      “either an out-of-pocket loss or a demonstration of loss in
not suffice.” Iqbal, 556 U.S. at 678.                             value.” Dist. 1199P Health and Welfare Plan v. Janssen, L.P.,
                                                                  784 F.Supp.2d 508, 530 (D.N.J.2011) (citing Thiedmann,
                                                                  183 N.J. at 248, 872 A.2d 783). This requirement to show
   B. Plaintiff's Consumer Fraud Act (“CFA”) Claims               a demonstration of a loss in value includes a benefit-of-
   (Counts I–V)                                                   the-bargain theory that “requires nothing more than that
 *2 Plaintiff claims that “[t]he product delivered by             the consumer was misled into buying a product that was
Defendant to [P]laintiff and members of the putative class        ultimately worth less to the consumer than the product he
misrepresented the safety, quality, constituent ingredients       was promised. Smajlaj v. Campbell Soup Co., 782 F.Supp.2d
and purity of defendant's product. Indeed, the spoiled and        84, 99 (D.N.J.2011); Henderson v. Hertz Corp., No. 6937–03,
contaminated product delivered by Defendant to consumers,         2005 WL 4127090, at *7–8 (N.J.Super.Ct.App.Div.2005).
lacked the purity and beneficial qualities promised by
Defendant.” (Compl.6). Defendant contends that Plaintiff's        Finally, plaintiff must show a causal nexus between the
CFA claims must be dismissed because Plaintiff fails to show      misrepresentation or concealment of the material fact by
damages in connection thereto. (Br.15). The Court agrees.         defendant and the loss suffered by any person. Dewey
                                                                  v. Volkswagen AG, 558 F.Supp.2d 505, 526 (D.N.J.2008).
To state a cause of action under the CFA, plaintiff               Here, Plaintiff failed to make the necessary three-part
must allege: “(1) an unlawful practice by the defendants;         showing under the CFA. Specifically, Plaintiff failed to show
(2) an ascertainable loss by plaintiff; and (3) a causal          that Defendant's alleged CFA violation caused Plaintiff's
nexus between the first two elements—defendants' allegedly        “ascertainable loss.” Plaintiff merely alleged that some of
unlawful behavior and the plaintiff's ascertainable loss.”        Defendant's product contained 1.7 micrograms of lead in
Parker v. Howmedica Osteonics Corp., No. 07–02400, 2008           it. Even under a benefit-of the-bargain theory of damages,
WL 141628, at *2 (D.N.J. Jan.14, 2008) (citing N.J. Citizen       Plaintiff failed to show that the alleged lead in Defendant's
Action v. Schering–Plough Corp., 367 N.J.Super. 8, 842 A.2d       product caused the product to be worth less than was
174, 176 (N.J.Super.Ct.App.Div.2003)).                            promised. Plaintiff failed to show that the product he used
                                                                  actually contained lead. Moreover, Plaintiff failed to establish
First, plaintiff must allege an unlawful practice. An unlawful    that the presence of 1.7 micrograms of lead in the product
practice “typically involves an affirmative act of fraud          constituted a misrepresentation that is contrary to the product
and can arise from an affirmative act, an omission, or a
                                                                  being “pure, unadulterated and of the highest quality.” 3
violation of an administrative regulation.” Adamson v. Ortho–
                                                                  Because Plaintiff failed to make the requisite showing under
McNeil Pharm., Inc., 463 F.Supp.2d 496, 501 (D.N.J.2006).
                                                                  the CFA, Plaintiff's CFA claims are dismissed.
“[N]ot just ‘any erroneous statement’ will constitute a
misrepresentation prohibited” under the CFA. Gennari v.
                                                                  3
Weichert Co. Realtors, 148 N.J. 582, 607, 691 A.2d 350                    On the contrary, Defendant notes that the
(1997). “The misrepresentation has to be one which is                     recommended daily intake of lead is 75
material to the transaction and which is a statement of fact,             micrograms, or 44 times the amount found in the
found to be false, made to induce the buyer to make the                   product at issue. (Br.5).
purchase.” Id.
                                                                      C. Plaintiff's Common Law Fraud Claim (Count VI)



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 *3 Plaintiff avers that “Defendant, in the advertisement,           511 A.2d 709, 716 (N.J.Super.Ct.App.Div.1986) (citing
marketing and sale of the [product], deliberately and                Callano v. Oakwood Park Homes Corp., 219 A.2d 232,
knowingly engaged in concealment, suppression and/or                 234 (N.J.Super.Ct.App.Div.1966)). To establish “unjust
omission of material facts with the intent that others,              enrichment, a plaintiff must show both that defendant
including members of the plaintiff-class, rely upon same,            received a benefit and that retention of that benefit without
and, upon information and belief, members of the class did           payment would be unjust.” VRG Corp. v. GKN Realty Corp.,
justifiably rely upon same to their detriment.” (Compl.14).          135 N.J. 539, 554, 641 A.2d 519 (1994).
Such conduct, according to Plaintiff, constitutes common-
law fraud. (Id. at 15). Defendant disagrees and argues               Here, Plaintiff's allegations fail to support the claim of unjust
that Plaintiff's common-law fraud claim must be dismissed            enrichment. Even accepting all allegations as true, there is
because Plaintiff “failed to sufficiently plead damages              nothing in the record to suggest that Defendant's retention
resulting from the alleged trace amount of lead in the               of Plaintiff's money is unjust. Plaintiff received the benefit
[p]roduct.” (Br.19).                                                 of the product that he paid for and Defendant received the
                                                                     benefit of payment for said product. As such, the doctrine of
To properly plead common-law fraud in New Jersey, plaintiff          unjust enrichment is inapposite here. Accordingly, the Court
must show: “(1) a material misrepresentation of a presently          dismisses Plaintiff's claim of unjust enrichment.
existing or past fact; (2) knowledge or belief by the defendant
of its falsity; (3) an intention that the other person rely on it;
(4) reasonable reliance thereon by the other person; and (5)            E. Plaintiff's Breach of Express Warranty and Implied
resulting damages.” Gennari v. Weichert Co. Realtors, 148               Warranty of Merchantability Claims (Counts VIII &
N.J. 582, 610, 691 A.2d 350 (1997) (citing Jewish Ctr. of               IX)
Sussex Cnty. v. Whale, 86 N.J. 619, 624–25, 432 A.2d 521              *4 Plaintiff raises claims of breach of express and implied
(1981)).                                                             warranties. Specifically, Plaintiff alleges that he entered into
                                                                     a contract with Defendant for the purchase of the product,
Here, Plaintiff failed to identify the resulting damages, a          and in the contract, Defendant made express promises as to
requisite showing to properly plead common law fraud.                the purity of the product. (Compl.17). Additionally, Plaintiff
Significantly, Plaintiff does not even allege that the product       claims that the implied warranty of merchantability was
that he personally purchased, and used, contained lead.              breached because the product “was not fit for the ordinary
Consequently, the Court dismisses Plaintiff's claim of               purpose for which it was intended to be used.” (Id. at 19,
common-law fraud.                                                    641 A.2d 519). Defendant disagrees and argues that the
                                                                     warranty claims must be dismissed because “Plaintiff alleges
                                                                     no specific lead level in his product, and no actual injury from
   D. Plaintiff's Breach of Unjust Enrichment Claim                  using the [p]roduct.” (Br.21).
   (Count VII)
Plaintiff states that “as a result of [Defendant's] false            Under New Jersey law, an express warranty is “[a]ny
and deceptive conduct ... [Defendant] became indebted to             affirmation of fact or promise made by the seller to the buyer
class members for the sums paid by class members ... for             which relates to the goods and becomes part of the basis of the
purchase of a misrepresented product.” (Compl.16). And               bargain.” N.J. STAT. ANN. § 12A:2–313(1)(a). “The plaintiff
retention of said sums “without reimbursement, would result          in a warranty action need not establish the existence of a
in the unlawful, unjust and inequitable enrichment.” (Id.).          defect; the failure of the goods to perform as warranted is
Defendant disagrees and argues that because Plaintiff “failed        sufficient.” Spring Motors Distribs., Inc. v. Ford Motor Co.,
to plead that the [p]roduct failed to function as advertised         98 N.J. 555, 586, 489 A.2d 660 (1985). Proof of causation
or that he was injured by the [p]roduct ... there was nothing        is also required, but “mere failure of promised performance
unjust about [Defendant's] accepting and retaining money in          is enough without proof of any defect.” Realmuto v. Straub
exchange for delivering the [p]roduct to [Plaintiff].” (Br.20).      Motors, Inc., 65 N.J. 336, 343, 322 A.2d 440 (1974). To
                                                                     recover damages for breach of express warranty, plaintiffs
The doctrine of unjust enrichment “rests on the                      must establish that such damages were reasonably foreseeable
equitable principle that a person shall not be allowed               at the time that the contract was entered into. Spring
to enrich himself unjustly at the expense of another.”               Motors Distribs., Inc., 98 N.J. at 579–80, 489 A.2d 660
Assocs. Comm. Corp. v. Wallia, 211 N.J.Super. 231,


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                                                                   and an implied warranty of merchantability claim. Plaintiff
(describing that damages for misrepresenting products comes
                                                                   merely asserts that some of Defendant's product contained
from “society's interest in the performance of promises”).
                                                                   1.7 micrograms of lead. As such, Plaintiff fails to establish
                                                                   what damages resulted from the product containing said lead.
An implied warranty “simply means that the thing sold
                                                                   Consequently, Plaintiff's claims of breach of express and
is reasonably fit for the general purpose for which it is
                                                                   implied warranty are dismissed.
manufactured and sold.” Henningsen v. Bloomfield Motors,
Inc., 32 N.J. 358, 370, 161 A.2d 69 (1960). To establish
a breach of implied warranty, plaintiff must show “that the          IV. CONCLUSION
product was not reasonably fit for the ordinary purposes for       For these reasons, the Court GRANTS Defendant's Motion to
which it was sold and such defect proximately caused injury        Dismiss without prejudice. An appropriate Order follows this
to the ultimate consumer.” Hollinger v. Shoppers Paradise          Opinion.
of New Jersey, Inc., 134 N.J.Super. 328, 340 A.2d 687, 692
(N.J.Super. Ct. Law Div.1975).
                                                                   All Citations
Here, Plaintiff fails to make the necessary showing of
damages required for both a breach of express warranty claim       Not Reported in F.Supp.2d, 2013 WL 2650611


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                         Tab 16
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                                                                Defendants and now allege that Defendants committed fraud
                                                                during its sale and have breached their duties under the
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                                                                sale's agreement. Because the Plaintiffs have failed to meet
    Only the Westlaw citation is currently available.
                                                                the required pleading standards for all claims, the Court
          UNPUBLISHED OPINION. CHECK                            GRANTS the Defendants' motion to dismiss. 1
          COURT RULES BEFORE CITING.
                                                                1
           Superior Court of Delaware,                                  At oral argument, Defendants argued that only
      IN AND FOR NEW CASTLE COUNTY.                                     Frozen Endeavors was properly named and all
                                                                        claims were improperly brought against the other
                Agnieszka Kostyszyn, and                                defendants. Because Plaintiffs have failed in
               Marek Kostyszyn, Plaintiffs,                             substance to file an adequate complaint, the Court
                            v.                                          need not determine who are the proper defendants
     Gianmarco Martuscelli, Gilda Martuscelli, the                      to the action.
      Estate of Brett J. Harris, Frozen Endeavors,
                                                                  II. FACTS AND PROCEDURAL BACKGROUND
       Inc., a Delaware Corporation, AJT, Inc., a
                                                                In late 2011, Plaintiffs approached the owners of Paciugo
        Delaware Corporation, Chesapeake Inn,
      Inc., a Maryland Corporation, Defendants.                 about the possibility of opening up a franchise. 2 Plaintiffs
                                                                met with Gianmarco Martuscelli (“Mr. Martuscelli”),
                 C.A. N14C–08–010 PRW                           principal of Frozen Endeavors, Inc. (“Endeavors”), and B.J.
                            |                                   Harris (now deceased). 3 Messrs. Martuscelli and Harris
               Submitted: December 8, 2014                      presented Plaintiffs with a profit statement for Paciugo
                            |
                                                                ranging from July 2010 to August 2011. 4 The profit
                Decided: February 18, 2015
                                                                statement reflects a profit (“net with payroll”) of $7,186.21
Upon Defendants' Motion to Dismiss Plaintiffs' Complaint,       and details Paciugo's retail sales, catering sales, rent cost,
GRANTED.                                                        insurance cost, ingredient costs, royalties paid, and payroll for
                                                                those months. 5
Attorneys and Law Firms
                                                                2
Gregory D. Stewart, Esquire, Law Office of Gregory D.                   See Plf.'s Answering Br. at 1.
Stewart, P.A., Wilmington, Delaware, Attorney for Plaintiff.    3
                                                                        See Compl. at ¶ 14.
Brian M. Gottesman, Esquire (argued), Michael W.                4
                                                                        See Profit Statement, Ex. 1 to Compl.
McDermott, Esquire, Suzanne H. Holly, Esquire, Berger
Harris LLP, Wilmington, Delaware, Attorneys for                 5
                                                                        See id.
Defendants.
                                                                On December 1, 2011, Plaintiffs purchased Paciugo
                                                                from Endeavors for $272,500, which they paid in three

       MEMORANDUM OPINION AND ORDER                             installments. 6 The Martuscellis were not a party to the
                                                                Agreement of Sale (“Agreement”); only Plaintiffs and
WALLACE, J.                                                     Endeavors signed the contract. 7 The contract provided, in
                                                                part, that Mr. Martuscelli's other businesses, Chesapeake
  I. INTRODUCTION
                                                                Inn (“Chesapeake”) and Canal Creamery & Sweet Shoppe
 *1 Before the Court is Defendants Gianmarco Martuscelli,
                                                                (“Creamery”), and Mr. Martuscelli's parents' business, La
Gilda Martuscelli, the Estate of Brett J. Harris, Frozen
                                                                Casa Pasta, would continue purchasing gelato from Paciugo.
Endeavors, Inc., AJT, Inc., and Chesapeake Inn, Inc.'s
                                                                Section 5(d) of the agreement states:
(collectively the “Defendants”) motion to dismiss. Plaintiffs
Agnieszka Kostyszyn and Marek Kostyszyn (together the
“Plaintiffs”) currently own and operate Paciugo Gelato
and Café (“Paciugo”). They purchased the business from


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                                                                                   were absentee owners who couldn't
                                                                                   afford to pay the bills any longer. 13

            Seller shall continue to purchase gelato
            for Chesapeake Inn, Canal Creamery
                                                                     After receiving that email, Plaintiffs commenced this suit
            & Sweet Shoppe and La Casa Pasta for
                                                                     in the Court of Chancery, alleging both equitable and legal
            a period of ten years so long as Buyer
                                                                     claims. The Court of Chancery dismissed the Plaintiffs'
            does not breach its obligations under
                                                                     equitable fraud claim with prejudice and dismissed the
            this Agreement or the companion note
                                                                     remaining legal claims without prejudice for lack of subject
            and security agreement or Buyer's
                                                                     matter jurisdiction. 14 Plaintiffs now bring legal claims they
            lease with Christiana Mall, LLC. 8
                                                                     enumerate as follows: (1) Breach of Contract; (2) Breach
                                                                     of Warranty; (3) Indemnification; (4) Fraud; (5) Negligent
                                                                     Misrepresentation; (6) Intentional Misrepresentation; and
6                                                                    (7) Breach of Implied Covenant of Good Faith and Fair
       See Agreement of Sale (“Agreement”), Ex. 2 to
       Compl., at 1.                                                 Dealing. 15
7
       See id. at 11.                                                9
                                                                            See Compl. at ¶ 17.
8
       See id. at 3.                                                 10
                                                                            See id. at ¶ 22.
The present dispute arose when Paciugo's sales declined
                                                                     11
after Plaintiffs purchased the business. Plaintiffs claim that              See Def's. Mot. to Dismiss at 7.
gelato sales to Chesapeake, La Casa Pasta, and the Creamery          12     Compl. at ¶¶ 21, 23.
immediately dropped in 2012 to $18,475 9 and further
                                                                     13
declined in 2013 to $3,300. 10 The Creamery reportedly                      Id. at ¶ 24.
stopped purchasing altogether from Paciugo in April 2013             14
when Mr. Martuscelli, who held a three-year lease for the                   See Kostyszyn v. Martuscelli, 2014 WL 3510676,
Creamery, sold his interest in the business prior to the                    at *7 (Del. Ch. July 14, 2014) (declining to engage
                                                                            clean up doctrine to address Plaintiffs' legal claims,
termination of the lease. 11 In an email exchange with the
                                                                            but allowing Plaintiffs to transfer them to Superior
Plaintiffs, Mr. Martuscelli explained he never owned but
                                                                            Court).
only had a lease on the Creamery, and that he sold his
interest because the Creamery had been losing money for the          15
                                                                            See Compl. Plaintiffs also contend that Frozen
                        12                                                  Endeavors is a void entity and therefore lacks
preceding two years.         In that email, Mr. Martuscelli wrote:
                                                                            standing to move to dismiss. They cite no authority
                                                                            for that argument. Nonetheless, Frozen Endeavors
                                                                            filed a Certificate of Revival in 2014. That
             *2 I lost money at Paciugo and the                             certificate retroactively validated all of Frozen
            Creamery but I tried to [sic] my best                           Endeavors' actions taken during the time period the
            and it wasn't good enough. BJ and I                             corporation was void. See DEL. CODE ANN. tit.
            sold Paciugo because we were both                               8, § 312(e) (2013) (reinstatement by Certificate of
            losing too much money (BJ lost all                              Revival “shall validate all contracts, acts, matters
            his savings and had nothing left). We                           and things made, done and performed” by a
            sold you the business while still owing                         corporation while its certificate of incorporation
            the bank over $70k in a loan that I                             was forfeited or void).
            just finished paying off this year. We
            didn't make any money from you or                          III. STANDARD OF REVIEW
            anything associated with Paciugo. We                     Generally, a plaintiff must plead the facts with “reasonable
                                                                     conceivability” to survive a motion to dismiss. 16 When



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considering a motion to dismiss under Rule 12(b)(6), the                      that the representation was false, or
Court will:                                                                   was made with reckless indifference
                                                                              to the truth; (3) an intent to induce
                                                                              the plaintiff to act or to refrain from
                                                                              acting; (4) [that] the plaintiff's action
            (1) accept all well pleaded factual                               or inaction was taken in justifiable
            allegations as true; (2) accept even                              reliance upon the representation; and
            vague allegations as “well pleaded”                               (5) damage to the plaintiff as a result
            if they give the opposing party                                   of such reliance. 20
            notice of the claim; (3) draw all
            reasonable inferences in favor of
            the non-moving party; and (4) [not
                                                                 The plaintiff must also state the “time, place, and contents
            dismiss a claim] unless the plaintiff
                                                                 of the fraud,” as well as identify the person accused of
            would not be entitled to recover under
            any reasonably conceivable set of                    committing the fraud. 21

            circumstances. 17
                                                                 19
                                                                        Super Ct. Civ. R. 9(b); Universal Capital Mgmt.
                                                                        Inc. v. Micco World, Inc., 2012 WL 1413598, at *2
The Court may dismiss a claim if a plaintiff fails to plead an          (Del.Super.Ct. Feb. 1, 2012).

element of that claim. 18                                        20
                                                                        Id. (citing Crowhorn v. Nationwide Mut. Ins. Co.,
                                                                        2001 WL 695542, at *4 (Del.Super. Ct. Apr. 26,
16                                                                      2001)).
       WP Devon Assocs. v. Hartstrings, LLC, 2012 WL
       3060513, at *3 (Del.Super. Ct. July 26, 2012)             21
                                                                        See id. (listing elements of a fraud claim).
       (citing Cambium Ltd. v. Trilantic Capital Partners
       III L.P., 2012 WL 172844, at *1 (Del. Jan. 20,
       2012)).                                                      IV. PARTIES' CONTENTIONS
                                                                 After the Court of Chancery dismissed Plaintiffs' legal claims
17                                                               they filed suit in this Court alleging that Defendants falsely
       See Cent. Mortg. Co. v. Morgan Stanley Mortg.
       Capital Holdings LLC, 27 A.3d 531, 535                    represented the catering revenue and financial condition of
       (Del.2011) (stating standard for motions to               Paciugo, causing them to pay more for the business. 22 They
       dismiss).                                                 further claim Defendants breached their obligations under the
18                                                               sales agreement by failing to have their businesses purchase
       See Harris v. Dependable Used Cars, Inc., 1997
       WL 358302, at *2–3 (Del.Super. Ct. March 20,              gelato at the same rate they did prior to the Paciugo sale. 23
       1997); Wolstenholme v. Hygenic Exterminating
       Co., Inc., 1988 WL 77655, at *1–2 (Del.Super.Ct.          22
                                                                        See Compl. at ¶ 25.
       July 5, 1988); see also Zebroski v. Progressive
                                                                 23
       Direct Ins. Co., 2014 WL 2156984, at *6 (Del. Ch.                See id. at ¶ 36.
       Apr. 30, 2014).                                           Defendants move to dismiss Plaintiffs' Complaint in its
Under Rule 9(b), a plaintiff bringing a fraud or                 entirety. Defendants argue that they have not breached their
misrepresentation claim must plead it with particularity—a       obligations under the Agreement. 24 Further, Defendants say,
heightened pleading standard. 19 The plaintiff must plead:       Plaintiffs have not specifically alleged which of Defendants'
                                                                 representations, made during the sale's negotiations,
                                                                 were false so as to provide the support required for
                                                                 the fraud, negligent misrepresentation, and intentional
             *3 (1) a false representation, usually              misrepresentation claims. 25
            of fact, made by the defendant; (2)
            the defendant's knowledge or belief                  24
                                                                        See Def's. Mot. to Dismiss at 13.



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25                                                                for the Plaintiffs' claim under the governing law of the
       See id. at 9.
                                                                  contract, it must be dismissed. Defendants' motion is therefore
                                                                  GRANTED as to the breach of implied covenant of good
  V. DISCUSSION
                                                                  faith and fair dealing claim.

     A. The Agreement is governed by Maryland law.                29
                                                                         See Greenfield v. Heckenbach, 797 A.2d 63,
The parties disagree as to whether Delaware or Maryland                  81 (Md.Ct.Spec.App.2002) (citing Keller v. A.O.
substantive law governs Plaintiffs' claims. The Agreement                Smith Harvestore Products, Inc., 819 P.2d 69,
contains varied (and seemingly conflicting) choice of law                73 (Colo.1991)) (recognizing implied covenant of
provisions: Section 9(a) states that the agreement shall be              good faith and fair dealing).
enforced “to the fullest extent permissible under Maryland or     30
                                                                         See Baker v. Sun Co., 985 F.Supp. 609, 610
Delaware law”; while the governing law provision in Section
                                                                         (D.Md.1997) (stating Maryland does not explicitly
9(i) says that the contract “will be governed by, and construed
                                                                         recognize an independent cause of action for
and enforced in accordance with, the laws of the state of
                                                                         the implied contractual duty of good faith
Maryland.” 26 The Court finds the latter to be the clearer               and fair dealing); Mt. Vernon Props., LLC.
expression of the parties' intended choice of “governing” law            v. Branch Banking & Trust Co., 907 A.2d
and to control here.                                                     373, 381 (Md.Ct.Spec.App.2006) (“[T]here is no
                                                                         independent cause of action at law in Maryland for
26                                                                       breach of the implied covenant of good faith and
       See Agreement, at 6.
                                                                         fair dealing.”).
Delaware courts “are bound to respect the chosen law of
contracting parties, so long as that law has a material
relationship to the transaction.” 27 Maryland law has a           C. Plaintiffs fail to adequately allege breach of contract.
material relationship to this contract because thereunder
Plaintiffs sell (or sold) gelato to two Maryland businesses and   Plaintiffs brought three breach of contract claims: breach of
the Agreement's negotiations, during which the alleged fraud      contract, breach of warranty, and indemnification.
or misrepresentation occurred, took place at the Chesapeake
                                                                  Even recognizing the low burden imposed to survive
Inn in Maryland. 28 Because the Agreement explicitly
designates the laws of Maryland as the governing law of the       dismissal, 31 Plaintiffs' pleadings do not demonstrate how
contract, this Court will apply Maryland substantive law.         Defendants have breached the Agreement and how, on
                                                                  these breach claims, they, Plaintiffs, may recover under any
27                                                                reasonably conceivable set of circumstances susceptible of
       Abry Partners V, L.P. v. F & W Acquisition LLC,
                                                                  proof. The contract requires Defendants to purchase gelato
       891 A.2d 1032, 1046 (Del. Ch.2006).
                                                                  for the Chesapeake Inn, Creamery, and La Casa Pasta for
28                                                                ten years. 32 Plaintiffs attempt to engraft to the Agreement a
       See Compl. at ¶ 27 (stating Chesapeake Inn,
       a Maryland corporation with its principal place            requirement that Defendants purchase gelato in the amounts
       of business in Maryland, purchases gelato from             reflected in the Profit Statement and refrain from purchasing
       Paciugo).                                                  competing products, such as ice cream. 33 But the Profit
                                                                  Statement is just that—an accounting of the business's profits
                                                                  for a certain period. There is neither an allegation nor
         B. Maryland law does not recognize an
                                                                  evidence it was to be part of the Agreement.
      independent cause of action for breach of the
     implied covenant of good faith and fair dealing.
                                                                  31
                                                                         Doe v. Cahill, 884 A.2d 451, 458 (Del.2005).
*4 Maryland contract law recognizes an implied covenant
                                                                  32
                                                                         See Profit Statement.
of good faith and fair dealing. 29 It does not, however,
recognize an independent cause of action for a breach of          33
                                                                         See Compl. at ¶¶ 35–36.
that implied covenant. 30 Because no cause of action exists



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The contract does not specify any amount of gelato that must         Defendants breached an express warranty in the contract, the
be purchased. Nor does the contract state that Defendants            breach of warranty and indemnification claims must also be
must continue to purchase gelato for a non-operating business        dismissed. 40
or refrain from purchasing ice cream. Plaintiffs admit that
the Chesapeake Inn and La Casa Pasta still purchase gelato           38
                                                                            See Compl. at ¶ 44.
from Paciugo, although in smaller amounts. 34 Plaintiffs
also admit that Defendants bought gelato for the Creamery            39
                                                                            See Brevet Capital Special Opportunities Fund, LP
                                35                                          v. Fourth Third, LLC, 2011 WL 3452821, at *6
following the Paciugo sale.          Even drawing reasonable
inferences in favor of the Plaintiffs, they could not recover for           (Del.Super.Ct. Aug. 5, 2011) (quoting Criden v.
breach of contract under any reasonably conceivable set of                  Steinberg, 2000 WL 354390, at *2 (Del. Ch. Mar.
circumstances because Plaintiffs admit that Defendants still                23, 2000)).
purchase gelato according to the terms of the contract for           40
                                                                            Lord v. Souder, 748 A.2d 393, 398 (Del.2000)
the businesses that Defendants still operate. The Court need
                                                                            (“Where allegations are merely conclusory ... (i.e.,
not “accept every strained interpretation of the allegations
                                                                            without specific allegations of fact to support them)
proposed by the [P]laintiff[s].” 36 Plaintiffs here have failed             they may be deemed insufficient to withstand a
to plead facts supporting a finding of a breach of an obligation            motion to dismiss.”).
under the Agreement, which is, of course, an essential element
                                                                     Defendants' motion is GRANTED as to the breach of
of their breach of contract claim. 37 The claim must be
                                                                     contract, breach of warranty, and indemnification claims.
dismissed.

34
        See id. at ¶¶ 27, 35–36.
                                                                                D. Plaintiffs' fraud and intentional
35                                                                            misrepresentation claims lack reference
        See id. at ¶ 17.
                                                                             to a false statement made by Defendants.
36
        Malpiede v. Townson, 780 A.2d 1075, 1083
        (Del.2001).                                                  A plaintiff must state the “time, place, and contents” of
                                                                     the fraud or misrepresentation alleged and allege that the
37
        See VLIW Technology, LLC v. Hewlett–Packard                  defendant's representation was false to plead a claim with
        Co., 840 A.2d 606, 612 (Del.2006) (listing essential         particularity as required by Rule 9(b). 41 In this case,
        elements for a breach of contract claim as (1)               Plaintiffs have merely stated that Defendants presented them
        the existence of a contract, (2) the breach of an            with false financial information using improper accounting
        obligation imposed by the contract, and (3) damage
                                                                     methods 42 without pleading adequate facts informing how
        to the plaintiff).
                                                                     the records were false. Plaintiffs do not specify the time,
 *5 In addition, the breach of warranty and indemnification          place, and contents of the alleged fraud as required. They
claims must be dismissed. Plaintiffs complain that                   instead generalize that “information regarding the financial
Defendants' alleged “improper accounting and other business          condition, operating results, revenue, income and expenses”
practices resulting in an overstatement of profits and revenues
                                                                     of the business was false. 43 Plaintiffs indicate neither how
substantially inflated revenue projections” constituted
                                                                     Defendants' accounting methods were improper nor how the
breaches of warranties in the contract. 38 Although the Court        one financial statement Plaintiffs relied on in purchasing the
must accept all well-pleaded factual allegations as true,            franchise was inaccurate. They have not specified any false
“allegations that are merely conclusory and lacking factual          statements made by Defendants nor that Defendants knew
basis, [ ] will not survive a motion to dismiss.” 39 Plaintiffs      or believed their statements to be false. In short, Plaintiffs
have pled no facts showing that Defendants utilized improper         have failed to plead multiple elements of their fraud claims.
accounting practices. Nor have they pled facts showing how           Accordingly, the fraud and intentional misrepresentation
the profits or revenues were inflated. They simply allege that       claims must be dismissed.
the sales in years following the sale of the franchise did not
meet the same level as the sales in previous years. Absent the
necessary specific allegations of fact for Plaintiffs' claims that



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                                                                       45
41                                                                             Dwoskin v. Bank of Am., N.A., 850 F.Supp.2d 557,
       See Universal Capital Mgmt. Inc. v. Micco World,
                                                                               571 (D.Md.2012) (“When dealing with claims of
       Inc., 2012 WL 1413598, at *2 (Del. Super. Ct. Feb.
                                                                               economic loss due to negligent misrepresentation,
       1, 2012).
                                                                               a plaintiff must prove the defendant owed a duty
42                                                                             of care by demonstrating an intimate nexus ...
       See Compl. at ¶¶ 53–56.
                                                                               demonstrated by showing contractual privity or its
43
       See id. at ¶ 55.                                                        equivalent.”).
Defendants' motion is GRANTED as to fraud and intentional              46
                                                                               Kostyszyn v. Martuscelli, 2014 WL 3510676, at *5
misrepresentation claims.
                                                                               (Del. Ch. July 14, 2014).
                                                                       47
                                                                               Gresi v. Atl. Gen. Hosp. Corp., 756 A.2d 548, 553–
       E. Without an “intimate nexus,” there can                               56 (Md.2000).
       be no claim of negligent misrepresentation.                     48
                                                                               See, e.g., In re Asbestos Litigation (Fluitt),
Maryland law requires a plaintiff alleging negligent                           2014 WL 600638 (Del.Super. Ct. Jan. 29, 2014)
misrepresentation to plead all the elements of fraud plus the                  (complaint in asbestos matter, to which Florida
                                                                               substantive law applied, insufficient when it failed
existence of an “intimate nexus.” 44 To show an intimate
                                                                               to state the essential elements of plaintiffs' claims,
nexus, the plaintiff must demonstrate that the defendant owed
                                                                               which Delaware's pleading standard requires,
the plaintiff a duty of care by showing contractual privity or
                                                                               under Florida's applicable statute).
its equivalent. 45 Plaintiffs have failed to plead the existence
of an intimate nexus; there are no facts pled demonstrating
                                                                          VI. CONCLUSION
that Defendants owed Plaintiffs a specific duty of care in this
                                                                        *6 While the missing required elements for each of
instance. As the Court of Chancery determined, the parties
                                                                       the several claims may differ, Plaintiffs cannot, under the
engaged in an arm's length transaction. Neither in Chancery,
                                                                       Complaint and its allegations as pled, recover under any
nor here, have Plaintiffs pled “the existence of a fiduciary,
                                                                       reasonably conceivable set of circumstances susceptible
special, or confidential relationship between the parties.” 46         to proof. The Defendant's Motion to Dismiss Plaintiffs'
In turn, they have failed to plead the existence of an “intimate       Complaint is GRANTED, and all of the Plaintiffs' claims are
nexus” as required under Maryland law. 47 Therefore, the               DISMISSED.
negligent misrepresentation claim must be dismissed 48 and
the Defendants' motion as to that claim is GRANTED.                    IT IS SO ORDERED.


44
       See Weisman v. Connors, 540 A.2d 783,                           All Citations
       792 (Md.1988) (defining “intimate nexus” as
       “contractual privity or its equivalent”).                       Not Reported in A.3d, 2015 WL 721291


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                         Tab 17
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                                                                    drive the Rio for a period of time, incurred costs for a rental
                                                                    vehicle, and repaired the Rio's engine at his own expense.
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                                                                    (Compl.¶¶ 5–7). Further, Plaintiff alleges that “[r]ather than
    Only the Westlaw citation is currently available.
                                                                    acknowledge the problem, Kia has proceeded to deny and /
              NOT FOR PUBLICATION
                                                                    or conceal the problem and directed its dealers to provide
     United States District Court, D. New Jersey.
                                                                    deceptive, false, or misleading explanations for the failure to
       Sean LATRAVERSE, individually and on                         provide warranty coverage and reimbursement.” (Compl.¶ 7).
    behalf of all others similarly situated, Plaintiff,             Finally, the Complaint alleges that other 2004 Rio owners
                            v.                                      have experienced similar engine problems and that Kia has
                                                                    refused to perform the necessary engine repairs under the
    KIA MOTORS OF AMERICA, INC., Defendant.
                                                                    Warranty. (Compl.¶¶ 5–6).
               Civil No. 10–6133 (RBK/AMD).
                               |                                    2       The Complaint contains no further allegations
                         July 27, 2011.                                     describing the Warranty, and Plaintiff did not attach
                                                                            a copy of the Warranty to the Complaint.
Attorneys and Law Firms
                                                                    Plaintiff filed a class action complaint in the Superior
Howard A. Gutman, Flanders, NJ, for Plaintiff.                      Court of New Jersey on October 4, 2010. The Complaint
                                                                    alleges three causes of action: (1) “Breach of Express
Neal D. Walters, Michael Robert Carroll, Ballard, Spahr LLP,        Warranty;” (2) “Fraud and Violation of Consumer Fraud Act;”
Cherry Hill, NJ, for Defendant.                                     and (3) “Violation of Magnuson–Moss Act” (“MMWA”). In
                                                                    November 2010, Defendant removed the matter to this Court
                                                                    pursuant to the Class Action Fairness Act of 2005, Pub.L.
                          OPINION                                   No. 109–2, 119 Stat. 4 (codified in scattered sections of 28
                                                                    U.S.C.). On December 15, 2010, Defendant moved to dismiss
KUGLER, District Judge.
                                                                    the Complaint pursuant to Rule 12(b)(6).
*1 This is a proposed class action for breach of warranty
against Defendant Kia Motors of America 1 (“Kia”) by                II. STANDARD
owners of automobiles with engine defects that Kia has              Under Federal Rule of Civil Procedure 12(b)(6), a court may
refused to repair. Before the Court is Defendant's Motion to        dismiss an action for failure to state a claim upon which relief
Dismiss pursuant to Federal Rule of Civil Procedure (b)(6).         may be granted. With a motion to dismiss, “courts accept all
For the following reasons, Defendant's Motion is DENIED             factual allegations as true, construe the complaint in the light
in part and GRANTED in part.                                        most favorable to the plaintiff, and determine whether, under
                                                                    any reasonable reading of the complaint, the plaintiff may
1                                                                   be entitled to relief.” Fowler v. UPMC Shadyside, 578 F.3d
        Defendant notes that its correct legal name is Kia
        Motors America, Inc. (Def.'s Notice of Removal 1).          203, 210 (3d Cir.2009) (internal quotations omitted). In other
                                                                    words, a complaint survives a motion to dismiss if it contains
I. BACKGROUND                                                       sufficient factual matter, accepted as true, to “state a claim to
Plaintiff is the owner of a 2004 Kia Rio (“the Rio”). (Compl.¶      relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
1). The Rio is covered by a standard 10–year / 100,000 mile         550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).

warranty (“the Warranty”). 2 (Compl.¶ 4). Plaintiff alleges
                                                                     *2 In making that determination, a court must conduct a
that, on an unspecified date, the Rio experienced “engine
                                                                    two-part analysis. Ashcroft v. Iqbal, ––– U.S. ––––, –––– –
failure as a result of a defect.” (Compl.¶ 5). As a result,
                                                                    ––––, 129 S.Ct. 1937, 1949–50, 173 L.Ed.2d 868 (2009);
Plaintiff brought the vehicle to an authorized Kia dealer for
                                                                    Fowler, 578 F.3d at 210–11. First, a court must separate
repair. (Compl.¶ 5). Kia refused to cover the cost of the repair.
                                                                    factual allegations from legal conclusions. Iqbal, 129 S.Ct.
(Compl.¶ 5). Plaintiff alleges that Kia breached the Warranty
                                                                    at 1949. “Threadbare recitals of the elements of a cause
by refusing to cover the repair. (Compl.¶ 5). Plaintiff claims
                                                                    of action, supported by mere conclusory statements, do not
that because Kia refused to cover the repair, he could not
                                                                    suffice.” Id. Second, a court must determine whether the


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factual allegations are sufficient to show that the plaintiff         on notice of the contract claim in such a way that the defendant
has a “plausible claim for relief.” Id. at 1950. Determining          can reasonably respond.” Transp. Int'l Pool, Inc. v. Ross
plausibility is a “context-specific task” that requires the court     Stores, Inc., No. 06–1812, 2009 WL 1033601, at *3 (E.D.Pa.
to “draw on its judicial experience and common sense.” Id. A          Apr.15, 2009) (interpreting pleading standard under Twombly
complaint cannot survive where a court can only infer that a          ).
claim is merely possible rather than plausible. See id.
                                                                       *3 Here, the Complaint alleges all of the essential elements
                                                                      of a breach of express warranty claim. First, the Complaint
III. DISCUSSION                                                       alleges that Plaintiff and Kia agreed to a 10–year / 100,000
                                                                      mile warranty. Thus, the Complaint alleges the existence
   A. Plaintiff's Breach of Express Warranty Claim
                                                                      of a contract between the parties. Second, the Complaint
Count I of the Complaint asserts a claim for “Breach of
                                                                      alleges that although the Warranty covered engine failure, Kia
Express Warranty” under New Jersey law. Plaintiff alleges
                                                                      refused to repair the Rio's engine. Thus, the Complaint also
that Kia “provided an express warranty to plaintiff and
                                                                      alleges breach of the express warranty. Third, the Complaint
members of the class,” but that Kia “breached its express
                                                                      alleges that Plaintiff suffered damages in the form of out-of-
warrant[y] by failing to cover the cost of required repairs
                                                                      pocket costs for repairs and the cost of a rental vehicle. In
within the term[s] of the warranty.” (Compl. Count I ¶
                                                                      addition, the Complaint alleges that Plaintiff could not use
2). Kia argues that the Complaint fails to state a cause of
                                                                      the Rio for a period of time. Finally, the Complaint alleges
action because the Complaint fails to allege “the terms of the
                                                                      that Plaintiff performed required maintenance on the Rio
warranty, its scope, or whether it was still in effect at the time”
                                                                      and presented it for repair to an authorized dealer, thereby
of the engine failure, and Plaintiff did not attach a copy of the
                                                                      fulfilling Plaintiff's obligations under the Warranty.
warranty to the Complaint. (Mot. to Dismiss 4).

                                                                      Kia's argument that Plaintiff should have alleged the terms of
To state a claim for breach of express warranty under New
                                                                      the Warranty and its scope or attached a copy of the Warranty
Jersey law, a plaintiff must allege: (1) a contract between the
                                                                      to the Complaint is unavailing. A plaintiff need not allege the
parties; (2) a breach of that contract; (3) damages flowing
                                                                      specific terms of the warranty and its scope or attach a copy
from the breach; and (4) that the party stating the claim
                                                                      of the warranty to the Complaint to state a breach of warranty
performed its own contractual obligations. Frederico v. Home
                                                                      claim. See Transp. Int'l, 2009 WL 1033601 at *3; Slim CD,
Depot, 507 F.3d 188, 203 (3d Cir.2007) (citing Gennari
                                                                      2007 WL 2459349 at *8. Therefore, because Plaintiff has
v. Weichert Co. Realtors, 148 N.J. 582, 691 A.2d 350,
                                                                      sufficiently pled breach of warranty under New Jersey law,
367–368 (N.J.1997)). The plaintiff can assert the existence
                                                                      Defendant's Motion to Dismiss is denied as to Count I of the
of an express contract by laying out its terms verbatim
                                                                      Complaint.
in the complaint, attaching a copy of the warranty, or
pleading its existence according to its legal effect. Pierce v.
Montgomery Cnty. Opportunity Bd., Inc., 884 F.Supp. 965,                 B. Plaintiff's Fraud and NJCFA Claims
970 (E.D.Pa.1995) (quoting 5 Charles A. Wright, Arthur R.             Plaintiff alleges fraud and violation of the New
Miller, Federal Practice and Procedure § 1235 at 272–273              Jersey Consumer Fraud Act (“NJCFA”), N.J.S. §
(1990)). Under the Federal Rules, a plaintiff is not required to      56:8–1 et seq. Specifically, the Complaint alleges
include the contract with the complaint, or allege the specific       that: “[Kia's conduct] constitutes an unconscionable
provisions violated in the contract. DeFebo v. Anderson               commercial practice, deception, fraud, false pretense, false
Windows, Inc., No. 09–2993, 2009 WL 3150390, at *5 n. 2               promise, misrepresentation, and the knowing concealment,
(E.D.Pa. Sept.24, 2009); Slim CD, Inc. v. Heartland Payment           suppression of a material fact with intent that plaintiff
Sys., Inc., No. 06–2256, 2007 WL 2459349, at *8 (D.N.J.               and members of the class upon [sic] such concealment
Aug.24, 2007); see also Jones v. Select Portfolio Servicing,          suppression, or omission and otherwise violates applicable
Inc., No. 08–973, 2008 U.S. Dist. LEXIS 33284, at *10, 2008           consumer fraud and deceptive practices statutes.” (Compl.
WL 1820935 (E.D.Pa. Apr. 23, 2008) (“A plaintiff is not               Count II ¶ 2). Kia argues that Plaintiff has not alleged facts
required to attach the subject contract to the complaint.”).          sufficient to support a common-law fraud claim, or an NJCFA
Also, “the complaint does not need to resort to formulaic             claim. (Def.'s Br. in Supp. of Mot. to Dismiss 5–7).
recitation of the elements of the alleged contract; rather, the
complaint must allege facts sufficient to place the defendant


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                                                                  misleading explanations are “material.” See Massachusetts
   1. Common–Law Fraud                                            Mut. Life Ins. Co. v. Manzo, 234 N.J.Super. 266, 560
“Every fraud in its most general and fundamental conception       A.2d 1215, 1226 n. 7 (N.J.Super.App.Div.1989) (defining
consists of the obtaining of an undue advantage by means of       material as “[i]mportant; more or less necessary; having
some act or omission that is unconscientious or a violation of    influence or effect; going to the merits; having to do with
good faith.” Jewish Ctr. Of Sussex Cnty. v. Whale, 86 N.J. 619,   matter, as distinguished from form.”) (quoting Black's Law
432 A.2d 521, 524 (N.J.1981). “The elements for actionable        Dictionary 880 (5th ed.1979)). Second, Plaintiff does not
fraud under New Jersey law are proof that the defendant made      allege Kia's representatives intended to induce reliance or that
(1) a material misrepresentation of present or past fact (2)      he reasonably relied on Kia's alleged misrepresentations. See
with knowledge of its falsity (3) with the intention that the     Ideal Dairy Farms, Inc. v. John Labatt, Ltd., 90 F.3d 737, 746
other party rely thereon (4) and which resulted in reasonable     (3d Cir.1996) (“[A] plaintiff claiming fraud must prove that it
reliance by plaintiff.” Lightning Lube, Inc., v. Witco Corp.,     detrimentally relied on an intentionally misleading statement
4 F.3d 1153, 1182 (3d Cir.1993) (citing Whale, 432 A.2d at        made by the defendant.”) (citing John Hancock Mutual Life
524).                                                             Ins. Co. v. Cronin, 139 N.J. Eq. 392, 51 A.2d 2, 4 (N.J.1947))
                                                                  (emphasis added). Rather, the Complaint merely alleges that
In federal court, allegations of fraud are subject to the         Kia “breached the standard express warranty and extended
pleading requirements of Federal Rule of Civil Procedure          warranties.” (Compl.¶ 7). Therefore, because Plaintiff fails to
9(b). Rule 9(b) states that “[i]n all averments of fraud or       allege a material misrepresentation and reasonable reliance,
mistake, the circumstances constituting fraud or mistake shall    Plaintiff's common law fraud claim is dismissed.
be stated with particularity. Malice, intent, knowledge, and
other conditions of a person's mind may be alleged generally.”    3
Fed.R.Civ.P. 9(b). Pursuant to Rule 9(b), a plaintiff must               Plaintiff's claim may also be barred under
plead the circumstances of the alleged fraud with particularity          the economic loss doctrine. Under New Jersey
sufficient to put the defendant on notice of the “precise                common law, a tort claim stemming from a breach
misconduct with which [it is] charged.” Lum v. Bank of                   of express warranty is subject to the economic
Am., 361 F.3d 217, 223–24 (3d Cir.2004). A plaintiff may                 loss doctrine. See State Capital Title & Abstract
satisfy this requirement in two ways. Id. at 224. First, a               Co. v. Pappas Bus. Servs., LLC, 646 F.Supp.2d
plaintiff can meet the requirement “by pleading the date,                668, 676 (D.N.J.2009). Generally, the economic
place or time of the fraud.” Id. Second, the plaintiff may               loss doctrine “prohibits plaintiffs from recovering
use an “alternative means of injecting precision and some                in tort economic losses to which their entitlement
measure of substantiation into their allegations of fraud.” Id.          flows only from a contract.” Duquesne Light Co.
(citing Seville Indus. Mach. v. Southmost Mach., 742 F.2d                v. Westinghouse Elec. Corp., 66 F.3d 604, 618 (3d
786, 791 (3d Cir.1984)). Rule 9(b)'s heightened pleading                 Cir.1995); see Unifoil Corp. v. Cheque Printers &
standard is meant “to place the defendants on notice of the              Encoders Ltd., 622 F.Supp. 268, 271 (D.N.J.1985)
precise misconduct with which they are charged, and to                   (“[T]he law of New Jersey ... prohibit[s] fraud
safeguard defendants against spurious charges of immoral and             claims when the fraud contemplated by the
fraudulent behavior.” Seville, 742 F.2d at 791. At minimum,              plaintiff ... does not seem to be extraneous to the
Rule 9(b) requires “that the plaintiff identify the speaker of           contract, but rather on fraudulent performance of
allegedly fraudulent statements.” Klein v. Gen. Nutrition Co.,           the contract itself.”) (internal quotations omitted).
Inc., 186 F.3d 338, 345 (3d Cir.1999).                                   However, the New Jersey Supreme Court has never
                                                                         held that a fraud claim cannot be maintained if
*4 Here, Plaintiff has failed to specifically allege the                 based on the same conduct that gives rise to
                                                                         a breach of contract claim. Gleason v. Norwest
elements of common-law fraud. 3 Plaintiff's fraud claim
                                                                         Mortg., Inc., 243 F.3d 130, 144 (3d Cir.2001).
consists of the following allegation: “Kia has proceeded to
                                                                         Rather, New Jersey courts have not agreed on
deny and/or conceal the problem and directed its dealers
                                                                         whether fraud claims are an exception to the
to provide deceptive, false, or misleading explanations ....
                                                                         economic loss doctrine. Kirtley v. Wadekar, No. 05–
“ (Compl.¶ 7). The Complaint does not allege a material
                                                                         5383, 2006 WL 2482939, at *4 (D.N.J. Aug.25,
misrepresentation or reasonable reliance with particularity.
                                                                         2006). Moreover, the Third Circuit has “decline[d]
First, Plaintiff does not allege that “the problem” or Kia's
                                                                         to wade into this morass.” Vanguard Telecomm.


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        v. S. New England Tel., 900 F.2d 645, 654 (3d                instance of fraud); Rait v. Sears, Roebuck and Co., No. 08–
        Cir.1990). However, because neither party has                2461, 2009 WL 250309, at *4 (D.N.J. Feb.3, 2009) (finding
        raised the issue and because Plaintiff's fraud claim         complaint alleging only that plaintiff had purchased product,
        fails for other reasons, the Court will not decide           that product was defective, and that defendant was aware of
        whether the economic loss doctrine bars Plaintiff's          defective nature of product and did not reveal defect, did not
        fraud claim.                                                 inject sufficient precision into the allegations of fraud and
                                                                     lacked factual detail).
   2. Plaintiff's NJCFA Claim
The NJCFA “is aimed basically at unlawful sales and                  *5 Here, the Complaint fails to allege with particularity that
advertising practices designed to induce consumers to                Kia engaged in an unlawful practice. 4 The only allegations
purchase merchandise or real estate.” D'Ercole Sales, Inc.           in the Complaint that can be construed as an unlawful practice
v. Fruehauf Corp., 206 N.J.Super. 11, 501 A.2d 990, 996              are as follows:
(N.J.Super.Ct.App.Div.1985), cited with approval in, Cox
v. Sears Roebuck & Co., 138 N.J. 2, 647 A.2d 454, 461                4        The NJCFA defines an unlawful practice as the
(N.J.1994). In order to survive a motion to dismiss, a plaintiff
                                                                              following:
must allege that: (1) the defendant engaged in an unlawful
                                                                                   The act, use or employment by any
practice; (2) the plaintiff suffered an ascertainable loss; and
                                                                                   person of any unconscionable commercial
(3) there is a causal relationship between the unlawful conduct
                                                                                   practice, deception, fraud, false pretense, false
and the ascertainable loss. Bosland v. Warnock Dodge, Inc.,
                                                                                   promise, misrepresentation, or the knowing,
964 A.2d 741, 557 (N.J.2009).
                                                                                   concealment, suppression, or omission of any
                                                                                   material fact with intent that others rely upon
Also, in federal court, the plaintiff must satisfy the
                                                                                   such concealment, suppression or omission,
requirements of Rule 9(b), and plead NJCFA fraud claims
                                                                                   in connection with the sale or advertisement
with particularity. Naporano Iron & Metal Co. v. Am. Crane
                                                                                   of any merchandise or real estate, or with
Corp., 79 F.Supp.2d 494, 510 (D.N.J.1999). As with common
                                                                                   the subsequent performance of such person
law fraud, the plaintiff can satisfy the Rule 9 requirement
                                                                                   as aforesaid, whether or not any person has
by: (1) pleading the date, place or time of the fraud;
                                                                                   in fact been misled, deceived or damaged
or (2) otherwise injecting precision and some measure of
                                                                                   thereby ....
substantiation in the allegations of fraud. See Lum, 361 F.3d
                                                                                 N.J. Stat. Ann. § 56:8–2.
at 224. The requirements of Rule 9(b) are satisfied where
the plaintiff alleges the specific and precise instances of the
                                                                         Plaintiff and class members have been without the use of
defendant's fraudulent behavior under the NJCFA. See, e.g.,
                                                                         their vehicle and incurred costs for rental vehicles. Rather
Alin v. Am. Honda Motor Co., Inc., No. 08–4825, 2010 WL
                                                                         than acknowledge the problem, Kia has proceeded to deny
1372308, at *10 (D.N.J. March 31, 2010) (finding Rule 9(b)
                                                                         and/or conceal the problem and directed its dealers to
requirements met where plaintiff alleged car manufacturer
                                                                         provide deceptive, false, or misleading explanations for the
knew of defect but concealed it, and plaintiff substantiated
                                                                         failure to provide warranty coverage and reimbursement.
claim with specific instance of manufacturer's technician
                                                                         It has breached its standard express warranty and extended
stating defect was common); Strzakowlski v. Gen. Motors
                                                                         warranties.
Corp., No. 04–4740, 2005 WL 2001912, at *6 (D.N.J.
Aug.16, 2005) (finding Rule 9(b) requirements satisfied                  (Compl.¶ 7) (emphasis added). 5 Those allegations are
where plaintiff alleged defendant attempted to conceal engine            deficient for two reasons. First, the Complaint does
defect, detailed defendant's specific conduct and omissions,             not identify with particularity what “deceptive, false, or
and alleged the general dates of the fraud). However, the                misleading explanations” that Kia instructed its dealers
requirements of Rule 9(b) are not met where the plaintiff                to give to its customers, or point to an example of a
does not allege specific and precise factual details about               dealer who gave Plaintiff an allegedly false explanation. 6
the defendant's fraud under the NJCFA. See Frederico, 507                Rule 9(b) requires that, at minimum, Plaintiff identify the
F.3d at 200 (holding Rule 9(b) requirements not met where                speaker of the allegedly fraudulent explanations. Klein,
plaintiff made only made generic references to defendant's               186 F.3d at 345. But, the Complaint does not specifically
alleged fraud in charging late fees, but did not identify specific       allege that Kia or an authorized dealer gave Plaintiff a



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    false explanation for refusing to repair the Rio. Therefore,   defendant on notice of the precise misconduct with which it
    because the Complaint fails to put Kia on notice of the        is being charged). Therefore, the Complaint does not meet the
    specific conduct that gave rise to its NJCFA claim, the        pleading requirements of Rule 9, and Plaintiff's NJCFA claim
    Complaint is deficient under Rule 9(b).                        is dismissed.
5        The Complaint also alleges the following:
              The conduct set forth herein constitutes             7      Even if the Court construes “the problem” as the
              an unconscionable commercial practice,                      breach of warranty and Kia's concealment thereof,
              deception, fraud, false pretense, false                     which is not clear, the Complaint still would not
              promise, misrepresentation, and the knowing                 meet the requirements of Rule 9(b). A breach of
              concealment, suppression of a material fact                 warranty is not unfair or unconscionable per se and
              with intent that plaintiff and members of                   is not alone an unlawful practice under the NJCFA.
              the class upon [sic] such concealment,                      Palmucci v. Brunswick Corp., 311 N.J.Super. 607,
              suppression, or omission and otherwise                      710 A.2d 1045, 1049 (N.J.Super.App.Div.1998).
              violates applicable consumer fraud and                      Where the basis for a plaintiff's NJCFA claim
              deceptive practices statutes.                               is essentially a breach of warranty claim, the
           The Complaint recites the language of the                      plaintiff must show “substantial aggravating
           NJCFA. But, “plaintiff's obligation to provide                 circumstances.” Suber v. Chrysler Corp., 104 F.3d
           the ‘grounds' of his ‘entitle[ment] to relief’                 578, 587 (3d Cir.1997); D'Ercole, 501 A.2d at
           requires more than labels and conclusions, and                 1001 (relating that because “unfairness inheres in
           a formulaic recitation of the elements of a cause              every breach of contract,” substantial aggravating
           of action will not do.” Twombly, 550 U.S. at 555.              circumstances must be present to justify the treble
           Thus, the Court disregards these allegations as                damages available under NJCFA) (quoting United
           legal conclusions. See Iqbal, 129 S.Ct. at 1949.               Roasters, Inc. v. Colgate–Palmolive Co., 649 F.2d
6                                                                         985, 992 (4th Cir.1981)). The active and knowing
         In the Reply Brief Plaintiff argues “[w]e do                     concealment of a breach of warranty by a defendant
         not have simple [sic] a failure to provide                       is a substantial aggravating circumstance. See
         warranty coverage. Plaintiff had performed                       Suber, 104 F.3d at 587 (finding substantial
         required maintenance yet the dealer at Kia's                     aggravating circumstances pled where plaintiff
         behest falsely stated he had not and used that                   alleged Chrysler representative verbally informed
         false statement as a means to deny required                      plaintiff about van's suspension problems but then
         warranty coverage.” (Pl.'s Br. in Opp'n to Mot.                  lied on official report that van had no suspension
         to Dismiss 4–5). This additional information                     problems because representative attempted to
         infuses Plaintiff's claim with greater specificity               conceal breach of warranty); Alin, 2010 WL
         and particularity by alleging a concrete instance                1372308, at *8 (finding substantial aggravating
         of potentially fraudulent behavior. However, on a                circumstances where plaintiff pled Honda knew or
         motion to dismiss, the Court is “not permitted to                should have known of vehicle defect, promised
         go beyond the facts alleged in the Complaint and                 to repair defect as part of warranty knowing that
         the documents on which the claims made therein                   it would not honor warranty, and affirmatively
         were based,” and may not consider facts contained                concealed defect to foil warranty); Strzakowlski,
         in the reply brief not alleged in the Complaint. In              2005 WL 2001912, at *5 (finding sufficient
         re Burlington Coat Factory Sec.'s Litig., 114 F.3d               allegation of aggravating circumstances where
         1410, 1425 (3d Cir.1997). Therefore, the Court                   defendant attempted to conceal engine defect in
         cannot consider the arguments in the Reply Brief in              car by implementing repair procedure under guise
         construing the Complaint.                                        of “customer satisfaction program” to hide defect
Second, the Complaint does not allege with particularity                  until warranty expired); Naporano, 79 F.Supp.2d
“the problem” that Kia denied or concealed. Kia cannot                    at 507 (holding aggravating circumstances may
determine, based upon these allegations alone, “the problem”              be present where defendant instructed plaintiff
to which Plaintiff refers. 7 See Lum, 361 F.3d 223–24 (holding            to stop using a product, after defendant recalled
a plaintiff must plead with sufficient specificity to put a               and then reissued the product, because defendant


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       downplayed and concealed breach of warranty).                    D. Amendment of the Complaint
       However, substantial aggravating circumstances                 *6 Local Civil Rule 7.1(f) mandates that “[u]pon filing
       must be alleged with particularity under Rule                 of a motion for leave to file an amended complaint ...
       9(b). Rait, 2009 WL 250309, at *4. Here, the                  the moving party shall attach to the motion a copy of the
       Complaint does not allege with particularity how              proposed pleading or amendments ....“ L. Civ. R. 7.1(f). The
       “the problem” was concealed, or what misleading               purpose of Rule 7.1(f) is to give the Court and the parties a
       statements Kia told its dealers to provide to their           chance to evaluate the sufficiency of the proposed amended
       customers. Therefore, the Complaint does not meet             pleading. See P. Schoenfeld Asset Mgt. v. Cendant Corp., 142
       the requirements of Rule 9(b).                                F.Supp.2d 589, 622 (D.N.J.2001). Failure to comply with the
                                                                     Rule by not attaching a copy of the proposed amendment
   C. Plaintiff's Breach of Warranty Claim under the                 defeats the request for amendment. Parker v. Howmedica
   MMWA                                                              Osteonics Corp., No. 07–2400, 2008 WL 141628, at *5
“The Magnuson–Moss Act was promulgated to increase                   (D.N.J. Jan.14, 2008) (“[R]equesting leave to amend requires
consumer rights and protections by imposing minimum                  the party seeking leave to file a draft amended complaint ...
standards for manufacturers' warranties and by providing             and a failure to do so is fatal to a request for leave to amend.”)
various avenues for consumer redress.” Walsh v. Ford Motor           (internal quotations omitted).
Co., 627 F.Supp. 1519, 1522 (D.D.C.1986). Section 110(d) of
the MMWA provides, in pertinent part, that “a consumer who           Here, Plaintiff argues that “[t]o the extent the complaint is
is damaged by the failure of a supplier, warrantor, or service       not sufficiently specific, then the initial remedy would be to
contractor to comply with any obligation under this chapter,         permit amendment.” (Pl.'s Br. in Opp'n to Mot. to Dismiss 6).
or under a written warranty, implied warranty, or service            Construing this as a request for leave to amend the Complaint,
contract, may bring suit for damages and other legal and             Plaintiff has failed to comply with Rule 7.1(f). Plaintiff has
equitable relief ....” 15 U.S.C. § 2310(d) (emphasis added).         not attached a copy of the proposed amended complaint.
State substantive law determines liability for Magnuson–             Failure to attach a copy of the proposed amended complaint
Moss claims based on breaches of express and implied                 is fatal to the request for leave to amend. Parker, 2008 WL
warranties. Cooper v. Samsung Elec.'s Am., Inc., No. 07–             141628 at *5. Leave to amend is therefore DENIED.
3853, 2008 WL 4513924, at *6 (D.N.J. Sept.30, 2008).

Here, Plaintiff alleges that Defendant breached an express           IV. CONCLUSION
warranty. The Court has already found that Plaintiff's               For the reasons discussed above, Defendant's Motion to
allegations that Kia breached an express warranty are legally        Dismiss is DENIED as to Counts I and III of the Complaint,
sufficient under New Jersey law. 8 Thus, Kia's Motion to             and is GRANTED as to Count II of the Complaint. Plaintiff's
Dismiss is denied as to Plaintiff's MMWA claim.                      motion for leave to amend is DENIED. An appropriate Order
                                                                     shall enter.
8      Plaintiff's claim under the MMWA does not
       foreclose his state-law breach of warranty claim:             All Citations
       “Nothing in [the MMWA] shall invalidate or
       restrict any right or remedy of any consumer under            Not Reported in F.Supp.2d, 2011 WL 3273150
       State law.” 15 U.S.C. § 2311(b)(1).


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     Neutral
As of: July 14, 2020 6:40 PM Z


                McCamon-Hunt Ins. Agency, Inc. v. Medical Mut. of Ohio
                        Court of Appeals of Ohio, Seventh Appellate District, Mahoning County
                                           September 26, 2008, Decided
                                                CASE NO. 07 MA 94

Reporter
2008-Ohio-5142 *; 2008 Ohio App. LEXIS 4338 **; 2008 WL 4444631

                                                           Overview
McCAMON-HUNT INSURANCE AGENCY, INC.,
PLAINTIFF-APPELLANT, - VS - MEDICAL MUTUAL                 On appeal, the broker alleged that the insurer had
OF OHIO, DEFENDANT-APPELLEE.                               breached its agreement to pay the broker commissions
                                                           from the insurer's health insurance contract with the
                                                           county. That contract stated that the broker would
                                                           receive commissions as long as it was the county's
Prior        History: [**1] CHARACTER   OF                 agent-of-record. The county decided that the broker
PROCEEDINGS: Civil Appeal from Common Pleas                would no longer be its agent and the broker failed to
Court, Case No. 00 CV 2350.                                introduce any evidence which would demonstrate that
                                                           the county acted improperly when making this decision.
                                                           Therefore, the broker was no longer the county's agent-
McCamon-Hunt Ins. Agency, Inc. v. Medical Mut. of          of-record and was no longer entitled to commissions
Ohio, 2003 Ohio 1221, 2003 Ohio App. LEXIS 1193            from the insurer. Furthermore, there was no evidence
(Ohio Ct. App., Mahoning County, Mar. 11, 2003)            that the insurer acted in a way which would justify a
                                                           claim for unjust enrichment. In addition, the group health
                                                           insurance at issue was a type of health care plan
                                                           authorized to be issued under R.C. Chapter 1751 and
Disposition: Affirmed.                                     there was no evidence that the plan failed to meet the
                                                           statutory conditions of R.C. 307.86. Thus, there was no
                                                           requirement that the county engage in a competitive
                                                           bidding process in order to award the health insurance
                                                           contract to the insurer. Therefore, the trial court properly
Case Summary                                               granted summary judgment to the insurer.


Procedural Posture
Plaintiff health insurance broker appealed the judgment
of the Mahoning County Court of Common Pleas (Ohio),
which granted summary judgment to defendant insurer        Outcome
on the broker's claims for breach of contract, unjust      The judgment of the trial court granting summary
enrichment, and conversion. Under the parties' contract,   judgment to the insurer was affirmed.
the broker was to receive commissions based on health
insurance premiums paid to the insurer by a county as
long as the broker was the county's agent-of-record.

                                                           Counsel: For Plaintiff-Appellant: Attorney Stephen R.
                                                           Garea, Youngstown, OH.


                                                           For Defendant-Appellee: Attorney Robert D. Kehoe,
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Attorney J. Brian Kennedy, Attorney Joseph J. Jerse,            commissions as long as it was the Commissioners'
Kehoe & Associates, Cleveland, OH.                              "agent-of-record."

                                                                 [*P3] The Commissioners began seeking bids for
                                                                insurance coverage from March 1, 2000, through
Judges: Hon. Mary DeGenaro, Hon. Gene Donofrio,                 February 28, 2002. On December 21, 1999, McCamon-
Hon. Joseph J. Vukovich. Vukovich, J., concurring in            Hunt picked up a bid package from the
judgment only with concurring opinion.                           [**3] Commissioners and gave it to Medical Mutual.
                                                                One week later, on December 28, 1999, the
                                                                Commissioners cancelled the first bidding process and
                                                                sought new bids. McCamon-Hunt then supplied Medical
                                                                Mutual with a new bid package. Medical Mutual
Opinion                                                         submitted its bid on February 2, 2000. The bid award
                                                                was not completed until after February 28, 2000, when
                                                                the Commissioners' contract with Medical Mutual ended,
DeGenaro, P.J.                                                  so the two continued under the old contract on a month-
                                                                to-month basis.
 [*P1] This timely appeal comes for consideration upon
the record in the trial court, the parties' briefs, and their    [*P4] The Commissioners awarded the bid to Medical
oral arguments before this court. Plaintiff-Appellant,          Mutual on April 27, 2000, after negotiating with Medical
McCamon-Hunt Insurance Agency, Inc., appeals the                Mutual for a better rate. The new contract for insurance
decision of the Mahoning County Court of Common                 coverage was from June 1, 2000 to February 28, 2002.
Pleas that granted summary judgment to Defendant-               Medical Mutual ceased paying commissions to
Appellee, Medical Mutual of Ohio, on McCamon-Hunt's             McCamon-Hunt on June 1, 2000.
claims for breach of contract, unjust enrichment, and
conversion. Under a contract with Medical Mutual,                [*P5]   In June 2000, the Mahoning County
McCamon-Hunt was to receive commissions based on                Administrator sent a letter to McCamon-Hunt, which
the health insurance premiums paid to Medical Mutual            indicated that the Commissioners had agreed to the
by the Mahoning County Board of Commissioners as                contract, but decided not to name a broker for that
long as McCamon-Hunt was the Commissioners' agent-              contract. Shortly after that, Medical Mutual informed
of-record. McCamon-Hunt's claims are based largely on           McCamon-Hunt that it would no longer be paying
its argument that the Commissioners' [**2] improperly           McCamon-Hunt any commissions and ceased paying
decided not to retain McCamon-Hunt as its health                those commissions.
insurance broker when it entered into a new health
insurance contract with Medical Mutual. However,                 [*P6] McCamon-Hunt did not file any action
McCamon-Hunt has failed to demonstrate a genuine                challenging the Commissioners' decision to no longer
issue of material fact regarding its claims. Accordingly,        [**4] retain McCamon-Hunt as health insurance broker.
the trial court's decision is affirmed.                         Instead, it filed an action against Medical Mutual
                                                                sounding in breach of contract, unjust enrichment, and
Facts                                                           conversion. Medical Mutual moved to dismiss that
                                                                complaint pursuant to either Civ.R. 12(B)(6) or Civ.R.
 [*P2] On December 30, 1996, the Commissioners                  12(C). The trial court granted Medical Mutual's motion to
named McCamon-Hunt as its agent-of-record for the               dismiss for failure to state a claim.
purpose of purchasing health insurance for its
employees. As a result of McCamon-Hunt's efforts, the            [*P7] McCamon-Hunt appealed that decision to this
Commissioners entered into a health insurance contract          court and it was reversed because the whole contract
with Medical Mutual which lasted from March 1, 1998, to         had not been attached to the complaint, which was a
February 28, 2000. Medical Mutual entered into a Single         problem pursuant to Civ.R. 10(D) which is not a basis
Case Agreement with McCamon-Hunt on March 1,                    for relief under Civ.R. 12(B)(6). The matter was
1998, which agreed to pay McCamon-Hunt a                        remanded back to the trial court. Eventually, Medical
commission based on the premiums paid to Medical                Mutual moved for summary judgment, arguing that there
Mutual by the Commissioners. That agreement made                were no issues of material fact and that McCamon-Hunt
some reference to "renewal dates of the contract," but          was not entitled to relief under any of its claims. The trial
stated that McCamon-Hunt was only entitled to the               court granted that motion after McCamon-Hunt
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responded.                                                     existence of the contract, whether McCamon-Hunt
                                                               performed the contract, or whether it suffered damages
 [*P8] McCamon-Hunt's sole assignment of error on              if Medical Mutual breached the contract. The only
appeal argues:                                                 dispute is whether Medical Mutual breached the
                                                               contract." McCamon-Hunt Ins. Agency, Inc. v. Medical
 [*P9] "The trial court erred in granting summary
                                                               Mut. of Ohio, 7th Dist. No. 02 CA23, 2003 Ohio 1221 at
judgment in favor of the Defendant-Appellant and by
                                                               P9.
failing to grant summary judgment in favor of the
Plaintiff-Appellee."                                            [*P13] Medical Mutual argues that McCamon-Hunt is
                                                               no longer entitled to commissions because McCamon-
Standard of Review
                                                               Hunt is no longer agent of record for the
                                                               Commissioners. Medical Mutual supports this
 [*P10] When reviewing a trial court's decision to grant
                                                                [**7] claim by pointing to a June 19, 2000, letter from
summary judgment, an appellate [**5] court applies the
                                                               the Mahoning County Administrator to McCamon-Hunt,
same standard used by the trial court and, therefore,
                                                               which provides as follows:
engages in a de novo review. Parenti v. Goodyear Tire
& Rubber Co. (1990), 66 Ohio App.3d 826, 829, 586               [*P14] "This letter is being written to advise you of the
N.E.2d 1121. Under Civ.R. 56, summary judgment is              County's award for hospitalization from June 1, 2000
only proper when the movant demonstrates that,                 through March 2, 2002.
viewing the evidence most strongly in favor of the non-
movant, reasonable minds must conclude no genuine               [*P15] "Because of the significant increase in the cost
issue as to any material fact remains to be litigated and      of the insurance, the Board awarded the bid and did not
the moving party is entitled to judgment as a matter of        name any brokers.
law. Doe v. Shaffer, 90 Ohio St. 3d 388, 390, 2000 Ohio
186, 738 N.E.2d 1243. A fact is material when it affects        [*P16] "We appreciate your prior service with the
the outcome of the suit under the applicable substantive       County and thank you for your continued interest in the
law. Russell v. Interim Personnel, Inc. (1999), 135 Ohio       future."
App.3d 301, 304, 733 N.E.2d 1186.
                                                                [*P17] This was followed by an August 8, 2000, letter
 [*P11] When moving for summary judgment, a party              to McCamon-Hunt from Medical Mutual confirming that
must produce some facts that suggest that a reasonable         Medical Mutual would no longer be paying commissions
fact-finder could rule in their favor. Brewer v. Cleveland     to McCamon-Hunt pursuant to the Commissioners'
Bd. of Edn. (1997), 122 Ohio App.3d 378, 386, 701              request.
N.E.2d 1023. "[T]he moving party bears the initial
                                                                [*P18] McCamon-Hunt argues that the Commissioners'
responsibility of informing the trial court of the basis for
                                                               actions did not properly terminate its agency relationship
the motion, and identifying those portions of the record
                                                               with the County and, therefore, McCamon-Hunt should
which demonstrate the absence of a genuine issue of
                                                               still be recognized as agent of record under the contract.
fact on a material element [**6] of the nonmoving
                                                               Medical Mutual both disputes this claim and argues that
party's claim." Dresher v. Burt, 75 Ohio St. 3d 280, 296,
                                                               McCamon-Hunt         should    have     challenged     the
1996 Ohio 107, 662 N.E.2d 264. The trial court's
                                                               Commissioners' conduct in a timely manner through an
decision must be based upon "the pleadings,
                                                               action for declaratory or injunctive relief against the
depositions, answers to interrogatories, written
                                                               Commissioners, rather than trying to challenge that
admissions, affidavits, transcripts of evidence, and
                                                               conduct in this lawsuit.
written stipulations of fact, if any, timely filed in the
action." Civ.R. 56(C). The nonmoving party has the              [*P19] We have some [**8] sympathy with Medical
reciprocal burden of specificity and cannot rest on mere       Mutual's argument that McCamon-Hunt should be
allegations or denials in the pleadings. Dresher at 293.       raising this argument in a lawsuit involving the
                                                               Commissioners, but do not need to address that issue in
Breach of Contract
                                                               this opinion since McCamon-Hunt has failed to
                                                               demonstrate that the Commissioners acted improperly.
 [*P12] As we stated in our prior opinion in this case,
McCamon-Hunt's claims are all predicated on its "belief         [*P20] McCamon-Hunt's argument in this regard is
that Medical Mutual breached its contract with                 premised on its allegation that the Commissioners did
McCamon-Hunt. The parties do not argue over the
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not properly terminate their relationship with McCamon-       conditions are met. R.C. 307.86(F).
Hunt. The letter from the County Administrator to
McCamon-Hunt demonstrates that the Commissioners               [*P25] The group health insurance at issue in this case
did, in fact, terminate that relationship. However,           was a type of health care plan authorized to be issued
McCamon-Hunt has produced no evidence showing the             under R.C. Chapter 1751 and there is no evidence that
manner in which the Commissioners arrived at their            the plan failed to meet the statutory conditions. Thus,
decision. It claims that there are no records                 there was no requirement that the Commissioners
demonstrating the Commissioners' reasoning, but has           engage in a competitive bidding process in order to
failed to back up this assertion by citing to any evidence,   award the health insurance contract to Medical Mutual.
such as affidavits or depositions regarding their
attempts to search the Commissioners' minutes.                 [*P26] McCamon-Hunt also argues that there is a
                                                              genuine issue regarding whether it is entitled to recover
 [*P21] As stated above, the non-moving party has the         under a theory of unjust enrichment. A person is unjustly
reciprocal burden of specificity and must introduce           enriched if he profits or enriches himself inequitably at
evidence in order to meet this burden. Dresher at 293.        another's expense and such a person will be required to
Since McCamon-Hunt has not introduced any such                make restitution to the party suffering the loss. Henkle v.
evidence, we cannot address the merits of this                Henkle (1991), 75 Ohio App.3d 732, 738, 600 N.E.2d
argument.                                                     791.

 [*P22] The evidence [**9] in the record shows that            [*P27] A plaintiff must prove the following three things
McCamon-Hunt was only contractually entitled to               in order to recover under a theory of unjust enrichment:
commissions from Medical Mutual as long as it was the         1) the plaintiff [**11] conferred a benefit upon the
Agent of Record for the Commissioners and that the            defendant, 2) the defendant had knowledge of the
Commissioners decided not to retain McCamon-Hunt as           benefit, and 3) circumstances render it unjust or
its Agent of Record. McCamon-Hunt admits that Medical         inequitable to permit the defendant to retain the benefit
Mutual paid it commissions up until the time that the         without compensating the plaintiff. Hambleton v. R.G.
Commissioners made this decision. Thus, McCamon-              Barry Corp. (1984), 12 Ohio St.3d 179, 183, 12 Ohio B.
Hunt has failed to demonstrate that Medical Mutual            246, 465 N.E.2d 1298. The benefit conferred by the
breached its contract with McCamon-Hunt.                      plaintiff must be in response to a fraud,
                                                              misrepresentation, or bad faith on behalf of the
Miscellaneous Arguments                                       defendant. Natl. City Bank v. Fleming (1981), 2 Ohio
                                                              App.3d 50, 58, 2 Ohio B. 57, 440 N.E.2d 590. As this
 [*P23] McCamon-Hunt makes other arguments in its             court has recently stated, this requirement ensures a tie
brief. For instance, McCamon-Hunt argues that the             of causation between the plaintiff's loss and the
Commissioners improperly entered into the 2000                defendant's benefit. HLC Trucking v. Harris, 7th Dist.
contract with Medical Mutual because it did not make          No. 01 BA 37, 2003 Ohio 694, at P26.
that contract subject to the competitive bidding process
and is, therefore, void. McCamon-Hunt bases this               [*P28] In this case, McCamon-Hunt is claiming that
argument on a 1969 opinion from the Ohio Attorney             Medical Mutual was unjustly enriched because
General which interpreted a former version of R.C.            McCamon-Hunt had prepared Medical Mutual's original
307.86. That former version of that statute governed          bid in 2000, Medical Mutual was eventually awarded the
competitive bidding and made no exception for group           contract, and McCamon-Hunt is not being compensated
health insurance contracts.                                   for its efforts. However, McCamon-Hunt has not pointed
                                                              to any fraud, misrepresentation, or bad faith by Medical
 [*P24] However, R.C. 307.86 has been amended since           Mutual which prompted McCamon-Hunt to confer a
1969. It now makes an exception to the competitive            benefit upon Medical Mutual.
bidding requirement for the purchase "of any form of an
insurance policy [**10] or contract authorized to be           [*P29] Furthermore, the record does not support such
issued under Title XXXIX of the Revised Code or any           a conclusion. After McCamon-Hunt submitted [**12] a
form of health care plan authorized to be issued under        bid on Medical Mutual's behalf in 2000, the
Chapter 1751. of the Revised Code, or any combination         Commissioners decided to have the contract re-bid and
of such policies, contracts, or plans that the contracting    negotiated a different agreement with Medical Mutual
authority is authorized to purchase" as long as certain       than that originally submitted by McCamon-Hunt on
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Medical Mutual's behalf. Nowhere in this fact pattern is    judgment of the trial court granting summary judgment
there any wrongdoing by Medical Mutual which would          to Medical Mutual is affirmed. Donofrio, J., concurs in
support a finding of unjust enrichment. Thus, McCamon-      judgment and the reasoning stated in both the majority
Hunt's argument that the trial court erred when granting    and concurring opinion.
summary judgment on this claim is meritless.
                                                            Vukovich, J., concurring     in    judgment   only   with
 [*P30] Finally, McCamon-Hunt argues that Medical           concurring opinion.
Mutual is liable for conversion because it has not paid
McCamon-Hunt the commissions it earned pursuant to          Concur by: Joseph J. Vukovich
the contract between McCamon-Hunt and Medical
Mutual. However, this argument is nothing more than
treating a breach of contract claim as if it were a
conversion claim.                                           Concur
 [*P31] Conversion is the "wrongful exercise of
dominion over property to the exclusion of the rights of
the owner, or withholding it from his possession under a    VUKOVICH, J., concurring in judgment only with
claim inconsistent with his rights." Joyce v. General       concurring opinion:
Motors Corp. (1990), 49 Ohio St.3d 93, 96, 551 N.E.2d
                                                             [*P34] Although I concur with certain holdings in the
172. In this case, the only reason why McCamon-Hunt
                                                            majority opinion, I refrain from concurring with its
is alleging that Medical Mutual is exercising dominion
                                                            entirety. Among other things, I would not choose to
over McCamon-Hunt's property is that Medical Mutual is
                                                            bypass appellee's most convincing arguments. For
not paying [**13] McCamon-Hunt the commissions
                                                            instance, there are additional contractual terms to
which McCamon-Hunt believes Medical Mutual is
                                                            consider besides the bare "Agent of Record" phrase.
contractually obligated to pay McCamon-Hunt. Thus,
                                                            More specifically, the contract provides that McCamon-
McCamon-Hunt's conversion claim is really a breach of
                                                            Hunt was only entitled to commissions if it "remains the
contract claim. For the reasons given above, the trial
                                                            Agent of Record for the group, as recognized by both
court properly granted summary judgment to Medical
                                                            the group and the Company" and "upon acceptance" of
Mutual on McCamon-Hunt's breach of contract claim.
                                                            the application submitted on the broker's behalf. There
Conclusion                                                  was a reciprocal right to terminate the agreement
                                                            without cause upon thirty days notice. McCamon-Hunt
 [*P32] McCamon-Hunt alleges that Medical Mutual has        admitted that the County could [**15] have chosen from
breached its agreement to pay McCamon-Hunt                  any of the eleven brokers listed on the bid provided by
commissions from Medical Mutual's health insurance          Medical Mutual. McCamon-Hunt also recognized that
contract with the Commissioners. That contract stated       the final policy differed from the one with which it was
that McCamon-Hunt would receive commissions as long         involved.
as it was the Commissioners' agent-of-record. The
Commissioners decided that McCamon-Hunt would no             [*P35] Furthermore, appellant presents multiple
longer be its agent and McCamon-Hunt has failed to          arguments about the Commissioners abusing their
introduce any evidence which would demonstrate that         discretion and acting contrary to law. However, the
the Commissioners acted improperly when making this         County is not a party, and its behavior cannot be
decision. Therefore, McCamon-Hunt was no longer the         attributed to Medical Mutual. McCamon-Hunt does not
Commissioners' agent-of-record and was no longer            dispute that the County refused to name a broker in its
entitled to commissions from Medical Mutual.                final policy with Medical Mutual. Rather, McCamon-Hunt
Furthermore, there is no evidence that Medical Mutual       claims that the Commissioners' acts or omissions in
acted in a way which would justify a claim for unjust       doing so were violative of the Commissioners' legal and
enrichment.                                                 contractual duties to the public and to McCamon-Hunt.
                                                            Yet, McCamon-Hunt fails to establish how such claims
 [*P33] Given these conclusions, the facts in the record,   are actionable against Medical Mutual alone, who
considered in the light most favorable [**14] to            cannot be expected to defend against claims that
McCamon-Hunt, show that McCamon-Hunt is not                 another party engaged in acts or omissions that
entitled to the relief it seeks. Accordingly, McCamon-      allegedly harmed a broker. It is my opinion that the
Hunt's sole assignment of error is meritless and the        absence of the Board of County Commissioners as a
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party is dispositive of many of the arguments posited by
McCamon-Hunt.

 [*P36] For these reasons and certain additional
reasons presented in the main opinion above, I agree
that a genuine issue of material [**16] fact as to a
breach of contract by Medical Mutual has not been
established. I thus concur in affirming the trial court's
entry of summary judgment in favor of Medical Mutual.


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                                                                     Both the J & J Defendants and the Contractor Defendants
                                                                     have filed motions to dismiss. The Court held oral argument
      KeyCite Yellow Flag - Negative Treatment                       on these motions on June 29, 2011. The Court will grant the
Distinguished by Dana v. Hershey Company, N.D.Cal., March 29, 2016
                                                                     motions and will dismiss the plaintiffs' claims in their entirety
                  2011 WL 2802854
                                                                     for lack of standing. The claims against the J & J Defendants
    Only the Westlaw citation is currently available.
                                                                     will be dismissed without prejudice, and the Court will permit
             United States District Court,
                                                                     the plaintiffs to amend their complaint. The claims against
                 E.D. Pennsylvania.
                                                                     the Contractor Defendants, however, will be dismissed with
                                                                     prejudice.
                 In re McNEIL CONSUMER
          HEALTHCARE, et al., MARKETING
         AND SALES PRACTICES LITIGATION.                             I. Facts as Alleged in the Consolidated Amended
               Applies to: All Actions.                              Complaint 1
                                                                     1
                          MDL No. 2190.                                    In evaluating a motion to dismiss under Rule 12(b)
                                |                                            (6), a court must accept all well-pleaded facts as
                          July 15, 2011.                                     true, and must construe the complaint in the light
                                                                             most favorable to the plaintiff, while disregarding
                                                                             any legal conclusions. Fowler v. UPMC Shadyside,
                        MEMORANDUM                                           578 F.3d 203, 210 (3d Cir.2009). The court
                                                                             must then determine whether the facts alleged are
McLAUGHLIN, District Judge.                                                  sufficient to show that the plaintiff has a “plausible
                                                                             claim for relief.” Fowler, 578 F.3d at 210. If the
 *1 This putative class action represents a consolidation of                 well-pleaded facts do not permit the court to infer
individual cases filed in various courts throughout the United               more than the mere possibility of misconduct, then
States, which have been transferred to this Court by the                     the complaint has alleged, but it has not shown, that
Judicial Panel on Multidistrict Litigation. The litigation arises            the pleader is entitled to relief. Ashcroft v. Iqbal,
out of purported quality control issues affecting certain over-              ––– U.S. ––––, ––––, 129 S.Ct. 1937, 1949, 173
the-counter healthcare products manufactured by Johnson &                    L.Ed.2d 868 (2008).
Johnson's (“J & J”) consumer healthcare division, McNeil
Consumer Healthcare (“McNeil”).                                      As an initial matter, the Court notes that the allegations in
                                                                     the consolidated amended complaint (“CAC”) are difficult to
The plaintiffs allege that J & J and McNeil, along with              distill into a coherent summary. This is largely due to the fact
certain executives and board members (collectively, the              that the plaintiffs' allegations relate to disparate and in some
“J & J Defendants”), as well as third-party contractors              cases unrelated events, each of which implicates different
(the “Contractor Defendants”), engaged in a conspiracy to            sets of products manufactured by the J & J Defendants. 2
conceal systemic quality control problems and manufacturing          At no point in the CAC do the plaintiffs identify which
defects that began at least as early as 2008, and which              particular products they purchased; instead, the plaintiffs use
affected adult and children's medications, many of which             umbrella terms such as “Subject Products” and “Recalled
were manufactured at McNeil's facility in Fort Washington,           Subject Products.” With these issues in mind, the Court has
Pennsylvania. As a consequence of this scheme, the plaintiffs        done its best to piece together the plaintiffs' allegations below,
allegedly purchased McNeil products at higher prices than
they were worth, based on their reliance on the J & J                2       In addition, the plaintiffs often refer to J
Defendants' reputation for safe and effective medications. In                & J, McNeil, and the individual defendants
this action, the plaintiffs seek to recover their out-of-pocket              interchangeably.
payments for the products in question. The plaintiffs also seek
damages for the alleged conspiracy to conceal the quality               A. Background: April 30, 2010, FDA Report and Recall
control problems that first came to light in 2010.                   The twenty-seven named plaintiffs are individuals from
                                                                     sixteen states plus Ontario, Canada, who bring suit on
                                                                     behalf of themselves and a putative nationwide class 3


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of consumers who have purchased unspecified “Subject               the Subject Products identified above. The recall covered
Products” manufactured by McNeil from at least December            approximately forty types of children's and infants' products
2008 to the present. 4 The plaintiffs contend that these Subject   manufactured at the Fort Washington plant, and encompassed
Products were defective due to quality control problems in         over 136 million bottles of products in total. The recall was
McNeil's manufacturing process. Although the quality control       issued only as to products bearing certain National Drug
problems began at least as early as 2008, the plaintiffs did       Codes, production dates and lot numbers. Throughout the
not become aware of such problems until April 30, 2010,            CAC, the plaintiffs refer to the subset of Subject Products that
when the Food and Drug Administration (“FDA”) issued a             were recalled on, and subsequent to, April 30, 2010, as the
report citing McNeil's Fort Washington facility for various        “Recalled Subject Products.” 5 CAC ¶¶ 7, 9.
deficiencies in its manufacturing process. CAC ¶¶ 5, 7.
                                                                   5      The “Recalled Subject Products” include various
3      The plaintiffs also purport to represent individuals               forms of Tylenol Infants' Drops, Children's
       from other countries, which the plaintiffs refer to                Tylenol Suspensions, Children's Tylenol Plus
       as “Other Places,” and which include Canada, the                   Suspensions, Motrin Infants' Drops, Children's
       Dominican Republic, the United Arab Emirates,                      Motrin Suspensions, Children's Motrin Cold
       Fiji, Guam, Guatemala, Jamaica, Puerto Rico,                       Suspensions, Children's Zyrtec Liquids in Bottles,
       Panama, Trinidad & Tobago, and Kuwait. CAC ¶ 1.                    and Children's Benadryl Allergy Liquids in Bottles.
                                                                          CAC ¶ 9.
4      The plaintiffs refer to all drugs allegedly affected
       by quality control issues as the “Subject Products.”        In the wake of the recall announcement, McNeil shut down its
       The Subject Products include various forms of               manufacturing operations at the Fort Washington facility. In
       the following: Tylenol Infants' Drops, Tylenol              addition, the recall announcement triggered a congressional
       Infants' Suspension, Tylenol Suspensions, Tylenol           investigation that led to two hearings before Congress in
       Plus Suspensions, Children's Tylenol Plus, Tylenol          2010. CAC ¶¶ 7–9, 169–71, 173.
       Meltaways, Tylenol, Motrin Infants' Drops, Motrin
       Suspensions, Motrin Cold Suspensions, Junior                The plaintiffs allege that the J & J Defendants' recall was
       Strength Motrin, Motrin IB, Zyrtec Liquids in               inadequate for multiple reasons, and has therefore not fully
       Bottles, Benadryl Allergy Liquids in Bottles,               compensated the putative class members. First, although all
       Children's Benadryl Fastmelt Tablets, Benadryl              of the Subjects Products identified in the CAC suffered from
       Allergy Tablets, Pepsid, Rolaids, Mylanta and               “serious problems,” the J & J Defendants only recalled a
       Alternagel Liquid Products, Simply Sleep, and St.           subset of those products, which are identified in the CAC as
       Joseph Aspirin. “Subject Products,” Ex. A to CAC.           the Recalled Subject Products. The plaintiffs have therefore
                                                                   paid inflated prices for defective products that have not been
 *2 In a report issued on April 30, 2010, the FDA listed
                                                                   subject to any recall. 6 CAC ¶¶ 4, 7, 9, 232.
twenty separate “observations” that had been made by
FDA investigators based on inspections of McNeil's Fort
                                                                   6
Washington facility between April 19 and April 30, 2010.                  Based on the CAC and the representations made
These observations related to a number of deficiencies in                 by plaintiffs' counsel at oral argument, it appears
McNeil's manufacturing operations, including failures of                  that the broader category of “Subject Products”
production controls to ensure consistency in the strength,                includes products manufactured at additional
quality and purity of products; the use of contaminated                   locations apart from McNeil's Fort Washington
raw materials, some of which contained gram-negative                      facility.
organisms; the manufacture of “super-potent batches” of            Even with respect to the products that were subject to the
certain products; the presence of foreign materials in some        April 30, 2010, recall (the Recalled Subject Products), the
products; and a general lack of cleanliness and record             accompanying refund offer was substantively deficient and
keeping. CAC ¶¶ 195, 202–03; April 30, 2010, FDA Report,           has not fully compensated the plaintiffs for several reasons.
Ex. C to CAC.                                                      First, the recall announcement was deliberately delayed until
                                                                   the evening of Friday, April 30, 2010, so as to avoid
On the evening of April 30, 2010, following the FDA                substantial media attention. As a consequence, only a small
report, McNeil announced a voluntary recall of a subset of


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portion of consumers who purchased the Recalled Subject           operators handling the customer service lines were difficult to
Products have learned about the recall, and an even smaller       reach, and those who could be reached were “data collectors
number have availed themselves of the refund offer. CAC ¶¶        and coupon issuers.” The plaintiffs aver that Mr. Owen's
7–8.                                                              experience emphasizes the fact that the J & J Defendants were
                                                                  pushing coupons over cash refunds. 9 CAC ¶¶ 235–39.
Even those consumers who availed themselves of the refund
offer were not adequately compensated. In the early stages,       8       The plaintiffs' allegations regarding third-party
McNeil encouraged consumers to take “high value coupons”
                                                                          consumers are derived from 98 pages of documents
for future McNeil products instead of cash refunds. The
                                                                          relating to the refund offer that the J & J Defendants
coupons, however, have no present cash value, are not
                                                                          furnished to the plaintiffs after an initial status
transferable, and are “worthless” because the McNeil Fort
                                                                          conference before the Court on December 13, 2010.
Washington plant has closed. The plaintiffs aver that “[s]ome
                                                                          The 98 pages largely consisted of printouts from
members of the consumer Class in this case received such
                                                                          the J & J Defendants' websites. None of the third-
worthless coupons.” CAC ¶ 16. The J & J Defendants later
                                                                          party consumers are named plaintiffs in this action.
began offering consumers a “limited opportunity” to request
                                                                          See CAC ¶¶ 234–35; Pls.' Opp'n to Defs.' Mot. to
a partial cash refund of their out-of-pocket payments. Both
                                                                          Dismiss (“Pls.' Opp'n”), at 9.
the coupons and cash refunds, however, were only offered to
consumers who could satisfy the J & J Defendants' eligibility     9       The plaintiffs also cite to a document entitled
criteria. CAC ¶¶ 14–15, 18.                                               “Recall Update: Change to Compensation Policy,”
                                                                          an internal J & J document that directed customer
 *3 In particular, to receive a cash refund or a coupon,                  service representatives, “[e]ffective immediately,”
consumers had to complete a web-based form that required                  to offer a check first and then a coupon. According
the consumer to enter the specific product name, as well as its           to the plaintiffs, this only would have been
National Drug Code number, lot number and expiration date.                necessary if the J & J Defendants had previously
The refund webpage contained no provisions for consumers                  been pushing coupons instead of cash. CAC ¶ 244.
who did not retain the product bottle, notwithstanding the J
& J Defendants' instructions to discard products subject to       In addition, the plaintiffs cite to a blog poster named “Aaron
                                                                  L,” to show that cash refunds, when offered, were inadequate.
the recall. 7 Therefore, consumers who used up or discarded
                                                                  Aaron L. commented that he was having “issues” with the
the products cannot receive a coupon or cash refund. CAC ¶¶
                                                                  amount of his cash refund, based on the fact that he had
225–29, 233.
                                                                  “to destroy 6 various McNeil products and received a check
                                                                  for $10.00.” CAC ¶ 241. The plaintiffs also append to their
7      The J & J Defendants encouraged consumers, as a            complaint a document dated May 13, 2010, signed by Peter
       “precautionary measure,” not to administer unused          Luther, McNeil's President, that was issued to healthcare
       Recalled Subject Drugs to children, and instead            providers. In the document, Mr. Luther explained that cash
       to dispose of said products by mixing them with            refunds were calculated based on the “average retail price”
       materials such as kitten litter or coffee grounds and      of the product in question. According to the plaintiffs, the
       placing the products in a sealed bag. CAC ¶ 13.            average retail price did not include any applicable taxes. In
Apart from these general allegations, the CAC does not            addition, average retail prices have been inconsistent between
aver that any named plaintiff attempted to avail himself          internal McNeil documents. Therefore, any consumer who
of the refund offer and was not made whole. Instead, the          receives the average retail price is not made whole. CAC ¶¶
plaintiffs rely on the experiences of non-plaintiff third-party   58, 242–43.
consumers to illustrate specific examples of the refund offer's
deficiencies. In particular, the plaintiffs cite to comments      In view of the foregoing allegations, the plaintiffs contend that
posted by consumers on an internet blog maintained by the         the refund offer has failed to compensate them. The plaintiffs
                                                                  also allege that the quality control problems that first came
J & J Defendants as part of the refund offer. 8 For example,
                                                                  to light on April 30, 2010, and that prompted the recall,
a man named Evan D. Owen criticized the J & J Defendants
                                                                  had been ongoing at J & J and McNeil since at least 2008.
for delaying the recall announcement until late in the evening
                                                                  These quality control issues, which affected at a minimum
on Friday, April 30. Mr. Owen also complained that the
                                                                  all Subject Products, were concealed as part of a conspiracy


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to avoid disclosure. The 2010 recall and the accompanying              The plaintiffs allege that J & J and McNeil's quality control
refund offer, which have failed to compensate consumers,               has deteriorated since 2002, largely as a consequence of
are symptomatic of this scheme to conceal the truth and to             internal management decisions. Starting in 2002, McNeil
minimize the consequences of the J & J Defendants' actions.            began to lay off its experienced quality control staff and
The Court will turn to the conspiracy allegations below.               replace them with inexperienced contract workers. In 2007,
                                                                       William C. Weldon, the Chairman and CEO of J & J, made
                                                                       significant cuts to J & J's Corporate Compliance Group,
   B. Conspiracy Allegations                                           which was charged with conducting “tough audits” and
 *4 The plaintiffs' conspiracy allegations relate to events            overseeing quality control at all of the J & J companies. In
that largely occurred prior to the April 30, 2010, FDA                 the same year, McNeil issued an internal memorandum that
report and the subsequent recall of children's and infants'            reflected its ongoing quality control problems, including a
medications. Taken together, the plaintiffs argue that these           high percentage of operator errors in every work center. CAC
allegations reveal systemic quality control problems that were         ¶¶ 129, 136–37.
intentionally concealed by the defendants.
                                                                       J & J and McNeil's quality control was also subject to
                                                                       FDA criticism on multiple occasions prior to April 30,
   1. Violations of State and Federal Laws
                                                                       2010. In 2004, for instance, the FDA cited McNeil for bad
The plaintiffs devote many allegations of the CAC to
                                                                       sampling and poor record keeping. On January 11, 2006, the
violations of state and federal laws by J & J and its various
                                                                       FDA issued an “Enforcement Report” citing problems with
non-McNeil subsidiaries in recent years. The plaintiffs
                                                                       several of the same products that were again cited in the
contend that these violations, which in several cases resulted
in the imposition of criminal or civil fines, should have put the      2010 report. 11 For example, in the 2006 report, the FDA
J & J Defendants on “heightened alert” for the conduct giving          identified particulate matter in Children's Motrin Bubblegum
rise to this action. In brief, the plaintiffs' allegations relate to   Suspensions. This same observation appeared again in the
“kickback” arrangements, as well as schemes to promote the             2010 report. Similarly, the 2006 report identified the presence
                                                                       of foreign substances in the Bubblegum and Cherry Blast
off-label use of prescription drugs. 10
                                                                       Flavors of Tylenol Oral Suspensions. These two products
                                                                       were again cited in the 2010 report. Finally, the 2006 report
10      The plaintiffs reference the following: (1) a                  identified Berry Flavor Children's Motrin Oral Suspension as
        kickback scheme between J & J and Omnicare                     being “sub-potent.” In contrast, several products were cited
        covering certain prescription drugs; (2) a kickback            in the 2010 report for being “super-potent.” CAC ¶¶ 206–09.
        scheme involving DePuy hip and knee replacement
        products; (3) a $6.15 million fine assessed against            11     Several of the issues that were cited in the 2006
        non-McNeil J & J subsidiaries for lack of
                                                                              report had led the FDA to initiate a recall of certain
        transparency and/or product misbranding; and (4)
                                                                              products in 2005, before the report was released.
        the off-label promotion of Topamax, Risperdal, and
                                                                              CAC ¶¶ 207–09.
        Nactrecor prescription drugs. CAC ¶¶ 93–120.
                                                                        *5 The FDA has conducted a number of additional
The J & J Defendants argue in their motion to dismiss that
                                                                       inspections at McNeil's facilities in both Fort Washington
these allegations are extraneous and should be stricken under
                                                                       and Lancaster, Pennsylvania, and has found deficiencies with
Federal Rule of Civil Procedure 12(f) as immaterial and
                                                                       regard to McNeil's laboratory controls, equipment cleaning
impertinent to the present action. The Court agrees that these
allegations are irrelevant to the present suit, because they           processes, and its investigations of identified problems. 12
do not pertain to quality control problems in general, or the          In January 2010, the FDA issued McNeil a warning letter
products at issue in this suit in particular. In addition, none        expressing concerns about McNeil's quality control and its
of the allegations relate to McNeil Consumer Healthcare. The           failure to investigate quality problems. CAC ¶¶ 194–96.
Court will therefore not go into additional detail with respect
to these allegations. See CAC ¶¶ 93–120.                               12     In February 2008 and June 2009, the FDA issued
                                                                              reports citing McNeil's Fort Washington facility

  2. Prior Quality Control Problems at J & J and McNeil



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        for inadequate investigations and for mishandling                   thereafter. See Tr. of Oral Arg. on June 29, 2011
        complaints. CAC ¶¶ 139–40.                                          (“Tr.”), at 96–97. The Contractor Defendants,
                                                                            by contrast, contend that the “phantom recall”
   3. J & J and McNeil Product Recalls                                      occurred in June 2009, a point which the plaintiffs
The plaintiffs allege that the J & J Defendants' quality control            have not disputed. See Contractor Defs.' Mot. at 5;
problems, as outlined above, have led to a number of product                Tr. at 16, 94.
recalls. The manner in which the defendants have handled             The plaintiffs allege that McNeil subsequently
the recalls, in turn, evidences a conspiracy to conceal quality      misrepresented to the FDA that the third-party contractors
control problems. The plaintiffs focus in particular on a so-        were simply performing an audit in order to determine
called “phantom recall” of Motrin IB and a subsequent public         whether McNeil should initiate a formal recall. However,
recall in July 2009.                                                 the FDA ultimately received a copy of the internal memo
                                                                     containing the instructions to the third-party contractors and
The plaintiffs allege that in August 2008, McNeil distributed        confronted McNeil. Finally, on July 9, 2009, McNeil publicly
over 88,000 packages of defective Motrin IB. Three months            recalled the affected Motrin IB. The “phantom recall” was
later, McNeil discovered a dissolution problem with the              ultimately a subject of the two hearings held before Congress
drug, and sometime thereafter hired third-party contractors to       in 2010. CAC ¶¶ 151–54.
perform a clandestine, or “phantom,” recall. Pursuant to this
“phantom recall,” McNeil hired third-party contractors Inmar,        The plaintiffs cite to additional recalls involving McNeil
Inc., 13 and WIS International, 14 and instructed them to visit      products spanning from the “phantom recall” in 2008 to
various retailers, act like normal customers, and purchase all       a recall in December 2010. These recalls included, among
of the Motrin IB off of the shelves. J & J's specific instructions   others, a September 2009 recall of Tylenol products that
to the third-party contractors were as follows:                      had been contaminated with gram-negative bacteria. Prior
                                                                     to initiating the September 2009 recall, McNeil allegedly
13                                                                   engaged third-party contractor Inmar, Inc., to conduct a
        The plaintiffs also allege that Inmar's subsidiaries,
        Carolina Supply Chain Services, LLC (“CSCS”),                “market assessment” to determine how much of the product
        and Carolina Logistics Services, LLC (“CLS”),                remained on store shelves in July 2009. CAC ¶¶ 155–59.
        participated in the “phantom recall.” CAC ¶¶ 64–
        65.                                                          In November and December of 2009, McNeil also recalled
                                                                     certain Tylenol pills manufactured at its Las Piedrad, Puerto
14                                                                   Rico facility. McNeil had received reports of musty, moldy
        The plaintiffs allege that Inmar, Inc. hired WIS
        International as a subcontractor to assist with the          odors emanating from said pills as early as 2008, but did not
        “phantom recall.” See CAC ¶ 66.                              investigate for over a year. This recall was later expanded
                                                                     to other products, including Benadryl, Motrin, Rolaids, and
  [Q]uickly enter each store, find ALL of the Motrin product         other lots of Tylenol, in January, June, and July of 2010. 16
  described, make the purchase transaction, secure the               CAC ¶¶ 160–66.
  receipt, and leave ... THERE MUST BE NO MENTION
  OF THIS BEING A RECALL OF THE PRODUCT!                             16     The J & J Defendants recalled additional products
                     15
  CAC ¶¶ 145–50.                                                            after the April 30, 2010 recall. These recalls
15                                                                          include: (1) an October 2010 recall of Tylenol
        The plaintiffs do not allege a precise date when
        the “phantom recall” occurred, but instead imply                    caplets manufactured at McNeil's Fort Washington
        in the CAC that the “phantom recall” occurred                       plant, due to musty odors; (2) a November 2010
        approximately eight months prior to the public                      recall of Benadryl tablets and Motrin caplets
        recall. See CAC ¶ 153. At oral argument, however,                   because of uncharacteristic consistencies and
        the plaintiffs clarified that the “phantom recall”                  manufacturing problems; and (3) a December 2010
        was part of a process that occurred over the                        recall of Mylanta and AlternaGel liquid antacid
        course of several months, beginning with a “market                  because alcohol was not disclosed as an active
        assessment” in May 2009, and ending with                            ingredient on the packaging. CAC ¶¶ 184–91.
        the removal of products from shelves sometime



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                                                                  report material information to the FDA in a timely manner.
  4. Allegations Regarding Individual Defendants                  CAC ¶¶ 196, 198–200.
 *6 The plaintiffs allege that certain individuals employed
as executives and board members at J & J and McNeil               The plaintiffs also assert the same general allegations
were integrally involved in this conspiracy to conceal quality    of personal knowledge and integral involvement against
control issues.                                                   Rosemary Crane, a former Company Group Chairman at J
                                                                  & J, as well as Mary Sue Coleman, Ph.D.; Michael M.E.
For instance, the plaintiffs allege that William C. Weldon,       Johns, M.D.; Susan L. Lindquist, Ph.D.; and David Satcher,
the Chairman and CEO of J & J, had personal knowledge of          M.D., Ph.D., each of whom serves or served on the Board of
the conditions at J & J's manufacturing facilities, including     Directors of J & J. No specific allegations regarding any of
the Fort Washington facility. In addition, Mr. Weldon was         these defendants appear in the CAC. CAC ¶¶ 57, 59–62.
“integrally involved in and responsible for” the decisions
that led to deteriorating quality control at J & J. CAC
¶ 55. Apart from these general averments, the plaintiffs             C. Claims Asserted in the CAC
offer three specific allegations about Mr. Weldon. First,          *7 Based on the foregoing allegations, the plaintiffs claim
Mr. Weldon made significant cuts to J & J's “corporate            that they have paid inflated prices for McNeil products and
compliance group” in 2007. Second, in the wake of several         have not been fully compensated. The plaintiffs do not claim
recalls in 2010, Mr. Weldon announced: “This is not a             that they suffered any physical injury; instead, their claims
systemic problem at J & J.” CAC ¶ 141. Approximately one          are based entirely on economic injuries. The allegations of
week after this announcement, however, J & J issued two           specific economic injury pertaining to the named plaintiffs,
additional recalls. Finally, when testifying before Congress on   however, are sparse. The plaintiffs do not allege which
September 30, 2010, Mr. Weldon admitted that McNeil had           particular Subject Products or Recalled Subject Products they
secretly performed a “phantom recall” of defective Motrin         purchased. The plaintiffs also do not allege that they availed
products, and admitted “McNeil should have handled things         themselves of any refund offers, and were inadequately
differently.” Mr. Weldon also acknowledged that J & J had let     compensated thereby. Instead, the CAC sets forth identical
the public down by not maintaining high quality standards,        allegations with respect to each of the twenty-seven named
and accepted full responsibility. CAC ¶¶ 137, 141–42, 222–        plaintiffs, as follows:
23.

The plaintiffs make the same general allegations of personal                  [Name] is an individual and resident
knowledge and involvement regarding Colleen Goggins, the                      of [state] who, during the relevant
former Worldwide Chairman of the J & J Consumer Health                        time period, purchased a number
Segment, and Peter Luther, the President of McNeil. Apart                     of Subject Products, including some
from the general allegations noted above, the plaintiffs also                 Recalled Subject Products. As a
aver that Colleen Goggins testified before Congress on May                    result, [Name], like other members of
27, 2010, and admitted that J & J and McNeil had “not lived                   the Class (and/or possible Sub–Class
up to [their] responsibility” in light of the April 30, 2010,                 of [State] consumers only), suffered
recall. Ms. Goggins allegedly tried to minimize the severity                  damages from the unlawful scheme
of the recall, however, by claiming that there were no health                 and conspiracy, and the concealment
risks related to the use of the recalled products. CAC ¶¶ 215–                of the same by Defendants, which
17.                                                                           damages result from his out of pocket
                                                                              payments for Subject Products which
With respect to Mr. Luther, the plaintiffs aver that the FDA                  were unsafe at the time of sale, were
met with senior J & J and McNeil officials on February 19,                    not of the same quality and condition
2010, to discuss their concerns regarding J & J and McNeil's                  as represented at the time of sale,
conduct. Mr. Luther was allegedly present at this meeting,                    and are now worthless as medicines.
and was therefore put on notice of the FDA's concerns. At                     [Name] has not been reimbursed fully
the meeting, the FDA specifically raised its concerns about
quality control issues, and the J & J Defendants' failure to



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            for his out-of-pocket payments for                   2010, the Judicial Panel on Multidistrict Litigation transferred
            Subject Products.                                    the above-referenced cases to this Court, where they and all
                                                                 future “tag-alongs” were consolidated into an MDL. Since
                                                                 that time, two “tag-along” cases have been transferred to this
CAC ¶¶ 28–52.                                                    Court. 19

The plaintiffs have named as defendants McNeil and J &           18
                                                                           Those cases include: Roberson v. McNeil
J, as well as individual defendants William C. Weldon,
                                                                           Consumer Healthcare, Civil No. 10–5560
Colleen Goggins, Rosemary Crane, Peter Luther, Mary Sue
                                                                           (N.D.Ill.); Rivera v. Johnson & Johnson, Civil No.
Coleman, Michael M.E. Johns, Susan L. Lindquist, and
                                                                           10–5579 (C.D.Cal.); Nguyen v. McNeil Consumer
David Satcher (collectively, the “J & J Defendants”). The
                                                                           Healthcare, Civil No. 10–5580 (N.D.Ill); Michaud
plaintiffs have also named as defendants the entities alleged
                                                                           v. McNeil Consumer Healthcare, Civil No. 10–
to have performed “market assessments” and the “phantom
                                                                           5587 (N.D.Ill.); Smith v. McNeil Consumer
recall”: Inmar, Inc. and its subsidiaries, Carolina Supply
                                                                           Healthare, Civil No. 10–5654 (N.D.Ill); Burrell
Chain Services, LLC (“CSCS”), Carolina Logistics Services,
                                                                           v. McNeil Consumer Healthcare, Civil No. 10–
LLC (“CLS”), as well as WIS International (collectively, the
                                                                           5656 (N.D.Ill.); and DeGroot v. McNeil Consumer
“Contractor Defendants”).
                                                                           Healthcare, Civil No. 10–5657 (N.D.Ill.).

Against all defendants, the plaintiffs assert claims for:        19
                                                                           Specifically, Coleman v. McNeil Consumer
violations of the consumer fraud laws of sixteen states                    Healthcare, Civil No. 10–6905 (S.D.Ohio) and
(Count I); 17 violations of RICO (Count II); violations of                 Harvey v. Johnson & Johnson, Civil No. 11–2363
the Magnuson–Moss Warranty Act (Count III); Negligence                     (E.D.Mo), were transferred to this Court. The CAC
(Count VII); Negligent Misrepresentation/Fraud (Count                      also added additional plaintiffs not included in the
VIII); Conspiracy, Concert of Action and Aiding and Abetting               above cases.
(Count IX); Unjust Enrichment (Count X); and Declaratory          *8 The Court held an initial status conference with counsel
Relief (Count XI). Against the J & J Defendants, the             on December 13, 2010. A consolidated amended complaint
plaintiffs also assert claims for Strict Products Liability—     was filed on January 12, 2011, which named as additional
Manufacturing Defect (Count IV); Strict Products Liability—      defendants the Contractor Defendants. The plaintiffs also
Failure to Warn (Count V); and Breach of Implied Warranties      widened the scope of their claims to include events both
(Count VI).
                                                                 before and after the April 30, 2010, recall, 20 Both groups of
                                                                 defendants filed motions to dismiss the CAC in its entirety on
17     The named plaintiffs represent a total of sixteen         April 1, 2011. The plaintiffs filed an omnibus opposition on
       different states. If this case proceeds, the plaintiffs   May 13, 2011. Both groups of defendants filed reply briefs on
       also intend to assert claims under all fifty states'      June 9, 2011. The Court held oral argument on June 29, 2011.
       consumer fraud laws.                                      The Court will now grant the motions to dismiss.

II. Procedural Background                                        20        All claims for physical injury were omitted from
This action represents a consolidation of individual cases
                                                                           the CAC. The plaintiffs seek damages for economic
filed in various courts throughout the country. On May 12,
                                                                           injury only.
2010, the case Haviland v. McNeil Consumer Healthcare,
Civil No. 10–2195, was filed in this Court, asserting economic
                                                                 III. Analysis of the Motions to Dismiss
injuries against J & J and McNeil in light of the April 30,
                                                                 As a threshold matter, both groups of defendants argue that the
2010, recall. Eight additional cases, also arising out of the
                                                                 named plaintiffs lack standing under Article III of the United
April 30, 2010, recall, were filed in other courts, including
                                                                 States Constitution, and all of their claims must therefore be
the Northern District of Illinois and the Central District of
                                                                 dismissed pursuant to Federal Rule of Civil Procedure 12(b)
California. 18 Each case asserted claims for economic injury
                                                                 (1). 21
only, with the exception of Rivera v. Johnson & Johnson,
which also asserted claims for physical injury. On October 8,



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21                                                                  likely, as opposed to merely speculative, that the injury will
        The defendants have also moved to dismiss the
        CAC on other grounds, including failure to state a          be “redressed by a favorable decision.” Lujan v. Defenders of
        claim under Federal Rule of Civil Procedure 12(b)           Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119 L.Ed.2d
        (6).                                                        351 (U.S.1992) (citations omitted).

Specifically, the defendants argue that the named plaintiffs         *9 Standing is ordinarily a threshold issue for any case. To
lack standing because they have not established any injury-in-      that end, “a plaintiff must allege a distinct and palpable injury
fact. Although the plaintiffs allege in a conclusory fashion that   to himself, even if it is an injury shared by a large class of
they have not been fully reimbursed for their out-of-pocket         other possible litigants.” Warth v. Seldin, 422 U.S. 490, 501,
expenses for the products in question, they do not allege           95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). The requirement that
what specific harm that they have suffered. With respect            a named plaintiff have standing applies equally in the context
to the broad category of Subject Products, for instance, the        of class actions. Therefore, “even named plaintiffs who
plaintiffs allege only that the products suffered from “serious     represent a class must allege and show that they personally
problems.” The plaintiffs do not aver specifically what those       have been injured, not that injury has been suffered by other,
problems were or how they were injured therefrom. As for the        unidentified members of the class to which they belong and
subset of products that were recalled after the April 30, 2010,     which they purport to represent.” Lewis v. Casey, 518 U.S.
FDA report (the Recalled Subject Products), the plaintiffs          343, 357, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996). If no
identify only hypothetical deficiencies with the refund offer,      named plaintiffs establish standing, none may seek relief on
based on the experiences of non-plaintiffs. The defendants          behalf of other members of the class. O'Shea v. Littleton, 414
argue that there are no allegations that any named plaintiff
                                                                    U.S. 488, 494, 94 S.Ct. 669, 38 L.Ed.2d 674 (1974). 22
attempted to but was unable to obtain a refund, or received a
refund that was otherwise inadequate.
                                                                    22      A plaintiff must also establish standing on a claim-
The Contractor Defendants additionally argue that the                       by-claim basis. Allen v. Wright, 468 U.S. 737,
plaintiffs lack standing because they cannot show that the                  752, 104 S.Ct. 3315, 82 L.Ed.2d 556 (1984). The
Contractor Defendants' conduct caused any injury to the                     Court need not conduct a claim-by-claim standing
plaintiffs. In particular, the Contractor Defendants are not                analysis at this time, however, because it concludes
alleged to have manufactured, distributed or promoted any                   that the same pleading deficiencies plague each of
Subject Products. Instead, the only allegations with respect                the plaintiffs' claims. See Toll Bros., Inc. v. Twp. of
to the Contractor Defendants are that they participated in the              Readington, 555 F.3d 131, 139 n. 5 (3d Cir.2009).
removal of Motrin IB from store shelves. According to the           The Court will begin by addressing the injury-in-fact prong,
Contractor Defendants, the plaintiffs have not shown how this       which constitutes the main dispute in this action. The Court
conduct led to any economic injuries.                               will then turn to the causation prong, which the Contractor
                                                                    Defendants contend has not been satisfied. Neither group of
The Court will begin its analysis with the threshold issue of       defendants has addressed the third element of redressability.
Article III standing.

                                                                       1. Injury–in–Fact
   A. Article III Standing                                          An injury-in-fact must be “distinct and palpable,” not
The doctrine of standing derives from Article III of the United     “abstract or conjectural or hypothetical.” Danvers Motor Co.,
States Constitution, which limits the jurisdiction of federal       Inc. v. Ford Motor Co., 432 F.3d 286, 291 (3d Cir.2005)
courts to “Cases” and “Controversies.” U.S. Const. art. III,        (citations omitted). The injury must be particularized, which
§ 2. The “irreducible constitutional minimum” of standing           means that the injury must affect the plaintiff “in a personal
requires that a plaintiff establish three elements in order         and individual way.” Lujan, 504 U.S. at 561 n. 1. This
to invoke federal jurisdiction. First, the plaintiff must have      requirement ensures that a litigant has a personal stake
suffered an injury-in-fact, which is an invasion of a legally       in the litigation. Danvers Motor Co., 432 F.3d at 291.
protected interest that is (a) concrete and particularized, and     Although injury-in-fact cannot be reduced to a simple
(b) actual or imminent. Second, the plaintiff must establish        formula, economic injury is a “paradigmatic” form of injury-
a causal connection between the injury and the conduct              in-fact, and a claim for damages generally supports standing.
complained of. Third, the plaintiff must establish that it is       Id.


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                                                                     products were purchased, it is impossible to match the many
In addition, the injury-in-fact requirement is “very generous,”      incidents outlined in the CAC with the specific drugs that fall
requiring only that a plaintiff allege “some specific,               under the Subject Products category.
‘identifiable trifle’ of injury.” Danvers Motor Co., 432 F.3d
at 294 (citations omitted). To survive a motion to dismiss for       23      As noted, the Court will analyze separately the
lack of standing, therefore, the plaintiffs must plead that they             subset of Subject Products that were recalled after
suffered some concrete form of harm. Id. at 292.                             the April 30, 2010, FDA report (the Recalled
                                                                             Subject Products).
For purposes of this memorandum, the Court will analyze
separately the broader category of Subject Products and              Even assuming that the “serious problems” identified above
the narrower category of Recalled Subject Products. This             encompass the allegations of specific product recalls and
analytical structure corresponds with the allegations in             FDA citations, the plaintiffs fail to allege any personal harm
the CAC, which distinguish between Subject Products                  arising therefrom. This deficiency follows from the plaintiffs'
and Recalled Subject Products and offer different factual            failure to allege which particular products they purchased. For
averments with respect to each category.                             instance, the plaintiffs make numerous allegations about the
                                                                     “phantom recall” and the subsequent public recall of Motrin
                                                                     IB. The plaintiffs do not, however, allege that they purchased
   a. Subject Products                                               the affected lots of Motrin IB and were not made whole. The
The Court concludes that the plaintiffs have not established         same logic applies to all of the remaining allegations in the
injury-in-fact with respect to the Subject Products, because         CAC: the plaintiffs cite to approximately eleven recalls apart
the CAC does not permit the Court to discern what, if                from the April 30, 2010, recall, and a handful of FDA reports,
any, harm the named plaintiffs have suffered. As an initial          but do not allege how they were harmed by any of these
matter, the CAC is deficient insofar as the plaintiffs do not        incidents. Instead, the plaintiffs only allege, in general terms,
allege which particular products they purchased. Instead, each       that they “suffered damage” as a result of their “out of pocket
named plaintiff alleges that he or she “purchased Subject            payments for Subject Products” that were unsafe and not as
Products including some Recalled Subject Products.” CAC ¶¶           represented, and that they have “not been reimbursed fully”
28–52. The Subject Products category, in turn, encompasses,          for their out-of-pocket payments. CAC ¶¶ 28–52.
“at a minimum,” a list containing twenty-one different
products, and at least seventy-four types of said products. At       In view of these deficiencies, the Court concludes that the
no point in the CAC do the plaintiffs identify a single product      plaintiffs have not established injury-in-fact with respect to
that they purchased from this large and indefinite list.             claims involving the Subject Products. Even if the Court were
                                                                     to read the allegations of “serious problems” generously, and
 *10 In addition, the plaintiffs do not allege how                   assume that the plaintiffs have identified problems affecting
the unspecified Subject Products they purchased were                 certain Subject Products, the plaintiffs have not alleged that
defective. 23 Instead, the plaintiffs allege only that each          they, rather than non-plaintiff members of the class, have
Subject Product suffered from “serious problems.” CAC ¶              suffered injury as a result of said problems. Under Supreme
4. The “serious problems” are not elaborated upon, and               Court case law, named plaintiffs must establish that they
could therefore reference any of the allegations in the CAC          themselves have suffered injury. See Lewis v. Casey, 518
that the Court described in Part I of this memorandum. For           U.S. 343, 357, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996). In
instance, it is possible that the serious problems include the       the absence of particularized harm, the plaintiffs' injuries are
dissolution issues that affected certain lots of Motrin IB,          abstract and hypothetical, rather than distinct and palpable.
which prompted a “phantom recall” and a subsequent public            See Danvers Motor Co., 432 F.3d at 291. Conclusory
recall in July 2009. It is also possible that the serious problems   allegations that the plaintiffs have “not been reimbursed” are
include the numerous FDA warnings and recalls to which the           insufficient to show an invasion of a legally protected interest.
plaintiffs cite in the CAC, or simply the general allegations        See id. at 290–91.
of deteriorating quality control at J & J. Notably, several
of the products that appear on the “Subject Products” list            *11 The Court's analysis is consistent with the case law cited
are not even alleged to have been recalled or subject to any         by the parties. For instance, the defendants cite to Rivera v.
FDA citations. Because the plaintiffs do not identify which          Wyeth–Averst Laboratories, 283 F.3d 315 (5th Cir.2002). In
                                                                     Rivera, the Fifth Circuit dismissed the claims of a putative


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class action brought against Wyeth, which sought damages for         sub-standard.” Pls.' Opp'n at 5. On this basis, the plaintiffs
economic injuries arising out of a defective drug that caused        argue:
liver failure in some patients. The Fifth Circuit concluded
that the named plaintiffs had not established injury-in-fact,
because the plaintiffs had failed to allege that the drugs                        Plaintiffs' allegations of purchase of
were somehow defective as to them, or otherwise caused                            the J & J Defendants' “Subject
them specific injury. The plaintiffs' conclusory allegations of                   Products” alone are sufficient to prove
“economic injury” were never defined or elaborated upon.                          that they have suffered an injury in
The Fifth Circuit explained that the plaintiffs could not prevail                 fact. Plaintiffs and the Class suffered
by establishing that Wyeth violated a legal duty owed to other                    actual economic loss via out-of-pocket
consumers; instead, the injury must be personal. Rivera, 283                      payments for Subject Products which
F.3d at 319–20.                                                                   were not of the same quality and
                                                                                  condition as represented at the time of
Similarly, the defendants cite to Whitson v. Bumbo, 2009                          sale and some of which were unsafe.
U.S. Dist. LEXIS 32282, 2009 WL 1515597 (N.D.Cal. Apr.
15, 2009). In Whitson, the plaintiff brought a putative class
action for economic injuries arising out of defective baby            *12 Pls.' Opp'n at 15. As discussed above, such conclusory
seats, which had caused injuries to non-plaintiff children. The      allegations cannot establish injury-in-fact. The Court will
plaintiff asserted economic injury based on an overpayment           therefore dismiss the claims pertaining to the Subject
theory, as in the present case. The Whitson court concluded          Products for lack of standing.
that the plaintiff lacked Article III standing, because she had
not alleged that her own product manifested any defect or
that she had suffered any specific injury. Instead, the only            b. Recalled Subject Products
allegations of injury were “entirely conclusory statements”          The plaintiffs' allegations are somewhat more detailed with
that the plaintiff “did not receive the benefit of [her] bargain,”   respect to the Recalled Subject Products. In contrast to
without elaboration as to how. The Whitson court held that           the general allegations of “serious problems” pertaining to
the plaintiff could not rely on the injuries of non-parties to       the Subject Products, the plaintiffs allege tangible defects
establish standing. Whitson, 2009 U.S. Dist. LEXIS at *15–           affecting the Recalled Subject Products. Specifically, the
18 & n. 4, 2009 WL 1515597.                                          plaintiffs allege that all Recalled Subject Products manifested
                                                                     a defect in at least one of two respects: (1) they suffered from
These cases are consistent with the Court's reasoning in the         the problems identified in the April 30, 2010, FDA report;
present action. As in Rivera and Whitson, the plaintiffs in this     and/or (2) consumers were urged to stop using and dispose
case have not alleged that the Subject Products were defective       of the products as part of the recall announcement, thereby
as to them, or that the plaintiffs were otherwise injured. The       rendering the products useless. In addition, the plaintiffs
plaintiffs assert in conclusory terms that they suffered out-of-     allege specific deficiencies in the J & J Defendants' refund
pocket expenses and were not made whole, but do not make             offer in an attempt to establish injury.
any specific allegations as to how. Therefore, their allegations
of injury are based on harm that occurred to non-plaintiff third     Notwithstanding these allegations, the Court concludes that
parties.                                                             the plaintiffs have failed to establish injury-in-fact with
                                                                     respect to the Recalled Subject Products. Although the Third
Finally, the plaintiffs were unable to cure their deficient          Circuit has described the injury-in-fact requirement as “very
allegations either in their opposition brief or at oral argument.    generous,” a plaintiff must still allege some form of specific
The plaintiffs devote the majority of their opposition to            injury, even if small, in order to survive a motion to dismiss
arguing that they have standing with respect to the Recalled         for lack of standing. See Danvers Motor Co., 432 F.3d at 292,
Subject Products. With respect to the broader category of            294. The plaintiffs do not meet this burden. First, as with the
Subject Products, which were afflicted by “serious problems,”        Subject Products, the plaintiffs do not identify which products
the plaintiffs echo the allegations from the CAC and contend         they purchased, and instead allege that they “purchased
that the products were “filthy, adulterated, contaminated and        Subject Products including some Recalled Subject Products.”
                                                                     CAC ¶¶ 28–52. More fundamentally, however, the plaintiffs



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do not allege individualized injuries, but instead rely entirely    to obtain a cash refund, and was either denied a refund or
on injuries suffered by non-plaintiff class members.                received a refund that was inadequate.

In order to establish injury, the plaintiffs allege a number        The plaintiffs have also failed to inject greater specificity
of deficiencies in the J & J Defendants' refund offer. As           into their allegations by way of their opposition brief or
described at length in Part I of this memorandum, the               oral argument. Instead, the plaintiffs have repeated the
plaintiffs aver that: (1) the recall announcement was delayed,      same allegations that appear in the CAC. 24 Apart from
so as to minimize consumer awareness; (2) the J & J                 general arguments about “class members,” the only particular
Defendants pushed “worthless” coupons over cash refunds;            individuals whom the plaintiffs referenced in their opposition
(3) consumers were required to furnish difficult-to-obtain          brief or at oral argument are the same two non-plaintiff
information in order to obtain refunds, notwithstanding the J       consumers who posted on the J & J Defendants' recall blog.
& J Defendants' instructions to dispose of unused products;         As a consequence, the plaintiffs have failed to establish that
and (4) cash refunds, when received, were inadequate and            a single named plaintiff suffered any of the many injuries
did not cover applicable taxes or disposal costs. As a
                                                                    identified by the plaintiffs. 25
consequence, the plaintiffs were not fully compensated for the
Recalled Subject Products.
                                                                    24      In summary, the plaintiffs devote several pages
Further, in order to particularize these general allegations,               to arguing that the recall announcement was
the plaintiffs cite to the experiences of various non-plaintiff             deliberately delayed; that the J & J Defendants
consumers. Two such individuals posted comments on the                      pushed coupons over cash; and that the criteria for
J & J Defendants' recall blog. As described above, a non-                   obtaining coupons or cash refunds were vague and
plaintiff named Evan D. Owen expressed his frustration both                 undefined. Pls.' Opp'n at 7–11.
that the J & J Defendants delayed their recall announcement         25      On this point, the parties dispute the applicability
until the evening, and that the telephone lines were operated
                                                                            of In re Ford Motor Company Ignition Switch
by “coupon issuers.” A man named “Aaron L,” by contrast,
                                                                            Products Liability Litigation, 2001 WL 1266317
complained about the amount of his cash refund.
                                                                            (D.N.J. Sept.30, 1997). In Ford Motor, the plaintiffs
                                                                            owned vehicles that were subject to a recall due
 *13 The plaintiffs also make several allegations with respect
                                                                            to a potentially defective ignition switch. The
to unidentified class members. With regard to the “worthless”
                                                                            plaintiffs, whose own vehicles had not manifested
coupons, the plaintiffs allege that “[s]ome members of
                                                                            the defect, sued for economic damages. The Court
the Consumer class in this case received such worthless
                                                                            dismissed the claims of those particular plaintiffs,
coupons.” CAC ¶ 16. In addition, with respect to the cash
                                                                            noting that they had failed to allege any injury
refunds, the plaintiffs allege that “[s]uch refunds were not
                                                                            that might require compensation apart from the
offered to all consumers in the Class.” Id. ¶ 18.
                                                                            defendants' offer to replace the ignition switches.
                                                                            Ford Motor, 2011 WL at *5. To the extent that
None of these allegations are particularized to the named
                                                                            Ford Motor is relevant to this case, it is consistent
plaintiffs. For instance, although the plaintiffs allege that the
                                                                            with the Court's analysis. Ford Motor is illustrative
recall announcement was delayed, no named plaintiff alleges
                                                                            of the requirement that plaintiffs allege some form
that he or she was unaware of the recall as a consequence.
                                                                            of particularized injury. As in Ford Motor, the
Similarly, the plaintiffs allege that the defendants pushed
                                                                            plaintiffs in this case have failed to show how they
“worthless” coupons over cash, but no named plaintiff alleges
                                                                            were inadequately compensated, either by the J &
that he or she has received such a coupon; instead, the
                                                                            J Defendants' refund offer or otherwise.
CAC alleges that “[s]ome members of the Consumer class”
did. The same pleading deficiencies plague the allegations          The plaintiffs also argue that the mere purchase of the
regarding cash refunds. The plaintiffs allege that cash refunds     Recalled Subject Products, in and of itself, is sufficient to
were contingent on strict eligibility criteria and did not          establish injury-in-fact. Specifically, the plaintiffs contend
fully compensate consumers for taxes and disposal costs. No         that their economic losses arose at the moment the J
named plaintiff, however, alleges that he or she attempted          & J Defendants recalled the products in question and
                                                                    advised consumers not to use them. In support of this



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argument, the plaintiffs rely on American Federation of State              replacement program, provided plaintiffs could
County and Municipal Employees v. Ortho–McNeil–Janssen                     “prove that the voluntary remedy offered by the
Pharmaceuticals, Inc., 2010 WL 891150 (E.D.Pa. Mar.11,                     defendant was inadequate”).
2010). In American Federation, the issue was whether                Additional cases cited by the defendants further undermine
plaintiffs had standing based on their purchase of fentanyl         the plaintiffs' argument that the purchase of Recalled Subject
patches, all of which were recalled and had to be disposed          Products alone establishes injury-in-fact. Specifically, these
of, but only some of which manifested the defect in question.       cases emphasize the importance of each named plaintiff's
Id. at *3. The Court concluded that the plaintiffs, who             particular circumstances to the standing inquiry. For instance,
were health and welfare trust funds that had purchased the          several courts have held that individuals who consume
fentanyl patches for their members, had standing regardless         defective products cannot sue for economic damages unless
of whether the defect manifested itself. The plaintiffs had         the products failed to work as intended. In the Rivera case
standing because they “paid or will pay expenses related to         discussed above, for example, the Fifth Circuit held that those
the purchase of and reimbursement of ... fentanyl patches that      plaintiffs who had consumed an allegedly defective drug
had to be discarded.” Id. at *4. The plaintiffs argue that in       could not establish economic injury, because the plaintiffs had
this case, they too “have paid or will pay expenses related to      not alleged that the products had been ineffective as to them;
the purchase and replacement of Recalled Subject Products.”         therefore, they received the benefit of the bargain. Rivera, 283
Pls.' Opp'n at 18.                                                  F.3d at 320.

 *14 The Court finds American Federation to be                      Similarly, in Myers–Armstrong v. Actavis Totowa, LLC, 2009
distinguishable from the present case. A reading of the case        WL 1082026 (N.D.Cal. April 22, 2009), a plaintiff sued
reveals that the claims in American Federation were based on        for economic damages after consuming a product that was
more particularized allegations of harm than exist here. First,     recalled due to contamination in the manufacturing process.
the plaintiffs were able to identify the precise products they      The Myers–Armstrong court concluded that the plaintiff
had purchased: fentanyl patches in specific dosages. Second,        lacked standing because she had consumed the pills and
the plaintiffs were able to identify the precise harm they          obtained their benefit with no downside. The plaintiff was
had suffered or would suffer: reimbursement and repurchase          therefore in a different position from a consumer who had
expenses for the patches that were procured for members,            purchased but not consumed the defective product. Myers–
and which had to be discarded. Third and finally, it does not       Armstrong, 2009 WL at *4.
appear that any refund program was established in American
Federation by which the plaintiffs could have been made             Rivera and Myers–Armstrong are not binding on this
whole.                                                              Court. Nonetheless, these cases illustrate the weaknesses in
                                                                    the plaintiffs' argument. Specifically, the cases reveal that
In the present case, by contrast, the plaintiffs do not identify    plaintiffs who have purchased Recalled Subject Products are
which products they purchased, nor do they allege the precise       not in a monolithic category. Instead, it is possible that the
manner in which they have been harmed. No plaintiff has             plaintiffs who purchased Recalled Subject Products could
alleged, for instance, that he has paid or will pay costs to        have, for instance: (1) consumed the products and received the
replace a product that had to be discarded. Finally, no plaintiff   benefit of the bargain; (2) disposed of the products and failed
alleges that any harm arising from the recall was not, or could     to avail themselves of the refund offer; (3) disposed of the
not be, adequately resolved by the refund offer. 26                 products and obtained an inadequate refund; or (4) disposed
                                                                    of the products and were made whole. Any of these scenarios
26                                                                  is plausible based on the vague allegations of the CAC, and
        The fact that the defendants offered a refund may
        not, in and of itself, defeat standing. Nonetheless,        each would result in a different standing analysis. The mere
        the plaintiffs must still show that the remedy              purchase of Recalled Subject Products, therefore, cannot be
        offered by the defendants was somehow inadequate            sufficient to establish injury-in-fact.
        as to them. The plaintiffs' own case law makes
        this clear. See, e.g., In re Mattel, Inc. Toy Lead           *15 In view of the plaintiffs' failure to establish injury-
        Paint Prods. Liab. Litig., 588 F.Supp.2d 1111, 1116         in-fact, the Court will dismiss their claims for lack of
        (C.D.Cal.2008) (holding plaintiffs' claims were             standing. 27 The dismissal will be without prejudice as to the
        not preempted by defendants' voluntary product


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claims against the J & J Defendants. 28 All claims against      action” of a particular defendant, rather than to the action
the Contractor Defendants will be dismissed with prejudice,     of an independent third party. Whitmore v. Arkansas, 495
however, because the Court concludes that the plaintiffs        U.S. 149, 155, 110 S.Ct. 1717, 109 L.Ed.2d 135 (1990);
are unable to establish the second requirement of standing,     Toll Bros., Inc. v. Twp. of Readington, 555 F.3d 131, 137–
causation. The Court turns to the causation requirement         38 (3d Cir.2009). This requirement is not as demanding as
below.                                                          the proximate causation required under tort law. Instead, an
                                                                indirect causal relationship may suffice, so long as there is a
27                                                              “substantial likelihood” that the defendant's conduct caused
       Because the Court will dismiss the CAC for lack of
                                                                the plaintiffs' harm. Pub. Interest Research Grp. v. Powell
       standing, it need not address the defendants' other
                                                                Duffryn Terminals, 913 F.2d 64, 72 (3d Cir.1990).
       bases for dismissal.
28                                                              The Contractor Defendants argue that the plaintiffs cannot
       Although the Court will dismiss the claims against
       the J & J Defendants without prejudice, the Court        establish the requisite causation between their putative
       notes that it considered dismissing with prejudice       injuries and the particular actions of the Contractor
       all claims against the individuals who serve or          Defendants. 29 Specifically, the sole allegations regarding the
       served on J & J's Board of Directors. The CAC            Contractor Defendants pertain to the market assessment and
       is devoid of any specific allegations regarding          “phantom recall” of Motrin IB in 2009. According to the
       these individuals. Indeed, apart from being named        Contractor Defendants, the plaintiffs have failed to show how
       as defendants, these individuals are never again         this “phantom recall” was causally related to the sweeping
       mentioned in the CAC. At oral argument,                  injuries alleged in the CAC.
       plaintiffs' counsel was unable to provide additional
       information regarding the director defendants. Tr.       29     The J & J Defendants have not raised the issue of
       at 98–100. Out of an abundance of caution, the                  causation.
       Court will permit the plaintiffs to amend their
       allegations against the director defendants. The         By contrast, the plaintiffs argue that the Contractor
       Court alerts counsel, however, that it considers         Defendants caused the injuries in question because, by
       the claims to be dismissible, and will likely reach      conducting a “phantom recall,” the Contractor Defendants
       the same conclusion if the director defendants are       helped the J & J Defendants to “unlawfully conceal[ ] the fact
       named in the amended complaint, absent more              that the Subject Products ... were substandard and defective.”
       specific allegations.                                    Pls.' Opp'n at 21. This fraudulent concealment, in turn, caused
          The Court also expects more specific allegations      injury to consumers who continued to pay inflated prices
          regarding the executive defendants, Mr. Weldon,       for defective Motrin IB. Id. In addition, had the Contractor
          Ms. Goggins, Ms. Crane, and Mr. Luther.               Defendants not participated in the “phantom recall,” the J &
          Although the CAC contains some specific               J Defendants “would have been forced to publicly disclose
          allegations regarding these defendants, they are      the defective nature of their Subject Products and would have
          sparse. At oral argument, plaintiffs' counsel         issued a broader recall.” Id. at 23.
          explained that the plaintiffs could provide
          additional information upon amendment. Tr.            The Court agrees that the plaintiffs have failed to establish
          at 99–101. The Court expects to see such              causation. Assuming, arguendo, that certain named plaintiffs
          allegations if the executives are named as            purchased the affected lots of Motrin IB, for purposes of
          defendants in the amended complaint.                  the causation inquiry, such plaintiffs could have been injured
                                                                at two different times: (1) prior to the “phantom recall”; or
                                                                (2) during and after the “phantom recall,” insofar as certain
   2. Causation
                                                                defective lots of Motrin IB were not captured by the recall and
In addition to injury-in-fact, Article III standing requires
                                                                remained on store shelves.
a causal relationship between the injury and the conduct
complained of. Winer Family Trust v. Queen, 503 F.3d
                                                                 *16 With respect to those plaintiffs who purchased Motrin
319, 325 (3d Cir.2007) (citations omitted). To satisfy this
                                                                IB prior to the “phantom recall,” there are no allegations that
causation requirement, the plaintiffs must establish that the
                                                                the Contractor Defendants had any pre-existing relationship
injuries in question “fairly can be traced to the challenged


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with the J & J Defendants or the products in question. The
Contractor Defendants are not alleged to have participated in       The causal relationship is even more tenuous with respect to
the manufacture, distribution, or marketing of the defective        Subject Products apart from Motrin IB. The plaintiffs rely on
Motrin IB. Instead, based on the CAC, the Contractor                the same theory of “but for” causation, contending that:
Defendants first became involved with the J & J Defendants
when they were engaged to conduct the “phantom recall” of
Motrin IB. It follows, therefore, that any injuries that occurred                *17 “but for” Contractor Defendants'
prior to the “phantom recall” cannot be “fairly traced” to the                  actions in coordinating with J & J
Contractor Defendants' conduct. See Toll Bros., 555 F.3d at                     Defendants to remove only select
137–38.                                                                         Subject Products from select retail
                                                                                outlets, J & J would have been forced
The plaintiffs have also failed to establish causation with                     to make a full-blown, public recall
respect to any named plaintiffs who purchased affected                          and to properly inform consumers that
Motrin IB during or after the “phantom recall.” The plaintiffs                  their Subject Products were unsafe and
rely on a theory of “but for” causation, and contend that                       defective.
the J & J Defendants would have been forced to conduct
an earlier and more complete public recall, but for the
Contractor Defendants' participation in the “phantom recall.”       Pls.' Opp'n at 22. Once again, this argument is unsupported
This argument, however, finds no support in the CAC.                by any allegations in the CAC. The plaintiffs have alleged
                                                                    no connection between the Contractor Defendants and any
First, there are no allegations that the Contractor Defendants      of the Subject Products. As was the case with Motrin
participated in, or had influence over, the decision to conduct     IB, the plaintiffs have not alleged that the Contractor
a “phantom recall,” or decisions regarding the scope of             Defendants were responsible for the production, distribution,
said recall. Second, the plaintiffs have not alleged that the       or marketing of the Subject Products. Furthermore, the
Contractor Defendants had any knowledge of the specific             plaintiffs have not alleged that the 2009 “phantom recall”
defects affecting Motrin IB, such that they would have or           involved any products apart from Motrin IB. It is therefore
should have refused to conduct a “phantom recall.” Finally,         unclear how the Contractor Defendants' participation in the
even if the Contractor Defendants had refused to conduct a          “phantom recall” could have influenced the J & J Defendants'
“phantom recall,” there is no basis for assuming that the J & J
                                                                    decisions with respect to other Subject Products. 30
Defendants would have been unable to find other contractors
to conduct the recall, or that the J & J Defendants otherwise
                                                                    30
would have foregone a “phantom recall” in favor of a public                The plaintiffs append to their opposition brief a
recall. The plaintiffs' theory of causation, therefore, hinges on          series of email communications involving WIS
the Contractor Defendants' possessing a degree of influence                International, and ask that the Court take judicial
over the J & J Defendants that is not plausible based on the               notice thereof. In the emails, WIS employees
limited allegations in the CAC. Instead, the plaintiffs' injuries          discuss the possibility of performing a “potentially
appear to be based on conduct more appropriately attributed                larger recall” for J & J in July 2009 involving
to the J & J Defendants alone.                                             Children's Tylenol. The WIS personnel also stated
                                                                           that WIS and Inmar would be performing a market
Focusing on the specific conduct attributable to the                       assessment to determine the quantities of Tylenol
Contractor Defendants, the Court is left with allegations                  remaining on store shelves. See June 30, 2009,
that the Contractor Defendants removed allegedly defective                 Emails Attached to Congressional Letter, App. A to
Motrin IB from store shelves. It is not clear how the plaintiffs           Pls.' Opp'n. These emails do not affect the Court's
could have been harmed by the removal of products that they                analysis. First, the plaintiffs have been unable to
contend were defective. Instead, each purportedly defective                show, in the CAC, their opposition brief, or at
unit of Motrin IB that was removed from store shelves became               oral argument, that an additional “phantom recall”
unavailable for purchase by a consumer. It does not logically              ever took place. Furthermore, there is no plausible
follow that the plaintiffs could have been injured by these                connection between a “market assessment” and the
actions.                                                                   plaintiffs' purported injuries. The plaintiffs do not



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       define the term “market assessment,” or explain            July 2009, after the “phantom recall” of Motrin IB. 31 The
       in any fashion how the Contractor Defendants,              plaintiffs suspect that, as part of this market assessment,
       as part of this market assessment, could have              the Contractor Defendants made certain recommendations to
       influenced the J & J Defendants with respect to            the J & J Defendants regarding whether to recall Children's
       recall decisions.                                          Tylenol. The J & J Defendants, in turn, waited to recall
The plaintiffs' case law also fails to support their argument.    the product until April 30, 2010, presumably on the basis
The plaintiffs cite to Bennett v. Spear, 520 U.S. 154,            of these recommendations. Tr. 39–41; 60–61. According
117 S.Ct. 1154, 137 L.Ed.2d 281 (1997), in support of             to the plaintiffs, this reveals the Contractor Defendants'
their “but for” theory of causation. In Bennett, the Fish         participation in the J & J Defendants' scheme.
and Wildlife Service (the “Service”) issued an advisory
“biological opinion,” recommending that a federal bureau          31
                                                                          See CAC ¶¶ 155–59. As noted above, the plaintiffs
implement certain changes to avoid jeopardizing endangered                also attached as Exhibit A to their opposition
species. The plaintiffs, who claimed injury based on these                brief a series of email communications from WIS
recommendations, brought suit against the Service after the               employees discussing a market assessment with
bureau stated its intent to comply. The Supreme Court                     respect to Children's Tylenol.
concluded that the plaintiffs' injuries were “fairly traceable”
                                                                   *18 At oral argument, the plaintiffs were unable to provide
to the Service, because the Service's advisory opinion exerted
                                                                  any factual basis for the above-described argument. Instead,
a “powerful coercive effect” on the bureau that was “virtually
                                                                  plaintiffs' counsel conceded that the plaintiffs had “very-
determinative”; furthermore, the changes likely would not
                                                                  limited information,” but expected to obtain additional
have been made absent the opinion. Bennett, 520 U.S. at
                                                                  information to support their arguments in the course of
169–71. The plaintiffs contend that the Contractor Defendants
                                                                  discovery. Tr. 60–61. The Court cannot permit amendment on
exerted a similar coercive effect over the J & J Defendants in
                                                                  this basis. Under the applicable pleading standards, the Court
this case.
                                                                  is required to assess factual allegations as they appear on the
                                                                  face of the complaint, not based on how claims might be
The Court disagrees that Bennett is applicable to this case,
                                                                  shaped by the course of discovery. Ashcroft v. Iqbal, –––U.S.
because the plaintiffs have failed to show that the Contractor
                                                                  ––––, ––––, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009);
Defendants exerted any influence over the J & J Defendants.
                                                                  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556, 127 S.Ct.
In contrast, it appears that the J & J Defendants provided all
                                                                  1955, 167 L.Ed.2d 929 (2007). To that end, the allegations
direction to the Contractor Defendants with respect to their
                                                                  in the CAC, and as elaborated upon at oral argument,
limited conduct. In the absence of any coercive relationship,
                                                                  cannot plausibly establish causation. In view of the Court's
Bennett cannot support the plaintiffs' claims.
                                                                  conclusion that the plaintiffs cannot cure these deficiencies
                                                                  with amendment, the Court will dismiss all claims against the
Based on the foregoing, the Court concludes that the plaintiffs
                                                                  Contractor Defendants with prejudice.
have failed to establish that their purported injuries are
“fairly traceable” to the Contractor Defendants' conduct. The
                                                                  The Court's decision to dismiss the claims against the
Court will therefore dismiss all claims against the Contractor
                                                                  Contractor Defendants with prejudice is reinforced by the
Defendants for lack of standing. The dismissal will be with
                                                                  plaintiffs' failure to satisfy the Federal Rule 12(b)(6) pleading
prejudice, because the Court concludes that the plaintiffs
                                                                  standard, as set forth in Twombly and Iqbal. As described
would be unable to establish causation upon amendment.
                                                                  above, the CAC contains few allegations regarding the
                                                                  Contractor Defendants' specific conduct. Notwithstanding
Specifically, at oral argument, the plaintiffs were unable
                                                                  these limited allegations, the plaintiffs assert eight substantive
to articulate any additional allegations that could be made
                                                                  causes of action against the Contractor Defendants, based
against the Contractor Defendants. Although the plaintiffs
                                                                  on sweeping and indefinite claims of injury. In the majority
expressed their belief that the scope of the Contractor
                                                                  of the plaintiffs' substantive claims, however, the CAC
Defendants' conduct extended beyond the “phantom recall,”
                                                                  fails to distinguish between the J & J and Contractor
they lacked information in support of this claim. Tr. 36–
                                                                  Defendants, instead lumping both groups together under the
37. Instead, the plaintiffs repeated allegations from the CAC
                                                                  term “defendants.”
that the Contractor Defendants undertook a second market
assessment involving Children's Tylenol sometime around


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As a consequence of the plaintiffs' failure to distinguish        *19 Several of the plaintiffs' claims, such as common
among defendants, it is nearly impossible for the Court          law fraud, can also be satisfied based on allegations of
to discern the factual underpinning of each claim. Indeed,       fraudulent omissions, rather than misrepresentations. Such
several claims are facially inapplicable to the Contractor       claims, however, generally require plaintiffs to allege, among
Defendants. For instance, the plaintiffs assert a negligence     other elements, a duty to disclose. 34 In this case, the plaintiffs
claim against the Contractor Defendants, contending that         have failed to allege that the Contractor Defendants owed any
“[d]efendants owed Plaintiffs a duty to exercise reasonable      duty of disclosure towards the plaintiffs.
care in the designing, developing, manufacturing, testing,
packaging, promoting, marketing, distributing, labeling, and/    34      The Court does not attempt to undertake a state-
or selling” of the Subject Products. 32 CAC ¶ 502. Nowhere
                                                                         by-state survey to determine the applicable causes
have the plaintiffs alleged, however, that the Contractor
                                                                         of action at this time. Instead, the Court notes for
Defendants were engaged in any of these enumerated
                                                                         purposes of this discussion that a sample of the
activities.
                                                                         state laws at issue in this case require a duty of
                                                                         disclosure in the context of fraudulent omissions.
32     The Contractor Defendants purportedly breached                    See, e.g., Bermuda Container Line Ltd. v. Int'l
       this duty by: (1) failing to use due care in                      Longshoremen's Ass'n, 192 F.3d 250 (2d Cir.1999);
       performing the above activities; (2) failing to                   Goodman v. Kennedy, 18 Cal.3d 335, 134 Cal.Rptr.
       provide adequate warnings on product labels and                   375, 556 P.2d 737 (Cal.1976).
       packaging; (3) failing to incorporate reasonable
                                                                 To the extent that several of the plaintiffs' substantive
       safeguards into the manufacture and design of the
                                                                 claims are subject to heightened pleading under Rule 9(b),
       products; and (4) failing to investigate complaints.
                                                                 these pleading deficiencies become more acute. 35 The
       CAC ¶ 504.
                                                                 Court of Appeals for the Third Circuit has held that Rule
In addition, many of the plaintiffs' substantive claims are      9(b) requires plaintiffs to allege “the who, what, when,
based on allegations of misrepresentations or omissions. 33      where, and how” of the events at issue. In re Rockefeller
Nowhere in the CAC, however, do the plaintiffs identify any      Ctr. Props. Sec. Litig., 311 F.3d 198 (3d Cir.2002). The
statements made by the Contractor Defendants that could          conclusory allegations identified above, which often refer
constitute misrepresentations. Instead, the plaintiffs group     to the Contractor Defendants interchangeably with the J &
together all defendants, contending, for instance, that the      J Defendants, lack the requisite specificity to satisfy this
“[d]efendants made representations that the Subject Products     heightened pleading standard.
contained the ingredients, concentrations, components,
quality and condition as is identified on the label and/or       35      The parties dispute the application of Rule
packaging that accompanied the Subject Products.” CAC ¶
                                                                         9(b) to the allegations in the CAC, particularly
512. These claims are deficient insofar as the plaintiffs have
                                                                         in connection with claims brought under state
not alleged that the Contractor Defendants made, or were in
                                                                         consumer fraud statutes. There is no dispute,
a position to make, any such representations.
                                                                         however, that at a minimum, Rule 9(b) applies to
                                                                         the plaintiffs' RICO and common law fraud claims.
33     For instance, the plaintiffs assert nearly identical
                                                                 Finally, the plaintiffs' RICO claim against the Contractor
       allegations with respect to each of their claims
                                                                 Defendants is independently dismissible because the
       under state consumer fraud statutes, based on
                                                                 plaintiffs cannot establish continuity of the alleged
       “[d]efendants' untrue, deceptive, and misleading
                                                                 racketeering activity. RICO's continuity requirement is both a
       misrepresentations and non-disclosure of material
                                                                 “closed and open-ended concept, referring either to a closed
       facts relating to the safety, efficacy and cost
                                                                 period of repeated conduct, or to past conduct that by its
       effectiveness of the Subject Products.” See, e.g.,
                                                                 nature projects into the future with a threat of repetition.” H.J.
       CAC ¶ 273. The plaintiffs make similar allegations
                                                                 Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 241, 109
       in connection with their common law fraud and
                                                                 S.Ct. 2893, 106 L.Ed.2d 195 (1989). Closed-ended continuity
       negligent misrepresentation claims. See CAC ¶¶
                                                                 exists when the series of predicate acts extends over a
       508–19.
                                                                 substantial period of time. Id. at 242. Open-ended continuity



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                                                                       Further, there is nothing about these acts that involves
might be present where, even though the predicate acts are
                                                                       an inherent threat of repetition or any indication that the
close in time, the acts themselves pose a specific threat of
                                                                       alleged offenses are a regular way of doing business for the
indefinite repetition or are part of an ongoing entity's regular
                                                                       Contractor Defendants. Instead, the allegations suggest that
way of doing business. Id. at 242–43.
                                                                       the Contractor Defendants' work was a short-term project that
                                                                       came to an end. As a consequence, the plaintiffs have not
The alleged offenses involving the Contractor Defendants
                                                                       established open-ended continuity, and therefore their RICO
conceivably spanned from early 2009 to around July 2009.
                                                                       claim is not cognizable. See H.J. Inc., 492 U.S. at 242–43.
Specifically, the Contractor Defendants were engaged by
the J & J Defendants sometime in early 2009 to perform
a market assessment and “phantom recall” of Motrin IB.
                                                                       IV. Conclusion
At the latest, this “phantom recall” was completed by June
                                                                        *20 For the foregoing reasons, the Court will dismiss the
2009. The plaintiffs allege that the second market assessment,
                                                                       CAC in its entirety for lack of standing. The dismissal will
which involved Children's Tylenol, occurred in July 2009.
                                                                       be without prejudice as to the claims against the J & J
CAC ¶ 157. At most, therefore, the plaintiffs have alleged
                                                                       Defendants, and the Court will permit the plaintiffs to file an
conduct spanning over the course of several months, which is
                                                                       amended complaint within thirty days of this Memorandum
insufficient to establish closed-ended continuity. See Hughes          and Order. The claims against the Contractor Defendants,
v. Consol–Pennsylvania Coal Co., 945 F.2d 594, 611 (3d                 however, will be dismissed with prejudice.
Cir.1991) (holding that twelve months is not sufficient
to establish a closed-ended scheme). As the Court has                  An appropriate order shall issue separately.
already concluded, the plaintiffs cannot establish a connection
between these discrete events and the J & J Defendants'
subsequent product recalls.                                            All Citations

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                                       Nazari v. Kohler Co.
                          United States Court of Appeals for the Fifth Circuit
                                       October 13, 2008, Filed
                                            No. 07-50188

Reporter
2008 U.S. App. LEXIS 21531 *; 2008 WL 4542850
                                                     Disiere, Jefferson & Wisdom, Dallas, TX.
AFSANEH NAZARI; ET AL, Plaintiffs HOME
DEPOT, U.S.A, INC., Defendant - Cross Claimant
- Appellee v. KOHLER CO., Defendant - Cross          Judges: Before GARZA and DENNIS, Circuit
Defendant - Appellant                                Judges, and MILLS, * District Judge.



Notice: PLEASE REFER TO FEDERAL RULES
                                                     Opinion
OF APPELLATE PROCEDURE RULE 32.1
GOVERNING       THE    CITATION    TO
UNPUBLISHED OPINIONS.
                                                     PER CURIAM: **

                                                     Kohler Co. ("Kohler") appeals from the district
                                                     court's grant of summary judgment to Home Depot,
                                                     U.S.A., Inc. ("Home Depot") on its cross-claim for
Prior History: [*1] Appeal from the United States
                                                     indemnification. The district court ruled that Kohler
United States District Court for the Western
                                                     has a duty under Texas law to indemnify Home
District of Texas. USDC No. 1:05-CV-00924-SS.
                                                     Depot for injuries to a third party caused by a
                                                     shower door display manufactured by Kohler. At
                                                     issue in this case is whether the [*2] shower door
                                                     display was placed in the stream of commerce such
Disposition: AFFIRMED.                               that Kohler qualifies as its "manufacturer" and
                                                     Home Depot as a "seller," thereby triggering a duty
                                                     of indemnity under Tex. Civ. Prac. & Rem. Code §
                                                     82.002(a). We conclude the statute requires Kohler
                                                     to indemnify Home Depot and therefore AFFIRM
Counsel: For HOME DEPOT USA INC,                     the judgment of the district court.
Defendant - Cross Claimant - Appellee: Arthur
Kittredge Smith, Law Offices of Arthur K Smith,
Allen, TX.                                           I. BACKGROUND FACTS

                                                     * Chief Judge of the Northern District of Mississippi, sitting by
For KOHLER CO, Defendant - Cross Defendant -
                                                     designation.
Appellant: Levon G Hovnatanian, Bruce Edwin
                                                     ** Pursuant to 5TH CIR. R. 47.5, the court has determined that this
Ramage, Martin, Disiere, Jefferson & Wisdom,
                                                     opinion should not be published and is not precedent except under
Houston, TX; Mark Dyer, Mark Dyer, Martin,           the limited circumstances set forth in 5TH CIR. R. 47.5.4.
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Afsaneh Nazari was allegedly injured at a Home                           v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343
Depot store located in Austin, Texas when a                              (5th Cir. 2007).
shower door display shattered as she opened it.
Kohler Co. ("Kohler") manufactured the display.
Ms. Nazari and her husband, Asgar Nazari, filed                          III. [*4] ANALYSIS
suit against Kohler and Home Depot in the district
                                                                         Section 82.002(a) of the Texas Civil Practice and
court raising, inter alia, two products liability
                                                                         Remedies Code provides:
claims, one sounding in strict liability and the other
                                                                             [A] manufacturer shall indemnify and hold
in negligence. Home Depot filed a cross-claim
                                                                             harmless a seller against loss arising out of a
against Kohler for indemnification under Tex. Civ.
                                                                             products liability action, except for any loss
Prac. & Rem. Code § 82.002. 1 The Nazaris
                                                                             caused by the seller's negligence, intentional
eventually settled their claims and Kohler and
                                                                             misconduct, or other act or omission such as
Home Depot filed cross motions for summary
                                                                             negligently modifying or altering the product,
judgment on the indemnification claim. The district
                                                                             for which the seller is independently liable.
court granted summary judgment in favor of Home
Depot concluding that it was entitled to                                 As the Texas Supreme Court recently explained,
indemnification and awarded Home Depot $                                 this statute "was designed to remedy the
34,613.39 in defense costs. Kohler filed [*3] a
                                                                         fundamental unfairness inherent in a scheme that
timely notice of appeal.
                                                                         holds an innocent seller liable for defective
                                                                         products manufactured by another by requiring the
                                                                         manufacturer to indemnify the seller unless the
II. STANDARD OF REVIEW
                                                                         seller is independently liable for negligence,
This court reviews a district court's grant of                           intentional misconduct, or any other act or
summary judgment de novo. Hockman v. Westward                            omission." Owens & Minor, Inc. v. Ansell
Commc'ns, LLC, 407 F.3d 317, 325, 122 Fed.                               Healthcare Prods., Inc., 251 S.W.3d 481, 487 (Tex.
Appx. 734 (5th Cir. 2004). A party is entitled to                        2008).
summary judgment only if "the pleadings, the
                                                                         By its plain terms, § 82.002 applies only to sellers
discovery and disclosure materials on file, and any
                                                                         and manufacturers. "Seller" is defined as "a person
affidavits show that there is no genuine issue as to
                                                                         who is engaged in the business of distributing or
any material fact and that the movant is entitled to
                                                                         otherwise placing, for any commercial purpose, in
judgment as a matter of law." Fed. R. Civ. P. 56(c).
                                                                         the stream of commerce for use or consumption a
On a motion for summary judgment, the court must
                                                                         product or any component part thereof." Tex. Civ.
view the facts in the light most favorable to the
                                                                         Prac.      &     Rem.     Code      §     82.001(3).
non-moving party and draw all reasonable
                                                                          [*5] "Manufacturer" is defined as "a person who is
inferences in its favor. See Hockman, 407 F.3d at
                                                                         a designer . . . of any product or any component
325. In reviewing the evidence, the court must
                                                                         part thereof and who places the product or any
therefore "refrain from making credibility
                                                                         component part thereof in the stream of
determinations or weighing the evidence." Turner
                                                                         commerce." Tex. Civ. Prac. & Rem. Code §
                                                                         82.001(4). The sole issue is whether Home Depot
                                                                         and Kohler acted within these definitions of "seller"
1 Home Depot also sought attorneys' fees under Tex. Civ. Prac. &
                                                                         and "manufacturer" in respect to the shower door
Rem. Code § 38.001 and contribution under Tex. Civ. Prac. & Rem.
                                                                         display so as to trigger Home Depot's statutory
Code § 32.002. The district court granted summary judgment in
favor of Kohler on these claims, holding that neither statute applied.   right to indemnification.
Home Depot does not appeal from this part of the district court's
ruling.                                                                  Kohler's central argument is that the district court
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erred in holding that Home Depot was entitled to        Texas courts have never decided whether installing
indemnification because neither party ever intended      [*7] a display product for in-store use constitutes
to sell the shower door display. Thus, Kohler           placing that product in the stream of commerce.
argues the product never entered the stream of          Thus, we are required to predict the Texas Supreme
commerce and, concomitantly, Home Depot and             Court's determination of this novel issue. Morin v.
Kohler do not meet the statute's definitions of         Moore, 309 F.3d 316, 324 (5th Cir. 2002) ("In
"manufacturer" and "seller." Likening the display to    making an Erie determination, we are emphatically
a "sample" product, the district court rejected this    not permitted to do merely what we think best; we
argument, reasoning that "[b]ecause Home Depot          must do that which the Texas Supreme Court would
and Kohler both supplied the door display to the        deem best.").
public with the expectation of profiting from future
sales of that product, each placed the door into the    Texas courts generally focus on the foreseeability
'stream of commerce' as that term is defined in the     of the product's use by the consuming public, not
context of a products liability action."                on the product's availability for purchase. See Davis
                                                        v. Gibson Prods. Co., 505 S.W.2d 682, 691 (Tex.
The Texas Supreme [*6] Court recently set forth         Civ. App. -- San Antonio 1973, writ ref'd n.r.e.)
the principles of statutory construction under Texas    (applying strict liability because it was "clearly
law:                                                    foreseeable" that a shopper would handle a machete
    Our focus when construing a statute is the          on display). For that reason, the Texas Supreme
    intent of the Legislature. To give effect to the    Court has recognized that a product need not be
    Legislature's intent, we rely on the plain and      sold in order to enter the stream of commerce. See
    common meaning of the statute's words. It is a      Armstrong Rubber Co. v. Urquidez, 570 S.W.2d
    fair assumption that the Legislature tries to say   374, 376 (Tex. 1978); see also Davis v. Gibson
    what it means, and therefore the words it           Prods. Co., 505 S.W.2d 682, 691 (Tex. Civ. App. --
    chooses should be the surest guide to               San Antonio 1973, writ ref'd n.r.e.) ("[I]t is clear
    legislative intent.                                 that continuation of the flow of commerce does not
                                                        require transfers of possession."). Instead, [*8] the
Owens, 251 S.W.3d at 483 (internal citations and        product need only "be released in some manner to
quotations omitted).                                    the consuming public." Id. (emphasis added); see
                                                        also Thate v. Tex. & Pac. Ry. Co., 595 S.W.2d 591,
Because the statute does not define "stream of
                                                        598 (Tex. Civ App. -- Dallas 1980, writ dism'd)
commerce," we must rely on other sources of
                                                        ("Channels of commerce implies that a product is
authority to determine the meaning of that phrase.
                                                        placed for use by or sale to the consuming
Under Texas law, "[i]n construing a statute,
                                                        public.").
whether or not the statute is considered ambiguous
on its face, a court may consider among other           Indeed, Texas courts have held manufacturers
matters the common law or former statutory              strictly liable for (1) placing sample products into
provisions, including laws on the same or similar       the stream of commerce, noting that "[o]ne who
subjects[.]" Tex. Gov't Code § 311.023(4).              delivers an advertising sample to another with the
Accordingly, we presume "that the Legislature           expectation of profiting therefrom through future
acted with knowledge of the common law and court        sales is in the same position as one who sells the
decisions" when it enacted the statute. See Phillips    product," McKisson v. Sales Affiliates, Inc., 416
v. Beaber, 995 S.W.2d 655, 658 (Tex. 1999) (citing      S.W.2d 787, 792 (Tex. 1967); (2) placing display
McBride v. Clayton, 140 Tex. 71, 166 S.W.2d 125,        products intended for sale into the stream of
128 (Tex. 1942)).                                       commerce even if the customer ultimately does not
                                                        purchase the item, Davis, 505 S.W.2d at 689-92;
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and (3) bailments that accompany the sale of a            product, but only that he be engaged in the business
good or service. New Tex. Auto Auction Servs., L.P.       of introducing the product into channels of
v. Gomez De Hernandez, 249 S.W.3d 400, 403                commerce." Id. The court concluded that
(Tex. 2008) (citing Armstrong, 570 S.W.3d at 377).        Armstrong was not strictly liable because the tire
Thus, because Kohler manufactured -- and Home             was provided solely for the purpose of testing --
Depot exhibited -- the shower door display to be          also, the accident occurred in a laboratory -- and
used by the consuming public for the commercial           thus, the tire "was never sold and, more
purpose of profiting [*9] from future sales of that       importantly, never entered the stream of
very product, Kohler and Home Depot entered the           commerce." Id. at 376. The court recognized that
shower door display into the stream of commerce           tires of the same design and manufacture were
sufficient to satisfy the respective definitions of       "regularly sold by [the manufacturer] in regular
manufacture and seller under the statute. This            channels of commerce," but concluded that the
interpretation accords with the general purpose of        actual product causing the injury must somehow
the indemnification statute, i.e., to avoid holding an    enter the stream of commerce and although it need
innocent seller liable for a defective product            not be sold, it "must be released in some
manufactured by another. Owens, 251 S.W.3d at              [*11] manner to the consuming public." Id. In
487. Accordingly, the district court correctly            analyzing several out-of-state decisions in which
determined that Home Depot is entitled to                 strict liability was extended to bailments, the court
indemnification.                                          distinguished those cases on the ground that each
                                                          case concerned a bailment accompanying the sale
Kohler argues the Texas Supreme Court's decision          of a good or service and thus, the product was
in Armstrong requires a different result. In              placed into the stream of commerce. Id. at 377.
Armstrong, the decedent-employee was killed while
driving a tractor-trailer in order to test tires          Unlike Armstrong, the instant case involves an
manufactured by Armstrong Rubber Co. 570                  allegedly defective product that was actually
S.W.2d at 375. As the employee drove the tractor-         "released in some manner to the consuming
trailer, a defective tire blew and caused the vehicle     public." The shower door display was intended for
to crash, killing the employee. Id. The employee          consumer use and did, in fact, reach the consuming
worked for a contractor retained by Armstrong to          public, albeit not through a sale. Indeed, the Texas
test its tires, meaning the tires came directly from      Supreme Court recognized in Armstrong that a
Armstrong. Id. Thus, the defective tire was new           product need not be sold in order to enter the
when received at the testing facility and had never       stream of commerce. Here, as the district court
previously been sold, although it "was of the same        correctly recognized, Kohler manufactured -- and
quality as tires manufactured by Armstrong                Home Depot displayed -- the shower door display
 [*10] and sold across the nation." Id. The               with the expectation that it would be presented to
employee's family filed suit, alleging Armstrong          the consuming public for the commercial purpose
was strictly liable as the seller of a defective          of profiting from future sales of that same product.
product. See id. at 375-76.                               This case therefore stands in contrast to Armstrong,
                                                          where the manufacturer merely provided the
To determine liability, the Texas Supreme Court           defective product to its own contractor for testing.
focused on whether the seller was "engaged in the
business of selling products for use or                   Kohler also relies on Culton v. Saks, Inc., Case No.
consumption." Id. (citing Restatement (Second) of         H-04-3001, 2006 U.S. Dist. LEXIS 68923, 2006 WL
Torts § 402A cmt. f (1965)). The court first noted        2729408 (S.D. Tex. Sept. 25, 2006), [*12] in which
that "[a]lthough phrased in terms of sellers, it is not   the plaintiff was injured while riding an escalator at
necessary that the defendant actually sell the            Saks Fifth Avenue ("Saks"). 2006 U.S. Dist. LEXIS
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68923, at *1. The plaintiff filed suit, alleging Saks
and Montgomery Kone to be liable as the
respective operator and manufacturer of the
escalator. Id. Saks sought indemnification under
Section 82.002. The district court rejected Saks's
claim for indemnification, reasoning that Saks does
not engage in the business of releasing either its
interest in or its control of the escalator to the
consuming public. 2006 U.S. Dist. LEXIS 68923, at
*8. Instead, according to the district court, the fact
that customers ride the escalator establishes only
that it is an "incidental component of a larger
business enterprise" and that, if anything, Saks is
the consumer of the escalator, not the seller. Id.
Culton is inapposite here because the shower door
display was presented for examination to customers
and was certainly not an incidental component of a
larger business enterprise. Instead, as the district
court noted, the display was "intimately connected
with the business of selling shower doors."


IV. CONCLUSION

For the foregoing reasons, we affirm the district
court's grant of summary judgment to Home Depot
on its indemnification claim.

AFFIRMED.


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                                      Ortiz v. McNeil-PPC, Inc.
                    United States District Court for the Southern District of California
                              March 6, 2009, Decided; March 6, 2009, Filed
                        CASE NO. 07cv678-MMA(CAB); 08cv536-MMA(CAB)

Reporter
2009 U.S. Dist. LEXIS 142628 *
                                                       LEAD ATTORNEY, Noonan Lance Boyer &
                                                       Banach LLP, San Diego, CA USA; Darrel
TERRI ORTIZ, et al, Plaintiffs, vs. MCNEIL-PPC,
                                                       Christopher Menthe, McGuireWoods LLP, Los
INC., Defendant.
                                                       Angeles, CA USA; Jia-Ming Shang, Sedgwick
                                                       LLP, San Francisco, CA USA.

Counsel: [*1] For Adrian Alexander Ortiz-Flores,       For Jennifer Pointer, an individual and as next
a minor, Terri Ortiz, as individual consumers, and     friend of Michael Pointer, a minor, Plaintiff,
on behalf of Adrian Alexander Ortiz-Flores, Chuck      (3:08cv536): Bevin Allen, LEAD ATTORNEY,
Tidwell, as an individual consumer and on behalf       Khorrami Boucher Sumner Sanguinetti, LLP, Los
of William Tidwell, William Tidwell, a minor,          Angeles, CA USA; Harold M. Hewell, LEAD
Kristin Matthis, as an individual consumer and on      ATTORNEY, Hewell Law Firm, San Diego, CA
behalf of Kendall Matthis, Kendall Matthis, a          USA.
minor, Plaintiffs, (3:07cv678): Bevin Allen, LEAD
ATTORNEY, Khorrami Boucher Sumner
                                                       For Mcneil Ppc, Inc, Defendant, (3:08cv536):
Sanguinetti, LLP, Los Angeles, CA USA; Harold
                                                       David J Noonan, LEAD ATTORNEY, Noonan
M. Hewell, LEAD ATTORNEY, Hewell Law
                                                       Lance Boyer & Banach LLP, San Diego, CA USA;
Firm, San Diego, CA USA; Paul D Stevens, Ryan
                                                       Alan Daniel Mathis, Lee M Pope, LEAD
J. Clarkson, LEAD ATTORNEY, Milstein
                                                       ATTORNEY, Johnston Barton Proctor and Rose
Adelman & Kreger LLP, Santa Monica, CA USA.
                                                       LLP, Birmingham, AL USA; James C Barton, Jr,
                                                       LEAD ATTORNEY, Johnston Barton Proctor and
For Jennifer Pointer, an Individual, and as next of    Powell LLP, Birmingham, AL USA.
friend of Michael Pointer, a Monor, Plaintiff,
(3:07cv678): Bevin Allen, LEAD ATTORNEY,
Khorrami Boucher Sumner Sanguinetti, LLP, Los
Angeles, CA USA; Paul D Stevens, Ryan J.               Judges: Hon. Michael M. Anello, United States
Clarkson, LEAD ATTORNEY, Milstein Adelman              District Judge.
& Kreger LLP, Santa Monica, CA USA; Craig
Lowell, Dennis G Pantazis, Wiggins Childs Quinn
and Pantazis, Birmingham, AL USA; Harold M.
Hewell, LEAD ATTORNEY, Hewell Law Firm,                Opinion by: Michael M. Anello
San Diego, CA USA; Jeff S. Daniel, Law Office of
Jeff S. Daniel, PC, Birmingham, AL USA.

                                                       Opinion
For Mcneil-Ppc, Inc., a New Jersey corporation,
Defendant, [*2] (3:07cv678): David J Noonan,
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                                                                         acquired Pfizer Consumer Healthcare, and
ORDER DENYING MOTION FOR                                                 Listerine® [*4] Agent Cool BlueTM, as well as
CERTIFICATION OF CLASS ACTION                                            Listerine® Antiseptic, became brands and products
                                                                         of McNeil. McNeil marketed Listerine® Agent
[Doc. No. 51]                                                            Cool BlueTM ("the product"), which tinted plaque
Currently before the Court in the above-captioned                        on teeth a blue color, for use by children to promote
matter is Plaintiffs' motion seeking certification of                    better brushing habits and the importance of good
this case as a class action [Doc. No. 51]. Defendant                     dental hygiene. Plaintiffs allege that approximately
McNeil-PPC, Inc. filed an opposition to the motion                       7.5 million bottles of the product were sold
[Doc. No. 52], to which Plaintiffs replied                               nationally, ranging in cost from $5 to $10 per
[Doc. [*3] No. 54]. For the following reasons, the                       bottle. On April 11, 2007, McNeil announced a
Court DENIES Plaintiffs' motion.                                         voluntary recall of the product, resulting from
                                                                         McNeil's determination that the preservative system
                                                                         used in the product was inadequate to protect
BACKGROUND                                                               against the formation of certain microorganisms,
                                                                         potentially making the product a health risk for
On June 23, 2008, Plaintiffs Terri Ortiz, Chuck                          individuals with compromised immune systems.
Tidwell, Kristin Matthis, and Jennifer Pointer, on                       McNeil established a refund program to reimburse
behalf of themselves as individual consumers and                         consumers the purchase price of the product.
on behalf of their minor children, filed a                               Plaintiffs claim that McNeil's recall of the product
Consolidated Complaint for Equitable Relief and                          was not adequate, and the recall did not compensate
Damages ("complaint") against Defendant McNeil-                          consumers for any costs associated with personal
PPC, Inc. ("McNeil") alleging the following claims:                      injuries suffered by Plaintiffs and potential class
violations of California's Unfair Competition Law                        members.
("UCL"), section 17200 et seq. of California's
Business and Professions Code; fraudulent             Based on these allegations, Plaintiffs contend that
concealment; breach of implied warranties of          the design and manufacture of the product was
fitness for purpose and merchantability; unjust       negligent and/or defective, and McNeil [*5] failed
enrichment; negligence; strict product liability; and to take adequate precautions to ensure the safety of
breach of express warranty [Doc. No. 44].             the product. Plaintiffs represent themselves in this
                                                      case as individual consumers who purchased the
This action arises out of events related to the product. Three of the named plaintiffs represent
manufacture, production, and sale by McNeil of a their minor children as well, who allegedly suffered
"plaque detecting rinse" product, and the injury due to their use of the product, and incurred
subsequent voluntary recall by McNeil of that medical bills as a result. Plaintiffs claim that the
product. Plaintiffs allege the following facts as the product was rendered unusable and valueless by the
basis for their claims.1 McNeil is a subsidiary of April 11, 2007 recall of the product. Plaintiffs filed
Johnson & Johnson, one of the world's largest the instant motion under seal on July 25, 2008.2
manufacturers of health care products for Plaintiffs seek certification of two separate
consumers. In December 2006, Johnson & Johnson nationwide classes in this case. First, they request
                                                      that the Court certify a "Purchaser Class," defined
                                                      as follows:
1 All  facts referenced herein are taken from the Consolidated
Complaint filed June 23, 2008 [Doc. No. 44] unless otherwise
indicated. Blackie v. Barrack, 524 F.2d 891, 900-01 (9th Cir.1975)       2 The motion was filed under seal due to Plaintiffs' inclusion of
(when considering a motion for class certification the "court is bound   material previously designated by the parties as "confidential"
to take the substantive allegations in the complaint as true.").         pursuant to the terms of the Protective Order entered in this case.
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    "All persons, who, on or after January 1, 2006,   standards of conduct; (2) judgments in individual
    purchased the Product for personal, family, or    lawsuits would adversely affect the rights of other
    household purposes, and not for resale, which     members of the class; (3) the party opposing the
    was rendered unusable and valueless by the        class has acted (or refused to act) in a manner
    April 11, 2007 recall of such Product."           applicable [*7] to the class generally, thereby
                                                      making injunctive or declaratory relief appropriate
(Complaint ¶ 37.) Second, Plaintiffs seek with respect to the class as a whole; or (4) the
certification of a "Personal Injury Common Issues questions of law or fact common to the class
Class," defined as follows:                           predominate over questions affecting the individual
     "All persons who, on or after January 1, 2006, members and, on balance, a class action is superior
     consumed any of the Product and who assert or to other methods available for adjudicating the
     allege claims sounding in personal injury controversy. See Fed. R. Civ. P. 23(b)(1)-(3).
     therefrom."
                                                      "As the party seeking class certification, [plaintiff]
(Id.) McNeil vigorously opposes [*6] the motion, bears the burden of demonstrating that she has met
arguing that neither of the two purported classes each of the four requirements of Rule 23(a) and at
meet the requirements of Federal Rule of Civil least one of the requirements of Rule 23(b)." Zinser
Procedure 23 for certification of a class.            v. Accufix Research Inst., 253 F.3d 1180, 1186 (9th
                                                      Cir. 2001) (citing Hanon v. Dataproducts Corp.,
                                                      976 F.2d 497, 508 (9th Cir. 1992)). In analyzing
DISCUSSION
                                                      whether a plaintiff has met her burden to show that
                                                      the above requirements are satisfied, a court must
                                                      "analyze[] the allegations of the complaint and the
A. Legal Standards for Class Certification            other material before [the court] (material sufficient
                                                      to form reasonable judgment on each [Rule 23]
According to Federal Rule of Civil Procedure requirement)." Blackie v. Barrack, 524 F.2d 891,
23(a), a district court may certify a class so that 900-01 (9th Cir. 1975); see also Hanon, 976 F.2d
representative parties may sue on behalf of all at 509 (finding that the court may consider
members only if "(1) the class is so numerous that evidence to ascertain whether Rule 23 has been
joinder of all members is impracticable, (2) there met, even though the evidence relates to the
are questions of law or fact common to the class, merits); Sepulveda v. Wal-Mart Stores, Inc., 237
(3) the claims or defenses of the representative F.R.D. 229, 233 (C.D. Cal. 2006) ("[B]ecause 'the
parties are typical of the claims or defenses of the class       determination     generally       involves
class, and (4) the representative parties will fairly considerations that are enmeshed in the factual and
and adequately protect the interests of the class." legal issues comprising the plaintiff's cause of
FED. R. CIV. P. 23(a). These requirements are action,' a court must often look behind the
commonly referred to as numerosity, commonality, pleadings 'to evaluate carefully the [*8] legitimacy
typicality, and adequate representation. See, e.g., of the named plaintiff's plea that he is a proper class
Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 representative under Rule 23(a).'") (quoting Gen.
(9th Cir. 1998).                                      Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 160,
                                                      102 S. Ct. 2364, 72 L. Ed. 2d 740 (1982) (citations
In addition to demonstrating that the requirements and internal quotation marks omitted)). A court
of Rule 23(a) are met, a plaintiff must establish one should not conduct a hearing on the merits of the
or more of the requirements of Rule 23(b), which plaintiffs' claims when determining class
are as follows: (1) there is a risk of prejudice from certification, see Valentino, 97 F.3d at 1232,
separate     actions    establishing     incompatible although the issue of certification "generally
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involves considerations that are enmeshed in the                        Under Rule 23(b)(3), the Court must find (1) the
factual and legal issues comprising the plaintiff's                     questions of law or fact common to the members of
cause of action." Coopers & Lybrand v. Livesay,                         the class predominate over any questions affecting
437 U.S. 463, 469, 98 S. Ct. 2454, 57 L. Ed. 2d 351                     only individual members, and (2) a class action is
(1978).                                                                 superior to other available methods for the fair and
                                                                        efficient adjudication of the controversy. Fed. R.
In summary, "notwithstanding its obligation to take Civ. P. 23(b)(3). The matters pertinent to a finding
the allegations in the complaint as true, the Court is under Rule 23(b)(3) include: (a) the interest of
at liberty to consider evidence which goes to the members of the class in individually controlling the
requirements of Rule 23 even though the evidence prosecution or defense of separate actions; (b) the
may also relate to the underlying merits of the extent and nature of any litigation concerning the
case." In re Unioil Secs. Litig., 107 F.R.D. 615, 618 controversy already commenced by or against
(C.D. Cal. 1985). A district court is granted "broad members of the class; (c) the desirability or
discretion" to determine whether the Rule 23 undesirability of concentrating the litigation of the
requirements have been met. Zinser, 253 F.3d at claims in the particular forum; (d) the difficulties
1186; see also In re Mego Fin. Corp. Sec. Litig., likely to be encountered in the management of a
213 F.3d 454, 461 (9th Cir. 2000) ("The district class action. Id.
court's decision certifying the class is subject to a
very limited review and will be reversed only upon
a strong showing that the district court's decision 1. Purchaser Class
was a clear abuse of discretion.") (quotations
omitted).                                                               Because Plaintiffs seek to certify a nationwide class
                                                                        of product purchasers to pursue the common [*10]
                                                                        law claim of unjust enrichment, the Court must
B. Analysis                                                             consider foremost whether Plaintiffs meet their
                                                                        burden of showing how the Court should cope with
Plaintiffs seek class certification, arguing that both variations in state law. Citing to the Restatement's
proposed classes meet all four requirements under definition of unjust enrichment, Plaintiffs submit
Rule 23(a), as well as the requirements of Rule that there is no significant conflict between
23(b)(3). McNeil focuses [*9] its argument California's law of unjust enrichment and other
primarily on the requirements of Rule 23(b)(3), states' laws. Plaintiffs contend that there are a few
asserting that common questions of fact and law do nuanced variations in unjust enrichment law in the
not predominate in either of the proposed classes. other states, but the policy and purpose are uniform.
The Court agrees with McNeil that Plaintiffs do not Plaintiffs cite to a variety of cases from various
satisfy the requirements of Rule 23(b)(3) with jurisdictions, but do not submit a nationwide review
respect to either class, and focuses the following of the law of unjust enrichment.
discussion accordingly.3
                                                                        The Ninth Circuit has counseled that "a district
                                                                        court considering certification of a nationwide class
3 Because satisfaction of the Rule 23(a) requirements for each class is cannot simply rely on counsel's assurances of
not sufficient in and of itself to succeed on a motion for class manageability. Put another way, the court cannot
certification, and the Court finds that neither of the proposed classes accept 'on faith' an assertion that variations in state
meets the additional requirements of Rule 23(b), the Court declines laws relevant to the case do not exist or are
to discuss at length whether Plaintiffs' satisfy all four of Rule 23(a)'s
requirements. The Court presumes based on the materials before it
on this motion that each class would satisfy the numerosity                 requirements, but finds that the commonality issues are by far the
requirement; the Court acknowledges McNeil's argument that neither          most important to its ruling on this motion and can be addressed
class satisfies the typicality requirement and adequate representative      within the Rule 23(b)(3) discussion.
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insignificant; rather, the party seeking certification   unjust enrichment is considered a valid cause of
must affirmatively demonstrate the accuracy of the       action.
assertion." Zinser v. Accufix Research Inst., 253
F.3d 1180, 1189 (9th Cir. 2001) (citing Castano v.       This dissimilarity immediately raises the related
Am. Tobacco Co., 84 F.3d 734, 742 (5th Cir.              issue of what different states require in terms of
1996)); see also In re Ford Motor Co. Ignition           proving a claim for unjust enrichment, depending
Switch Prods. Liab. Litig., 174 F.R.D. 332, 349          upon whether it is considered a cause of action with
(D.N.J. 1997) ("In a motion for class certification,     individual elements to be met, or a theory of
plaintiffs bear the burden of providing an extensive     recovery, requiring proof of damages. By way of
analysis of state law variations [*11] to determine      example, Montana, Illinois, and New Hampshire
whether there are insuperable obstacles to class         courts require a showing of misconduct or fault on
certification."). Here, Plaintiffs fail to overcome      the part of the defendant to recover under an unjust
McNeil's arguments and review of relevant case           enrichment theory. "Unjust enrichment is an
law that the application of 51 different standards for   equitable doctrine wherein the plaintiff must show
each claim make this case inappropriate for class        some element of misconduct or fault on the part of
certification. As detailed below, the Court finds that   defendant, or that the defendant somehow took
the states' different approaches to, or elements of,     advantage of the plaintiff." Randolph V. Peterson,
unjust enrichment are significant. Accordingly,          Inc. v. J.R. Simplot Co., 239 Mont. 1, 778 P.2d 879,
Plaintiffs have not shown that common questions          883 (Mont. 1989)(citing Brown v. Thornton, 150
predominate.                                             Mont. 150, 432 P.2d 386, 390 (Mont. 1967)); see
                                                         also Hayes Mechanical, Inc. v. First Industrial,
The California Court of Appeals recently restated        L.P., 351 Ill App. 3d 1, 12, 812 N.E.2d 419, 285 Ill.
that there is no cause of action for unjust              Dec. 599 (Ill App. 1st Dist. 2004) ("[I]njustice
enrichment in California:                                involves some form of improper conduct by the
     "The phrase 'Unjust Enrichment' does not            party to be charged."); National Employment
     describe a theory of recovery, but an effect: the   Service Corp. v. Olsten Staffing Service, Inc., 145
     result of a failure to make restitution under       N.H. 158, 761 A.2d 401, 406-07 (N.H. 2000)
     circumstances where it is equitable to do so.       ("Because . . . Olsten did not act wrongfully . . ., the
     Unjust enrichment is a general principle,           facts do not support a finding of unjust
     underlying various legal doctrines and              enrichment.")
     remedies, rather than a remedy itself. It is
     synonymous with restitution."                     Alabama, Texas, Minnesota, Nebraska, Colorado,
                                                       Michigan, [*13] and Virginia courts require
Melchior v. New Line Prods., Inc. (2003) 106 Cal. unconscionable conduct on the part of the
App. 4th 779, 793, 131 Cal. Rptr. 2d 347 defendant in order to make a claim for unjust
(quotations and citations omitted). Under an unjust enrichment. Mantiply v. Mantiply, 951 So.2d 638,
enrichment theory, restitution may be awarded 654-55 (Ala. 2006); see also Burlington Northern
where the defendant obtained a benefit from the R. Co. v. Southwestern Elec. Power Co., 925
plaintiff by fraud, duress, conversion, or similar S.W.2d 92, 97 (Tex. App. 1996); ServiceMaster of
conduct, but the plaintiff has chosen not to sue in St. Cloud v. GAB Business Services, Inc., 544
tort. McBride v. Boughton (2004) 123 Cal. App. 4th N.W.2d 302, 306 (Minn. 1996); Haggard Drilling,
379, 388, 20 Cal. Rptr. 3d 115. Thus, [*12] in Inc. v. Greene, 195 Neb. 136, 236 N.W.2d 841
California, there is no separate cause of action for (Neb. 1975); DCB Const. Co., Inc. v. Central City
unjust enrichment, and a claim for restitution is Development Co., 965 P.2d 115, 117 (Colo. 1998);
inconsistent and incompatible with a related claim Barker v. Dicicco, 2002 Mich. App. LEXIS 2252,
in tort. Id. This is not true in other states, where 2002 WL 31956978, 1(Mich. App. 2002);
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Qualichem v. Xelera, Inc., 62 Va. Cir. 179, 2003        Each PICI Class members' claims will be so unique
WL 23162331, 3 (Va. Cir.Ct. 2003).                      that individualized factual determinations will
                                                        likely control the litigation of this case.
The Court finds that there are material conflicts
between the California laws of unjust enrichment        In addition, the proposed class is also characterized
and the laws of other states. The Court further finds   by individualized legal determinations. The Court
that Plaintiffs have not met their burden to show       notes that, while the Ninth Circuit has declined to
that despite these differences, common questions        create a per se bar on class certifications in
predominate and any discrepancies in the law            products liability litigation, Valentino v. Carter-
among the states would be manageable. Therefore,        Wallace, Inc., 97 F.3d 1227, 1233 (9th Cir. 1996),
this Court declines to certify Plaintiffs' proposed     the court has [*15] stated on more than one
nationwide Purchaser Class pursuant to Rule             occasion that difficulties of commonality and
23(b)(3).                                               management are inherent in proposed products
                                                        liability class actions. See, e.g., Zinser v. Accufix
                                                        Research Institute, Inc., 253 F.3d 1180 (9th Cir.
2. Personal Injury Common Issues Class                  2001). Also, because of the many differences in
                                                        state laws, both fraud and warranty claims are
With respect to their proposed PICI Class, Plaintiffs
                                                        difficult to maintain on a nationwide basis. See
propose that the Court sever and try questions
                                                        Cole v. Gen. Motors Corp., 484 F.3d 717, 724-30
common to the class - particularly with respect to
                                                        (5th Cir. 2007) (discussing at length why warranty
strict product liability and negligence - and then try
                                                        claims are inappropriate for class treatment);
individual questions regarding causation and
                                                        Castano v. Am. Tabacco Co., 84 F.3d 734, 745 (5th
damages. McNeil argues that Plaintiffs may not
                                                        Cir. 1996) ("a fraud class action cannot be certified
base a nationwide class action on individual
                                                        when individual reliance is an issue."). In light of
personal injury claims. McNeil asserts that under a
                                                        the foregoing, the Court finds that the proposed
strict products liability analysis for personal injury,
                                                        PICI Class suffers from the same flaws under Rule
each individual plaintiff must prove injury,
                                                        23(b)(3) as the proposed Purchaser Class, and the
causation, and damages, and that since Plaintiffs
                                                        Court declines to certify Plaintiffs' proposed
purport to bring a nationwide [*14] class action,
                                                        nationwide Personal Injury Common Issues Class.
these individual inquiries are multiplied by the
differing state laws that may or may not apply.

The Court agrees with McNeil's assertion that           CONCLUSION
individual factual issues are likely to predominate     For the reasons stated above, the Court finds that
the disposition of PICI Class members' claims. For      Plaintiffs fail to meet their burden of showing that
example, individual factual issues will predominate     "the questions of law or fact common to the
the determination of whether any alleged defects in     members of the class predominate over any
the product proximately caused the putative class       questions affecting only individual members."
members' minor children's injuries. Other unique        FED. R. CIV. P. 23(b)(3). The Court DENIES
factors also will impact the causation analysis, such   Plaintiffs' Motion for Certification of Class Action
as each child's unique medical history.                 [Doc. No. 51].
Additionally, individual issues will likely dominate
the damages analysis of the negligence claim, again     IT IS SO ORDERED.
because determining whether the product caused
the alleged harm to the children will require an        DATED: March 6, 2009
inquiry into the child's medical history, age, etc.     /s/ Michael M. Anello
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                                       PageID: 9706
                               2009 U.S. Dist. LEXIS 142628, *15


Hon. Michael M. Anello

United States District Judge


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                         Tab 22
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                                    Pender v. Bank of Am., NA
       United States District Court for the Western District of North Carolina, Charlotte Division
                            March 10, 2016, Decided; March 11, 2016, Filed
                              CIVIL ACTION NO. 3:05-CV-00238-GCM

Reporter
2016 U.S. Dist. LEXIS 34919 *; 61 Employee Benefits Cas. (BNA) 2643; 2016 WL 1057635
                                                     America Corporation Corporate Benefits
                                                     Committee, Defendants: Anne E. Rea, LEAD
DAVID L. MCCORKLE WILLIAM L. PENDER,
                                                     ATTORNEY, Sidley, Austin et al - Chicago,
Plaintiffs, v. BANK OF AMERICA, NA
                                                     Chicago, IL; Christopher K. Meyer, Steven J.
PRICEWATERHOUSECOOPERS LLP THE
                                                     Horowitz, LEAD ATTORNEYS, PRO HAC VICE,
BANK OF AMERICA PENSION PLAN THE
                                                     Sidley Austin, LLP, Chicago, IL; Erin E. Kelly,
BANK OF AMERICA 401(K) PLAN BANK OF
                                                     LEAD ATTORNEY, Sidley Austin LLP, Chicago,
AMERICA CORPORATION THE BANK OF
                                                     IL; Irving M. Brenner, LEAD ATTORNEY,
AMERICA TRANSFERRED SAVINGS
                                                     McGuireWoods LLP, Charlotte, NC; Jeffrey R.
ACCOUNT PLAN BANK OF AMERICA
                                                     Tone, William F. Conlon, LEAD ATTORNEYS,
CORPORATION CORPORATE BENEFITS
                                                     Sidley, Austin et al. - Chicago, Chicago, IL; Peter J.
COMMITTEE, Defendants.
                                                     Covington, LEAD ATTORNEY, Helms, Mulliss &
                                                     Wicker, PLLC, Charlotte, NC; J. Randal Wexler,
                                                     PRO HAC VICE, Sidley Austin LLP, Chicago, IL.
Subsequent History: Motion denied by Pender v.
Bank of Am. Corp., 2016 U.S. Dist. LEXIS 145497      For Pricewaterhousecoopers LLP, Defendant:
(W.D.N.C., Oct. 20, 2016)                            Christopher K. Meyer, Steven J. Horowitz, LEAD
                                                     ATTORNEYS, PRO HAC VICE, Sidley Austin,
                                                     LLP, Chicago, IL; J. Randal Wexler, PRO HAC
                                                     VICE, Sidley Austin [*2] LLP, Chicago, IL.
Prior History: Pender v. Bank of Am. Corp., 788
F.3d 354, 2015 U.S. App. LEXIS 9512 (4th Cir.
N.C., 2015)                                          For The Bank of America Transferred Savings
                                                     Account Plan, Defendant: Anne E. Rea, LEAD
                                                     ATTORNEY, Sidley, Austin et al - Chicago,
                                                     Chicago, IL; Christopher K. Meyer, Steven J.
Counsel: [*1] For David L. McCorkle, William L.      Horowitz, LEAD ATTORNEYS, PRO HAC VICE,
Pender, Plaintiffs: Eli Gottesdiener, LEAD           Sidley Austin, LLP, Chicago, IL; Irving M.
ATTORNEY, Gottesdiener Law Firm, Brooklyn,           Brenner, LEAD ATTORNEY, McGuireWoods
NY; F. Lane Williamson, LEAD ATTORNEY, Tin           LLP, Charlotte, NC.
Fulton Walker & Owen, Charlotte, NC; Thomas D.
Garlitz, LEAD ATTORNEY, Thomas D. Garlitz,
PLLC, Charlotte, NC.
                                                     Judges: Graham C. Mullen, United States District
                                                     Judge.
For Bank of America Corporation, Bank of
America, NA, The Bank of America Pension Plan,
The Bank of America 401(K) Plan, Bank of
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                                       2016 U.S. Dist. LEXIS 34919, *2


Opinion by: Graham C. Mullen                            2013 U.S. Dist. LEXIS 117118, 2013 WL 4495153,
                                                        No. 3:05-cv-00238-GCM (W.D.N.C. Aug. 19,
                                                        2013); see also Pender v. Bank of Am. Corp., 756
                                                        F. Supp. 2d 694, 696 (W.D.N.C. 2010), aff'd sub
Opinion                                                 nom. McCorkle v. Bank of Am. Corp., 688 F.3d 164
                                                        (4th Cir. 2012). The sole issue before the Court is
                                                        how best to implement the instructions set out by
                                                        the Fourth Circuit in its opinion reversing the grant
ORDER
                                                        of summary judgment in favor of Defendants and
THIS MATTER is before the Court on the parties'         directing the court to conduct an accounting for
Memoranda regarding the Fourth Circuit's                profits. Pender, 788 F.3d at 370.
instructions in Pender v. Bank of America Corp.,
                                                        In its most recent opinion directed at an issue in this
788 F.3d 354 (4th Cir. 2015). On December 3,
                                                        case, the Fourth Circuit considered whether the
2015, this Court held a status conference and
                                                        transfer of Plaintiffs' assets from a traditional
ordered the parties to submit briefing on this issue.
                                                        401(k) Plan to the Pension Plan entitled [*4] them
(Doc. No. 336) On December 31, Defendants filed
                                                        to any monetary remedy. The critical question was
their Memorandum (Doc. No. 337), and on
                                                        whether or not the following difference between the
February 2, 2016, Plaintiffs filed their Response
                                                        two Plans violated ERISA:
(Doc. No. 340). Defendants filed a Reply on
February 22 (Doc. No. 342), and Plaintiffs sought           [Under] [t]he 401(k) Plan[,] participants'
leave the following day to file a Surreply (Doc. No.        accounts reflected the actual gains and losses
343). The Court granted the Motion, and Plaintiffs          of their investment options. In other words, the
made their filing. (Doc. No. 344) On February 26,           money that 401(k) Plan participants directed to
Defendants sought leave to file a Response to               be invested in particular investment options
Plaintiffs' Surreply (Doc. No. 345), which the Court        was actually invested in those investment
again granted. Defendants filed their Response the          options, and 401(k) Plan participants' accounts
same day (Doc. No. 346), and accordingly,                   reflected the investment options' net
this [*3] matter is now ripe for disposition. For the       performance.
reasons set out in this Order, the Court finds that
whether Defendants retained a profit must be                By contrast, Pension Plan participants' accounts
determined in the aggregate. The Court will further         reflected the hypothetical gains and losses of
order that a bench trial be commenced in order to           their investment options. Although Pension
resolve that issue.                                         Plan participants selected investment options,
                                                            this investment was purely notional. . . .
                                                            Instead, the Bank invested Pension Plan assets
I. BACKGROUND                                               in investments of its choosing, periodically
                                                            crediting each Pension Plan participant's
This matter arises out of the decision by                   account with the greater of (1) the hypothetical
NationsBank, a company that subsequently merged             performance of the participant's selected
with Bank of America ("the Bank"), to allow its             investment option, or (2) the Transfer
employees to transfer their 401(k) assets to a cash         Guarantee.
balance defined benefit plan ("the Pension Plan").
Because the decade-long procedural history in this      Pender, 788 F.3d at 358-59 (footnote omitted)
case has been well documented elsewhere, the            (emphasis in original).
Court will recite only the facts relevant to the
present proceeding. See Pender v. Bank of America,      The Fourth Circuit held that the transfers
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                                        2016 U.S. Dist. LEXIS 34919, *4


eliminated the separate account feature, which            The court found that Plaintiffs were entitled to
guarantees that participants funds are credited "with     relief under § 502(a)(3). Id. at 363. Again, by
the actual [*5] gains and losses 'generated by funds      eliminating the separate account feature, the Bank
contributed on the participant[s'] behalf.'" Id. at 360   had violated ERISA. Pender, 788 F.3d at 363-64
(alteration in original). The court also held that the    (citing ERISA § 204(g)(1)). Consequently, the only
separate account feature constituted an "accrued          remaining question was whether Plaintiffs sought
benefit" which the Bank was forbidden from                relief that was equitable in nature. See id. at 364.
decreasing by a Plan amendment under ERISA. Id.           The court found that the requested remedy—which
at 363-64 (citing ERISA § 204(g)(1)).                     it described as "[a]n accounting for profits"—
                                                          constituted equitable relief. Id. at 364. The court
Although it is undisputed that the separate account       explained that an accounting for profits is "a
feature has since been restored, Plaintiffs argued        restitutionary remedy based upon avoiding unjust
that the temporary elimination of the separate            enrichment," which "holds the defendant liable for
account feature entitled them to monetary relief          his profits, not for damages." Id. at 364-65.
under one of three theories. First, they suggested        Because this type of relief is quintessentially
that they were owed additional benefits pursuant to       equitable, Plaintiffs could proceed with [*7] their
the terms of their Plans, under ERISA §                   claims under § 502(a)(3). Id. at 367.
502(a)(1)(B), which allows suits "by a participant
or a beneficiary to recover benefits due to him           Next, the Court addressed Defendants' argument
under the terms of his plan" and "to enforce his          that the case was moot because they had restored
rights under the terms of the plan." Pender, 788          the separate account features of Plaintiffs' accounts
F.3d at 361 (emphasis omitted). Second, they              and because Plaintiffs had suffered no monetary
claimed they were entitled to damages for breach of       harm as a result of the temporary elimination.1 Id.;
fiduciary duty, under ERISA § 502(a)(2). Pender,          see also id. at 366 ("Requiring a financial loss for
788 F.3d at 362. Finally, they argued that, if            disgorgement claims would effectively ensure that
Defendants had "profited" from the temporary              wrongdoers could profit from their unlawful acts as
elimination of their separate account features, that      long as the wronged party suffers no financial loss.
they could recover those funds under ERISA §              We reject that notion."). The panel explained, in a
502(a)(3),which provides that "a plan beneficiary         paragraph that the Court considers particularly
may obtain 'appropriate equitable relief' to redress      instructive:
'any act or practice which violates'" [*6] certain
ERISA provisions. Pender, 788 F.3d at 363.                       The Bank rightly notes that its closing
                                                                 agreement with the IRS restored Plaintiffs'
The Fourth Circuit began by holding that the plain               separate account feature. That restoration,
terms of the Pension Plan did not provide that                   however, did not moot the case. Plaintiffs
Plaintiffs were entitled to additional benefits                  contend that the Bank retained a profit, even
beyond what the Bank had already paid them.                      after it restored the separate account feature to
Pender, 788 F.3d at 361. The court next held that                Plaintiffs and paid a $10 million fine to the
Plaintiffs, as a matter of law, could not sustain a              IRS. Defendants do not rebut this argument,
claim for breach of fiduciary duty. Id. at 363.
Accordingly, the panel turned to the only remaining
avenue for relief, ERISA § 502(a)(3),which                1 In May 2008, the Bank and the IRS entered into a closing
provides that "a plan beneficiary may obtain              agreement, under which [*8] the Bank transferred the assets in the
'appropriate equitable relief'" to correct certain        Pension Plan to a special-purpose 401(k) plan, made additional
                                                          payments to eligible participants whose hypothetical investments had
ERISA violations. Pender, 788 F.3d at 363.
                                                          a low rate of return, and paid a $10 million fine to the IRS. Pender,
                                                          788 F.3d at 360.
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     noting only that there has been no discovery to                          earned more than they have received from the Bank
     this effect. If an accounting ultimately shows                           to date, are owed the difference between prior
     that the Bank retained no profit, the case may                           payments (in the form of benefits plus any
     well then become moot.                                                   additional IRS settlement amounts) and what [*10]
                                                                              their assets in fact generated during the period in
Id. at 368 (emphasis added).2                                                 which they were held by the Bank. Having
                                                                              reviewed the Fourth Circuit's operative opinion, the
After addressing other issues that do not influence                           sources cited therein, and the briefing submitted by
the present proceeding, the Fourth Circuit vacated
                                                                              the parties, the Court finds that the calculation
this Court's grant of summary judgment and
                                                                              proposed by the Bank is consistent with the Court
remanded for further proceedings without
                                                                              of Appeals' instructions.
additional instructions on how the required
accounting for profits should be calculated. See id.
at 370.                                                                       A. The Fourth Circuit's instructions appear to
                                                                              contemplate calculation in the aggregate

II. ANALYSIS                                                                  The Fourth Circuit's opinion in Pender appears to
                                                                              instruct this Court to determine whether, after the
Defendants argue that the Fourth Circuit instructed                           separate account features were restored to
this Court to determine whether, after the Bank had                           Plaintiffs' accounts, the Bank nevertheless retained
restored the separate account feature, made                                   a profit. Most importantly, the panel explained the
additional payments to Plan participants, and paid a                          posture of the case in the following terms:
$10 million fine to the IRS, it still retained                                "Plaintiffs contend that the Bank retained a profit,
additional profits. (Doc. No. 337, 342) Plaintiffs, by                        even after it restored the separate account feature to
contrast, argue that the Court must calculate, as to
                                                                              Plaintiffs and paid a $10 million fine to the IRS."
each individual Plan participant, whether the Bank
                                                                              Id. at 368. The court further counseled that "[i]f an
earned any profit using their specific assets. (Doc.                          accounting ultimately shows that the Bank retained
No. 340, 344) This method of calculating profits                              no profit, the case may well then become moot." Id.
would consider the Plan's overall rate of return                              This language suggests that this Court's should
during the months between the transfer date and                               examine the Bank's position after the separate
each individual's retirement. Plaintiffs urge that the                        account feature was restored and the settlement-
Bank owes certain class members, whose assets                                 mandated payments and fine were disbursed.

                                                                              Plaintiffs [*11] posit the Fourth Circuit intended to
2 Indeed, it does seem as though Plaintiffs argued, at least in part,
                                                                              say that the case might be moot as to some
that Defendants retained a profit after the separate account feature
was restored and the settlement payments fully allocated. (See Br. for        individual plaintiffs, who received more in benefits
Appellant at 54-55, Pender, 788 F.3d 354 (4th Cir. 2015) (No. 14-             and other payments than their assets actually earned
9011) ("The Bank generated $110 million-plus of gains (net of                 over the period they were entrusted to the Bank.
losses) investing participants' retirement savings. Plaintiffs are not
                                                                              (Plaintiffs' Memorandum at 7-8, Doc. No. 340)
asking the Court to punish Defendants or force the Bank to increase
benefits . . . . If the 'spread' is allocated to participants' accounts and   However, Plaintiffs can point to nothing in the
then distributed as pension benefits, participants will be made whole         panel's language to support such an interpretation—
-- and the Bank will be no worse-off than had it never implemented            much less anything as explicit as the sentence
its illegal arbitrage strategy in the first place."); cf. Plaintiffs'
                                                                              specifically invoking the period "after [the Bank]
Memorandum in Support of Class Certification at 9, Doc. No. 171
("[T]he relief sought would be applied in a uniform fashion, to all           restored the separate account feature and paid a $10
participants and the 401(k) Plan as a whole, across-the-board without         million dollar fine." Pender, 788 F.3d at 368
regard to the participants' individual circumstances [*9] or                  (emphasis added); see also id. at 359 ("[I]n the
differences."))
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aggregate and over time, [the account transfer]                    Court can find no basis for finding that a subset of
strategy could yield substantial gains for the                     the Plaintiff class is equitably entitled to this type
Bank.").                                                           of special treatment, particularly where all
                                                                   members of the class suffered the same injury—the
Additionally, although Plaintiffs argue that many temporary loss of their separate account feature—
individual participants are entitled to additional and received all of their promised benefits.
benefits calculated by reference to their specific
investment choices and retirement dates (Plaintiffs' The aggregate calculation approach is also
Memorandum at 3, Doc. No. 340), it appears that consistent with the Fourth Circuit's directions that
the Fourth Circuit disagreed. Rather, the court the Court should determine whether there has been
found that Plaintiffs were not entitled to additional, "unjust enrichment" as a result of the Bank's
individual benefits under the terms of the Plan. elimination of the separate account feature. Pender,
Pender, 788 F.3d at 361-62.3 This result makes 788 F.3d at 364. "[T]he unjust enrichment of a
perfect sense. Not only are Courts forbidden from conscious wrongdoer . . . is the net profit
reforming the terms of a Plan to [*12] conform attributable to the underlying wrong. The object of
with ERISA, see Pender, 788 F.3d at 362 (citing restitution in such cases is to eliminate profit from
CIGNA Corp. v. Amara, 563 U.S. 421, 131 S. Ct. wrongdoing while avoiding, so far as possible, the
1866, 179 L. Ed. 2d 843 (2011)), but it is also well- imposition of a penalty." §Restatement (Third) of
settled that participants in a defined benefit plan, Restitution and Unjust Enrichment 51 (2011); see
such as the Pension Plan in this case, have no legal also Pender, 788 F.3d at 366 (citing the same). An
interest in the Plan's surplus, even when it is aggregate calculation accommodates both of these
generated in part using their assets, see, e.g., principles. It considers the net profit from
Hughes Aircraft Co. v. Jacobson, 525 U.S. 432, Defendants' wrongful implementation of the
440-41, 119 S. Ct. 755, 142 L. Ed. 2d 881 (1999) transfer strategy, and it avoids imposing additional
("Since a decline in the value of a [defined benefit] penalties on the Bank beyond what the equities
plan's assets does not alter accrued benefits, strictly [*14] require.
members similarly have no entitlement to share in a
                                                                   Plaintiffs present the following argument in
plan's surplus—even if it is partially attributable to
                                                                   rebuttal. First, they say, this Court must begin with
the investment growth of their contributions.");
                                                                   the proposition that the Bank engaged in "60,000
David v. Alphin, 704 F.3d 327, 338 (4th Cir. 2013)
                                                                   separate and distinct actual agreements with each
("[A] participant in a defined benefit pension plan
                                                                   Participant who elected to make a transfer."
has an interest in his fixed future payments only,
                                                                   (Plaintiffs' Memorandum at 26, Doc. No. 340)
not the assets of the pension fund." (citing Hughes,
                                                                   Next, the Court must examine the profits or losses
525 U.S. at 439-40)). It would certainly be
                                                                   derived from each separate transaction. (Id.)
anomalous, then, to find that some members of the
                                                                   Whether at the end of all the implicated
class here have a unique entitlement to the
                                                                   transactions, the Bank had no profits is irrelevant,
temporary surplus generated using their assets. The
                                                                   Plaintiffs argue, because this simply means
                                                                   Defendants spent the gains they acquired using
                                                                   some individuals' assets—a fact which is not
3 Specifically, Plaintiffs argue that the Pender opinion must be
                                                                   typically permitted to offset disgorgement. (Id. at
read [*13] to hold that they have "won the right via the equitable 22-24). In short, Plaintiffs ask the Court to define
remedy of an accounting for profits, 'to enforce the plan not as
written, but as it should be enforced under ERISA.'" (Plaintiffs'
                                                                   "profit" for the purposes of assessing unjust
Memorandum at 3, Doc. No. 340 (quoting Pender, 788 F.3d at enrichment as "an immediate increase in the
362)). To the contrary, that concept is absent from Pender and the Pension Plan's assets." (Id. at 2)
quoted portion of the opinion held only that Plaintiffs had no such
right under ERISA § 502(a)(1)(B).
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The Court finds two problems with this position.                            language that seems to have the sole purpose of
First, nothing in the Fourth Circuit's opinion seems                        guiding the proceedings on remand—particularly
to support parsing the class in this manner.4 Indeed,                       where the Circuit's instructions are otherwise
the panel appeared to agree with Defendants that                            somewhat limited. In sum, the Court finds that it
none of the Plan participants had suffered financial                        should calculate whether the Bank retained a profit
injuries, see Pender, 788 F.3d at 366-67, which                             by looking at all of the transfer accounts in the
makes sense, because each has received the benefits                         aggregate.
to which he or she was entitled, id. at 361-62.
Instead [*15] of tying the remedy to an individual
entitlement to varying amounts of funds, the court                          B. Plaintiffs' remaining arguments are
seems to have ordered that Plaintiffs, who all                              unavailing
suffered the same "invasion of a legally protected
                                                                            Plaintiffs assert several additional arguments in
interest" when their separate account features were
                                                                            opposition to the Bank's proposed method of
temporarily eliminated, be apportioned a pro rata
                                                                            calculation. None are availing, [*17] for reasons
share of any overall profit attributable to the Bank's
                                                                            the Court will briefly address. First, Plaintiffs argue
corresponding ability to engage in large-scale
                                                                            that Defendants' calculation method violates ERISA
investment of the group's assets. Indeed, contrary to
                                                                            § 3(34), because it "seeks to calculate [a
Plaintiffs' assertions, the Fourth Circuit broadly
                                                                            participant's account] in part by reference to the
held that Plaintiffs have standing to seek
                                                                            investment performance of other participant[s']
disgorgement of profits—and it simply did not say,
                                                                            contributions." (Plaintiffs' Memorandum at 15-16,
in any terms, that its holding was limited to a
                                                                            Doc. No. 340) As an initial matter, this is incorrect.
subclass of Plan participants. (Plaintiffs'
                                                                            Defendants' method seeks to calculate a
Memorandum at 3, 8 n.2, Doc. No. 340)
                                                                            participant's account by the terms of the Plan, and
Second, Plaintiffs have failed to proffer a way that                        to distribute any ultimate profits among all of the
the Court could reconcile the individualized                                equally-injured class members. Moreover, Plaintiffs
calculation that they propose with the Fourth                               have proposed a calculation method that involves a
Circuit's instruction that the measure of profits be                        similar conundrum to the one they attribute to
offset by the $10 million fine paid to the IRS.                             Defendants. Plaintiffs ask this Court to consolidate
Pender, 788 F.3d at 368 Plaintiffs assert that the                          all of the Plan participants assets for the purposes
Fourth Circuit's instruction is "dicta" that                                of calculating the rate of return attributable to each
"command[s]        absurd      results"   (Plaintiffs'                      individual's assets for the period those assets were
Memorandum at 7, Doc. No. 340), but this Court                              entrusted to the Bank. In fact they must, because
cannot find itself so free to blatantly disregard                           there appears to be no other way to approximate
                                                                            individual assets' rate of return. (See Defendants'
                                                                            Memorandum at 3 ("During the time that the
                                                                            transferred assets were in the Pension Plan, they
4 Plaintiffs make repeated reference to a section of the court's opinion
                                                                            were not tracked on an individual participant-by-
that uses a hypothetical example of two employees, "Jack" who
participates in a traditional 401(k) plan, and "Jill" who participates in   participant basis.")) Yet for purposes of
the Pension Plan, which eliminates her separate account feature.            determining [*18] whether the Bank profited,
(See, e.g., Plaintiff's Memorandum at 7, Doc. No. 340 ("The Bank's          Plaintiffs resist attempts to aggregate all of the Plan
reading is irreconcilable, for example, with Pender's discussion of
                                                                            participants' assets. It appears to the Court, then,
Jill . . . .")) But this paragraph appears in the facts section of the
Circuit's [*16] opinion and begins with the phrase "to illustrate by        that Plaintiffs favor cumulative assessment of all
example." Pender, 788 F.3d at 359-60. Accordingly, the Court is             participants' assets when it is convenient for them,
persuaded that its purpose is to explain the facts of the case, and how     but not when it has the potential to preclude
it was possible for the Bank's transfer strategy to be profitable, rather
                                                                            recovery from the Bank.
than to influence the proceedings on remand.
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Plaintiffs also argue that conducting the Bank's                         ("[An accounting for profits] is akin to a
proffered calculation would violate ERISA §                              constructive trust, but lacks the requirement that
204(g), which provides that that "an ERISA-plan                          plaintiffs 'identify a particular res containing the
participant's 'accrued benefit' 'may not be decreased                    profits sought to be recovered.'" (quoting Great-W.
by an amendment of the plan' unless specifically                         Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204,
provided for in ERISA or regulations promulgated                         214 n. 2, 122 S. Ct. 708, 151 L. Ed. 2d 635 (2002)).
pursuant to ERISA." See Pender, 788 F.3d at 361.                         And in any event, there is no indication that the
Plaintiffs suggest that the Bank has somehow taken                       Bank's calculation would require this Court to
benefits owed to some class members and used                             determine whether the Bank retained any profits
them to pay benefits owed to others. Again, this                         attributable to any one participant's enrollment in
misses the mark. Plaintiffs have already received all                    the Plan. Nor does it ask the Court to determine
of the benefits to which they were entitled. Pender,                     whether any profits remain today that are
788 F.3d at 361-62. This means that the Bank's                           attributable to the scheme, which ended in 2008.
proposed method of calculation does not, to use                          Indeed, such requirements would undoubtedly go
Plaintiffs' analogy, "cut back McCorkle's benefit to                     against the Fourth Circuit instructions. Thus,
help defray the cost of John's benefit." (Plaintiffs'                    Plaintiffs' additional arguments do not undermine
Memorandum at 17, Doc. No. 340) Instead, both                            this Court's conclusion that the proper inquiry in
McCorkle and John have already received the                              light of the Fourth Circuit's instructions in Pender
benefits they are owed, and the question is whether                      is whether "the Bank retained a profit, even after it
the Bank nevertheless [*19] derived profits from                         restored the separate account feature to Plaintiffs
its overall transfer strategy that ought to equitably                    and paid a $10 million fine to the IRS." 788 F.3d at
be disgorged and distributed among McCorkle,                             368.
John, and the other members of the class.5

Finally, Plaintiffs suggest that the Bank's method of                    III. CONCLUSION
calculation ignores the Pender court's statement
that a plaintiff need not identify a particular res still                For the foregoing reasons, the Court finds that its
in the defendant's possession in order to recover                        analysis of whether or not the Bank retained a
under an accounting for profits theory. (Plaintiffs'                     profit must [*21] be conducted in the aggregate.6
Memorandum at 18-19 (citing Pender, 788 F.3d at                          The Court will hold a bench trial on the issue of
364)). However, it is readily apparent from the                          whether, after it restored the separate account
context of the cited statement that the panel was                        feature and paid a $10 million fine to the IRS, the
merely distinguishing an accounting for profits                          Bank nevertheless profited from its transfer
from a constructive [*20] trust, rather than setting                     strategy. At that time, the parties may present any
out the proper means of determining whether the                          evidence, including expert testimony, relevant to
Bank, as a result of its investment strategy, was                        that determination.
unjustly enriched. See Pender, 788 F.3d at 364
                                                                         IV. ORDER
5 Plaintiffs'
            argument that the Bank's calculation violates the Plan
document fails for the same reason, as does its argument that            IT IS THEREFORE ORDERED THAT the
payments to other participants cannot be characterized as "losses."
(See Plaintiffs' Memorandum at 17-18 (arguing that "the Plan
document bars the Bank's attempt to charge Jill for John's benefit");    6 Defendants  argue that there is a disputed issue of whether the
id. at 20 ("What the Bank suggests here is that if a plan's investment   Bank's profits should be determined by reference to the transferred
earnings are not sufficient to cover the cost of the benefits promised   assets or the Pension Plan Trust as a whole. (Plaintiffs' Reply at 16-
to A . . ., that constitutes a 'loss' which can be used to justify a     17, Doc. No. 342) Because this issue has not been substantially
reduction in the benefit owed to participant B . . . .")).               briefed, the Court will consider it at trial.
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court will conduct a bench trial. IN                    advance of the discovery completion deadline so as
ACCORDANCE WITH the Local Rules of the                  to comply with this Order. [*23] Discovery
Western District of North Carolina and pursuant to      requests that schedule depositions after the
Rule 16 of the Federal Rules of Civil Procedure,        discovery completion deadline are not enforceable
the undersigned enters the following Pretrial Order     except by order of the court for good cause shown.
and Case Management Plan in this matter. Note           The parties may consent to extensions of the
that this Order incorporates certain proposed           discovery completion deadline so long as any such
changes to Rule 16 of the Federal Rules of Civil        extension expires not later than ten (10) days prior
Procedure (See Section II.D.)                           to scheduled trial time.


I. DISCOVERY                                            II. MOTIONS

A. DISCOVERY GUIDELINES: The parties are                A. MOTIONS DEADLINE: Any motion regarding
instructed to retain no more than two (2) experts       a discovery matter should be filed as soon as
apiece. After those experts have prepared reports,      possible.
each party will disclose both the reports and [*22]
                                                        B. MOTIONS: When filing motions, counsel
the documents or other materials that the experts
                                                        should comply with Local Rule 7.1.
relied on in forming an opinion to the other party.
The only discovery that is permitted at this time is    C. MOTIONS HEARINGS: Hearings on motions
the exchange of this material and expert                ordinarily will be conducted only when the Rules
depositions. The parties will have thirty days from     require a hearing, or when the court determines that
Defendants' submission of expert reports to make        a hearing will assist the court. All motions
their experts available for depositions at a mutually   requiring a hearing will be heard as soon as is
convenient time. Reports from retained experts          practical. The Clerk will notify all parties as far in
under Rule 26(a)(2) will be due:                        advance as possible of the date and time set for the
                                                        hearing.
    from Defendants by April 18, 2016; and
                                                        D. Prior to the filing of any motion relating to
    from Plaintiffs by May 17, 2016.
                                                        discovery, the movant must request a conference
B. THE MAINTENANCE OF DISCOVERY                         with the Court. This conference may be held
MATERIALS: Discovery materials are NOT to be            telephonically or in chambers.
filed. All counsel are advised to consult local rule
26.1 which provides that while depositions must
still be served on all parties, they are no longer to   III. TRIAL
be filed unless upon order of the Court. The parties    The trial is scheduled for the November 7, 2016
are responsible for the preservation of any and all     term and is expected to take 2-3 days.
discovery materials they may generate.

C. VIDEO DEPOSITIONS: Video depositions will
                                                        IV. TRIAL PROCEDURES
not be permitted. The Court will consider only live
testimony from the parties' experts.                    A. COUNSEL'S FILINGS SIX WEEKS BEFORE
                                                        TRIAL: Six full weeks before [*24] the trial,
D. DISCOVERY COMPLETION: All discovery
                                                        counsel for each party shall file with the Court:
shall be completed by July 18, 2016. Counsel are
directed to subpoena depositions sufficiently in                (a) Memoranda to the Court stating their
    Case 1:19-md-02875-RMB-SAK               Document 522-3          Filed 07/17/20   Page 193 of 307
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        positions;                                        Signed: March 10, 2016
        (b) Proposed Findings          of   Fact   and
        Conclusions of Law;                               /s/ Graham C. Mullen

    The deadline indicated on the published trial Graham C. Mullen
    calendar may not be extended for any reason. United States District Judge
    Failure to comply with this deadline WILL
    result in sanctions.
                                                           End of Document
B. COUNSEL'S FILINGS TWO WEEKS
BEFORE TRIAL: Two full weeks before the trial,
counsel for each party shall file:

        (a) A statement of the education,
        experience, and qualifications of each
        expert witness, unless the parties have
        stipulated to the qualifications of each
        expert witness;
        (b) Stipulations concerning the authenticity
        of as many proposed exhibits as possible;
        and
        (c) An exhibit list.
    Four (4) courtesy copies of the above are to be
    provided to the courtroom deputy.

C. FORMAT FOR EXHIBIT LIST: In preparing
the exhibit list, counsel separately shall identify and
number each exhibit, shall arrange the list
numerically by exhibit number, and shall place the
following headings on the exhibit list:
     Exhibit # Description Identified by Admitted

    It is not necessary for counsel to make entries
    in either the "Identified by" column or the
    "Admitted" column. Counsel shall also
    provide [*25] an electronic copy of the exhibit
    list with the electronic exhibit files.


VI. SANCTIONS


    Failure to comply with any of the provisions of
    this Order which causes added delay or
    expense to the Court may result in the
    imposition of sanctions.

IT IS SO ORDERED.
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                                   Pfs Distrib. Co. v. Raduechel
             United States District Court for the Southern District of Iowa, Central Division
                           August 30, 2005, Decided; August 30, 2005, Filed
                                      CIVIL NO. 4-04-CV-10329

Reporter
2005 U.S. Dist. LEXIS 57648 *
                                                      LEAD ATTORNEY, COMMUNITY
                                                      FOUNDATION OF GREATER DES MOINES,
PFS DISTRIBUTION COMPANY and
                                                      Des Moines, IA USA.
PILGRIM'S PRIDE CORPORATION OF
DELAWARE, INC., Plaintiffs, vs. DARRELL
RADUECHEL, BARRY SPAIN and D&B                        For Richard R Donohue, Defendant: David L
SOLUTIONS, INC., RICHARD R. DONOHUE,                  Phipps, Megan M Antenucci, LEAD
THEOBALD, DONOHUE & THOMPSON, P.C.,                   ATTORNEYS, Johannes (John) H. Moorlach,
MIDWEST ONE BANK & TRUST, STEVEN P.                   WHITFIELD & EDDY PLC (DSM), Des Moines,
HICKS and JOHN POTHOVEN, Defendants.                  IA USA; Eric G Hoch, Glenn L Smith, FINLEY
                                                      LAW FIRM, Des Moines, IA USA; Gretchen Witte
                                                      Kraemer, ATTORNEY GENERAL OF IOWA,
                                                      Hoover State [*2] Office Bldg, Des Moines, IA
Counsel: [*1] For Pfs Distribution Company,           USA.
Plaintiff: Ethan A Berghoff, Michael J Wagner,
William Lynch Schaller, LEAD ATTORNEYS,
                                                      For Theobald Dohohue & Thompson P C,
BAKER & MCKENZIE, Chicago, IL USA; John
                                                      Defendant: Glenn L Smith, LEAD ATTORNEY,
Michael Murphy, LEAD ATTORNEY, BAKER &
                                                      Eric G Hoch, FINLEY LAW FIRM, Des Moines,
MCKENZIE, Chicago, IL USA; Michael W Thrall,
                                                      IA USA.
LEAD ATTORNEY, NYEMASTER GOODE PC,
Des Moines, IA USA; Peter Paul Tomczak, LEAD
ATTORNEY, BAKER & MCKENZIE LLP,                       For Midwestone Bank And Trust, Steven P Hicks,
SutieChicago, IL USA.                                 Defendants: Mark D Walz, LEAD ATTORNEY,
                                                      DAVIS BROWN LAW FIRM (WDM), West Des
                                                      Moines, IA USA; Stanley J Thompson, LEAD
For Pilgrim's Pride Corporation, Plaintiff: Ethan A
                                                      ATTORNEY, Scott D Mikkelsen, DAVIS
Berghoff, Michael J Wagner, William Lynch
                                                      BROWN LAW FIRM (DSM), Des Moines, IA
Schaller, LEAD ATTORNEYS, BAKER &
                                                      USA; Heather Lee Palmer, IOWA DIVISION OF
MCKENZIE, Chicago, IL USA; John Michael
                                                      WORKERS COMPENSATION, Des Moines, IA
Murphy, LEAD ATTORNEY, BAKER &
MCKENZIE, Chicago, IL USA; Michael W Thrall,          USA.
LEAD ATTORNEY, NYEMASTER GOODE PC,
Des Moines, IA USA.                                   For John Pothoven, Defendant: Mark D Walz,
                                                      LEAD ATTORNEY, DAVIS BROWN LAW
                                                      FIRM (WDM), West Des Moines, IA USA;
For Darrell Raduechel, Barry Spain, D&B
                                                      Stanley J Thompson, LEAD ATTORNEY, DAVIS
Solutions Inc, Defendants: Douglas A Fulton,
                                                      BROWN LAW FIRM (DSM), Des Moines, IA
LEAD ATTORNEY, BRICK GENTRY, P.C.,
                                                      USA.
West Des Moines, IA USA; Gordon R Fischer,
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                                       2005 U.S. Dist. LEXIS 57648, *2


                                                         2005 and March 16, 2005, respectively.1 Plaintiffs
                                                         now move to strike these defendants' comparative
                                                         fault defenses, arguing that comparative fault is a
Judges: RONALD E. LONGSTAFF, Chief United                defense only to claims alleging negligence.
States District Judge.
                                                         II. APPLICABLE LAW AND DISCUSSION


                                                         A. Law Governing Motions to Strike
Opinion by: RONALD E. LONGSTAFF
                                                         As summarized by this Court in United States v.
                                                         Dico, 189 F.R.D. 536, 541 (S.D. Iowa 1999):

Opinion                                                       Rule 12(f) of the Federal Rules of Civil
                                                              Procedure provides in relevant part that "the
ORDER                                                         court may order stricken from any pleading any
                                                              insufficient defense . . . ." Fed. R. Civ. P. 12(f).
THE COURT HAS BEFORE IT plaintiffs' April 5,                  "An affirmative defense is insufficient if it is
2005 motion to strike the affirmative defenses filed          not recognized as a defense to the cause of
by defendants Richard R. Donohue ("Donohue")                  action." Kelley v. Thomas Solvent Co., 714 F.
and Theobald, Donohue & Thompson, P.C.                        Supp. 1439, 1442 (W.D. Mich. 1989).
("TD&T"). Defendant TD&T resisted the motion
on April 19, 2005, with Donohue joining in this               Motions to strike are not favored by the courts.
resistance on April 22, 2005. Plaintiffs filed a reply        See, e.g., Lunsford v. United States, 570 F.2d
on April 28, 2005, and the motion is fully                    221, 229 (8th Cir. 1977). "A motion to strike a
submitted.                                                    defense will be denied if the defense is
                                                              sufficient as a matter of law or if it fairly
I. BACKGROUND                                                 presents a question of law or fact which the
The facts leading up to this action were set forth            court ought to hear." (Citing Moore's Federal
in [*3] detail in this Court's August 11, 2004 Order          Practice § 12.21, at 2437 (2d ed. 1975)).
granting plaintiff's motion for a preliminary                 Nevertheless, a motion to strike should be
injunction, and will be repeated only as necessary            granted if it "'may have the effect of making the
to the resolution of the present motion. Subsequent           trial of the action less complicated, or [it] may
to the Court's Injunction Order, on January 27,
2005, plaintiffs filed an amended complaint adding       1 Paragraph1 of Donohue's Affirmative Defenses states, in relevant
as defendants TD&T, an accounting firm, Donahue,         part:"The fault of all parties, if any, should be compared pursuant to
who is a principal in that firm, and others.             Iowa Code § 668, and the Plaintiffs' recovery, if any, barred or
Plaintiffs' claims against TD&T and Donahue              reduced by Plaintiffs' fault." Donohue's Answer and Affirmative
include civil conspiracy, unjust enrichment,             Defenses, ¶ 1.

misappropriation of plaintiff's trade secrets, and       The relevant portion of TD&T's Affirmative Defenses states:
aiding and abetting the allegedly tortious conduct
                                                              Further answering, Defendant affirmatively states that any
of co-defendants Darrell Raduechel, Barry Spain               damage which Plaintiffs may have suffered is the result of
and D & B Solutions, Inc.                                     Plaintiffs' own acts or the acts of others and not the actions of
                                                              Defendant and this Defendant is entitled [*4] to have its
TD&T and Donahue each have asserted a                         relative degree of fault, if any, compared to the relative degree
comparative fault defense in their answers to the             of fault of those so as to reduce or eliminate this Defendant's
                                                              liability to the Plaintiffs.
amended complaint, which were filed on March 15,
                                                         TD&T's Answer and Affirmative Defenses, ¶ 143.
        Case 1:19-md-02875-RMB-SAK                           Document 522-3                Filed 07/17/20             Page 197 of 307
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                                                      2005 U.S. Dist. LEXIS 57648, *4


        have the effect of otherwise streamlining the                        Ezzone v. Riccardi, 525 N.W.2d 388, 398 (Iowa
        ultimate resolution of the action.'" Kelly, 714 F.                   1994) (internal citation omitted) (emphasis added).
        Supp. At 1442 (quoting California v. United                          Similarly, [*6] to establish an aiding and abetting
        States, 512 F. Supp. 36, 38 (N.D. Cal. 1981)).                       claim, "there must be a wrong to the primary party,
                                                                             knowledge of the wrong on the part of the aider,
B. Whether Comparative Fault Defense was
                                                                             and substantial assistance by the aider in the
Properly Pled
                                                                             achievement of the primary violation." Id. (internal
Iowa Code chapter 668, the Comparative Fault Act,                            citation omitted) (emphasis added).
provides a mechanism by which the factfinder can
appropriately allocate fault to the various [*5]                             Chapter 550 of the Iowa Code regulates trade
parties involved in a litigation.2 The term "fault" is                       secrets and provides six definitions of
defined under the statute as:                                                misappropriation.3 Every definition requires an act
    one or more acts or omissions that are in any                            with knowledge. Lastly, plaintiffs' unjust
    measure negligent or reckless toward the                                 enrichment claim arises out of the intentional
    person or property of the actor or others, or that                       conduct alleged in the other claims against
    subject a person to strict tort liability. The term                      defendants. See Plaintiff Second Amended
    also includes breach of warranty, unreasonable                           Complaint at ¶ 121; see also 205 Corp. v. Brandow,
    assumption of risk not constituting an                                   517 N.W.2d 548 (Iowa 1994) (allowing plaintiff to
    enforceable express consent, misuse of a                                 sue for unjust enrichment based on theories of
    product for which the defendant otherwise                                misappropriation of trade secrets and inducement of
    would be liable, and unreasonable failure to                             breach of duty of loyalty). Because plaintiff must
    avoid an injury or to mitigate damages.                                  prove the underlying claims to recover for unjust
                                                                             enrichment, which themselves do not depend on
Iowa Code § 668.1. The Iowa Supreme Court                                    negligence or recklessness, a comparative fault
repeatedly has held that Chapter 668 is inapplicable                         defense is improper.
to substantive claims based on fraud or intentional
torts, for which negligence is not a defense. See,                           Regardless of whether chapter 668 applies to the
e.g., Tratchel v. Essex Group, Inc., 452 N.W.2d                              substantive claims against them, however,
171, 180-81 (Iowa 1990); Slager v. HWA Corp.,                                defendants note that its definition of "fault" also
435 N.W.2d 349, 354 (Iowa 1989).                                             includes the failure to mitigate damages. As

As noted by plaintiffs, each of the claims pled
against Donohue and TD&T — civil conspiracy,                                 3 (a) Acquisition of a trade secret by a person who knows that the
unjust enrichment, misappropriation of plaintiff's                           trade secret is acquired by improper means. (b) Disclosure or use of
trade secrets, and aiding and abetting — depend                              a trade secret by a person who uses improper means to acquire the
upon a showing of knowing and/or intentional                                 trade secret. (c) Disclosure or use of a trade secret by a person who
wrongdoing. For example, a claim for civil                                   at the time of disclosure or use, knows that the trade secret is derived
                                                                             fromor through a personwho hadutilizedimpropermeans to acquire
conspiracy requires proof of an agreement                                    the trade secret. (d) Disclosure or use of a trade secret by a person
involving "some mutual mental action coupled with                            who at the time of disclosure or use knows that the trade secret is
an intent to commit the act that causes injury."                             acquired under circumstances giving rise to a duty to maintain its
                                                                             secrecy or limit its use. (e) Disclosure or use of a trade secret by a
                                                                             person who at the time of disclosure or use knows that the trade
                                                                             secret is derived from or through a person who owes a duty to
2 The  parties do not dispute that Iowa substantive law applies              maintain the trade secret's secrecy or limit its use. (f) Disclosure or
generally to this action, for which jurisdictionis based on diversity of     use of a trade secret by a person who, before a materialchange in the
citizenship. See, e.g., Erie R.R. v. Tompkins, 304 U.S. 64, 78 (1938)        person's position, knows that the information is a trade secret and
(in diversity cases, "the law to be applied . . . is the law of the State"   that the trade secret has been acquired by accident or mistake. Iowa
in which the district court sits).                                           Code § 550.2(3) (emphasis added).
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explained by the Iowa Supreme Court in Coker v.                        Dated this 30th day of August, 2005.
Abell-Howe Co., 491 N.W.2d 143, 148 (Iowa
1992), the phrase [*7] "unreasonable failure to                        /s/ Ronald E. Longstaff
avoid an injury or to mitigate damages," as                            RONALD E. LONGSTAFF, Chief Judge
contained in § 668.1, derives from the doctrine of
unavoidable consequences. Under this doctrine, a                       United States District Court
party may not recover damages resulting from
consequences the party "could reasonably have
                                                                         End of Document
avoided." Id. at 149. The doctrine of avoidable
consequences is separate and distinct from that of
contributory negligence:

        "[C]ontributory negligence is negligence of the
        plaintiff before any damage, or any invasion of
        his rights, has occurred . . . . The rule of
        avoidable consequences comes into play after a
        legal wrong has occurred, but while some
        damage may still be averted, and bars recovery
        only for such damages.

Id. (quoting W. Page Keeton et al., Prosser and
Keeton on the Law of Torts § 65, at 458 (5th ed.
1984) (emphasis added). Accordingly, although
chapter 668 may not be applicable as a defense to
the parties' respective pre-damage conduct, it is in
fact applicable to plaintiffs' post-damage conduct.

Plaintiffs' failure to mitigate damages following the
combined defendants' allegedly tortious conduct is
a proper issue for discovery. Defendant's motion
must therefore be denied. See, e.g., Lunsford, 570
F.2d at 229 ("A motion to strike a defense will be
denied if the [*8] defense is sufficient as a matter
of law or if it fairly presents a question of law or
fact which the court ought to hear.").4
III. CONCLUSION

For the reasons outlined above, plaintiffs' motion to
strike is denied.

IT IS ORDERED.


4 The  Court notes that, as a practical matter, the defense will be
addressed through a single instruction to the jury, modeled after
Iowa Uniform Civil Jury Instruction 400.8. But see Coker, 491
N.W.2d at 149 (finding that evidence presented at trial nevertheless
insufficient to submit instruction on failure to mitigate damages).
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                               Red Fox Future, LLC v. Holbrooks
                              North Carolina Superior Court, Polk County
                                       March 24, 2014, Decided
                                             11 CVS 108

Reporter
2014 NCBC 8 *; 2014 NCBC LEXIS 8 **; 2014 WL 1213235


RED FOX FUTURE, LLC and ANDREY
                                                    Opinion
MEDVEDEV, Plaintiffs, v. GENE S.
HOLBROOKS, HOME REALTY CO. &
INSURANCE AGENCY, INC., TONY                        ORDER AND OPINION
JACKSON, and RED FOX PROPERTIES, LLC,               Murphy, Judge.
Defendants.
                                                     [*1] THIS MATTER is before the Court on
                                                    Defendants Gene S. Holbrooks ("Holbrooks") and
                                                    Home Realty Co. & Insurance Agency, Inc.'s
Subsequent History: Costs and fees proceeding at,   ("Home Realty") (collectively, "Defendants")
Motion denied by Red Fox Future, LLC v.             Motion for Summary Judgment pursuant to Rule 56
Holbrooks, 2014 NCBC LEXIS 43 (2014)                of the North Carolina Rules of Civil Procedure
                                                    ("Motion I"); Plaintiffs Red Fox Future, LLC
                                                    ("Future") and Andrey Medvedev's ("Medvedev")
                                                    (collectively, "Plaintiffs") Motion for Partial
Counsel: [**1] Patla, Straus, Robinson, & Moore
                                                    Summary Judgment pursuant to Rule 56 of the
P.A. by Richard S. Daniels for Plaintiffs Red Fox
                                                    North Carolina Rules of Civil Procedure ("Motion
Future, LLC, and Andrey Medvedev.
                                                    II"); and Defendants' Motion to Exclude or Limit
                                                    the Testimony of John R. Markel, CPA ("Motion
Tuggle Duggins P.A. by Robert C. Cone for           III") in the above-captioned case. Having
Defendants Gene S. Holbrooks and Home Realty        considered the Motions, the briefs and exhibits filed
Co. & Insurance Agency, Inc.                        in support and opposition to the Motions, and the
                                                    arguments of counsel made at a hearing held on
David Lloyd Law Office by David A. Lloyd for        March 21, 2013, the Court hereby GRANTS
Defendants Tony Jackson and Red Fox Properties,      [**2] Motion I, GRANTS in part and DENIES in
LLC.                                                part Motion II, and GRANTS Motion III.
                                                    I.


Judges: Murphy, Judge.                              PROCEDURAL HISTORY

                                                     [*2] On April 15, 2011, Plaintiffs filed their
                                                    Complaint in this action bringing claims against
                                                    Holbrooks, Home Realty, Tony Jackson
Opinion by: Murphy
                                                    ("Jackson"), and Red Fox Properties, LLC
                                                    ("Properties") for fraud, unfair and deceptive trade
   Case 1:19-md-02875-RMB-SAK              Document 522-3        Filed 07/17/20      Page 201 of 307
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                                 2014 NCBC 8, *2; 2014 NCBC LEXIS 8, **2


practices, conversion, rescission, accounting, and     no triable issues of material fact." Hyde Ins. Agency
recovery of assets and penalties related to a failed   v. Dixie Leasing, 26 N.C. App. 138, 142, 215 S.E.2d
venture to purchase a country club and golf course.    162, 165 (1975). Therefore, the Court recites only
                                                       those material facts that the Court concludes are not
 [*3] Subsequently, the case was designated a          disputed, and which justify entering judgment. Id.
complex business case, and assigned to this Court
on June 3, 2011.                                        [*9] Holbrooks is the owner and president of
                                                       Home Realty, a North Carolina corporation that
 [*4] On July 1, 2011, Defendants filed their          develops real estate. (Holbrooks [**4] Dep. 10:9-
Answer and Counterclaims alleging causes of            25, Apr. 10, 2012.) In 1992, Home Realty
action against Plaintiffs for breach of contract,      purchased Red Fox Country Club (the "Club"),
conversion/trespass to chattels, fraud, unfair and     which Holbrooks managed until 2009. (Holbrooks
deceptive trade practices, breach of fiduciary duty,   Dep. 14:23.)
constructive fraud, unjust enrichment, accounting,
and specific performance. On August 29, 2011,           [*10] In 1992, Defendants hired Jackson to work
Jackson and Properties filed their Amended Answer      at the Club, and thereafter, Jackson worked closely
and Counterclaims.                                     with Holbrooks. (Holbrooks Dep. 42:20-25.)

 [*5] Thereafter, on October 15, 2012, Defendants       [*11] During the summer of 2009, Jackson met
filed Motion I seeking summary judgment on all         Medvedev, a Russian businessman looking to settle
claims asserted against them in the Complaint. That    in North Carolina. (Medvedev Dep. 104:20-21,
same day, Plaintiffs filed Motion II seeking partial   Apr. 11, 2012.) Although Medvedev had no
summary judgment [**3] on all of Defendants'           experience with the Club, Jackson and Medvedev
counterclaims against Medvedev and Defendants'         agreed to pursue negotiations with Defendants to
counterclaims against Future for breach of fiduciary   purchase the Club. To do so, Medvedev and
duty, constructive fraud, unfair and deceptive trade   Jackson formed Future, a South Carolina limited
practices, punitive damages, and specific              liability company. (Pls.' Opp. Mot. I Ex. 11.)
performance. Plaintiffs also requested a cap on
Defendants' recovery for any award in excess of       [*12] On October 15, 2009, Jackson and
$650,000.                                            Medvedev signed the Operating Agreement for
                                                     Future. Pursuant to Article 5 of the Operating
 [*6] Simultaneously with Motion I, Defendants Agreement, in addition to becoming the initial
also filed a Motion III requesting the Court exclude managers of Future, Medvedev and Jackson also
the testimony of Plaintiffs' expert witness, John R. served as Chief Executive Officer and Chief
Markel, CPA ("Markel").                              Operating Officer, respectively. (Pls.' Opp. Mot. I
                                                     Ex. 11 §§ 5.1, 5.3.) The Operating Agreement also
 [*7] The parties briefed all three Motions, and the provided that each member would make an initial
Court held a hearing on March 21, 2013.              capital contribution — Medvedev agreed to
II.                                                  contribute $1,620,000 and Jackson agreed to
                                                     contribute [**5] $650,000. (Pls.' Opp. Mot. I Ex.
                                                     11 Ex. A.) By signing the Operating Agreement,
FACTUAL BACKGROUND
                                                     Medvedev and Jackson also acknowledged that
 [*8] On a motion for summary judgment under they were "capable of evaluating the merits and
Rule 56 of the North Carolina Rules of Civil risks of investment in [Future] . . . [, understood]
Procedure, the Court does not make findings of that investment in [Future] constitute[d] a
fact to resolve an issue of material fact. speculative investment . . . [, and] had opportunity
"[S]ummary judgment presupposes that there are to seek the advice of [their] own independent legal
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                                 2014 NCBC 8, *12; 2014 NCBC LEXIS 8, **5


counsel . . . ." (Pls.' Opp. Mot. I Ex. 11 § 3.7(e)     the [**7] Club's operations, pay all operating
(emphasis removed).)                                    expenses of the Club, and pay Defendants 5%
                                                        annually on the remaining purchase price, less the
 [*13] The parties negotiated and agreed that           nonrefundable deposits and the loan to Jackson.
Future would purchase the Club for $2,850,000,
and that $650,000 of the purchase price would be         [*15] Medvedev argues that Jackson convinced
financed by Defendants as a loan to Jackson.            him additional investors could be recruited to
(Compl. Ex. A § 2.) As part of the deal, the            contribute the remaining $580,000 needed to close
$650,000 loan to Jackson would also serve as            on the Club which would be combined with the
Jackson's initial capital contribution to Future.       $1,620,000 contributed by Medvedev and the
Although the loan was not secured, Jackson              $650,000 loan to Jackson. However, it appears that
testified that he agreed to procure a $650,000 life     only one other investor agreed to invest in the
insurance policy on his own life, payable to Home       project. And, without sufficient investors, Future
Realty in the event of his death. (Jackson Dep.         failed to close on October 15, 2009, and instead,
120:17-122:16, Apr. 11, 2012; Holbrooks Dep.            exercised its option to extend the closing date to
119:6-122:18.)                                          December 10, 2009.

 [*14] On August 29, 2009, to memorialize their          [*16] As contemplated in the Agreement, Future
agreement, Defendants and Future entered into the       thereafter took possession of the Club, began
Purchase Agreement (the "Agreement"). (Compl.           collecting its revenues, assumed the obligation to
Ex. A.) By the terms of the Agreement, Future           pay the operating expenses, and paid an additional
 [**6] committed to buy the Club and all associated     $100,000 deposit to Defendants. Both the original
property. The Agreement further provided that           $50,000 deposit and the new $100,000 deposit then
Jackson "delivered his Promissory Note to               became nonrefundable. (Compl. Ex. A § 5.)
[Defendants] to evidence" the loan between them,
and that "[t]he Promissory Note . . . will be free of    [*17] Despite the closing extension, Future
all claims by the Club or [Future]." (Compl. Ex. A      struggled to generate any new investors or
§ 2.) At closing, the $650,000 loan to Jackson          financing in time to close on the Club. As a result,
would be applied to the purchase price and the          Future requested an additional extension.
remaining $2,200,000 of the purchase price would        Defendants agreed, [**8] and the parties executed
become due. Prior to closing, however, Future           the Addendum to the Agreement (the
agreed to make an earnest money deposit of              "Addendum"), which extended the closing date to
$50,000, which the Agreement stipulated would be        April 1, 2010. (Compl. Ex. B.) As consideration,
refundable if the parties did not close by October      Future paid an additional $500,000 nonrefundable
15, 2009. If the parties did not close by that date,    deposit to Defendants that would be credited to the
the Agreement provided that Future could extend         balance of the purchase price at closing. Future
the closing date until no later than December 10,       would also continue to occupy and operate the
2009, upon payment of $100,000 as an additional         Club. (Compl. Ex. B.)
nonrefundable deposit and the initial deposit of         [*18] Despite this extension, Future again failed to
$50,000 would become nonrefundable. The                 close on April 1, 2010, but continued to occupy and
Agreement further specified that, once Future paid      run the Club. On May 10, 2010, Defendants sent a
the required deposit, Defendants could "do              letter to Jackson, Future's registered agent,
whatever [they chose]" with the money. (Compl.          notifying Future of the breach and of Defendants'
Ex. A § 5.) If Future opted to extend the closing       intention to terminate the Agreement and to retain
date under this provision, then it would also take      all the nonrefundable deposits "as liquidated
possession of the Club, receive all revenues from       damages" (the "Termination Letter"). (Compl. Ex.
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C.) Defendants also allege that Future neglected to   the Club, and the pleadings closed in this matter, it
pay all the Club's operating expenses while in        appears that one of the buildings on the property —
possession.                                           the clubhouse — burned down in a fire.

 [*19] Apparently, after the deal fell apart,         III.
Defendants allowed Jackson to continue operating
the Club and began negotiating a new deal with        LEGAL STANDARD
Jackson to purchase the Club without Plaintiffs'
involvement. (Holbrooks Dep. 52:5-25.) To             [*23] "The purpose of summary judgment is to
facilitate the deal, Jackson formed Properties, a    determine whether any issues of material fact exist,
new limited liability company. (Jackson Dep. 90:8-   and if not, eliminate the necessity of a full trial
25.) [**9] However, Defendants, Jackson, and         where only questions of law are involved."
Properties never consummated the new deal, and       Strickland v. Lawrence, 176 N.C. App. 656, 661,
Defendants ultimately listed the Club for sale at a  627 S.E.2d 301, 305 (2006) (citing Foster v.
price of $2,200,000. (Pls.' Supp. Mot. II Ex. N.)    Winston-Salem Joint Venture, 303 N.C. 636, 641-
                                                     42, 281 S.E.2d 36, 40 (1981)). Thus, the Court must
 [*20] Plaintiffs argue that Defendants and Jackson grant summary judgment "if the pleadings,
defrauded Medvedev into investing in the project, depositions, answers to interrogatories, and
and defrauded Future into entering the Agreement admissions on file, together with the affidavits, if
and Addendum and paying the nonrefundable any, show that there is no genuine issue as to any
deposits. Specifically, Plaintiffs allege that material fact and that any party is entitled to
Defendants and Jackson misrepresented that judgment as a matter of law." N.C. R. Civ. P. 56(c).
Jackson had borrowed $650,000 from Defendants
to be applied to the purchase of the Club when, in [*24] "The movant has the burden of establishing
fact, Defendants never intended to loan Jackson the the [**11] absence of any triable issues of fact."
money. Plaintiffs argue that Defendants always Strickland, 176 N.C. App. at 661, 627 S.E.2d at
intended the purchase price to be $2,200,000, not 305. This burden can be met in one of two ways:
$2,850,000, and that Defendants and Jackson used "(1) 'by proving an essential element of the
the phantom loan to convince Plaintiffs to make opposing party's claim does not exist, cannot be
investments in the project while also giving proven at trial, or would be barred by an affirmative
Jackson a stake in Future.                           defense'; or (2) 'by showing through discovery that
                                                     the opposing party cannot produce evidence to
 [*21] Defendants and Jackson refute these claims.
                                                     support an essential element of her claim.'" Id.
And, in response, Defendants allege that Plaintiffs:
                                                     (quoting Dobson v. Harris, 352 N.C. 77, 83, 530
(i) breached the Agreement by not closing on April
                                                     S.E.2d 829, 835 (2000)).
1, 2010; (ii) improperly retained proceeds from the
unauthorized sale of some 60 golf carts and from an [*25] In ruling on a summary judgment motion,
insurance payout after wind damage to property at the court must view the evidence in the light most
the Club; (iii) incurred [**10] unnecessary favorable to the nonmoving party. See Wilmington
expenses by leasing computer software and golf Star-News v. New Hanover Reg'l Med. Ctr., 125
carts; and (iv) left certain vendors unpaid. In his N.C. App. 174, 178, 480 S.E.2d 53, 55 (1997)
deposition, Jackson testified under oath that he (citation omitted).
handled all the deposits and oversaw the sale of the
                                                     IV.
golf carts. (Jackson Dep. 127:12-128:23, 134:25-
135:2, 137:10-13.)
                                                     ANALYSIS
 [*22] After Defendants took back possession of
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                                                         this scheme proved to be true, the record reveals no
                                                         injury resulting from these representations.
A.
                                                         Plaintiffs do not allege or put forward evidence that
                                                         Plaintiffs would have been in anyway liable for the
MOTION I                                                 $650,000 if Defendants did not loan Jackson
                                                          [**13] the money, nor do they argue that
1.                                                       Defendants would not have closed on the deal if the
                                                         loan fell through. Plaintiffs only contention is that
                                                         the alleged misrepresentations caused them to make
FRAUD (FUTURE AND MEDVEDEV)
                                                         significant investments and deposits, which were
[*26] To succeed on a claim for fraud, Plaintiffs        lost when the deal did not close.
must prove the following:                                 [*30] However, Plaintiffs do not dispute that they
     (1) material misrepresentation of a past or         negotiated and agreed to the $2,850,000 purchase
     existing fact; (2) the representation must be       price and the accompanying terms in the
     definite and specific; (3) made with knowledge      Agreement. Whether Defendants and Jackson
     of its falsity or in culpable ignorance of its      intended the loan to be real or not is irrelevant.
     truth; (4) that the misrepresentation was made      Indeed, even if Defendants simply discounted the
     with intention that it should be acted upon; (5)    purchase price by $650,000 as a gift to Jackson, the
     that the recipient of the misrepresentation         result would be the same — Plaintiffs would still
     reasonably [**12] relied upon it and acted          get the benefit of $650,000 off the purchase price of
     upon it; and (6) that there resulted in damage to   the Club. This would remain the case even if
     the injured party.                                  Defendants loaned Jackson the money, but
                                                         thereafter, Jackson failed to pay the loan or
Hudson-Cole Dev. Corp. v. Beemer, 132 N.C. App.          Defendants never collected the debt. In that
341, 346, 511 S.E.2d 309, 313 (1999) (quoting            scenario, Plaintiffs still get the benefit of the
Rosenthal v. Perkins, 42 N.C. App. 449, 451-52,          $650,000 paid towards the purchase of the Club.
257 S.E.2d 63, 65 (1979)).                               Any recourse on the loan would be between
                                                         Defendants and Jackson, given that the parties
 [*27] Furthermore, if the plaintiff could have          agreed Plaintiffs would have no liability for the
discovered the truth upon inquiry, then he must          debt.
show that "he was denied the opportunity to
investigate or that he could not have learned the         [*31] The Court does not find anything in the
true facts by exercise of reasonable diligence." Id.     record linking the representations [**14] regarding
(citation omitted).                                      the loan to Jackson to Plaintiffs' ultimate loss.
                                                         Based on the record, it appears that the sole cause
 [*28] Here, Plaintiffs argue that Defendants            of Plaintiffs' loss was the lack of sufficient
misrepresented their intent to loan Jackson              investors to close on the deal. Therefore, the Court
$650,000 towards the purchase of the Club.               concludes that no issues of material fact remain as
Plaintiffs' theory is that Defendants and Jackson        to whether the alleged misrepresentations caused
created this phantom loan to induce significant          any injury to Plaintiffs. As such, Plaintiffs' claim
investments and deposits from Plaintiffs and             for fraud fails as a matter of law.
provide Jackson a stake in Future, when in reality
the actual purchase price for the Club was                [*32] Accordingly, the Court GRANTS Motion I
$2,200,000, not $2,850,000.                              as to Plaintiffs' claims for fraud, and DISMISSES
                                                         these claims with prejudice.
[*29] The flaw in Plaintiffs' theory is that, even if
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2.                                                           harsh, oppressive, and one-sided terms of a
                                                             contract, i.e., inequality of the bargain. The
UNFAIR AND DECEPTIVE TRADE                                   inequality of the bargain, however, must be so
                                                             manifest as to shock the judgment of a person
PRACTICES (FUTURE AND MEDVEDEV)
                                                             of common sense, and . . . the terms [**16] . . .
 [*33] "In order to establish a prima facie claim for        so oppressive that no reasonable person would
unfair trade practices, a plaintiff must show: (1)           make them on the one hand, and no honest and
defendant committed an unfair or deceptive act or            fair person would accept them on the other.
practice, (2) the action in question was in or
affecting commerce, and (3) the act proximately Raper v. Oliver House, LLC, 180 N.C. App. 414,
caused injury to the plaintiff." Dalton v. Camp, 353 420, 637 S.E.2d 551, 555 (2006).
N.C. 647, 656, 548 S.E.2d 704, 711 (2001).              [*36] To support its claim of procedural
 [*34] Plaintiffs based their claim for unfair and unconscionability, Future appears to allege
deceptive practices on the same facts as their fraud fraudulent inducement, drawing on the same facts
claim. Having concluded that there is no genuine underlying the claim for fraud. The Court, however,
issue of material fact as to whether Defendants' dismissed Plaintiffs' claim for fraud given the lack
alleged acts proximately caused injury to Plaintiffs, of evidence linking the alleged misrepresentation to
the Court similarly concludes that [**15] Plaintiffs any injury suffered by Plaintiffs. Furthermore, the
have failed to establish an essential element of their Court finds no other evidence in the record
unfair trade practices claim. Accordingly, the Court demonstrating that Future was in some way denied
GRANTS Motion I as to Plaintiffs' claims for a meaningful choice in executing the Agreement.
unfair and deceptive trade practices, and Nonetheless, even if Future could rely on the
                                                       alleged misrepresentation to support procedural
DISMISSES these claims with prejudice.
                                                       unconscionability, there is no evidence of a
3.                                                     shocking inequality in the terms of the Agreement
                                                       or the Addendum to support substantive
RESCISSION (FUTURE)                                    unconscionability.

 [*35] Under its claim for rescission, Future seeks       [*37] This was a bargained-for exchange with
to    rescind     the    Agreement     based     on      benefits and risks on both sides. Once the parties
unconscionability. "To find unconscionability there      struggled to find investors, Future was free to
must be an absence of meaningful choice on [the]         withdraw from the Agreement and get the initial
part of one of the parties together with contract        deposit back. However, Future chose to proceed
terms which are unreasonably favorable to the            and extend the closing [**17] date, not once but
other." Martin v. Sheffer, 102 N.C. App. 802, 805,       twice. And, in return, Future got possession of the
403 S.E.2d 555, 557 (1991). In other words, the          Club and the benefit of the revenues produced by
party seeking to rescind an unconscionable contract      the Club's operation until Defendants ultimately
must show both procedural and substantive                terminated the deal. Simply because the deal ended
unconscionability.                                       badly for Future does not give the Court grounds to
                                                         rescind the contract. "People should be entitled to
     Procedural        unconscionability      involves   contract on their own terms without the indulgence
     'bargaining naughtiness' in the formation of the    of paternalism by courts in the alleviation of one
     contract, i.e., fraud, coercion, undue influence,   side or another from the effects of a bad bargain."
     misrepresentation,      inadequate    disclosure.   Blaylock Grading Co., LLP v. Smith, 189 N.C. App.
     Substantive unconscionability . . . involves the    508, 511, 658 S.E.2d 680, 682 (2008). Without any
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evidence to support unconscionability, the Court         freely do whatever they chose with the money after
concludes that no issues of fact remain on Future's      that point, regardless of Future's performance.
claim for rescission.                                    (Compl. Ex. A § 5.) Furthermore, the parties agreed
                                                          [**19] in the Addendum that the $500,000
 [*38] Accordingly, the Court GRANTS Motion I nonrefundable deposit constituted consideration for
as to Future's claim for rescission, and DISMISSES the additional extension, not an estimated amount
this claim with prejudice.                               of damage that Future would forfeit if it failed to
4.                                                       close. (Compl. Ex. B.) Nothing in the Agreement or
                                                         the Addendum conditions Defendants' retention of
                                                         the deposits on Future's breach nor restricts
RECOVERY OF PENALTY (FUTURE)
                                                         Defendants' ability to pursue other damages. A
 [*39] Under this claim, Future seeks to recover thorough review of the Agreement and the
the nonrefundable deposits paid to Defendants Addendum reveals that the nonrefundable deposits
pursuant to the Agreement and the Addendum. "did not serve as liquidated damages because it was
Specifically, Future argues that the deposits not set out in the contract[s] as the amount agreed
constitute unenforceable penalties under a upon which would serve as liquidated damages."
liquidated damages analysis.                             Chris v. Epstein, 113 N.C. App. 751, 757, 440
                                                         S.E.2d 581, 585 (1994). Therefore, the Court need
     Liquidated damages are a sum which a party to not engage in an analysis of whether the liquidated
     a contract agrees to pay or a deposit which he damages are unenforceable penalties because the
     agrees to [**18] forfeit, if he breaks some contracts do not contain a provision for liquidated
     promise, and which, having been arrived at by damages.1 As a result, Future's claim for recovery
     a good-faith effort to estimate in advance the of penalty fails as a matter of law.
     actual damage which would probably ensue
     from the breach, are legally recoverable or [*41] Accordingly, the Court hereby GRANTS
     retainable . . . if the breach occurs. A penalty is Motion I as to Future's claim for recovery of
     a sum which a party similarly agrees to pay or penalty, and DISMISSES the claim with prejudice.
     forfeit . . . but which is fixed, not as a pre- B.
     estimate of probable actual damages, but as a
     punishment, the threat of which is designed to
     prevent the breach, or as security . . . to insure MOTION II
     that the person injured shall collect his actual
     damages.                                            1.

Knutton v. Cofield, 273 N.C. 355, 361, 160 S.E.2d
29, 34 (1968) (quotation omitted and alteration        CAP ON RECOVERY
original). While a liquidated damages provision
                                                       [*42] In Motion II, Plaintiffs request summary
may be enforceable, courts will not impose a
penalty. Id.

 [*40] In this case, neither the Agreement nor the     1 This  remains the case despite Defendants use of the term
Addendum indicate that the nonrefundable deposits      "liquidated damages" in the Termination Letter. In construing a
                                                       contract, the Court looks to the four corners of the agreement to
were in any way intended to be liquidated damages.
                                                       determine the intent of the parties at the moment of execution.
The Agreement provides that the deposits became         [**20] Lane v. Scarborough, 284 N.C. 407, 409-10, 200 S.E.2d 622,
nonrefundable upon Future's exercise of its option     624 (1973). Therefore, the Court is not swayed by the language in
to extend the closing, and that Defendants could       the Termination Letter, which was not part of either the Agreement
                                                       or the Addendum and was sent months after execution.
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judgment on all of Defendants' claims to the extent       S.E. 896, 906 (1931)) (quotation omitted and
that Defendants seek recovery in excess of                alteration original).
$650,000. Specifically, Plaintiffs argue that the
nonrefundable deposits totaling $650,000 are the           [*44] "Although our courts have broadly defined
maximum amount that Defendants can recover                 [**22] fiduciary relationships, no such relationship
because the deposits constituted either liquidated        arises absent the existence of dominion and control
damages or unenforceable penalties under the              by one party over another." Kaplan v. O.K. Techs.,
Agreement and the Addendum. However, the Court            LLC, 196 N.C. App. 469, 474, 675 S.E.2d 133, 137
has already determined that the provisions in the         (2009). Thus, special circumstances must exist such
Agreement and the Addendum for nonrefundable              that "one party figuratively holds all the cards . . . ."
deposits did not represent liquidated damages. As         Id. at 475, 675 S.E.2d at 138 (quoting Broussard v.
such, Plaintiffs' argument for a cap on damages           Meineke Discount Muffler Shops, Inc., 155 F.3d
fails for the same reasons. Therefore, the Court          331, 348 (4th Cir. 1998)). However, "[g]enerally,
hereby DENIES Motion II as to Plaintiffs request          the existence of such a relationship is determined
for a cap on Defendants' recoverable damages.             by specific facts and circumstances, and is thus a
                                                          question of fact for the jury." Stamm v. Salomon,
2.
                                                          144 N.C. App. 672, 680, 551 S.E.2d 152, 158
                                                          (2001).
BREACH OF FIDUCIARY DUTY AND
CONSTRUCTIVE [**21] FRAUD AGAINST                          [*45] Defendants argue that Future owed them a
FUTURE                                                    fiduciary duty by virtue of Future's possession of
                                                          the Club. Indeed, it appears from the record that the
 [*43] Plaintiffs argue that they are entitled to         Agreement entitled Future to possession of the
summary judgment on Defendants' claims against            Club and control of its operations upon the exercise
Future for breach of fiduciary duty and constructive      of Future's option to extend the closing deadline,
fraud because no fiduciary duty exists between            and that Future in fact operated the Club from
Future and Defendants. The existence of a fiduciary       October 2009 until May 2010. Arguably, this put
relationship is an essential element of both a claim      Future in a position of domination and control
for breach of fiduciary duty and a claim for              because there was no guarantee that the deal would
constructive fraud. See Dalton v. Camp, 353 N.C.          close. In that situation, the Club would be returned
647, 651, 548 S.E.2d 704, 707 (2001); Terry v.             [**23] to Defendants in whatever condition Future
Terry, 302 N.C. 77, 83, 273 S.E.2d 674, 677 (1981).       left it. Thus, Defendants argue that they were at
     Such a relationship has been broadly defined         Future's mercy after entrusting Future with the
     by [the North Carolina Supreme Court] as one         operation of the Club.
     in which 'there has been a special confidence
                                                    [*46] On the other hand, as Future points out, this
     reposed in one who in equity and good
                                                   was the deal reached between the parties, and "a
     conscience is bound to act in good faith and
                                                   fiduciary relationship will not exist between parties
     with due regard to the interests of the one
                                                   in equal bargaining positions dealing at arm's
     reposing confidence . . ., [and] it extends to any
                                                   length, even though they are mutually
     possible case in which a fiduciary relationship
                                                   interdependent businesses." Strickland v. Lawrence,
     exists in fact, and in which there is confidence
                                                   176 N.C. App. 656, 662, 627 S.E.2d 301, 306
     reposed on one side, and resulting domination
                                                   (2006). However, unlike the case in Strickland, it
     and influence on the other.'
                                                   does not appear that Defendants maintained an
Dalton, 353 N.C. at 651-52, 548 S.E.2d at 707-08 active role in the day-to-day management of the
(quoting Abbitt v. Gregory, 201 N.C. 577, 598, 160 Club during Future's time at the helm. As such, the
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Court concludes that there are material questions of    judgment on Defendants' breach of fiduciary duty
fact left to be resolved regarding the existence of a   and constructive fraud claims against Future.
fiduciary relationship between Defendants and           Therefore, the Court similarly concludes that
Future, and therefore, Defendants' claims for           Future is not entitled to summary judgment on the
breach of fiduciary duty and constructive fraud         unfair and deceptive practices and punitive
against Future should survive at this stage.            damages claims to the extent they are based on the
                                                        underlying claims of breach of fiduciary duty and
 [*47] Accordingly, the Court hereby DENIES             constructive fraud.
Motion II as to Defendants' claims for breach of
fiduciary duty and constructive fraud against            [*51] Accordingly, the Court hereby DENIES
Future.                                                 Motion II as to Defendants' claims against Future
                                                        for unfair and deceptive practices and punitive
3.
                                                        damages.
                                                        4.
UNFAIR AND DECEPTIVE PRACTICES AND
PUNITIVE DAMAGES AGAINST FUTURE
                                                        SPECIFIC PERFORMANCE AGAINST FUTURE
 [*48] Plaintiffs' [**24] sole basis for summary
judgment on Defendants' claims for unfair and           [*52] Regarding specific performance, the North
deceptive practices and punitive damages against        Carolina Supreme Court has stated:
Future rests on their theory that these claims should      The remedy of specific performance is
fall with the breach of fiduciary duty and                 available to compel a party to do precisely what
constructive fraud claims.                                 he ought to have done without being coerced
                                                           by the court. The party claiming the right to
 [*49] Although Defendants partially base their            specific performance must show the existence
unfair and deceptive practices and punitive                of a valid contract, its terms, and either full
damages claims on the underlying breach of                 performance on his part or that he is ready,
fiduciary duty and constructive fraud, Defendants          willing and able to perform.
also rely on their claims for conversion, trespass to
chattels, and fraud. Because Plaintiffs have not        Munchak Corp. v. Caldwell, 301 N.C. 689, 694,
moved for summary judgment on the underlying            273 S.E.2d 281, 285 (1981) (internal quotation and
claims for conversion, trespass to chattels, and        citations omitted). Although specific performance
fraud against Future, these claims survive and can      is an extraordinary [**26] equitable remedy,
support the claims for unfair and deceptive             "[w]here land is the subject matter of the parties'
practices and punitive damages. Bhatti v. Buckland,     agreement, the vendor, like the purchaser, may seek
328 N.C. 240, 243, 400 S.E.2d 440, 442 (1991)           specific performance without showing the
("Proof of fraud would necessarily constitute a         inadequacy of a legal remedy." Deans v. Layton, 89
violation of the prohibition against unfair and         N.C. App. 358, 371, 366 S.E.2d 560, 568 (1988).
deceptive acts . . . ."); N.C. GEN. STAT. § 1D-15
(2013) ("Punitive damages may be awarded . . . if        [*53] Future argues that Defendants cannot seek
the claimant proves that the defendant is liable for    specific performance of the Agreement and the
compensatory damages and that one of the                Addendum because Defendants are not able to fully
following aggravating factors was present . . . : (1)   perform. Specifically, because the clubhouse
Fraud. (2) Malice. (3) Willful or wanton conduct.").    burned down in a fire, Future argues that
                                                        Defendants cannot uphold their end of the bargain
 [*50] [**25] Furthermore, the Court concluded          under the Agreement, and therefore, Future should
that some evidence exists to withstand summary          not be forced to perform either.
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 [*54] "When the vendor's . . . estate is different         Even though the contract has not been completed,
from that which he agreed to convey, . . . it is plain      the particular facts in this case, like in Sutton, leave
that the contract cannot be specifically performed,         the door open for the Court to grant specific
according to its exact terms, at the suit of either         performance to Defendants in its discretion.
party." Sutton v. Davis, 143 N.C. 474, 480, 55 S.E.         Therefore, the Court will not foreclose this avenue
844, 845 (1906). Nonetheless, a court in equity may         of recovery for Defendants' claim at this stage.
still compel a conveyance, with pecuniary
compensation to the purchaser for the deficiency, as         [*57] Accordingly, the Court hereby DENIES
long as the defects do not materially change the            Motion II as to Defendants' request for specific
nature of the entire agreement. Taylor v. Bailey, 49        performance from Future.
N.C. App. 216, 220, 271 S.E.2d 296, 299 (1980)              5.
(quotation and citation omitted); [**27] see also
Nugent v. Beckham, 37 N.C. App. 557, 561, 246
                                                            CLAIMS AGAINST MEDVEDEV
S.E.2d 541, 545 (1978). This doctrine may apply
with equal force in cases where the defect arises     [*58] Plaintiffs argue that summary judgment is
after the time of contract, such as when a fire      appropriate on all of Defendants' counterclaims
destroys a building on the property. See Sutton, 143 against Medvedev because Medvedev did not
N.C. at 483-85, 55 S.E. at 846-47.                   actively participate in the alleged acts and cannot
                                                     be held personally liable for Future's
 [*55] In Sutton, the North Carolina Supreme
                                                      [**29] wrongs.
Court recited the general principle that, "when
property is destroyed by fire, the loss will fall on [*59] As the name implies, one of the defining
him who is the owner at the time." Id. at 483, 55 characteristics of a limited liability company is
S.E. at 846. And, where there is an absolute and limited liability for its members from harm caused
binding contract for the sale of real estate, the by the company. See S.C. CODE ANN. § 33-44-303
purchaser will be considered the equitable owner of (2013).2 Thus, merely participating as a member or
the property. Id. Thus, "if the premises are manager of a limited liability company will not
consumed by fire subsequently to the sale, . . . the suffice to hold the member personally liable for
loss will fall on the purchaser, who can neither harm caused by the company. 16 Jade St., LLC v.
make the deterioration a ground for refusing to R. Design Constr. Co., LLC, 398 S.C. 338, 346, 728
accept a conveyance nor rely on it as a defense to S.E.2d 448, 452 (2012); see also Spaulding v.
an action brought for the purchase-money." Id. at Honeywell Int'l, Inc., 184 N.C. App. 317, 322, 646
484, 55 S.E. at 847. Although the contract in Sutton S.E.2d 645, 649 (2007). Nonetheless, a member of
had [**28] not been completed, the court still a limited liability company remains individually
found that the circumstances warranted applying liable for his or her own torts, even though
the principle to grant specific performance where committed while acting on behalf of the company.
the purchaser had taken possession of the property See 16 Jade St., LLC, 398 S.C. at 349, 728 S.E.2d
and enjoyed the benefits of ownership.               at 454; see also White v. Collins Bldg., Inc., 209
                                                     N.C. App. 48, 51, 704 S.E.2d 307, 310 (2011). "In
 [*56] Here, there is no evidence indicating that addition, a member of a limited liability company,
Defendants are incapable of performing their like shareholders and directors of corporations, may
obligations under the Agreement and the be held individually liable for the company's
Addendum with the exception of the destroyed
clubhouse. Further, Defendants concede that any
insurance proceeds received after the fire could be 2 Future was incorporated as a limited liability company under the
accounted for as an offset to the purchase price. laws of South Carolina. Thus, the Court will look to the Uniform
                                                            Limited Liability Company Act, as enacted in South Carolina.
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obligations through the doctrine of piercing the                              [**32] instrumentality or alter ego of the sole
corporate veil." Estate of Hurst v. Moorehead I,                             or dominant shareholder and a shield for his
LLC, 748 S.E.2d 568, 573 (2013); see also Drury                              activities in violation of the declared public
Dev. Corp. v. Foundation Ins. Co., 380 S.C. 97, 668                          policy or statute of the State.
S.E.2d 798 (2008).3 [**30] 4
                                                                         Estate of Hurst, 748 S.E.2d at 573-74 (internal
 [*60] "It is well recognized that courts will                           quotations and alterations omitted).
disregard the corporate form or 'pierce the
corporate veil,' and extend liability for corporate [*62] To prevail under this theory, a party must
obligations beyond the confines of a corporation's allege and prove three elements:
separate entity, whenever necessary to prevent         (1) Control, not mere majority or complete
fraud or to achieve equity." Glenn v. Wagner, 313      stock control, but complete domination, . . . so
N.C. 450, 454, 329 S.E.2d 326, 330 (1985); see also    that the corporate entity as to this transaction
Drury Dev. Corp., 380 S.C. at 101, 668 S.E.2d at       had at the time no separate mind, will or
800. To apply this doctrine, courts in both North      existence of its own; and
Carolina and South Carolina require allegations and    (2) Such control must have been used by the
proof of various similar elements. See Glenn, 313      defendant to commit fraud or wrong, to
N.C. at 454-55, 329 S.E.2d at 330-31; Sturkie v.       perpetrate the violation of a statutory or other
Sifly, 280 S.C. 453, 457-59, 313 S.E.2d 316, 318       positive legal duty, or a dishonest and unjust
(Ct. App. 1984).                                       act in contravention of plaintiff's legal rights;
 [*61] Courts in North Carolina employ the             and
"instrumentality rule" to pierce the corporate veil:                         (3) The aforesaid control and breach of duty
     The instrumentality rule allows for the                                 must proximately cause the injury or unjust
     corporate form to be disregarded if the                                 loss complained of.
     corporation is so operated that it is a mere
                                                                         Glenn, 313 N.C. at 454-55, 329 S.E.2d at 330
                                                                         (quoting B-W Acceptance Corp. v. Spencer, 268
3 Because
                                                                         N.C. 1, 9, 149 S.E.2d 570, 576 (1966)).
           Defendants would have the Court pierce the veil of a
South Carolina limited liability company, the Court must consider
choice of law implications. North Carolina courts have not resolved       [*63] In considering whether to pierce the
which state's law applies to determine whether to pierce the veil of     corporate veil, courts have looked to several factors
an out-of-state company. Strategic Outsourcing, Inc. v. Stacks, 176      including      inadequate     capitalization,   non-
N.C. App. 247, 252-53, 625 S.E.2d 800, 804 (2006). At least one
                                                                         compliance with corporate formalities, complete
federal court applying North Carolina law concluded that, if faced
with the issue, the North Carolina Supreme Court "would adopt the        domination and control [**33] of the corporation
internal affairs doctrine and apply the law of the state of              so that it has no independent identity, and excessive
incorporation." Dassault Falcon Jet Corp. v. Oberflex, Inc., 909         fragmentation of a single enterprise into separate
F.Supp. 345, 349 (M.D.N.C. 1995). However, the issue remains
                                                                         corporations. See Glenn, 313 N.C. at 455, 329
unsettled. Because the Court would reach the same conclusion under
the law of either North Carolina or South Carolina, the Court need       S.E.2d at 330-31.
not reach a determination on the choice of law issue at this stage.
                                                                          [*64] In South Carolina, courts use a two-pronged
4 The Court notes that South Carolina has not expressly applied the      test to determine whether the corporate entity
doctrine of piercing the [**31] corporate veil to limited liability      should be disregarded.
companies. Although this adoption of corporate law seems likely,
see 16 Jade St., LLC, 398 S.C. at 348, 728 S.E.2d at 453 (reciting the       The first part of the test, an eight-factor
courts' preference for applying corporate law principles to limited
liability companies), the resolution of this issue would not change
                                                                             analysis, looks to observance of the corporate
the outcome of this Motion.                                                  formalities by the dominant shareholders. The
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     second part requires that there be an element of                      [*66] Even though the doctrine of piercing the
     injustice or fundamental unfairness if the acts                      corporate veil may not apply, Medvedev could be
     of the corporation be not regarded as the acts of                    held liable for any torts he committed personally.
     the individuals.                                                     See White, 209 N.C. App. at 51-53, 704 S.E.2d at
                                                                          310-11 (reciting established law that a party is
Sturkie, 280 S.C. at 457-58, 313 S.E.2d at 318.                           personally liable for torts in which he actively
                                                                          participated even though he was acting on behalf of
 [*65] Although Defendants appear to argue in                             the company). As such, each counterclaim must be
their brief opposing Motion II that the Court should
                                                                          addressed in turn.
pierce Future's veil to hold Medvedev personally
liable, no such theory appears anywhere in the                             [*67] First, as to the breach of contract and
Answer and Counterclaims. Indeed, Defendants                              specific performance claims, it is not evident from
failed to bring forth any allegations related to the                      the pleadings whether Defendants intended to assert
elements of piercing the corporate veil or the                            these claims against Medvedev individually.
factors courts consider under either state's law. As a                    However, the parties do not dispute that Medvedev
result, it does not appear that Medvedev had an                           was not a party to either the Agreement or the
adequate opportunity to respond to these new                              Addendum. Thus, Medvedev cannot be held
allegations through the pleadings or discovery. If                        individually liable for any breach thereof.6
Defendants learned [**34] additional facts through
discovery that supported piercing the corporate                            [*68] Defendants' second [**36] counterclaim
veil, they could have moved to amend their                                alleges conversion, trespass to chattels, fraud, and
pleading to add this theory of individual liability.                      unfair and deceptive practices based on the
Courts liberally allow motions to amend for this                          retention of proceeds from the sale of certain golf
very reason. However, Defendants never filed such                         carts and the insurance payout from wind damage.
a motion in this case. "[P]iercing the corporate veil                     However, as Jackson testified in his deposition,
is a drastic remedy and should be invoked only in                         Jackson handled the sale of the golf carts and dealt
an extreme case where necessary to serve the ends                         with all the deposits from the insurance payout.
of justice." Best Cartage, Inc. v. Stonewall                              (Jackson Dep. 127:12-128:23, 134:25-135:2,
Packaging, LLC, 727 S.E.2d 291, 300 (2012)                                137:10-13, Apr. 11, 2012.) Indeed, Jackson
(internal quotations and citation omitted); see also                      testified that Medvedev only "reluctantly went
Drury Dev. Corp., 380 S.C. at 101, 668 S.E.2d at                          along with [the sale of the golf carts]." (Jackson
800. In light of the facts presented and the dearth of                    Dep. 128:16.) Nothing in the record refutes this
allegations to support piercing the corporate veil,                       division of responsibilities between Jackson and
the Court will not permit Defendants' claims                              Medvedev in Future's operation, or indicates active
against Medvedev to survive under this doctrine.5                         participation by Medvedev in the alleged
                                                                          wrongdoing.

                                                                           [*69] Similarly, as to the counterclaim for unjust
5 Defendants argue that Medvedev should be estopped from raising
                                                                          enrichment, Defendants merely lump Medvedev in
the veil of limited liability as a defense to the counterclaims against
                                                                          with Future as having committed the wrongful acts,
him because Medvedev alleged individual claims against Defendants         but again fail to argue how and to what extent
in the Complaint. However, these claims arguably alleged individual       Medvedev personally participated in the specific
harm to Medvedev rather than solely derivative harm through Future.
Although the Court dismissed Medvedev's individual [**35] claims
above, the Court does not conclude that Medvedev cast down the
veil of limited liability simply by asserting claims against              6 The Court also notes that Defendants brought a counterclaim for

Defendants for damage incurred both to Future and to Medvedev             accounting against Future. This relief is sought solely from Future
individually.                                                             rather than Medvedev individually, and thus, is not relevant here.
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acts. Although the record arguably reveals                                fiduciary duty. See Dalton v. Camp, 353 N.C. 647,
knowledge of the alleged acts, Medvedev's passive                         651, 548 S.E.2d 704, 707 (2001). Here, it appears
awareness of Jackson and Future's actions hardly                          Defendants argue that Medvedev owed them a
constitutes active participation. See Oberlin                             fiduciary duty based on his position as a member-
Capital, LP v. Slavin, 147 N.C. App. 52, 57, 554                          manager of Future during the period of time that
S.E.2d 840, 845 (2001) [**37] (dismissing claims                          Defendants entrusted Future with the operation
against directors where the complaint alleged                              [**39] of the Club.
generally that the directors were fully informed
about the wrongdoing and participated in                                   [*71] However, generally, the duties and liabilities
concealing it but did not allege active                                   of managers and officers "run directly to the
participation). Additionally, Defendants cannot rely                      [company] and indirectly to its shareholders; they
simply on Medvedev's role as Future's Chief                               do not run to third parties . . . ." Kaplan v. O.K.
Executive Officer to support active participation.                        Techs., LLC, 196 N.C. App. 469, 476, 675 S.E.2d
See 16 Jade St., LLC, 398 S.C. at 345-48, 728                             133, 139 (2009) (quoting Oberlin Capital, LP, 147
S.E.2d at 452-53 (concluding that the manager of a                        N.C. App. at 57, 554 S.E.2d at 845). Furthermore,
South Carolina limited liability company, like an                         the record fails to reveal any sort of confidence
officer of a corporation, cannot be held personally                       reposed personally in Medvedev outside of his
liable solely based on his role as a manager); see                        position with Future. Given their personal history,
also Spaulding, 184 N.C. App. at 322, 646 S.E.2d                          Defendants dealt mostly with Jackson over the
at 649 (stating that mere participation as a member,                      course of their relationship with Future. And, the
manager, director, or executive is insufficient to                        only evidence of Medvedev's dominance over
hold a member independently liable). In the                               Defendants is his role as the Chief Executive
absence of any evidence demonstrating Medvedev's                          Officer of Future, which confines his duties to
active role in the allegedly tortious acts, the Court                     Future rather than Defendants as third parties.
concludes that no issues of material fact remain as                       Without more, the Court will not impose a
to Medvedev's personal liability for these                                fiduciary duty on Medvedev individually to hold
counterclaims.7                                                           him personally liable for breach of fiduciary duty,
                                                                          constructive fraud, or the related unfair and
 [*70]    Regarding the third counterclaim,                               deceptive acts claim, and thus, these claims fail as a
Defendants allege breach of fiduciary duty,                               matter of law.
constructive fraud, and unfair and deceptive acts
against both Future and Medvedev. As discussed                             [*72] Wherefore, the Court concludes that no
above, claims for breach of fiduciary duty and                            genuine issues of material fact remain as to the
constructive fraud hinge on the existence of a                            counterclaims brought individually against
                                                                          Medvedev. Accordingly, the [**40] Court hereby
                                                                          GRANTS Motion II as to these claims, and
7 Regarding the unjust enrichment claim, the Court also notes that the
                                                                          DISMISSES all claims against Medvedev with
alleged benefits were conferred on Future not Medvedev. Defendants
                                                                          prejudice.
allege that Plaintiffs unjustly received the Club's revenue, [**38] the
proceeds from the sale of golf carts, the proceeds from the insurance     C.
payout, and the benefit of goods and services provided by vendors
that went unpaid. However, it does not appear in the record that any
of these benefits flowed directly to Medvedev, rather all the various     MOTION III
proceeds and revenue were deposited in Future's accounts. Thus,
even if Medvedev had actively participated in the wrongdoing,
                                                                           [*73] Pursuant to Rule 702 of the North Carolina
Defendants' unjust enrichment claim would likely still fail. See Booe
v. Shadrick, 322 N.C. 567, 570, 369 S.E.2d 554, 556 (1988) ("In           Rules of Evidence, "a witness qualified as an expert
order to establish a claim for unjust enrichment, a party must have       . . . may testify . . . in the form of an opinion, or
conferred a benefit on the other party.")
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otherwise, if all of the following apply:"                but never offers that checklist for review or clarifies
    (1) The testimony is based upon sufficient facts      what is on the list. (Markel Dep. 51:17-53:22, Aug.
    or data.                                              17, 2012.)
    (2) The testimony is the product of reliable
    principles and methods.                                [*77] Markel's methodology becomes even
    (3) The witness has applied the principles and        murkier on the remaining opinions. [**42] As to
    methods reliably to the facts of the case.            those opinions, Markel asserts that the reasonable
                                                          damages estimate would have been much lower
N.C. R. Evid. 702.                                        than $150,000, and that the deposits were clearly
                                                          disproportionate to that amount, suggesting they
 [*74] The North Carolina Supreme Court outlined          were intended as a disincentive to breach or to
"a three-step inquiry for evaluating the                  insure that damages were covered. However, in his
admissibility of expert testimony: (1) Is the expert's    deposition, Markel admitted that he did not perform
proffered method of proof sufficiently reliable as an     any calculation to reach the $150,000 amount.
area for expert testimony? (2) Is the witness             (Markel Dep. 148:16-24, Aug. 17, 2012.) Indeed,
testifying at trial qualified as an expert in that area   Markel continually stated that he relied solely on
of testimony? (3) Is the expert's testimony               his experience to reach these conclusions, and
relevant?" Howerton v. Arai Helmet, Ltd., 358 N.C.        could not refer to any specific methodology or
440, 458, 597 S.E.2d 674, 686 (2004) (citation            practice other than background material.
omitted). Therefore, under the first inquiry, the
Court must assess the reliability of the expert's          [*78] Given Markel's responses, it appears that he
proffered methodology to determine admissibility.         relied more on a subjective review of the case
                                                          rather than any objective methodology. And if such
 [*75] Here, however, neither Plaintiffs nor their        an objective methodology was employed, Markel
proffered expert, Markel, [**41] put forward any          failed to identify that methodology for the Court
clear methodology that Markel utilized in reaching        and opposing counsel to review. Without any
his opinions. Plaintiffs argue that, because Markel       method of proof, the Court is left to speculate about
was not asked to make any definitive calculations         Markel's reliability as an expert witness, which this
as to damages, no such methodology is required to         Court is not inclined to do. Therefore, the Court
assess the reliability of his testimony. The Court        concludes that Markel's expert testimony is not
disagrees. To allow Markel to testify as an expert,       admissible.
the Court must have some objective methodology
to examine for reliability. Otherwise, the parties        [*79] Accordingly, the Court hereby GRANTS
would be free to elicit subjective views of the case      Motion III.
from witnesses cloaked as experts.                        V.
 [*76] Furthermore, as to the opinions proffered by
Markel, some methodology appears inherent in his          CONCLUSION
conclusions. Specifically, Markel first opines that,
                                                           [*80] Based on [**43] the above, the Court
because he could not find any uncertainties, the
                                                          hereby GRANTS Motion I, GRANTS in part and
parties could have reasonably estimated damages
                                                          DENIES in part Motion II, and GRANTS Motion
resulting from breach at the time they entered into
                                                          III. Wherefore, the Court DISMISSES with
the contract. However, Markel never fully identifies
                                                          prejudice Future's claims against Defendants for
in his opinion or in his deposition how he reached
                                                          fraud, unfair and deceptive practices, rescission,
this determination. Upon direct questioning, Markel
                                                          and recovery of penalty; Medvedev's claims against
stated that he relied on a unique, personal checklist,
                                                          Defendants for fraud and unfair and deceptive acts;
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and all of Defendants' counterclaims against
Medvedev.

SO ORDERED, this the 24th day of March, 2014.


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                         Tab 25
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                                                                 Oxbow, and awarded Oxbow costs and expert witness fees.
                                                                 We reverse the district court’s grant of summary judgment on
                 419 P.3d 702 (Table)
                                                                 the Association’s negligence claim and the award of costs and
               Unpublished Disposition
                                                                 expert fees, affirm summary judgment on the Association’s
 This is an unpublished disposition. See Nevada Rules
                                                                 breach of express warranty and breach of implied warranty
   of Appellate Procedure, Rule 36(c) before citing.
                                                                 claims, and remand for further proceedings consistent with
              Supreme Court of Nevada.
                                                                 this order.
          The REGENT AT TOWN CENTRE
         HOMEOWNERS’ ASSOCIATION, a                              We review a grant of summary judgment de novo. Wood
      Nevada non-profit corporation, Appellant,                  v. Safeway, Inc., 121 Nev. 724, 729, 121 P.3d 1026, 1029
                                                                 (2005). Summary judgment is appropriate if the pleadings and
                           v.
                                                                 other evidence on file, viewed in the light most favorable to
      OXBOW CONSTRUCTION, LLC, a Nevada
                                                                 the nonmoving party, demonstrate that no genuine issue of
       limited liability company, Respondent.
                                                                 material fact remains in dispute and that the moving party is
             The Regent at Town Centre                           entitled to judgment as a matter of law. Id. Further, we review
         Homeowners’ Association, a Nevada                       “questions of statutory interpretation, such as interpretation of
          non-profit corporation, Appellant,                     NRS Chapter 40, de novo.” Westpark Owners’ Ass’n v. Eighth
                           v.                                    Judicial Dist. Court, 123 Nev. 349, 357, 167 P.3d 421, 426–
           Oxbow Construction, LLC, a Nevada                     27 (2007).
         limited liability company, Respondent.

                    No. 69777, No. 70296                         Negligence
                              |                                  The Association brought a negligence claim under NRS
                    FILED MAY 24, 2018                           Chapter 40, which recognizes liability for general contractors
                                                                 who are responsible for construction defects in a new
Attorneys and Law Firms                                          residence. See NRS 40.640. In Oxbow Construction, LLC v.
                                                                 Eighth Judicial District Court, 130 Nev., Adv. Op. 86, 335
Fenton Grant Mayfield Kaneda & Litt, LLP
                                                                 P.3d 1234, 1242 (2014) (Oxbow I ), this court recognized that
Koeller Nebeker Carlson & Haluck, LLP/Las Vegas                  the Association can pursue a construction defect claim for
                                                                 negligence on behalf of itself and individual unit owners for
                                                                 “construction defects in limited common elements assigned to
                                                                 multiple units in a common building, [as long as] the building
            ORDER AFFIRMING IN PART,
                                                                 in question contains at least one unit that is a ‘new residence.’
        REVERSING IN PART AND REMANDING
                                                                 ”
 *1 These are consolidated appeals from a district court
grant of summary judgment and post-judgment award of             However, under NRS 40.640(5), a construction defect claim
costs in a construction defect action between a homeowners’      is waived if the defect was disclosed prior to the owner’s
association and the general contractor of the property. Eighth   purchase of the property and “the disclosure was provided in
Judicial District Court, Clark County; Jerry A. Wiese, Judge.    language that is understandable and was written in underlined
                                                                 and boldfaced type with capital letters.” A disclaimer that uses
Appellant, The Regent at Town Centre Homeowners’                 vague language or merely states “that certain defects ‘may’
Association (Association), brought claims against respondent     exist and list[s] a number of potential defects” is not a valid
Oxbow Construction LLC for breach of express warranty,           disclosure. Westpark Owners’ Association, 123 Nev. at 361
breach of implied warranty, and negligence relating to           n.37, 167 P.3d at 429 n.37.
the construction of The Regent at Town Centre (Town
Centre). Oxbow argued, and the district court agreed, that no    Here, there are three agreements that purport to disclaim
warranties existed between Oxbow and the Association and         Oxbow’s liability and/or waive the Association’s claim: (1)
that various agreements waived the Association’s claims. As      the purchase and sale agreement between El Capitan and
such, the district court granted summary judgment in favor of    Regent II; (2) the individual purchase and sale agreements
                                                                 between Regent II and individual unit owners; and (3)


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the Declaration of Covenants, Conditions, and Restrictions         also NRS 116.2105(2) (“The declaration may contain any
(CC&Rs) for Town Centre. The individual purchase                   other matters the declarant considers appropriate.”). Oxbow,
agreements and the CC&Rs reference and incorporate the             as a third-party beneficiary of the CC&Rs, has standing
Swainston Report and its list of defects.                          to enforce any waivers included in the CC&Rs. See 20
                                                                   Am. Jur. 2d Covenants, Conditions & Restrictions § 46
 *2 We need not address whether the purchase and sale              (2015) (“[N]onparties to a transaction may nevertheless be
agreement between El Capitan and Regent II is binding on the       the intended beneficiary of a covenant and thereby gain
Association, as it does not meet the requirements for waiver       standing to enforce it.”) (footnote omitted). And although
under NRS 40.640(5). The purchase and sale agreement               the CC&Rs do not include a disclosure of specific defects,
between El Capitan and Regent II is in regular typeface, and       they do incorporate the Swainston Report by reference. See
uses general language rather than specifically disclosing any      PaineWebber Inc. v. Bybyk, 81 F.3d 1193, 1201 (2nd Cir.
defects at Town Centre. Similarly, the individual purchase         1996) (“[A] paper referred to in a written instrument and
agreements between Regent II and the individual unit owners        sufficiently described may be made a part of the instrument as
do not meet the content requirement of NRS 40.640(5).              if incorporated into the body of it.”) (quoting Jones v. Cunard
Although the individual purchase agreements purport to             S.S. Co., 263 N.Y.S. 769, 771 (App. Div. 1933) ).
disclose the “Current Conditions of Property” that “may
include, but are not limited to such conditions as” and then       El Capitan and Regent II enlisted the Swainston Consulting
lists a variety of defects, this language is nearly identical to   Group to do an analysis of Town Centre for construction
a disclaimer previously held insufficient under NRS Chapter        defects, and Swainston issued a report concluding that there
40, See Westpark, 123 Nev. at 361 n.37, 167 P.3d at 429            were various defects and violations at the property. The
n.37 (“Here, the waivers did not disclose any constructional       Swainston Report was issued prior to Regent II’s purchase
defects; they stated only that certain defects ‘may’ exist and     of Town Centre, and before the creation of the Association
listed a number of potential defects. This vague language          through the CC&Rs. The Swainston Report affirmatively
was not sufficient to waive any claims pursuant to NRS             concludes that there are various defects at Town Centre:
Chapter 40.”). Therefore, the purchase and sale agreement for
Town Centre, as well as the individual unit owner’s purchase
agreements, 1 do not meet NRS 40.640(5)’s requirements and                     The Regent at Town Cent[re] project
cannot waive the Association’s negligence claim under NRS                      was designed and constructed as
Chapter 40.                                                                    an apartment project in general
                                                                               conformance with the standard of the
1                                                                              industry that was in place at the time of
       The disclaimer in the main text of the individual
                                                                               original construction. Many technical
       purchase agreements is invalid under NRS
                                                                               deviations exist between the as-built
       40.640(5). However, the individual purchase
                                                                               condition and the requirements of the
       agreements incorporate the Swainston Report
                                                                               building codes and other applicable
       through an addendum, which does adequately
                                                                               standards. While these deviations
       disclaim various defects at Town Centre. But,
                                                                               typically represent technical defects
       because the Association has represented that it is
                                                                               some of them are relatively minor
       not bringing claims on behalf of individual unit
                                                                               in nature. Other deviations will
       owners for defects in individual units, the CC&Rs’
                                                                               require remedial measures and, as
       incorporation of the Swainston Report is more
                                                                               maintenance continues to be deferred,
       applicable to the Association’s claims in this case.
                                                                               the impact of these deviations will
Conversely, the limitations in the CC&Rs for Town Centre                       increase accordingly.
do bind the Association. See Pinnacle Museum Tower
Ass’n v. Pinnacle Mkt. Dev. (US ), LLC, 282 P.3d 1217,
1221 (Cal. 2012) (holding that an arbitration clause in
                                                                   (original in underlined typeface).
CC&Rs was binding on the homeowners’ association, even
though the association did not exist as an independent
                                                                   This conclusion, in conjunction with 21 pages detailing
entity when the CC&Rs were drafted and recorded); see
                                                                   the defects at Town Centre in bold, all capital, underlined


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typeface, distinguishes the Swainston Report from the              Motoren Werke Aktiengesellschaft v. Roth, 127 Nev. 122, 142,
conditional language that is inadequate under Westpark, and        252 P.3d 649, 662 (2011).
notified the Association that specific construction defects
existed at Town Centre. Further, the Association’s claims are
for defects in the limited common areas of Town Centre, as         Breach of express warranty
opposed to claims regarding individual units on behalf of          The district court appropriately determined that there was no
individual unit owners. Therefore, the general language in         contractual privity between Oxbow and the Association that
the Swainston Report—that the list includes defects common         would create an express warranty. In addition, no express
to the project as a whole—does not necessarily prevent             warranties were created or transferred under NRS Chapter
disclosure of defects in limited common areas; that is, while      116.
a list of defects common to the project as a whole would not
disclose defects in individual units, it may include defects in    NRS 116.4113 sets forth the ways in which an express
common elements or limited common elements. However, the           warranty can be created between a seller and a purchaser, and
actual overlap between the defects for which the Association       then transferred to subsequent purchasers. See NRS 116.4113
brings claims and the disclaimers in the Swainston Report is       (“Express warranties made by any seller to a purchaser
not clear on the record or briefing before us.                     of a unit, if relied upon by the purchaser, are created as
                                                                   follows....”). The plain language of NRS 116.4113 requires
 *3 We reject Oxbow’s contention, and the district court’s         that the creation of an express warranty be made by a seller
determination, that the various agreements in this case            to a purchaser. See Westpark, 123 Nev. at 357, 167 P.3d at
provide a complete disclaimer for any negligence by Oxbow          427 (“When the language of a statute is unambiguous, the
in the construction of Town Centre. NRS 40.640(5) provides         courts are not permitted to look beyond the statute itself when
for no such blanket disclaimer, but instead requires that          determining its meaning.”). Because Oxbow was the general
each defect be disclosed in understandable language prior          contractor of Town Centre, and never its seller, the district
to the purchase of the new residence. The record requires          court correctly determined that no express warranties were
further development to determine the specific defects in the       created by Oxbow under NRS 116.4113.
limited common areas for which the Association brings its
negligence claim. To the extent any of the alleged defects not     The Association argues that, under NRS Chapter 116, an
mentioned in the Swainston Report is in a limited common           affiliate is responsible for the express warranties made
area assigned to a new residence, summary judgment was             by the declarant of a common-interest community, and,
not appropriate. Similarly, to the extent a defect listed in the   therefore, Oxbow is liable for express warranties made by
Swainston Report was too vague or equivocal to disclose the        El Capitan Associates to the Association. As support for this
particular defect, summary judgment was not appropriate on         assertion, the Association cites to NRS 116.3104(2)(b). But
the Association’s negligence claim for construction defect.        this statutory provision does not support the Association’s
On the record and briefing before us, we are unable to make        argument, because NRS 116.3104(2)(b) only holds affiliates
such determinations.                                               jointly liable for a declarant’s obligations if the affiliate
                                                                   succeeds in interest to the special declarant’s rights. Here,
As there is a genuine dispute of material fact as to whether       the parties dispute whether and to what extent El Capitan
the Swainston Report discloses each defect for which the           and Oxbow have overlapping members and control of one
Association makes a claim, we remand this case to the district     another such that Oxbow is the affiliate of El Capitan, but
court for further proceedings to determine the specific defects    it is undisputed that Oxbow did not succeed to any special
for which the Association brings claims, and which of those        declarant’s rights involving Town Centre. As a result, NRS
are waived by adequate disclosure in the Swainston Report.         116.3104(2)(b) will not extend liability to Oxbow for express
                                                                   warranties that were made by El Capitan in the development
                                                                   of Town Centre. We also reject the Association’s general
Expert witness fees                                                contention that the affiliate of a declarant is liable for express
The district court awarded $40,274.47 in litigation costs,         warranties made by the declarant under NRS Chapter 116.
plus $103,067 in expert witness fees, to Oxbow as the              Therefore, the dispute regarding Oxbow’s affiliate status is
prevailing party below. As we reverse summary judgment             not material to the outcome of the claim for breach of express
on the Association’s claim for negligence, we also reverse         warranty, because the Association’s interpretation of NRS
the award of costs and expert witness fees. See Bayerische         Chapter 116 is incorrect as a matter of law. Accordingly,


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                                                                        551 P.2d 244, 246 (1976) (reviewing a judge’s reconsideration
we affirm summary judgment on the Association’s claim for
                                                                        of a prior judge’s ruling in the same case for abuse of
breach of express warranty.
                                                                        discretion); Harvey's Wagon Wheel, Inc. v. MacSween, 96
                                                                        Nev. 215, 217–18, 606 P.2d 1095, 1096–97 (1980) (upholding
Breach of implied warranty                                              a district court’s grant of summary judgment after a previous
 *4 The Association’s breach of implied warranty claim fails            denial of the same motion when the judge became more
for similar reasons. NRS 116.4114 provides that any declarant           familiar with the case and was persuaded by newly cited
or dealer impliedly warrants that a residence will be free from         authority). Thus, the holding in Rohlfing v. Second Judicial
construction defects. See NRS 116.033 (A dealer is “a person            District Court is not applicable under these circumstances.
in the business of selling units for his or her own account”).          106 Nev. 902, 906, 803 P.2d 659, 662 (1990) (“The district
But, again, Oxbow was the general contractor of Town                    courts of this state have equal and coextensive jurisdiction;
Centre; Oxbow was never a dealer or declarant, and never                therefore, the various district courts lack jurisdiction to review
succeeded to any special declarant rights. The district court           the acts of other district courts.”).
also properly determined there was no privity of contract
between the Association and Oxbow. See Long v. Flanigan                 Here, the Association initially moved for declaratory relief
Warehouse Co. & Inland Ladder Co., 79 Nev. 241, 246, 382                from Judge Earl on the issue of whether Oxbow and El
P.2d 399, 402 (1963) (“Where the parties to the law suit are            Capitan had an affiliate/declarant relationship. Oxbow, on
not the immediate buyer and seller the weight of authority is           the other hand, moved for Judge Wiese to grant summary
that such lack of contractual privity will bar recovery on an           judgment. In granting summary judgment, Judge Wiese
implied warranty theory.”) As such, the Association has no              did not make a determination as to the affiliate/declarant
viable theory of breach of implied warranty by Oxbow, and               relationship, but instead held that Oxbow is not responsible
we therefore affirm summary judgment on the Association’s               for warranties under the statutory scheme because it is not a
breach of implied warranty claim.                                       seller. Thus, Judge Weise did not rule on the affiliate/declarant
                                                                        issue, which a previous judge had determined required further
                                                                        discovery, but instead viewed the issue in a different light.
Summary judgment without further discovery                              See Sittner, 692 P.2d at 736 (recognizing that a “second judge
We also reject the Association’s argument that the district             may reverse the first judge’s ruling if the issues decided by
court exceeded its authority by granting summary judgment               the first judge are presented to the second judge in a ‘different
without further discovery, even though a previous judge                 light’ ”). Therefore, the district court did not err in granting
determined that further discovery was needed to resolve                 summary judgment, as the Association contends, on the basis
Oxbow’s affiliate status.                                               that it exceeded its authority by considering Oxbow’s motion
                                                                        for summary judgment.
Generally, a district court judge’s decision in a case becomes
the “law of the case” and cannot be overruled by a coequal,             *5 We therefore,
successor judge. See Sittner v. Big Horn Tar Sands & Oil, Inc.,
692 P.2d 735, 736 (Utah 1984) (“[T]he doctrine of ‘law of the           ORDER the judgment of the district court AFFIRMED IN
case’ has evolved to avoid the delays and difficulties that arise       PART AND REVERSED IN PART AND REMAND this
when one judge is presented with an issue identical to one              matter to the district court for proceedings consistent with this
which has already been passed upon by a coordinate judge in             order.
the same case”); see also Messenger v. Anderson, 225 U.S.
436, 444 (1912) (explaining that “law of the case” “merely
expresses the practice of courts generally to refuse to reopen          All Citations
what has been decided”). Adherence to the law-of-the-case is
                                                                        419 P.3d 702 (Table), 2018 WL 2431690
a doctrine of self-restraint, however, and not a jurisdictional
limitation. See Moore v. City of Las Vegas, 92 Nev. 402, 405,

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                               Ruiz v. Wintzell's Huntsville, L.L.C.
         United States District Court for the Northern District of Alabama, Northeastern Division
                        September 28, 2017, Decided; September 28, 2017, Filed
                                     Case No.: 5:13-cv-02244-MHH

Reporter
2017 U.S. Dist. LEXIS 159547 *; CCH Prod. Liab. Rep. P20,169

                                                      Opinion
JOSE RUIZ & LOURDES RUIZ, Plaintiffs, v.
WINTZELL'S HUNTSVILLE, L.L.C. A/K/A
WINTZELL'S OYSTER HOUSE, et al.,
Defendants.                                           MEMORANDUM OPINION

                                                      Plaintiff Jose Ruiz developed a severe infection
                                                      after eating raw oysters at Wintzell's Oyster House,
Counsel: [*1] For Jose Ruiz, Lourdes Ruiz,            a restaurant owned and operated by Wintzell's
Plaintiffs: Bryan Henry Hoss, LEAD ATTORNEY,          Huntsville, LLC. Mr. Ruiz asserts claims for
DAVIS & HOSS PC, Chattanooga, TN; Peter               violation of the Alabama Extended Manufacturer's
Comstock Ensign, LEAD ATTORNEY, ENSIGN                Liability Doctrine (AEMLD), breach of warranty,
LAW, Chattanooga, TN.                                 and negligence against Wintzell's Huntsville, LLC;
                                                      franchisor Wintzell's Franchise Company, Inc.;
For Wintzell's Huntsville LLC, also known as,         oyster supplier Webb's Seafood, Inc. (WSI); and
Wintzell's Oyster House, Wintzell's Franchise         Price Foods, Inc., a company that Mr. Ruiz alleges
Company Inc, Price Foods Inc, Defendants: Robert      provided management services to Wintzell's. (Doc.
M Ronnlund, LEAD ATTORNEY, SCOTT                      118). Mr. Ruiz's wife, Lourdes Ruiz, asserts a claim
SULLIVAN STREETMAN & FOX PC,                          against the defendants [*2] for loss of consortium.
Birmingham, AL.                                       (Doc. 118).1 Pursuant to Federal Rule of Civil
                                                      Procedure 56, the defendants ask the Court to enter
                                                      judgment in their favor on the plaintiffs' claims.
For Webb's Seafood Inc, Defendant: Matthew T          (Docs. 137, 140, 142). For the reasons stated
Dukes, Robert V Wood, Jr, WILMER & LEE PA,            below, the Court grants the defendants' motions for
Huntsville, AL.                                       summary judgment in part and denies the motions
                                                      in part.


Judges: MADELINE HUGHES HAIKALA,                      I. SUMMARY JUDGMENT STANDARD
UNITED STATES DISTRICT JUDGE.
                                                      "The court shall grant summary judgment if the

                                                      1 In their fourth amended complaint, Mr. and Mrs. Ruiz named as
Opinion by: MADELINE HUGHES HAIKALA
                                                      defendants Wintzell's Huntsville, LLC; Wintzell's Franchise
                                                      Company, Inc.; Webb's Seafood, Inc.; Price Foods, Inc.; Miller
                                                      Seafood, Inc.; and Misho's Oyster Company. (Doc. 118). The Court
                                                      previously dismissed the plaintiffs' claims against Miller Seafood,
                                                      Inc. and Misho's Oyster Company. (Docs. 129, 160).
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movant shows that there is no genuine dispute as to    Ruiz woke up, doctors informed him that he had
any material fact and the movant is entitled to        been infected with Vibrio vulnificus bacteria, a type
judgment as a matter of law." Fed. R. Civ. P. 56(a).   of bacteria commonly found in raw oysters. (Doc.
To demonstrate that there is a genuine dispute as to   150, p. 2; Doc. [*4] 142, p. 2; Doc. 166, p. 17).
a material fact that precludes summary judgment, a     Mr. Ruiz's doctors also told him that he was
party opposing a motion for summary judgment           positive for Hepatitis C, a virus that causes liver
must cite "to particular parts of materials in the     disease. (Doc. 150, p. 2); see Hepatitis C FAQs for
record,    including      depositions,    documents,   the Public, CENTERS FOR DISEASE CONTROL AND
electronically stored information, affidavits or       PREVENTION,
declarations, stipulations (including those made for   https://www.cdc.gov/hepatitis/hcv/cfaq/htm       (last
purposes of the motion only), admissions,              visited August 4, 2017). When Mr. Ruiz ate oysters
interrogatory answers, or other materials." Fed. R.    at Wintzell's, he did not know that he was positive
Civ. P. 56(c)(1)(A). "The court need consider only     for Hepatitis C; he was "under the impression that
the cited materials, but it may consider other         [he] was very healthy." (Doc. 150, p. 2; Doc. 166,
materials in the record." Fed. R. Civ. P. 56(c)(3).    p. 17).
When considering a summary judgment motion, the
Court must view the evidence in the record in the      Vibrio vulnificus infections generally cause no
light most favorable to the non-moving party and       more than mild to moderate gastrointestinal
draw reasonable [*3] inferences in favor of the        symptoms, but individuals with compromised livers
non-moving party. White v. Beltram Edge Tool           may experience more severe effects. See Vibrio
Supply, Inc., 789 F.3d 1188, 1191 (11th Cir. 2015).    vulnificus Infections Associated with Eating Raw
                                                       Oysters — Los Angeles, 1996, CENTERS FOR
                                                       DISEASE       CONTROL        AND       PREVENTION,
II. FACTUAL BACKGROUND                                 https://www.cdc.gov/mmwr/preview/mmwrhtml/000
                                                       43142.htm (last visited August 7, 2017). As a result
On December 14, 2012 and December 15, 2012,            of his liver disease, Mr. Ruiz suffered a severe
Mr. Ruiz ate raw oysters at Wintzell's Oyster House    vibrio infection, and doctors ultimately had to
in Huntsville, Alabama. (Doc. 150, p. 2; Doc. 150-     amputate his left leg to prevent the infection from
7, p. 3; Doc. 166, p. 11). On December 16, 2012,       spreading. (Doc. 150, pp. 2-3; Doc. 166, p. 17).
Mr. Ruiz began experiencing nausea and diarrhea,       According to Mr. Ruiz, it is a "miracle" that he is
and he had a fever. (Doc. 150, p. 2; Doc. 166, pp.     alive. (Doc. 166, p. 17).
13-14). A few days later, Mr. Ruiz visited the
emergency room because he was experiencing pain,       The parties acknowledge that Mr. Ruiz's injuries
discoloration, and swelling in his left leg. (Doc.     stem from his consumption of raw oysters at
166, p. 16). Doctors suspected that Mr. Ruiz had a     Wintzell's, but the defendants [*5] contend that
blood clot in his leg. An ultrasound provided no       they are not liable for Mr. Ruiz's injuries. For its
evidence to confirm the doctor's suspicions, so the    part, oyster supplier WSI argues that it may not be
doctors sent Mr. Ruiz home. (Doc. 166, p. 16).         held liable for Mr. Ruiz's injuries because Mr. Ruiz
Early the next morning, when Mr. Ruiz "just could      cannot prove that WSI supplied the oysters that he
not take the pain anymore," he returned to the         consumed at Wintzell's on December 14 and 15. In
emergency room. (Doc. 166, p. 16).                     the days leading up to Mr. Ruiz's dinner at
                                                       Wintzell's, the restaurant received oysters from
Mr. Ruiz does not remember the events that took        WSI and from a second source, Bon Secour
place after he arrived at the hospital because he      Fisheries. On December 10, 2012, Wintzell's
"was in so much pain and [his doctors] gave [him]      received 2,500 oysters from WSI and 1,000 oysters
so much morphine." (Doc. 166, p. 17). When Mr.         from Bon Secour Fisheries, Inc. (Doc. 137, p. 2;
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Doc. 150, pp. 7-8, 24). On December 13, 2012, has shucked 24 oysters, the shucker places the
Wintzell's received another 2,500 oysters from oysters on a cooled metal tray, wraps the tray in
WSI. (Doc. 150, p. 8).2                                             plastic, marks the date, and moves the oysters to the
                                                                    cooler, where the oysters remain until a customer
According to Wintzell's kitchen manager Charles orders them. (Doc. 164, pp. 63-64).
Polk, when Wintzell's receives oyster deliveries,
the driver of the delivery truck carries the boxes of Mr. Polk does not know whether the oysters that
oysters to Wintzell's main cooler. (Doc. 164, p. 54). Mr. Ruiz consumed [*7] on December 14, 2012
The oysters remain in the cooler until they are and December 15, 2012 came from Bon Secour or
ready to be shucked. (See Doc. 164, p. 58). Each WSI. (Doc. 164, pp. 101-02). Although he is
box of oysters that Wintzell's receives has a harvest "pretty sure" based on "good training" that
date and a use-by date. (Doc. 164, p. 47). To ensure Wintzell's kitchen staff followed the use-first
that oysters with older harvest dates are used before protocol in the days leading up to Mr. Ruiz's dinner
oysters with more recent harvest dates, Wintzell's on December 15, Mr. Polk stated that he has no
applies "use-first" [*6] stickers to the boxes with personal knowledge of whether the staff in fact
the older harvest dates. (Doc. 164, p. 95). The used boxes marked "use first" before using boxes
kitchen staff is trained to use boxes with use-first with more recent harvest dates. (See Doc. 164, pp.
stickers on them before using boxes without use- 150-54). Mr. Polk testified that it is possible,
first stickers. (See Doc. 164, pp. 95, 151). Mr. Polk though unlikely, that the oysters that Bon Secour
testified that he was responsible for placing the use- delivered on December 10, 2012 still were in
first stickers on the boxes of oysters. (Doc. 164, p. inventory on December 14, 2012 or December 15,
95). According to Mr. Polk, "[i]f a truck came in 2012. (See Doc. 164, pp. 150-54).
and we had boxes [of oysters] already there, the
first thing that'll be done, use first would be on Dr. Gary Rodrick, Mr. Ruiz's expert, has opined
there before the new order came in." (Doc. 164, p. that it is extremely unlikely that Bon Secour oysters
96).                                                                still were in Wintzell's inventory on December 15.
                                                                    Dr. Rodrick opines that WSI supplied the oysters
During a typical dinner service at Wintzell's, the that Mr. Ruiz consumed. (Doc. 150-4).4 In addition,
oyster shucker arrives at the restaurant around 1:00 Dr. Rodrick opines that the oysters contained an
p.m. (Doc. 164, p. 65). The shucker removes a box unreasonably dangerous level of Vibrio vulnificus,
of oysters from the cooler and brings the box to the that WSI contributed to the unreasonably dangerous
shucking station outside the kitchen. (Doc. 164, pp. level of Vibrio vulnificus in the oysters, and that
58-59).3 The oysters are kept on ice at the shucking Wintzell's was negligent in purchasing oysters from
station. (Doc. 164, pp. 63-64). When the shucker WSI. (Doc. 145, pp. [*8] 1-2; Doc. 150-4, pp. 4-5,
                                                                    7). The Wintzell's defendants and WSI have filed
                                                                    motions to strike Dr. Rodrick's testimony. (Docs.
2 WSI did not sell the oysters directly to Wintzell's. WSI sold the
                                                                    138, 139).
oysters to Sysco Gulf Coast, Inc., and Sysco sold the oysters to
Wintzell's. (Doc. 137, pp. 2, 4 n. 2; see Doc. 164, pp. 40-41). WSI
                                                                         Mr. Ruiz also offers the expert opinion of public
does not dispute that it supplied the oysters that Sysco delivered to
Wintzell's on December 10 and December 13, 2012. (See Doc. 137,          health sanitarian Roy Costa. (Doc. 150-5).5 Mr.
p. 2). The Court dismissed the plaintiffs' claims against Sysco and
Bon Secour. (Docs. 92, 100). The plaintiffs did not name either
company as a defendant in their fourth amended complaint. (Doc.          4 Dr. Gary Rodrick is an Emeritus Professor at the University of
118).                                                                    Florida in the Department of Food Science and Human Nutrition.
3 According to Mr. Polk, sometimes the shucker will not have to
                                                                         (Doc. 150-4, p. 1). Dr. Rodrick holds degrees in Biology and
                                                                         Zoology. (Doc. 150-4, p. 1). Dr. Rodrick's research focuses on
retrieve the oysters from the cooler because Mr. Polk already will
                                                                         Vibrio vulnificus in oysters. (Doc. 150-4, p. 1).
have put the oysters on ice at the shucking station in preparation for
dinner service. (Doc. 164, pp. 63-64).                                   5 Roy Costa is a registered public health sanitarian and consultant
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Costa opines that Wintzell's committed health code                        9).
violations by failing to properly store and serve its
raw oysters, which caused the vibrio bacteria in the                      This broad overview of the facts provides a
oysters to multiply to unsafe levels. (Doc. 150-5, p.                     backdrop for the Court's analysis of the defendants'
4). Mr. Costa also is of the opinion that both                            motions. Additional facts relevant to those motions
Wintzell's Huntsville and Wintzell's Franchise                            are discussed below.
Company were negligent in their selection of oyster
suppliers, and that both entities are responsible for
                                                                          III. DISCUSSION
failing to introduce adequate employee training and
procedures for handling raw oysters. (Doc. 150-5,
p. 4). Wintzell's has filed a motion to strike Mr.
Costa's testimony. (Doc. 139).                                            A. WSI's Motion for Summary Judgment
Wintzell's Huntsville, LLC is a franchisee of
Wintzell's Franchise Company, Inc. (Doc. 163, pp.                         1. WSI's supply chain defense
26-29). Dana Price, operating member and 50%
owner of Wintzell's Huntsville, LLC, testified that                       WSI argues that the Court should enter judgment in
Wintzell's Franchise Company provided him "with                           the company's favor on Mr. Ruiz's AEMLD,
operational procedures, systems, [and] menus. . . ."                      negligence, and breach of warranty claims because
(Doc. 163, p. 29). According to Mr. Price, the                            Mr. Ruiz cannot [*10] establish that WSI supplied
restaurant's general [*9] manager was responsible                         the oysters that he consumed. WSI contends that
for employee training, while Wintzell's Franchise                         the evidence is insufficient to enable jurors to find
Company provided training materials. (Doc. 163,                           with mathematical certainty that the oysters that
pp. 31-32). Additionally, Wintzell's Franchise                            made Mr. Ruiz sick came from WSI rather than
Company provided its franchisees with the menu                            Wintzell's other supplier, Bon Secour. (Doc. 137, p.
warnings alerting customers to the dangers of                             2). WSI's argument fails because at the summary
eating raw meat and seafood. (Doc. 163, p. 35).6                          judgment stage, mathematical certainty is not the
                                                                          standard of evidentiary proof.
Mr. Price employed Alan Renfroe in a managerial
capacity at several of his restaurant locations                           "The burden of proof is a substantive issue and is
including his Wintzell's Oyster House in                                  therefore controlled by state law in diversity cases."
Huntsville. (Doc 163, pp. 18-19, 24, 62). At                              Wynfield Inns v. Edward LeRoux Grp., Inc., 896
Wintzell's Huntsville, Mr. Renfroe worked as the                          F.2d 483, 491 (11th Cir. 1990). "In all civil actions
director of operations. He was responsible for                            brought in any court of the State of Alabama, proof
overseeing matters relating to guest satisfaction and                     by substantial evidence shall be required to submit
"proper [restaurant] procedures," although he spent                       an issue of fact to the trier of the facts." Ala. Code
only limited time at Wintzell's Huntsville during                         1975 § 12-21-12. Substantial evidence is "evidence
any given week. (Doc. 163, p. 61; Doc. 150-13, p.                         of such weight and quality that fair-minded persons
                                                                          in the exercise of impartial judgment can
                                                                          reasonably infer the existence of the fact sought to
with a specialty in food safety. (Doc. 150-5, pp. 6-7). He holds a B.S.   be proved." West v. Founders Life Assurance Co. of
in biological sciences and an M.S. in health services management.         Fla., 547 So. 2d 870, 871 (Ala. 1989). Evidence can
(Doc. 150-5, p. 6). He formerly was employed by the State of Florida
in various regulatory and educational capacities relating to public
                                                                          permit the inference that a fact exists even though it
health. (Doc. 150-5, p. 7).                                               does not establish that fact's existence to a
6 Dana  Price also is the president and sole shareholder of Price
                                                                          mathematical certainty. Where a plaintiff's
Foods, Inc. (Doc. 163, pp. 12-13). Price Foods, Inc. owns several         evidence permits a reasonable juror to infer that a
restaurants in Alabama. (Doc. 163, pp. 12-19).
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material fact exists, then the Court should deny a oysters that Bon Secour delivered on December 10
defendant's motion for summary judgment. See before Mr. Ruiz ate at the restaurant on December
Fed. R. Civ. P. 56(a).                                          15. That leaves only WSI oysters for Mr. Ruiz's
                                                                consumption.
It is true, [*11] of course, that a jury's verdict may
not be based on speculation. See Ex Parte Harold WSI argues that the amount of oysters in Wintzell's
L. Martin Distrib. Co., Inc., 769 So. 2d 313, 315 inventory on December 10, 2012 cannot be exactly
(Ala. 2000). The evidence concerning the source of quantified. (Doc. 137, p. 18). WSI also argues that
the oysters that Mr. Ruiz consumed is sufficiently Mr. Ruiz cannot prove definitively that Wintzell's
probative to enable jurors to reasonably infer that employees followed the prescribed first-in, first-out
WSI supplied the oysters than made Mr. Ruiz ill. procedure for raw oysters during the week in
That evidence begins with raw numbers: between question. (Doc. 137, pp. 8-9). These objections are
December 10 and December 14, Wintzell's oyster jury arguments about the weight of the evidence. At
inventory consisted of 1,000 oysters from Bon summary judgment the Court must draw reasonable
Secour and 5,000 oysters from WSI. (Doc. 164, p. inferences from the evidence in favor of Mr. Ruiz,
82; Doc. 164-3, pp. 12-13). Thus, 80% of the and the raw numbers combined with the undisputed
oysters in Wintzell's inventory were WSI oysters.               delivery dates and Wintzell's "use-first" policy
                                                                produce reasonable inferences sufficient to create a
Evidence concerning the timing of oyster deliveries jury question.
and Wintzell's oyster usage policies also is
important. Bon Secour delivered its 1,000 oysters In addition [*13] to shipping records and
to Wintzell's on December 10, 2012; Sysco Wintzell's internal policies, the plaintiffs rely on
delivered approximately 2,500 WSI oysters on the Dr. Rodrick's expert opinion that the oysters which
same date. On December 13, 2012, Sysco delivered Mr. Ruiz consumed on December 15 came from
another 25 boxes containing approximately 2,500 WSI. (Doc. 150-4, p. 4). To develop his opinion,
WSI oysters. (Doc. 164-3, p. 13).7 Viewed in the Dr. Rodrick evaluated the harvest date tags from
light most favorable to Mr. Ruiz, the record Wintzell's December 2012 oyster inventory and
contains evidence that Wintzell's staff routinely Wintzell's sales records and determined, based on
placed "use first" stickers on boxes of raw oysters his experience in the industry, that WSI supplied
already in inventory when another shipment arrived the oysters that made Mr. Ruiz sick. (Doc. 150-4, p.
and that Wintzell's had a policy of shucking boxes 4).
so marked before boxes [*12] delivered later.
                                                                WSI challenges Dr. Rodrick's competence to give
(Doc. 136, pp. 40-42). As mentioned, based on
                                                                testimony regarding the origin or supply chain from
Wintzell's "use first" policy, Wintzell's kitchen
                                                                which Wintzell's received the oysters consumed by
manager testified that it is unlikely that Bon Secour
                                                                Mr. Ruiz. (Doc. 138, p. 2). WSI asserts that Dr.
oysters remained in Wintzell's inventory on
                                                                Rodrick has no education or training qualifying him
December 14 and 15. (Doc. 164, pp. 150-54). From
                                                                to render opinions on the subject of oyster
all of this evidence jurors could reasonably infer
                                                                origination. (Doc. 138, p. 2). WSI also argues that
that Wintzell's employees shucked and served the
                                                                Dr. Rodrick's methods are not sufficiently reliable
                                                                to pass muster under the Daubert standard. (Doc.
7 The only other December deliveries to which the parties point 138, p. 6).
occurred on December 3 and December 6, 2012. Both appear to be
WSI oysters delivered by Sysco, and they consisted of 2,000 oysters       The Supreme Court's decision in Daubert v.
and 2,500 oysters respectively. (Doc. 164-3, pp. 10-11). Because          Merrell Dow Pharmaceuticals assigned a
both parties agree that oysters have a fourteen day shelf life from the
                                                                          gatekeeping role to the district court with respect to
time of harvest, the Court need not examine more remote deliveries.
(Doc. 137, p. 5; Doc. 150, p. 48).                                        the admissibility of scientific expert testimony. 509
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U.S. 579, 597, 113 S. Ct. 2786, 125 L. Ed. 2d 469          contemplate precisely the exercise that Dr. Rodrick
(1993). "The district judge has 'the task of ensuring      used to trace the oysters in this case. Regulations
that an expert's testimony both rests [*14] on a           mandate that the tags accompanying all oyster
reliable foundation and is relevant to the task at         shipments must identify the date and location of the
hand.'" Chapman v. Proctor & Gamble Distrib.,              harvest, the identity of the harvester, and the
LLC, 766 F.3d 1296, 1306 (11th Cir. 2014)                  identity of any packer or repacker. 21 C.F.R. §
(quoting Daubert, 509 U.S. at 597). The Supreme            1240.60(b), (c). Section 123.28 mandates that
Court later extended this gatekeeping role to cover        recipients of these shipments maintain records of
admissibility determinations for all types of expert       the information required for the oyster tags. 21
testimony including technical testimony based on           C.F.R. § 123.28(c), (d).
"knowledge and experience of [the relevant]
discipline." See Kumho Tire Co., Ltd. v.                   An analysis of the harvest tags in conjunction with
Carmichael, 526 U.S. 137, 149, 119 S. Ct. 1167,            Wintzell's sales records and WSI's business records
143 L. Ed. 2d 238 (1999). Exercising its                   is something that Dr. Rodrick is capable of
gatekeeping role, the Court finds that Dr. Rodrick is      performing as a task incident to his work in food
qualified to offer an opinion about the source of the      safety. Given the evidence [*16] recited above,
allegedly contaminated oysters, and his opinion is         there does not appear to be "too great an analytical
relevant and rests on a reliable foundation.               gap between the data and the opinion proffered."
                                                           Chapman, 766 F.3d at 1306-07 (internal quotations
Dr. Rodrick is a biologist who focuses his research        omitted). Thus, the Court finds that Dr. Rodrick has
on food safety and seafood microbiology. (Doc.             used a sufficiently reliable method applied to a
138-1, pp. 1, 8). His CV indicates that he has             sufficient body of evidence to offer an opinion
received numerous grants to study pathogens in             about the oysters' origins. The Court, therefore,
commercially important shellfish. (Doc. 138, p. 9).        denies WSI's motion to strike Dr. Rodrick's
His publications include a script for an                   testimony.
informational program on safety in purchasing and
distributing shellfish as well as several abstracts on     WSI argues that with or without Dr. Rodrick's
hazard analysis and critical control points                opinions, the plaintiffs' supply chain evidence is not
(HACCP) assessments for shellfish distributors.            sufficient to create a question of fact under the
(Doc. 138, pp. 12, 23-24). Dr. Rodrick teaches             Azalea Box standard. Turner v. Azalea Box Co., 508
several courses devoted to the issue of food safety,       So. 2d 253 (Ala. 1987).8 The Court finds that the
and the discipline entails exploration of seafood          facts of Azalea Box are distinguishable from the
distribution chains. (Doc. 145-1, p. 2). While [*15]       facts in this case, so Azalea Box does not warrant
the study of distribution chains may not be                summary judgment for WSI.
scientific in a technical sense, it is an area in which
                                                           In Azalea Box, the origin of an allegedly defective
someone may gain expertise through personal
                                                           wooden shipping pallet was unclear. The Coca-
knowledge and experience. Based on his
                                                           Cola distributor where the plaintiff worked received
background, the Court finds that Dr. Rodrick has
                                                           pallets from two suppliers, one of which was
sufficient experience with food safety and
                                                           Azalea Box Company. Azalea Box, 508 So. 2d at
distribution, particularly with respect to shellfish, to
                                                           253-54. The distributor also traded pallets with
give testimony on the source of the oysters that
                                                           other distributors and repaired some of the pallets
Wintzell's served on December 14 and 15, 2012.

In response to WSI's objection that Dr. Rodrick's
methodology is not sufficiently reliable, the Court        8 At oral argument, counsel for WSI referred to this decision as the


notes that government regulations seem to                  Azalea Box decision. The Court uses WSI's short-form reference in
                                                           this opinion.
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in the warehouse. Azalea Box, 508 So. 2d at 254.        WSI as the source of the contaminated oysters.
The parties agreed that the pallets were not
distinctive in a way that would allow the pallets to    Only where the evidence "is without selective
be traced to one source or another. Azalea Box, 508     application" to a particular inference is an inference
So. 2d at 254. The Court [*17] reviewed the four        drawn from the evidence reduced to impermissible
possible sources of the pallet that caused the          conjecture. Vesta Fire Ins. Corp. v. Milam & Co.
plaintiff's injuries and concluded that:                Constr., 901 So. 2d 84, 101 (Ala. 2004) (internal
     two things can be equally inferred: (1) Azalea     quotations omitted). This description simply does
     Box manufactured and sold the subject pallet to    not fit the plaintiffs' evidentiary showing
     Coca-Cola, or (2) Azalea Box did not               concerning the source of the oysters that Mr. Ruiz
     manufacture and sell the subject pallet to Coca-   consumed. A jury will have to decide whether WSI
     Cola. Accordingly, to use this evidence to         supplied the oysters.
     support Turner's contention that Azalea Box
     supplied the pallet in question to the exclusion
                                                        2. Alabama's Innocent Seller Statute
     of other sources is to engage in speculation and
     conjecture.                                        Alternatively, WSI argues that Alabama's Innocent
                                                        Seller Statute provides blanket immunity against all
Azalea Box, 508 So. 2d at 254. Consequently, the
                                                        of the plaintiffs' claims. The Court disagrees.
Alabama Supreme Court affirmed summary
judgment for Azalea Box on Turner's AEMLD               The Innocent Seller [*19] Statute states, in relevant
claim, noting that "[w]hen evidence points equally      part:
to inferences that are favorable and to inferences          (b) No product liability action may be asserted
that are unfavorable to the moving party, the               or may be provided a claim for relief against
evidence lacks probative value; and the evidence            any distributor, wholesaler, dealer, retailer, or
may not be used to support one inference over               seller of a product, or against an individual or
another because such use is mere conjecture and             business entity using a product in the
speculation." Azalea Box, 508 So. 2d at 254.                production or delivery of its products or
                                                            services (collectively referred to as the
Central to the Alabama Supreme Court's holding in           distributor) unless any of the following apply:
Azalea Box was its determination that the evidence               (1) The distributor is also the manufacturer
equally supported two conflicting inferences. The                or assembler of the final product and such
facts presented here are unlike Azalea Box because,              act is causally related to the product's
although the evidence can support more than one                  defective condition.
inference, the support for each inference is not                 (2) The distributor exercised substantial
equal. WSI notes that [*18] its oysters and those                control over the design, testing,
from Bon Secour are physically indistinguishable.                manufacture, packaging, or labeling of the
(Doc. 137, p. 8). That may be true, but the factual              product and such act is causally related to
analogies to Azalea Box end there. Unlike the                    the product's condition.
pallets in Azalea Box, the oysters at issue here have            (3) The distributor altered or modified the
only two possible sources: WSI or Bon Secour.                    product, and the alteration or modification
(Doc. 137, pp. 7-8). The question is whether the                 was a substantial factor in causing the harm
plaintiffs' evidence indicates that the oysters which            for which recovery of damages is sought.
Wintzell's served on December 14 or 15 are more
likely to have come from WSI than from Bon                      (4) It is the intent of this subsection to
Secour. As discussed, the weight of the evidence,               protect distributors who are merely
viewed most favorably to the plaintiffs, points to              conduits of a product. This subsection is
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        not intended to protect distributors from          "processes" raw oysters by removing them from
        independent acts unrelated to the product          their original packaging, placing them on a
        design or manufacture, such as independent         conveyor belt, washing the oysters with a high
        acts of negligence, wantonness, warranty           power spray, repacking the oysters, and labeling
        violations, [*20] or fraud.                        them for sale. (Doc. 150, p. 46).

Ala. Code 1975 § 6-5-521.                                  Assuming without deciding that raw oysters are
                                                           manufactured products for purposes of the innocent
WSI begins its argument by noting, correctly, that         seller statute, the Court finds as a matter of law that
the term "products liability" is broad enough to           WSI does not qualify as a mere distributor or
encompass all of the plaintiffs' claims for relief.        conduit. This conclusion is based both on the
(Doc. 137, p. 19). WSI continues by explaining that        foregoing description of WSI's activities preparing
it "did not manufacture or assemble the oysters . . .      the oysters for retail and from WSI's own citation to
WSI did not exercise any substantial control over          21 C.F.R. § 123.28. (Doc. 156, p. 7).9 This
the design, testing, manufacture, packaging, or            regulation promulgated by the Food and Drug
labeling of the oysters . . . WSI did not alter or         Administration is directed at processors of
modify the oyster product that was consumed by             molluscan [*22] shellfish. WSI acknowledges that
Mr. Ruiz." (Doc. 137, pp. 13-14). Based on these           this section of the regulation governs its conduct,
assertions, WSI concludes that it is a "mere               and this lends weight to the conclusion that WSI
conduit" of the oysters, so that the company is            does more than simply distribute a raw product;
entitled to the statute's protection. (Doc. 137, p. 24).   WSI processes harvested oysters to ready them for
                                                           retail sale.
That the product in question is raw oysters makes
the statute's application less straightforward.            The purpose of Alabama's innocent seller statute, as
    A 'product liability action' means any action          described in subsection (b)(4), is to protect
    brought by a natural person for personal injury,       distributors who are mere conduits of a product,
    death, or property damage caused by the                presumably because they are not positioned to
    manufacture, construction, design, formula,            inspect for product defects already extant when the
    preparation, assembly, installation, testing,          products come into the distributor's possession. Ala.
    warnings, instructions, marketing, packaging,          Code § 6-5-521(b)(4). By bringing oysters from sea
    or labeling of a manufactured product when             to table, WSI occupies a position well-suited to
    such action is based upon (1) negligence, (2)          limiting the number of dangerous products reaching
    innocent or negligent misrepresentation, (3) the       end-consumers, a fact reflected by § 123.8's
    manufacturer's liability doctrine, [*21] (4) the       requirement that such processors maintain updated
    Alabama extended manufacturer's liability              HACCP plans to reduce the risk of adulterated
    doctrine as it exists or is hereafter construed or     shellfish reaching the retail market. 21 C.F.R. §
    modified, (5) breach of any implied warranty,          123.8(a)(1); see also Bissinger v. New Country
    or (6) breach of any oral express warranty and         Buffet, 2014 Tenn. App. LEXIS 331, 2014 WL
    no other. A product liability action does not          2568413, at *10 (Tenn. Ct. App. Jun. 6, 2014)
    include an action for contribution or indemnity.       (holding that the term "manufacturer" includes
                                                           "processors" of raw shellfish). Therefore, the Court
Ala. Code § 6-5-521(a) (emphasis added). As found
in nature, an oyster is not a manufactured product.
The question is whether an oyster becomes a                9 21 C.F.R. § 123.3(k)(1) defines processing as "[h]andling, storing,

manufactured product when it is harvested and              preparing, heading, eviscerating, shucking, freezing, changing into
                                                           different market forms, manufacturing, preserving, packing, labeling,
packaged for sale. The plaintiffs contend that WSI
                                                           dockside unloading, or holding."
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concludes that WSI is not a mere distributor or         applied to food products, for it is apparent that a
conduit within the meaning of Ala. Code § 6-5-          food product is defective or unreasonably
521(b)(4). To the extent that WSI's activities as a     dangerous if it is unmerchantable or unfit for
processor or WSI's independent negligence               human consumption." Allen v. Delchamps, Inc.,
contributed to Mr. Ruiz's injury, the innocent seller   624 So. 2d 1065, 1068 (Ala. 1993) (internal
statute will not bar liability.                         quotations omitted). Thus, the Court analyzes these
                                                        two claims together.

3. Mr. Ruiz's claims [*23] for violation of the         The plaintiffs claim that high levels of Virbrio
AEMLD and for breach of implied warranty of             vulnificus bacteria made the oysters that Mr. Ruiz
merchantability                                         consumed dangerously defective. (Doc. 150, p. 43).
                                                        WSI argues that, as a matter of law, the presence of
The plaintiffs contend that WSI violated the vibrio bacteria does not make raw oysters
Alabama Extended Manufacturer Liability Doctrine unreasonably dangerous because Vibrio vulnificus
(AEMLD) and breached the implied warranty of occurs in nature and is present in most Gulf Coast
merchantability when WSI supplied contaminated raw oysters.10
oysters to Winitzell's. The AEMLD "was modelled
after the product liability concepts of § 402A of the Alabama applies the "reasonable consumer
Restatement (Second) of Torts (1965), with one expectations" test to determine whether a product is
important difference: th[e Alabama Supreme] Court unreasonably dangerous. Ex Parte Morrison's
rejected the 'no-fault' concept of the Restatement." Cafeteria of Montgomery, Inc., 431 So. 2d 975, 978
Griggs v. Combe, Inc., 456 So. 2d 790, 791-92 (Ala. 1983). The Alabama Supreme Court has held
(Ala. 1984). To establish a claim under the that the reasonable expectations test is "compatible
AEMLD, the plaintiff must show that "he suffered with both the AEMLD and the implied warranty of
injury or damages to himself or his property by one merchantability, because the terms 'defect,'
who sold a product in a defective condition 'unreasonably dangerous,' and 'merchantable' all
unreasonably dangerous to the plaintiff as the focus on the expectations of the ordinary consumer,
ultimate user or consumer." Atkins v. American possessed of the ordinary knowledge common to
Motors Corp., 335 So. 2d 134, 141 (Ala. 1976).          the community." Cain v. Sheraton Perimeter Park
                                                        South Hotel, 592 So. 2d 218, 221 (Ala. 1991)
Similarly, to prevail on a claim for breach of the (internal quotations [*25] omitted). "The pivotal
implied warranty of merchantability, a plaintiff issue in the reasonableness test is what a consumer
must show that the goods were unmerchantable or is reasonably justified to expect to find in food
unfit for the ordinary purposes for which they bought for human consumption." Huprich v. Bitto,
ordinarily are used. See Ala. Code 1975, § 7-2-314. 667 So. 2d 685, 687-88 (Ala. 1995). The defendants
A warranty of merchantability for food products "is emphasize that vibrio bacteria occur naturally in a
implied in a contract for their sale if the seller is a large portion of oysters harvested on the Gulf
merchant with respect to goods of that kind." Coast. (Doc. 142, pp. 8-10). While this is a relevant
Section 7-2-314(1). "When the entire purpose of the consideration, under the reasonable consumer
product is simply to be consumed . . . the fact that expectations test, the simple fact that vibrio bacteria
consumption [*24] is dangerous makes the product occur naturally does not establish that the risk
unmerchantable." Houston v. Bayer Healthcare which the bacteria pose when ingested is within the
Pharms., Inc., 16 F. Supp. 3d 1341, 1347 (N.D. expectations of the reasonable consumer of oysters.
Ala. 2014) (applying Alabama law).

"These two standards go hand-in-hand, at least as       10 Wintzell's echoes WSI's argument. The following analysis applies

                                                        to both defendants.
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The parties have not cited and the Court has not                        in the shellfish that a plaintiff consumed, then a
located an opinion from an Alabama court                                plaintiff may avoid summary judgment. In the latter
addressing a case of Vibrio vulnificus poisoning. A                     scenario, courts have reasoned that they "cannot
review of decisions from other jurisdictions                            hold as a matter of law that such [reasonable
addressing cases of vibrio infection indicates a                        consumer] expectation extends to elevated risk
trend towards holding as a matter law that raw                          levels engendered by the alleged negligence of [the
shellfish are neither defective nor unreasonably                        defendants]." Horan v. Dilbet, 2015 U.S. Dist.
dangerous simply by virtue of containing Vibrio                         LEXIS 112734, 2015 WL 5054856, at *11 (D.N.J.
vulnificus bacteria. See, e.g., Simeon v. Doe, 618                      Aug. 26, 2015) (quoting Clime v. Dewey Beach,
So. 2d 848, 851 (La. 1993). The line of reasoning                       831 F. Supp. 341, 350 (D. Del. 1993) (internal
common to these cases is that: (i) Vibrio vulnificus                    quotation marks omitted).
occurs naturally in shellfish, (ii) consumers cannot
reasonably expect raw shellfish to be free of                           On the record in this case a dispute of fact exists as
naturally-occurring bacteria, and [*26] (iii) vibrio                    to whether reasonable consumers expect
bacteria are not dangerous to the overwhelming                          high [*27] concentrations of these bacteria in raw
majority of consumers. See, e.g., Bissinger, 2014                       shellfish caused by alleged mishandling of the
Tenn. App. LEXIS 331, 2014 WL 2568413, at *12.                          product. The Court, therefore, denies WSI's motion
                                                                        for summary judgment on the plaintiffs' claims for
Nearly every court presented with this question has                     violation of the AEMLD and for breach of implied
determined that vibrio is not only a natural danger                     warranty of merchantability.12
associated with oysters, but one that is a widely-
known, and therefore expected by most
consumers.11 But these decisions establish only that                    4. Mr. Ruiz's negligence claims against WSI
a plaintiff may not survive summary judgment                            The plaintiffs present three theories of negligence
simply by proving that vibrio bacteria were present                     against WSI. They contend that WSI was altering
in the raw shellfish he consumed. When a plaintiff                      the harvest dates recorded on the oyster tags,
can prove that the shellfish in question were                           making the oysters appear to have a longer shelf
unreasonably dangerous not because of the levels                        life. (Doc. 150, pp. 9, 40). They argue that WSI has
of vibrio occurring in nature, but because the                          no evidence of its compliance with regulations
defendant's handling of the shellfish caused                            governing maximum storage temperatures for raw
dangerously high concentrations of vibrio bacteria                      shellfish and that WSI, in failing to keep
                                                                        temperature records, violated FDA standards. (Doc.
                                                                        150, pp. 8-9). Finally, the plaintiffs submit that
11 Ayala v. Bartolome, is the only decision the Court could locate in

which a plaintiff survived summary judgment alleging only that the
presence of vibrio bacteria made shellfish dangerous and
unmerchantable. 940 S.W. 2d 727 (Ct. App. Tex. 1997). The               12 Although plaintiffs recite a claim for breach of implied warranty of

following courts have held that the presence of Vibrio bacteria alone   fitness for a particular purpose in their response, they make no
is legally insufficient to create an issue of fact as to whether the    arguments addressing this cause of action. (Doc. 150, p. 6). If the
shellfish in question were unreasonably dangerous or defective:         plaintiffs maintain this claim, it is due to be dismissed for lack of
Horan v. Dilbet, Inc., 2015 U.S. Dist. LEXIS 112734, 2015 WL            evidence to support it. In the context of Wintzell's Oyster House, Mr.
5054856 (D.N.J. Aug. 26, 2015); Clime v. Dewey Beach Enterprises,       Ruiz's intended use of the raw oysters was their ordinary use. He has
Inc., 831 F. Supp. 341 (D. Del. 1993); Bissinger, 2014 Tenn. App.       alleged no particular use for the oysters other than consumption, nor
LEXIS 331, 2014 WL 2568413; Bergeron v. Pacific Foods, Inc.,            has he shown that any of the defendants were aware of a purpose
2011 Conn. Super. LEXIS 366, 2011 WL 1017872 (Conn. February            which he might have had for the oysters other than consumption.
14, 2011); Simeon, 618 So. 2d 848; Woeste v. Washington Platform        Thus, plaintiffs fail to allege that Mr. Ruiz had a "particular purpose"
Saloon & Rest., 163 Ohio App. 3d 70, 2005 Ohio 4694, 836 N.E. 2d        within the meaning of § 7-2-315 of the Alabama Commercial Code.
52 (Ohio Ct. App. 2005); Edwards v. Hop Sin, Inc., 140 S.W. 3d 13,      See Royal Typewriter Co. v. Xerographic Supplies Corp., 719 F.2d
16 (Ky. Ct. App. 2003).                                                 1092, 1100 (11th Cir. 1983).
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WSI was negligent in selecting Misho's Oysters as       specifically allege, they also would have been just
a supplier because Misho's has a history of             inside their expiration window on December 15.
violations of oysters handling standards. (Doc. 150,    The presence of inaccuracy in WSI's business
p. 47).                                                 records may constitute regulatory violations, but
                                                        the plaintiffs must introduce evidence connecting
With respect to their first theory, plaintiffs rely     these violations to Mr. Ruiz's injury. The
primarily on deposition testimony given by WSI          contention that vibrio grows over time sheds little
manager, Jessica Webb. In this deposition, counsel      light on the link between WSI's behavior and Mr.
for the plaintiffs confronted Ms. Webb with sales       Ruiz's injury when the oysters were within their
records and bills of lading that reflect                conceded shelf-life. To allow such a theory to
inconsistent [*28] harvest dates for oysters sold to    succeed would come too close to holding the
Wintzell's. (Doc. 150-6 pp. 98-100, 121-24, 132-        defendants liable simply because vibrio was present
33). The plaintiffs' experts opine that the apparent    at some level in the raw oysters. Thus, the issue of
alteration of harvest dates affects this case because   inaccurate or altered tags does not itself appear to
the vibrio levels in raw oysters are increasing each    be causally connected to Mr. Ruiz's injury.
day from the time of harvest. (Doc. 150, pp. 30-31).
                                                        Next the plaintiffs contend that WSI negligently
Although altering the harvest dates could allow         mishandled [*30] the raw oysters by exposing
oysters to become hazardous for consumption, the        them to air temperatures that allowed vibrio
plaintiffs do not allege that this is what occurred.    bacteria to multiply. (Doc. 150, p. 47). This theory
Both parties agree that raw oysters have a fourteen-    is burdened by the fact that the plaintiffs have no
day window after harvest in which the oysters can       records of the temperatures at which WSI stored
be consumed safely. (Doc. 137, p. 5; Doc 150, p.        and shipped the oysters that were eventually sold to
48). The plaintiffs do not allege that the oysters      Wintzell's Huntsville. Contrary to the plaintiffs'
WSI sold were outside of this window, and — so          suggestion, the absence of records does not by itself
far as the Court can tell — there is no evidence        prove WSI's culpability, as the plaintiffs have the
suggesting that WSI's oysters were beyond the           burden to come forward with evidence of
fourteen-day window on December 15, the night           temperature violations. The plaintiffs argue that
when Mr. Ruiz became ill. According to the              their claims have been unfairly prejudiced by WSI's
plaintiffs' response to the motion for summary          lack of recordkeeping, and they seek sanctions for
judgment, the records kept by WSI conflict as to        the destruction of temperature records that they
whether the oysters which WSI eventually sold to        claim WSI was obligated to maintain. (Doc 151,
Wintzell's were harvested on December 7 or              pp. 4-5).
December 8, 2012. (Doc. 150, p. 48). Regardless,
these oysters would have been within the 14-day         The power to impose sanctions to ensure the
window on December 15.                                  integrity of the discovery process is within the
                                                        broad discretion of the district court. See Flury v.
The plaintiffs argue [*29] that there were multiple
                                                        Daimler Chrysler, Corp., 427 F.3d 939, 944 (11th
inconsistencies in WSI's records concerning harvest
                                                        Cir. 2005). The Court applies federal law to assess
dates in addition to the one singled out in their
                                                        the merits of a motion for sanctions, though the
response. (Doc. 150, p. 30, fn. 23). Jessica Webb's
                                                        Eleventh Circuit has indicated that this application
deposition      testimony      reveals      possible
                                                        may be informed by state law. Flury, 427 F.3d at
inconsistencies concerning oysters harvested on
                                                        944. Alabama law defines spoliation as "an attempt
either December 2 or 3 of 2012. (Doc. 150-6, pp.
                                                        by a party to suppress or destroy material evidence
97-99, 132-33). Again, even if these oysters were
                                                        favorable to the party's adversary." Wal—Mart
sold to Mr. Ruiz, a fact which the plaintiffs do not
                                                        Stores, Inc. v. Goodman, 789 So. 2d 166, 176 (Ala.
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2000) (internal quotations [*31] omitted). While        whether they relate to the adequacy of a processor's
malice is not a requirement for the Court to impose     processes as governed by (b)(2). While a colorable
sanctions, a showing that the defendant acted in bad    argument can be made that cooler temperatures
faith is necessary. Bashir v. Amtrak, 119 F.3d 929,     relate to the adequacy of processes used in
931 (11th Cir. 1997). Simple negligence resulting       preparing raw shellfish, a close reading of the
in the loss of evidence does not satisfy the            regulation's language indicates that WSI has the
requirement of bad faith. Mann v. Taser Intern.,        better argument.
Inc., 588 F.3d 1291, 1310 (11th Cir. 2009). Thus,
the absence of the records, no matter how important    The quoted subsections appear to reference two
to the plaintiffs' case, does not by itself create a   different types of records. Subsection (b)(1) deals
presumption of bad faith. WSI is the non-movant        with records specific to food items which are then
for purposes of this motion, and the Court will        differentiated on the basis of whether the item to
therefore view the evidence in the light most          which the record relates is refrigerated or frozen.
favorable to the company.                              Subsection (b)(2) deals with records relating to
                                                       broader, systemic concerns such as those
The plaintiffs assert that WSI is culpable for reflected [*33] in a processor's HACCP plan. This
destroying temperature records because, as a broader concern is reflected by the types of records
processor of raw shellfish, WSI has a statutory that are specifically mentioned in subsection (b)(2),
obligation to retain records relating to these namely "the results of scientific studies and
products for two years. (Doc. 151, p. 2). WSI evaluations. . . ." 21 C.F.R. § 123.9(b)(2). The
responds with its reading of the relevant statute plaintiffs seek records of cooler temperatures
which WSI contends requires retention of concerning a particular product on particular dates.
temperature records for only one year. The Such records seem too narrow in scope to be
governing regulation reads in relevant part:           grouped with records of scientific studies
     (b) Record retention.                             evaluating the general adequacy of processes used
                                                       at a given facility. The Court therefore determines
     (1) All records required by this part shall be
                                                       that WSI's cooler temperature records are governed
     retained at the processing facility or importer's
                                                       by subsection (b)(1). As it is undisputed that raw
     place of business in the United States for at
                                                       oysters are refrigerated, not frozen, WSI is correct
     least 1 year after the date they were prepared
                                                       in its assertion that it was not statutorily required to
     in the case of refrigerated products and for at
                                                       retain temperature records for more than one year.
     least 2 [*32] years after the date they were
     prepared in the case of frozen, preserved, or That WSI was not statutorily required to maintain
     shelf-stable products.                            the records for more than one year does not end the
                                                       discussion if WSI had reason to know that this
     (2) Records that relate to the general adequacy
                                                       litigation was impending and was aware that the
     of equipment or processes being used by a
                                                       temperature records would be pertinent evidence.
     processor, including the results of scientific
                                                       WSI indicates that the plaintiffs never sent them a
     studies and evaluations, shall be retained at the
                                                       request for production. (Doc. 158, p. 8). The
     processing facility or the importer's place of
                                                       plaintiffs do not directly refute this statement, but
     business in the United States for at least 2
                                                       argue that they gave WSI notice of their claims on
     years after their applicability to the product
                                                       September 4, 2014. (Doc. [*34] 151, p. 2). In her
     being produced at the facility.
                                                       deposition, Ms. Webb indicates that she disposes of
21 C.F.R. § 123.9(b) (emphasis added). The records required by WSI's HACCP plan after one
question is whether cooler temperature records year. (Doc. 151-1, p. 34). As cooler temperature
relate to refrigerated products governed by (b)(1) or records relate to a critical control point for bacteria
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growth, they would be covered by WSI's HACCP             care which a reasonably prudent man, skilled in the
plan. Consequently WSI would have destroyed              art of selecting and preparing food for human
these records after a year. Given their limited shelf-   consumption, would be expected to exercise in the
life, oysters consumed on December 15 must have          selection and preparation of food for his own
been processed in early December of 2012. By             private table." Hogue v. Logan's Roadhouse, Inc.,
December of 2013, WSI, by company policy, could          61 So. 3d 1077, 1081 (Ala. Ct. Civ. App. 2010).
dispose of records relating to the refrigeration         Therefore, WSI can be held liable for selecting
temperatures for oysters processed during the            Misho's if the plaintiffs' evidence indicates that
timeframe relevant to Mr. Ruiz's injury. Because         Misho's breached the duty of care in a way that is
WSI did not have notice of this case until               causally related to Mr. Ruiz's injury.
September 2014, the Court cannot infer that WSI
acted in bad faith in destroying the records.          To establish that Misho's was an unsafe harvester
Therefore, the Court denies the plaintiffs' motion     of oysters, the plaintiffs point to the report of Dr.
for sanctions.                                         Rodrick, who in turn relies on the testimony of
                                                       Misho's owner, Michael Ivic, for direct knowledge
Without temperature records, the plaintiffs have no of the practices in question. Dr. Rodrick cites
other evidence supporting their theory that WSI Misho's practice of keeping oysters aboard boats or
mishandled the raw oysters sold to Wintzell's. on docks without refrigeration during November
Consequently, plaintiffs must rely on alternate and December 2012 when the local temperatures
theories of negligence.                                reached over 70 degrees Fahrenheit. (Doc. 150-4,
                                                       pp. 5-6). The Court notes that the period when
Finally, the plaintiffs assert that WSI's selection of Misho's allegedly mishandled its oysters includes
Misho's Oysters was a negligent act that the timeframe during which the oysters which Mr.
contributed to Mr. Ruiz's vibrio [*35] infection. Ruiz consumed were harvested. Dr. Rodrick states
The Court treats this as an attempt to hold a that Misho's had no "accurate records as to
principal liable for the acts of an independent temperature controls for its live raw oysters." (Doc.
contractor. "Under Alabama law, a principal is not 150-4, p. 5). In addition, Dr. Rodrick is prepared to
liable for the torts of an independent contractor." testify [*36] that "[a]t least 7 deaths have been
Atkinson v. Jeff Lindsey Communities, Inc., 2016 attributed to Misho's oysters," as evidence that WSI
U.S. Dist. LEXIS 45104, 2016 WL 1312320, at *2 should have been on notice of its harvester's alleged
(M.D. Ala. Apr. 4, 2016) (citing Fuller v. Tractor & deficiencies. (Doc. 150-4, p. 5). Roy Costa relies on
Equip. Co., Inc., 545 So. 2d 757 (Ala. 1989)). An the same testimony from Mr. Ivic to conclude that
exception to this rule exists where the principal WSI's failure to verify the safety of its suppliers'
uses an independent contractor to accomplish a practices greatly increased Mr. Ruiz's risk of vibrio
non-delegable duty. See Gen. Fin. Corp v. Smith, infection. (Doc. 150-5, p. 4).
505 So. 2d 1045, 1047 (Ala. 1987). A duty is non-
delegable where "the obligations are expressly or WSI responds that its decision to purchase oysters
impliedly imposed by statute, municipal ordinance, from Misho's was in compliance with the only
or by administrative rules or regulations, or by regulation governing the obligations of shellfish
judicial decisions." Bain v. Colbert Cty. Northwest processors to ensure a safe supply chain: 21 C.F.R.
Ala. Health Care Auth., 2017 Ala. LEXIS 9, 2017 § 123.28. (Doc. 156, p. 7). This regulation requires
WL 541912, at *13 (Ala. Feb. 10, 2017) (emphasis that processors purchase only from dealers who
and internal quotations omitted). For companies have been licensed by the State approval processes
like WSI, which sell a product to the public which and who have not been fishing in waters designated
they know will be consumed raw, Alabama law as closed by the Federal Government. See 21
imposes a duty to exercise "that same degree of C.F.R. § 123.28(b), (c). Plaintiffs do not allege that
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Misho's lacked this license, nor do they allege that Price Foods owns and operates a Catfish Cabin
Misho's was fishing in closed waters.                  restaurant and six Huddle House Restaurants within
                                                       Alabama. (Doc. 90, p. 2). Price Foods does not own
Despite WSI's apparent compliance with this Wintzell's Huntsville. The plaintiffs attempt to hold
regulation, issues of fact concerning its use of Price Foods liable because Dana Price, who owns
Misho's as an oyster supplier remain. "The general 50 percent of Wintzell's Huntsville, also owns 100
rule is that '[c]ompliance with a legislative percent of Price Foods. (Doc. 90, pp. 1-2). The
enactment or an administrative regulation does not plaintiffs also point to the fact that Alan Renfroe,
prevent a finding of negligence where a who is employed by Price Foods, also is employed
reasonable [*37] man would take additional by Mr. Price in a managerial capacity at Wintzell's
precautions.'" Stewart v. Hewlett Packard Co., Huntsville. (Doc. 163, pp. 19-21). The plaintiffs
2012 U.S. Dist. LEXIS 169200, 2012 WL 6043642, note that only Price Foods appears to have paid Mr.
at *5 (N.D. Ala. Nov. 29, 2012) (quoting Rest. 2d Renfroe for his work. (Doc. 150-11, pp. 31-32).
Torts § 288C (1965)); see also Dunn v. Wixom
Brothers, 493 So. 2d 1356, 1359 (Ala. 1986) The overlap in management and ownership does
("customary practices or standards do not furnish a not make Price Foods, a legally separate entity,
conclusive test of negligence"). The prevalence of liable for the negligent acts or omissions allegedly
vibrio in Gulf Coast oysters and the bacteria's committed by Wintzell's Huntsville. "A corporation
devastating health effects on certain segments of can act only through its servants, agents, or
the population counsel that those in the business of employees; but the acts of those servants, agents, or
bringing raw oysters to the public take great care in employees are not the acts of the corporation
doing so. Consequently, WSI's compliance with unless [*39] the servants, agents, or employees are
applicable regulations, standing alone, does not acting for the corporation . . . ." U.S. Fidelity &
negate an issue of fact. The plaintiffs have alleged Guar. Co. v. Russo Corp., 628 So. 2d 486, 488
facts which, taken as true for purposes of summary (Ala. 1993). The acts of an agent are attributable to
judgment, raise issues about whether WSI was or the principal where the principal reserves a right to
should have been on notice of practices by Misho's control the agent's performance and the agent acts
that appear to fall below the industry's normal within the scope of their agency or employment
standards of care. Thus, the Court denies WSI's relationship. See Hulbert v. State Farm Mut. Auto
motion for summary judgment on the plaintiffs' Ins. Co., 723 So. 2d 22, 24 (Ala. 1998); U.S.
claim for negligent selection of a supplier.           Fidelity & Guar. Co., 628 So. 2d at 488. Agents act
                                                       within the scope of their employment or agency
                                                       relationship when they perform acts for which they
B. Price Foods, Inc.'s Motion for Summary              were hired or which they undertake for the
Judgment                                               principal's benefit. Hulbert, 723 So. 2d at 24.
The plaintiffs allege that Price Foods failed to "[T]he party asserting [an agency relationship] has
adequately train employees at Wintzell's Huntsville the burden of adducing substantial evidence to
on the proper handling of raw oysters and that "this prove its existence." Kennedy v. Western Sizzlin
failure to properly train and to supervise constitutes Corp., 857 So. 2d 71, 77 (Ala. 2003)
negligence." (Doc. 150, p. 15). Price Foods is            Although the plaintiffs' evidence supports the
entitled to summary judgment on [*38] Mr. Ruiz's          conclusion that Mr. Renfroe is the agent of multiple
negligence claim because the record demonstrates          principals, the plaintiffs have not demonstrated why
that Price Foods is a legally distinct entity that does   the alleged negligence of Mr. Renfroe should be
not own, operate, or control the Wintzell's               attributed to Price Foods, rather than to Wintzell's
Huntsville restaurant where Mr. Ruiz dined.               Huntsville alone. As the managing member of
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Wintzell's Huntsville and the sole owner of Price       independent acts of negligence, wantonness,
Foods, Dana Price likely was the person exercising      warranty violations, or fraud." Ala. Code 1975 § 6-
control over Mr. Renfroe, but it does not follow        5-521(b)(4). As discussed in detail below, the
that Mr. Price was exercising that control on behalf    plaintiffs allege that the Wintzell's defendants
of Price Foods. The plaintiffs have not provided        committed acts of negligence unrelated to the
evidence that Mr. Renfroe's management activities       product's design or manufacture and that these were
at Wintzell's Oyster [*40] House were within the        causes of Mr. Ruiz's injury. Thus, to the extent the
scope of his employment relationship with Price         plaintiffs' evidence creates an issue of fact
Foods. The plaintiffs' attempt to extend liability to   regarding Wintzell's alleged negligence, the
Price Foods rests largely on the fact that Mr.          innocent seller statute will not bar the plaintiffs'
Renfroe received his salary from Price Foods, not       claims.14
Wintzell's. Standing alone, the paycheck is not
substantial evidence of an agency relationship
connecting Mr. Renfroe's work at Wintzell's to his      2. Mr. Ruiz's negligence claims against
relationship with Price Foods. Consequently the         Wintzell's Huntsville
Court grants summary judgment in favor of Price
                                                        The plaintiffs allege that several negligent acts and
Foods on all of plaintiffs' claims against the
                                                        omissions by Wintzell's Huntsville caused vibrio
company.
                                                        bacteria in its oysters to multiply to unsafe levels,
                                                        thereby causing Mr. Ruiz's infection. (Doc. 150, p.
C. Wintzell's Motion for Summary Judgment               12). They point to Wintzell's manner of storing and
                                                        serving raw oysters as factors causally related to the
                                                        gowth of vibrio bacteria. (Doc. 150, p. 12-13).
                                                        Plaintiffs also contend that Wintzell's Huntsville
1. Wintzell's innocent seller defense                   choice of WSI and Misho's Oysters as suppliers of
                                                        raw [*42] oysters was negligent.15 This argument
The Wintzell's defendants also claim that               is addressed below alongside the identical claim
Alabama's innocent seller statute entitles them to      made against Wintzell's Franchise Co.
summary judgment because they are no more than
retailers of a product prepared by parties further up   Under Alabama law, "to establish negligence, the
the supply chain. (Doc. 142, pp. 5-7). Wintzell's       plaintiff must prove: (1) a duty to a foreseeable
Huntsville performs some tasks under the definition     plaintiff; (2) a breach of that duty; (3) proximate
of the term "process" including handling, storing,      causation; and (4) damage or injury." Hilyer v.
and shucking raw oysters. (Doc. 163, p. 35).13 The      Fortier, 227 So. 3d 13, 2017 Ala. LEXIS 1, 2017
plaintiffs, however, do not appear to argue that        WL 65346, at *7 (Ala. Jan. 6, 2017). The particular
Wintzell's Huntsville is a manufacturer or processor    duty that Alabama tort law imposes upon restaurant
of shellfish. Instead, the plaintiffs argue that        owners is as follows:
Wintzell's committed independent acts of                    The law requires that, in the selection of the
negligence precluding [*41] them from the                   food for his restaurant and in cooking it for his
statute's protection. (Doc. 150, p. 44).
                                                        14 Thisanalysis applies to both Wintzell's Huntsville, LLC and
The innocent seller statute "is not intended to
                                                        Wintzell's Franchise Company.
protect distributors from independent acts unrelated
                                                        15 In addition to their negligence claims against Wintzell's Huntsville,
to the product design or manufacture, such as
                                                        the plaintiffs assert AEMLD and breach of implied warranty of
                                                        merchantability claims against this defendant. The Court addressed
                                                        the latter claims as they pertain to WSI at pp. 21-25 above. The
13 See Footnote 9, supra.                               reasoning is the same with respect to Wintzell's.
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    customers, he shall exercise that same degree         Doc. 150-2). Plaintiffs maintain that Mr. Ruiz's past
    of care which a reasonably prudent man, skilled       ability to consume oysters without issue despite his
    in the art of selecting and preparing food for        undiagnosed liver problem indicates that there was
    human consumption, would be expected to               something seriously wrong with the oysters that
    exercise in the selection and preparation of          Wintzell's served on December 15. (Doc. 150, pp.
    food for his own private table.                       7, 20).

Hogue, 61 So. 3d at 1081. The mere fact that a            The plaintiffs identify several acts or omissions by
customer becomes ill after dining at a restaurant         Wintzell's and its employees that they claim
does not raise a presumption of negligence. Instead,      contributed to the multiplication of vibrio in the
the plaintiff must present evidence "from which a         oysters served to Mr. Ruiz. They cite to Wintzell's
jury could at least infer that the restaurant failed to   co-mingling of shellstock in violation of health
act with due care in the preparation of the plaintiff's   regulations (Doc. 150, p. 9); they cite the fact that
food." Hogue, 61 So. 3d at 1082.                          oysters were served to Mr. Ruiz on a plate instead
                                                          of resting directly on top of drained ice as required
The plaintiffs' negligence claims rest on their           by state law (Doc. 150, p. 12); they cite to recorded
theory that vibrio, while naturally present in most       refrigeration temperatures above the prescribed
oysters, becomes unsafe to consumers at higher            temperature threshold (Doc. 150, p. 13); and they
concentrations. [*43] (Doc. 150, p. 3). Thus, acts        cite to Wintzell's failure to keep oyster harvest tags
or omissions by a restaurant or supplier that allow       in chronological order (Doc. 150, p. 13).
vibrio to multiply increase the risk of serious
infection and are a breach of the duty owed to the        Plaintiffs' expert, Roy Costa, offers his opinion
customer. (Doc. 150, p. 4). As evidence for this          that, at least with respect to the manner in which
theory, plaintiffs point to the report of Dr. Rodrick     Wintzell's served and stored oysters, failure to
in which he states that "vibrio below certain levels      abide by the requirements of state and
(estimated to be 60 organisms per gram) do not            federal [*45] regulations likely allowed vibrio
harm humans who ingest raw, live oysters. Vibrio          bacteria to multiply to unsafe levels in the raw
at higher levels poses a health risk to all humans."      oysters that Wintzell's served. (Doc. 150-5, p. 4).
(Doc. 150-4, p. 4). According to Dr. Rodrick,             Mr. Costa further opines that a higher concentration
individuals with healthy livers and immune systems        of vibrio bacteria in an oyster increases the
generally will respond with vomiting or diarrhea,         likelihood of serious infection like the one suffered
but for those who have compromised livers or              by Mr. Ruiz. (Doc. 150-5, pp. 2, 4). Mr. Costa
immune systems, vibrio poisoning is potentially           relies on the affidavits of Mr. Ruiz's co-workers,
fatal. (Doc. 150-4, p. 4).                                Abner Deleon and Bayron Barrios, for information
                                                          on Wintzell's method of serving oysters, and on the
Consistent with Dr. Rodrick's opinion, the plaintiffs     health inspection records to establish issues with
point to affidavits by two of Mr. Ruiz's co-workers       Wintzell's refrigerated storage. (Doc. 150-5, p. 5;
who dined with him at Wintzell's on December 15           Doc. 150-3, pp. 2, 3).
and consumed the same raw oysters. Their
testimony is that they began experiencing nausea,         Two courts have addressed theories of recovery
vomiting, and diarrhea the same evening that they         virtually identical to the one plaintiffs offer here, in
ate oysters with Mr. Ruiz, and that these symptoms        cases where the plaintiffs suffered severe vibrio
persisted for several days. (Doc. 150-3, p. 1, 3).        infections after consuming raw shellfish. In Clime
Plaintiffs also note that Mr. Ruiz had consumed           v. Dewey Beach Enterprises, the source of the
Wintzell's [*44] raw oysters on several occasions         vibrio bacteria was raw clams that the plaintiff
prior to December 2012 without any ill effect. (See       consumed at the defendant's buffet. 831 F. Supp. at
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342. The plaintiff's injury was exacerbated by the                      The plaintiffs submit records of health inspections
fact that he had cirrhosis of the liver, making him                     at Wintzell's Huntsville which include citations for
more vulnerable to vibrio infection. Clime, 831 F.                      refrigerator temperatures as high as 47 degrees
Supp. at 342. After the court dismissed claims                          Fahrenheit, as well citations for inconspicuous or
premised on the theory that the presence of vibrio                      missing thermometers. (Doc. 150-17, pp. 2, 4, 5).
alone permitted recovery, the [*46] Court                               One such inspection where a temperature violation
addressed the plaintiff's contention that the                           was recorded occurred on December 6, 2012, just
defendants had negligently contributed to vibrio                        days prior to Mr. Ruiz's visit. While the refrigerator
multiplication in their raw clams. The plaintiff                        temperature violations are not all specific to
offered his personal observation and that of another                    oysters, that fact does not wholly negate the
patron that the defendant left raw clams in an                          relevance of this evidence. See Bissinger, 2014
unrefrigerated area as the clams were shucked and                       Tenn. App. LEXIS 331, 2014 WL 2568413, at *16
placed on the buffet. Clime, 831 F. Supp. at 350.                       ("We are not persuaded that proof should be limited
Presented with this evidence, the District Court for                    to raw oysters. The restaurant's handling of other
the District of Delaware determined that summary                        food products, especially those with requirements
judgment for the defendant was inappropriate. The                       similar to oysters, is relevant to the issues."). Thus,
district court noted that although "a consumer                          the plaintiffs have submitted evidence establishing
should reasonably expect a raw clam to pose some                        a standard of care, and evidence indicating that
health risk, [the court] cannot hold as a matter of                     Wintzell's breached that standard. [*48] Although
law that such expectation extends to elevated risk                      there is some disagreement between the plaintiffs'
levels engendered by the alleged negligence of the                      experts and the defendants' expert, Dr. Oliver, over
[defendant restaurant]." Clime, 831 F. Supp. at 350.                    the temperatures at which vibrio cease to multiply,
                                                                        resolution of that disagreement is an issue of fact
The defendants in Clime complained, as do the                           for the jury. (See Doc. 142-3, p. 7; Doc. 150-4, p. 6;
defendants here, that "there [wa]s nothing in the                       Doc. 150-5, pp. 2, 4).
evidentiary record to support the plaintiff's
assertion that storage above approximately forty-                       In Horan v. Dilbet, Inc., the district court for the
five degrees [Fahrenheit] increases potential health                    District of New Jersey dealt with another instance
risks to humans upon ingestion." Clime, 831 F.                          of vibrio infection from raw clams. 2015 U.S. Dist.
Supp. at 344; (Doc. 139, pp. 2-3, 8). But here, as in                   LEXIS 112734, 2015 WL 5054856. Like Mr. Ruiz,
Clime, the defendant is incorrect for two reasons.                      the plaintiff had an undiagnosed condition
The plaintiffs' experts have given testimony that                       rendering her more susceptible to vibrio infection.
industry practice is to keep raw [*47] shellfish                        2015 U.S. Dist. LEXIS 112734, 2015 WL 5054856,
refrigerated at or below 41 degrees Fahrenheit.                         at *1-2. The plaintiff in Horan presented evidence
(Doc. 150-5, pp. 2, 4; Doc. 139-1, p. 9). Equally                       that the defendant restaurant had a record of health
relevant is the fact that the FDA and the State of                      code violations including refrigerator temperatures
Alabama require raw shellfish to be refrigerated at                     in excess of those allowed by state law and
or below 45 degrees Fahrenheit. See Ala. Admin.                         unsanitary conditions on surfaces where employees
Code r. 420-3-18-.03(7).16                                              prepared raw shellfish. 2015 U.S. Dist. LEXIS
                                                                        112734, 2015 WL 5054856, at *2, 5. She claimed
16 Alabama
                                                                        that these violations caused vibrio to multiply to
             state regulations define refrigeration as storage
temperatures at or below 45 degrees Fahrenheit. Ala. Admin. Code r.     dangerous levels in the raw clams which she
420-3-18-.03(7). The Court also notes that, according to the National   ingested, and that the high concentration of bacteria
Shellfish Sanitation Program, the "FDA recommends that potentially
hazardous food be held at 5° C (41° F) or below, and if large
volumes are involved in processing, methods be employed to rapidly      four (4) hours." NATIONAL SHELLFISH SANITATION PROGRAM, GUIDE
cool the product to an internal temperature of 5° C (41° F) within      FOR THE CONTROL OF MOLLUSCAN SHELLFISH 174 (2011).
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caused her infection. 2015 U.S. Dist. LEXIS caused vibrio to multiply to toxic levels in the
112734, 2015 WL 5054856, at *5.             oysters they were selling to the public.

Faced with an identical theory and similar               The Court notes that "[i]t is certainly 'reasonably
evidentiary showing to those in Clime, the district      foreseeable' that a person who suffers from an
court reached the same conclusion, holding that the      undiagnosed condition that unbeknownst to h[im]
alleged, increased risk attributable to defendant's      renders h[im] highly-susceptible to a Vibrio
negligence [*49] created a dispute of material fact      infection would nonetheless consume raw
notwithstanding the plaintiff's concession that          shellfish." Horan, 2015 U.S. Dist. LEXIS 112734,
vibrio can occur naturally at toxic levels. 2015 U.S.    2015 WL 5054856 at *11. Testimony from the
Dist. LEXIS 112734, 2015 WL 5054856, at *11.             defendants' own expert reveals what a broad swath
                                                         of the public can face serious health consequences
The plaintiffs here present both eyewitness              as a result of vibrio infection. (See Doc. 142-3, pp.
evidence of Wintzell's negligence on December 15,        4-5).17 Therefore, Mr. Ruiz's underlying condition
2012 and documentary evidence indicating possible        does not preclude an issue of material fact on the
negligence on other occasions. In addition, the          question of whether Wintzell's Huntsville's
plaintiffs presented evidence that other consumers       negligence was a cause of Mr. Ruiz's injury.
were adversely affected by the same oysters on the
same occasion. In light of the close parallels with      Generally, the question of proximate cause is a
the evidence deemed sufficient to survive summary        question of fact for a jury. Cain, 592 So. 2d at 222.
judgment in Clime and Horan, the Court finds that        The plaintiffs here have created issues of fact on
the plaintiffs' evidence creates issues of fact that     whether acts or omissions by Wintzell's Huntsville
preclude summary judgment.                               caused vibrio to multiply in the oysters served to
                                                         Mr. Ruiz and whether the increase in vibrio is what
Defendants contend that it was not any growth in         caused Mr. Ruiz's injury. Therefore, the Court
vibrio but Mr. Ruiz's then undiagnosed Hepatitis C       denies the Wintzell's Huntsville's motion for
which was the cause in fact of his injury, since         summary judgment on the negligence claims.
most healthy persons are not affected by consuming
vibrio in raw oysters. While it is undeniable that
Mr. Ruiz's condition made him more vulnerable to         3. Mr. Ruiz's negligence claims against
vibrio infection, it does not follow that this was the   Wintzell's Franchise Company
sole cause of his injury. There is evidence in the
                                                         The plaintiffs argue that Wintzell's Franchise is
record suggesting that vibrio can negatively affect
                                                         liable for a failure to implement adequate
otherwise healthy people. (Doc. 150-4, p. 3).
                                                         procedures for storing raw shellfish and for
Indeed there is evidence suggesting that
                                                         properly cataloguing harvest tags. (Doc. 150, pp.
vibrio [*50] adversely affected otherwise healthy
                                                         13-14). The plaintiffs also contend that Wintzell's
people in this very case. (Doc. 150-3, pp. 1, 3). Mr.
                                                         Franchise was involved in the selection of oyster
Ruiz's Hepatitis C likely is why he suffered such
                                                         suppliers for its franchisees. The plaintiffs assert
severe consequences from ingesting vibrio, but it is
                                                         that the selection of WSI and Misho's Oysters by
also true that vibrio bacteria was a but-for cause of
Mr. Ruiz's injuries. See Dempsey v. Phelps, 700 So.
2d 1340, 1348 (Ala. 1997) ("[A] defendant is             17 In Dr. Oliver's sworn statement, he notes that those vulnerable to


responsible for the probable consequences of his         severe Vibrio vulnificus [*51] infections include persons with liver
                                                         disease, persons with hemochromatosis, persons with diabetes,
actions, regardless of the preexisting condition of      persons with stomach problems, persons with cancer, and persons
the plaintiff."). And the plaintiffs' evidence creates   with immune disorders. Dr. Oliver opines that "[m]any of the above
a genuine issue of fact as to whether the defendants     persons in these risk groups may have no symptoms and may not
                                                         know they are in a risk group." (Doc. 142-3, p. 5).
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both Wintzell's entities is another instance of           handle the raw form of this product is somewhat
actionable negligence. (Doc. 150, pp. 10, 14, 16).        surprising. What is missing, however, is the
                                                          necessary link of control that would allow a jury to
The first of these theories is a form of vicarious        attribute the actions of Wintzell's Huntsville to
liability. See, e.g., Dolgencorp, LLC v. Spence, 224      Wintzell's Franchise. The testimony of Dana Price
So. 3d 173, 2016 Ala. LEXIS 115, 2016 WL                  indicates that the manager at Wintzell's Huntsville
5817690 (Ala. Sept. 30, 2016). To hold a third party      had the responsibility of training the restaurant's
vicariously liable for the acts of another, a plaintiff   employees. (Doc. 163, pp. 31-32). Wintzell's
must show that an agency relationship exists              Franchise was not in control of the operations at
between the tortfeasor and [*52] the third party.         Wintzell's Huntsville, and thus Wintzell's Franchise
See Ware v. Timmons, 954 So. 2d 545, 549 (Ala.            owed no duty to Mr. Ruiz to ensure that employees
2006). The relationship between franchisor and            at the Huntsville location were fully trained on
franchisee is not necessarily an agency relationship.     handling raw oysters.
Where a plaintiff alleges that a franchisor is liable
for the negligence of the franchisee, the plaintiff       The plaintiffs' second claim alleging negligent
must show not only the existence of a franchise           selection of oyster suppliers implicates both
agreement, but also the fact that the franchisor          Wintzell's Huntsville and Wintzell's Franchise. As
"reserved a right of control over the manner of the       with plaintiffs' identical claim against WSI, the
alleged agent's performance." Wood v. Shell Oil,          Court treats this as an effort to impose [*54]
495 So. 2d 1034, 1036 (Ala.1986). That the                liability on the principal for acts of an independent
franchisor reserves a "right to supervise the alleged     contractor. See pp. 30-31 above. Therefore, the
agent to determine if that person conforms to the         Wintzell's defendants can be held liable only if
performance required by a contract . . . does not,        their independent contractor breached a non-
itself, establish control." Kennedy, 857 So. 2d at 77     delegable duty in a manner causally connected to
(internal quotations omitted).                            Mr. Ruiz's injury. See Atkinson, 2016 U.S. Dist.
                                                          LEXIS 45104, 2016 WL 1312320, at *2.
Although the plaintiffs have offered the franchise
agreement as an exhibit, they make no argument as         The Wintzell's defendants argue that there is no
to why Wintzell's Huntsville was the agent of             evidence that they owe a duty to verify the
Wintzell's Franchise. A review of the agreement           practices of their food suppliers, but the Court has
indicates that Wintzell's Franchise made                  already noted that under Alabama law, the
introductory training mandatory for franchise             commercial seller of foods has a non-delegable
managers. (Doc. 150-24, p. 18). It also indicates         duty to exercise the skill and care of a reasonably
that Wintzell's Franchise may make further training       prudent person in selecting foods served to the
available to employees of the franchisee at a fee.        public. See Hogue, 61 So. 3d at 1081. This duty
(Doc. 150-24, pp. 16, 19). The agreement reserves         plainly applies to Wintzell's Huntsville, and it
to Wintzell's Franchise the right to review whether       applies to Wintzell's Franchise to the extent
the franchisee is in compliance with [*53] the            Wintzell's Franchise participates in the decision of
terms of the franchise agreement, but the agreement       which food suppliers its franchisee uses.
has no language suggesting that Wintzell's
Franchise exercises day-to-day control over the           The franchise agreement contains language
operations at any of their franchise locations.           indicating that Wintzell's Franchise exercises
                                                          control over the franchisee's selection of food
Given that Wintzell's Franchise sells the right to        vendors. Wintzell's Franchise provides a set of
operate oyster houses, the alleged lack of policies       standards to which food vendors must conform, it
or procedures governing how the franchisees are to        provides a list of approved food vendors, and it
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requires that franchisees request permission before     The evidence indicating that a supplier mishandled
purchasing items like food products from a non-         oysters by exposing them to high temperatures
approved [*55] vendor. (Doc. 150-24, pp. 12-13).        relates exclusively to Misho's. (See Doc. 150-4, pp.
The agreement indicates that Wintzell's Franchise       5-6; Doc. 150-5, p. 3). The Court has already held
has a proprietary set of criteria for vetting its       that this evidence creates an issue of fact as to
vendors. (Doc. 150-24, p. 13). The deposition           whether WSI was negligent in selecting Misho's.
testimony of Mr. Price indicates that Wintzell's        See p. 31 above. That the evidence is adequate with
Huntsville purchased from WSI, through Sysco,           respect to WSI does not mean that it is necessarily
because both companies were approved by                 adequate to sustain the same claim against the
Wintzell's Franchise. (Doc. 163, pp. 46-48).            Wintzell's     defendants. [*57]     Between      the
                                                        Wintzell's defendants and Misho's are two other
Managers at both Wintzell's Huntsville and              entities: WSI and Sysco. Given WSI's proximity in
Wintzell's Franchise have testified that WSI was        the supply chain to Misho's, it is fair to conclude
selected as an oyster supplier because of the           that WSI chooses to do business with Misho's and
company's ability to meet Wintzell's regular            that verification of Misho's practices is plausibly a
demand. (Doc. 150-5, p. 3; Doc. 150-15, p. 40).         part of WSI's duty to consumers of oysters.
The plaintiffs cite this testimony as evidence of a
lack of vetting by the Wintzell's defendants in their   The same is not necessarily true for Wintzell's. The
selection process. (Doc. 150, p. 10). But Wintzell's    franchise agreement expressly mentions Sysco as
stated basis for selecting a supplier does not          an approved food supplier to Wintzell's. (Doc. 150-
necessarily mean that they sacrificed quality and       24, p. 12). The plaintiffs have not presented
safety for profitability. More than statements of       evidence that Sysco mishandled the oysters.
basic market considerations are necessary to create     Plaintiffs' response acknowledges that Sysco kept
an inference of negligence.                             records verifying the temperatures at which they
                                                        shipped and sold oysters to Wintzell's. (Doc. 150,
Apart from the foregoing allegations, the plaintiffs    p. 9, note 11, and p. 47, note 30). Plaintiffs provide
rely upon the same facts that they use to sustain       no evidence demonstrating that either Wintzell's
their negligent-selection claim against WSI. Dr.        entity was involved in selecting Misho's as a
Rodrick indicates that WSI has had two deaths           harvester. Finally, despite the evidence of
attributed to its oysters while [*56] seven deaths      mishandling by Misho's, the plaintiffs present no
had been attributed to their harvester, Misho's         evidence that Wintzell's was or should have been
Oysters. (Doc. 150-4, p. 5). The report does not        aware of these issues. Although a retailer must
indicate over what period of time these incidents       exercise care is selecting the foods they offer to the
were recorded, nor does any party present evidence      public, the plaintiffs have not presented substantial
informing the Court of whether this number of           evidence that either Wintzell's defendant
fatalities is in any way unusual or                     breached [*58] that duty in its selection of food
disproportionately large given the size of the          suppliers. Accordingly, the Court grants summary
suppliers' businesses. According to WSI, the            judgment in favor of Wintzell's Franchise on the
company has been sued only once over a death            plaintiffs' claims.
related to its oysters. (Doc. 158, p. 8). There is no
evidence in the record to counter Dr. Rodrick's
report of seven deaths attributed to Misho's.           4. Mr. Ruiz's claim for inadequate warning
Without further context for the evidence presented,
the Court cannot determine whether the evidence of      The plaintiffs allege that both Wintzell's Huntsville
oyster-related deaths is probative of negligence.       and Wintzell's Franchise Company failed to
                                                        adequately warn Mr. Ruiz of the dangers associated
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with consuming raw oysters. (Doc. 118, p. 6). Mr.            undercooked meat and raw shellfish as may be
Ruiz acknowledges that Wintzell's menu includes a            the case other raw products. If you suffer from
warning regarding the dangers of raw shellfish               chronic illness of the liver, stomach or blood,
consumption and that he read that warning. (Doc.             or have other immune disorders, you should eat
142-1, p. 4). But the plaintiffs contend that                these products fully cooked.
Wintzell's warning deviates materially from the
warning recommended by WSI, which they                   (Doc. 150-16, p. 3). The [*60] warning
concede to be adequate. (Doc. 150, pp. 11-12).           recommended by WSI reads:
                                                             There is risk associated with consuming raw
Alabama does not mandate a particular warning                oysters. If you have chronic illness of the liver,
addressing the risks of consuming raw shellfish.             stomach or blood or have immune disorders,
(Doc. 142-3, p. 8). Generally, a duty to warn arises         you are at greater risk of serious illness from
where the product is dangerous when put to its               raw oysters, and should eat oysters fully
intended use. Gurley v. Am. Honda Motor Co., Inc.,           cooked. If unsure of your risk, consult a
505 So. 2d 358, 361 (Ala. 1987). Other states                physician.
addressing the issue of Vibrio vulnificus in raw         (Doc. 150-4, p. 10).
oysters have concluded that some warning is
necessary for consumer safety. See, e.g., Simeon,        There is, however, a more obvious reason for
618 So. 2d at 852 (La. 1993) ("it is clear that there    granting summary judgment to Wintzell's on this
was a danger inherent in the normal use of the           issue: the plaintiffs have not adduced evidence to
product not within the knowledge of an ordinary          support a causal connection between Wintzell's
user [*59] . . . Given the magnitude of the possible     warning and Mr. Ruiz's injury. "To prevail on a
harm, we believe a warning is particularly               failure-to-warn claim under Alabama law, a
necessary."). Although some warning may be               plaintiff must demonstrate a causal link between
necessary, there is no requirement that it be the best   the allegedly inadequate warning and the injury."
possible warning; it "'need only be one that is          Barnhill v. Teva Pharms. USA, Inc., 819 F. Supp.
reasonable under the circumstances. . . .'" Borum v.     2d 1254, 1261 (S.D. Ala. 2011). Although Dr.
Werner Co., 2012 U.S. Dist. LEXIS 78545, 2012            Rodrick states a conclusion on the issue of
WL 2047678, at *15 (N.D. Ala. Jun. 6, 2012)              causation, his conclusion does not apply to the
(quoting Gurley, 505 So. 2d at 361).                     particulars of this case. During Mr. Ruiz's
                                                         deposition, opposing counsel posed questions to
To create an issue of fact regarding the warning's       Mr. Ruiz regarding Wintzell's warning, and Mr.
adequacy, the plaintiffs rely on the report of Dr.       Ruiz responded as follows:
Rodrick. Dr. Rodrick opines that the language of              Q. [] So if you had known you had a liver
Wintzell's warning was too general, that it was in            issue, you would have never eaten raw oysters?
small, obscure type, and that it failed to alert
persons at risk to the specific danger of vibrio in          A. If I knew they were going to be bad for me,
raw oysters. Dr. Rodrick asserts that a sufficient           there's no way I would touched them. It did not
warning would likely have prevented Mr. Ruiz                 apply to me the print on the restaurant [*61] or
from eating raw oysters. (Doc. 150-4, p. 11).                the menu. I mean, I've seen them there, but it
                                                             did not apply to me. . . .
The Court is not convinced that the differences              ...
between Wintzell's warning and the warning                   Q. . . . there's a statement at the bottom of that
suggested by WSI render the former legally                   menu about don't consume raw oysters or other
inadequate. Wintzell's warning reads as follows:             raw and undercooked food if you have some
    There may be a risk associated with consuming            type of liver issue?
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     A. Yeah. Chronic illness or liver, stomach, yes.     DONE and ORDERED this September 28, 2017.
     But, like I tell you, this did not apply me. I was
     healthy as far as I was concerned.                   /s/ Madeline Hughes Haikala
(Doc. 142-1, p. 4). This exchange indicates that no       MADELINE HUGHES HAIKALA
warning, however detailed or specific, would have
prevented Mr. Ruiz from eating oysters because he         UNITED STATES DISTRICT JUDGE
was not aware of his latent vulnerability to bacteria
commonly found in raw oysters. The plaintiffs
                                                           End of Document
reiterate this core set of facts — that Mr. Ruiz did
not heed the warning because he was unaware of
his liver condition — in their response to the
defendants' motions for summary judgment. (Doc.
150, p. 18). Consequently, the Court finds that the
plaintiffs have not introduced enough evidence to
support an inference that an adequate warning
would have prevented Mr. Ruiz's injuries. The
Court grants Wintzell's motion for summary
judgment on plaintiffs claim for failure to warn.


D. Mrs. Ruiz's claim for loss of consortium

"A loss-of-consortium claim is derivative of the
claims [*62] of the injured spouse." See Flying J
Fish Farm v. Peoples Bank of Greensboro, 12 So.
3d 1185, 1196 (Ala. 2008). Therefore, Mrs. Ruiz's
loss-of-consortium claim fails only if all of Mr.
Ruiz's claims fail. The Court has determined that
several of Mr. Ruiz's claims survive summary
judgment. Therefore, Mrs. Ruiz's claim for loss of
consortium survives summary judgment as well.


IV. CONCLUSION

Consistent with the preceding discussion, the Court
grants summary judgment in favor of Price Foods
and Wintzell's Franchise Company on all of the
plaintiffs' claims. The Court grants summary
judgment in favor of Wintzell's Huntsville, LLC on
the plaintiffs' claim for failure to warn. The Court
denies summary judgment to Wintzell's Huntsville,
LLC and to WSI on the plaintiffs' claims for
violation of the AEMLD, breach of implied
warranty of merchantability, negligence, and loss of
consortium.
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                                                                  statements within 120 days of the end of each fiscal year;
                                                                  (2) provide ScanSource with unaudited, quarterly financial
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                                                                  statements within thirty (30) days of the end of each fiscal
    Only the Westlaw citation is currently available.
                                                                  quarter; (3) provide ScanSource with a copy of the borrower
             United States District Court,
                                                                  base certificate that it sends to its primary lender, as well
                 E.D. Pennsylvania.
                                                                  as appropriate accounts receivable and inventory data, on
               SCANSOURCE, INC.                                   a monthly basis; and (4) maintain a tangible net worth of
                      v.                                          either at least $2,000,000 or the amount owed to ScanSource,
         DATAVISION-PROLOGIX, INC., et al.                        whichever is greater. (Id. ¶ 22.)

                   No. Civ.A. 04-CV-4271.                         Plaintiff alleges that Datavision did not comply with
                              |                                   the terms of the Agreement and that Defendants made
                       April 26, 2005.                            misrepresentations to ScanSource. Specifically, Plaintiff
                                                                  ScanSource avers that the Defendants misrepresented the
Attorneys and Law Firms                                           value of their accounts receivable and inventory. (Id. ¶¶ 91-92,
                                                                  98-99.) In March, 2004, Datavision reported in its Borrower's
Carl W. Hittinger, Philadelphia, PA, for Scansource, Inc.
                                                                  Certificate that it had a collateral base of $9,672,907 in
Michele D. Hangley, Philadelphia, PA, for Datavision-             accounts receivable and $8,093,793.41 of inventory. (Id. ¶
Prologix, Inc., et al.                                            40.) This certificate was signed by Defendant Speese (id. ¶
                                                                  42, Ex. D), and was provided to ScanSource on or about April
                                                                  5, 2004. (Id. 43, Ex. D.) ScanSource avers that it “believed
                                                                  and justifiably relied upon these representations.” (Id. ¶ 95.)
                MEMORANDUM & ORDER

SURRICK, J.                                                       ScanSource filed the instant Complaint on September 9, 2004.
                                                                  (Doc. No. 1.) The Complaint contains four counts: Count
 *1 Presently before the Court are the Motions to Dismiss         I alleges breach of contract against Defendant Datavision
Plaintiff's Complaint of Defendant Paul J. Speese (“Speese”)      only (Verified Compl. ¶¶ 74-82); Count II alleges breach
(Doc. No. 7) and Defendant Edward Barr (“Barr”) (Doc. No.         of the implied covenant of good faith and fair dealing
8). For the following reasons, Defendants' Motions will be        against Defendant Datavision only (id. ¶¶ 83-89); Count
granted.                                                          III alleges fraud against all Defendants (id. ¶¶ 90-96);
                                                                  and Count IV alleges negligent misrepresentation against
                                                                  all Defendants (id. ¶¶ 97-102). On December 13, 2004,
I. BACKGROUND
                                                                  ScanSource requested an entry of default against Datavision.
Plaintiff ScanSource, Inc. (“ScanSource”) is a South Carolina
                                                                  (Doc. No. 13.) The default was entered by the Clerk the same
corporation that distributes various specialty technologies,
                                                                  day. Default judgment against Datavision in the amount of
including automatic data capture and point-of-sale products.
                                                                  $1,480,932.34 was entered by the Court on March 2, 2005.
(Verified Compl. ¶¶ 6-7.) Defendant Datavision-Prologix,
                                                                  (Doc. No. 16).
Inc. (“Datavision”) is a Pennsylvania corporation that resold
various ScanSource products. (Id. ¶¶ 12-13.) Defendant
                                                                   *2 In their Motions to Dismiss, Defendants Speese and Barr
Speese was the President and Chief Executive Officer
                                                                  seek dismissal of Count III charging them with fraud and
of Defendant Datavision. (Id. ¶ 15.) Defendant Barr was
                                                                  Count IV charging them with negligent misrepresentation.
Datavision's Chief Financial Officer. (Id. ¶ 16.)

In February, 1995, ScanSource extended a line of credit to        II. LEGAL STANDARD
Datavision. (Id. ¶ 19.) During the summer of 2001, Datavision     When considering a Rule 12(b)(6) motion to dismiss, we
requested an increase of this credit line to $2,000,000. (Id. ¶   must “accept as true all allegations in the complaint and
20.) In exchange for the additional credit, Datavision entered    all reasonable inferences that can be drawn therefrom, and
into a Security Agreement (“Agreement”) with ScanSource.          view them in the light most favorable to the non-moving
(Id. ¶ 21.) Under the terms of this Agreement, Datavision         party.” Rocks v. City of Philadelphia, 868 F.2d 644, 645 (3d
agreed to: (1) provide ScanSource with audited financial          Cir.1989). The court may dismiss a complaint only if “ ‘it is


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clear that no relief could be granted under any set of facts                     16, 1999); see also Air Prods. & Chemicals,
that could be proved consistent with the allegations.” ’ H. J.,                  Inc. v. Eaton Metal Prods. Co., 272 F.Supp.2d
Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 249, 109                       482, 490 n. 9 (E.D.Pa.2003); Gallup, Inc. v.
S.Ct. 2893, 106 L.Ed.2d 195 (1989) (quoting Hishon v. King                       Talentpoint, Inc., Civ. A. No. 00-5523, 2001 U.S.
& Spalding, 467 U.S. 69, 73, 104 S.Ct. 2229, 81 L.Ed.2d 59                       Dist. LEXIS 18560, at *25 n. 3 (E.D.Pa. Nov. 15,
(1984)). When considering a motion to dismiss, we need not                       2001).
credit a plaintiff's “bald assertions” or “legal conclusions.”         Defendants contend that Plaintiff has not pled fraud with
Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d                the particularity required by Federal Rule of Civil Procedure
Cir.1997) (quoting In re Burlington Coat Factory Sec. Litig.,          9(b). Greater particularity in pleading is required whenever
114 F.3d 1410, 1429-30 (3d Cir.1997)).                                 fraud is averred. Under Rule 9(b), “[i]n all averments of fraud
                                                                       or mistake, the circumstances constituting fraud or mistake
                                                                       shall be stated with particularity. Malice, intent, knowledge,
III. LEGAL ANALYSIS
                                                                       and other condition of mind of a person may be averred
   A. Count III-Plaintiff's Fraud Claim                                generally.” Fed.R.Civ.P. 9(b). The purpose of Rule 9(b) is “ ‘to
To plead a cause of action for fraud under Pennsylvania law, a         place the defendants on notice of the precise misconduct with
plaintiff must show: (1) a representation; (2) which is material       which they are charged, and to safeguard defendants against
to the transaction at hand; (3) made falsely, with knowledge of        spurious charges of immoral and fraudulent behavior.” Lum
its falsity or recklessness as to its truth or falsity; (4) with the   v. Bank of Am., 361 F.3d 217, 223-24 (3d Cir.2004) (quoting
intent of misleading another into relying on it; (5) justifiable       Seville Indus. Mach. Corp. v. Southmost Mach. Corp., 742
reliance on the misrepresentation; and (6) the resulting injury        F.2d 786, 791 (3d Cir.1984)).
was proximately caused by the reliance. 1 Gibbs v. Ernst, 538
Pa. 193, 647 A.2d 882, 889 (Pa.1994) (citing W. Page Keeton,           Plaintiff argues that “Rule 9(b) does not require that the
Prosser & Keeton on Torts § 105 (5th ed.1984); Restatement             detrimental reliance element of a fraud claim be pleaded with
(Second) of Torts § 525 (1977)).                                       particularity.” (Doc. No. 14 at 12.) Plaintiff cites Williams
                                                                       Controls, Inc. v. Parente, Randolph, Orlando, Carey &
1                                                                      Assocs., 39 F.Supp.2d 517, 534 (M.D.Pa.1999), and asserts
        In a diversity case such as this one, a district               that the issue of justifiable reliance should be decided by
        court must determine which state's substantive                 a jury, and that it is not readily susceptible of disposition
        law will govern. To make this determination,                   through a motion to dismiss. (Doc. No. 14 at 15). Williams
        we must apply the conflict of law rules of                     Controls is inapposite. In Williams Controls, the Court did
        the forum state. Kirschbaum v. WRGSB Assocs.,                  not deal with or discuss the pleading requirements of Rule
        243 F.3d 145, 150 (3d Cir.2001). Pennsylvania's                9(b) as they relate to justifiable reliance. Moreover, the clear
        choice of law analysis incorporates elements of                weight of authority requires that the detrimental reliance
        both the “government interest” and “significant                element of a fraud claim be pleaded with particularity under
        relationship” tests. Id. at 151.                               Rule 9(b). Gutman v. Howard Savings Bank, 748 F.Supp.
           Either Pennsylvania or South Carolina law                   254, 257 (D.N.J.1990); see also Learning Works, Inc. v.
           applies to Plaintiff's fraud claim. The elements            Learning Annex, Inc., 830 F.2d 541, 546 (4th Cir.1987)
           of fraud in Pennsylvania and South Carolina                 (stating “reliance must be pleaded with particularity” and
           are very similar. Compare Gibbs, 647 A.2d at                dismissing fraud claim for failure to plead reliance with
           889, with Cheney Bros. v. Batesville Casket Co.,            particularity); Bank of Am. v. Lemgruber, No. 02 Civ. 1041,
           Inc., 47 F.3d 111, 114-15 (4th Cir.1995), and               2005 U.S. Dist. LEXIS 61, at *77 (S.D.N.Y. Jan. 5, 2005)
           Florentine Corp., Inc. v. PEDA I, Inc., 287 S.C.            (“[J]ustifiable reliance must be pleaded with particularity
           382, 339 S.E.2d 112, 114 (S.C.1985). Both states            pursuant to Federal Rule of Civil Procedure 9(b).”); Amzak
           require justifiable reliance, which is what is at           Corp. v. Reliant Energy, Inc., No. 03 C 0877, 2004 U.S.
           issue here. Under the circumstances, we will                Dist. LEXIS 16514, at *16-17 (N.D.Ill. Aug. 19, 2004) (“To
           “presume that the law of the forum state shall              sufficiently plead reliance, plaintiffs would have to link one
           apply.” Financial Software Sys., Inc. v. First              or more of the alleged misrepresentations with a specific act
           Union Nat'l Bank, Civ. A. No. 99-CV-623, 1999               of reliance.”).
           U.S. Dist. LEXIS 19479, at *8 (E .D. Pa. Dec.



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 *3 In support of its fraud claim, Plaintiff's Verified           negligence theory for purely economic damages.”) (citing
Complaint alleges that Defendants made false representations      David Pflumm Paving & Excavating, Inc. v. Found. Servs.
of fact on March 31, 2004, when they misrepresented the           Co., 816 A.2d 1164, 1168 (Pa.Super.Ct.2003)).
value of Datavision's accounts receivable and inventory.
(Verified Compl. ¶¶ 91-92.) ScanSource also alleges that          2      South Carolina law also recognizes that the
it “believed and justifiably relied upon” these asserted
                                                                         economic loss rule applies “in a commercial
misrepresentations made by Defendants. (Id. ¶ 95.) However,
                                                                         transaction governed by a contract where the
Plaintiff offers no details whatsoever about the contours
                                                                         alleged loss is purely economic and the cause of
of this asserted justifiable reliance and it avers nothing
                                                                         action is for mere negligent misrepresentation....”
regarding the decisions that it made as a result of Defendants'
                                                                         Bishop Logging Co. v. John Deere Industrial
asserted misrepresentations. The Verified Complaint never
                                                                         Equip. Co., 317 S.C. 520, 455 S.E.2d 183, 189
avers that ScanSource took or declined to take action in
                                                                         (S.C.Ct.App.1995) (citing S.C. Elec. & Gas Co.
reliance on Defendants' asserted misrepresentations, nor is
                                                                         v. Westinghouse Elec. Co., 826 F.Supp. 1549
there any suggestion in the Verified Complaint that any
                                                                         (D.S.C.1993)); see also Laidlaw Envtl. Servs.
reliance on the part of ScanSource was justifiable. In
                                                                         v. Honeywell, Inc., 966 F.Supp. 1401, 1414-15
Plaintiff's Response to Defendants' Motions to Dismiss,
                                                                         (D.S.C.1996). Since Pennsylvania and South
Plaintiff argues that “[d]iscovery will show that following
                                                                         Carolina both recognize the applicability of the
the fraudulent misrepresentations of Datavision, Speese and
                                                                         economic loss doctrine, we will apply the law of
Barr, ScanSource continued to extend substantial additional
                                                                         Pennsylvania.
credit to Datavision in reliance thereon.” (Doc. No. 14 at 15.)
Given this unequivocal statement, Plaintiff presumably could      The economic loss doctrine applies to a plaintiff's negligent
have either included this assertion in its Verified Complaint     misrepresentation claim. I & S Assocs. Trust v. LaSalle
or sought to amend it in an attempt to satisfy the pleading       Nat'l Bank, Civ. A. No. 99-4956, 2001 U.S. Dist. LEXIS
requirements of Rule 9(b). It did not.                            15225, at *9-10 (E.D.Pa. Sept. 27, 2001) (citing N. Am.
                                                                  Roofing & Sheet Metal Co., Inc. v. Bldg. & Constr. Trades
“To survive a 9(b) motion, plaintiff must show that [it]          Council of Phila. & Vicinity, Civ. A. No. 99-2050, 2000
acted upon the fraud or misrepresentation complained of.”         U.S. Dist. LEXIS 2040 (E.D.Pa. Feb.29, 2000)). In its
Gutman, 748 F.Supp. at 258. Because Plaintiff does not plead      Verified Complaint, Plaintiff alleges that Defendants made
justifiable reliance with the particularity required by Rule      misrepresentations about certain financial data in breach of
9(b), we are compelled to dismiss the Count III fraud claim       Datavision's Agreement with ScanSource regarding a line
against Defendants Speese and Barr.                               of credit for the sale of various specialty technologies.
                                                                  (Verified Compl. ¶¶ 98-99 (asserting that all Defendants
                                                                  negligently misrepresented the value of Datavision's accounts
   B. Count IV-Plaintiff's Negligent Misrepresentation            receivable and inventory).) This negligent misrepresentation
   Claim                                                          claim seeks purely economic damages: (1) compensatory
Defendants argue that Count IV alleging negligent                 and consequential damages; (2) punitive damages; and
misrepresentation should be dismissed under the economic          (3) pre-judgment and post-judgment interest. 3 (Verified
loss doctrine. Pennsylvania courts exhibit “a ‘lack of            Compl. at 17.) Thus, absent an applicable exception to the
hospitality to tort liability for purely economic loss.” ’ 2      economic loss doctrine, Plaintiff is barred from pursuing
Werwinski v. Ford Motor Co., 286 F.3d 661, 680 (3d Cir.2002)      its negligent misrepresentation claim against Defendants
(quoting Aloe Coal Co. v. Clark Equip. Co., 816 F.2d 110,         Speese and Barr. See I & S Assocs. Trust, 2001 U.S. Dist.
119 (3d Cir.1987)). As a result, Pennsylvania courts have         LEXIS 15225, at *9 (concluding that “the economic loss
fashioned the economic loss doctrine, which “ ‘prohibits          doctrine bars a plaintiff from bringing a negligence action
plaintiffs from recovering in tort economic losses to which       solely for economic losses absent physical injury or property
their entitlement flows only from a contract.” ’ Id. at           damage”) (citing Ellenbogen v. PNC Bank, 731 A.2d 175, 188
671 (quoting Duquesne Light Co. v. Westinghouse Elec.             (Pa.Super.Ct.1999)).
Corp., 66 F.3d 604, 618 (3d Cir.1995)); see also Brunson
Communications, Inc. v. Arbitron, Inc., 266 F.Supp.2d 377,        3      The averments in this count arise from some of
383 (E.D.Pa.2003) (“[A] plaintiff cannot recover on a
                                                                         the same asserted misrepresentations which form



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ScanSource, Inc. v. Datavision--Prologix, Inc., Not Reported in F.Supp.2d (2005)
                                                                                  Filed 07/17/20          Page 247 of 307
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2005 WL 974933

                                                                      Defendants Speese and Barr. Defendant Datavision is not
       the basis of Plaintiff's breach of contract claim.
                                                                      in the business of supplying information for the assistance
       (Verified Compl. ¶ 77 (Defendant Datavision
       breached its contract with Plaintiff, in part, when            of others. (Id. ¶¶ 11-13.) Rather, Datavision distributes
       it “misrepresented the amount of both its inventory            automatic data capture and point-of-sale products, as well as
       and its accounts receivable....”).) In Plaintiff's             other peripheral technologies. (Id. ¶ 11.) Because Datavision
       breach of contract claim against Defendant                     is not in the business of providing information for the
       Datavision, it also seeks similar economic                     guidance of others, its corporate officers cannot engage
       damages: (1) compensatory and consequential                    in conduct that falls within this second exception to the
       damages; and (2) pre-judgment and post-judgment                economic loss doctrine. See LaSalle Bank Nat'l Assoc. v.
       interest. (Id. at 13.)                                         Epstein, No. 99 C 7820, 2001 U.S. Dist. LEXIS 12016, at
                                                                      *30-31 (N.D.Ill. Aug. 15, 2001). Plaintiff may not pursue the
 *4 Under two narrow exceptions, a plaintiff may recover              negligent misrepresentation claim against Defendants Speese
purely economic loss which resulted from a defendant's                and Barr.
misrepresentation when: (1) the misrepresentation is
intentionally false; or (2) the defendant is “ ‘in the business       An appropriate Order follows.
of supplying information for the guidance of others.” ’ N.
Am. Roofing & Sheet Metal Co., Inc., 2000 U.S. Dist. LEXIS
2040, at *27 (quoting Palco Linings, Inc. v. Pavex, Inc., 755
F.Supp. 1269, 1274 (M.D.Pa.1990)). The first exception deals                                     ORDER
with intentionally false misrepresentations and obviously has
                                                                      AND NOW, this 26th day of April, 2005, upon consideration
no application to the negligent misrepresentation alleged
                                                                      of the Motions to Dismiss Plaintiff's Complaint of Defendants
in Count IV. The second exception “is rigidly applied and
                                                                      Paul J. Speese and Edward Barr, and all papers submitted in
narrowly construed to except only claims which explicitly
                                                                      support thereof and in opposition thereto, it is ORDERED as
involve suppliers of information for guidance of others in
                                                                      follows:
business transactions....” Palco Linings, Inc., 755 F.Supp. at
1274; see also id. (explaining that exception only applies              1. Defendant Paul J. Speese's Motion to Dismiss (Doc. No.
“to those in the business of selling information on which               7) is GRANTED; and
its customers rely upon in taking additional action” such as
attorneys, surveyors, and inspectors of goods); S.C. Elec.              2. Defendant Edward Barr's Motion to Dismiss (Doc. No.
& Gas Co. v. Westinghouse Elec. Co., 826 F.Supp. 1549,                  8) is GRANTED.
1557 (D.S.C.1993) (“Most courts which have rejected the
economic loss rule in negligent misrepresentation cases have          IT IS SO ORDERED.
limited recovery to a misrepresentation in giving information
by someone hired to advise.”).
                                                                      All Citations
The second exception also does not apply to Plaintiff                 Not Reported in F.Supp.2d, 2005 WL 974933
ScanSource's negligent misrepresentation claim against

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                         Tab 28
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                                 Sherfey v. Johnson & Johnson
                  United States District Court for the Eastern District of Pennsylvania
                            April 25, 2014, Decided; April 25, 2014, Filed
                                     CIVIL ACTION No. 12-4162

Reporter
2014 U.S. Dist. LEXIS 57735 *; 2014 WL 1663966


STACY SHERFEY, as an administrator of the            For JOHNSON & JOHNSON SALES &
estate of Tracen Sherfey, a minor, deceased,         LOGISTICS COMPANY, LLC, Defendant:
STACY SHERFEY, and NEIL SHERFEY,                     MELISSA A GRAFF, LEAD ATTORNEY,
Plaintiffs, v. JOHNSON & JOHNSON, et al.,            DAVID F. ABERNETHY, MEREDITH NISSEN
Defendants.                                          REINHARDT, DRINKER, BIDDLE & REATH
                                                     LLP, PHILADELPHIA, PA.

                                                     For WAL-MART STORES, INC., Defendant:
Prior History: Sherfey v. Johnson & Johnson,
                                                     DAVID F. ABERNETHY, MELISSA A GRAFF,
2012 U.S. Dist. LEXIS 116283 (E.D. Pa., Aug. 17,
                                                     MEREDITH NISSEN REINHARDT, DRINKER,
2012)
                                                     BIDDLE & REATH LLP, PHILADELPHIA, PA.

                                                     For INMAR, INC., CAROLINA SUPPLY CHAIN
Counsel: [*1] For STACY SHERFEY, AS THE              SERVICES, LLC, CAROLINA LOGISTICS
ADMINISTRATOR OF THE ESTATE OF                       SERVICES, LLC, Defendants: CYRUS Y.
TRACEN SHERFEY, A MINOR, DECEASED,                   CHUNG, MICHAEL L. KIDNEY, LEAD
STACY SHERFEY, NEIL SHERFEY, H/W,                    ATTORNEYS, HOGAN LOVELLS US LLP,
INDIVIDUALLY IN THEIR OWN RIGHT,                     WASHINGTON, DC; DAVID NEWMANN,
Plaintiffs: IRENE M MCLAFFERTY, LEAD                  [*2] LEAD ATTORNEY, STEPHEN A. LONEY ,
ATTORNEY, PHILADELPHIA, PA; JOSEPH L.                JR., HOGAN LOVELLS US LLP,
MESSA , JR., THOMAS N. SWEENEY, LEAD                 PHILADELPHIA, PA.
ATTORNEYS, MESSA & ASSOCIATES PC,
PHILADELPHIA, PA.

                                                     Judges: ROBERT F. KELLY, Senior United States
For JOHNSON & JOHNSON, MCNEIL-PPC,
                                                     District Judge.
INC., Defendants: MELISSA A GRAFF, LEAD
ATTORNEY, DAVID F. ABERNETHY,
MEREDITH NISSEN REINHARDT, DRINKER,
BIDDLE & REATH LLP, PHILADELPHIA, PA;                Opinion by: ROBERT F. KELLY
MICHAEL B. HEWES, LEAD ATTORNEY, PRO
HAC VICE, BUTLER SNOW LLP, GULFPORT,
MS; SARAH ELIZABETH MOCCALDI, LEAD
ATTORNEY, PRO HAC VICE, BUTLER SNOW                  Opinion
LLP, MEMPHIS, TN.
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                                                                           executive Defendants because                    they      were
MEMORANDUM                                                                 fraudulently joined. Id. at 5-11.

ROBERT F. KELLY, Sr. J.                             Plaintiffs assert that their two-week-old son, Tracen
                                                    Sherfey ("Tracen") died from ingesting defective
Presently before the Court is Defendants, Inmar and recalled Infants' Tylenol. In their Complaint,
Inc., Carolina Supply Chain Services, LLC, and Plaintiffs allege that on February 16, 2009, Stacy
Carolina Logistics Services, LLC's (collectively, Sherfey gave Tracen a recommended dose of
the "Inmar Defendants"), Motion to Dismiss the Infants' Tylenol based on the suggestion of Tracen's
Complaint pursuant to Federal Rules of Civil doctor. Id. ¶ 103. The following morning,
Procedure 12(b)(1) and 12(b)(6), Plaintiffs, Stacy [*4] Stacy Sherfey gave Tracen another dose of
Sherfey, as the administrator of the Estate of Infants' Tylenol in accordance with the instructions
Tracen Sherfey, a minor, deceased, Stacy Sherfey, on the package, and later this same day, gave
and Neil Sherfey's, (collectively, "Plaintiffs") Tracen another dose. Id. ¶¶ 104-105. Tracen began
Response, and the Inmar Defendants' Reply. For vomiting blood, and Stacy Sherfey took him to the
the reasons stated below, the Motion is granted.    local emergency room. Id. Tracen was later airlifted
                                                    to Children's Primary Hospital in Salt Lake City,
                                                    Utah. Id. ¶ 107. On February 19, 2009, Tracen died
I.BACKGROUND 1
                                                    from acute liver failure. Id. ¶ 108. Plaintiffs assert
Plaintiffs 2 filed the Complaint on June 27, 2012, the following causes of action against the Inmar
                                                                 4
against Johnson & Johnson ("J&J"), McNeil-PPC, Defendants: (1) Count XVI- Violation of Nevada
Inc. ("McNeil"), Johnson & Johnson Sales & Consumer Protection Law; (2) Count XVII-Civil
Logistics Company, LLC ("JJSLC") (collectively, Conspiracy; (3) Count XVIII- Aiding and Abetting;
the J&J Defendants"), Wal-Mart Stores, Inc., the and (4) Count XIX- Punitive Damages.
Inmar Defendants 3, and individual [*3] executives The Inmar Defendants filed the instant Motion to
and officers of McNeil in the Court of Common Dismiss on February 21, 2014. (Doc. No. 56.)
Pleas of Philadelphia County. Defendants removed Plaintiffs filed a Response on March 25, 2014, and
this action to this Court based on diversity of the Inmar Defendants filed a Reply on April 10,
citizenship and the inapplicability of the forum 2014. (Doc. Nos. 60, 64.)
defendant rule set forth in 28 U.S.C. § 1441(b)(2).
Plaintiffs filed a Motion to Remand, which we
denied on January 29, 2014. See Sherfey, 2014 U.S. II. DISCUSSION
Dist. LEXIS 10690, 2014 WL 715518, at *1. We
also dismissed from this action the individual

                                                                           A. Standing
1 A complete procedural and factual history of this case is set forth in

this Court's prior Memorandum Opinion. See Sherfey v. Johnson &
                                                                           The concept of standing is an integral part of "the
Johnson, No. 12-4162, 2014 U.S. Dist. LEXIS 10690, 2014 WL
715518, at *1 (E.D. Pa. Jan. 29, 2014).                                    constitutional   limitation     of    federal-court
                                                                           jurisdiction to actual cases or controversies."
2 Stacy Sherfey and Neil Sherfey, wife and husband, are residents of
                                                                           Hagan v. United States, No. 01-5506, 2002 U.S.
the State of Nevada. Compl. ¶ 29. They are the parents of Tracen
Sherfey who is deceased. Id.                                               Dist. LEXIS 3504, 2002 WL 338882, at *4 (E.D.
                                                                           Pa. Mar. 1, 2002) [*5] (citing Simon v. Eastern KY
3 Inmar is a North Carolina corporation with its principal place of

business in North Carolina. Id. ¶ 42. CSCS and CLS are limited
liability companies with principal places of business in North             4 For purposes of this Motion, we list only the causes of action
Carolina. Id. ¶¶ 43-44.                                                    against the Inmar Defendants.
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Welfare Rights Organization, 426 U.S. 26, 41-42,       Rule 12(b)(1) because Plaintiffs lack standing to
96 S. Ct. 1917, 48 L. Ed. 2d 450 (1976)). A motion     assert claims against them. (Defs.' Mot. Dismiss at
to dismiss for want of standing implicates the         8.) Specifically, they state that Plaintiffs "lack
court's subject matter jurisdiction, and is therefore  standing because no plausible causation theory
appropriately brought under Federal Rule of Civil      makes their alleged injury traceable" to the Inmar
Procedure 12(b)(1). Id. (citing Miller v. Hygrade      Defendants. (Id.) Plaintiffs respond that "[w]ithout
Food Prods. Corp., 89 F. Supp. 2d 643, 646 (E.D.       the clandestine assistance of the Inmar Defendants,
Pa. 2000)). "Absent Article III standing, a federal     [*7] J&J and McNeil could not have concealed for
court does not have subject matter jurisdiction to     so long the manufacturing defects of its pediatric
address a plaintiff's claims and they must be          medicines." (Pls.' Resp. at 3.) Plaintiffs allege
dismissed." Common Cause of PA v. Pennsylvania,        further that the "Inmar Defendants' implementation
558 F.3d 249, 257 (3d Cir. 2009) (citing Taliaferro    of the phantom recall of pediatric medicines
v. Darby Twp. Zoning Bd., 458 F.3d 181, 188 (3d        permitted J&J and McNeil to further conceal from
Cir. 2006)).                                           Plaintiffs that the later-recalled Infants' Tylenol,
                                                       which killed Tracen Sherfey, was dangerous and
The "irreducable constitutional minimum of defective." (Id.) Plaintiffs aver in their Complaint:
standing contains three elements." Lujan v.                To conceal from the public the defects in
Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct.       Infants' and Children's Tylenol products, the
2130, 119 L. Ed. 2d 351 (1992). First, the plaintiff       Defendants employed the services of Inmar and
must have suffered an injury in fact, which is an          its subsidiaries Carolina Supply Chain Services
invasion of a legally protected interest that is (a)       and Carolina Logistics Services to implement a
concrete and particularized, and (b) actual or             phantom recall and conduct "market
imminent, not conjectural or hypothetical. Id.             assessments" to determine the risk that children
(internal citations omitted). A particularized injury      faced by the defective medicines.
is one that affects the plaintiff in a personal and        At the direction of J&J, McNeil and their
individual way. Id. at 560 n.1. Second, there must         executives, Inmar, Carolina Supply Chain
be a causal connection between the injury [*6] and         Services and Carolina Logistics Services
the conduct complained of, which requires the              analyzed J&J and McNeil's exposure by
injury to be "fairly . . . traceable to the challenged     traveling to retail outlets across the United
action of the defendant and not th[e] result [of] the      States to measure what defective medicines
independent action of some third party not before          remained on the shelves.
the court." Id. at 560-61 (citing Simon, 426 U.S. at
41-42). Third, it must be "likely," as opposed to          Inmar, Carolina Supply Chain Services and
merely "speculative," that the injury will be              Carolina Logistics Services conducted the work
"redressed by a favorable decision." Id. (citing           clandestinely so that the FDA and the public
Simon, 426 U.S. at 38). At all times, "[t]he party         would [*8] be unaware that the J&J and
invoking federal jurisdiction bears the burden of          McNeil products were defective and dangerous.
establishing these elements." Id. at 561. "[A]t the    Compl.   ¶¶ 86-88.
final stage, those facts (if controverted) must be
'supported adequately by the evidence adduced at The Inmar Defendants assert that two recent cases
trial.'" Id. (quoting Gladstone Realtors v. Village of from this District decided by the Honorable Mary
Bellwood, 441 U.S. 91, 115 n.31, 99 S. Ct. 1601, 60 A. McLaughlin, In re McNeil Comsumer
L. Ed. 2d 66 (1979)).                                  Healthcare, et al., Marketing and Sales Litig., MDL
                                                       No. 2190, 2011 U.S. Dist. LEXIS 76800, 2011 WL
Here, the Inmar Defendants argue that the 2802854, at *1 (E.D. Pa. July 15, 2011) and Moore
Complaint should be dismissed against them under v. Johnson & Johnson, No. 2:12-cv-00490-MAM,
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2014 U.S. Dist. LEXIS 58815 (E.D. Pa. Feb. 4,                             contractors to conduct the recall, or that the
2014),5 which dismissed them as parties based on                          J&J Defendants otherwise would have
similar allegations as those alleged in this action,                      foregone a "phantom recall" in favor of a
support their position that Plaintiffs lack standing to                   public recall. The plaintiffs' theory [*10] of
bring the instant causes of action against them. We                       causation, therefore, hinges on the Contractor
agree.                                                                    Defendants' possessing a degree of influence
                                                                          over the J&J Defendants that is not plausible on
In re McNeil was a multi-district consolidated                            the limited allegations in the CAC. Instead, the
consumer class action, principally alleging that                          plaintiffs' injuries appear to be based on
"quality control issues affect[ed] certain over-the-                      conduct more appropriately attributed to the
counter healthcare products manufactured by                               J&J Defendants.
Johnson & Johnson's consumer healthcare division,
McNeil Consumer Healthcare." McNeil, 2011 U.S.                        2011 U.S. Dist. LEXIS 76800, at *16.
Dist. LEXIS 76800, 2011 WL 2802854 at * 1. With
respect to the Inmar Defendants, plaintiffs alleged                   In Moore v. Johnson & Johnson, the plaintiffs
that they participated in a June 2009 market                          advanced similar allegations against the Inmar
 [*9] removal which they termed a "phantom                            Defendants as those in In re McNeil. See Doc. No.
recall" of Motrin IB and a "market assessment" of                     111 at 1-3. The difference was that the Moore
non-Motrin products. Id. at 5. Plaintiffs argued that                 complaint alleged personal injury and the In re
had the Inmar Defendants not participated in the                      McNeil complaint alleged economic harm. Id. at 3.
phantom recall, J&J would have been forced to                         In Moore, the plaintiffs averred that the Inmar
publicly disclose the defective nature of the                         Defendants' "acts allowed the J&J defendants to
products. 2011 U.S. Dist. LEXIS 76800, [WL] at *                      conceal the manufacturing defects of Children's
15. The Court dismissed the Inmar Defendants for                      Tylenol." Id. at 2-3. If the Contractor Defendants
lack of standing holding that plaintiffs failed to                    [Inmar Defendants] had not been involved, Katy
establish causation. Id. at 18. The Court stated:                     Moore would not have purchased the Children's
                                                                      Tylenol that led to River Moore's death. The
     First, there are no allegations that the                         plaintiffs 'seek wrongful death and survival
     Contractor Defendants 6 participated in, or had                  damages from [Inmar Defendants] for their role in
     influence over, the decision to conduct a                        hiding the dangers of the J&J Defendants' pediatric
     "phantom recall," or decisions regarding the                     over-the [*11] counter drugs.'" Id. at 5. The Moore
     scope of said recall. Second, the plaintiffs have                Court stated that the same analysis that applied in
     not alleged that the Contractor Defendants had                   In re McNeil applied to Moore. Id, at 6. The Court,
     any knowledge of the specific defects affecting                  in dismissing the Inmar Defendants, found that the
     Motrin IB, such that they would have or should                   plaintiffs lacked standing because they could not
     have refused to conduct a "phantom recall."                      establish causation. Id. The Court reasoned:
     Finally, even if the Contractor Defendants had                       The Complaint's only allegation is that the
     refused to conduct a "phantom recall," there is                      Contractor Defendants were hired to conduct a
     no basis for assuming that the J&J Defendants                        "market assessment." The Complaint does not
     would have been unable to find other                                 allege that the Contractor Defendants knew or
                                                                          should have known that the products involved
5 This Order and decision rendered by Judge McLaughlin is not cited
                                                                          in the "market assessment" were defective or
in Westlaw or Lexis at present. We, thus, will cite to it using its
                                                                          dangerous. There are no allegations that the
document number on the Court's docket.                                    Contractor Defendants had any influence over
                                                                          J&J's decision to conduct a market assessment,
6 We note that in both In re McNeil and Moore, Judge McLaughlin
                                                                          that the market assessment was wrongful in any
refers to the Inmar Defendants as the "Contractor Defendants."
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     way, or that the market assessment influenced pleading of the economic harm." (Id.) Plaintiffs
     the way J&J and McNeil conducted the recall further claim that they have adequately pleaded the
     of the Children's Tylenol products.                harms in this case since it involved the death of a
                                                        two-week-old boy. (Id.) However, it is apparent
Id. The Court further concluded that:                   from even a cursory reading of In re McNeil that,
     The Complaint does not establish how the while the issue of "injury in fact" under Lujan's first
     Contractor Defendants' performance of a prong was discussed, the Court clearly dismissed
     market assessment to determine the amount of the Inmar Defendants for failure to establish Article
     product on store shelves in July 2009 could III causation. The Court stated that:
     have possibly caused Katy Moore to purchase
     defective Children's Tylenol or administer it to       [t]he plaintiffs have failed to establish that their
     River Moore.                                           purported injuries are "fairly traceable" to the
                                                            Contractor Defendants' conduct. The Court will
Id. at 6-7.                                                 therefore dismiss all claims against the
In the case [*12] before this Court, Plaintiffs assert      Contractor Defendants for lack of standing.
in their Response that the Inmar Defendants's               The dismissal will be with prejudice, because
Motion is "based on the bizarre claim that Plaintiffs       the Court concludes that [*14] the plaintiffs
lack 'standing' to assert claims against them."7 (Pls.'     would be unable to establish causation upon
Resp. at 2.) We first note that this argument is            amendment.
puzzling because Judge McLaughlin adopted this
                                                                       In re McNeil, 2011 U.S. Dist. LEXIS 76800, 2011
exact same Article III standing analysis in
                                                                       WL 2802854, at *18.
dismissing the Inmar Defendants in In re McNeil
and Moore. We also note that, while Plaintiffs                         In the instant action, there is no issue that the
attempt to distinguish In re McNeil from this                          Plaintiffs suffered an "injury in fact." The issue
present action in their Response, they make no                         before us, regarding standing, is clearly causation.
attempt to distinguish Moore from the instant case.                    See Lujan, 504 U.S. at 560. To satisfy this
Plaintiffs attempt to distinguish this action from In causation requirement, the plaintiffs must establish
re McNeil by arguing that the "Inmar Defendants that the injuries in question "fairly can be traced to
seek to equate this matter with a dismissed the challenged action" of a particular defendant,
consumer fraud case where the putative class rather than to the action of an independent third
plaintiffs could not articulate an 'injury in fact.'" party. In re McNeil, 2011 U.S. Dist. LEXIS 76800,
(Id. at 2.) Plaintiffs assert that In re McNeil 2011 WL 2802854, at *18 (quoting Whitmore v.
involved "plaintiffs' standing and the sufficiency of Arkansas, 495 U.S. 149, 155, 110 S. Ct. 1717, 109
                                                                       L. Ed. 2d 135 (1990);see also Toll Bros., Inc. v.
                                                                       Twp. of Readington, 555 F.3d 131, 137-38 (3d Cir.
                                                                       2009). "This requirement is not as demanding as
7 Plaintiffs also assert that the Inmar Defendants's Motion to Dismiss
                                                                       the proximate causation required under tort law.
is "premised on the misrepresentation that the Inmar Defendants'
                                                                       Instead, an indirect causal relationship may suffice,
phantom recall' activities were limited to Motrin products, not the
Infants' Tylenol which killed Tracen Sherfey." (Pls.' Resp. at 1.) We so long as there is a 'substantial likelihood' that the
disagree. The Inmar Defendants clearly rely on the Moore decision defendant's conduct caused the plaintiffs' harm." Id.
in seeking dismissal for lack of standing. As indicated above, Moore (citing Pub. Interest Research Grp. v. Powell
dealt with allegedly defective Children's Tylenol and generally
                                                                       Duffryn Terminals, 913 F.2d 64, 72 (3d Cir. 1990).
discussed the alleged "phantom recall" of "Children's Tylenol
products." (Doc. No. 111 at 6.) Thus, while the Inmar Defendants
rely on In re McNeil and Moore, [*13] they do not rely on the
                                                                       Here, we agree with the holdings in In re McNeil
premise that the Inmar Defendants' activities were limited to Motrin   and Moore, and find that the Complaint does not
products.
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support a "causal connection between the injury         assessment is an email communication from Peter
and the [*15] conduct complained of," and the           Luther, President of McNeil ("Luther"), dated May
death of Tracen is not "fairly . . . traceable to the   27, 2009. Comp. ¶¶ 92, 226. Specifically, Plaintiffs
challenged action[s]" of the Inmar Defendants. See      assert that in this email, Luther "ratified and
Lujan, 504 U.S. at 560-61. The In re McNeil and         approved the phantom/stealth recalls/unethical
Moore Courts determined that the plaintiffs' theory     'market assessments.'"8 Compl. ¶ 226. However, it
of causation hinged on the Inmar Defendants             is alleged that Tracen consumed the defective
possessing a degree of influence over the J&J           product and died in February 2009.9 Therefore, we
Defendants that was not plausible on the limited        agree with the Inmar Defendants that the alleged
allegations in the complaints. See In re McNeil,        phantom [*17] recall post-dated Tracen's death,
2011 U.S. Dist. LEXIS 76800, 2011 WL 2802854,           and, therefore, could not have caused it.10
at * 18; Moore, Doc. 111 at 6. Likewise, in this        Accordingly, we dismiss all claims against the
case, Plaintiffs' Complaint does not establish that     Inmar Defendants for lack of standing.
the Inmar Defendants had such influence over the
J&J Defendants. In fact, there are no allegations in    An appropriate Order follows.
the Complaint that the Inmar Defendants had
influence over the J&J Defendants decision to
                                                        ORDER
conduct a "phantom recall," and/or decisions
regarding the scope of such a recall. The Complaint     AND NOW, this 25th day of April, 2014, upon
also does not allege that the Inmar Defendants had      consideration of Defendants, Inmar Inc., Carolina
any knowledge of the specific defects affecting the     Supply Chain Services, LLC, and Carolina
Infants' Tylenol. See Id. at 16.                        Logistics Services, [*18] LLC's (collectively, the
                                                        "Inmar Defendants"), Motion to Dismiss the
In addition, the Complaint fails to allege any facts
                                                        Complaint (Doc. No. 56), Plaintiffs, Stacy Sherfey,
to support a conclusion that the Inmar Defendants
                                                        as the administrator of the Estate of Tracen
carried out "market assessments" of Infants'
                                                        Sherfey, a minor, deceased, Stacy Sherfey, and Neil
Tylenol. As in In re McNeil and Moore, Plaintiffs,
here, fail to define the term "market
                                                        8 The email stated:
 [*16] assessment," or explain in any way how the
Inmar Defendants, as part of this market                Group,
assessment, could have influenced the J&J                       Where is the miss here? Given our current financial situation, I
Defendants with respect to recall decisions. See In             hope we're not going to really double our cost to do this. Let's
re McNeil, 2011 U.S. Dist. LEXIS 76800, 2011 WL                 make this happen ASAP.

2802854, at *17 n.30; see also Moore, Doc. No.                  Thanks,
111 at 4. Like Moore, we are of the opinion that the    Compl. ¶ 226.
instant Complaint does not define "market
                                                        9 Itis notable that in Moore, Plaintiffs alleged that the "market
assessments," and does not explain why such
                                                        assessment" conducted by the Inmar Defendants occurred in July
assessments were unlawful. Id. at 6-7.                  2009, or about six months after the death of Tracen. (Doc. No. 111 at
                                                        3.)
Moreover, the Complaint fails to allege facts to
support a conclusion that the Inmar Defendants          10 In  their Response, Plaintiffs spend much space asserting
even carried out a "phantom recall" of Infants'         allegations of wrong-doings by J&J executives, including planning a
                                                        secret recall of Infants' and Children's Tylenol products, and hiring
Tylenol and/or conducted a "market assessment"          the Inmar Defendants to implement a phantom recall. (Pls.' Resp. at
that caused or could have contributed to the cause      3-7.) However, as noted earlier, we dismissed these individual
of Tracen's death. The sole factual basis regarding     Defendants in our prior Memorandum Opinion as being fraudulently
the genesis of a phantom recall and/or a market         joined. See Sherfey, No. 12-4162, 2014 U.S. Dist. LEXIS 10690,
                                                        2014 WL 715518, at *5-11.
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                                  2014 U.S. Dist. LEXIS 57735, *18


Sherfey's, Response, and the Inmar Defendants'
Reply, it is hereby ORDERED that the Motion is
GRANTED.

Accordingly, it is ORDERED that Defendants,
Inmar Inc., Carolina Supply Chain Services, LLC,
and Carolina Logistics Services, LLC are
DISMISSED from this action.

BY THE COURT:

/s/ Robert F. Kelly

ROBERT F. KELLY

SENIOR JUDGE


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                                                                       Plaintiff filed his first complaint on April 20, 2006. BB &
      KeyCite Yellow Flag - Negative Treatment                         B filed a motion to dismiss the complaint on the grounds
Distinguished by Hoffman v. Liquid Health Inc., D.N.J., July 2, 2014
                                                                       that Plaintiff failed to plead the requisite elements of a CFA
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                                                                       claim, and, in the alternative, that Plaintiff had failed to
     Only the Westlaw citation is currently available.
                                                                       plead fraud with specificity as required by Federal Rule
               NOT FOR PUBLICATION
                                                                       of Civil Procedure 9(b). The Court held oral argument on
      United States District Court, D. New Jersey.
                                                                       this motion on September 25, 2006. The Court found that
                                                                       Plaintiff's complaint did not set forth any facts indicating
                       Joe SOLO, Plaintiff,
                                                                       that Plaintiff purchased the sheets in question. Therefore, the
                        v.
                                                                       Court concluded that Plaintiff lacked standing and dismissed
         BED BATH & BEYOND, INC., Defendant.
                                                                       the complaint without prejudice.
                     Civil No. 06–1908 (SRC).
                                  |                                    Plaintiff filed his amended class action complaint (“Amended
                           April 26, 2007.                             Complaint”) on November 3, 2006, again alleging that BB &
                                                                       B's misrepresentation of the thread count of bed linens sold
David Woodward, Heins Mills & Olson, P.L.C., Minneapolis,              by BB & B violates the CFA. The Amended Complaint states
MN, Lisa J. Rodriguez, Trujillo, Rodriguez & Richards, LLP,            that Plaintiff purchased from Defendant, for $149.99, a multi-
Haddonfield, NJ, for Plaintiff.                                        ply bed linen set. Am. Compl. at ¶ 14. He alleges that the sheet
                                                                       set was “advertised as a sateen stripe sheet set with a “1000
Attorneys and Law Firms                                                Thread Count,” but that “[t]he sheets Plaintiff received ... had
                                                                       a thread count of only 492.” Id.
Robert Alan White, Morgan, Lewis & Bockius, LLP,
Princeton, NJ, for Defendant.
                                                                       On January 31, 2007, Defendant filed the present motion,
                                                                       moving to dismiss the Amended Complaint under Federal
                                                                       Rule of Civil Procedure 12(b)(6).
                              OPINION

CHESLER, District Judge.                                               II. Legal Standard
                                                                       On a motion to dismiss for failure to state a claim, brought
 *1 This matter comes before the Court on Defendant Bed
                                                                       pursuant to Federal Rule of Civil Procedure12(b)(6), the court
Bath & Beyond, Inc.'s (“Defendant” or “BB & B”) Motion
                                                                       must accept as true all allegations in the complaint and all
to Dismiss Plaintiff's Amended Complaint [docket # 36].
                                                                       reasonable inferences that can be drawn therefrom, and view
Plaintiff Joe Solo (“Plaintiff” or “Solo”) filed an opposition to
                                                                       them in the light most favorable to the non-moving party. See
this motion [docket # 39] and Defendant filed a reply [docket
                                                                       Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380,
# 40]. For the reasons set forth below and for good cause
                                                                       1384–85 (3d Cir.1994). A complaint should be dismissed only
shown, this Court grants Defendant's motion to dismiss and
                                                                       if the alleged facts, taken as true, fail to state a claim. See In
dismisses Plaintiff's Amended Complaint with prejudice.
                                                                       re Warfarin Sodium, 214 F.3d 395, 397–98 (3d Cir.2000). The
                                                                       question is whether the claimant can prove any set of facts
I. Factual and Procedural Background                                   consistent with his or her allegations that will entitle him or
This class action arises out of alleged misrepresentations             her to relief, not whether that person will ultimately prevail.
made by BB & B as to the thread count of bed sheets in the             See Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). “[A]
advertising, promotion, and packaging of those bed sheets.             complaint should not be dismissed for failure to state a claim
Specifically, Plaintiff claims that BB & B misrepresented the          unless it appears beyond doubt that the plaintiff can prove no
thread count in its multi-ply bed sheets by stating the number         set of facts in support of his claim which would entitle him to
of threads in the warp and filling directions in one square inch       relief.” Conley v. Gibson, 355 U.S. 41, 45–46 (1957).
of fabric instead of the number of yarns. Plaintiff alleges that
BB & B's conduct violated the New Jersey Consumer Fraud                 *2 While a court will accept well-pled allegations as true
Act, N.J.S.A. 56:8–1, et seq. (“CFA”).                                 for the purposes of the motion, it will not accept unsupported
                                                                       conclusions, unwarranted inferences, or sweeping legal


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conclusions cast in the form of factual allegations. See Morse     no reliance requirement for CFA liability; instead, the CFA
v. Lower Merion Sch. Dist., 132 F.3d 902, 906 n. 8 (3d             establishes deceptive practices as actionable even if no person
Cir.1997). All reasonable inferences, however, must be drawn       “has in fact been misled, deceived, or damaged thereby.”
in the plaintiff's favor. See Sturm v. Clark, 835 F.2d 1009,       Union Ink Co. v. AT & T Wireless, 352 N.J.Super. 617, 646
1011 (3d Cir.1987). Moreover, the claimant must set forth          (N.J.Super.Ct.App.Div.2002); N.J.S.A. 56:8–2.
sufficient information to outline the elements of his or her
claims or to permit inferences to be drawn that the elements        *3 Defendant BB & B argues that Plaintiff has failed
exist. See FED.R.CIV.P. 8(a)(2); Conley, 355 U.S. at 45–46.        to adequately plead each of the three elements of the a
“The defendant bears the burden of showing that no claim has       CFA claim and should be dismissed with prejudice under
been presented.” Hedges v. United States, 404 F.3d 744, 750        Federal Rule of Civil Procedure 12(b)(6). It appears that
(3d Cir.2005).                                                     Plaintiff has adequately plead unlawful conduct by the
                                                                   Defendants—specifically that Defendant misrepresented, in
                                                                   its advertising and packaging, that the linens purchased by
III. Analysis                                                      Plaintiff had thread counts of at least double their actual thread
The CFA was enacted by the New Jersey legislature in 1960          counts. However, as discussed below, the Court agrees with
to address rampant consumer complaints about fraudulent            Defendant that Plaintiff has failed to adequately identify the
practices in the marketplace and to deter such conduct by          ascertainable loss and the requisite causal nexus between the
merchants. Thiedemann v. Mercedes–Benz USA, LLC, 183               ascertainable loss and Plaintiff's unlawful conduct.
N.J. 234, 245 (2005) (citing Furst v. Einstein Moomjy, Inc.,
182 N.J. 1, 11 (2004)). In 1971, the CFA was amended               Under the CFA, a plaintiff must demonstrate an “ascertainable
to authorize private actions by injured parties. Gennari v.        loss,” defined as “a cognizable and calculable claim of loss
Weichart Co., 148 N.J. 582, 604 (N.J.1997). The amended            due to the alleged CFA violation.” Theidemann, 183 N.J.
CFA states: “Any person who suffers an ascertainable loss          at 249. Ascertainable loss includes more than a monetary
of moneys or property, real or personal, as a result of the        loss, Union Ink Co., 352 N.J.Super. at 646, and may occur
use or employment by another person of any method, act,            “when a consumer receives less than what was promised.”
or practice declared unlawful under this act .... may bring        Id.; see also Miller v. Am. Family Publishers, 284 N.J.Super.
an action or assert a counterclaim therefor in any court of        67, 90–91 (N.J. Ch.1995) ( “For their money, they received
competent jurisdiction.” N.J.S.A. § 56:8–19. Significantly,        something less than and different from what they reasonably
the standard of proof in consumer-fraud actions by private         expected in view of defendant's presentations. This is all that
plaintiffs is higher than the standard for the Attorney            is required to establish ascertainable loss.”); Talalai v. Cooper
General's enforcement proceedings. Although the Attorney           Tire & Rubber Co., 360 N.J.Super. 547, 564 (N.J.Super.
General need not prove that the victim was damaged by an           Ct. Law Div.2001) (“Whenever a consumer has received
unlawful practice, to warrant an award of treble damages a         something other than what he bargained for, he has suffered
private plaintiff must show an “ascertainable loss .” Cox v.       a loss of money or property. That loss is ascertainable if it
Sears Roebuck & Co., 138 N.J. 2, 21 (1994).                        is measurable even though the precise amount of the loss
                                                                   is not known.... When the product fails to measure up [to
To state a claim under the CFA, a private plaintiff must           reasonable expectations based on the representations made],
allege each of three elements: (1) unlawful conduct by the         the consumer has been injured; he has suffered a loss. [H]e
defendants; (2) an ascertainable loss on the part of the           has lost the benefits of the product which he was led to
plaintiff; and (3) a causal relationship between the defendants'   believe he had purchased .” (citing Hinchliffe v. Am. Motors
unlawful conduct and the plaintiff's ascertainable loss. N.J.      Corp., 184 Conn. 607 (1981))). In cases involving alleged
Citizen Action v. Schering–Plough Corp., 367 N.J.Super. 8,         misrepresentations, as here, “either out-of-pocket loss or
12–13 (N.J.Super.Ct.App.Div.2003) (citing Cox, 138 N.J. at         a demonstration of loss in value will suffice to meet the
24). The unlawful practices prohibited by the CFA fall into        ascertainable loss hurdle.” Theidemann, 183 N.J. at 248.
three general categories: (1) affirmative acts; (2) knowing        Thus, as noted by Judge Sheridan, “if plaintiff was promised
omissions; and (3) regulatory violations. Cox, 138 N.J. at         a bed sheet containing a certain thread count and received a
17. When, as here, the alleged consumer fraud violation            lower thread count of lesser value, an ascertainable loss may
consists of an affirmative act, intent is not an essential         be realized.” Zebersky v. Bed, Bath, & Beyond, Inc., No. 06–
element and the plaintiff need not prove that the defendant        1735, 2006 WL 345993 at *2 (D.N.J. Nov. 29, 2006).
intended to commit an unlawful act. Id. at 17–18. There is


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                                                                    Vacarello v. Mass. Mut. Life Ins. Co., 332 N.J.Super. 31, 48
Here, Plaintiff has not made such allegations with sufficient       (N.J.Super.Ct.App.Div.2000).
specificity. At numerous points in the Amended Complaint,
Plaintiff generally alleges that he and the members of the          1      The New Jersey courts have distinguished this
proposed class purchased multi-ply bed linens and that
                                                                           “causal connection” from element of traditional
Defendant misrepresented the thread count of these multi-
                                                                           reliance required in fraud cases. Dabush, 378
ply linens. See Am. Compl. at ¶¶ 4, 6, 17, 26, 29. Plaintiff
                                                                           N.J.Super. at 122; Gennari, 148 N.J. at 607–
alleges that he purchased a sheet set that was advertised
                                                                           608 (holding that reliance is not required in
as having “a '1000 Thread Count,' “ but that the sheet set
                                                                           suits under the CFA because liability results from
actually had a thread count “of only 492.” Id. at ¶ 14. Plaintiff
                                                                           “misrepresentations whether any person has in
also broadly states that “Plaintiff and the proposed Class and
                                                                           fact been misled, decieved, or damaged thereby”).
Subclass Members have suffered an ascertainable loss in that
                                                                           Therefore, Plaintiff need not demonstrate that he
they purchased linens that were of a lower quality and less
                                                                           relied on Defendant's misrepresentations, only that
valuable than the linens they were promised.” Id. at ¶ 42.
                                                                           there is a causal relationship between the alleged
These broad and conclusory allegations are not sufficient to
                                                                           misrepresentations and his claimed damages.
demonstrate an ascertainable loss. Under the CFA, Plaintiff
is required to plead specific facts setting forth and defining      In the Amended Complaint, Plaintiff states that “[a]s a
the ascertainable loss suffered. See, e.g., Cox, 138 N.J. at 21     result of Defendant's misleading statements and intentional
(“Traditionally, to demonstrate a loss, a victim must simply        omissions, Plaintiff and the proposed Class and Subclass
supply an estimate of damages, calculated within a reasonable       members have suffered an ascertainable loss.” Am. Compl.
degree of certainty.”); Dabush v. Mercedes–Benz USA, LLC,           at ¶ 42; see also ¶ 50. Nowhere, however, does Plaintiff
378 N.J.Super. 105, 116 (N.J.Super.Ct.App.Div.2005) (“The           explain how this ascertainable loss is attributable to the
[CFA] does not provide for recovery for statutory damages           unlawful conduct. Adequate explanations would include a
where a plaintiff cannot show actual harm.”). Plaintiff fails       statement by Plaintiff indicating that Plaintiff purchased
to specifically allege that what he did received was of lesser      the sheets in part because of the representation that the
value than what was promised, i.e., that the sheets he received     sheets were “1000 thread count,” or, that Plaintiff would
were worth an amount of money less than the sheets he was           not have purchased the sheets had they been labeled with
promised, or that he experienced a measurable out-of-pocket         the actual thread count. See, e.g., Gross v. Johnson &
loss because of his purchase. Therefore, Plaintiff has failed       Johnson–Merck Consumer Pharm ., 303 N.J.Super. 336,
to set forth either an out-of-pocket loss or a demonstration        346 (N.J.Super. Ct.App.Div..1997) (CFA class could only
of loss in value sufficient to satisfy the ascertainable loss       include persons who “saw the challenged advertisements”
requirement. See Theidemann, 183 N.J. at 248 (The “certainty        and “would not have purchased the Pepcid but for the
implicit in the concept of an ‘ascertainable loss' is that [such    challenged advertisements.”); Strzakowlski v. Gen'l Motors
loss] is quantifiable or measurable.”).                             Corp., No. 04–4740, 2005 U.S. Dist. LEXIS, at *25 (D.N.J.
                                                                    Aug. 16, 2005) (plaintiff adequately alleged CFA claim where
 *4 However, even were this Court to find that Plaintiff            plaintiff claimed that she would not have purchased her
had adequately plead an ascertainable loss, the Plaintiff must      vehicle if GM had disclosed the defect at issue); Int'l Union
also demonstrate that this ascertainable loss was suffered          of Operating Eng'rs Local # 68 Welfare Fund v. Merck & Co.,
“as a result of” Defendant's unlawful conduct. N.J.S.A.             Inc., 384 N.J.Super. 275, 289 (N.J.Super.Ct.App.Div.2006)
§ 56:8–19. Plaintiff has not done so. In order to satisfy           (plaintiff's allegations that Merck's fraud “induced P & T
this element, Plaintiff must show a “causal relationship            committees to place Vioxx on healthcare plans' formularies”
between the unlawful practice and the ‘ascertainable loss.’         demonstrated a sufficient causal connection between the
“ Miller, 284 N.J.Super. at 76; see also Thiedemann, 183            alleged fraud and the ascertainable loss.”). Plaintiff has not
N.J. at 246 (plaintiff must demonstrate “a loss attributable        provided any such explanation of the connection between his
                                                                    alleged damages and the wrongful conduct of Defendants. As
to conduct made unlawful by the CFA.”). 1 The CFA
                                                                    such, Plaintiff has failed to adequately plead the existence
does not require that the misrepresentation have been
                                                                    of a causal nexus between the alleged misrepresentations
the sole cause of Plaintiff's damages, but merely that
                                                                    and his ascertainable loss, and his CFA claim and Amended
it be a cause. See Zebersky, 2006 WL 3454993 at *4;
                                                                    Complaint must be dismissed.



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                                                               *5 For the reasons set forth above, Defendant's Motion to
Further, because Plaintiff has already been permitted to
                                                               Dismiss is GRANTED, Plaintiff's Amended Complaint is
amend his complaint, and has failed to remedy the
                                                               DISMISSED WITH PREJUDICE, and this case shall be
deficiencies present, the Court will dismiss the Amended
                                                               CLOSED.
Complaint with prejudice.


                                                               All Citations
IV. Conclusion
                                                               Not Reported in F.Supp.2d, 2007 WL 1237825

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                                         Teater v. Pfizer, Inc.
                 United States District Court for the District of Oregon, Portland Division
                                May 13, 2013, Decided; May 13, 2013, Filed
                                          No. 3:05-cv-00604-HU

Reporter
2013 U.S. Dist. LEXIS 79629 *


TERESA E.A. TEATER, Plaintiff, v. PFIZER,
                                                       Opinion
INC., et al., Defendants.


                                                       FINDINGS AND RECOMMENDATION
Subsequent History: Adopted by, Motion granted
by, Summary judgment granted by, Dismissed by          HUBEL, Magistrate Judge:
Teater v. Pfizer, Inc., 2013 U.S. Dist. LEXIS 79408
(D. Or., June 6, 2013)                                 In this pharmaceutical products liability case,
                                                       Defendants Pfizer, Inc. ("Pfizer") and Warner-
                                                       Lambert Company LLC ("Warner-Lambert")
                                                       (collectively, "Defendants") move for summary
Prior History: Teater v. Pfizer, Inc., 2012 U.S.       judgment on all of Plaintiff Teresa Teater's
Dist. LEXIS 122848 (D. Or., June 27, 2012)             ("Plaintiff") claims pursuant to Federal Rule of
                                                       Civil Procedure ("Rule") 56(c), and Plaintiff moves
                                                       to enlarge the time within which to file expert
                                                       designations. For the reasons that follow, Plaintiff's
Counsel: [*1] For Plaintiff: Andrew M. Schpak,         motion (ECF No. 99) to enlarge time to file expert
Edwin A. Harnden, BARRAN LIEBMAN LLP,                  designations should be GRANTED and Defendants'
Portland, OR.                                          motion (ECF No. 84) for summary judgment
                                                       should be GRANTED.
For Defendants: Eric J. Neiman, David C.
Campbell, WILLIAMS, KASTNER & GIBBS
                                                       Procedural Background
PLLC, Portland, OR; Mark S. Cheffo, Catherine B.
Stevens, SKADDEN, ARPS, SLATE, MEAGHER                 In early May 2005, Plaintiff brought this action pro
& FLOM, LLP, New York, NY.                             se to recover damages for alleged personal injuries
                                                       suffered as a result of her ingestion of Defendants'
                                                       prescription drug Neurontin. In late October 2005,
                                                        [*2] the Judicial Panel on Multidistrict Litigation
Judges: Dennis J. Hubel, United States Magistrate
                                                       issued a conditional transfer order transferring this
Judge.
                                                       case from the District of Oregon to the consolidated
                                                       proceedings in the District of Massachusetts. See In
                                                       re Neurontin Mktg., Sales Practices & Prods. Liab.
Opinion by: Dennis J. Hubel                            Litig., MDL No. 1629 (J.P.M.L. Oct. 24, 2005)
                                                       (order for conditional transfer). Nearly six years
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later, on May 6, 2011, the Multidistrict Panel issued     later, on February [*4] 8, 2013, Plaintiff filed a
a conditional remand which remanded Plaintiff's           motion to enlarge time to file expert designations
case to this Court. See In re Neurontin Mktg., Sales      pursuant to Rule 6(b). In accordance with prior
Practices & Prods. Liab. Litig., MDL No. 1629             representations to the Court, Defendants responded
(J.P.M.L. May 6, 2011) (conditional remand order).        to Plaintiff's motion to enlarge in their reply in
                                                          further support of their motion for summary
On June 21, 2011, the Court appointed pro bono            judgment, which was filed on March 28, 2013.
counsel for Plaintiff, and subsequently granted
Plaintiff leave to amend her complaint. Defendants
moved to dismiss Plaintiff's amended complaint on         Legal Standard
March 7, 2012, and were partially successful.
However, Plaintiff was given another opportunity          Summary judgment is appropriate "if pleadings, the
to amend her complaint and she did so on                  discovery and disclosure materials on file, and any
November 8, 2012. In her second amended                   affidavits show that there is no genuine issue as to
complaint, which the parties agree is presently the       any material fact and that the movant is entitled to
operative pleading, Plaintiff alleged claims for          judgment as a matter of law." Fed. R. Civ. P. 56(a).
negligence, breach of warranty, strict liability,         Summary judgment is not proper if factual issues
fraud, violation of Oregon's Unlawful Trade               exist for trial. Warren v. City of Carlsbad, 58 F.3d
Practices Act ("UTPA"), Or. Rev. Stat. § 646.605,         439, 441 (9th Cir. 1995).
 [*3] and unjust enrichment.
                                                          The moving party has the burden of establishing the
Plaintiff's counsel filed a motion to terminate their     absence of a genuine issue of material fact. Celotex
on-going pro bono representation on November 14,          Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct.
2012, which was the Court imposed deadline for            2548, 91 L. Ed. 2d 265 (1986). If the moving party
the parties to disclose all expert witnesses. Two         shows the absence of a genuine issue of material
days later, Defendants moved for summary                  fact, the nonmoving party must go beyond the
judgment, arguing, inter alia, that Plaintiff failed to   pleadings and identify facts which show a genuine
disclose an expert witness to testify as to causation.    issue for trial. Id. at 324. A nonmoving party
On February 5, 2013, the Court convened a                 cannot defeat summary judgment by relying on the
telephone hearing on pro bono counsels' motion to         allegations in the complaint, or with unsupported
withdraw. Defendants' counsel agreed to the Court         conjecture      or    conclusory    [*5] statements.
conducting a sealed ex parte portion of the hearing.      Hernandez v. Spacelabs Med., Inc., 343 F.3d 1107,
Plaintiff's counsel voiced concerns regarding             1112 (9th Cir. 2003). Thus, summary judgment
continued representation of Plaintiff. The Court          should be entered against "a party who fails to
was also advised about a lack of funds to retain or       make a showing sufficient to establish the existence
depose experts. Ultimately, the motion to withdraw        of an element essential to that party's case, and on
was denied after Plaintiff and her counsel agreed         which that party will bear the burden of proof at
that a variant of the briefing scheme established in      trial." Celotex, 477 U.S. at 322.
State v. Balfour, 311 Or. 434, 814 P.2d 1069
(1991), could be employed at the summary                  The court must view the evidence in the light most
judgment stage of this proceeding.                        favorable to the nonmoving party. Bell v. Cameron
                                                          Meadows Land Co., 669 F.2d 1278, 1284 (9th Cir.
On February 6, 2013, Plaintiff's counsel obtained         1982). All reasonable doubt as to the existence of a
the expert discovery that occurred during the             genuine issue of fact should be resolved against the
consolidated pretrial proceedings before Judge Patti      moving party. Hector v. Wiens, 533 F.2d 429, 432
Saris in the District of Massachusetts. Two days          (9th Cir. 1976). Where different ultimate inferences
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may be drawn, summary judgment is inappropriate.        Federal Rules of Civil Procedure, is to be liberally
Sankovich v. Life Ins. Co., 638 F.2d 136, 140 (9th      construed to effectuate the general purpose of
Cir. 1981). However, deference to the nonmoving         seeing that cases are tried on the merits." Id. at
party has limits. The nonmoving party must set          1258-59 (citation, internal quotation marks, and
forth "specific facts showing a genuine issue for       alterations omitted). While litigants will normally
trial." FED. R. CIV. P. 56(e). The "mere existence      be granted an enlargement of time in the absence of
of a scintilla of evidence in support of plaintiff's    bad faith or prejudice to the adverse party, "[e]ven
positions [is] insufficient." Anderson v. Liberty       when the extension is sought after the time limit
Lobby, Inc., 477 U.S. 242, 252, 106 S. Ct. 2505, 91     has expired, the good cause standard is satisfied
L. Ed. 2d 202 (1986). Therefore, where "the record      merely upon a showing of excusable neglect." Cal.
taken as a whole could [*6] not lead a rational trier   Trout v. F.E.R.C., 572 F.3d 1003, 1027 n.1 (9th
of fact to find for the nonmoving party, there is no    Cir. 2009).
genuine issue for trial." Matsushita Elec. Indus.
Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587,     In Pioneer Inv. Servs. v. Brunswick Assocs. Ltd.
106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) (internal      P'ship., 507 U.S. 380, 113 S. Ct. 1489, 123 L. Ed.
quotation marks omitted).                               2d 74 (1993), the Supreme Court stated: "Although
                                                        inadvertence, ignorance of the rules, or mistakes
                                                        construing the rules do not usually constitute
Discussion                                              excusable neglect, it is clear that excusable neglect
                                                        under Rule 6(b) is a somewhat elastic concept and
                                                        is not limited strictly to omissions caused by
                                                        circumstances beyond the control of the movant."
I. Plaintiff's Motion (ECF No. 99) to Enlarge           Id. at 392 (internal quotation marks omitted). In
Time                                                    determining whether neglect is excusable, courts
                                                        consider four factors: "(1) the danger of prejudice
Pursuant to Rule 6(b), Plaintiff moves the Court for
                                                        to the opposing party; [*8] (2) the length of the
an order enlarging the time for filing expert
                                                        delay and its potential impact on the proceedings;
designations. Defendants oppose the request on the
                                                        (3) the reason for the delay; and (4) whether the
grounds that "Plaintiff failed to designate any
                                                        movant acted in good faith." Bateman v. U.S.
experts on or before [the Court imposed] deadline,      Postal Serv., 231 F.3d 1220, 1223-24 (9th Cir.
and instead, Plaintiff's counsel filed a motion to      2000).
withdraw on November 14, 2012," not a motion for
an extension of time. (Defs.' Reply at 3.) Thus, in   As an initial matter, it makes little sense to refer to
Defendants' view, "Plaintiff's failure to meet her    any action taken by Plaintiff's counsel in this
[November 14, 2012] expert deadline or timely         proceeding as "excusable neglect." Indeed, pro
seek an extension should not be excused, and thus,    bono counsel undertook near-Herculean efforts to
summary judgment is warranted." (Id.)                 provide Plaintiff with excellent representation: they
                                                      took on a case outside of their normal practice area,
Under Rule 6(b)(1)(B), "[w]hen an act may or must spent over 500 hours of attorney time on this
be done within a specified time, the court may, for litigation, were amenable to the Court's somewhat
good cause, extend the time . . . on motion made unprecedented suggestion that they submit a variant
after the time has expired if the party failed to act of a Balfour brief in opposition to Defendants'
because of excusable neglect." Fed. R. Civ. P. motion for summary judgment, and flew to
6(b)(1)(B). In Ahanchian v. Xenon Pictures, Inc., Nebraska to conduct a deposition. Despite
624 F.3d 1253 (9th Cir. 2010), [*7] the Ninth encouragement from the Court to submit a motion
Circuit recognized that Rule 6(b)(1), "like all the for reimbursement of out-of-pocket expenses based
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on their pro bono service in this proceeding,           example, Michael Trimble ("Trimble"), M.D., was
Plaintiff's counsel has not made any such request.      deposed on August 4, 2011, and provided the
                                                        following testimony:
In terms of the merits of Plaintiff's motion to              Q. Alright, sir. Then, after your study, did you
enlarge time, Defendants argue that, even if the             form any opinions relative to Neurontin, and its
Court excuses Plaintiff's failure to timely designate        effect on mood and behavior in patients who
expert testimony, she still cannot create a genuine          take Neurontin?
 [*9] issue of material fact with respect to specific        A. Yes.
causation. This is essentially Defendants' sole basis        Q. What is your general opinion?
for arguing that they are entitled to summary                A. Neurontin is an agent that, because of its
judgment on all claims. Considering the apparent             action on neurotransmitters -- those are the
strength of Defendants' motion for summary                   chemicals in the central nervous system -- in
judgment on its merits, and the fact that Plaintiff's        vulnerable people, will lead to changes of
counsel is attempting to introduce expert discovery          mood and behavior; and will lead, in certain
through depositions that occurred during the                 cases to suicidal intentions, and suicidal acts,
consolidated pretrial proceedings before Judge               and completed suicides.
Saris (which should come as no shock to
Defendants), the Court can foresee little, if any,   (Trimble Dep. 49:14-50:3, Aug. 4, 2011.)
prejudice or negative impact on this proceeding. Cf. Similarly, during her deposition in mid-August
Perez-Denison v. Kaiser Found. Health Plan of the    2011, Cheryl Blume ("Blume"), M.D., testified that
Nw., 868 F. Supp. 2d 1065, 1079 (D. Or. 2012)         [*11] available data regarding use of Neurontin
(making similar observations in granting motion to   suggested a potential for self-harm and suicide-
enlarge time under Rule 6(b)). Moreover, it can      related events:
hardly be questioned that Plaintiff's counsel has         Q. Did you see any signals?
acted in good faith. Accordingly, Plaintiff's motion      A. Well, I was asked, agin, to specifically look
to enlarge time to file expert designations should be     at signals that might reflect a personality
granted, and the Court should consider testimony          characteristic that could lead to self harm as
from Plaintiff's experts in addressing the merits of      well as the various self-harm terms, yes. And
Defendants' motion for summary judgement.                 the report is kind of repetitive in the various
                                                          time frames, but I believe that there were
                                                          signals evidenced after approval that would
II. Defendants' Motion (ECF No. 84) for                   have suggested that there was a potential for
Summary Judgment                                          self harm, suicide-related events.
                                                          ....
According to Defendants, the principal issue here is
                                                          Q. Did you form any opinions with respect to
whether Plaintiff [*10] has put forth sufficient          whether the labeling or warnings contained in
evidence of specific causation to carry her ultimate      the Neurontin labels were adequate to inform
burden of proof at trial on her claims for strict         doctors of the signals about which you were
liability, negligence, breach of warranty, fraud,         studying?
violation of the UTPA, and unjust enrichment.
                                                          ....
A. Plaintiff's Evidence. In her opposition to             [A.] Yes, I did form an opinion.
Defendants' motion for summary judgment,                  Q. What opinions did you form?
Plaintiff relies, almost exclusively, on expert           [A.] . . . I believe that . . . events occurred that
testimony that occurred during the consolidated           made the . . . launch label obsolete and -- with
proceedings in the District of Massachusetts. For         respect to self-injurious events . . . [the]
                                                          labeling needed to be modified over time to
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    reflect the database -- reflect the knowledge of        a reasonable medical probability that the [actions
    the company that there had been reported                complained of] caused the plaintiff's injuries."
    attempts or completed suicides in patients who          Bixby v. KBR, Inc., No. 3:09-CV-632-PK, 2012
    were taking the product during the post-                U.S. Dist. LEXIS 124267, 2012 WL 3779097, at *8
    marketing periods.                                      (D. Or. Aug. 31, 2012) (quoting Baughman v. Pina,
                                                            200 Or. App. 15, 18, 113 P.3d 459 (2005)
(Blume Dep. 58:11-20, [*12] Aug. 18, 2011.)                 (emphasis added).
Lastly, on October 19, 2011, David Franklin
("Franklin"), Ph.D., provided testimony regarding           In this case, Plaintiff has not presented any expert
his experience working for Defendants and                   testimony indicating that there is a reasonable
promoting off label use of Neurontin to physicians:         medical probability that Defendants' actions caused
    Q. Tell us about that, please.                          her injuries. Indeed, Plaintiff's own prescribing
    A. I recorded a couple of . . . [group] voice           healthcare providers seem to think otherwise.
    mails.                                                  (Dingman Dep. 112:9-13, Nov. 5, 2012) ("Q. Do
    Q. And why did you do that?                             you recall any patient that you believed became
    A. I was concerned . . . that the aggressiveness        suicidal as a result of using Neurontin? A. I had no
    of the [group] voice mails were going to get us         experience with that, no. That didn't happen.");
    all in trouble.                                         (Coler Dep. 128:3-5, Nov. 4, 2012) ("A. Well,
    Q. In what way were they going to get you in            they're saying that if you give somebody Neurontin,
    trouble?                                                you're going to have an increased risk of suicide.
    A. That they were documenting and being very             [*14] I don't really think that's true.") Plaintiff
    blatant about our promotion efforts . . . .             attempts to argue that her own deposition
    Q. Promotion efforts in what regard?                    "testimony indicates that Neurontin caused [her] to
    A. Off label.                                           attempt to commit suicide." (Pl.'s Opp'n at 7.)
    Q. Of what drug.                                        However, Plaintiff overlooks the fact that the
    A. Neurontin.                                           Baughman rule prevents "jurors from speculating
(Franklin Dep. 65:20-66:9, Oct. 19, 2011.)                  about causation in cases where that determination
                                                            requires medical expertise beyond the knowledge
B. Strict Liability. Plaintiff alleges a strict liability   and experience of an ordinary lay person." Bixby,
claim against Defendants based on their "fail[ure]          2012 U.S. Dist. LEXIS 124267, 2012 WL 3779097,
to warn" her prescribing physician "about the               at *8. Accordingly, Defendants are entitled to
potential adverse effects associated with                   summary judgment on Plaintiff's strict liability
Neurontin." (Second Am. Compl. ¶ 35.) As Judge              claim.
Aiken explained in Crosswhite v. Jumpking, Inc.,
411 F. Supp. 2d 1228 (D. Or. 2006), "[i]n addition          C. Plaintiff's Remaining Claims. Plaintiff also
to presenting proof as to the condition of the              brings claims against Defendants for fraud,
defendant's product, the plaintiff in a strict liability    negligence, and violation of the UTPA — all of
case is required to establish that such condition           which require Plaintiff to demonstrate damages
proximately caused [*13] his injuries or damages."          caused by Defendants' conduct — be it fraud,
Id. at 1235 (quoting Gilmour v. Norris Paint &              negligence, or a violation of the UTPA. See
Varnish Co., Inc., 52 Or. App. 179, 184, 627 P.2d           Murphy v. Allstate Ins. Co., 251 Or. App. 316, 321,
1288 (1981)). When, as here, "the element of                284 P.3d 524 (2012) (in order to recover on a claim
causation involves a complex medical question, as           for fraud, the plaintiff must prove causation);
a matter of law, no rational juror can find that a          Watson v. Meltzer, 247 Or. App. 558, 565, 270 P.3d
plaintiff has established causation unless the              289 (2011) (negligence action requires the plaintiff
plaintiff has presented expert testimony that there is      to "establish that but for the negligence of the
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defendant, the plaintiff would not have suffered the                         duty imposed by a confidential or fiduciary
harm that is the subject of the claim."); Schmelzer                          relationship." Id. at 223 (emphasis added). A
v. Wells Fargo Home Mortg., No. CV-10-1445-HZ,                               review of Plaintiff's second amended complaint
2011 U.S. Dist. LEXIS 134015, 2011 WL 5873058,                               suggests that her unjust enrichment claim is most
at *13 (D. Or. Nov. 21, 2011) [*15] ("to prevail on                          likely based on her claims for fraud and negligence.
UTPA claim, plaintiff must show a violation of the                           Since both of those claims fail on this record
UTPA, causation, and damage in the form of an                                because of the lack of evidence of specific
ascertainable loss"). The same can be said about                             causation,      the    Court      concludes     that
Plaintiff's breach of warranty claim, which is                                [*17] Defendants are entitled to summary
properly considered a products liability claim under                         judgment on Plaintiff's unjust enrichment claim as
Oregon Revised Statute ("ORS") 30.900.1 Cf.                                  well because no reasonable juror could conclude
Phelps v. Wyeth, Inc., 857 F. Supp. 2d 1114, 1123                            the element of wrongfulness has been established
(D. Or. 2012) (determining that the plaintiff's                              on this record.
breach of warranty was properly considered a
products liability claim based on the definition of a
product liability civil action under ORS 30.900);                            Conclusion
see McDowell v. Allied Bldg. Prods. Corp., 235 Or.
                                                                             For the reasons stated, Plaintiff's motion (ECF No.
App. 12, 22, 230 P.3d 552 (2010) (determining that
                                                                             99) to enlarge time to file expert designations
it was appropriate for the trial court to assess the
                                                                             should be GRANTED and Defendants' motion
admissibility of the "plaintiff's proof of causation"
                                                                             (ECF No. 84) for summary judgment should be
in a "complex product[s] liability case"). Again,
                                                                             GRANTED.
because the element of causation presents a
complex medical question, and because Plaintiff
has failed to present sufficient evidence on this                            Scheduling Order
point, Defendants are entitled to summary
judgment on Plaintiff's claims for fraud,                                    The Findings and Recommendation will be referred
negligence, violation of the UTPA, and breach of                             to a district judge. Objections, if any, are due June
warranty.                                                                    3, 2013. If no objections are filed, then the Findings
                                                                             and Recommendation will go under advisement on
Lastly, Plaintiff brings a claim for unjust                                  that date. If objections are filed, then a response is
enrichment against Defendants. In Tupper v. Roan,                            due June 20, 2013. When the response is due or
349 Or. 211, 243 P.3d 50 (2010), the Oregon                                  filed, whichever date is earlier, the Findings and
Supreme Court explained that their "unjust                                   Recommendation will go under advisement.
enrichment cases speak of a range of circumstances
that could [satisfy the element of wrongfulness that                         Dated this 13th day of May, 2013.
a claim for unjust enrichment requires], including
                                                                             /s/ Dennis J. Hubel
mistake, fraud, coercion, undue influence, duress,
taking advantage of weakness, and violation of a                             Dennis J. Hubel

                                                                             United States Magistrate Judge
1 ORS 30.900 provides that:    [*16] "[A] 'product liability civil action'
means a civil action brought against a manufacturer, distributor,              End of Document
seller or lesser of a product for damages for personal injury . . .
arising out of: (1) [a]ny design, inspection, testing, manufacturing or
other defect in a product; (2) [a]ny failure to warn regarding a
product; or (3) [a]ny failure to properly instruct in the use of a
product." Or. Rev. Stat. § 30.900.
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                        Thomas v. Brown & Williamson Tobacco Corp.
           United States District Court for the Western District of Missouri, Western Division
                                         April 28, 2006, Decided
                                        No. 06-0223-CV-W-SOW

Reporter
2006 U.S. Dist. LEXIS 28261 *; 2006 WL 1194873
                                                       MO.
PATRICIA THOMAS, individually, and as
Plaintiff ad litem for DONALD WILLIAM
THOMAS, SR., Plaintiffs, vs. BROWN AND                 Judges: SCOTT O. WRIGHT, Senior United
WILLIAMSON TOBACCO CORP., a Delaware                   States District Judge.
Corporation, et al., Defendants.


                                                       Opinion by: SCOTT O. WRIGHT
Counsel: [*1] For Patricia Thomas, individually
and as Plaintiff ad litem for Donald William
Thomas, Sr., Plaintiff: Joseph P. Masterson, Patrick
J. Berrigan, Watson & Dameron, Kansas City, MO;        Opinion
Russell S. Dameron, Watson & Dameron, LLP,
Kansas City, MO.

                                                       ORDER
For Brown & Williamson Holdings, Inc., formerly
known as Brown & Williamson Tobacco                    Before the Court are Plaintiffs' Motion to Remand
Corporation, R J Reynolds Tobacco Company,             (Doc. # 19), defendants' response, and plaintiffs'
Defendants: Bruce D. Ryder, Jason A. Wheeler,           [*2] reply. There are also other various motions
Thompson Coburn, LLP, St. Louis, MO;                   pending, including defendants MFA Petroleum
Christopher A. Kreiner, Womble Carlyle Sandridge       Company, Inc. and Barber & Sons Tobacco Co.'s
& Rice, PLLC, Winston-Salem, NC; Jeffrey L.            motions to dismiss, a motion to dismiss on behalf
Furr, Womble, Caryle, Sandridge & Rice, Winston-       of all defendants, and defendant Philip Morris
Salem, NC; Ursula M. Henninger, Womble,                USA, Inc.'s motion for summary judgment. These
Carlyle, Sandridge & Rice, Winston-Salem, NC.          motions have not yet been fully briefed.

                                                       On April 4, 2006, recognizing that the motion to
For Philip Morris USA Inc, Defendant: AdoLisa
                                                       remand could be dispositive of the other motions,
Joan Anarado, Billy R. Randles, Noel C. Capps,
                                                       this Court stayed consideration of the pending
Rebecca J. Schwartz, William A. Yoder, Shook,
                                                       motions to dismiss and summary judgment until
Hardy & Bacon, LLP, Kansas City, MO.
                                                       after it had the chance to determine whether
                                                       subject-matter jurisdiction exists. Subsequently, the
For MFA Petroleum Company, Barber & Sons               parties fully briefed the remand issue. Having
Tobacco Co., Defendants: Bruce D. Ryder, Jason         considered the parties' arguments, the Court now
A. Wheeler, Thompson Coburn, LLP, St. Louis,           finds that it has subject-matter jurisdiction over this
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case and therefore plaintiffs' motion to remand this      seller in the stream of commerce" when, as here,
case back to the Circuit Court of Jackson County,         the produce manufacturer "is properly before the
Missouri is denied. Furthermore, given the Court's        court." Mo. Rev. Stat. § 537.762(1)-(2) (2000).
analysis and conclusion on the motion to remand,          Therefore, Defendants allege that the Missouri
the Court grants the Missouri Defendants' motions         Defendants should be ignored for the purposes of
to dismiss.                                               determining whether diversity jurisdiction exists,
                                                          and when this is done, complete diversity exists
                                                          among the remaining parties, and therefore, this
I. Background                                             Court has subject-matter jurisdiction.
This case is a wrongful death action brought by           Plaintiffs argue that this allegation lacks merit, as
plaintiffs against defendants Brown and                   the Defendants fail to take into account plaintiffs'
Williamson Tobacco Corp., Philip Morris USA,              fraudulent concealment claims (Count III) against
Inc. (the "Defendants"), [*3] MFA Petroleum               the Missouri Defendants which alone requires
Company, Inc., and Barber & Sons Tobacco Co.              remand of this case back to the Circuit Court of
(collectively referred to as the "Missouri                Jackson County, Missouri.
Defendants"), for their alleged negligence,
carelessness and recklessness in causing or
contributing to cause the wrongful death of               II. Standard
decedent Donald William Thomas, Sr. and the
damages sustained by plaintiffs as a direct result        Cases filed in state court may be removed to federal
thereof.     The    Defendants     are    cigarette       court if the case would have been within the
manufacturers. Plaintiff states that he purchased         original jurisdiction of the federal courts. 28 U.S.C.
many of the cigarettes he smoked at or from the           § 1441. If the federal [*5] court lacks subject
Missouri Defendants. Missouri Defendant Barber &          matter jurisdiction over the case, the matter must be
Sons is a wholesale distributor of cigarettes, and        remanded back to state court. 28 U.S.C. § 1447(c).
Missouri Defendant MFA Petroleum is a retail              The burden of demonstrating removal jurisdiction
seller of cigarette products. This cause was              falls upon the party seeking removal. In re Bus.
originally brought in the Circuit Court of Jackson        Men's Assurance Co., 992 F.2d 181, 183 (8th Cir.
County, Missouri.                                         1993).

On March 15, 2006, the Defendants filed a Notice          The Court has recently been given clear guidance
of Removal with this Court where they alleged             from the Eighth Circuit as to the considerations the
diversity jurisdiction pursuant to 28 U.S.C. § 1441.      district court should take into account when dealing
This Notice of Removal was predicated upon                with fraudulent-joinder. "A proper review should
Defendants' showing that the non-diverse                  give paramount consideration to the reasonableness
defendants named in the Petition (the Missouri            of the basis underlying the state claim." Menz v.
Defendants), were fraudulently joined for the             New Holland North America, Inc., et al., 440 F.3d
purpose of defeating federal diversity. Specifically,     1002, 1004 (8th Cir. 2006) (quoting Filla v.
defendants allege that, in light of plaintiffs'           Norfolk S. Ry., 336 F.3d 806, 810 (8th Cir. 2003)).
allegations, the only potential [*4] basis of liability   "Where applicable state precedent precludes the
against the Missouri Defendants was their status as       existence of a cause of action against a defendant,
sellers in the stream of commerce. Defendants also        joinder is fraudulent." Filla, 336 F.3d at 810. It has
attempt to show that the Missouri Innocent Seller         also been recognized by the Eighth Circuit that it
statute precludes liability against a "defendant          must be "clear under state law that the complaint
whose liability is based solely on his status as a        does not state a cause of action against the non-
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                                        2006 U.S. Dist. LEXIS 28261, *5


diverse defendant." Iowa Public Service Co. v.            required to exercise its proper authority and make a
Medicine Bow Coal Co., 556 F.2d 400, 406 (8th             determination as to whether an exercise of its
Cir. 1977). [*6] If there "exists no reasonable basis     jurisdiction is proper. In this case, the Court is
in fact and law supporting a claim against the            called upon to determine whether certain resident
resident defendants" joinder is fraudulent. Wiles v.      defendants were fraudulently joined. The Court
Capitol Indemnity Corp., 280 F.3d 868, 871 (8th           determines that they were.
Cir. 2002).
                                                          Under applicable state precedent, none of plaintiffs'
Plaintiffs' main argument is derived from language        causes of action against the Missouri Defendants
that appears in the Filla decision where the Eighth       can survive. Indeed, under the most liberal reading
Circuit seemed to give considerable leeway to the         of a fraudulent-joinder standard from the Eighth
district court, and lean towards favoring the state       Circuit, there is no cause of action. There seems
court to determine whether a basis exists under           to [*8] this Court no doubt that there is not even
state law for a claim against the resident                arguably a case against the Missouri Defendants.
defendants, explaining that "the district court's task    The Missouri Innocent Seller statute would
is limited to determining whether there is arguably       preclude any possibility of recovery.
a reasonable basis for predicting that the state law
might impose liability based upon the facts               Under the Missouri Innocent Seller statute "a
involved." Filla, 336 F.3d at 811 (emphasis added).       defendant whose liability is based solely on his
Furthermore, plaintiffs assert additional authority       status as a seller in the stream of commerce may be
from the Western District of Missouri that again          dismissed from a products liability claim as
focuses on a somewhat broad view of fraudulent-           provided in this section." Mo. Rev. Stat. §
joinder analysis: "[i]f there is a possibility that the   537.762(1). The statute further provides that "this
plaintiff has stated a cause of action [against the       section shall apply to any products liability claim in
resident defendant], the joinder is not fraudulent,       which      another      defendant,    including    the
and the case should be remanded." El Dorado               manufacturer, is properly before the court and from
Springs R-2 Sch. Dist. v. Moos, 264 F. Supp. 815,         whom total recovery may be had for plaintiff's
818-19 (W.D. Mo. 1967); [*7] Spears v. Bayer              claim." § 537.762(2). Recently, this statute has
Corp., 2004 U.S. Dist. LEXIS 29732, No. 03-1151-          been held to be substantive, rather than a
CV-W-GAF (W.D. Mo., March 19, 2004).                      procedural device, and therefore this statute is
                                                          applicable in federal court. See Gramex Corp. v.
While it may seem from the above authority that           Green Supply, Inc., 89 S.W.3d 432, (Mo. banc.
the fraudulent-joinder standard is somewhat               2002).
unclear, the Eighth Circuit recognized as much in
                                                          Under the applicable state law precedent that is
its recent Filla decision: "within our own circuit,
                                                          available to this Court, the Missouri Defendants are
the fraudulent-joinder standard has been stated in
                                                          not subject to suit under the Innocent Seller statute.
varying ways." Filla, 336 F.3d at 809-10. Yet, the
                                                          A review of plaintiffs' Complaint in this case
"common thread" guiding fraudulent-joinder
                                                          reveals that the Missouri Defendants' liability
review is "reason." Id. at 810.
                                                          would be based upon the fact that [*9] they are a
                                                          seller in the stream of commerce of the allegedly
III. Discussion                                           defective product. Neither of the Missouri
                                                          Defendants manufactured cigarettes. Plus, the
The Court starts with the basic premise that federal      remaining Defendants in this case stated in their
courts are courts of limited jurisdiction. Congress       Notice of Removal that, although they deny the
has created specific instances in which this Court is     substance of plaintiffs' allegations, plaintiff would
     Case 1:19-md-02875-RMB-SAK                            Document 522-3              Filed 07/17/20   Page 272 of 307
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be able to make a full recovery from the product                           granted. It is further
manufacturers without contribution from the
Missouri Defendants.                                                       ORDERED that Defendant Barber & Sons Tobacco
                                                                           Company's Motion to Dismiss [*11] (Doc. # 14) is
Plaintiffs vehemently argue that remand is required                        granted. It is further
because plaintiffs have stated a viable claim for
fraudulent concealment (Count III) against the                             ORDERED that based on the Court's April 4, 2006
Missouri Defendants. Under Missouri law, the                               Order, plaintiffs shall file their responses to the
"essence of a fraudulent concealment action is that                        pending Motion to Dismiss (Doc. # 16) within 15
a defendant, by his or her post-negligence conduct,                        days of the date of this Order and respond to the
affirmatively intends to conceal from plaintiff the                        pending Motion for Summary Judgment (Doc. #
fact that the plaintiff has a claim against the                            23) within 30 days of the date of this Order.
defendant." Batek v. The Curators of the Univ. of                          SCOTT O. WRIGHT
Missouri, 920 S.W.2d 895, 900 (Mo. 1996).
Plaintiffs have failed to plead their fraudulent                           Senior United States District Judge
concealment claim with the requisite particularity.
There is no allegation that the Missouri Defendants                        Dated: April 28, 2006
knew of any defect in the cigarettes they sold and
"affirmatively intended" to conceal these facts from                         End of Document
the plaintiff. In fact, [*10] the Missouri
Defendants' affidavits state otherwise. 1 Plaintiffs
fail to point to any facts that reveal fraudulent
concealment.

Therefore, the Innocent Seller statute would
preclude recovery against the Missouri Defendants
on all Counts. Complete diversity exists among the
remaining parties and therefore this Court has
diversity subject-matter jurisdiction pursuant to 28
U.S.C. § 1332.


IV. Conclusion

Accordingly, based on the above, it is hereby

ORDERED that Plaintiffs' Motion to Remand
(Doc. # 19) is denied. This Court has proper
subject-matter jurisdiction over this case. It is
further

ORDERED that Defendant MFA Petroleum
Company's Motion to Dismiss (Doc. # 12) is


1 In determining the validity of plaintiffs' argument, the Court may

consider the Petition, affidavits, and other relevant materials. Reeb v.
Wal-Mart Stores, Inc., 902 F. Supp. 185, 187-89 (E.D. Mo. 1995).
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                                     Thompson v. Bayer Corp.
           United States District Court for the Eastern District of Arkansas, Western Division
                         February 12, 2009, Decided; February 12, 2009, Filed
                                          4:07CV00017 JMM

Reporter
2009 U.S. Dist. LEXIS 15190 *; 2009 WL 362982


MYSTIC THOMPSON, Individually And On                 Opinion by: James M. Moody
Behalf of All Others Similarly Situated,
PLAINTIFF v. BAYER CORPORATION;
BAYER HEALTHCARE, LLC, DEFENDANTS
                                                     Opinion

Subsequent History: Class certification denied by
Thompson v. Bayer Corp., 2009 U.S. Dist. LEXIS       ORDER DENYING PLAINTIFF'S MOTION
72011 (E.D. Ark., Aug. 6, 2009)                      FOR CLASS CERTIFICATION

                                                     Pending is the Plaintiff's Motion for Class
                                                     Certification. The Defendants have responded and
Counsel: [*1] For Mystic Thompson, individually      both parties have filed replies. The Court has also
and on behalf of all others similarly situated,      considered the parties' oral arguments presented
Plaintiff: Eric D. Wewers, LEAD ATTORNEY,            during the hearing held on October 20, 2008. At the
Law Offices of Eric D. Wewers, Little Rock, AR;      request of the Court, Plaintiff has provided
Jack Thomas Patterson, II, Jeremy Y. Hutchinson,     proposed jury instructions for the trial of this case.
LEAD ATTORNEYS, Patton, Roberts,                     Again, Defendants have responded and the Plaintiff
McWilliams & Capshaw - Little Rock, Little Rock,     has replied. For [*2] the reasons set forth below,
AR; James Clark Wyly, Sean Fletcher Rommel,          the Motion is DENIED.
LEAD ATTORNEYS, Patton Roberts PLLC -                I. Background
Texarkana, Texarkana, TX; M. Darren O'Quinn,
LEAD ATTORNEY, Law Offices of Darren                 Plaintiff alleges that the Defendants engaged in a
O'Quinn, PLLC, Little Rock, AR.                      false marketing scheme with regard to their
                                                     product, One-A-Day Weight Smart vitamins
For Bayer Corporation, Bayer HealthCare LLC,         ("Weight Smart"). According to Plaintiff, the
Defendants: Edwin L. Lowther, Jr., LEAD              Defendants claimed that Weight Smart increased
ATTORNEY, Gary D. Marts, Jr., Wright, Lindsey        the metabolism of people as they age. This claim
& Jennings - Little Rock, Little Rock, AR.           was based on an ingredient in Weight Smart called
                                                     ECGC from the extract of green tea. Plaintiff
                                                     contends that there was no reliable scientific
                                                     evidence to substantiate the increased metabolism
Judges: James M. Moody, United States District       claim. In fact, on January 28, 1991 the Federal
Judge.                                               Trade Commission ("FTC") ordered the Defendants
                                                     to stop making representations about the benefits of
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One-A-Day products unless Defendants possessed           suffered by Arkansas citizens in the purchase of
and relied upon competent and reliable scientific        Weight Smart. Id.
evidence to substantiate the representation. (Ex. 4      II. Choice of Law Analysis
to Pl's Motion for Class Cert.) On January 3, 2007,
the FTC filed suit against the Bayer Corporation for  Because Plaintiff seeks to certify a nationwide class
violation of the 1991 Order. The Complaint stated     to pursue a common law claim, the Court must first
that on numerous occasions beginning in January       consider choice-of-law principles. Plaintiff urges
2003 Bayer disseminated advertising about the         the Court to look at Phillips Petroleum Co. v.
benefits of Weight Smart without possessing or        Shutts, 472 U.S. 797, 105 S. Ct. 2965, 86 L. Ed. 2d
relying upon competent and reliable evidence. Id.     628 (1985)("Shutts") and Sun Oil Co. v. Wortman,
As a result, the Defendants [*3] were fined $ 3.2     486 U.S. 717, 108 S. Ct. 2117, 100 L. Ed. 2d 743
million by the FTC.                                   (1988)("Wortman") as authority for her argument
                                                      that the law of Arkansas does not conflict with
Plaintiff's cause of action on behalf of herself and
                                                      other states and is sufficient for use in a nationwide
the putative class rests on Defendants' alleged
                                                      unjust enrichment class action. In Shutts, gas
uniform false and misleading statements about
                                                      royalty owners filed suit against Phillips Petroleum
Weight Smart. Plaintiff claims that the Defendants
                                                      Company ("Phillips") seeking interest payments on
were unjustly enriched by the sale of Weight Smart.
                                                      their suspended royalties which Phillips had
Plaintiff and the putative class members purchased
                                                      possessed pending Commission approval of gas
the product which did not possess the qualities
                                                      price increases. The suit was filed in Kansas. The
represented to the public and they are entitled to Kansas court certified a class of 33,000 royalty
restitution, damages, and a permanent injunction owners who had royalties suspended by Phillips.
enjoining Defendants from further wrongful Less than 1,000 class members resided in Kansas
conduct with regard to Weight Smart. (Third and less than 1% of the gas [*5] leases involved
Amended Complaint).                                   were on Kansas land. However, the trial court
Plaintiff seeks certification of the following multi- applied Kansas law to the claims of all class
state class:                                          members.

    All persons who purchased One-A-Day Weight The United States Supreme Court found that the
    Smart from December 1, 2003 up through Kansas court erred by failing to conduct a conflict
    January 4, 2007, the date Defendants entered of law analysis. The Court stated:
    the Consent Judgment with the FTC to stop all     Kansas must have a 'significant contact or
    marketing claiming the pill enhanced              significant aggregation of contacts' to the
    metabolism and aided weight loss. Excluded        claims asserted by each member of the plaintiff
    from this Class are all officers, directors, and  class, contacts 'creating state interests,' in order
    employees of the Defendants and its               to ensure that the choice of Kansas law is not
    subsidiaries, along with any currently sitting    arbitrary or unfair. Given Kansas' lack of
    Federal Judge or their staff in this case or      'interest' in claims unrelated to that State, and
    potential appellate justice and any person        the substantive conflict with jurisdictions such
    within the third degree of consanguinity to the   as Texas, we conclude that application of
    judge or justice. Further [*4] excluded is any    Kansas law to every claim in this case is
    person claiming personal injury or damage         sufficiently arbitrary and unfair as to exceed
    beyond that specifically claimed in this motion.  constitutional limits.
In the alternative, Plaintiff seeks to certify a class
                                                         Shutts, 472 U.S. at 821-22 (quoting Allstate Ins.
action for the State of Arkansas for the injuries
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Co. v. Hague, 449 U.S. 302, 312-13, 101 S. Ct. 633,      were to apply Alabama law to some of the class
66 L. Ed. 2d 521 (1981)).                                claims and the Defendant appealed the Court's
                                                         decision on the basis that the Court misconstrued
The facts of Wortman are similar and intertwined.        Alabama law. Pursuant to Wortman, the Defendant
In Wortman, gas royalty owners filed suit in Kansas      would have to prove that the Court misapplied
seeking interest on suspended royalty payments.          Alabama law so completely that the Court applied a
The Kansas court applied Kansas law to all claims        "contradictory" law, that Alabama's law was clearly
even those related to leases in other states brought     established, and that the parties had brought this to
by citizens of other states. The United States           the Court's attention. The Wortman analysis does
Supreme      Court     vacated     and     remanded      not apply to the instant case at this point in the
 [*6] Wortman for reconsideration in light of the        litigation.
Court's ruling in Shutts. On remand, the trial court
held that the other states' substantive legal rules      At this stage, the Court must determine under
were consistent with those of Kansas. Thus, while        Shutts whether Arkansas has a 'significant contact
applying the laws of the other states, the Court         or significant aggregation of contacts' to the claims
came to the same conclusion as it did under Kansas       asserted by each member of the Plaintiff's
law. The Kansas Supreme Court affirmed.                  purported class, contacts 'creating state interest,' in
                                                         order to ensure that the choice of Arkansas law is
On appeal to the U.S. Supreme Court, Sun Oil             not arbitrary or unfair. The Court finds that
argued that the Kansas Supreme Court had                 Arkansas does not [*8] have the requisite contacts
"unconstitutionally distorted" Texas, Oklahoma,          with out-of-state members' claims.
and Louisiana law and applied this distorted law in
Wortman. Wortman, 486 U.S. at 730. In other              The next step, therefore, is to determine whether
words, Sun Oil argued that when the Kansas court         Arkansas's law conflicts in any material way with
went back and applied the substantive laws of those      any other law which could apply. There is, of
states, the court applied the laws incorrectly. The      course, no constitutional injury to out-of-state
Supreme Court disagreed and explained:                   plaintiffs in applying Arkansas law unless Arkansas
                                                         law is in conflict with the laws of the other states.
    To constitute a violation of the Full Faith and      Shutts, 472 U.S. at 816 (1985).
    Credit Clause or the Due Process Clause, it is
    not enough that a state court misconstrue the        Again, relying on Shutts and Wortman, Plaintiff
    law of another State. Rather, our cases make         submits that there is no conflict between the State
    plain that the misconstruction must contradict       of Arkansas's law of unjust enrichment and the
    law of the other State that is clearly established   laws of the other 50 states, including the District of
    and that has been brought to the court's             Columbia. Plaintiff contends that there are a few
    attention.                                           nuanced variations in unjust enrichment law in the
                                                         50 states, but the policy and purpose are uniform.
Plaintiff argues that this language from Wortman         In support of her argument, Plaintiff has submitted
proves (1) that it is the Defendant's burden to show     a nationwide review of the law of unjust
a conflict [*7] of law exists and (2) it is not a        enrichment (Ex. G to the Motion for Class Cert.)
conflict unless the law of the other State is "clearly   and proposed jury instructions (Docket # 113).
established and has been brought to the court's
attention." The Court disagrees. The Wortman             In response, the Defendants have also submitted a
analysis applies only when considering whether the       nationwide review of the law of unjust enrichment.
court applied another State's law incorrectly. For       (Docket # 120) The Defendant contends that there
example, this analysis would apply if this Court         are actual conflicts in this area of the law and,
                                                         therefore, the Court should reject the application of
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unjust enrichment [*9] laws to a nationwide class        enrichment.
as the Court did in Shutts.                              A. Conflicts
Plaintiff claims that, in general, the elements of       1. Wrongful Conduct
unjust enrichment are as follows:
                                                         Courts in Arkansas do not require a tortious, illegal
1. Defendant must have received something of             or fraudulent act by the defendant to prove unjust
value;                                                   enrichment. Frigillana v. Frigillana, 266 Ark. 296,
2. Defendant, in good conscience, is not entitled to 584 S.W.2d 30 (Ark. 1979). "Unjust enrichment
the benefit.                                             does not require a wrongful act by the party
                                                         enriched. Even an innocent defendant is subject to
(Pl's Proposed Jury Inst. at p. 3). Plaintiff an unjust enrichment claim brought by a more
acknowledges, however, that there are three deserving party." Howard W. Brill, Law of
different approaches taken by the states to unjust Damages, § 31:2 (5th ed. 2004)(citing Malone v.
enrichment claims:                                       Hines, 36 Ark. App. 254, 822 S.W.2d 394 (Ark.
     1) Restitution: those that follow a restitution App. 1992); Orsini v. Commercial National Bank, 6
     approach where a plaintiff must show that a Ark. App. 166, 639 S.W.2d 516 (Ark. App. 1982)).
     defendant accepted and used a benefit In other words, Arkansas plaintiffs do not have to
     bestowed upon the defendant by the plaintiff, prove any misconduct on the part [*11] of the
     which benefit would be inequitable to retain;       defendant in an unjust enrichment action.
     2) Restitution Plus: those that follow the
     restitution approach but also require that there In contrast, Montana courts require a showing of
     be no adequate remedy at law;                       misconduct or fault on the part of the defendant to
     3) Wrongful Acts: those that require a plaintiff recover under an unjust enrichment theory. "Unjust
     to show that the defendant benefitted from the enrichment is an equitable doctrine wherein the
     plaintiff through fraud, duress, misconduct, plaintiff must show some element of misconduct or
     wrongful acts or taking undue advantage.            fault on the part of defendant, or that the defendant
                                                         somehow took advantage of the plaintiff."
See Pl.'s Ex. G. According to Plaintiff, the Randolph V. Peterson, Inc. v. J.R. Simplot Co., 239
Restitution approach is followed by 37 states, the Mont. 1, 778 P.2d 879, 883 (Mont. 1989)(citing
Restitution Plus approach is followed by seven Brown v. Thornton, 150 Mont. 150, 432 P.2d 386,
states, and the Wrongful Acts approach is followed 390 (Mont. 1967)). See also Hayes Mechanical,
by six states.                                           Inc. v. First Industrial, L.P., 351 Ill App. 3d 1, 12,
                                                         812 N.E.2d 419, 285 Ill. Dec. 599 (Ill App. 1st Dist.
After an extensive review of the law, the Court
                                                         2004)("[I]njustice involves some form of improper
finds that [*10] the states' different approaches to,
                                                         conduct by the party to be charged."); National
or elements of, unjust enrichment are significant.
                                                         Employment Service Corp. v. Olsten Staffing
Some of the most troublesome differences are those
                                                         Service, Inc., 145 N.H. 158, 761 A.2d 401, 406-07
recognized by the Plaintiff, i.e., the disparity in
                                                         (N.H. 2000)("Because . . . Olsten did not act
proof required to prove an enrichment was "unjust
                                                         wrongfully . . ., the facts do not support a finding of
or wrongful" and the requirement by some states
                                                         unjust enrichment.")
that there be no adequate remedy at law. However,
these are not the only conflicts that exist in this area Alabama courts have an even higher standard for
of the law. There are other differences that the defendant's conduct. Alabama courts require
Plaintiff has not included in this list including, the unconscionable conduct on the part of the
direct and indirect benefit elements of unjust defendant in order to make a claim for unjust
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enrichment. The Alabama Supreme Court                  other undue advantage taken of the claiming party's
concluded that the retention of a benefit is unjust    situation, where the advantage is contrary to laws
 [*12] if "(1) the donor of the benefit . . . acted    made for the protection of persons under those
under a mistake of fact or in misreliance on a right   circumstances."). The misconduct element of unjust
or duty, or (2) the recipient of the benefit . . .     enrichment in these states is in direct conflict with
engaged in some unconscionable conduct, such as        the unjust enrichment law of Arkansas.
fraud, coercion, or abuse of a confidential
relationship. In the absence of mistake or             2. Direct vs. Indirect Purchaser Requirements
misreliance by the donor or wrongful conduct by
                                                       In Arkansas, although the enrichment to the
the recipient, the recipient may have been enriched,
                                                       defendant must be at the expense of the plaintiff,
but he is not deemed to have been unjustly
                                                        [*14] the enrichment need not come directly from
enriched." Mantiply v. Mantiply, 951 So.2d 638,
                                                       the plaintiff. The enrichment may come from a
654-55 (Ala. 2006)(quoting Welch v. Montgomery
                                                       third party. Smith v. Whitener, 42 Ark. App. 225,
Eye Physicians, P.C., 891 So.2d 837, 843 (Ala.
                                                       856 S.W.2d 328, 330 (Ark. App. 1993)(citing Patton
2004))(emphasis in original)). See also Burlington
                                                       v. Brown-Moore Lumber Co., 173 Ark. 128, 292
Northern R. Co. v. Southwestern Elec. Power Co.,
                                                       S.W. 383 (1927)). In North Dakota, however, the
925 S.W.2d 92, 97 (Tex. App. 1996)("Unjust
                                                       doctrine of unjust enrichment appears to apply only
enrichment is typically found under circumstances
                                                       "if another 'has, without justification, obtained a
in which one person has obtained a benefit from
                                                       benefit at the direct expense of the [plaintiff].'"
another by fraud, duress, or the taking of an undue
                                                       Apache Corp. v. MDU Resources Group, Inc., 1999
advantage."); ServiceMaster of St. Cloud v. GAB
                                                       ND 247, 603 N.W.2d 891, 895 (N.D. 1999)(quoting
Business Services, Inc., 544 N.W.2d 302, 306
                                                       Midland Diesel Serv. & Engine Co. v. Sivertson,
(Minn. 1996)("[I]t must be shown that a party was
                                                       307 N.W. 2d 555, 557 (N.D. 1981)). North Carolina
unjustly enriched in the sense that the term
                                                       courts also require a "direct benefit" to the
'unjustly' could mean illegally or unlawfully.");
                                                       defendant from the plaintiff as an element of unjust
Haggard Drilling, Inc. v. Greene, 195 Neb. 136,
                                                       enrichment. Effler v. Pyles, 94 N.C. App. 349, 380
236      N.W.2d       841     (Neb.     1975)(fraud,
                                                       S.E.2d 149 (N.C. App. 1989). See Sperry v.
misrepresentation, or other wrongful [*13] conduct
                                                       Crompton Corp., 26 A.D.3d 488, 489, 810 N.Y.S.2d
required on the part of the defendant to prove
                                                       498 (N.Y.A.D. 2 Dept. 2006)("Because the plaintiff
unjust enrichment); DCB Const. Co., Inc. v. Central
                                                       was not in privity with the defendants, the plaintiff
City Development Co., 965 P.2d 115, 117 (Colo.
                                                       cannot maintain an action against them to recover
1998)("[F]or the enrichment to the landlord to be
                                                       damages for unjust enrichment."); Powers v.
unjust and therefore actionable, the contractor must
                                                       Lycoming Engines, 245 F.R.D. 226, 232 (E.D. Pa.
show some improper, deceitful, or misleading
                                                       2007)(noting that Florida, Idaho and Ohio preclude
conduct by the landlord."); Barker v. Dicicco, 2002
                                                       indirect purchasers from asserting claims for unjust
Mich. App. LEXIS 2252, 2002 WL 31956978,
                                                       enrichment).
1(Mich. App. 2002)("proof of coercion or mistake
to recover on unjust enrichment grounds.");            The direct/indirect purchaser element is likely
Qualichem v. Xelera, Inc., 62 Va. Cir. 179, 2003        [*15] to be significant in this case since few, if
WL 23162331, 3 (Va. Cir.Ct. 2003)("claims of           any, of the plaintiffs purchased Weight Smart
unjust enrichment based on quasi-contract have         directly from Bayer. In other words, plaintiffs from
been limited by the appellate courts of the            Arkansas would not be required to prove that Bayer
Commonwealth to those arising from: money paid         obtained a "direct benefit" from a plaintiff, while
by mistake; failed consideration; money got            plaintiffs from other jurisdictions would be required
through imposition; extortion; oppression; or any      to make such a showing.
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3. Adequate Remedy at Law                             Clay v. American Tobacco Co., 188 F.R.D. 483,
                                                      501 (S.D.Ill.1999) (internal citation omitted).
In addition, some states do not allow an unjust "[U]njust enrichment is a tricky type of claim that
enrichment claim to survive if there is an adequate can have varying interpretations even by courts
remedy at law. See Trustmark Ins. Co. v. Bank One, within the same state, let alone among the fifty
Arizone, N.A., 202 Ariz. 535, 48 P.3d 485 (Ariz. states." In re Sears, Roebuck & Co., 2006 U.S. Dist.
App. Div. 1 2002); Ramona Manor Convalescent LEXIS 92169, 2006 WL 3754823 at *1 n. 3
Hosp. v. Care Enters., 177 Cal. App. 3d 1120, 225 (N.D.Ill. 2006). For these [*17] reasons, the Court
Cal. Rptr. 120 (Cal. App.4 Dist. 1986); Porter v. also finds there are material conflicts between the
Hu, 116 Haw. 42, 169 P.3d 994 (Haw. App. 2007); unjust enrichment law of Arkansas and the other
Jackson Nat'l Life Ins. Co. v. Kennedy, 741 A.2d states.
377 (Del. Ch. 1999); Mannos v. Moss, 143 Idaho
                                                      III. Rule 23 Class Certification Standard
927, 155 P.3d 1166 (Idaho 2007); Guinn v. Hoskins
Chevrolet, 361 Ill. App. 3d 575, 836 N.E.2d 681, To be certified as a class, a plaintiff has the burden
296 Ill. Dec. 930 (Ill. App. 2005); Kilpatrick v. of showing that all of the requirements of Rule
Kilpatrick, 660 So.2d 182 (La. App. 1995); 23(a) are met. Coleman v. Watt, 40 F.3d 255, 258
Santagate v. Tower, 64 Mass. App. Ct. 324, 833 (8th Cir. 1994). Rule 23(a) provides:
N.E. 2d 171 (Mass. App. 2005); Servicemaster of
St. Cloud v. GAB Business Servs., 544 N.W.2d 302,          One or more members of a class may sue or be
305 (Minn. 1996); Tolbert v. Southgate Timber Co.,         sued as representative parties on behalf of all
943 So.2d 90 (Miss. App. 2006); Bennett v. Crane,          members only if : (1) the class is so numerous
220 Mo. App. 607, 289 S.W. 26 (Mo. App. 1926);             that joinder of all members is impractical;" (2)
Featherstonhaugh v. Roemer, 279 A.D.2d 783, 719            there are questions of law or fact common to
N.Y.S.2d 612 (2001); [*16] Schroeder v. Buchholz,          the class; (3) the claims or defenses of the
2001 ND 36, 622 N.W.2d 202 (N.D. 2001); Harvell            representative parties are typical of the claims
v. Goodyear Tire and Rubber Co., 2006 OK 24,               or defenses of the class; and (4) the
164 P.3d 1028 (Okla. 2006); Am. Towers Owners              representative parties will fairly and adequately
Ass'n. Inc. v. CCI Mech., 930 P.2d 1182 (Utah              protect the interests of the class.
1996); Seattle Prof'l Eng'g Employees Ass'n v.
Boeing Co., 139 Wn.2d 824, 991 P.2d 1126 (Wash. Fed. R.Civ. P. 23(a)). These requirement are
2000). Arkansas does not have such a requirement      commonly referred to as: (1) numerosity, (2)
                                                      commonality, (3) typicality, and (4) adequacy of
     [V]ariances exist in state common laws of representation.
     unjust enrichment. The actual definition of
     'unjust enrichment' varies from state to state. In addition to the requirements of Rule 23(a),
     Some states do not specify the misconduct Plaintiff must also show that her claims fall within
     necessary to proceed, while others require that one of the categories of Rule 23(b). Plaintiff seeks
     the misconduct include dishonesty or fraud. to certify her class under Rule 23(b)(3), the so-
     Other states only allow a claim of unjust called "common question" or "damages"
     enrichment when no adequate legal remedy [*18] class action. To certify a class action under
     exists. Many states, but not all, permit an Rule 23(b)(3), the Court must find that: 1) common
     equitable defense of unclean hands. Those questions predominate over any questions affecting
     states that permit a defense of unclean hands only individual members; and 2) class resolution is
     vary significantly in the requirements necessary superior to other available methods for the fair and
     to establish the defense.                        efficient adjudication of the controversy. Blades v.
                                                      Monsanto Co., 400 F.3d 562, 568-569 (8th Cir.
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2005)(citing Fed. R.Civ.P. 23(b)(3); Amchem            difficulties in the management of a [*20] class
Products, Inc. v. Windsor, 521 U.S. 591, 615, 117      action. Fed.R.Civ.R. 23(b)(3). Although Plaintiff
S. Ct. 2231, 138 L. Ed. 2d 689(1997)). Although a      insists that the management of this class action is
rigorous Rule 23 analysis must be conducted before     possible, the difficulties in protecting the "integrity
certifying a class, district courts have broad         of the law of each state" overwhelms any judicial
discretion in determining a motion for class           economy which might be attained. In re Prempro,
certification. Spence v. Glock, Ges.m.b.H, 227 F.3d    230 F.R.D. at 563.
308, 310 (5th Cir. 2000). The determination that
Arkansas law cannot apply to the claims of the         After considering the variations in unjust
entire class "pervades every element of FRCP 23."      enrichment laws, the Court finds that Plaintiff has
In re Prempro, 230 F.R.D. 555, 561 (E.D. Ark.          failed to satisfy the superiority and predominance
2005).                                                 requirements of Rule 23(b)(3). Compare Clay v.
                                                       American Tobacco Co., 188 F.R.D. 483,
Because the Court finds it determinative, a            501("claim of unjust enrichment is packed with
discussion of the requirements of Rule 23(b)(3) is     individual issues and would be unmanageable"); In
all that is necessary. The focus of Rule 23(b)(3) is   re American Medical Systems, Inc., 75 F.3d 1069,
that common issues predominate over individual         1085 (6th Cir. 1996)("If more than a few of the
issues and that a class action is superior to other    laws of the fifty states differ, the district judge
available methods for the fair and efficient           would face an impossible task of instructing a jury
adjudication of the controversy. "To satisfy the       on the relevant law, yet another reason why class
'predominance' [*19] standard, plaintiffs must         certification would not be the appropriate course of
show that [their claims] can be proven on a            action."); In re Conagra Peanut Butter Products
systematic, class-wide basis." In re Prempro, 230      Liability, 251 F.R.D. 689 (N.D. Ga. 2008)("This
F.R.D. at 566 (quoting Blades v. Monsanto Co.,         morass is useful to establish not only the lack of
400 F.3d 562, 569 (8th Cir. 2005). This                uniformity of unjust enrichment claims across the
requirement "tests whether the proposed classes are    country, but also the inferiority of class-wide
sufficiently cohesive to warrant adjudication by       resolution due to discerning the many differing
representation." Amchem, 521 U.S. at 623-24. As         [*21] legal standards."); Siegel v. Shell Oil Co.,
explained in the discussion of conflicts of law,       256 F.R.D. 580, 2008 U.S. Dist. LEXIS 72314,
plaintiffs will be required to present different       2008 WL 4378399, 6 (N.D. Ill. 2008). Accordingly,
evidence to prove a prima facie case of unjust         the Court, in its discretion, denies Plaintiffs' Motion
enrichment depending on their state of citizenship.    for Class Certification of a nationwide class.
Evidence regarding the Defendant's conduct, the
                                                       IV. Alternative Class Action
direct or indirect benefit to the Defendant, and
adequate remedies at law which may be available to     In the alternative, Plaintiff states that if the
the plaintiff cannot be presented on a systematic,     nationwide class is not certified by the Court "a
class-wide basis.                                      class action is appropriate for all states where
                                                       Defendants failed to establish any conflict between
In determining whether a class action is the           the laws of those states and the State of Arkansas
superior method for adjudicating the claims before     law of unjust enrichment is applicable." (Third
it, the Court must look at four factors: the class     Amended Complaint at p. 11). Plaintiff further
members' interest in individually controlling their    contends that "a class action for the State of
separate actions; the extent and nature of existing    Arkansas is appropriate for the injuries suffered by
litigation by class members concerning the same        Arkansas citizens in the purchase of One-A-Day
claims; the desirability of concentrating the          WeightSmart." Id. Because the parties have focused
litigation in the particular forum; and the likely
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their energies on the motion for nationwide class
certification, there has been little evidence or
argument regarding an alternative class. The Court
finds that the Plaintiff has failed to adequately brief
the issues involved in certification of an alternative
class. As an initial matter, the record does not
include class definitions for any alternative class or
any information regarding numerosity. Therefore,
the motion for class [*22] certification of an
alternative class is denied without prejudice to
Plaintiff's right to re-file the motion. If Plaintiff
intends to pursue an alternative class, the motion to
certify must be filed with the Court within thirty
(30) days.
V. Conclusion

In conclusion, Plaintiff's Motion for Class
Certification (Docket # 81 and # 86) is DENIED as
to the nationwide class. The motion for class
certification of an alternative class is denied
without prejudice to Plaintiff's right to re-file the
motion. If Plaintiff intends to pursue an alternative
class, the motion to certify must be filed with the
Court within thirty (30) days.

IT IS SO ORDERED this 12th day of February
2009.

/s/ James M. Moody

James M. Moody

United States District Judge


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                                 Total Office Sols., Inc. v. Grimstad
                       Court of Appeals of Ohio, Seventh Appellate District, Columbiana County
                                               June 27, 2019, Decided
                                               Case No. 18 CO 0014

Reporter
2019-Ohio-2638 *; 2019 Ohio App. LEXIS 2797 **; 2019 WL 2721216


TOTAL OFFICE SOLUTIONS, INC., Plaintiff-Appellee/
Cross-Appellant v. BOBBIE J. GRIMSTAD, TRUSTEE
ET AL., Defendants and Cross-Claimants-Appellants/
                                                             Counsel: Atty. Rick Brunner, and Atty. Patrick Quinn,
Cross Appellees, v. BUDGER TOOL & DIE INC. ET AL.,
                                                             Brunner Quin, Columbus, Ohio, for Plaintiff-
Defendants and Counter Claimants.
                                                             Appellee/Cross Appellant.


                                                             Atty. Michael McGee, Harrington, Hoppe & Mitchell,
Prior History: [**1] Civil Appeal from the Court of          Ltd., Warren, Ohio, for Defendants and Cross-
Common Pleas of Columbiana County, Ohio. Case No.            Claimants-Appellants/Cross-Appellees.
2017 CV 14.



                                                             Judges: BEFORE: David A. D'Apolito, Gene Donofrio,
                                                             Carol Ann Robb, Judges. Donofrio, J., concurs. Robb,
Disposition: Affirmed.                                       J., concurs.




                                                             Opinion by: David A. D'Apolito
Case Summary

Overview                                                     Opinion
HOLDINGS: [1]-A trustee who entered into a land
installment contract with an office supply company's
customers was not unjustly enriched by her retention of
office furniture after the customers defaulted on the land   OPINION AND JUDGMENT ENTRY
installment contract because both parties were made
whole in that the office supply company received a           D'APOLITO, J.
judgment against the customers and the trustee
                                                              [*P1] Appellant/Cross-Appellee Michael Grimstad,
received a judgment against the customers that would
                                                             Trustee, Bobbie Jean Grimstad Trust, substituted on
be reduced by the value of the office furniture.
                                                             January 5, 2018 for Bobbie Jean Grimstad, Trustee
                                                             UAD 10/8/2010 (collectively "Trustee"), appeals the
                                                             judgment entry of the Columbiana Court of Common
                                                             Pleas     dismissing   Trustee's   cross-claim     for
                                                             indemnification against Budger Tool & Die, LLC
                                                             ("Budger") and its President Ralph K. McClure
Outcome
                                                             ("McClure") based on the jurisdictional priority rule.
Judgment affirmed.
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Appellee/Cross-Appellant Total Office Solutions Inc.            McClure, despite the fact that she was aware that the
("Total Office") appeals the entry of summary judgment          office furniture was Total Office's property. Total Office
in favor of Trustee on Total Office's unjust enrichment         relied on an electronic mail chain between the parties
claim. Because we find that Trustee was not unjustly            and their counsel from August 18, 2016 to September
enriched, and, as a consequence, [**2] Trustee's                12, 2016 to establish that Budger and McClure's
assignment of error regarding indemnification is moot,          attorney, Len [**4] Stauffenger, attempted to arrange a
we affirm the judgment of the trial court, albeit on other      meeting with the parties at the Rag Tool Building to
grounds.                                                        allow Total Office to retrieve the office furniture.

                                                                 [*P7] On September 12, 2016, Trustee filed a
FACTS AND PROCEDURAL HISTORY                                    complaint against Budger and McClure in the Mahoning
                                                                County Court of Common Pleas, Case No. 2016 CV
 [*P2] On April 17, 2015, McClure, personally and on            02447, for breach of the land installment contract,
behalf of Budger, entered into a land installment               forfeiture, fraud, and to quiet title. Total Office was not a
contract with Trustee for the property located at 12750         party in the Mahoning County action.
Salem-Warren Road in Salem, Ohio ("Rag Tool
Building"). Budger made only one payment under the               [*P8] On December 14, 2016, counsel for Total Office
land installment contract. Section 10 of the land               sent correspondence to Trustee asserting that Total
installment contract reads, in pertinent part, "In the          Office owned the office furniture and requesting an
event of forfeiture, [Trustee] shall retain all payments        opportunity to retrieve it from the Rag Tool Building. The
made under the agreement and possess all                        following day, Trustee responded that she would not
improvements placed on the Premises as restitution."            permit Total Office to retrieve the office furniture unless
                                                                Total Office provided a U.C.C. filing or a court order
 [*P3] Invoices from Total Office, dated August 6, 2015         authorizing seizure of the office furniture.
and signed by McClure, list office furniture and other
materials with a value of $26,244.66 sold by Total Office        [*P9] On January 10, 2017, four months after the
to "Budger Machine" for delivery to the Rag Tool                Mahoning County action was initiated, Total Office filed
Building. The furniture and other materials include             the complaint in this case against Trustee, Budger and
storage cabinets, file cabinets, laminate desks, office         McClure, alleging unjust enrichment, fraud, and joint
chairs, guest chairs, paint, outlet plates, ceiling tiles,      and several liability. On February 24, 2017, Trustee filed
base cove, chair rail and air diffusers. All of the furniture   cross-claims against Budger and McClure alleging
was free-standing.                                              breach of contract and fraud, [**5]             and for
                                                                indemnification. Budger and McClure filed an answer to
 [*P4] According to Michael Stanley, President and              the cross-claims on March 9, 2017. On August 15,
Shareholder of Total Office, a representative [**3] of          2017, Budger and McClure filed an "amended answer
Budger signed a proposal with a purchase order                  and counterclaim," which was actually an amended
number, however the proposal was not produced in                answer to Trustee's cross-claims, and cross-claims
discovery. Stanley further averred that McClure agreed          against Trustee. Budger and McClure asserted cross-
that Total Office would retain ownership of the office          claims for conversion, indemnification, and replevin
furniture until the invoices were paid in full. In the event    pursuant to R.C. 2737.01.
that Budger could not fully compensate Total Office,
McClure agreed that Total Office would be permitted to           [*P10] On November 30, 2017, Trustee filed a motion
retrieve the office furniture from the Rag Tool Building.       for summary judgment on the fraud, unjust enrichment,
                                                                and joint and several liability claims asserted by Total
 [*P5] Budger abandoned the Rag Tool Building in                Office. With respect to the unjust enrichment claim,
2016. Trustee subsequently took possession of the               Trustee argued that Total Office had not produced any
premises including the office furniture. It is undisputed       evidence to establish its ownership of the office
that McClure agreed to permit Total Office to retrieve          furniture. Trustee further argued that it was not unjustly
the office furniture, and that Trustee did not allow Total      enriched because section 10 of the land installment
Office to collect the furniture from the Rag Tool Building.     contract "provided for self-help remedial action taken by
                                                                Trustee to partially recover unpaid balance of the
 [*P6] Total Office contends that Trustee used the office
                                                                purchase price [sic]." (11/30/17 Trustee MSJ, p. 6).
furniture as a pawn in her effort to collect the balance
due on the land installment contract from Budger and            [*P11] Total Office filed a cross-motion for summary
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judgment on its claims against Trustee, as well as a              Decision and Judgment Entry constitutes a final
motion for summary judgment against Budger and                    judgment on all claims of all parties for the
McClure on December 26, 2017. Budger and McClure                  purposes of Civ.R. 54(A). Even if less than all
filed two motions for summary judgment on                         claims of all parties are adjudicated hereby, this
December [**6] 29, 2017. In the first motion for                  Court finds there [**8] is no just reason for delay
summary judgment, Budger and McClure argued that                  pursuant to Civ.R. 54(B).
Trustee's cross-claims for breach of contract, fraud, and    (5/2/2017 J.E., p. 14).
indemnification should be dismissed pursuant to the
jurisdictional priority rule. In the second summary           [*P16] A bench trial was held in the Mahoning County
judgment motion, McClure argued that he was not              action on March 26, 2018. On May 17, 2018, two weeks
personally liable for any of the claims asserted by Total    after the issuance of the judgment entry at issue in this
Office against Budger.                                       appeal, judgment was entered in the Mahoning County
                                                             action in favor of Trustee and against Budger and
 [*P12] On January 25, 2018, Trustee filed her motion        McClure in the amount of $165,545.14, plus interest at
for leave to file her response in opposition to Budger       the statutory rate from September 12, 2016. (2016 CV
and McClure's motion for summary judgment. Trustee           02447 - 5/17/18 J.E.) The final entry on the docket in the
conceded that Mahoning County had jurisdiction over          Mahoning County action is a judgment entry to appraise
her cross-claims for breach of contract and fraud, but       and provide credit toward the judgment for "equipment
argued that her cross-claim for indemnification was          seized by [Trustee] in execution of judgment," (2016 CV
properly before the Columbiana County trial court.           02447 - 6/22/18 J.E.), which appears to include the
                                                             office furniture at issue in this appeal.
 [*P13] In a judgment entry dated May 2, 2018, the
Columbiana County trial court entered summary
judgment in favor of Total Office and against Budger         STANDARD OF REVIEW
and McClure jointly and severally in the amount of
$35,428.78, plus interest at the statutory rate from          [*P17] This appeal is from a trial court judgment
January 10, 2017. The $35,428.78 amount was taken            resolving a motion for summary judgment. An appellate
from Stanley's deposition testimony. Stanley corrected       court conducts a de novo review of a trial court's
his deposition testimony by way of his December 20,          decision to grant summary judgment, using the same
2017 affidavit, in which he attested that the actual         standards as the trial court set forth in Civ.R. 56(C).
amount owed [**7] is $26,244.68.                             Grafton v. Ohio Edison Co., 77 Ohio St.3d 102, 105,
                                                             1996- Ohio 336, 671 N.E.2d 241 (1996). Before
 [*P14] The trial court entered summary judgment in          summary judgment can be granted, the trial court must
favor of Trustee on Total Office's fraud and unjust          determine that: (1) no genuine issue as to any material
enrichment claims. With respect to the unjust                fact remains to be litigated, (2) the moving party is
enrichment claim, the trial court found that Total Office    entitled to judgment [**9] as a matter of law, (3) it
did not confer a benefit on Trustee, and that Trustee's      appears from the evidence that reasonable minds can
contractual claim was superior to Total Office's equitable   come to but one conclusion, and viewing the evidence
claim. The trial court further opined that the damages       most favorably in favor of the party against whom the
suffered by Total Office were due exclusively to the         motion for summary judgment is made, the conclusion is
actions of Budger and McClure. Finally, the trial court      adverse to that party. Temple v. Wean United, Inc., 50
summarily concluded Trustee's indemnification claim          Ohio St.2d 317, 327, 364 N.E.2d 267 (1977); Hoyt, Inc.
against Budger and McClure was barred by the                 v. Gordon & Assocs., Inc., 104 Ohio App.3d 598, 603,
jurisdictional priority rule.                                662 N.E.2d 1088 (8th Dist.1995). Whether a fact is
                                                             "material" depends on the substantive law of the claim
 [*P15] Neither Trustee nor Budger and McClure
                                                             being litigated.
moved for summary judgment on Budger and McClure's
cross-claims against Trustee for conversion, replevin,
                                                              [*P18]   "[T]he moving party bears the initial
and indemnification. Based on the record, Budger and
                                                             responsibility of informing the trial court of the basis for
McClure did not voluntarily dismiss their claims, which
                                                             the motion, and identifying those portions of the record
remain pending before the trial court. The judgment
                                                             which demonstrate the absence of a genuine issue of
entry on appeal concludes:
                                                             fact on a material element of the nonmoving party's
    It is the belief and intent of this Court that this      claim." (Emphasis deleted.) Dresher v. Burt, 75 Ohio
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St.3d 280, 296, 1996- Ohio 107, 662 N.E.2d 264 (1996).          plaintiff for any loss or damage suffered by him
If the moving party carries its burden, the nonmoving           but [**11] to compensate him for the benefit he has
party has a reciprocal burden of setting forth specific         conferred on the defendant." Johnson v. Microsoft
facts showing that there is a genuine issue for trial. Id. at   Corp., 106 Ohio St.3d 278, 2005-Ohio-4985, 834 N.E.2d
293. In other words, when presented with a properly             791, ¶ 21 (2005), citing Hughes v. Oberholtzer 162 Ohio
supported motion for summary judgment, the                      St. 330, 335, 123 N.E.2d 393 (1954).
nonmoving party must produce some evidence to
suggest that a reasonable factfinder could rule in that          [*P23] The elements of an unjust enrichment claim
party's favor. Doe v. Skaggs, 7th Dist. Belmont No. 18          are: (1) a benefit conferred by plaintiff upon defendant;
BE 0005, 2018-Ohio-5402, ¶ 11.                                  (2) knowledge by defendant of the benefit; and (3)
                                                                retention of the benefit by defendant in circumstances
 [*P19] The evidentiary materials to support a motion           where retention without payment to plaintiff is unjust. L
for summary judgment are listed in Civ.R. 56(C) and             & H Leasing Co. v. Dutton, 82 Ohio App.3d 528, 534,
include the pleadings, depositions, [**10] answers to           612 N.E.2d 787 (3rd Dist. 1992). Further, the benefit
interrogatories, written admissions, affidavits, transcripts    conferred by the plaintiff must be in response to a fraud,
of evidence, and written stipulations of fact that have         misrepresentation, or bad faith on behalf of the
been filed in the case. In resolving the motion, the court      defendant. McCamon-Hunt Ins. Agency, Inc. v. Medical
views the evidence in a light most favorable to the             Mut. of Ohio, 7th Dist. Mahoning No. 07 MA 94, 2008-
nonmoving party. Temple, 50 Ohio St.2d at 327.                  Ohio-5142, ¶ 27, citing Natl. City Bank v. Fleming, 2
                                                                Ohio App.3d 50, 58, 2 Ohio B. 57, 440 N.E.2d 590 (8th
                                                                Dist. 1981). This requirement ensures the existence of
ANALYSIS                                                        causation between the plaintiff's loss and the
                                                                defendant's benefit. Id., citing HLC Trucking v. Harris,
 [*P20] The assignments of error will be addressed out          7th Dist. Belmont No. 01 BA 37, 2003-Ohio-694, at ¶ 26.
of order for the purpose of clarity.
                                                                 [*P24] The trial court found that Total Office did not
                                                                confer nor intend to confer a benefit on Trustee, but,
APPELLEE/CROSS-APPELLANT'S ASSIGNMENT OF                        instead, on Budger and McClure. The trial court opined:
ERROR                                                                Any benefit to [Trustee] came indirectly and
                                                                     resulted only from the separate and independent
    THE TRIAL COURT ERRED WHEN IT GRANTED                            contractual right of [Trustee] to regain and take
    SUMMARY     JUDGMENT     TO   APPELLANT                          control of the Premises.
    BOBBIE JEAN GRIMSTAD, TRUSTEE UAD
    10/8/2010 AND DISMISSED TOTAL OFFICE                            There is no evidence demonstrating a causal
    SOLUTIONS INC.'S CLAIMS AGAINST IT.                             connection between the actions of [Trustee] in
                                                                    retaking possession of [**12] the Premises and the
 [*P21] In Ohio, an unjust enrichment claim is quasi-               failure of [Budger and McClure] to pay Total Office.
contractual in nature. It is an obligation which arises by          Their failure to pay is not somehow contingent upon
law to address an instance where a party is the recipient           the return of the office furniture and equipment to
of benefits which that party is not equitably entitled to           Total Office.
retain. Hummel v. Hummel, 133 Ohio St. 520, 527, 14                 Finally, this Court is unable to find that the claimed
N.E.2d 923 (1938). Unjust enrichment arises where no                equity of Total Office is superior to that of [Trustee].
express contract exists, and any agreements are those               A plaintiff must show that, under the circumstances,
implied by the actions of the parties. Weiper v. W.A. Hill          he or she has superior equity so that it would be
& Assocs., 104 Ohio App. 3d 250, 262, 661 N.E.2d 796                unconscionable for the defendant to retain the
(1st Dist. 1995).                                                   benefits. As aforesaid, the predicament of Total
                                                                    Office is self-inflicted when compared to [Trustee].
 [*P22] The only remedy available to a party in raising             Total Office failed to preserve or protect any future
an unjust enrichment claim is restitution of the                    interest it might have in the office furniture or
reasonable value of the benefit unjustly conferred. St.             equipment once it was delivered to [Budger]. The
Vincent Med. Ctr. v. Sader, 100 Ohio App.3d 379, 384,               equitable claim of Total Office to possession of the
654 N.E.2d 144 (6th Dist. 1995). The purpose of an                  office furniture and equipment is outweighed by the
unjust enrichment claim "is not to compensate the                   legal and contractual right of [Trustee] to retake
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     possession of the Premises and improvements            For the reasons stated in the Opinion rendered herein,
     upon default by [Budger and McClure]. Any              the assignments of error are overruled and it is the final
     enrichment to [Trustee] is therefore not unjust.       judgment and order of this Court that the judgment of
(5/2/2018 J.E. p. 8-9.)                                     the Court of Common Pleas of Columbiana County,
                                                            Ohio, is affirmed. Costs to be taxed against the
 [*P25] Total Office argues that retention of the office    Appellee.
furniture by Trustee without payment to Total Office was
unjust. However, the involvement of Budger and              A certified copy of this opinion and judgment entry shall
McClure changes the analysis [**13] with respect to         constitute the mandate in this case pursuant to Rule 27
Total Office's equitable claim. Total Office received a     of the Rules of Appellate Procedure. It is ordered that a
judgment against Budger and McClure in the amount of        certified copy be sent by the clerk to the trial court to
$35,428.78. Trustee received a judgment in the amount       carry this judgment into execution.
of $165,545.14, plus interest at the statutory rate from
September 12, 2016, against Budger and McClure, that
will be reduced by the value of the office furniture. We    NOTICE TO COUNSEL
held in Filo v. Liberato, 7th Dist. Mahoning No. 11 MA
                                                            This document constitutes a final judgment entry.
18, 2013-Ohio-1014, 987 N.E.2d 707, that the existence
of a separate judgment does not alter a subcontractor's
ability to make an unjust enrichment claim, so long as
                                                              End of Document
he remains unpaid for any portion of the work performed
and the owner retains the benefit of that work. Id. at ¶
37. Because both parties were made whole, we find that
Trustee was not unjustly enriched by her retention of the
office furniture, and, as a consequence, Total Office's
cross-assignment of error has no merit.


APPELLANT/CROSS-APPELLEE'S ASSIGNMENT OF
ERROR

    THE TRIAL COURT ERRED WHEN IT
    DISMISSES    APPELLANT/CROSS-APPELLEE
    GRIMSTAD'S INDEMNIFICATION CROSS-CLAIM
    AGAINST CO-DEFENDANTS BUDGER AND
    MCCLURE.

 [*P26] Because we find that Trustee was not unjustly
enriched by Total Office, we further find that Trustee's
assignment of error based on his indemnification [**14]
claim against Budger and Grimstad is moot.


CONCLUSION

 [*P27] In summary, we find that Total Office's cross-
assignment of error is meritless, as Trustee was not
unjustly enriched by Total Office. We further find that
Trustee's assignment of error based on his
indemnification claim is moot. Accordingly, the judgment
of the trial court is affirmed albeit on other grounds.

Donofrio, J., concurs.

Robb, J., concurs.
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                             White v. State Farm Mut. Auto. Ins. Co.
                                        Nebraska Court of Appeals
                                         September 5, 1995, Filed
                                                No. A-94-405.

Reporter
1995 Neb. App. LEXIS 284 *; 1995 WL 521004


Earl J. White, on behalf of himself and all other
persons similarly situated, Appellant and Cross-
                                                       Opinion
Appellee, v. State Farm Mutual Automobile
Insurance Company, Appellee and Cross-
Appellant.
                                                       PER CURIAM.

                                                       INTRODUCTION

Notice: [*1] NOT  DESIGNATED                     FOR   Earl J. White brought this class action on behalf of
PERMANENT PUBLICATION.                                 himself and all residents of Nebraska who
                                                       purchased underinsured motorist automobile
                                                       insurance (UIM) from State Farm Mutual
                                                       Automobile Insurance Company (State Farm)
                                                       between January 1, 1987, and July 1, 1991. Plaintiff
Prior History: Appeal from the District Court for      alleged that the UIM coverage he had purchased
Dawson County: Donald E. Rowlands II, Judge.           from State Farm was illusory and sought to recover
                                                       the premiums paid for such coverage. The district
                                                       court for Dawson County entered summary
                                                       judgment for State Farm, from which plaintiff has
                                                       appealed and State Farm has filed a cross-appeal.
Disposition: AFFIRMED.
                                                       After oral argument in this case, a panel member
                                                       recused himself. However, the parties thereafter
                                                       entered into a written stipulation that the case be
                                                       decided [*4] by the remaining members of the
Counsel: Kent A. Schroeder, of Ross, Schroeder,        panel.
Brauer & Romatzke, for appellant.                      We find that the district court correctly determined
                                                       that the UIM coverage provided by State Farm to
Martin J. Troshynski, of Kelley, Scritsmier &          plaintiff was not illusory, and we affirm.
Byrne, P.C., for appellee.
                                                       FACTS

                                                       In 1986, the Nebraska Legislature passed the
                                                       Underinsured Motorist Insurance Coverage Act,
Judges: Sievers, Chief Judge, and Hannon and
                                                       which became law on January 1, 1987. See Neb.
Irwin, Judges. IRWIN, Judge, not participating in
                                                       Rev. Stat. §§ 60-571 through 60-582 (Reissue
the decision.
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1988). The act required UIM coverage in all                 Coverage W [UIM] limits of $ 25,000/$
automobile insurance policies issued for vehicles           50,000, there is little or no protection against
garaged in this state, unless the insured rejected          underinsured drivers, because your Coverage
UIM coverage in writing. The act required                   W limits must be higher [*6] than the amount
minimum split policy limits of $ 25,000 per person          received from the at-fault driver and all
and $ 50,000 per accident, or a combined single             Nebraska residents are required to carry at least
limit of $ 100,000. Section 60-578 provided:                $ 25,000/$ 50,000 liability limits.
     (1) The maximum liability of the insurer under The explanatory insert also contained a policy
     the underinsured motorist coverage shall be the endorsement for the UIM coverage, which stated in
     lesser of:                                         part:
     (a) The difference between the limit of                The most we pay will be the lesser of:
     underinsured motorist coverage and the amount
     paid to the insured by or for any person or            a. the difference between the limit of liability of
     organization which may be held legally liable          this coverage and the amount paid to the
     for the bodily injury, sickness, disease, or           insured by or for any person or organization
     death; or                                              who is or may be held legally liable for the
     (b) The amount of damages sustained but not            bodily injury; or
     recovered.                                             b. the amount of damages sustained but not
                                                            recovered.
     (2) In no event shall the liability of the insurer (Emphasis supplied.) (Emphasis omitted.)
     under such coverage be more than the
     limits [*5] of the underinsured motorist The UIM coverage mandated by the act and
     coverage provided.                                 provided by State Farm is known as difference-in-
                                                        limits coverage.
In response to the act, State Farm submitted its
proposed premium schedule regarding the UIM In his petition, plaintiff alleges that State Farm held
coverage to the Nebraska Department of Insurance. itself out as offering to its insureds UIM coverage
State Farm proposed a 6-month premium of $ 1 for that was "excess coverage," but in reality, State
UIM coverage at the $ 25,000/$ 50,000 policy Farm provided only difference-in-limits coverage.
limits. The record contains a letter from State Farm Plaintiff further alleges that the difference-in-limits
to the department stating that situations where State coverage was illusory because it affords an insured
Farm would pay a claim under its minimum UIM with little or no coverage when purchased at the $
coverage were "expected to occur infrequently." 25,000/$ 50,000 level. Plaintiff alleges four
The department subsequently approved State theories of recovery: breach of contract, negligent
Farm's proposed rates.                                  misrepresentation, [*7] unjust enrichment, and
                                                        nondisclosure.
State Farm notified its insureds that State Farm was
required to add the minimum UIM coverage to their The record does not contain State Farm's answer to
policies unless the insureds rejected such coverage the petition, nor does it contain plaintiff's reply,
in writing or opted to purchase UIM coverage with although such documents were requested in
higher policy limits. The notification was printed plaintiff's praecipe for transcript. The transcript
on the insureds' policy renewal statements and was index prepared by the clerk of the district court
further explained in an "explanatory insert" that indicates that these documents are "not in court
was mailed with the renewal statements. The insert file." The transcript does contain the motion for
contained the following statement:                      summary judgment filed by State Farm on
                                                        November 17, 1993. After several hearings on the
     Please Note: If you carry the minimum motion, the district court took the motion under
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advisement, and on March 25, 1994, the court            and that the moving party is entitled to judgment as
granted summary judgment for State Farm.                a matter of law. Lewis, supra; Huntwork, supra.

In a journal entry contained in the transcript, the     ANALYSIS
district court found that State Farm's coverage was
not illusory as a matter of law "because some
claims were in fact submitted and benefits paid, and    Coverage Not Illusory.
because the specific coverage was mandated by the
                                                        Plaintiff's claims are based upon the allegation that
Nebraska Legislature." The court further found that
                                                        State Farm's UIM coverage was illusory. Plaintiff
plaintiff's allegation that State Farm charged
                                                        claims that State Farm purported to provide excess
excessive rates was not properly before the district
                                                        UIM coverage, but in fact only provided difference-
court, as plaintiff had not pursued his
                                                        in-limits UIM coverage.
administrative remedies with regard to that issue.
Plaintiff thereafter appealed to this court.           The difference between excess coverage and
                                                       difference-in-limits coverage may be stated as
ASSIGNMENTS OF ERROR
                                                       follows: Under excess UIM coverage, an insurer
Plaintiff claims that the [*8] district court erred in would pay the total amount of damages sustained
finding (1) that State Farm's coverage was not by the insured less any payments made by the tort-
illusory, (2) that the Nebraska Department of feasor, up to the UIM policy limits. To illustrate, if
Insurance has exclusive jurisdiction over claims of an insured who carried $ 25,000 in UIM coverage
excessive premiums, (3) that plaintiff's actions for sustained $ 40,000 in damages in an accident, but
negligent misrepresentation and nondisclosure the tort-feasor paid only $ 25,000, the insured
could not be maintained, and (4) that summary would be able to recover $ 15,000 under his UIM
judgment should be granted to State Farm.              coverage.

State Farm has filed a cross-appeal, claiming that      Under difference-in-limits UIM coverage, the
the district court erred in failing to sustain its      insurer pays only the amount that the insured's
motion for summary judgment on the basis that           policy limits exceed the payments made to the
plaintiff failed to adequately allege class status in   insured by the tort-feasor. Thus, in the above
his petition.                                           illustration, the insured would not recover anything
                                                        under his UIM coverage, because his $ 25,000 in
STANDARD OF REVIEW                                      coverage [*10] does not exceed the $ 25,000 paid
                                                        by the tort-feasor.
[1,2] In reviewing a summary judgment, an
appellate court views the evidence in a light most      Contrary to plaintiff's contentions, we find
favorable to the party against whom the judgment is     absolutely no evidence in the record showing that
granted and gives such party the benefit of all         State Farm held itself out as providing excess UIM
reasonable inferences deducible from the evidence.      coverage. In fact, evidence in the record shows that
Lewis v. Board of Comrs. of Loup Cty., 247 Neb.         State Farm informed its insureds that the UIM
655, 529 N.W.2d 745 (1995); Huntwork v. Voss,           coverage that they were provided was difference-
247 Neb. 184, 525 N.W.2d 632 (1995). Summary            in-limits coverage. The policy language explaining
judgment is proper only when the pleadings,             State Farm's UIM coverage is attached to plaintiff's
depositions, admissions, stipulations, and affidavits   petition, and states:
in the record disclose that there is no genuine issue
as to any material fact or as to the ultimate               The most we pay will be the lesser of:
inferences that [*9] may be drawn from those facts          a. the difference between the limit of liability of
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     this coverage and the amount paid to the           Moreover, the record demonstrates that State Farm
     insured by or for any person or organization       had paid over $ 290,000 in claims under its
     who is or may be held legally liable for the       minimum UIM coverage between 1987 and 1991.
     bodily injury; or                                  In fact, State Farm paid nearly $ 10,000 to an
     b. the amount of damages sustained but not         insured under the UIM provision in a policy held
     recovered.                                         by plaintiff. Such payment belies the plaintiff's
(Emphasis supplied.) (Emphasis omitted.) This           claim of illusory coverage.
language nearly mirrors that of the act. Further,
State Farm sent its insureds a notice that explained    While the situations where an insured would be
to the insureds that they would be afforded little or   able to collect under the minimum UIM coverage
no coverage at the $ 25,000/$ 50,000 policy limits.     are limited, State Farm's policy provisions track the
Plaintiff's claim that State Farm purported to          legislation which mandated the coverage.
provide excess coverage is without merit.               Additionally, State Farm sent to all of its insureds a
                                                        document stating that there would be "little or no
Plaintiff also claims that the difference-in-limits     coverage" at the minimum UIM limits. The
coverage [*11] provided by State Farm was               Legislature enacted the statutory provisions
illusory because plaintiff was provided no coverage     providing for what may often be limited coverage--
when he purchased the UIM coverage at the               but limited coverage is not illusory--particularly
minimum policy limits. Illusory is said to be           when the charge is 17 cents per month. Finally, the
deceiving by false appearances or nominal, as           insureds were provided with a written form giving
distinguished from substantial. Black's Law             them the option of increasing their UIM coverage
Dictionary 748 (6th ed. 1990). An illusory promise      or rejecting such coverage altogether. State Farm
is one containing words which form the promise          did not make an illusory promise, [*13] instead it
that is conditioned on some fact or event which is      provided the coverage mandated by the Legislature.
wholly under the promisor's control. Vickers            Therefore, we conclude that the trial court correctly
Antone v. Vickers, 610 A.2d 120 (R.I. 1992). An         determined as a matter of law that State Farm's
illusory promise is one which, according to its own     UIM coverage was not illusory, and we reject
terms, makes the promisor's performance optional.       plaintiff's first assigned error.
Roth Steel Products v. Sharon Steel Corp., 705
F.2d 134 (6th. Cir. 1983).
                                                        Jurisdiction Over Excessive Rate Determinations.
Plaintiff argues that because all Nebraska residents
are required to carry at least $ 25,000/$ 50,000        In the petition, plaintiff sought to recover under the
bodily injury liability insurance, plaintiff would      theory of unjust enrichment, alleging:
never be able to recover under State Farm's UIM
                                                            Premium payments enriched State Farm
coverage because the coverage is reduced by the
                                                            unjustly because premiums were received for
amount of damages paid by the tort-feasor. This
                                                            UIM coverage that was illusory and contrary to
argument fails, both in theory and in reality. For
                                                            the underlying intended purpose of the "Motor
example, if more than two persons were injured in
                                                            Vehicle Safety Responsibility Act". The
an accident and the proceeds from the tort-feasors'
                                                            premium rates charged by the defendant for
insurance had been exhausted on two of the injured
                                                            underinsured motorist insurance coverage were
persons, then State [*12] Farm's insured could be
                                                            contrary to Neb. Rev. Stat. § 44-1403 and as
left without a recovery from the tort-feasor. In that
                                                            such were excessive and unearned. To this
case, State Farm would be obligated to pay its
                                                            extent, Plaintiff and Class members paid for
insured damages up to the UIM policy limits.
                                                            UIM coverage which was illusory and did not
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    exist, thereby unjustly enriching the defendant.      [4] Where the record adequately demonstrates that
                                                          the decision of a trial court is correct, although such
Plaintiff's unjust enrichment claim is based upon         correctness is based on a ground or reason different
the allegation that State Farm's UIM coverage was         from that assigned by the trial court, an appellate
illusory, which we have already rejected. However,        court will affirm. State v. Anderson, 245 Neb. 237,
plaintiff also alleges that the coverage was illusory     512 N.W.2d 367 (1994); State v. Chronister, 3 Neb.
because the rates charged were excessive and              App. 281, 526 N.W.2d 98 (1995). In the present
contrary to [*14] Neb. Rev. Stat. § 44-1403               case, the grant of summary judgment to State Farm
(Reissue 1988). Section 44-1403(4) stated in part,        on the unjust enrichment issue was correct, and we
"Rates shall not be excessive, inadequate or              therefore find plaintiff's second assigned error to be
unfairly discriminatory."                                 without merit.
[3] Undisputed facts in the record show that State
Farm charged $ 2 annually or about 17 cents per           Negligent Misrepresentation and Nondisclosure.
month for $ 25,000/$ 50,000 UIM coverage
between 1987 and 1991. These rates were                   In his third assigned error, plaintiff claims
submitted to and approved by the Nebraska                 that [*16] the trial court erred in finding that his
Department of Insurance prior to January 1, 1987.         actions for negligent misrepresentation and
During the years 1987 through 1991, State Farm            nondisclosure were unsupported by the evidence.
collected a total of $ 1,627,254 in $ 25,000/$            We find that the record contains no evidence to
50,000 UIM premiums. As of the date of the trial,         support either of these two theories of recovery.
State Farm had paid out $ 291,000 in claims made
under its $ 25,000/$ 50,000 difference-in-limits          [5] In Gibb v. Citicorp Mortgage, Inc., 246 Neb.
UIM coverage and had yet to settle nine claims            355, 518 N.W.2d 910 (1994), the Nebraska
made under this coverage. While these figures             Supreme Court adopted the definition of "negligent
show that State Farm collected substantially more         misrepresentation" found in Restatement (Second)
money in premiums than it paid out in claims, this        of Torts § 552 (1977). Section 552(1) states:
fact alone does not establish a claim for unjust              One who, in the course of his business,
enrichment. Rather, fraud, misrepresentation, or              profession or employment, or in any other
other wrongful conduct must be alleged and proved             transaction in which he has a pecuniary
in order to recover for unjust enrichment. See                interest, supplies false information for the
McIntosh v. Borchers, 201 Neb. 35, 266 N.W.2d                 guidance of others in their business
200 (1978). There was no fraud. State Farm defined            transactions, is subject to liability for pecuniary
the coverage as the legislation directed, and [*15]           loss caused to them by their justifiable reliance
selling a product at a profit, even a substantial             upon the information, if he fails to exercise
profit, is not per se wrongful conduct.                       reasonable care or competence in obtaining or
                                                              communicating the information.
The district court found that plaintiff was required
to exhaust his administrative remedies on the issues      Section 552 limits a negligent misrepresentation
of excessiveness of rates and unjust enrichment by        cause of action to cases where one party supplied
applying to the director of the Department of             the other with "false information." Hawkins Constr.
Insurance for a hearing on whether State Farm's           Co. v. Iron Workers Local #21, 3 Neb. App. 238,
UIM rates were excessive. Our conclusions that the        525 N.W.2d 637 (1994). In the present case, there is
coverage was not illusory, plus the absence of the        no evidence whatsoever [*17] in the record
predicates for an unjust enrichment claim, make           showing that State Farm supplied plaintiff with
analysis of the district court's rationale unnecessary.   false information. In fact, the undisputed evidence
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shows that State Farm was very forthright in telling         true or believed to be so; and
its insureds about the limited coverage and                  "(d) the falsity of a representation not made
protection provided if minimum UIM coverage                  with the expectation that it would be acted
were purchased. The trial court's grant of summary           upon, if he subsequently learns that the other is
judgment     on     the    issue    of     negligent         about to act in reliance upon it in a transaction
misrepresentation was correct.                               with him; and

With regard to the nondisclosure claim, plaintiff             "(e) facts basic to the transaction, if he knows
states in his petition that State Farm                        that the other is about to enter into it under a
     was negligent in failing to disclose to the              mistake as to them, and that the other, because
     Plaintiff and the Class that in third-party-at-          of the relationship between them, the customs
     fault accidents, the Plaintiff and the Class were        of the trade or [*19] other objective
     without UIM coverage for the initial $ 25,000            circumstances, would reasonably expect a
     in damages or if they had been sold UIM with             disclosure of those facts."
     limits of $ 25,000/$ 50,000 there existed no
     UIM coverage whatsoever.                             Assuming, without deciding, that State Farm owed
                                                          plaintiff a duty of disclosure, we find that adequate
[6] In Bank of Valley v. Mattson, 215 Neb. 596, disclosure was made in this case. As noted earlier,
601-02, 339 N.W.2d 923, 927 (1983), the Nebraska the policy language tracks the statutes which
Supreme Court quoted the Restatement, supra, § enacted the coverage. Moreover, State Farm
551, "Liability for Nondisclosure," stating:              notified its insureds that there would be little or no
                                                          UIM coverage at the $ 25,000/$ 50,000 policy
     "(1) One who fails to disclose to another a fact limits level. By citing the "little or no coverage"
     that he knows may justifiably induce the other disclosure made by State Farm, we are not
     to act or refrain from acting in a business implying that it was necessary. Instead, we use this
     transaction is subject to the same liability to the "extra" disclosure to add weight to our conclusion
     other as though he had represented [*18] the that a claim of "nondisclosure" rings rather hollow
     nonexistence of the matter that he has failed to under these facts. The trial court correctly granted
     disclose, if, but only if, he is under a duty to the summary judgment to State Farm on this issue as
     other to exercise reasonable care to disclose the well.
     matter in question.
     "(2) One party to a business transaction is [7] In his final assigned error, plaintiff claims that
     under a duty to exercise reasonable care to "the trial court erred when it granted the defendant's
     disclose to the other before the transaction is motion for summary judgment since it disposed of
     consummated,                                         genuine issues of fact." This assigned error appears
     "(a) matters known to him that the other is to be a general statement encompassing all of the
     entitled to know because of a fiduciary or other above assigned errors, and it is not discussed in
     similar relation of trust and confidence between plaintiff's brief apart from the above assigned
     them; and                                            errors, which we have already found lacking
     "(b) matters known to him that he knows to be in [*20] merit. In the absence of plain error, an
     necessary to prevent his partial or ambiguous appellate court will not address issues that are not
     statement of the facts from being misleading; both assigned and analyzed in the brief of the party
     and                                                  asserting the error. Label Concepts v. Westendorf
     "(c) subsequently acquired information that he Plastics, 247 Neb. 560, 528 N.W.2d 335 (1995);
     knows will make untrue or misleading a Manske v. Manske, 246 Neb. 314, 518 N.W.2d 144
     previous representation that when made was (1994). We find no plain error and therefore reject
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plaintiff's fourth assigned error.


State Farm's Cross-Appeal.

[8] Although State Farm was awarded summary
judgment below, it has filed a cross-appeal. Such
practice is permitted, as "a nonaggrieved party
against whom an appeal is taken may cross-
appeal." Wrede v. Exchange Bank of Gibbon, 247
Neb. 907, 911, 531 N.W.2d 523, 527 (1995). In its
cross-appeal, State Farm claims that the district
court erred in refusing to grant State Farm's motion
for summary judgment as to the class action
allegations in plaintiff's petition.

[9] The record on appeal is barren of any objection
from State Farm regarding the class allegations in
plaintiff's petition. State Farm's answer is not in the
record before us, and its motion for summary
judgment makes absolutely no mention of an
objection to class allegations. "It is incumbent upon
the [*21] party appealing to present a record which
supports the errors assigned; absent such a record,
the decision of the lower court will generally be
affirmed." WBE Co. v. Papio-Missouri River Nat.
Resources Dist., 247 Neb. 522, 525, 529 N.W.2d
21, 23 (1995). Accord Terry v. Duff, 246 Neb. 524,
519 N.W.2d 550 (1994). Because there is no record
showing that the trial court ruled on this issue, we
conclude that this issue is not properly before this
court. Accordingly, we reject State Farm's cross-
appeal.

CONCLUSION

The record on appeal establishes that there were no
material issues of fact in this case and that State
Farm was entitled to judgment as a matter of law.
We therefore affirm the district court's grant of
summary judgment to State Farm.

AFFIRMED.

IRWIN, Judge, not participating in the decision.


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                         Tab 35
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                                                                           For the reasons set forth below, Defendants' motion to dismiss
                                                                           is GRANTED.
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Carmignac Gestion, S.A. v. Perrigo Company PLC, D.N.J.,
July 31, 2019
                  2006 WL 3511155                                                                BACKGROUND
    Only the Westlaw citation is currently available.
              NOT FOR PUBLICATION                                          This case stems from a dispute over alleged violations of
     United States District Court, D. New Jersey.                          federal securities laws. Defendant Conexant Systems, Inc.
                                                                           (“Conexant”) is a corporation organized under the laws
      Joseph WITRIOL, individually and on behalf                           of Delaware; it produces electronics. Defendants Dwight
        of all others similarly situated, Plaintiffs,                      W. Decker, Armando Geday, Robert McMullan, and Scott
                             v.                                            J. Blouin are present or former officers and directors of
         CONEXANT SYSTEMS, INC., Dwight                                    Conexant. Plaintiffs are a class of purchasers of the publicly
                                                                           traded stock of Conexant, purchased during the Class Period
           W. Decker, Armando Geday, Robert
                                                                           (March 1, 2004 through November 4, 2004); on April 6, 2005,
       McMullan, and Scott J. Blouin, Defendants.
                                                                           this Court appointed Phillips Group as lead Plaintiff.
                Civil Action No. 04–6219 (SRC).
                                |                                          In brief, Plaintiffs' Second Amended Class Action Complaint
                          Dec. 4, 2006.                                    (the “SAC”), filed December 5, 2005, makes the following
                                                                           factual allegations. Conexant acquired Globespan Virata, Inc.
Attorneys and Law Firms                                                    on February 27, 2004 (the “Globespan Acquisition”). During
                                                                           the Class Period, Defendants made false and misleading
Janet Rita Bosi, Lite Depalma Greenberg & Rivas LLC,                       statements that the integration of Conexant and Globespan
Joseph J. DePalma, Lite DePalma Greenberg & Rivas LLC,                     was proceeding successfully; Plaintiffs contend that the
Newark, NJ, Peter S. Pearlman, Cohn Lifland Pearlman                       integration of the two companies was very troubled. Also,
Herrmann & Knopf LLP, Saddle Brook, NJ, Patrick Louis                      “[t]he Company failed to regularly assess[ ] its inventory
Rocco, Gary S. Graifman Esq., Kantrowitz, Goldhamer                        levels to ensure that the Company's inventories would
& Graifman, P.C., Chestnut Ridge, NY, James C. Shah,                       not exceed the foreseeable demand and continued to stuff
Shepherd, Finkelman, Miller & Shah, LLC, Collingswood,                     its distribution channels, which caused its revenues to be
NJ, Andrew Robert Jacobs, Epstein, Fitzsimmons, Brown,                     artificially inflated ... to conceal the integration problems
Gioia, Jacobs & Sprouls, PC, Chatham Township, NJ, for                     afflicting Conexant.” (SAC ¶ 81(f).) Plaintiffs refer to this as
Plaintiffs.                                                                the “channel-stuffing.” (See, e.g., SAC ¶ 81(h).)
David M. Simon, pro se.

Gregory B. Reilly, Deborah A. Silodor, Lowenstein Sandler                          Plaintiffs allege that Defendants engaged in a
PC, Roseland, NJ, for Defendants.                                                  fraudulent scheme to conceal these problems,
                                                                                     artificially inflating the stock price. When
                                                                                    the truth came out, the stock price dropped.
                             OPINION
                                                                           The Second Amended Class Action Complaint alleges three
CHESLER, District Judge.                                                   causes of action: 1) Defendants engaged in securities fraud
                                                                           in violation of § 10(b) of the Exchange Act and Rule 10b5;
 *1 This matter comes before this Court on the motion to
                                                                           2) the individual Defendants are subject to control person
dismiss the Second Amended Class Action Complaint for
                                                                           liability under § 20(a) of the Exchange Act; and 3) Defendants
failure to state a claim upon which relief can be granted,
                                                                           McMullan and Blouin violated § 18(a) of the Exchange Act
pursuant to FED.R.CIV.P. 12(b)(6), by Defendants Conexant
                                                                           through their involvement in Conexant's SEC filings. On
Systems, Inc., Dwight W. Decker, Armando Geday, Robert
                                                                           February 6, 2006, Defendants filed the instant motion to
McMullan, and Scott J. Blouin (collectively, “Defendants”).
                                                                           dismiss the SAC.




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                         ANALYSIS                                 II. Defendants' 12(b)(6) Motion to Dismiss

I. Governing Legal Standards                                         A. The First Claim: Violation of § 10(b) and Rule 10b–5
                                                                  Defendants move to dismiss Plaintiffs' First Claim, for
A. Standard for a Rule 12(b)(6) Motion to Dismiss
                                                                  violation of § 10(b) of the Exchange Act and Rule 10b–
On a motion to dismiss for failure to state a claim, pursuant
                                                                  5, on several grounds, including failure to adequately allege
to FED.R.CIV.P. 12(b)(6), the court must accept as true all
                                                                  loss causation, and failure to plead fraud with particularity.
allegations in the complaint and all reasonable inferences
                                                                  Because this Court finds that Plaintiffs have failed to
that can be drawn therefrom, and view them in the light
                                                                  adequately plead scienter, it need not reach the remaining
most favorable to the non-moving party. See Oshiver v.
Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1384–85           arguments for dismissal. 1
(3d Cir.1994). A complaint should be dismissed only if the
alleged facts, taken as true, fail to state a claim. See In re    1       This Court also has concerns that the fraud claims
Warfarin Sodium, 214 F.3d 395, 397–98 (3d Cir.2000). The                  come perilously close to invalidity under the rule
question is whether the claimant can prove any set of facts               of Craftmatic Sec. Litigation v. Kraftsow, 890 F.2d
consistent with his or her allegations that will entitle him or           628, 639 (3d Cir.1989) (“allegations of failure to
her to relief, not whether that person will ultimately prevail.           disclose mismanagement alone do not state a claim
See Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). “[A]               under federal securities law”). As noted, this Court
complaint should not be dismissed for failure to state a claim            need not reach this issue to rule on the motion to
unless it appears beyond doubt that the plaintiff can prove no            dismiss.
set of facts in support of his claim which would entitle him to
                                                                  There are six basic elements that must be pled to state a
relief.” Conley v. Gibson, 355 U.S. 41, 45–46 (1957).
                                                                  claim of securities fraud in violation of § 10(b): (1) a material
                                                                  misrepresentation (or omission); (2) scienter, i.e., a wrongful
 *2 While a court will accept well-pled allegations as true
                                                                  state of mind; (3) a connection with the purchase or sale
for the purposes of the motion, it will not accept unsupported
                                                                  of a security; (4) reliance; (5) economic loss; and (6) loss
conclusions, unwarranted inferences, or sweeping legal
                                                                  causation. Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 341–
conclusions cast in the form of factual allegations. See Morse
                                                                  342 (2005).
v. Lower Merion School District, 132 F.3d 902, 906 n. 8 (3d
Cir.1997). All reasonable inferences, however, must be drawn
                                                                  The Third Circuit restated the requirements for pleading the
in the plaintiff's favor. See Sturm v. Clark, 835 F.2d 1009,
                                                                  element of scienter in a § 10(b) claim in In re Suprema
1011 (3d Cir.1987). Moreover, the claimant must set forth
                                                                  Specialties, Inc. Sec. Litig., 438 F.3d 256, 276 (3d Cir.2006).
sufficient information to outline the elements of his or her
                                                                  The Private Securities Litigation Reform Act of 1995
claims or to permit inferences to be drawn that the elements
                                                                  (“PSLRA”), 15 U.S.C. § 78u–4, requires that a plaintiff
exist. See FED.R.CIV.P. 8(a)(2); Conley, 355 U.S. at 45–46.
                                                                  “state with particularity facts giving rise to a strong inference
“The defendant bears the burden of showing that no claim has
been presented.” Hedges v. United States, 404 F.3d 744, 750       that the defendant acted with the required state of mind.” 2
(3d Cir.2005).                                                    15 U.S.C. § 78u–4(b)(2). “The requisite ‘strong inference’
                                                                  of fraud may be established either (a) by alleging facts
The Supreme Court has characterized dismissal with                to show that defendants had both motive and opportunity
prejudice as a “harsh remedy.” New York v. Hill, 528 U.S. 110,    to commit fraud, or (b) by alleging facts that constitute
118 (2000). Dismissal of a count in a complaint with prejudice    strong circumstantial evidence of conscious misbehavior
is appropriate if amendment would be inequitable or futile.       or recklessness.” Suprema, 438 F.3d at 276. Defendants
“When a plaintiff does not seek leave to amend a deficient        contend that the allegations of scienter in the First Claim are
complaint after a defendant moves to dismiss it, the court must   insufficient under both of these two prongs.
inform the plaintiff that he has leave to amend within a set
period of time, unless amendment would be inequitable or          2       The particularity requirement also derives support
futile.” Grayson v. Mayview State Hosp., 293 F.3d 103, 108                from FED.R.CIV.P. 9(b). See In re Advanta Corp.
(3d Cir.2002).                                                            Sec. Litig., 180 F.3d 525, 539 (3d Cir.1999).



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 *3 The Second Amended Complaint claims to address                  conference call (¶ 84), the third quarter 2004 earnings release
scienter in four sections. First, the SAC purports to address the   (¶¶ 85–86), the July 29, 2004 conference call (¶ 87), the
scienter of the individual Defendants in ¶¶ 61–67. Despite the      third quarter 2004 10–Q (¶ 88), and the September 30, 2004
heading, “The Individual Defendants' Scienter,” this section        press release (¶ 89). The seven assertions which follow are,
makes no particularized allegations about the mental state of       again, general and conclusory; every statement made above
the individual Defendants in regard to the false statements.        about ¶ 81 applies equally here. These vague and conclusory
Rather, the section only alleges with particularity some            allegations do not meet the particularity requirement of the
aspects of the compensation arrangements of the individual          PSLRA.
Defendants, asserting generally that they were motivated
by financial gain to accomplish the merger and conceal its          The fourth section of the SAC which purports to address
problems.                                                           scienter is comprised by ¶¶ 109–127. This section begins with
                                                                    general and conclusory allegations of scienter (¶¶ 109–111).
The SAC next details the false and misleading statements            Next (¶¶ 112–119), Plaintiffs again make detailed allegations
made during the class period, addressing scienter in two            about the individual Defendants' compensation arrangements.
places, ¶¶ 81 and 90. In ¶ 8 1, Plaintiffs make broad, general
allegations about the mental state of Defendants in reference       The next part (¶¶ 120–124) purports to allege that the
to statements in the March 1, 2004 press release (¶¶ 74–75),        individual Defendants had actual knowledge of the fraud,
the second quarter 2004 earnings release (¶¶ 76–77), the April      based on the statements of confidential witnesses (referred
26, 2004 conference call (¶ 78), and the second quarter 2004        to as “CW”), but nothing is alleged with the necessary
10–Q (¶¶ 79–80). 3 These allegations suffer from several            particularity. In ¶ 120, Plaintiffs allege that “CW–1 stated that
defects. First, and most importantly, they do not state facts       because of the integration problems, ‘We weren't able to meet
with particularity. Within ¶ 81, there are eight assertions. Not    the commitment to our customers, which led to the loss of
one of them makes a statement about a particular person or a        business.’ “ This does not state with particularity facts giving
particular event. Rather, they are all general and conclusory.      rise to a strong inference that a Defendant acted with the
They make general assertions covering four different events,        required state of mind; it does not speak to what a particular
without identifying specific statements made by specific            Defendant knew, or when.
people, or the particular circumstances associated with a
particular statement. They provide only conclusions about            *4 In ¶ 121, Plaintiffs allege that CW–2, CW–5, 4 and CW–
the mental states of Defendants (e.g., “Defendants knew             6 described problems with the integration of the companies.
or recklessly disregarded the fact that there was too much          Again, this does not state with particularity facts giving rise
overlap between Conexant's and Globespan's products ...”, ¶         to a strong inference that a defendant acted with the necessary
81(e)). These vague and conclusory assertions do not meet the       state of mind. Similarly, in ¶ 122, Plaintiffs allege that CW–
particularity requirement of the PSLRA.                             3, CW–4, and CW–7 described channel-stuffing. Again, this
                                                                    does not state with particularity facts giving rise to a strong
3                                                                   inference that a defendant acted with the necessary state of
        The first sentence of ¶ 81 foreshadows the problem
        that follows: “The statements in paragraphs 74              mind. To plead scienter, it is not sufficient to allege that the
        through 80 were each false and misleading when              integration was problematic or that channel-stuffing occurred.
        made because they misrepresented and omitted                The key issue is what the individual Defendants knew about
        material adverse facts ...” Although the use of             the integration problems and the channel-stuffing, or whether
        “they” suggests an assertion about the people who           these were so obvious that the Defendants must have been
        made the misrepresentations, the antecedent for             aware of them. None of the allegations of statements by the
        “they” appears to be the statements themselves,             confidential witnesses, separately or as a whole, gives rise to
        not the people who made them; ¶ 81 contains no              a strong inference that any particular individual Defendant
        allegations which address the mental state of any           knew about the integration problems or the channel-stuffing,
        particular person making any particular statement.          or that these were so obvious that Defendants must have been
                                                                    aware of them.
Similarly, in ¶ 90, Plaintiffs make allegations about the
mental state of Defendants in reference to statements in the        4
July 6, 2004 earnings warning (¶¶ 82–83), the July 6, 2004                  In ¶ 58, Plaintiffs state that CW–5 “said that
                                                                            there were obvious integration problems that far


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        exceeded what one would expect from a merger of                  ship” product at the end of each quarter. (SAC
        this sort.” This conclusory assertion of obviousness             ¶ 57.) According to CW–4, excess inventory
        does not satisfy the PSLRA's requirement that                    was sometimes sold to third-world countries.
        Plaintiffs state with particularity facts giving rise            (Id.) According to CW–7, “Conexant would
        to a strong inference that the defendant acted with              offer discounts to customers who agreed to
        the required state of mind. Moreover, CW–5 is not                accept products early.” (SAC ¶ 60.) Exactly
        even alleged to have stated that it was so generally             what is fraudulent about this conduct is nowhere
        obvious it must have been obvious to the individual              described. Plaintiffs do not explain, nor does this
        Defendants. The statement alleges no more than                   Court perceive, how selling products to third-
        that CW–5 found it obvious to himself or herself.                world countries and selling discounted products
In ¶ 124, Plaintiffs make the conclusory assertion that the              to customers who agree to accept them early
resignations of McMullan and Geday establish scienter.                   constitute fraudulent or illicit conduct.
Geday's resignation on November 9, following the close of         As to the integration problems, Plaintiffs' allegations of
the class period, does not lead to a strong inference about       scienter do not go farther than to say “they must have known”
his state of mind during the class period. Plaintiffs offer no    because of their positions in the company. The Third Circuit
explanation of how McMullan's resignation gives rise to an        rejected the “they must have known” theory in Advanta: “It
inference about his state of mind, nor does this Court find a     is well established that a pleading of scienter may not rest on
connection apparent.                                              a bare inference that a defendant must have had knowledge
                                                                  of the facts ... Likewise, allegations that a securities-fraud
The following part of this section (¶¶ 125–127) asserts           defendant, because of his position within the company,
generally that the Globespan Acquisition was a “key business      ‘must have known’ a statement was false or misleading are
transaction” for Conexant, and that the individual Defendants     precisely the types of inferences which [courts], on numerous
were involved in making the company's public disclosures.         occasions, have determined to be inadequate to withstand
Again, this does not state with particularity facts giving rise   Rule 9(b) scrutiny.” 180 F.3d at 539 (citations omitted). This
to a strong inference that a defendant acted with the necessary   precisely characterizes Plaintiffs' allegations of scienter as a
state of mind.                                                    whole, and they are insufficient.

In their opposition, Plaintiffs contend that, viewed in its        *5 Furthermore, Plaintiffs attempt to bolster this inadequate
entirety, the SAC adequately alleges scienter. Examination        theory of scienter with theories of financial motivation which
of the Second Amended Complaint as a whole, however,              the Third Circuit has also rejected as insufficient. Plaintiffs
does not lead to any conclusions that differ from those stated    allege that the individual Defendants were motivated to
above in regard to the parts. Overall, Plaintiffs allege that     commit fraud so that they could “take advantage” of their
the individual Defendants had a strong financial interest in      new employment agreements with Conexant. (See SAC ¶¶
completing the Globespan Acquisition and then in covering         113, 114, 119.) In In re Digital Island Sec. Litig., 357 F.3d
up the merger's problems. Confidential witnesses knew             322, 331 (3d Cir.2004), the Third Circuit found inadequate
that there were integration problems and channel-stuffing.        a similar theory about an employment agreement alleged to
Distilled to its essence, Plaintiffs' position on scienter is     have induced fraud in the context of a merger: “Because
that the individual Defendants must have known about the          Plaintiffs' allegations regarding the [defendant's] employment
integration problems because the merger was so important to       agreement do nothing to distinguish her motivations from
the company, and they were high-level management, involved        those surrounding countless other mergers and acquisitions,
in making particular public statements. As to the channel-        the proposed amended Complaint fails to create a strong
stuffing, examining the SAC as a whole, there is no clear         inference of scienter as required by the PSLRA.” Moreover,
theory of scienter. 5                                             the Third Circuit noted that it was in accord with the
                                                                  Second Circuit's holding in Kalnit v. Eichler, 264 F.3d
5                                                                 131, 140 (2d Cir.2001): “an allegation that defendants were
        Indeed, the channel-stuffing claim also appears to
                                                                  motivated by a desire to maintain or increase executive
        be inadequate under FED.R.CIV.P. 9(b). Rather
                                                                  compensation is insufficient because such a desire can be
        than describing a fraud, the SAC simply alleges that
                                                                  imputed to all corporate officers.” Plaintiffs' allegations
        managers instructed employees to “prematurely
                                                                  about the individual Defendants' employment agreements and


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compensation arrangements similarly fail to distinguish their      conclusory assertions of Defendants' recklessness, the SAC
motivations from those typical of corporate officers in the        says nothing whatever about how the Defendants prepared the
context of mergers and acquisitions.                               statements. The allegations of Defendants' reckless scienter
                                                                   have no particularity at all.
The conclusion that Plaintiffs have failed to meet the
requirements of the PSLRA for pleading scienter is supported       Similarly, the SAC does not address the second element,
by examination of the SAC under the two prongs of the              the danger of misleading buyers. As stated, the second
Third Circuit's “strong inference” formulation in Suprema.         requirement may be satisfied by alleging either that the
Plaintiffs contend that they have satisfied both prongs.           defendant knew of the danger of misleading, or that the danger
                                                                   was so obvious that the defendant must have known about it.
                                                                   There are no allegations in the SAC on which this Court could
                                                                   base an inference about what any Defendant thought about
      1. The recklessness/conscious misbehavior prong
                                                                   the danger of misleading investors.
Defendants argue that Plaintiffs have not adequately
alleged facts that constitute strong circumstantial evidence
that Defendants engaged in recklessness or conscious                            2. The motive and opportunity prong
misbehavior. In response, Plaintiffs contend that they have
done so.                                                           Defendants argue that Plaintiffs have not adequately alleged
                                                                   facts that show that Defendants had both motive and
The SAC does not contain strong circumstantial evidence that       opportunity to commit fraud. In response, Plaintiffs contend
the individual Defendants engaged in conscious misbehavior         that they have done so.
when they prepared or made the public statements. As
discussed above, Plaintiffs do not allege more than that the       As discussed above, while the SAC makes implications about
individual Defendants must have known by virtue of their           Defendants' motives, it does not articulate a theory of motive
positions. This cannot suffice as strong evidence of conscious     and opportunity with any particularity. Plaintiffs' opposition
misbehavior.                                                       brief does not help. In the brief, Plaintiffs rest their argument
                                                                   on the allegations that “Defendants used the Globespan
Nor have Plaintiffs presented strong circumstantial evidence       Acquisition to renegotiate their respective employment
of recklessness. “A reckless statement is a material               agreements and reap substantial personal gains.” (Pls.' Opp.
misrepresentation or omission ‘involving not merely simple,        Br. 42.) This appears to be the theory of motive and
or even excusable negligence, but an extreme departure from        opportunity in its entirety, and it says nothing about fraud
the standards of ordinary care, and which presents a danger        scienter. Moreover, as discussed above, the Third Circuit's
of misleading buyers or sellers that is either known to the        observation in Digital Island applies here as well: company
defendant or is so obvious that the actor must have been aware     managers commonly reap substantial personal gains from
of it.’ “ GSC Partners CDO Fund v.. Washington, 368 F.3d           mergers, and this says nothing about scienter for fraud. 357
228, 239 (3d Cir.2004) (quoting Advanta, 180 F.3d at 535).         F.3d at 331.
This formulation presents a test with two parts, both of which
must be met: 1) the statement involves an extreme departure        The SAC does not plead particular facts which give rise
from the standards of ordinary care; and 2) the statement          to a strong inference of fraud scienter, under either the
presents a danger of misleading buyers or sellers that is either   Suprema recklessness/conscious misbehavior prong or the
known or obvious.                                                  motive and opportunity prong. The First Claim fails to meet
                                                                   the requirements of the PSLRA for pleading the element of
 *6 Breaking down the GSC standard in this way, it is              scienter. Plaintiffs' First Claim fails to state a valid claim for
apparent that the SAC is insufficient. As to the first element,    relief.
there is nothing in the SAC which alleges or even refers
to a standard of ordinary care for management in preparing         Plaintiffs have now been given two opportunities to amend
or making public statements, nor any allegations about the         the Complaint. Plaintiffs' opposition brief does not indicate
care the individual Defendants took, or failed to take, in         that there is a possibility that Plaintiffs could augment their
the preparation and making of the statements. Aside from           pleading of scienter so that the First Claim could withstand a



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motion to dismiss. Nor does this Court perceive any potential
for Plaintiffs to further amend the First Claim so as to satisfy   Plaintiffs' Third Claim is insufficient in light of Suprema: the
the PSLRA's requirements for pleading scienter. Because            allegations of reliance are cursory and general, lacking the
amendment is futile, Defendants' motion to dismiss the First       specificity that the Third Circuit requires to state a claim.
Claim will be granted, and the First Claim will be dismissed       The allegations of reliance in the Third Claim of the Second
with prejudice.                                                    Amended Complaint are brief:

                                                                     155. Plaintiff Sam Phillips and other members of the
   B. The Second Claim: Violation of § 20(a)                           Class read and relied upon each of the Company's Class
 *7 Defendants move to dismiss Plaintiffs' Second Claim, for           Period SEC filings, not knowing that they were false and
violation of § 20(a) of the Exchange Act, because there can            misleading.
be no violation of § 20(a) without an independent violation
of the securities laws. See In re Advanta Corp. Sec. Litig.,         ...
180 F.3d 525, 541 (3d Cir.1999) (“claims under section
                                                                     157. In connection with his purchases of Conexant
20(A) are derivative, requiring proof of a separate underlying
                                                                       stock, Plaintiff Sam Phillips and other class members
violation of the Exchange Act”). Because the Second Claim is
                                                                       specifically read and relied on the false and misleading
derivative of the First Claim, and this Court has found that the
                                                                       statements regarding: [list of three subject areas of
First Claim fails to state a valid claim for relief, Defendants'
                                                                       statements]. Plaintiff Sam Phillips' and the Class'
motion to dismiss the Second Claim will be granted, and the
                                                                       reliance was reasonable.
Second Claim will be dismissed with prejudice.
                                                                   These allegations fail to plead facts probative of actual
                                                                   reliance on specific false statements. In their briefs, the parties
   C. The Third Claim: Violation of § 18(a)
                                                                   debate whether an omission may constitute a false statement.
Defendants move to dismiss Plaintiffs' Third Claim, for
                                                                   This misses the point. In ¶ 157, Plaintiffs allege reliance
violation of § 18(a) of the Exchange Act, for failure to plead
                                                                   on false statements, but state only generalizations about the
fraud with particularity and failure to allege actual reliance.
                                                                   subject matter of the statements. No specific false statements
Defendants' argument is persuasive.
                                                                   are identified. Plaintiffs have pled no facts probative of their
                                                                   actual reliance on specific false statements contained in the
In Suprema, the Third Circuit examined the pleading
                                                                   filings. This is the kind of cursory pleading that the Third
adequacy of a § 18(a) claim in the context of a Rule 12(b)(6)
                                                                   Circuit found insufficient in Suprema.
motion to dismiss, holding that cursory allegations of reliance
and general allegations of reliance are not sufficient:
                                                                    *8 Plaintiffs' Third Claim fails to state a valid claim for
  SSF Plaintiffs alleged cursorily that they “received,            relief under § 18(a) of the Exchange Act, 15 U.S.C. §
  reviewed, actually read, and relied upon” various Form           78r(a). Defendants' motion to dismiss the Third Claim will
  10–Q filings and the 2000 and 2001 Form 10–K filings.            be granted, and the Third Claim will be dismissed without
  For example, regarding the September 28, 2001, Form 10–          prejudice.
  K, they allege that they “obtained this document at or
  about the it [sic] was publicly filed with the SEC, and
  actually read and relied upon it in making their decisions                               CONCLUSION
  to invest in Suprema common stock.” App. at 367. SSF
  Plaintiffs failed, however, to plead facts probative of their    For the reasons stated above, this Court GRANTS
  actual reliance on any specific false statements contained       Defendants' motion to dismiss the Second Amended Class
  in those filings. Given the lack of allegations to show the      Action Complaint for failure to state a claim upon which
  requisite causal nexus between their purchase of securities      relief can be granted, pursuant to FED.R.CIV.P. 12(b)(6). The
  and specific statements contained in the SEC filings, we         First Claim and the Second Claim of the Second Amended
  will affirm the District Court's dismissal of SSF Plaintiffs'    Class Action Complaint are DISMISSED with prejudice.
  Section 18 claims.                                               The Third Claim of the Second Amended Class Action
                                                                   Complaint is DISMISSED without prejudice. As to the Third
Suprema, 438 F.3d at 284.                                          Claim only, Plaintiffs are granted leave to amend the Second



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Amended Class Action Complaint within 45 days of the filing       All Citations
of this Opinion.
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As of: July 16, 2020 3:06 AM Z


                                                 Wong v. Chan
                                          Appeals Court of Massachusetts
                                               May 4, 2012, Entered
                                                      11-P-867

Reporter
2012 Mass. App. Unpub. LEXIS 574 *; 81 Mass. App. Ct. 1133; 966 N.E.2d 866; 2012 WL 1557240


LUCY WONG vs. JAMES KWOK L. CHAN.

                                                            Opinion

Notice: DECISIONS ISSUED BY THE APPEALS
COURT PURSUANT TO ITS RULE 1:28 ARE
PRIMARILY ADDRESSED TO THE PARTIES AND,                     MEMORANDUM AND ORDER PURSUANT TO RULE
THEREFORE, MAY NOT FULLY ADDRESS THE                        1:28
FACTS OF THE CASE OR THE PANEL'S
DECISIONAL RATIONALE. MOREOVER, RULE 1:28                   The parties were romantically involved and lived
DECISIONS ARE NOT CIRCULATED TO THE ENTIRE                  together from 1990 until 2006, separating once in 1998.
COURT AND, THEREFORE, REPRESENT ONLY THE                    They never married, and separated permanently in
VIEWS OF THE PANEL THAT DECIDED THE CASE. A                 2006. For most of the time they were together, the
SUMMARY DECISION PURSUANT TO RULE 1:28,                     plaintiff maintained the household and the couple's
ISSUED AFTER FEBRUARY 25, 2008, MAY BE CITED                finances while the defendant worked outside the home.
FOR ITS PERSUASIVE VALUE BUT, BECAUSE OF                    In 1999, the parties purchased property in Waltham.
THE LIMITATIONS NOTED ABOVE, NOT AS BINDING                 Following their final separation, the defendant filed in
PRECEDENT.                                                  the Land Court a petition for partition and sale of the
                                                            Waltham property. The plaintiff then filed a complaint in
PUBLISHED IN   TABLE   FORMAT   IN   THE                    the Probate and Family Court seeking to recover her
MASSACHUSETTS APPEALS COURT REPORTS.                        financial contribution to the relationship. The cases were
                                                            consolidated in the Probate and Family Court. Following
PUBLISHED IN TABLE FORMAT IN THE NORTH                      a bench trial, the probate judge awarded the parties
EASTERN REPORTER.                                           equal interests in the Waltham property and in the
                                                            accounts with Bank of America and Citizens Bank. The
Subsequent History: Review denied by Wong v. Kwok           judge also declared that the defendant was entitled to
Chan, 463 Mass. 1102, 972 N.E.2d 24, 2012 Mass.             the full value of his 401(k) and his IRA. The plaintiff has
LEXIS 813 (2012)                                            appealed, arguing that: (1) she is entitled to an equal
                                                            share in the 401(k) and the IRA;1 (2) the judge
Related proceeding at Wong v. Chan, 2014 Mass.              improperly awarded damages [*2] to the defendant;
Super. LEXIS 74 (Mass. Super. Ct., Apr. 9, 2014)            and (3) her motion to disqualify the defendant's counsel
                                                            should have been allowed. We affirm. 1. Share of 401(k)


Disposition: [*1] Judgment affirmed.                        1 We understand the plaintiff's argument to be that she should

                                                            have received the equivalent [*3] of one-half of the value of
                                                            the funds in these accounts, rather than that she was entitled
                                                            to a distribution from them. We note that a distribution from the
                                                            401(k) is not possible unless it conforms with applicable
Judges: Kantrowitz, Wolohojian & Sullivan, JJ.              Federal law, something that was not established or
                                                            determined below or briefed on appeal.
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and IRA. Whether an account is a joint or individual            where plaintiff contributed no funds toward that asset).
asset is a question of fact. See Desrosiers v. Germain,
12 Mass. App. Ct. 852, 856-857, 429 N.E.2d 385                  2. Claim of improper damages. The probate judge found
(1981). The probate judge found that the defendant held         that the plaintiff was entitled to $98,475.50, which
the 401(k) and the IRA individually, a factual finding we       represented half the value of the parties' joint assets.
must accept unless clearly erroneous. See T.W.                  The judge also found that the plaintiff already had
Nickerson, Inc. v. Fleet Natl. Bank, 456 Mass. 562, 569,        removed $120,235 from the joint accounts. The judge,
924 N.E.2d 696 (2010). The 401(k) and the IRA were              accordingly, ordered the plaintiff to repay the defendant
held in the defendant's name; the plaintiff was only a          $21,759.50. The plaintiff argues that this is an improper
beneficiary, in the event of the defendant's death. The         award of damages because the defendant did not make
plaintiff herself testified that the defendant held the         a [*5] claim for damages. We disagree. The order is not
accounts individually and that the parties had not              an award of damages, but rather an equitable setoff in
discussed how the accounts were to be distributed in            the amount the plaintiff had withdrawn in excess of what
the event of their separation. The defendant similarly          she was owed. There was no error.
testified that the 401(k) was his alone and that he never
had discussed their division with the plaintiff. On this        3. Motion to disqualify counsel. Finally, the plaintiff
record, we cannot say that the probate judge's finding          argues that her motion to disqualify the defendant's trial
that the 401(k) and the IRA were the property of the            counsel should have been allowed because he
defendant alone was clearly erroneous.                          previously had represented her in a personal injury
                                                                suit.2 To succeed on her motion, the plaintiff needed to
The plaintiff argues that equitable principles entitle her      show "(1) that an attorney-client relationship existed in
to an equal share of the 401(k) and the IRA. We                 the former legal representation, and (2) that the former
disagree. The plaintiff's claims for unjust enrichment,         and current representations are both adverse and
quantum meruit, and quasi contract are analogous. See           substantially related." Bays v. Theran, 418 Mass. 685,
Salamon v. Terra, 394 Mass. 857, 859, 477 N.E.2d                691, 639 N.E.2d 720 (1994), quoting from Note,
1029 (1985). "A determination that a party would be             Developments in the Law: Conflicts of Interest in the
unjustly enriched 'require[s], generally, . . . that [the]      Legal Profession, 94 Harv. L. Rev. 1244, 1318 (1981).
party [would] hold property under such circumstances            See Adoption of Erica, 426 Mass. 55, 61, 686 N.E.2d
that in equity and good conscience he ought not retain          967 (1997). We review the denial of a motion to
it.'" Sutton v. Valois, 66 Mass. App. Ct. 258, 265, 846         disqualify counsel for abuse of discretion. Steinert v.
N.E.2d 1171 (2006), quoting from Stevens v. Nagel, 64           Steinert, 73 Mass. App. Ct. 287, 288, 897 N.E.2d 603
Mass. App. Ct. 136, 141, 831 N.E.2d 935 (2005). We              (2008).
look to the "reasonable expectations of the parties,"
ibid., quoting from Community Builders, Inc. v. Indian          Two matters are substantially related only "if the
Motorcycle Assocs., 44 Mass. App. Ct. 537, 560, 692             previous representation exposed counsel to confidential
N.E.2d 964 (1998), to determine whether through some            information that could be used against the client in the
"significant wrongdoing" the defendant has acquired             present litigation." R & D Muller, Ltd. v. Fontaine's
property that should belong to the plaintiff, id. at 266,       Auction Gallery, LLC, 74 Mass. App. Ct. 906, 907, 906
 [*4] quoting from Barry v. Covich, 332 Mass. 338, 342,         N.E.2d 356 (2009). The personal injury claim sought
124 N.E.2d 921 (1955).                                          compensation for physical injuries resulting from an
                                                                automobile accident in 1998. This case, heard almost
The plaintiff did not show that the defendant obtained          ten years after the previous case settled, centers on the
individual ownership of the 401(k) and the IRA through          equitable division of the couple's property. Any
fraud, deceit, or other wrongdoing, and we discern no           information obtained during the personal injury litigation
abuse of discretion in the judge's finding that the plaintiff   was unlikely to be useful against the plaintiff in this
had no reasonable expectation that she would receive
half their value. See Demoulas v. Demoulas, 428 Mass.
                                                                2 Massachusetts Rules of Professional Conduct 1.9(a), 426
555, 589, 703 N.E.2d 1149 (1998). The plaintiff admitted
                                                                Mass. 1342 (1998), provides: "A lawyer who has formerly
she knew the accounts were individually owned and the
                                                                represented a client in a matter shall not thereafter represent
parties had not discussed how they would be divided.
                                                                another person in the [*6] same or a substantially related
Additionally, she did not contribute funds to either
                                                                matter in which that person's interests are materially adverse
account. See Sutton, 66 Mass. App. Ct. at 266-267 (not          to the interests of the former client unless the former client
a windfall for defendant to retain sole interest in property    consents after consultation."
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case. The plaintiff argues generally that the attorney had
confidential information about her mental health and her
relationship with the defendant; however, the record
does not indicate that the attorney had such information
or how it could be used against the plaintiff. Thus, we
cannot say that the probate judge abused his discretion
in denying the motion.

Judgment affirmed.

By [*7] the Court (Kantrowitz, Wolohojian & Sullivan,
JJ.),

Entered: May 4, 2012.


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